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                      2022 Fiscal Plan for Puerto Rico

                       Restoring Growth
                       and Prosperity
                      As certified by the Financial Oversight and Management
                      Board for Puerto Rico


                      January 27, 2022
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 DISCLAIMER

 The Financial Oversight and Management Board for Puerto Rico (the “FOMB,” or “Oversight Board”) has formulated this 2022 Fiscal
 Plan based on, among other things, information obtained from the Commonwealth of Puerto Rico (the “Commonwealth,” or the
 “Government”).

 This document does not constitute an audit conducted in accordance with generally accepted auditing standards, an examination of
 internal controls or other attestation or review services in accordance with standards established by the American Institute of Certified
 Public Accountants or any other organization. Accordingly, the Oversight Board cannot express an opinion or any other form of
 assurance on the financial statements or any financial or other information or the internal controls of the Government and the
 information contained herein.

 This 2022 Fiscal Plan is directed to the Governor and Legislature of Puerto Rico based on underlying data obtained from the
 Government. No representations or warranties, express or implied, are made by the Oversight Board with respect to such information.

 This 2022 Fiscal Plan is not a Title III plan of adjustment. It does not specify classes of claims and treatments. It neither discharges
 debts nor extinguishes liens.

 The 2022 Fiscal Plan may be amended from time to time, as appropriate in the sole discretion of the Oversight Board.

 This 2022 Fiscal Plan is based on what the Oversight Board believes is the best information currently available to it. To the extent the
 Oversight Board becomes aware of additional information after it certifies this 2022 Fiscal Plan that the Oversight Board determines
 warrants a revision of this 2022 Fiscal Plan, the Oversight Board will so revise it.

 For the avoidance of doubt, the Oversight Board does not consider and has not considered anything in the 2022 Fiscal Plan as a
 “recommendation” pursuant to Section 205(a). Nevertheless, to the extent that anything in the 2022 Fiscal Plan is ever deemed by
 the Governor or Legislature or determined by a court having subject matter jurisdiction to be a “recommendation” pursuant to Section
 205(a), the Oversight Board hereby adopts it in the 2022 Fiscal Plan pursuant to PROMESA Section 201(b).

 Any statements and assumptions contained in this document, whether forward-looking or historical, are not guarantees of future
 performance and involve certain risks, uncertainties, estimates, and other assumptions made in this document. The economic and
 financial condition of the Government and its instrumentalities is affected by various legal, financial, social, economic, environmental,
 governmental and political factors. These factors can be very complex, may vary from one fiscal year to the next, and are frequently
 the result of actions taken or not taken, not only by the Government and the Oversight Board, but also by other third-party entities
 such as the government of the United States. Examples of these factors include, but are not limited to:

 –    Any future actions taken or not taken by the United States government related to Medicaid or the Affordable Care Act;

 –    The amount and timing of receipt of any distributions from the Federal Emergency Management Agency and private insurance
      companies to repair damage caused by Hurricanes María and Irma;

 –    The amount and timing of receipt of any amounts allocated to Puerto Rico and provided under the Community Disaster Loans
      Program;

 –    The amount and timing of any additional amounts appropriated by the United States government to address the impacts of the
      COVID-19 pandemic;

 –    The amount and timing of receipt of any additional amounts appropriated by the United States government to address the funding
      gap described herein;

 –    The timeline for completion of the work being done by the Puerto Rico Electric Power Authority (“PREPA”) to repair PREPA’s
      electric system and infrastructure and the impact of any future developments or issues related to PREPA’s electric system and
      infrastructure on Puerto Rico’s economic growth;

 –    The impact of the COVID-19 pandemic on the financial, social, economic, and demographic condition of Puerto Rico;

 –    The impact of the measures described herein on outmigration; and

 –    The impact of the resolution of any pending litigation in the Title III cases

 Because of the uncertainty and unpredictability of these factors, their impact cannot be included in the assumptions contained in this
 document. Future events and actual results may differ materially from any estimates, projections, or statements contained herein.
 Nothing in this document should be considered as an express or implied warranty of facts or future events; provided, however, that
 the Government is required to implement the measures in this 2022 Fiscal Plan and the Oversight Board reserves all its rights to
 compel compliance. Nothing in this document shall be considered a solicitation, recommendation or advice to any person to
 participate, pursue or support a course of action or transaction, to purchase or sell any security, or to make any investment decision.

 By receiving this document, the recipient is deemed to have acknowledged the terms of these limitations. This document may contain
 capitalized terms that are not defined herein or may contain terms that are discussed in other documents or that are commonly
 understood. You should make no assumptions about the meaning of capitalized terms that are not defined, and you should refer
 questions to the Oversight Board at comments@promesa.gov should clarification be required.




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 List of Acronyms and Key Terms
 AAFAF                  Puerto Rico Fiscal Agency and Financial Advisory Authority (Spanish acronym)
 AAR                    Annual Audited Report
 ACA                    Affordable Care Act
 ADEA                   Agricultural Enterprise Development Administration (Spanish acronym)
 ADSEF                  Family Socio-Economic Development Administration (Spanish acronym)
 ACFR                   Annual Comprehensive Financial Report
 AFSCME                 American Federation of State, County and Municipal Employees
 AMA                    Metropolitan Bus Authority (Spanish acronym)
 AMPR                   Puerto Rico Teachers’ Association (Spanish acronym)
 April 2018 Fiscal Plan Fiscal Plan certified by the Oversight Board in April 2018
 ARP                    American Rescue Plan Act of 2021
 ASEM                   Puerto Rico Medical Services Administration (Spanish acronym)
 ASES                   Puerto Rico Health Insurance Administration (Spanish acronym)
 ASSMCA                 Mental Health and Anti-Addiction Services Administration (Spanish acronym)
 ATM                    Maritime Transportation Authority (Spanish acronym)
 BBA                    Bipartisan Budget Act of 2018
 CAF                    (FCC) Connect America Fund
 CAGR                   Compound Annual Growth Rate
 CARES                  Coronavirus Aid, Relief, and Economic Security Act
 CASA                   Sustainable Support to Students Centers Project (Spanish acronym)
 CAT bond               Catastrophe bond
 CBA                    Collective Bargaining Agreement
 CBO                    Congressional Budget Office
 CDBG                   Community Development Block Grant
 CDBG-DR                Community Development Block Grant – Disaster Relief
 CBDG-MIT               Community Development Block Grant – Mitigation
 CCPRC                  Cardiovascular Center of Puerto Rico and the Caribbean
 CDPR                   Center for Research, Education, and Medical Services for Diabetes
 CDT                    Diagnostic and Treatment Center (Spanish acronym)
 CEE                    State Elections Commission (Spanish acronym)
 CHIP                   Children’s Health Insurance Program
 CILT                   Contribution-in-lieu of Taxes
 CINE                   Corporation for the Development of the Arts, Science and Film Industry of Puerto Rico (Spanish acronym)
 CMS                    The Centers for Medicare and Medicaid Services
 COFIM                  Municipal Finance Corporation (Spanish acronym)
 COFINA                 Puerto Rico Sales Tax Financing Corporation (Spanish acronym)
 COSSEC                 Public Corporation for the Supervision and Deposit Insurance of Puerto Rico Cooperatives (Spanish acronym)
 COR3                   Central Office for Recovery, Reconstruction, and Resiliency
 CRF                    Coronavirus Relief Funds
 CRIM                   The Municipal Revenue Collection Center (Spanish acronym)
 CRRSA                  Coronavirus Response and Relief Supplemental Appropriations Act
 CSR                    Civil Service Reform
 CSR Pilot              Civil Service Reform Pilot Program
 CTC                    Child Tax Credit
 CUB                    Land Use Consult
 DCR                    Department of Corrections and Rehabilitation
 DB                     Defined Benefit pension plan
 DC                     Defined Contribution pension plan
 DDEC                   Puerto Rico Department of Economic Development and Commerce (Spanish acronym)
 DDP                    Permitting Performance Dashboard
 DEC                    Determination of Categorical Exclusion
 DMO                    Destination Marketing Organization
 DOH                    Department of Health
 DOJ                    Department of Justice
 DOJ-PR                 Department of Justice – Property Registry
 DOS                    Department of State
 DNER                   Department of Natural and Environmental Resources
 DPR                    Discover Puerto Rico
 DPS                    Department of Public Safety
 DRD                    The Sports and Recreation Department (Spanish acronym)
 DRF                    Disaster Relief Fund
 DRG                    Diagnosis-Related Group
 DSA                    Debt Sustainability Analysis
 DTOP                   Department of Transportation and Public Works (Spanish acronym)
 EA                     Environmental Assessment
 eFMAP                  Enhanced FMAP
 EIP                    Economic Impact Payments
 EITC                   Earned Income Tax Credit
 EPA                    Environmental Protection Authority
 ERP                    Enterprise Resource Planning




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  ERS                      Employee Retirement System
  ESSER                    Elementary and Secondary School Emergency Relief fund
  FAM                      Municipal Administration Fund (Spanish Acronym)
  FCC                      Federal Communications Commission
  FDI                      Foreign Direct Investment
  FEDE                     Special Fund for Economic Development (Spanish acronym)
  Federal Government       The U.S. Federal Government
  FEMA                     Federal Emergency Management Agency
  FEMP                     Federal Energy Management Program
  FFCRA                    Families First Coronavirus Response Act
  FHWA                     Federal Highway Administration
  FICA                     Federal Insurance Contributions Act
  FIE                      Economic Incentive Funds (Spanish acronym)
  FMA                      Financial Management Agenda
  FMAP                     Federal Medical Assistance Percentage (FMAP)
  FMM                      Municipal Improvement Fund (Spanish acronym)
  FOMB                     Financial Oversight and Management Board for Puerto Rico
  FPUC                     Federal Pandemic Unemployment Compensation
  FQHC                     Federally Qualified Health Center
  FTA                      Federal Transit Administration
  FTE                      Full-Time Employee
  FTZ                      Foreign-Trade Zone
  FY                       Fiscal Year
  FYTD                     Fiscal-Year-To-Date
  GAO                      U.S. Government Accountability Office
  GASB                     Governmental Accounting Standards Board
  GDB                      Government Development Bank for Puerto Rico
  GDP                      Gross Domestic Product
  GF                       General Fund
  GFAO                     Government Finance Officers Association
  GNP                      Gross National Product
  Government               Government of Puerto Rico
  Governor                 Governor Pedro Pierluisi
  GSA                      General Services Administration
  Hacienda                 Puerto Rico Department of Treasury
  HHS                      U.S. Department of Health and Human Services
  HHS-OIG                  Office of Inspector General at the U.S. Department of Health and Human Services
  HIT                      Health Insurance Tax
  HMO                      Health Maintenance Organization
  HMS                      HMS Ferries, LLC
  HOPU                     University Pediatric Hospital (Spanish acronym)
  HPSA                     Health Professional Service Areas
  HRM                      Human Resource Management
  HTA                      Highways and Transportation Authority
  HUD                      U.S. Department of Housing and Urban Development
  IEEE                     Institute of Electrical and Electronics Engineers
  IEP                      Individualized Education Plan
  IFCU                     Independently Forecasted Component Units
  IMF                      International Monetary Fund
  IPA                      Investment Promotion Agency
  IPR                      Invest Puerto Rico
  IRP                      Integrated Resource Plan
  Island                   Puerto Rico
  JP                       Planning Board (Spanish acronym)
  JRS                      Judiciary Retirement System
  KPIs                     Key Performance Indicators
  LEA                      Local Education Agency
  LMS                      Learning Management System
  LUMA                     LUMA Energy, LLC
  M&A                      Merger and Acquisition
  March 2017 Fiscal Plan   Fiscal Plan certified by the Oversight Board in March 2017
  MADS                     Maximum Annual Debt Service
  MCOs                     Managed Care Organizations
  MDRP                     Medicaid Drug Reimbursement Program
  MFCU                     Medicaid Fraud Control Units
  MICE                     Meetings, Incentives, Conferences, and Exhibitions
  MiPE                     Mi Portal Especial
  Mi Salud                 Medicaid program in Puerto Rico (now called VITAL)
  MMIS                     Medicaid Management Information System
  MOU                      Memorandum of Understanding
  MTSS                     Multi-Tiered System of Support



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  NAP                      Nutrition Assistance Program (Spanish: Programa de Asistencia Nutricional, PAN)
  NRW                      Non-Resident Withholdings
  NTSP                     Transportation and Public Services Bureau (Spanish acronym)
  OATRH                    Office of the Administration and Transformation of Human Resources
  OCFO                     Office of the CFO
  October 2018 Fiscal Plan Fiscal Plan certified by the Oversight Board in October 2018
  O&M                      Operations and maintenance
  OECD                     Organization for Economic Cooperation and Development
  OGP                      Office of Management and Budget (Spanish acronym)
  OGPe                     Permits Management Office (Spanish acronym)
  OIPC                     Independent Office of Consumer Protection (Spanish acronym)
  OMA                      Operations and Maintenance Agreement
  OMB                      Office of Management and Budget
  OMEP                     Office for Public School Improvement (Spanish acronym)
  OPEB                     Other Post-Employment Benefits
  P3                       Public Private Partnerships
  P3 Authority             Public Private Partnership Authority
  PA                       Public Assistance
  Parties                  AAFAF and the Government
                           Defined benefit actuarial responsibility program by which agencies and instrumentalities are responsible for paying their pensions
  PayGo
                           obligations on an annual basis via a “PayGo Fee”
  PBA                      Public Buildings Authority
  PBL                      Project-Based Learning
  PCOC                     Consolidated construction permit (Spanish acronym)
  PDMP                     Prescription Drug Monitoring Program
  PERM                     Payment Error Rate Measurement
  PEUC                     Pandemic Emergency Unemployment Compensation
  PIA                      Pharmaceutical Industry Association
  PISA                     Program for International Student Assessment
  Platino                  Medicare Advantage program that also provides Medicaid wraparound services equivalent to Mi Salud / VITAL program
  PMO                      Program Management Office
  PMPM                     Per Member Per Month
  PoA                      Plan of Adjustment (confirmed on 1/18/2022)
  PPOA                     Power purchase and operating agreement
  PPP                      Public Private Partnership
  PPT                      Pilot Project Team
  PRASA                    Puerto Rico Aqueduct and Sewer Authority
  PRCCDA                   Puerto Rico Convention Center District Authority
  PRDOH                    Puerto Rico Department of Housing
  PRDE                     Puerto Rico Department of Education
  PREB                     Puerto Rico Energy Bureau
  PREMA                    Puerto Rico Emergency Management Agency
  PREPA                    Puerto Rico Electric and Power Authority
  PREPA ERS                Puerto Rico Electric and Power Authority Employees’ Retirement System
  PRHFA (or HFA)           Puerto Rico Housing Finance Authority
  PRHTA (or HTA)           Puerto Rico Highway and Transportation Authority
  PRIDCO                   Puerto Rico Industrial Development Company
  PRITA                    Puerto Rico Integrated Transit Authority
  PRITS                    Puerto Rico Information Technology Service
  PROMESA                  Puerto Rico Oversight, Management and Economic Stability Act
  PRPB                     Puerto Rico Police Bureau
  PRPL                     Puerto Rico Poverty Line
  PRSOC                    Puerto Rico Symphonic Orchestra Corporation
  PRTC                     Puerto Rico Tourism Corporation
  PSC                      Puerto Rico Public Service Commission
  PSRB                     Public Service Regulatory Board
  PU                       Single business permit (Spanish acronym)
  PUA                      Pandemic Unemployment Assistance
  PYMEs                    Small and Medium Enterprises (Spanish Acronym)
  RCM                      Revenue Cycle Management
  RFP                      Request for Proposal
  RR                       Roosevelt Roads
  RSA                      Restructuring Support Agreement
  SAEE                     Associate Secretary for Special Education (Spanish education)
  SAIDI                    System Average Interruptions Duration Index
  SAIFI                    System Average Interruptions Frequency Index
  SBP                      Single Business Portal
  SCO                      State Coordinating Officer
  SEAs                     State Education Agencies
  SEC                      State Elections Commission (English acronym)
  SIFC                     State Insurance Fund Corporation



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  SIFDE              Financial Information System of the Department of Education (Spanish acronym)
  SOGR               State of Good Repair
  SRF                Special Revenue Fund
  SR                 Structural Reform
  SRI                Infrastructure Agency Recommendation
  ST ratio           Student-to-Teacher ratio
  SURI               Internal Revenue Unified System (Spanish acronym)
  SUT                Sales and Use Tax
  SWIS               State Wage Interchange System
  T&A                Time and Attendance
  TAMP               Transportation Asset Management Plan
  TANF               Temporary Assistance for Needy Families
  TNC                Transportation network companies
  TPB                Transportation Policy Board
  TPFA               Third-Party Fiduciary Agent
  TRS                Teachers’ Retirement System
  TSR                Transportation Sector Reform
  TU                 Urban Train (Spanish acronym)
  UDH                University District Hospital for Adults
  UPR                University of Puerto Rico
  URP                Uniform Classification and Remuneration Plan
  USDA               United States Department of Agriculture
  USDE               United States Department of Education
  VITA               Volunteer income tax assistance
  WIOA               Workforce Innovation and Opportunity Act
  WIPR               Public Broadcasting Corporation (Spanish acronym)
  2019 Fiscal Plan   Fiscal Plan certified by the Oversight Board in May 2019
  2020 Fiscal Plan   Fiscal Plan certified by the Oversight Board in May 2020
  2021 Fiscal Plan   Fiscal Plan certified by the Oversight Board in April 2021




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 Executive Summary
 After too many years of financial crisis affecting each resident and business of
 Puerto Rico, the end of the Commonwealth’s bankruptcy is at hand. On January 18,
 2022, Judge Laura Taylor Swain confirmed the Commonwealth Plan of Adjustment restructuring
 approximately $35 billion of debt and other claims against the Commonwealth of Puerto Rico, the
 Public Buildings Authority (PBA), and the Employee Retirement System (ERS), as well as more
 than $50 billion of unfunded pension liabilities. The Plan of Adjustment saves Puerto Rico more
 than $50 billion in debt service and reduces outstanding obligations to just over $7 billion.
 The process of emerging from bankruptcy has been enormously complex. It took the concerted
 effort and hard work of a wide range of stakeholders, including the Government and Legislature
 of Puerto Rico, operating in an environment of considerable uncertainty to arrive at a largely
 consensual Plan of Adjustment enabling the Commonwealth, ERS, and PBA to exit bankruptcy.
 The bankruptcy process unfolded against the backdrop of a series of unprecedented events,
 including devastating natural disasters and a global pandemic.
 This watershed event brings predictability and is the beginning of a new chapter for Puerto Rico,
 in which improving financial management and operational capacity can bring stability, and
 investment in structural reforms can bring new growth and prosperity. This Fiscal Plan prioritizes
 these critical steps for a better managed and more effective government, and for implementing
 structural reforms which are at the heart of all progress in economic development.
 Until now the Board and the Commonwealth grappled with significant long-term uncertainty
 because the resources needed for future debt service and other liabilities were unclear. The
 confirmed Plan of Adjustment ends the uncertainty. With a more affordable and certain level of
 debt service, the Commonwealth can now use all other available resources to provide effective
 services for the people and business community of Puerto Rico. Many have misunderstood that
 the new debt service would force further reductions in spending; this is not true. The Board and
 the Commonwealth had together planned for this level of debt and there are no incremental
 reductions in spending necessary as a result of the new debt service. The end of this bankruptcy
 brings predictability to the finances of the Commonwealth.
 Not only is there no further reduction in spending necessary at this time, but the 2022 Fiscal Plan
 outlines a set of historic investments in the workforce that provide critically important services to
 residents across the Island. These new investments, described further below, are an important
 step in rebuilding operational capacity and increasing the effectiveness of government. These
 investments are being made to support Government workers, many of whom have not had a pay
 raise since 2014 as a result of the financial crisis within which Puerto Rico has suffered since then.
 Today, having negotiated the new, reduced level of debt service, we have more available resources
 to proceed with strengthening the government by investing in high quality and effective
 government services.
 In addition, the Plan of Adjustment and 2022 Fiscal Plan put an end to the longstanding practices
 of multiple Governments over many years, who made commitments to current and future retirees
 but did not invest adequate funding to be able to meet and deliver on those commitments. In
 particular moving forward, a pension reserve trust is established and funded over the next 10
 years, so that current and future retirees can have confidence that their benefits will be available
 to them.
 These new investments are enabled in part by a meaningful increase in federal resources and local
 revenues. Since the 2021 Fiscal Plan was certified, U.S. and global growth has continued to
 improve beyond expectations as a result of strong stimulus packages implemented to respond to
 the pandemic. As a result, Puerto Rico - like most U.S. states - has seen stronger than forecasted
 revenue performance. In addition, Puerto Rico has benefited from several meaningful increases
 in federal funding. Recent guidance issued by the Centers for Medicare and Medicaid Services

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 (CMS) substantially increased the amount of federal funding available for the Medicaid program.
 As a result, program costs that were previously forecasted to be funded using Commonwealth
 resources are now paid by the Federal government. This in turn frees up incremental
 Commonwealth resources to be used in other high priority areas of public policy.
 This is a very important moment for the Commonwealth. For the first time in years, it can manage
 its resources without the cloud of uncertainty of bankruptcy. In addition, Puerto Rico has received
 a welcome infusion of historic levels of federal support, creating new opportunities to address
 high priority needs. The 2022 Fiscal Plan provides a roadmap to take maximum advantage of the
 current situation to build on that predictability, create an environment of fiscal stability, and
 develop the conditions for long-term growth and economic development. This opportunity
 requires renewed commitment by the Government of Puerto Rico to practice prudent fiscal
 management, in order to take full advantage of the opportunities created by the Plan of
 Adjustment. The 2022 Fiscal Plan provides the funding and the detailed action steps needed to
 make these changes a reality. It is the Board’s sincere belief that enduring change is possible and
 can result in tangible benefits for everyday residents.
 Priorities in the 2022 Fiscal Plan
 The 2022 Fiscal Plan prioritizes resource allocations across a few major themes:
 ■   Investing in the operational capacity of government to deliver services with Civil
     Service Reform (CSR), including increasing salaries: The 2022 Fiscal Plan reflects
     the need to invest in and improve the civil service. This investment is made through
     comprehensive reform based on the implemented CSR Pilot Program (“CSR Pilot”) to improve
     the civil service including evaluations, recruitment, and organizational restructuring. The
     2022 Fiscal Plan includes support for a simple and uniform position classification system with
     a corresponding pay structure that is aligned to market rates. It ensures the Commonwealth
     has competitive, fair, and justified salaries. It includes salary raises for public employees that
     are providing critical day to day services but have not had a raise in many cases since 2014.
     This salary increase includes teachers, correctional officers, and firefighters, among others.
     Although a Uniform Classification and Remuneration Plan (URP) establishes a uniform role
     and pay structure for its employees, a URP alone will not lead to a long-overdue
     transformation of the civil service in Puerto Rico. The URP will be part of a comprehensive
     CSR plan. To address the urgency with compensation structures, the effective date of the URP
     implementation will be January 2023, pending compliance with CSR milestones.
 ■   Prioritizing obligations to current and future retirees: The Plan of Adjustment
     includes a mechanism to set aside resources to fund the Commonwealth’s pension obligations.
     While most states have set aside resources equivalent to 70+% of pension liabilities, the
     Government of Puerto Rico (over many decades and administrations) did not fund its pension
     obligations, with the result that it has nothing set aside at this time. To bring the
     Commonwealth in line with at least the bottom decile of states, the 2022 Fiscal Plan provides
     for the Pension Reserve Trust to achieve an approximate 50% funding ratio by the end of fiscal
     year 2031. In addition, the 2022 Fiscal Plan provides for incremental funding of a total of
     $864 million for investment in enhanced police retirement benefits, $5 million annually for
     healthcare coverage for retired police officers who do not yet qualify for Medicare, and $20
     million in total incremental funding over 11 years for the Symphonic Orchestra Pension Fund
     to address yet another existing unfunded pension liability.
 ■   Creating a fiscally responsible post-bankruptcy Government: The Government
     must maintain fiscal responsibility by implementing a comprehensive financial management
     agenda to ensure that Puerto Rico never again suffers from the problems that led to the fiscal
     crisis in the first place. Successful implementation requires a deep-rooted change in the
     Government's approach to financial management. A collective commitment from Government
     leadership including the Governor, the CFO, the legislature, and agency heads is critical for
     the institutionalization and roll out of the Financial Management Agenda (“FMA”), as outlined


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    in this Fiscal Plan. The 12 initiatives in the FMA are carefully chosen to lay a foundation for
    success, build on progress that has already been made by the Board and the Government
    together, and achieve milestones that are most critical to restoring fiscal responsibility in
    Government and ensuring financial stability. The FMA calls for a properly structured and
    empowered Office of the Chief Financial Officer (“OCFO”) that pursues timely financial audits,
    transparent and useful financial reporting, resource management, and implementation of
    long-term planning objectives. Furthermore, the FMA includes implementation of initiatives
    such as: Real property registry, Time & Attendance, Debt Management Policy, and Budget
    Best Practices. The 2022 Fiscal Plan includes additional detail and implementation steps for
    implementing the FMA across government.
 Since certifying the first Fiscal Plan in 2017, and notwithstanding the multiple natural disasters
 and the global pandemic, the Oversight Board has worked with the Government to make initial
 progress toward these objectives. This resulted in the ability of the Government to increase
 expenditures in times of crisis and uncertainty, while ensuring total expenditure levels remain
 within total available revenues. There is a new level of transparency and control over government
 spending, including the elimination of multi-year appropriations that permitted overspending;
 controls over the reapportionment of funding between concepts of spend to eliminate the
 defunding of accrued liabilities; and regular reporting on revenues and expenses. Moreover, the
 fiscal year 2020, 2021, and 2022 budgets were built at a granular “concept code” level (e.g.,
 differentiating between spend on professional IT services versus advisory services). The Oversight
 Board has exercised authority over government contracts to avoid overspending, and the
 Government has been held accountable to its implementation requirements via public hearings,
 such as those held on education, public safety, corrections, and economic development.
 These actions have helped enable the Commonwealth to exit bankruptcy with sustainable and
 affordable debt, while increasing investment in government services.

 EXHIBIT 1: INCREMENTAL INVESTMENTS IN 2022 FISCAL PLAN (FY2023-FY2031)




 Continuing investments in sustained priorities from prior fiscal plans



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 The 2022 Fiscal Plan also continues or makes incremental investments to support frontline
 services and to enhance agency operations. These include funding to bolster (i) healthcare
 infrastructure and services (e.g., capital improvements at public hospitals, public hospital IT,
 telehealth infrastructure, opioid treatments, education loan forgiveness for rural healthcare
 professionals, and funds to maintain nurse and health professional staffing levels), (ii)
 investments in public safety (e.g., police salary raises, police equipment and capital, funds to hire
 Forensics Institute personnel, and funds for a Department of Corrections and Rehabilitation
 facility consolidation), (iii) investments to improve educational outcomes (e.g., funds for school
 psychologists and nurses, better transportation for students, teacher time and attendance
 analysis, needs based scholarships, incentives for student attendance reporting, digitization,
 teacher and director salary raises, and innovation), and (iv) funding for critical supporting
 Government operations (e.g., funds to support Enterprise Support Planning (ERP)
 implementation, hire staff to finalize centralized procurement initiatives, accelerate municipal
 service consolidation, create transparency into economic incentives, hire special prosecutors and
 agents for the Specialized Domestic Violence, Sexual Crimes and Child Abuse units, and enable
 the fourth phase of the "Abriendo Caminos" infrastructure improvement program and for regular
 maintenance programs for the road infrastructure, etc.). These investments also include funds for
 the local portion of an Earned Income Tax Credit to encourage more formal labor market
 participation on the Island and needs-based scholarships for University of Puerto Rico to ensure
 every student on the Island can access higher education.
 In addition, prior fiscal plans included important investments to create the conditions for growth.
 To ensure Puerto Rico can compete in a global economy, prior fiscal plans set aside critical funds
 for technology infrastructure and workforce development programs. These include $400 million
 to boost universal broadband access through incentives to expanded broadband roll out and the
 provision of faster service, and $50 million to establish a 21st Century Technical and Business
 Education Fund, designed to develop technical and business skills that are aligned with the needs
 of the 21st century economy. These funds have not yet been disbursed and their effective
 utilization in the coming years is critical.
 Increased resources available to the Commonwealth
 Since the 2021 Fiscal Plan was certified in April, the Commonwealth has seen a surge in available
 resources, largely attributable to two major developments:
 ■   Increased federal funding for health care as a result of recent CMS guidance increasing the
     federal funding cap by $2+ billion per year along with a projected increase in prescription
     drug rebate revenues that the Commonwealth will receive as a result of joining the federal
     Medicaid Drug Rebate Program (MDRP)
 ■   Improved local revenue collections as a result of higher-than-expected overall U.S. growth,
     increased local consumption and economic activity enabled by enhanced income support
     programs (e.g., ~$460 million increase in annual federal funding for the Nutrition Assistance
     Program), and sustained increase in revenues resulting from a change to the tax treatment of
     partnership entities
 Changes to expenditures post-bankruptcy
 Relative to the 2021 Fiscal Plan, the 2022 Fiscal Plan arrives at a new set of expenditure
 projections that factor in the now-established debt service and other costs related to the Plan of
 Adjustment, as well as additional investments enabled by the increased resources available to the
 Commonwealth. The primary changes to the expenditures forecast fall into four major categories:
 ■   Debt service costs as included in the Plan of Adjustment
 ■   Costs related to Act 53-2021, which include additional funding for UPR for five years,
     removing reductions to retiree pensions, and additional funding for municipalities


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 ■   Costs related to the employees transferred from PREPA to the Commonwealth
 ■   Incremental investments enabled by the increased resources available to the Commonwealth,
     including salary increases
 The changes to revenues and expenditures between the April 2021 Fiscal Plan and the 2022 Fiscal
 Plan are summarized in Exhibit 2.

 EXHIBIT 2: COMPARISON OF CUMULATIVE COMMONWEALTH SURPLUS (FY2022-FY2031)
 BETWEEN 2021 FISCAL PLAN AND 2022 FISCAL PLAN




 Long-term challenges for Puerto Rico
 The people of Puerto Rico need and deserve more than predictability and stability, however. They
 require plentiful good jobs, a dynamic and prosperous economy, affordable and reliable
 electricity, and an efficient and responsive public sector—but these things have been lacking for
 more than a decade. Since 2005, the economy has shrunk, the number of people living under the
 poverty line has increased, electricity has remained expensive and unreliable, labor market
 regulations have remained burdensome, the business environment has remained complicated
 and difficult, and the public sector has provided declining levels of service at a high cost to
 residents.
 In recent years, the federal government has stepped in to provide significant, valuable financial
 support and temporarily slow some of the challenging trends Puerto Rico was facing. However,
 the Board and the fiscal plans remain focused on addressing the long-term trends to create the
 conditions for growth.
 Importance of structural reforms
 For five years, the Board has worked to fulfill the mandate of PROMESA—to achieve fiscal
 responsibility and access to capital markets—by developing a comprehensive approach to fiscal,
 management, and structural problems. The Oversight Board’s fiscal plans have provided a
 roadmap to institute robust structural reforms to spur economic growth, make strategic

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 investments to improve the Island’s resilience against natural disasters, and take the steps
 necessary to improve government efficiency.
 The 2022 Fiscal Plan continues to incorporate a set of structural reforms that, if
 successfully implemented, will enable Puerto Rico to begin to grow again based on
 competitiveness, countering the negative growth trajectory that has plagued the
 Island for over a decade, and reducing the dependence on federal funds to stimulate
 economic development. These include human capital, welfare, and education reforms to
 advance successful participation in the formal labor market, reforms to streamline core business
 processes (e.g., paying taxes, registering property, and obtaining permits) to enable job creation
 by attracting greater levels of investment into the economy, and reforms to facilitate reliable
 power and stable infrastructure for businesses and households. Each of these are elements
 required for Puerto Rico to compete for investment within the United States and globally, and to
 stem outmigration from the Island:
 ■   Human capital and welfare reform: Promoting participation in the formal labor force by
     creating incentives to work through Earned Income Tax Credit (EITC) benefits and
     Nutritional Assistance Program (NAP) reform, as well as providing comprehensive workforce
     development opportunities to improve skills and ensure workforce is prepared for the jobs of
     tomorrow. EITC and NAP reform are projected to increase the economic growth rate by 0.15%
     in FY2025.
 ■   K-12 education reform: Transforming the K-12 education system to dramatically improve
     student outcomes and contribute to an effective workforce in the long-term. Education
     reforms are projected to add 0.15% to the GNP growth rate between FY2037-FY2051.
 ■   Ease of doing business reform: Improving the competitiveness and attractiveness of
     Puerto Rico’s economy by (a) reducing obstacles to starting and sustaining a business through
     improvements to processes to obtain permits, register property, and pay taxes, and (b)
     establishing best-in-class entities to attract investment and increase tourism. These reforms
     are projected to drive a 0.30% uptick in overall growth by FY2026.
 ■   Power sector reform: Providing affordable, cleaner, and more reliable energy through the
     transformation of PREPA, the establishment of an independent, expert, and well-funded
     energy regulator, and the development of renewable power generation. This reform is
     projected to increase growth by 0.30% by FY2026.
 ■   Infrastructure reform: Integrating all transit assets under PRITA, so it can act as a unitary
     transit authority managing all transit assets on the Island (e.g., all buses, ferries, Tren
     Urbano), and reforming the public transportation sector more broadly.




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 EXHIBIT 3: ESTIMATED IMPACT OF STRUCTURAL REFORMS IN THE 2022 FISCAL PLAN




 As the Oversight Board began its work in late 2016, the Commonwealth was projected to run
 structural annual deficits exceeding $7 billion after contractual debt service before the impact of
 measures (See Exhibit 4). This deficit was difficult to forecast with certainty because of the
 protracted delays in issuing annual audited financial statements, lack of proper fiscal controls,
 lack of centralized financial records, and inefficient financial management. Puerto Rico had also
 been in an economic structural decline for over a decade, which led to an eroding tax base. To
 finance these primary deficits, Puerto Rico resorted to issuing debt, which became unsustainable.
 In contrast, the 2022 Fiscal Plan projects unrestricted surplus after debt service to average $1
 billion annually between fiscal years 2022-2031. This enables the Commonwealth to invest $10
 billion in the Pension Reserve Trust during the same period, resulting in a 50% funding ratio by
 the end of fiscal year 2031.




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 EXHIBIT 4: ANNUAL GAP/SURPLUS BETWEEN 2017 FISCAL PLAN AND 2022 FISCAL PLAN




                                                ***
 The Board is proud to certify this fiscal plan as the Commonwealth emerges from bankruptcy with
 sustainable and stable debt service. Through years of hard work, and with the collaboration of
 hundreds of stakeholders, the conditions are now in place for the Government of Puerto Rico to
 invest in a better future for all its residents. Confirmation of the Plan of Adjustment and the
 unprecedented level of federal support provides a once in a generation opportunity to transform
 this newfound predictability into stability, and economic prosperity. This Fiscal Plan enables the
 necessary conditions for growth, including building resilient infrastructure, investing in economic
 development, improving government operational capacity, and promoting fiscal responsibility
 and financial management. Prudent use of both federal and local funds will allow Puerto Rico to
 rebound from the effect of the pandemic on residents, businesses, and the social sector. These
 investments can also unlock creativity, entrepreneurship, and private sector investment –
 especially when coupled with the much-needed civil service and ease of doing business reforms.
 Though the global pandemic continues to challenge residents of Puerto Rico, the Board is
 certifying the 2022 Fiscal Plan with a sense of optimism as a new, promising chapter begins.




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 PART I: Context for Puerto Rico’s current
 economic and fiscal challenges

                   Long-term economic trends in Puerto Rico
 Even before suffering a series of natural disasters in the form of hurricanes, earthquakes, and the
 COVID-19 pandemic starting in 2017, Puerto Rico’s economy had been in an acute structural
 decline for over a decade. The Government had defaulted on much of its debt, and nearly half of
 residents lived below the national poverty line. The reasons for these problems are multiple, but
 the root causes stretch back 40 years.
 In the 1940s and 1950s, led by Operation Bootstrap, Puerto Rico’s economy grew rapidly, and
 productivity increased by 5% per annum as it transitioned from an agricultural-led to a
 manufacturing-led economy. However, as economic performance began to decline in the 1970s,
 the Federal Government adopted two significant policies to help Puerto Rico shore up its
 economy.
 First, transfer programs increased dramatically, particularly as Puerto Rico started receiving
 Nutritional Assistance Program (NAP) funding, eventually providing, in aggregate, a proportion
 of residents’ personal income that was twice the U.S. mainland average. In addition to raising
 costs for the Government, these programs, at times, created disincentives to work due to benefits
 that were high relative to wages available in the formal labor market.
 Second, in 1976, Section 936 of the federal tax code was introduced to promote investments by
 companies that could transfer their “intangible assets” to Puerto Rico, and thereby shift profits to
 the Island. These Section 936 companies, which were mostly in pharmaceuticals and life sciences,
 became a pillar of Puerto Rico’s economy, creating valuable local supply chains and local banking
 deposits, and contributing substantial tax revenue. In the same year, Puerto Rico passed Law 80,
 which instituted protections against wrongful discharge for local workers and mandated
 severance for firms attempting to remove employees. This law made Puerto Rico’s labor market
 significantly more rigid and placed it out of step with the prevailing labor markets in the U.S.
 In 1996, Congress decided to end Section 936, gradually phasing it out by 2006. In the face of an
 anemic local private sector, the Government also expanded its employment to the point that, by
 2000, 30% of Puerto Rico’s jobs were in government and a full 40% of workers with college
 degrees worked in the public sector. Major sectors such as water, electricity, and ports are still run
 by public corporations, and have consistently created a drain on the economy by delivering lower
 quality services at high costs while crowding out private investment. There was also pervasive
 cross-subsidization among the Commonwealth, public corporations, and other parts of the public
 sector that obfuscates financial management and accountability. Finally, there was a high degree
 of political interference in decisions that affect every aspect of life in Puerto Rico. As a result,
 Puerto Rico underperformed on all important measures of a modern economy, including
 educational attainment, cost of electricity, quality of water, tax compliance, and labor market
 participation.
 To promote the private sector, the Government undertook a broad tax incentives policy that led
 to a highly complex web of non-transparent subsidies and special tax arrangements. These actions
 neither promoted growth nor treated companies equitably, often discriminating against Puerto
 Rican companies in favor of multinational companies. Moreover, this system created no
 inducement for new investment without similar tax incentives, further eroding the potential tax
 base. In addition, generous government and federal transfer programs, taken together, produced
 disincentives to formal work, given the potential loss of housing and/or healthcare, while


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 increasing the share of the informal economy. Tax compliance has never been adequate in Puerto
 Rico, and it became increasingly difficult in this environment.
 Government revenues suffered and became increasingly hard to forecast. Taken together with
 unmanageable and unconnected systems of accounting across government entities, as well as
 delayed financial audits, fiscal discipline eroded. To make up for this recurring and growing
 budgetary shortfall, the Commonwealth turned to debt markets. Puerto Rico bonds found
 themselves in every corner of the U.S. bond market and, as investor appetite began to wane, the
 Government turned to securing new debt by conditionally pledging various revenue streams. The
 result was a highly complex financial structure that limited transparency as well as financial
 accountability and management.
 When the financial crisis hit in 2008, Puerto Rico’s economy was already in a fragile fiscal and
 financial position. Since then, the economy has continued to worsen. Puerto Rico has seen its
 gross national product (GNP) shrink by 17%, labor force participation fell to a record low of 38%,
 and population decline by 15%. 1 Puerto Rico is much poorer relative to the mainland U.S. today
 than it was in 1970.



            Context for PROMESA and the creation of the
 Oversight Board
 In the context of these long-term economic and demographic trends, government spending lacked
 transparency and did not adjust to the new reality. As a result, before the establishment of the
 Puerto Rico Oversight, Management and Economic Stability Act (PROMESA), the Government
 was running large, long-term structural deficits (Exhibit 5).

 EXHIBIT 5: LONG-TERM STRUCTURAL DEFICITS




 1   GNP and population decline represent the change between 2008 and 2020 per data from the World Bank Group’s World
     Development Indicators. Labor force participation rate represents the most up-to-date International Labor Organization modeled
     estimates. World Bank, “World Development Indicators,” 2021. (Accessed September 22, 2021)


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 Although some changes were made to reduce government spending in the years leading up to
 PROMESA, contributions to the pension systems were persistently far below necessary levels. As
 shown in Exhibit 6, over the past two decades, the actuarial annual required contributions to the
 pension systems were far greater than the actual employer contributions made. In fact, as early
 as 2007, system actuaries had stated that statutory contribution requirements were not sufficient
 to meet future plan needs. Despite that reality, while various steps were taken to improve the
 funded status of the Retirement Systems over time, these large annual financial and operational
 shortfalls directly led to the depletion of the fund assets to a point where the pension systems were
 no longer viable.

 EXHIBIT 6: EMPLOYEES AND TEACHERS RETIREMENT SYSTEM REQUIRED AND ACTUAL
 CONTRIBUTION




 By 2016, Puerto Rico was in the midst of an irreconcilable liquidity, fiscal, and economic crisis.
 The Commonwealth was being crushed under the weight of public debt that was larger than its
 GNP, it had started to default on its debt obligations, and it had lost access to external financing.
 All of the overspending drew down the Government’s bank account balances, leading to
 dangerously low liquidity levels and revenue shortfalls. At one point, the Government’s primary
 cash account, the Treasury Single Account (TSA), fell to as little as $15 million. Even worse, these
 calamitous financial circumstances threatened to create a humanitarian crisis for the over 3
 million residents living on Island. As the U.S. Secretary of the Treasury at the time observed, the
 Commonwealth’s ability to provide basic healthcare, legal, and education services was in serious
 doubt. No multi-year coordinated strategy existed to restore growth and opportunity to the people
 of Puerto Rico.


          Enactment of PROMESA
 On June 30, 2016, President Obama signed into law the Puerto Rico Oversight, Management, and
 Economic Stability Act (PROMESA), 48 U.S.C. § 2101 et seq., to work toward a remedy to the
 ongoing fiscal and humanitarian crisis in Puerto Rico. The goal of PROMESA is to meet Puerto
 Rico’s immediate need to provide its residents effective services, to formulate a debt restructuring,

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 and to implement fiscal and structural reforms leading to a sustainable economy, fiscal
 responsibility, and market access.
 PROMESA establishes two primary mechanisms for restoring fiscal responsibility. First, Titles I,
 II, IV, and V of PROMESA create the Financial Oversight and Management Board (Oversight
 Board) for Puerto Rico and provide it powers and duties governing the review and certification of
 multi-year fiscal plans, annual budgets, major contracts and strategic infrastructure projects.
 Second, Titles III and VI of PROMESA provide for debt restructurings, similar to bankruptcy
 cases and out-of-court restructurings, respectively, for Puerto Rico and its instrumentalities. By
 incorporating many provisions of Title 11 of the United States Code (the “Bankruptcy Code”) into
 Title III of PROMESA, which provides for restructurings similar to restructurings under chapters
 9 and 11 of the Bankruptcy Code, the statute also protects the debtors from creditor debt-
 enforcement actions that otherwise could prematurely extract billions of dollars from the
 Commonwealth and inflict irreparable damage on Puerto Rico’s economy. The statute includes
 unique attributes, such as an automatic stay on debt that was triggered once the bill was signed
 into law. The Oversight Board is the sole representative of any debtor entity in a Title III case,
 with the exclusive authority to propose a Plan of Adjustment. PROMESA Title VI provides an
 alternate, out-of-court restructuring process conditioned on voting thresholds.
 It should be noted that the Oversight Board is an independent entity within the territorial
 Government, rather than a department, agency, establishment, or instrumentality of the Federal
 Government. It is statutorily charged with restoring fiscal responsibility and market access to the
 Commonwealth.


          Fiscal plans, budgets, and other Oversight Board tools
 Under PROMESA, covered territorial instrumentalities/entities can be required by the Oversight
 Board to prepare and submit annual fiscal plans, who then reviews and either rejects or certifies
 them. The Oversight Board certifies fiscal plans and budgets to achieve PROMESA’s goals to
 provide a method to achieve fiscal responsibility and access to the capital markets. The Oversight
 Board then tracks Government implementation of the fiscal plans to ensure compliance.
 The certification and timely implementation of fiscal plans and balanced budgets are invaluable
 tools to achieve fiscal responsibility and restore Puerto Rico's access to the capital markets.
 Among other things, the certified fiscal plans and budget provide for estimates of revenues and
 expenditures in conformance with agreed accounting standards; funds essential public services;
 provides adequate funding for public pension systems; provides for the elimination of structural
 deficits; improves fiscal governance, accountability, and internal controls; and provides for capital
 expenditures and investments necessary to promote economic growth. Fiscal plans provide a
 route to direct the economy and finances of the Government of Puerto Rico towards economic
 growth and fiscal accountability. This is crucial for Puerto Rico to avoid repeating the mistakes of
 the past.
 To ensure that covered entities deliver against fiscal plan measures, the Oversight Board has a
 variety of potential tools available, including:
 ■   Setting budgets: The Oversight Board can certify the budget of the Government and its
     instrumentalities by type of expense and fund type. The Oversight Board has required more
     detailed budgets to prevent certain expenditures inconsistent with the current fiscal plan,
     understand consultant spending and enable measurements and monitoring of federal consent
     decrees or requirements (e.g., special education, juvenile detention).
 ■   Budget and fiscal plan compliance: Official letters are written by the Oversight Board to
     the Office of the Chief Financial Officer (OCFO) and agencies if something is not in compliance
     of certified budget and fiscal plans with the requirement to take the necessary corrective



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     actions, pursuant to the requirements as set forth in PROMESA (e.g., letters pursuant to
     Sections 203 and 204 of PROMESA).
 ■   Approval and review of contracts, legislation, executive orders, administrative
     orders, rules, and regulations: The Oversight Board must review and approve all
     contracts with a value of $10 million or more to ensure Fiscal Plan compliance and has the
     authority to refuse contracts and suggest the terms the new contract is required to meet. In
     addition, the Oversight Board may select to review contracts below the $10 million threshold
     for these purposes, on a random basis or at its own discretion.
 ■   Recommendations: Per Section 205 of PROMESA, the Oversight Board drafts letters to the
     U.S. President and Congressional leadership, outlining recommendations for fiscal and
     financial management practice improvements, requiring a response from the Governor.
 ■   Public hearings: The Oversight Board can hold hearings with agency representatives to
     publicly discuss progress on efficiency measures and related matters (i.e., use of
     reapportionments, budget requests). In prior years, the Board has convened several public
     hearings to bring attention to core issues related to Government reform.
 ■   Implementation tracking with monthly and quarterly reporting: Agencies receive a
     template that they must use to report on headcount, Key Performance Indicators (KPIs), and
     milestone implementation actions, among other requirements. Monthly reports are drafted
     evaluating implementation progress and budget to actual analysis.
 ■   Working group meetings: Agencies/reforms meet with implementation team with
     prepared materials, answer questions and requests. Often, Oversight Board may invite the
     Secretaries and Executive Directors of agencies to present status of implementation of
     efficiency measures during such working group meetings.
 ■   Stakeholder Engagement: The Oversight Board undertakes stakeholder engagement
     efforts throughout the year with members of the Government, private sector, and nonprofit
     sector of the Island. These efforts help the Oversight Board better understand stakeholders’
     opinions, concerns, and values. This allows the Oversight Board to incorporate stakeholder
     input into PROMESA plans and processes. Stakeholders' efforts include meetings, webinars,
     workshops, and public panel discussions.
 ■   Policy Research and Data Analysis: The Oversight Board conducts research, public
     policy analysis, and program evaluation to help bring more informed policymaking to Puerto
     Rico. It also presents policy ideas, reform proposals, and data analysis to support the public
     debate about what changes Puerto Rico needs to prosper. 2
 ■   Publication of documents: The Oversight Board can publish any materials submitted to
     them by the Commonwealth Government.


            Conditions for termination of the Oversight Board
 The Oversight Board was designed to have a finite life, defined objectives, and defined tools and
 authorities to achieve those objectives. Every action taken by the Oversight Board over the past
 five years has been dedicated specifically and exclusively to completing its mission as stated in the
 law as soon as possible. The Oversight Board seeks to complete its work under PROMESA
 promptly, so that fiscal controls, fiscal sustainability, and economic prosperity and growth can
 return to Puerto Rico.
 PROMESA is specific in terms of how and when the Oversight Board can be terminated. The two
 provisions, found in Section 209 of PROMESA, that define when the Oversight Board can be

 2   Financial Oversight and Management Board of Puerto Rico, Research and Public Policy Department


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 dissolved, were incorporated into the federal law to ensure the board disappeared, for good, once
 Puerto Rico’s financial outlook stabilized and better financial management processes have been
 put in place in the territorial government.
 Section 209 of PROMESA (Termination of the Oversight Board) states the following:

   An Oversight Board shall terminate upon certification by the Oversight Board that:
   1) the applicable territorial government has adequate access to short-term and long-term
      credit markets at reasonable interest rates to meet the borrowing needs of the territorial
      government; and
   2) for at least 4 consecutive fiscal years--
      A. the territorial government has developed its Budgets in accordance with modified
          accrual accounting standards; and
      B. the expenditures made by the territorial government during each fiscal year did not
          exceed the revenues of the territorial government during that year, as determined in
          accordance with modified accrual accounting standards.


 EXHIBIT 7: REQUIREMENTS FOR THE TERMINATION OF THE OVERSIGHT BOARD




 The Oversight Board is working tirelessly to help the Government move quickly towards the
 accomplishment of all these requirements.
 This fiscal plan introduces the Financial Management Agenda, a plan of action designed to
 implement and institutionalize the reforms necessary for the Oversight Board’s termination and
 Puerto Rico’s fiscal sustainability and economic renewal.



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 The Financial Management Agenda includes 12 initiatives. Two of them, Office of the Chief
 Financial Officer and CSR, lay the foundation for sound, sustained financial management. Four
 initiatives are central to meeting the conditions for terminating the Oversight Board: Timely
 Audited Financial Statements, Debt Management Policy, Budgeting Best Practices, and Federal
 Funds Management. The remaining six initiatives support other aspects of financial management
 improvement. Among them are procurement reform and cash and bank account management.

 2.3.1     Progress on requirement #1: Adequate access to credit markets at
           reasonable interest rates
 Sustainable debt restructuring

 The Oversight Board has and is following a “once and done” approach to the restructurings, to
 ensure Puerto Rico will not be insolvent again. Together with the Government of Puerto Rico, the
 Oversight Board has made substantial progress in adjusting Puerto Rico’s debt, the largest debt
 restructuring in the history of the municipal bond market. The confirmed PoA reduces the
 outstanding Commonwealths debt and other claims by almost 80%, from $33 billion of existing
 claims to $7.4 billion in new debt. In addition, the Commonwealth’s total debt service payments
 (including COFINA senior bonds) have been reduced by more than 60% to date, from $90 billion
 to $34 billion, saving Puerto Rico almost $60 billion in debt service payments.
 In May 2017, the Puerto Rico Government and the Government Development Bank (GDB) signed
 a Restructuring Support Agreement (RSA) with a significant portion of GDB creditors to
 restructure GDB’s debt under PROMESA’s Title IV. The RSA, as amended in April 2018, reduced
 about $5 billion of debt to about $3 billion, reducing the face value of claims by 45%. The debt
 payments are secured by GDB cash flow from certain legacy assets without recourse to the Puerto
 Rico Government. This restructuring cushioned municipalities by offsetting the loans they owed
 to the GDB by the full amount of their deposits at GDB.
 In February 2019, the U.S. District Court approved the Plan of Adjustment for the Puerto Rico
 Sales Tax Financing Corporation (COFINA), the first debt restructuring completed under
 PROMESA’s Title III. It reduced COFINA debt by $6 billion, from $18 billion to $12 billion.
 Furthermore, it reduced debt service payments by 32%, saving the people of Puerto Rico
 approximately $17.5 billion that will now be available to support the financial needs of the
 Commonwealth.
 In August 2019, the Puerto Rico Aqueduct and Sewer Authority (PRASA) and the Government of
 Puerto Rico reached an agreement with the U.S. Environmental Protection Agency (EPA) and U.S.
 Department of Agriculture (USDA) to a consensual modification of about $1 billion of outstanding
 loans under PROMESA’s Section 207. This agreement lowers PRASA’s debt service payments on
 the U.S. Government program loans by about $380 million over the next 10 years and eliminates
 approximately $1 billion in guaranty claims against the Puerto Rico Government. Additionally, it
 provides PRASA with access to $400 million in new federal funding through various clean water
 programs over the next five years to support PRASA’s ongoing effort to improve water quality and
 safety for the people of Puerto Rico.
 On January 18, 2022, the U.S. District Court for the District of Puerto Rico issued an order to
 confirm the Plan of Adjustment to restructure approximately $35 billion of debt and other claims
 against the Commonwealth of Puerto Rico, the Public Buildings Authority (PBA), and the
 Employee Retirement System (ERS); and more than $50 billion of pension liabilities. The Plan of
 Adjustment creates a foundation for Puerto Rico’s recovery and economic growth. It represents
 several years of engagement by the Oversight Board, creditor groups, and the Government of
 Puerto Rico. It provides one-time cash payments, the issuance of new debt and contingent value
 instruments (CVIs), among other things. In addition, the PoA provides certain Commonwealth
 employees with various benefits. For instance, AFSCME, who voted to support the PoA, will
 receive a new 5-year Collective Bargaining Agreement (CBA), which provides a number of
 contractual protections including healthcare, vacation and sick accruals, and specific actions that

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 must be taken prior to any implementation of layoffs. AFSCME represented employees will also
 be eligible to participate in Fiscal Plan outperformance, with a guaranteed minimum bonus of
 $2,000 annually for the term of the 5-year CBA. The PoA also includes provisions to protect
 current and future retirees by creating a fiscally sustainable retirement system that freezes TRS
 and JRS pensions and establishing a pension reserve trust to provide increased confidence that
 future funding will be available to meet the promises made to retirees. The PoA provides for a
 more diverse retirement income by ensuring all Government employees are participating in the
 Act 106 Defined Contribution program, enrolling teachers and judges in United States Social
 Security, restoring the System 2000 contributions made by employees to the individually owned
 Act 106 accounts outside of Government control, and providing $2,600 to the Act 106 accounts
 of active Act 1 / Act 447 employees. For additional details on specific provisions included in the
 confirmed PoA, refer to the sixth modified eighth amended PoA for the Commonwealth of Puerto
 Rico. 3
 Key to the sustainability of any debt restructuring is the growth of the Puerto Rico economy. The
 Oversight Board has stressed for the past five years that returning to economic growth requires
 structural reforms to enhance the reliability of power; improve educational outcomes, labor
 market participation and labor productivity; enhance the ease of doing business on the Island;
 and generate more effective returns on capital investments and infrastructure. All of this aims to
 strengthen Puerto Rico’s competitiveness in the global marketplace, attract new private capital,
 create jobs, and ultimately improve life for residents of the Island.
 Timely financial reporting

 The requirement related to timely financial reporting includes expectations that the Government
 publish past due audited financials and begins issuing audited financial statements on a best
 practice basis (e.g., issue audited financial statements within six months after the fiscal year ends).
 The Government of Puerto Rico has yet to produce long past due Annual Comprehensive Financial
 Report (ACFRs) for FY2019-FY2020. The Oversight Board has continuously encouraged the
 Government to finalize and publish its past due audited financial statements, including spending
 time at two recent public board meetings on the topic and providing increased funding for
 required personnel at Hacienda. The Commonwealth published fiscal year 2017 audited financial
 statements on August 31, 2020, taking more than 1,158 days (~38 months) to issuance. The
 Commonwealth published fiscal year 2018 audited financial statements on June 30, 2021, taking
 more than 1,096 days (~36 months) to issuance. According to a study by the Governmental
 Accounting Standards Board (GASB), state governments issued their annual audited financial
 reports (ACFRs) on average 189 days after fiscal year-end during 2012-2014 and 199 days during
 2015-2017. 4 Best practice calls for annual comprehensive financial reports (ACFRs) to be made
 public approximately 180 days or 6 months after the close of the fiscal year. Some states, like
 Michigan, have taken less than 100 days to release their ACFRs.
 To achieve timely financial reporting the Government must, among other things, provide a
 detailed timeline and implementation plan, positioning Hacienda to successfully oversee the
 publication of the ACFRs, and signing a multi-year master audit contract. Perhaps most
 importantly, the Government must transition to implementing monthly closing procedures over
 its books and records and implement strict monitoring over the process with consequences for
 agencies that fall behind. Without implementing these changes, ACFR issuance will continue to
 be delayed and unpredictable.
 As seen in Exhibit 8, the Government is behind on meeting many of these requirements, but with
 steadfast political will and leadership, the Oversight Board is convinced that these objectives can



 3   Sixth modified eighth amended PoA for the Commonwealth of Puerto Rico. (Accessed January 26, 2022)
 4   Financial Oversight and Management Board of Puerto Rico, Research and Public Policy Department reporting


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 be reached, past due ACFRs can be issued within the next two years, and a system can be put in
 place that assures continued timely issuance as expected by the credit markets.

 2.3.2     Progress on requirement #2: Four years of budgets developed with
           modified accrual accounting principles and expenditures which have not
           exceeded revenues
 Four years of developing budgets in line with modified accrual accounting standards

 The territorial Government, which includes all covered instrumentalities, is expected to develop
 and implement budgets in accordance with modified accrual accounting standards for four
 consecutive years, according to accounting practices recommended by the GASB for municipal
 financial statements, including by publishing ACFRs. There are numerous benefits of
 transitioning from cash accounting to modified accrual accounting. A modified accrual accounting
 method is more conservative since it requires recognition of revenues when measurable and
 promised payments when liabilities are incurred. Consequently, the books and records will
 present a more realistic picture of spending, help Puerto Rico avoid overspending, and present an
 accurate financial picture to Government managers, taxpayers and other stakeholders.
 Furthermore, it would eliminate many one-time maneuvers and lead to genuinely balanced
 budgets once all the debt restructurings are consummated. The transition to modified accrual
 budgeting was one element that led to New York City’s financial recovery in the 1970’s, helping to
 establish stricter budgetary discipline on the city.
 Four years of balanced budgets according to accrual-based accounting method

 Before PROMESA, Puerto Rico had a history of overstating revenues and understating,
 misstating, or not stating all of its expenditures in a given year. This lack of budgetary control
 enabled budgets which appeared to be balanced consistent with the Puerto Rico Constitution’s
 requirements, to cause deficits and force borrowing, and resulted in the situation the Government
 faces today.
 The key principles that will need to be met for the territorial Government to achieve this
 requirement are the formulation of an accrual-based budget, better monitoring of revenue and
 expenses, integration of the payroll systems, maintenance of an accounts payable ledger, and
 registration of purchase orders and budgeting for all other funds, not just the General Fund. In
 accordance with the definition of territorial government in law, these principles will need to be
 met for all covered instrumentalities, unless the Oversight Board exempts a covered
 instrumentality from coverage under the requirement.
 To fully implement modified accrual budgeting, the Government would need to adopt policies and
 train employees to record expenses, make sure adjusting entries are communicated and
 coordinated across agencies, and shift to having accruals and interagency reconciliations
 automated. Furthermore, revenues and expenditures must be periodically reviewed against the
 forecast to respond to changes and there must be detailed resolution certifications and expense
 system registration. Additionally, payroll must be adequately tracked, controlled, and integrated.
 Accounts payable must be automated and follow clear procedures. Purchase orders and other
 encumbrances must be booked for the entire year, at the beginning of the year, and as many
 special revenue funds as possible must be eliminated.
 The Financial Management Agenda provides direction for the Government adopt best practices
 that will help ensure balanced budgets, such as consensus revenue forecasting and regular budget
 monitoring.
 The central Government and the other covered instrumentalities have unfortunately not yet
 demonstrated meaningful progress in many of the key requirements for the termination of the
 Oversight Board. As shown in Exhibit 8, rapid progress will be needed across a number of
 dimensions to meet the key requirements under PROMESA.


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 EXHIBIT 8: PROGRESS TOWARDS ACHIEVING KEY REQUIREMENTS FOR THE
 TERMINATION OF THE OVERSIGHT BOARD




           Fiscal Plan updates due to natural disasters and
 emergencies
 In recent years, the people of Puerto Rico have endured a series of natural disasters and
 emergencies without precedent in modern history.
 On September 6, 2017 and September 20, 2017, respectively, Hurricanes Irma and Maria struck
 Puerto Rico, causing unprecedented humanitarian, economic, and infrastructure-related
 damages and upending the daily lives of Puerto Rico’s over three million residents. Thousands of
 residents were left homeless, basic utilities were completely shut down, and schools, hospitals,
 and businesses were destroyed. Tens of thousands of local residents fled the Island. The Federal
 Government’s response has become one of the largest and most complex disaster relief efforts in
 U.S. history.




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 The damage inflicted on Puerto Rico by the Hurricanes required the March 2017 Fiscal Plan to be
 revised. Therefore, on October 31, 2017, the Oversight Board formally requested that the
 Government submit a revised Fiscal Plan for the Commonwealth and its instrumentalities based
 on the new post-hurricane realities. After months of hard work, engagement with stakeholders,
 and intense negotiations with the Government, the Oversight Board developed and certified the
 April 2018 Fiscal Plan to reflect the post-hurricane environment. This Fiscal Plan also provided
 for the implementation of incremental structural reforms, in particular focusing on improving the
 competitiveness of the local labor market.
 As a result of Government and Oversight Board discussions concerning the necessary legislative
 actions to deregulate and make the private sector labor market more competitive, the Oversight
 Board certified an updated Fiscal Plan in May 2018. This Fiscal Plan provided for a series of
 investments that would be contingent upon the successful implementation of key labor market
 reforms. Unfortunately, the lack of political will to enact this much needed private sector labor
 reform required the Oversight Board to update and certify another Fiscal Plan in June 2018 to
 reflect the removal of this element of structural reform from the plan and the growth forecasts.
 The October 2018 Fiscal Plan was subsequently certified to reflect actual revenue and expenditure
 numbers, refined healthcare projections based on actuarial estimates, new federal funding
 estimates, and changes in the Government’s economic growth policy objectives.
 The budgetary process under PROMESA requires the annually certified budget to be consistent
 with the certified Fiscal Plan. In light of the many variables in the forecasts, the Oversight Board
 has chosen to annually update and certify a Fiscal Plan for accuracy and to serve as the most
 updated information for the purposes of certifying an annual budget. As a result, prior to the
 adoption of the FY2020 Certified Budget, the Oversight Board certified the 2019 Fiscal Plan,
 which incorporated updates for new information and data from a wide variety of sources. It
 revised the macroeconomic and population forecast in light of slower disaster relief funding roll
 out, faster unwinding of the associated stimulus, and more recent federal and Puerto Rico
 economic statistics. It also updated the forecasted economic impact of structural reforms to reflect
 slower than expected implementation. Finally, it re-balanced spending across agencies to enable
 investments in police and public safety, healthcare, and education.
 In December 2019, just after the Oversight Board and Government had launched the 2020 Fiscal
 Plan process, an earthquake registering at a magnitude of 4.7 on the Richter scale hit Puerto Rico.
 This earthquake represented one of 1,000 overall earthquakes of magnitude 3 or greater that
 would hit the Island over the next couple months, with six being over magnitude 5.5 and one being
 the most destructive in Puerto Rico’s history. Hundreds of structures, including homes, local
 government institutions, small businesses, and houses of worship, have been damaged or
 destroyed by these devastating shocks.
 In March 2020, on top of the Hurricanes and earthquakes, Puerto Rico confronted the COVID-19
 pandemic, which created an unprecedented public health crisis. As of April 2020, the Island had
 officially confirmed 1,539 cases and 92 deaths. 5 To counter the spread of the disease, the
 Government instituted the closure of businesses and established a curfew. The Oversight Board
 quickly made available $787 million in funds for the Government, individuals, and businesses.
 These funds were used to provide: direct economic support payments to self-employed
 individuals and small businesses, bonuses to frontline workers (including, nurses, police officers,
 firefighters, emergency medical services personnel, among others), funding for medical supplies,
 support to municipalities, resources for PRDE to purchase equipment to facilitate distance
 learning, and coverage for other incremental expenditures, such as additional public safety
 investments, health services spending in corrections, and funding for UPR’s COVID-19-related
 research and development.



 5   Gobierno de Puerto Rico Departamento de Salud, “Informe de casos positivos COVID-19 (30 abril 2020),” 2020. (Accessed 8
     April 2021)


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 Soon after, the U.S. Federal Government approved several pieces of legislation—including the
 Families First Coronavirus Response Act and the Coronavirus Aid, Relief, and Economic Security
 Act (CARES Act)—providing ~$18 billion in federal funds to the Island 6. This relief package
 funded direct income support for individuals through expanded unemployment insurance
 benefits and a broad economic impact payments program, provided financial assistance to small
 businesses, included additional resources for education, healthcare, nutrition, and housing
 assistance, delivered funds to support the local government, and supplied incremental funding to
 support strategic government services like transit and transportation, law enforcement, and
 justice.
 It was in the midst of this unprecedented change to the economic and public health climate that
 the 2020 Fiscal Plan was certified. As with prior Fiscal Plans, it included updates for new
 information about government revenues, expenditures, and reform implementation efforts. It
 also included the projected impacts of the earthquakes and the COVID-19 pandemic. Given the
 pressures facing the Government in the context of the crisis, the Fiscal Plan provided a one year
 pause in incremental government efficiency savings expectations to allow the Government to
 focus on the implementation of needed efficiency and structural reforms. In light of the healthcare
 focus that the situation required, the 2020 Fiscal Plan included a full set of investments that aimed
 to strengthen the healthcare system in Puerto Rico, comprising capital expenses to enhance and
 expand health facilities across the Island, improve its digital infrastructure, and fund newly
 created programs designed to extend healthcare services coverage in public schools and rural
 areas. Finally, the 2020 Fiscal Plan also provided new investments to further bolster the education
 and public safety systems; funds to support municipal consolidations and to expand the
 technology sector and broadband access.
 Roughly a year and a half after the certification of the 2020 Fiscal Plan, the U.S. mainland and
 Puerto Rico have seen several changes. The effects of the COVID-19 public health crisis have been
 far reaching and devastating – both as a humanitarian crisis and economically. As of March 2021,
 Puerto Rico had experienced 97,713 cases of COVID-19 and 2,113 deaths due to the disease. 7 The
 economy has suffered: as the risks of travel kept tourists at bay, hotel registrations fell by 95%
 from February to April 2020, and starting to recover in May 2020. 8 Unemployment in Puerto
 Rico reached ~460,000 individuals at its peak, two times the previous number of individuals
 unemployed. 9 The effects of this sudden constriction in household income was felt across the
 Island; retail sales plummeted in April 2020 to just 38% of February 2020 levels, the lowest since
 2012. 10
 Fortunately, vaccinations became available on the Island at the end of December 2020. As of
 December 2021, Puerto Rico has a vaccination rate of 84% for people over the age of 12 fully
 vaccinated, and 71% of people of all ages. 11 The Island also received additional federal support,
 with the Coronavirus Response and Relief Supplemental Appropriations Act (CRRSA) 12 and
 American Rescue Plan (ARP) Act bringing around $7 and $18 billion, 13 respectively, in federal
 funding to be available for recovery efforts in 2021. Significantly, the ARP Act created new and
 permanent economic support programs for the Island: an expanded Earned Income Tax Credit
 (EITC) program, with up to $600 million in federal support and permanent expansion of

 6  This includes funds for Unemployment Insurance benefits, which are funded by both, the Federal Government and the regular
    local program funds
 7 Gobierno de Puerto Rico Departamento de Salud, “Informe de casos positivos COVID-19 (31 marzo 2021),” 2021. (Accessed 12
    April 2021)
 8 Discover Puerto Rico, “Industry Update COVID-19 – May 1, 2020”, 2020
 9 Gobierno de Puerto Rico Departamento del Trabajo y Recursos Humanos, “Empleo y Desempleo en Puerto Rico,” in Información
    del Mercado Laboral, 2021, and U.S. Bureau of Labor Statistics, “Employed persons by class of worker and part-time status”,
    2021
 10 Banco de Desarrollo Económico para Puerto Rico, “Retail Sales,” on Puerto Rico Economic Indicators, December 2020
 11 The New York Times, Tracking Coronavirus in Puerto Rico: Latest Map and Case Count, 2021. (Accessed 15 December 2021)
 12   Representing Divisions M and N of the Consolidated Appropriations Act, 2021 H. R. 133
 13   These amounts include funding for Unemployment Insurance benefits, which are funded by both, the Federal Government and
      the regular local program funds


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 eligibility criteria of the Child Tax Credit (CTC). Both are projected to have permanent effects on
 income and growth, and the EITC expansion is expected to support timely realization of the
 human capital and welfare structural reform benefits. Finally, Puerto Rico saw a gubernatorial
 transition, with many agencies still working to return to normal while experiencing new
 leadership and staff.
 Updates in the 2022 Fiscal Plan are limited in scope and do not revisit the broad range of forecasts
 and assumptions included in the 2021 Fiscal Plan. Specific updates include incorporating new
 information about the macroeconomic environment, increased federal funding for NAP,
 incorporating the impact of legislation passed by the Government of Puerto Rico expanding the
 EITC program, incremental Federal funding under the Infrastructure Investment and Jobs Act,
 and an increased Medicaid FMAP through early December 2021. The 2022 Fiscal Plan also
 incorporates terms of the confirmed PoA, detail on the use of funds from the Municipal Revenue
 Collection Center (CRIM, by its Spanish acronym), and on the status of PayGo payments. Finally,
 the Plan includes details on the LUMA transaction and costs related to the mobilization of certain
 previous PREPA employees to Commonwealth agencies as well as certain budgetary decisions and
 adjustments that were part of the FY2022 Budget.
 Looking ahead, the Island is still in need of support as it recovers from the pandemic. The
 Government must center all efforts on making the necessary changes to how the Government
 operates and delivers government services, as well as taking steps to improve the conditions for
 investment in the economy in a post-COVID-19 world. Now, more than ever, it is essential that
 the Government focus all of its attention and capacity on implementation to better serve the
 people of Puerto Rico in need of efficient government services and to eliminate barriers to
 economic development and recovery from the unprecedented economic damage caused by this
 series of disasters.




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 PART II. Puerto Rico’s path to fiscal and
 economic sustainability

                         Macroeconomic and demographic trajectory
 The 2022 Fiscal Plan includes an updated macroeconomic forecast reflecting the abrupt impact
 of the COVID-induced recession at the end of FY2020, followed by a rebound and recovery in
 FY2021 and expected to continue into FY2022.
 The baseline economic outlook model, which forecasts real gross national product (GNP) growth,
 primarily relies on a comprehensive dataset of the Puerto Rican economy from 1965 to 2017. It
 includes dozens of variables that collectively describe the Puerto Rican economy (e.g., growth,
 population, capital stock, etc.), and is largely impacted by four major factors: (a) the pre-hurricane
 trendline of Puerto Rico, (b) impacts from the shocks of hurricanes, earthquakes, and COVID-19
 on economic activity, employment and the capital stock, (c) the stimulative impact of federal and
 local relief assistance for hurricanes, earthquakes, and COVID-19 (discussed in Section 4.2.3), (d)
 the stimulative impact of incremental federal funds from the Infrastructure Investment and Jobs
 Act (Section 4.3) and (e) proposed government efficiency measures, investments, and structural
 reforms (discussed in Part IV). 14
 The COVID-19 pandemic has been a devastating and unprecedented health crisis for the Island,
 causing over 2,000 deaths and spikes in unemployment due to impacts on the tourism industry
 and Government lockdowns put in place to curb the spread of the disease. The shock of the
 pandemic on employment, as well as related local and federal stimulus funding, impacted Puerto
 Rico’s economy in a variety of dimensions and directions. While economic activity was severely
 reduced, extraordinary unemployment insurance and other direct transfer programs more than
 offset the estimated income loss due to less activity. As a result, personal income has temporarily
 increased on a net basis.
 The 2021 Fiscal Plan incorporated a real growth series that was adjusted for these short-term
 income effects for the purposes of forecasting tax receipts. The increased level of income is
 associated with higher levels of consumption and income tax collection in the short-term. The
 2022 Fiscal Plan maintains this adjustment.
 Exhibit 9 shows the real GNP growth rate projection and the adjusted growth rate with income
 effects, after the impact of measures, structural reforms, and disaster relief funding.




 14 The forecast relies on a 60-year comprehensive dataset and applying statistical regressions to show the effects of multiple yet
    distinct inter-related components of past hurricanes, exogenous developments, and economic policies on growth and inflation


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 EXHIBIT 9: ECONOMIC GROWTH RATE AFTER MEASURES, STRUCTURAL REFORMS,
 AND DISASTER RELIEF FUNDING




 Additionally, the 2022 Fiscal Plan includes the most recently published revision to the
 International Monetary Fund (IMF) Fiscal Affairs Department’s estimates of capital depreciation.
 The IMF publishes estimates of capital depreciation of public and private capital stocks, as well
 as capital stocks from public private partnerships (PPPs), drawn from analyzing a comprehensive
 sample of around 170 countries starting from 1960 until 2017. The IMF now estimates a lower
 rate of depreciation, which in turn increases Puerto Rico’s capital stock and consequent expected
 growth rate going forward. The updated estimates of capital depreciation were also included in
 the 2021 Fiscal Plan.
 With the exception of FY2022 and FY2023, the 2022 Fiscal Plan uses the Congressional Budget
 Office’s (CBO) July 2021 U.S. inflation projections, along with global forecasts of oil and food
 prices from the IMF’s World Economic Outlook.
 Over the first half of FY2022 there has been a sharp rise in both U.S. and Puerto Rico inflation
 rates, driven by a combination of global and idiosyncratic (U.S.) supply shocks. U.S. annual
 inflation rose from 2.6% in March 2021 to 7.0% in December, 15 while Puerto Rico annual inflation
 rose from 1.0% in March to 4.3% in November. 16
 As is the case in prior Fiscal Plans, Puerto Rico inflation is estimated as a function of
 unemployment and the output gap, also taking into account the impact of global forecasts of oil
 and food prices from the IMF’s World Economic Outlook Bank. The model then incorporates a
 weighted average of U.S. mainland inflation and Puerto Rico’s estimate as the model’s inflation
 metric, to reflect imported inflation. Puerto Rico inflation projections are summarized in Exhibit
 10 and have been updated to reflect higher U.S. inflation estimates, which take into account the
 recent rise in mainland inflation.




 15   U.S. Bureau of Labor Statistics, “December 2021 Consumer Price Index Summary,” 2022
 16   Puerto Rico Economic Development Bank citing U.S. Department of Labor and Human Resources, Consumer Price Index, 2021


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 EXHIBIT 10: ANNUAL PUERTO RICO INFLATION RATE




         Impact of the global COVID-19 pandemic
 The COVID-19 pandemic created economic dislocation around the world. For Puerto Rico, the
 economic shock from COVID-19 came on top of multiple prior shocks in the last four years.
 Hurricanes Irma and Maria struck with devastating impact in September 2017, and the southern
 part of the Island was hit by the strongest earthquakes that the Island had seen in decades at the
 end of 2019. With the onset of the pandemic, the economy of Puerto Rico virtually ground to a
 halt as the public health imperative for people to stay at home left all but the most essential
 workers unable to travel to their places of business. The economy responded to the vast amount
 of local and federal stimulus funding, and an economic recovery is now underway, though there
 is still significant uncertainty about the future of the global, U.S. mainland, and Puerto Rican
 economies.
 The Oversight Board has consulted numerous data sources and expert economists in both Puerto
 Rico and the U.S. mainland to obtain the best insights possible into the current economic
 conditions and prospects for recovery. However, there is no precedent for COVID-19 in the
 historical dataset that informs the 2022 Fiscal Plan’s macroeconomic model. As such, the
 Oversight Board recognizes that there is considerable uncertainty around the near-term economic
 outlook, as even today there remains a wide range of potential public health and economic
 outcomes for Puerto Rico, the nation, and the world. Notwithstanding this uncertainty, the
 Oversight Board has worked to develop a reasonable forecast of the path forward with the
 information and experience currently available.

 4.1.1     Impact of COVID-19 on the U.S. economy
 Consistent with past practice, the Oversight Board primarily relies on U.S. government economic
 forecasts to establish the general economic conditions within which the economy of Puerto Rico
 evolves. The 2022 Fiscal Plan uses the latest Congressional Budget Office forecasts for U.S. GDP
 growth and inflation published in July 2021 as key inputs to create the forecast for the economy




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 of Puerto Rico. 17 In the near term, CBO currently projects stronger U.S. economic growth than it
 did in February 2021. These estimates are based on the assumption that the U.S. real gross
 domestic product (GDP) would have reached pre-pandemic levels this past summer and
 employment levels will return to pre-pandemic levels by mid-2022, for three main reasons. First,
 recently enacted federal fiscal policies, such as the American Rescue Plan and extension of
 federally held student loan forbearance, are projected to boost output. Second, the economic
 effects of social distancing are forecasted to be smaller than previously expected in February.
 Third, CBO estimates of consumer spending are higher to account for the increased savings
 households were able to accumulate during the pandemic. CBO inflation projections are higher
 than in February as well. The revised U.S. growth forecast from CBO translates into higher
 forecasted growth and revenues for the Commonwealth, as U.S. real GDP growth is a major input
 for the macroeconomic projection used in the 2022 Fiscal Plan.

 4.1.2       Specific impacts of COVID-19 on the economy of Puerto Rico
 After incorporating U.S. mainland growth estimates, the 2022 Fiscal Plan factors in certain
 economic effects that are specific to Puerto Rico. The approach accounts for two primary factors,
 which are outlined below: (i) lost income from an enduring spike in unemployment, and (ii) the
 relative amount of income that will be replaced by extraordinary Federal Government support.
 To determine the lost income due to COVID-19, the Oversight Board has analyzed available public
 and private sector forecasts of U.S. unemployment and data from the Government of Puerto Rico
 and the U.S. Department of Labor on initial unemployment claims.
 To determine the lost income due to COVID-19, the Oversight Board has analyzed available public
 and private sector forecasts of U.S. unemployment and data from the Government of Puerto Rico
 and the U.S. Department of Labor on initial unemployment claims, which showed a sharp spike
 in unemployment in the second quarter of 2020, followed by a normalization to pre-pandemic
 levels over the course of 2021. In light of the economic hardship for the people of Puerto Rico, and
 the U.S. as a whole, the Federal and local governments have stepped in to provide much needed
 economic support for residents on the Island. The following sections describe how the 2022 Fiscal
 Plan treats the combined impact of ongoing disaster relief funding, as well as more recent
 economic support in light of COVID-19.


            Federal and local relief spending for Hurricanes Maria and
            Irma, earthquakes, and the global COVID-19 pandemic

 4.2.1       Disaster relief spending from the 2017 hurricanes
 Disaster spending tends to have a short-term stimulative effect on an economy post-crisis, though
 not in the long term. In Puerto Rico, the level of committed public and private disaster relief
 spending is significant when compared to the overall size of the economy. Public and private
 disaster relief spending has and will continue to impact the economy in two ways:
 ■   Stimulative impact from post-hurricane disaster relief spending coming from
     aid packages equivalent to more than 100% of the Island’s GNP. This stimulus can
     come in multiple forms, such as construction companies hiring local, unemployed workers or
     workers from the mainland U.S. paying local withholding taxes and spending money for food
     and lodging.




 17 The CBO last published projections for U.S. long-term GDP growth in March 2021.


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 ■   Expected reconstruction of the capital stock on the Island. The 2022 Fiscal Plan
     factors in significant damage to capital stock that is repaired, in large part, by this
     extraordinary infusion of federal and private monies, contributing to growth in the long-term.
 The 2022 Fiscal Plan projects that ~$84 billion of disaster relief funding in total, from federal and
 private sources, will be disbursed in the reconstruction effort over a period of 18 years (FY2018 to
 FY2035). It will be used for a mix of funding for individuals (e.g., reconstruction of houses,
 personal expenditures related to the hurricane such as clothing and supplies), funding for the
 public (e.g., reconstruction of major infrastructure, roads, and schools), and to cover part of the
 Commonwealth’s share of the cost of disaster relief funding (recipients often must match some
 portion of federal public assistance spend) (Exhibit 11). 18
 Of the total, ~$47 billion is estimated to come from the Federal Emergency Management Agency
 (FEMA) Disaster Relief Fund (DRF) for Public Assistance, Hazard Mitigation, Mission
 Assignments, and Individual Assistance. An estimated $7 billion will come from private and
 business insurance payouts, and $8 billion is related to other sources of federal funding.
 The 2022 Fiscal Plan includes ~$20 billion from the federal Housing and Urban Development
 (HUD) Community Development Block Grant - Disaster Recovery (CDBG-DR) program, of which
 ~$2.7 billion is estimated to be allocated to offset the Commonwealth and its associated entities’
 expected FEMA-related cost-share requirements. 19 This portion of CDBG-DR funding will go
 towards covering part of the ~10% cost-share burden on expenditures attributable to the
 Commonwealth, PREPA, PRASA, and HTA from FY2019 to FY2032. The 2022 Fiscal Plan
 allocates $4.2 billion for Puerto Rico’s cost-match responsibility. After the CDBG-DR funds, out-
 of-pocket cost-share is reduced to $1.5 billion for Puerto Rico, of which $1 billion is attributable
 to the Commonwealth.

 EXHIBIT 11: PROJECTED PRIVATE AND PUBLIC DISASTER RELIEF FUNDING ROLLOUT




 18 Puerto Rico’s cost-match responsibility was estimated using FEMA-provided data, adjusted by category as necessary for waivers
    and exceptions
 19 Estimate based on early assessment of CDBG-DR and CDBG-MIT Action Plans for Puerto Rico (with public data as of March 15,
     2021), as well as patterns of cost share coverage from CDBG-DR in previous storms


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 The major sources of disaster relief funding are detailed below:
 ■   FEMA Disaster Relief Fund: FEMA provides Individual Assistance to individuals and
     families who have sustained uncovered losses due to disasters. FEMA also provides Public
     Assistance to state and local governments and certain types of private not-for-profits for
     debris removal, emergency protective measures, and permanent repair to damaged or
     destroyed infrastructure. Through both its Public Assistance Program and Hazard Mitigation
     Grant Program, FEMA funds projects to reduce or eliminate long-term risks to people or
     property from future disasters. 20
 ■   The U.S. Department of Housing and Urban Development (HUD) CDBG-DR:
     HUD provides CDBG-DR funding that can be used for assistance to individuals, businesses,
     state agencies, non-profit organizations, and economic development agencies. Funds are to
     be used in the most impacted and distressed areas for disaster relief, long-term recovery,
     restoration of infrastructure, housing assistance, and economic revitalization. The 2022 Fiscal
     Plan uses Action Plans approved by HUD to estimate the allocation of these funds, with ~$10
     billion for disaster relief related activities, ~$8 billion to be used towards mitigating risks and
     potential losses in the event of a future disaster and ~$2 billion expected to be used to repair
     the Island’s electric infrastructure. The total ~$18 billion in disaster relief and mitigation
     funds include ~$2.7 billion to cover cost-share for the Commonwealth and its
     instrumentalities.21
 ■   Private insurance funding: Large personal property and casualty losses have been
     incurred in the aftermath of Hurricanes Maria and Irma. An analysis of data from the Office
     of the Insurance Commissioner of Puerto Rico, adjusted for self-insured and other types of
     coverage, was used to determine the amount that has been paid out to individuals and
     businesses for major damages.
 ■   Other supplemental federal funding: Additional federal funding has been appropriated
     to various agencies and projects in Puerto Rico following the hurricane. This money is directed
     at a wide range of recovery efforts, from reconstruction of damaged buildings (for example,
     funding to repair damage to Job Corps centers in Puerto Rico) to funding for health programs
     and environmental management (e.g., U.S. Department of Agriculture (USDA) funding to
     repair water systems in rural areas) to additional funds for the Nutritional Assistance Program
     (NAP).
 Disaster rollout for FEMA funds has been projected by subcategory to account for differences in
 when funds are spent:
 ■   Individual Assistance from FEMA was spent in the immediate aftermath of the storm
 ■   Public Assistance Categories A & B and Mission Assignments are used for debris removal and
     emergency work, and therefore exhausted in the early years of the recovery
 ■   FEMA Categories C-G and Hazard Mitigation are longer-term funding streams that are spread
     out over 18 years, based on the latest estimates regarding the time that it will take to finalize
     reconstruction
 The 2021 Fiscal Plan incorporated data from the Central Office for Recovery, Reconstruction, and
 Resiliency (COR3) and Vivienda on disbursements of FEMA and CDBG-DR funds through the
 first half of FY2021. The 2022 Fiscal Plan incorporates the same data. The rollout of remaining
 FEMA funds is informed by the historical disbursement pace of FEMA funds in Puerto Rico,
 spending patterns in other jurisdictions impacted by major storms (e.g., Hurricane Katrina), and

 20 The 2022 Fiscal Plan does not attribute economic impact to FEMA’s Administrative funding, which is used for FEMA’s personnel
    (primarily outside of Puerto Rico), travel, and other internal costs
 21 As per the Puerto Rico Disaster Recovery Action Plan, April 2020, “the cost share matching requirements of many of these [FEMA]
    programs create a financial burden on subrecipients that will dramatically hinder the recovery process without supplemental
    funding. To substantially reduce this burden, PRDOH intends to leverage CDBG-DR to meet these matching fund requirements…”


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 the spend plans developed by major subrecipients (e.g., PREPA, PRASA) specifically for the use
 of FEMA public assistance funding received. In the case of CDBG-DR funds, they are assumed to
 be disbursed through FY2035, informed by Puerto Rico Department of Housing’s latest
 projections, with program types as published in the latest available Action Plans.
 The 2022 Fiscal Plan posits that, based on how disaster relief funds are spent, these funds will
 impact the economy in various ways: to build the capital stock of the Island through constructing
 and repairing buildings or utilities, to directly impact the economy through spurring consumption
 of goods and services on the Island, or to fund programs and services on the Island. The 2022
 Fiscal Plan estimates a different rate of pass-through to the economy for each of these different
 types of funding as follows: 22
 ■   A 15.5% pass-through rate is assumed for funding that is used to construct and repair utilities,
     given the reliance on specialized labor and materials for such projects (e.g., FEMA Category F
     Public Assistance funding towards constructing public utilities). The rest of this funding flows
     to the Puerto Rico capital stock and therefore contributes to long-term growth.
 ■   A 23.5% pass-through rate is used for funding that is employed to construct and repair
     residential, commercial, and school buildings given the ability to rely more on local labor and
     materials (e.g., repair to public facilities damaged by the storm). The rest of this funding flows
     to the Puerto Rico capital stock and therefore contributes to long-term growth.
 ■   A 23.5% pass-through rate is assumed for funding that is directed towards programs and
     services (e.g., private insurance payments to reimburse personal auto expenditures), as this
     funding hits the Puerto Rico economy through the labor associated with importing and
     transporting. This type of spending does not contribute to the capital stock on the Island, and
     therefore does not contribute to long-term growth.
 ■   A 100% pass-through rate is assumed for funding that is used directly and in full to replace
     income or stimulate spending on goods and services originating on the Island (e.g., disaster
     nutrition assistance). This type of spending does not contribute to the capital stock on the
     Island, and therefore does not contribute to long-term growth.
 ■   CDBG-DR funds put toward cost-share are not passed-through to the economy. These funds
     are used towards the local share of FEMA projects whose value is already accounted for in the
     respective categories.
 The 2022 Fiscal Plan also projects that $750 million in working capital will be made available to
 address the liquidity constraints associated with the reimbursement nature of disaster relief
 programs. This will help to accelerate FEMA-approved reconstruction projects, particularly for
 permanent projects.23

 4.2.2        Federal and local economic support in response to the earthquakes
 As shown in Exhibit 11, funding for the 2019 and 2020 earthquakes includes $947 million in
 Public Assistance funding, of which $440 million is for Category B – Protective Measures, $231
 million is for Category E – Public Buildings, and $101 million is for Public Assistance Management
 Costs. The remaining amounts are divided between Hazard Mitigation ($167 million), Individual
 Assistance ($103 million), and Mission Assignments ($6 million). The 2022 Fiscal Plan applies a
 23.5% pass-through rate on these funds as they are directed toward the reconstruction of public
 buildings and facilities (see Section 4.2.1). The earthquake-related federal funding is assumed to
 impact the economy from FY2021 through FY2023.



 22 Estimated using local contracts for PREPA, residential construction and school construction. These contracts were estimated to
    have between 10% and 18% pass-through on the economy, respectively, which was then augmented by 5.5% average spend on
    transportation and logistics on construction projects, which rely on 100% domestic labor
 23 The working capital facility is considered a use of the Commonwealth balance sheet, not a Fiscal Plan expense


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 4.2.3     Federal and local economic support in response to the COVID-19
           pandemic
 In response to the COVID-19 pandemic, both the Federal Government and Puerto Rico
 Government have launched major relief packages to contain and mitigate the spread of COVID-
 19, support residents and frontline workers, and help the Island’s economy rebound.
 There have been multiple rounds of federal assistance which have included direct assistance to
 individuals, families, and businesses, as well as funding provided to local governments to assist
 with pandemic response.
 On March 18, 2020, the Families First Coronavirus Response Act was signed into law. The bill
 includes free COVID-19 testing for uninsured individuals, emergency paid sick leave, expanded
 family and medical leave programs, unemployment assistance, food aid, and federal funding for
 Medicaid.
 On March 27, 2020, the Coronavirus Aid, Relief, and Economic Security (“CARES”) Act was
 signed into law. The relief package allocated an estimated $2.2 trillion to battle the harmful effects
 of the COVID-19 pandemic. The package was the largest fiscal stimulus package in modern
 American history and aimed to financially support both governments and businesses, provide
 relief to individuals, and expand COVID-19 response measures, as well as build future resiliency.
 The law provided $150 billion of direct support to state and local governments. In addition,
 eligible individuals received a $1,200 direct payment, as well as an additional $500 for each
 dependent child, in each case subject to income phase-outs. The law also provided additional
 unemployment insurance benefits for individuals impacted by COVID-19, including incremental
 benefits of $600 per week through July 31, 2020 and a 13-week extension in the amount of time
 that an individual could collect benefits (from 26 to 39 weeks). On April 24, 2020, Congress
 passed the Paycheck Protection Program and Health Care Enhancement Act, which extended
 certain provisions of the CARES Act. This package provides an additional $482 billion for small
 businesses, healthcare providers, and expanded testing to address the COVID-19 pandemic.
 On April 2, 2020, through collaboration with the Puerto Rico Government, the Oversight Board
 certified a $787 million emergency measures support package, which offered direct assistance to
 workers and businesses (see Exhibit 12). The package was funded through $500 million of
 incremental new spending (made available via a special appropriation), $131 million for education
 related materials through existing federally funded government contracts, and $157 million
 through a reapportionment within the FY2020 Commonwealth General Fund budget.




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 EXHIBIT 12: PUERTO RICO EMERGENCY MEASURES SUPPORT PACKAGE PROVISIONS




 These funds have played an essential role in helping to mitigate the unprecedented economic
 damage from the sudden economic shock caused by the pandemic.
 On December 27, 2020, the Coronavirus Response and Relief Supplemental Appropriations Act
 of 2021 (CRRSA) was signed into law. The law provided an additional $900 billion in COVID-19
 relief. The CRRSA Act allocated no additional funds to states and territories, but it extended the
 deadline to use Coronavirus Relief Funds, Title V of the CARES Act, by one year. It also provided
 economic support to businesses and funding to promote testing, contact tracing and vaccine
 distribution. The 2022 Fiscal Plan includes an estimate of what portion of these federal funds are
 estimated to be allocated to Puerto Rico.
 On March 11, 2021, the American Rescue Plan (ARP) Act of 2021 was signed into law. This COVID-
 19 relief package allocates $1.9 trillion to provide direct relief to Americans, reopen schools, and
 support a national vaccination program. Major components of the bill include:
 ■   Economic Impact Payments (EIP): ARP provided eligible individuals with a $1,400
     direct payment, as well as an additional $1,400 for each dependent, in each case subject to
     income phase-outs. For example, married filers with two dependents that qualified for the
     program received $5,600. It was estimated that more than 85% of households would receive
     a direct payment. Additionally, the definition of qualifying dependents expanded to include
     full-time students younger than 24 as well as any adult dependents such as adults with
     disabilities or grandparents.
 ■   Expanded Unemployment Benefits: The law extended expanded unemployment
     benefits through September 6, 2021 to continue addressing unemployment caused by the
     COVID-19 public health emergency. This extension included the Pandemic Unemployment
     Assistance (PUA), the Federal Pandemic Unemployment Compensation (FPUC), and the
     Pandemic Emergency Unemployment Compensation (PEUC). Furthermore, the law extended


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     the Families First Coronavirus Response Act (FFCRA) unemployment provisions that ensure
     full federal financing of extended benefits through September 6, 2021.
 ■   Child Tax Credit (CTC): The bill permanently removes the provision that requires a three
     (3) child minimum for Puerto Rico residents to claim the Child Tax Credit and removes the
     phase-in for the credit for calendar year 2021. The Child Tax Credit typically begins phasing
     in for incomes above $2,500, at a rate of 15% per dollar above the $2,500 threshold until the
     maximum credit is reached. When filing federal taxes for tax year 2021, Puerto Rico residents
     below the phase-out rate will receive the full Child Tax Credit for all children. Additionally,
     and for tax year 2021 only, eligible filers will receive an increased Child Tax Credit of $3,600
     per child under six (6) years of age and a Child Tax Credit of $3,000 per child six (6) years of
     age through 17 years of age. For example, married filers below the phase-out rate with children
     aged four (4) and twelve (12) will receive $6,600. When filing federal taxes for tax year 2022,
     the Child Tax Credit for Puerto Rico families is reduced back to $1,400 per child, but the three-
     child minimum requirement has been permanently lifted. This means that when filing federal
     taxes for tax year 2022, the same family as before (given the family has enough income to be
     above the phase-in level), now with children aged five (5) and thirteen (13) will receive $2,800.
     Under the previous regulations, that family would not have been eligible for any Child Tax
     Credit.
 ■   Earned Income Tax Credit (EITC): In the mainland, the ARP significantly increases the
     maximum credit amount for previously excluded adults without children for tax year 2021.
     For Puerto Rico, the law includes up to $600 million in annual federal fund matching to
     incentivize the Government to permanently expand the local EITC program. That amount
     would be delivered in the form of a reimbursable grant equivalent to three times (3X) the local
     spending, and indexed for U.S. inflation after the first year, thereby drastically expanding the
     size of the EITC program (which was previously supported by only $200 million per year in
     local Government funds) on Island.
 ■   Elementary and Secondary School Emergency Relief Fund (ESSER): The law
     expanded upon the education provisions outlined in the CRRSAA and provides additional
     funding to elementary and secondary education, which remains available for obligation
     through September 30, 2023. The use of these funds remains flexible, meaning State
     Education Agencies (SEAs) and Local Education Agencies (LEAs) can use them to address a
     variety of needs. These include, but are not limited to, addressing learning loss, maintaining
     social distancing, hiring support staff, and enhancing ventilation systems. In April 2021 the
     U.S. Department of Education released additional formal guidance on how to calculate the
     Maintenance of Effort (MOE) requirements associated with this fund and the Governor’s
     Emergency Education Relief (GEER) Fund, also provided under the CARES and CRRSA Acts.
     The guidance explains how states and territories should determine what level of state
     spending on elementary, secondary, and higher education is required in order to comply with
     the MOE requirements in these relief packages, as well as procedures for seeking waivers. The
     Commonwealth has analyzed this guidance as well as its implications on the UPR and PRDE
     funding provided for FY2022 and formally requested a full waiver of the MOE requirements
     on September 1, 2021.
 ■   State and Local Aid: The law includes $360 billion in direct support to state and local
     governments. Puerto Rico’s share of funds are split between the territory, counties,
     metropolitan cities, and towns with fewer than 50,000 people. These funds will be used to
     cover costs incurred by December 31, 2024, and the funds allow Puerto Rico flexibility to
     respond to and address local needs. On August 3, 2021, Governor Pierluisi released a spending
     plan for the $2.47 billion Puerto Rico received through the State Fiscal Recovery Fund created
     under the ARP Act. The spending focused on economic development ($520 million), quality
     of life ($570 million), government excellence ($555 million) and set aside $600 million for
     future projects and $225 million for administrative expenses.



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 The 2022 Fiscal Plan includes an estimate, shown in Exhibit 13 below, of what portion of federal
 funds included in the aforementioned bills will be allocated to Puerto Rico, based on a variety of
 sources. The lead federal agencies for each ARP Act program continue to release the terms and
 conditions that provide additional guidance on how the funds will be allocated as well as eligible
 uses. The Oversight Board expects the Government to apply this guidance to maximize the impact
 of these federal funds on Island and will work to identify current or incremental expenditures that
 could be covered by extraordinary federal funds. Given the terms and conditions and allocations
 of these funds are not finalized, the figures in the exhibit are subject to change.

 EXHIBIT 13: ESTIMATED COVID-19-RELATED FEDERAL FUNDS ALLOCATED TO PUERTO
 RICO AS OF APRIL 2021




 The 2022 Fiscal Plan incorporates the combined effect of federal and local economic support in
 three ways. First, certain types of funding intended to prevent revenue and job loss are assumed
 to mitigate what otherwise would have been even higher unemployment and revenue loss had
 those funds not been provided. These funds are implicitly reflected in the 2022 Fiscal Plan
 because, without them, the income loss estimates would have been larger. The federal Paycheck
 Protection Program, which is designed to encourage businesses to keep employees on the payroll,
 is one example of this type of funding.
 The second type of funds are those administered through economic support programs designed
 to provide income support directly from the Federal or local government. Examples include
 unemployment benefits, economic impact payments, and direct payments through increased
 benefits of regular nutrition and rental assistance programs.
 The total amount of income replacement funds included in the 2022 Fiscal Plan is estimated to
 more than offset the forecasted income loss due to the COVID-19 pandemic. Based on recent




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 research on stimulus funds spending, 24 the 2022 Fiscal Plan estimates that around 60% of income
 support funding will be spent over the FY2020-FY2023 period. 25 The remaining 40% of funds is
 projected to be saved and/or used to pay down debt, and then is spent over a 30-year period
 according to the long-term consumption smoothing concept. 26
 Finally, for government expenditures and programs funded by federal and local economic support
 programs, the 2022 Fiscal Plan uses the same approach as it does in estimating the pass-through
 of these expenditures to Puerto Rico as has been used for other types of economic stimulus
 funding such as disaster-recovery spending. Specific pass-through rates used on this funding are
 detailed below:
 ■   A 23.5% pass-through rate is applied to spending on government programs and services.
     Examples include funding for law enforcement and the National Guard in Puerto Rico.
 ■   A 5.5% pass-through rate is assumed for funding that is primarily directed to acquisition of
     goods that will predominantly be sourced off-Island. This funding impacts the Puerto Rican
     economy only through the on-Island transportation of such goods. Examples of this are testing
     and medical equipment, or educational supplies to facilitate distance learning.
 Additionally, the 2022 Fiscal Plan accounts for the impact on growth that permanent changes in
 EITC and CTC programs are expected to deliver. The expanded EITC program is expected to
 represent an inflow of up to $600 million per year. This positive impact on the economy and
 growth, however, has an additional fiscal cost of increased local funding required to fund the
 minimum local spending requirement to attain the maximum federal funds available under the
 ARP Act. The CTC program is expected to have a positive impact on GNP in the short-term due to
 temporary benefits under the ARP Act, and in the long-term due to the recurring additional funds
 that it will provide to beneficiaries.


            Federal funds from the Infrastructure Investment and
            Jobs Act
 On November 15, 2021, President Biden signed the Infrastructure Investment and Jobs Act (IIJA)
 into law. The IIJA bill allocates around $2.3 billion federal funds to Puerto Rico with the purpose
 of improving the Island’s infrastructure stock over FY2022-2026. These funds will support
 repairing and rebuilding roads and bridges; improving public transportation options; building a
 network of electric vehicle chargers; increasing broadband coverage; preparing infrastructure for
 climate change, cyber-attacks, and extreme weather events; improving water infrastructure;
 developing airport infrastructure; among other purposes. 27 Incremental funding from the IIJA
 (accounting for prior Federal infrastructure support) is estimated to be around $1.6 billion. The
 2022 Fiscal Plan accounts for the impact of these incremental funds, which have a positive
 temporary impact on economy and growth due to the temporary nature of the funds.


            Impact of fiscal or government efficiency measures
 Government efficiency measures seek to streamline and transform the Government of Puerto Rico
 to deliver critical government services to the population and business sector more efficiently by
 optimizing revenue collection and reducing government-wide expenditures, while ensuring

 24 Federal Reserve Bank of New York, “How Have Households Used Their Stimulus Payments and How Would They Spend the
    Next?,” 2020
 25 National Bureau of Economic Research, “Transfer Payments and the Macroeconomy: The effects of Social Security benefit
    changes,” 2014
 26 The duration of the period was calculated as the difference between the average life expectancy for people over 18 years of age
    in Puerto Rico and the average age of people over 18 years of age in Puerto Rico
 27 White House, “White House Releases Updated State Fact Sheets Highlighting the Impact of the Infrastructure Investment and
     Jobs Act Nationwide”, State Fact Sheet for Puerto Rico, 2021


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 sustainability of those services over time given population trends. Such policy actions will
 generate a contractionary impact on the economy in the short term but are necessary to drive
 government efficiency and fiscal sustainability, as well as improve service delivery, in the long
 term. The net effect of these two forces is still significantly positive from a fiscal savings
 perspective through FY2051. The short-term macroeconomic impact of the measures is
 summarized in Exhibit 14.

 EXHIBIT 14: MACROECONOMIC IMPACT OF FISCAL MEASURES




 The 2022 Fiscal Plan assumes that the fiscal impact of disaster relief spending and fiscal measures
 is not permanent, but rather is unwound over the course of several years. The 2022 Fiscal Plan
 unwinds these over five years, as model-based and econometric studies find that the output effect
 of an exogenous fiscal shock typically disappears within five years, even if fiscal measures are
 permanent. 28


             Impact of structural reforms
 The estimated impact of structural reforms is based on work done by the International Monetary
 Fund on labor reforms implemented in Europe (e.g., Spain and Estonia) and South America (e.g.,
 Peru and Colombia), among other jurisdictions; utilities reform in Latin America; broadly-
 accepted metrics for measuring improvement in the World Bank’s Doing Business Rankings (as
 well as examples of growth experienced by countries that have implemented such reforms); and
 education reforms in Europe and elsewhere. Structural reform benchmarks, to the extent
 possible, come from nations or jurisdictions that face similar constraints to Puerto Rico (e.g.,
 limited monetary policy options, high informal labor markets).
 Energy and ease of doing business reforms are projected to increase GNP by 0.60% by FY2026,
 and human capital and welfare reform is expected to add another 0.15% in FY2025 (Exhibit 15).
 Finally, K-12 education reforms add an additional 0.01% annual impact beginning in FY2037,
 resulting in total GNP increase from structural reforms of 0.75% by FY2026 and 0.90% by


 28 Batini, N. Eyraud, L. and Weber, A. “A Simple Method to Compute Fiscal Multipliers”, IMF Working Paper WP/14/93, as well as
    Mountford, A. and Uhlig, H. “What are the Effects of Fiscal Policy Shocks?” Journal of Applied Econometrics, 24: 960-992 (2009)
    and Jorda, O. and Taylor, A. “The Time for Austerity: Estimating the Average Treatment Effect of Fiscal Policy,” Economic Journal,
    126: 219-255, February 2015


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 FY2051. The anticipated timing of the incremental positive impact of these reforms has been
 delayed in this 2022 Fiscal Plan given the delay in the Government’s implementation efforts.

 EXHIBIT 15: MACROECONOMIC IMPACT OF STRUCTURAL REFORMS




          Population projections
 Even before Hurricanes Maria and Irma hit the Island in 2017, Puerto Rico’s population had been
 trending downward by up to 2% every year as residents left to seek opportunities elsewhere and
 birth rates declined. In 2016, the U.S. Census Bureau's official forecast, projected a worsening
 population outlook due in large part to Puerto Rico’s rapidly aging population. This high average
 age range results from extremely low age-adjusted birth rates and outmigration of younger
 people. Indeed, in 2016, Puerto Rico began to experience negative natural population change (a
 higher number of deaths than births). This negative natural change has continued unabated into
 2021.

 Hurricanes Irma and Maria served to compound the problem, spurring an additional outflow of
 people just as natural population decline has set in, as many residents lost houses, jobs, and loved
 ones. While some of these people have returned, the population is still projected to decline over
 the course of the 2022 Fiscal Plan period and beyond. Further disasters, such as the series of
 earthquakes experienced in 2020, have not made a swift return to balanced migration any more
 likely. But while net migration is a larger driver of population change in the short term, this factor
 is volatile; in the long run, net migration is projected to return to more balanced trends.
 Meanwhile, natural population change is not guaranteed to rebalance at any point, and births are
 likely to continue declining, while deaths are projected to slowly rise in the mid-term. COVID-19
 suppressed air traffic between Puerto Rico and the mainland, and thus impacted migration, but
 recent data suggests that this effect is expected to be transitory.




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 Shortly after the publication of the 2021 Fiscal Plan, the Census Bureau published 2020 Census
 data, which showed a population of ~3.3 million in Puerto Rico at the end of 2020, representing
 an increase of 275,000 persons relative to the 2021 Fiscal Plan. The 2022 Fiscal Plan includes
 updated population forecasts that reflect the 2020 Census data as well as updated data on
 migration trends and births and deaths for Puerto Rico.

 While the updated population forecast in the 2022 Fiscal Plan shows higher population projection
 relative to the 2021 Fiscal Plan, the growth rate remains negative. As outlined in Exhibit 16 below,
 this 2022 Fiscal Plan projects that by FY2026, there will be approximately 5% fewer people living
 on the Island than in FY2021. By FY2051, the decline in population will be approximately 25%.

 EXHIBIT 16: PROJECTED POPULATION CHANGE




                         Fiscal Plan financial projections (FY2022-
 FY2026)
 In the past several years, Puerto Rico has endured a tumultuous economic climate due to natural
 disasters and the COVID-19 pandemic. This has had a direct impact on economic growth and,
 ultimately, on Government revenues. The impact to Puerto Rico has been a real GNP decline in
 FY2020 followed by a rebound in FY2021 and FY2022 as the full impact of the federal economic
 support takes hold.
 Before measures (i.e., in the “baseline forecast”), debt service and other PoA terms, the Fiscal Plan
 projects a surplus between FY2022 and FY2034. 29 This surplus declines over time as federal
 disaster relief funding slows, nominal GNP growth declines from a cyclical high in FY2022, Act
 154 and Non-Resident Withholding revenues decline, and healthcare expenditures rise.
 The fiscal measures and structural reforms contained in the 2022 Fiscal Plan drive a significant
 portion of the surplus in the 2022 Fiscal Plan. Fiscal measures will contribute ~$6.3 billion in
 savings and extra revenue over FY2022-FY2026 and structural reforms will drive a cumulative
 0.90% increase in growth by FY2051 (equal to ~$33 billion). Insufficient implementation of
 structural reforms proposed in previous fiscal plans is holding back further potential growth and


 29 The baseline forecast also reflects the pledge of a portion of annual SUT revenues to COFINA creditors as per the terms of the
    COFINA Title III Plan of Adjustment


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 revenue uplift. Structural factors holding back growth include continued highly regulated and
 restrictive private sector labor market policies that prevent higher growth, a delay in rolling out
 the NAP work requirement to increase labor force participation rates, and a lack of progress
 implementing more meaningful ease of doing business reforms to improve the economy’s
 competitiveness and attract greater levels of investment and job creation. Exhibit 17 illustrates
 the projected deficit / surplus (before debt service and PoA terms) through FY2026.
 Projections for FY2027 onwards are included in Chapter 6.

 EXHIBIT 17: PROJECTED SURPLUS PRE-DEBT SERVICE AND PENSION TRUST, BEFORE
 AND AFTER MEASURES




          Baseline revenue forecast
 Major revenue streams (Exhibit 18) include non-export sector General Fund revenues (including
 individual, corporate, and sales and use taxes) and export sector revenues (including Act 154
 excise taxes paid by multinationals operating on the Island, and Non-Resident Withholdings), as
 well as Federal funding. The 2022 Fiscal Plan also includes certain Commonwealth revenues that
 prior to PROMESA the Commonwealth appropriated to certain instrumentalities pursuant to
 statutes enacted by prior legislatures; the inclusion of these revenues in the 2022 Fiscal Plan is
 based on the Oversight Board’s legal conclusions that (i) such monies are property of the
 Commonwealth, (ii) each pre-PROMESA statute appropriating or transferring such monies to
 instrumentalities of the Commonwealth is preempted by PROMESA, (iii) such statutes were
 enacted by prior legislatures that cannot bind the current legislature, and (iv) in any event, absent
 PROMESA under the Puerto Rico Constitution, such monies would not be transferred to the
 instrumentalities while General Obligation debt is not being paid according to its terms.
 There is expected to be significant near-term uncertainty in the level of revenue collections, as the
 post-COVID recovery is constantly evolving and as the U.S. federal government considers
 legislation that may provide additional federal funding. Since the April 2021 Fiscal plan, there has
 been new data reflecting a strong economic recovery related to resumption of economic activity
 enabled by COVID-19 vaccinations and federal stimulus funding disbursed throughout the

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 COVID-19 pandemic. As a result of these changes, the 2022 Fiscal Plan forecasts higher tax
 collections than the 2021 Certified Fiscal Plan. Relative to the 2021 Fiscal Plan, General Fund
 revenues are expected to be ~7% higher in FY2022 and ~6% higher in FY2023.

 EXHIBIT 18: MAJOR REVENUE STREAMS POST-MEASURES




 Additional details on the 2022 Fiscal Plan revenue streams are provided below, with details on
 the financial projections included in the Appendix. The following sections describe the approach
 to estimating revenues for key revenue streams.

 5.1.1        Non-export sector General Fund revenue projections
 Individual income taxes: Individual income taxes are highly concentrated, with 78.2% of
 revenues coming from the 8.7% of tax returns reporting income above $60,000 in FY2018. 30 The
 2022 Fiscal Plan incorporates the expected incremental individual income tax collections
 associated with disaster relief spending. The 2022 Fiscal Plan projects that disaster relief
 spending will continue to contribute to the income tax base, either through mainland workers
 temporarily working in Puerto Rico or from Puerto Rican residents entering the formal economy
 as a result of disaster relief projects.
 Corporate income taxes: There is also concentration in tax receipts among the largest
 corporations operating in Puerto Rico (e.g., ~29% of corporate income taxes are paid by 20
 corporate taxpayers). 31 Historical aggregated data from Hacienda show that in the aftermath of
 the 2017 hurricanes, there was an influx of corporate activity spurred by reconstruction funding
 and mainland-based firms entering the Island’s economy. This had led to higher corporate income
 taxes relative to GNP in FY2018 and FY2019, and this trend was continuing in FY2020 prior to
 the onset of COVID-19. The 2022 Fiscal Plan incorporates the contribution of disaster relief

 30 Hacienda historical reports as of April 2018
 31 Ibid.


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 spending to the corporate tax base into future years. Further, the 2022 Fiscal Plan reflects certain
 adjustments to corporate income tax revenues attributable to one-time M&A activity, which
 resulted in a non-recurring $488 million of revenues in FY2020 and ~$39 million in reduced
 corporate income taxes starting in FY2021, as projected by Hacienda.
 Sales and use taxes (SUT): As with corporate and personal income taxes, SUT outperformed
 relative to GNP in FY2018 and FY2019, likely boosted by the increased economic activity resulting
 from the post-disaster reconstruction process (including through the replacement of lost
 inventory, higher SUT compliance by larger firms less impacted by natural disasters and changes
 in consumption patterns caused by COVID-19 lockdowns and federal support). The 2022 Fiscal
 Plan incorporates incremental tax collections as disaster relief continues in future years.
 Partnership income taxes: Act 60-2019 extended an alternative tax election for taxpayers to
 pay income taxes at the Partnership level at preferential tax rates. This change in tax
 administration resulted in a new category of revenue collections of ~$439 million 32 for FY2021.
 These payments largely reflect payments that otherwise would have been made by the partners in
 these entities and therefore would have been reported as personal or corporate income tax. While
 there is still some uncertainty over the true size of the Partnerships tax base, year-to-date receipts
 for FY2022 show similar collections to the same period in FY2021. The Plan treats 75% of the
 $430 million projected partnership revenues as recurring, and 25% as non-recurring revenues
 related to COVID-19, which unwind by FY2024.
 Other General Fund revenue (including Motor Vehicles, Alcoholic Beverages, and
 Cigarettes): Motor vehicle revenue tax receipts surged in FY2018 and this trend continued into
 FY2021, as residents continued to accelerate motor vehicles purchases in the aftermath of the
 2017 hurricanes and during the COVID-19 pandemic as federal stimulus payments reached the
 Island. The 2022 Fiscal Plan forecasts that elevated purchasing of motor vehicles will continue
 into FY2022 but purchases then return to historical trends over the following years. In addition,
 since FY2019 there has been a persistent increase in “other excise tax” collections, as these taxes
 were migrated to the new Internal Revenue Unified System (SURI by its Spanish acronym)
 platform. Hacienda has reported that it is challenging within the new platform to properly classify
 a component of these revenues according to their appropriate excise tax classification (e.g., motor
 vehicles, alcoholic beverages). Accordingly, the agency has created a suspense account to
 recognize these collections until the corresponding return is received and reconciled. The
 Oversight Board has requested corrective action be taken to accurately and in a timely manner
 recognize revenues in their appropriate revenue accounts to reduce the accumulation of
 unclassified excise taxes, and better isolate how much of the elevated collections come from re-
 classified taxes versus improved compliance. The 2022 Fiscal Plan includes an updated forecast
 of other General Fund tax revenues to reflect the expected continued elevated collections relative
 to prior year forecasts. The Oversight Board will continue to work with Hacienda to decompose
 this category of revenue and improve the granularity of future year forecasts.
 Export sector revenue projections: Act 154 and Non-Resident Withholding (NRW) tax
 revenues are concentrated in a small number of multinational corporations. From FY2017 to
 FY2024, the 2022 Fiscal Plan estimates that Act 154 and NRW revenues will erode due to U.S.
 federal tax reform (reducing Puerto Rico’s attractiveness as a low tax jurisdiction for
 multinationals), global supply chain diversification, and patent expirations. During FY2021, the
 Government submitted comments for the U.S. Treasury’s consideration in response to the IRS
 notice of proposed rulemaking REG-101657-20 publication. On December 29, 2021, the U.S.
 Treasury issued final guidance agreeing to delay for one year, until January 1, 2023, the
 application of new foreign tax credit regulations to the excise tax imposed by Act 154. Thus, the
 Act 154 excise tax paid by multinational corporations will continue to be creditable against the
 U.S. income tax liability through calendar year 2022. In addition, the U.S. Treasury has publicly
 proposed reforms to the global corporate tax regime that could impact Puerto Rico, if enacted.


 32 Hacienda repot as of August 2021. Does not include deferred taxes from FY2020 collected during FY2021


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 Finally, a few Act 154 filers have publicly announced decisions to cease operations on the Island.
 These announcements and potential future announcements may have a more negative effect on
 Act 154 and Corporate Income Tax collections than currently projected, while timely tax reform
 to respond to these changes may stabilize collections. The Oversight Board will closely monitor
 developments in the event they impact the 2022 Fiscal Plan.

 5.1.2        Medicaid funding
 Although Puerto Rico has a 55% statutory federal medical assistance percentage (FMAP) for most
 populations, the amount of annual federal funding for non-CHIP Medicaid expenditures received
 under Section 1108 is capped each year – meaning the Commonwealth is fully responsible for
 covering costs above this cap. Prior to recent CMS guidance, this cap was set at around $400
 million annually. While the cap grows each year according to the Medical Consumer Price Index
 for All Urban Consumers (CPI-U), this growth rate does not keep pace with the Island’s projected
 healthcare expenditure growth. 33
 Historically, the actual cap applied to Puerto Rico’s Medicaid program varied based on a series of
 one-time legislative actions to increase funding to the Island’s Medicaid program. Under a
 September 2021 CMS interpretation of Section 1108 of the Social Security Act, Puerto Rico is now
 permanently expected to receive a higher federal funding allotment cap (starting at $2.943 billion
 in FFY2022). 34 The growth rate remains pegged to the medical component of CPI-U.
 Each year, ~$100 million of federal Section 1108 funds are allocated to the Department of Health
 to cover the eligible federal match on expenditures related to Federally Qualified Health Centers
 (“Centros 330” or “FQHC”) and Medicaid Program operations. That portion of federal funding is,
 therefore, considered unavailable for use on other Medicaid expenditures.
 ■    Increases in available Medicaid funding from federal legislation: Since 2011, Puerto
      Rico has received temporary relief from rising healthcare costs through increased levels of
      federal reimbursement made available through the passage of the Affordable Care Act, the
      Bipartisan Budget Act of 2018, the Further Consolidated Appropriations Act of 2019, and the
      Families First Coronavirus Response Act of 2020. These bills provided supplementary federal
      funding to Puerto Rico’s Medicaid program through September 30, 2021 (i.e., the first quarter
      of FY2022) and generally relied on two levers to enhance Puerto Rico’s federal Medicaid
      reimbursement: increasing the statutory funding cap and increasing the FMAP.
      Due to the short-term nature of the supplemental federal funding, Puerto Rico always faced
      the prospect of a Medicaid fiscal “cliff,” whereby federal Medicaid funding would fall
      precipitously to roughly $400 million per year.
      Beginning October 1, 2021, the available federal funds were expected to fall to ~$406 million
      to be reimbursed at the statutory FMAP of 55%. However, in September 2021, CMS
      announced an interpretation of the Medicaid funding cap provision for Puerto Rico under
      Section 1108(g) of the Social Security Act that increased the allotted cap for FFY2022 to
      $2.943 billion. CMS further stipulated in this clarification that the cap should continue to
      grow by the medical care component of the CPI-U each federal fiscal year thereafter. 35


 33 According to §1108(g) of the Social Security Act., from 2011 to 2016, the cap grows by the medical component of CPI-U as
     reported by BLS each year. From FY2011 to FY2016, this growth averaged 2.9%. From FY2012 to FY2022, the growth averaged
     2.8%. This inflation rate differs from the healthcare inflation index for Medicaid and Medicare used elsewhere in the 2022 Fiscal
     Plan (4.5% to 5.5% from FY2020-FY2022, decreasing to 4.75% in FY2051). Instead, the medical component of CPI-U includes
     other factors that lower the inflation rate by approximately 3-5 percentage points, meaning the increase in the federal funding cap
     will not keep up with actual increases in expenditures
 34 Before CMS’ recent interpretation of §1108(g) of the Social Security Act, Puerto Rico’s federal funding allotment cap for Medicaid
    was forecasted to be closer to $0.4 billion in FFY2022
 35 In November, the Government Accountability Office (an independent agency that works for Congress) issued an opinion which
     strongly disagreed with the CMS interpretation. After receiving the GAO opinion, CMS formally reiterated its intention to stick to



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      The CMS interpretation of Section 1108(g) provides a long-term Medicaid funding solution
      for the Commonwealth. The 2022 Fiscal Plan allows the Commonwealth to maximize
      available federal Medicaid funds in FY2022 and FY2023, adding coverage for additional
      benefits and/or enrollees, as necessary, to reach a new steady-state program size. Starting in
      FY2024, the 2022 Fiscal Plan assumes the program will grow at a rate commensurate with
      projected PMPM inflation rates and Island population decline. This program growth rate
      slightly exceeds the growth rate of the federal cap and includes the reinvestment of savings
      from Medicaid reform measures.
      By making the Commonwealth’s target total program expenditure dependent on maximizing
      federal funding available, the new program size estimates become very sensitive to potential
      changes in FMAP. The Further Consolidated Appropriations Act of 2019 increased the
      statutory FMAP through September 30, 2021, from 55% to 76% for most populations, and the
      Families First Coronavirus Response Act of 2020 provides for an incremental 6.2 percentage
      points of FMAP for the duration of the COVID-19 Public Health Emergency Period (PHE),
      which is defined by the U.S. Secretary of Health and Human Services and currently extends
      through March 2022. In September 2021, a continuing resolution (the Extending Government
      Funding and Delivering Emergency Assistance Act) extended the 76% statutory FMAP for
      most populations through December 3, 2021. However, this extension of the statutory FMAP
      increase was not included in the latest continuing resolution (the Further Extending
      Government Funding Act of December 2021), and on December 4, 2021, Puerto Rico’s
      statutory FMAP returned to its standard base level of 55% for most populations.
 ■    Enhanced Allotment Plan (EAP) funding: The Enhanced Allotment Program (EAP)
      provides an additional source of federal funding to support low-income beneficiaries in their
      purchase of prescription drugs under Medicare Part D. This allotment can only be used for
      this purpose and is not countable against the Section 1108 funding cap. Estimates for this
      funding come from the Puerto Rico Health Insurance Administration (ASES, by its Spanish
      acronym). In FY2022, EAP funding is projected to be ~$65 million. The EAP inflation rate is
      forecasted to be roughly 5.3% annually. 36
 ■    Children’s Health Insurance Program (CHIP) funding: The Children’s Health
      Insurance Program (CHIP) provides health coverage to eligible children, through both
      Medicaid and separate CHIP programs. CHIP is administered by the Commonwealth
      according to federal requirements. The program is funded jointly by Commonwealth and
      federal funds. This funding is incremental to Section 1108 capped funding and is not subject
      to a federal funding cap. Without additional legislation, the CHIP matching rate, also known
      as the Enhanced FMAP (or eFMAP), for Puerto Rico is statutorily set at a minimum of 68.5%
      under Title XXI of the Social Security Act. Post passage of the Affordable Care Act, starting in
      FY2016, the eFMAP for Puerto Rico was raised to 91.5% through September 30, 2019.
      Subsequently, the eFMAP increased to 99% through a combination of legislative activity
      including the HEALTHY KIDS Act and Families First Act. The former expired in September
      2020. 37 According to ASES’ December 2021 projections, the CHIP eFMAP remained at 85%
      through November 2021, before dropping to 68.5% in December 2021.
 ■    Special Revenue Fund revenues from municipalities: Additional revenue for the
      Medicaid program comes from municipal intra-governmental transfers predicated on a
      responsibility by the municipalities to provide funding for costs on behalf of their employees.
      Assuming a 55% statutory FMAP (for non-expansion Medicaid populations), municipalities
      contribute ~$164 million per fiscal year to the Commonwealth’s Medicaid program. In
      response to legislative changes to this FMAP and the incremental FMAP from PHE, the
      funding formula for municipalities was revised. As the Federal Government increases the

     its interpretation of the law. CMS has effectively implemented its interpretation of the law, with no indication of plans to change
     course. The Commonwealth and ASES continue to operate under the CMS interpretation
 36 According to ASES, this rate is equal to the expected annual increase in Medicare Part D prescription drug costs.
 37 MACPAC, “Medicaid and CHIP in the Territories,” 2020


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     FMAP, municipalities have been given the benefit of a reduced municipal contribution. See
     Section 5.1.4 below for more information.
 ■    Special Revenue Fund revenues from Commonwealth employers: Additional
      revenue for the Medicaid program comes from intra-governmental transfers to cover
      retirement and health care expenses incurred by various Commonwealth entities on behalf of
      their employees. Please see Section 5.1.4 below for more information.
 ■   Special Revenue Funds revenues from prescription drug rebates: Currently, Puerto
     Rico operates its own drug rebate program whereby the Commonwealth negotiates or utilizes
     pre-negotiated agreements with drug manufacturers to return a portion of cost for
     prescription drugs (expected gross rebates are $264 million in FY2022). 38 These funds enter
     the Commonwealth budget as Special Revenue Funds and are applied directly against the
     costs of Medicaid premiums. Because CMS covers a portion of the prescription drugs, net
     federal funds are expected to decrease by the eligible amount “paid for” by CMS. 39 In FY2022,
     ASES began setting aside funds to prepare for this reduction in federal funds due to sharing.
     This is expected to result in $204 million additional General Fund expenditures in FY2022
     and $190 million in FY2023.
     Under CMS Rule 84 FR 64783, U.S. Territories were to be required to join the federal
     Medicaid Drug Rebate Program (MDRP) on April 1, 2022, 40 unless they applied for and
     received a waiver. However, according to the Federal Register, 41 on November 19, 2021, CMS
     issued a final rule to delay for nine months the April 1, 2022 effective date for inclusion of the
     U.S. Territories to January 1, 2023. This is the fourth delay in implementation of MDRP for
     the territories.
     ASES has expressed intent to join the MDRP program by January 2023. Puerto Rico’s entry
     into MDRP is expected to yield higher gross rebates from drug manufacturers compared to
     those from the local drug rebate program the Commonwealth currently has in place. Partly to
     enable entry into the federal program, the Government has also indicated its intention to
     update its accounting systems and the methodology by which it reports prescription drug
     utilization to the Centers for Medicare and Medicaid Services (CMS). 42 In doing so, Puerto
     Rico will also share a portion of the rebate revenue with the Federal Government to the extent
     it reduces the costs eligible for federal matching. Estimates received from ASES indicate
     MDRP could bring in nearly $607 million in gross rebates in FY2024 and $643 million in
     FY2025. This increase in gross rebates from MDRP is expected to increase the
     Commonwealth’s surplus, particularly in later years.
 The 2022 Fiscal Plan ensures that the Commonwealth is appropriately funded to meet its
 matching obligations under current law. To provide healthcare for a substantial part of the
 population, the Commonwealth must be able to pay and manage these critical costs, which grow
 faster than inflation, regardless of the future federal legislative environment. In the event that the
 amount of federal funds expected to become available during any future fiscal year changes, and,



 38 Based on ASES estimates as of January 18, 2022
 39 For Medicaid non-CHIP and EAP rebates, the amount of rebates that would trigger a reduction in federal funds is reduced by the
     amount of corresponding expenditures over the amount needed to maximize the federal funds cap. Federal funds are reduced by
     the FMAP multiplied by the eligible amount that would trigger a reduction in federal funds. The Commonwealth would be expected
     to cover any shortfall in program funding with General Funds.
 40 Federal Register, "Medicaid Program; Covered Outpatient Drug; Further Delay of Inclusion of Territories in Definitions of States
     and United States,” 2019. (Accessed 16 April 2021)
 41 Federal Register, “Medicaid Program; Delay of Effective Date for Provision Relating to Manufacturer Reporting of Multiple Best
     Prices Connected to a Value Based Purchasing Arrangement; Delay of Inclusion of Territories in Definition of States and United
     States,” 2021
 42 In December 2021, ASES announced a contract with Abarca Health as its pharmacy benefit manager (PBM) and Medicaid Drug
     Rebate Program (MDRP) manager.


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 depending on the conditions imposed on the federal funds granted, the Oversight Board reserves
 the right to revise the projected General Fund appropriation for ASES appropriately.
 Exhibit 19 outlines expected Medicaid federal fund receipts, with funding aligned from federal
 fiscal years to Puerto Rican fiscal years. Medicaid expenditures are discussed in detail in Chapter
 16.

 EXHIBIT 19: BASELINE FEDERAL FUNDS RECEIPT PROJECTIONS




 5.1.3     Other federal funding
 In addition to Medicaid funding, Puerto Rico receives other federal funds on a regular basis. These
 are not to be confused with disaster relief funds, which are directly tied to Hurricane Maria and
 earthquake reconstruction activity, or with COVID-19 response and relief funds, which are meant
 to cover incremental government spending to respond to the global pandemic. These funds cover
 both social benefits and operational expenditures. In the 2022 Fiscal Plan, these funds have been
 modeled based on what types of costs they cover (e.g., benefits or operations) as well as statutory
 formulas that define the size of Puerto Rico’s allotment. For example, while Temporary Assistance
 for Needy Families (TANF) funds are typically pass-through (e.g., none of these funds go to
 operational costs), some Title I education funds are projected to be used for operational purposes
 (e.g., teachers’ salaries, school supplies for programs for students with special needs, etc.). For the
 former, federal fund inflows and outflows mirror each other (as benefit needs decline, so do
 funds). For the latter, though inflows may decline, it does not necessarily mean expenditures
 decline as well – as expenditures are based on operations, not on benefits formulas, and the
 Commonwealth may have to cover operational expenditures via the General Fund should they
 outpace reduced federal funding. Meanwhile, while Head Start funds are allocated from the
 Federal Government based on the number of children living in poverty, NAP funds are provided
 through a block grant that is capped. The former, therefore, should change by population, while
 the latter should only grow with inflation, regardless of population changes.




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 5.1.4     Special Revenue Funds
 Commonwealth agency Special Revenue Fund (SRF) revenues: The Commonwealth
 collects a significant portion of its revenues through Special Revenue Funds, which are funded
 from, among other sources, tax revenues transferred by statutes, fees and charges for services by
 agencies, dividends from public corporations, and financing proceeds. Government tracking and
 reporting of these SRF revenues, associated expenses, and resulting surpluses or deficits has
 historically been incomplete and inconsistent. The baseline level of SRF revenues of
 Commonwealth agencies (excluding Independently Forecasted Component Units or IFCUs) has
 been updated in this 2022 Fiscal Plan by agency. The 2022 Fiscal Plan does not further detail SRF
 by type (special state funds, own revenues, and other revenues), as Commonwealth agencies
 (excluding IFCUs) do not report this level of detail consistently. Future budget and Fiscal Plan
 processes will aim to further clarify Special Revenue Funds and apply controls to ensure
 transparency and accountability for these revenues. SRF revenues from fees and collections are
 also expected to be negatively affected by the COVID-19 pandemic, as agencies face decreased
 demand for services as a result of the lockdown. In order to achieve greater transparency and
 controls over SRF, the Government must identify all SRF sources at a granular level and produce
 a revenues and expenditures report on a monthly basis, including a profit and loss statement for
 each Special Revenue Fund.
 Independently Forecasted Component Unit (IFCU) revenues: The Commonwealth
 contains twelve Independently Forecasted Component Units, which range from public
 corporations (e.g., the State Insurance Fund Corporation) to public hospitals (e.g., the Cardio
 Center). These entities are mostly funded by Special Revenue Funds and may also receive General
 Fund appropriations. Through the annual budget process and tracking of actual receipts and
 expenditures, the Oversight Board has been able to gain more insight into the specific revenue
 streams for these entities to further refine the IFCU revenue projections. While most IFCU
 revenues are projected using GNP, given the unique nature of each IFCU, certain revenue streams
 are grown by other factors, such as inflation, population, or as governed by legislation.
 Municipal contributions to PayGo and the Puerto Rico Health Insurance
 Administration (ASES, by its Spanish acronym): The 2022 Fiscal Plan includes receipts
 from municipalities to cover retirement and healthcare expenses incurred by the Commonwealth
 on their behalf. Since the passage of Act 72-1993, ASES has received funding from municipalities
 for the administration and delivery of the Government Health Plan on their behalf. Similarly,
 since the passage of Act 106-2017, municipalities that participate in ERS are financially
 responsible for PayGo expenditures covered by the Commonwealth. The passage of Act 29-2019
 disrupted this model and required the Government to fund municipalities’ PayGo and Medicaid
 costs from the General Fund without receiving reimbursement from the municipalities. However,
 following legal proceedings initiated by the Oversight Board challenging the validity of Act 29-
 2019 under PROMESA, the Title III court ruled that Act 29-2019 violated PROMESA and nullified
 the law, thereby reinstating the municipalities’ obligation to cover PayGo and healthcare
 payments for their employees. As a result of this ruling, the Commonwealth is entitled to seek
 reimbursement for prior payments made under Act 29-2019 and is empowered to act if these
 contributions are not received (e.g., to withhold payments for utilities, appropriations). The
 effective date of the court's ruling was delayed to May 7, 2020 to allow for the parties to discuss
 potential solutions to the financial challenges faced by municipalities, particularly in light of the
 COVID-19 pandemic. Accordingly, the 2022 Fiscal Plan assumes that municipalities fund their
 respective contributions for PayGo and healthcare expenditures going forward.
 The formula for calculating municipal contributions to ASES is based in part on the FMAP.
 Assuming a 55% statutory FMAP (for non-expansion Medicaid populations), municipalities
 contribute ~$164 million per fiscal year to the Commonwealth’s Medicaid program. As the FMAP
 increases, ceteris paribus, the required municipal contribution decreases. In calculating
 municipalities’ healthcare expenditures, the 2022 Fiscal Plan takes into account the incremental
 federal funding support in FY2021 and FY2022 made available through the 2020 Further


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 Consolidated Appropriations Act. Moreover, in September 2021, the U.S. Congress passed a
 short-term continuing resolution (the Extending Government Funding and Delivering Emergency
 Assistance Act) extending the increased FMAP from the 55% statutory baseline to 76% through
 December 3, 2021. Additionally, effective October 18, 2021, the U.S. Secretary of HHS renewed
 the declaration of the Public Health Emergency, as such the temporary 6.2 percentage point
 FMAP increase is provided to each qualifying territory through the last day of the calendar quarter
 in which the PHE declared for COVID-19 expires, including any extensions (as of publication, the
 PHE is expected to expire after March 2022). These temporary increases in FMAP decrease the
 required municipal contribution for the corresponding period, and any decrease in municipal
 contributions is covered by drawing on the General Fund. As of publication, the municipal
 contribution amount for FY2022 is expected to be ~$116 million.
 Public Corporation PayGo receipts: The 2022 Fiscal Plan includes receipts from public
 corporations (e.g., PRASA) that participate in the Employee Retirement System (ERS) to cover
 PayGo expenditures on behalf of their retirees covered by the Commonwealth. The
 Commonwealth shall be reimbursed for these payments and will act if these contributions are not
 received (e.g., will withhold payments for utilities).
 FAM: The Municipal Administration Fund (FAM) collects 0.5% of the SUT which is distributed
 into three funds: (1) 0.2% to the Municipal Development Fund; (2) 0.2% to the Municipal
 Redemption Fund; and (3) 0.1% to the Municipal Improvement Fund (referred to as the FMM).
 Pursuant to Section 4050.09 of Act 1-2011, the FMM are to be distributed through annual
 legislation and appropriated for select capital works and improvement projects for the
 municipalities (e.g., public housing, schools). The legislature passes resolutions each year to
 allocate the FMM. These resolutions must be consistent with the 2022 Fiscal Plan and the
 applicable special revenue funds included in the Certified Budget.

 5.1.5     Gross-up for tax credits
 Gross-up of revenues to reflect potential revenues without payment of tax
 incentives: In addition to offering preferential tax rates, tax exemptions, tax abatements, and
 cash grants, the Government of Puerto Rico provides hundreds of millions of dollars in tax credits
 to corporations and individuals each year. Some of these tax credits function as entitlement
 programs: any business that meets the requirements set forth in law is entitled to the
 benefit. Other tax credits give government officials considerable discretion on which projects will
 receive incentives. Many of these tax credits are intended to pursue certain policy goals such as
 stimulating employment, stimulating economic activity and economic development, encouraging
 investment, and protecting local industries. Unlike traditional expenditures, however, tax credits
 are not incurred in a transparent fashion, and, with only a few exceptions, are currently uncapped
 by any aggregate amount of benefits conveyed. The issuance of tax credits also tends to be done
 in an ad hoc manner, with unclear economic justification for the costs incurred and without
 monitoring of the goals described above (i.e., how many jobs in any particular year were
 created). This leads to an unpredictable, and potentially costly, foregone revenue stream each
 year.
 Uncapped and unpredictable issuance of tax credits can have a materially negative fiscal
 impact. Several states have faced challenges with unexpected levels of expense from tax
 expenditures, such as Michigan (the Michigan Economic Growth Authority tax credits), Louisiana
 (tax credit for horizontal natural gas drilling), and New York (“brownfields” tax credits). The
 examples from these states are not uncommon and they reinforce the uncertainty and risk
 associated with the establishment of tax credits.
 Policy makers in Puerto Rico must understand both the budget implications of current and
 proposed tax expenditures and should manage the size of tax incentives by setting limits on their
 annual cost and eliminating tax credits with negative returns. The issuance of reliable cost
 estimates, including a detailed analysis of the budget implications from each tax incentive and


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 annual cost controls will help Puerto Rico avoid unexpected negative outcomes. Otherwise, the
 Government will remain powerless to manage the cost of these incentives and keep the incentives
 from growing uncontrollably.
 Recognizing the importance of this question to the fiscal sustainability of Puerto Rico, the 2022
 Fiscal Plan includes a forecast of gross revenues inclusive of the value of tax credits to show the
 foregone revenue associated with these credits. The 2022 Fiscal Plan includes a forecast of gross
 revenues based on the historical level of certain tax credits claimed on income tax filings for
 individual filers, regular corporation filers, and incentive tax filers, as provided by Hacienda. As
 shown in the period of the report Exhibit 20, over nine tax years (2010-2018), tax credits claimed
 across all tax filers averaged $261 million annually. The 2022 Fiscal Plan recommends all
 reporting going forward include monthly and quarterly reports as to the gross revenues, tax
 credits claimed, and the net revenues received for the period of the report.

 EXHIBIT 20: TAX CREDITS BY YEAR




 The Government must also adopt a transparent limit to the amount of tax credits issued and
 claimed at an amount below $261 million by, for example, capping the notional amount,
 restricting the number of companies and individuals that can claim credits annually, including
 sunset provisions, or inserting time bound clauses upon which each tax credit will expire. This is
 similar to the approach that other states have taken to limit the use or issuance of tax
 expenditures, including Arizona, California, Florida, Illinois, Massachusetts, Minnesota, New
 York, Ohio, and Pennsylvania. This limit is separate and incremental to the cash grants that
 corporations and individuals also receive, which will be captured in Certified Budgets going
 forward. Future Fiscal Plans should also be expanded to include limitations on foregone revenues
 due to preferential tax rates and exemptions, including municipal exemptions.
 These forecasts should be maintained and updated by leveraging the work that Hacienda has
 undertaken to produce and maintain a more comprehensive measurement of tax expenditures
 over time through the annual Tax Expenditures Report. As discussed in more detail in Section
 17.3.1, the publication of the initial Tax Expenditures Report in September 2019 provided, for the
 first time, better visibility into the full scope of tax expenditures being offered, together with a
 description and approximate cost of each expenditure.
 For tax expenditures reporting to maintain relevance and maximize its impact on the policy
 making process, regular reviews of each tax incentive should be completed to assess whether each
 incentive is meeting its policy objective (and an assessment of benefits along with costs). This was
 missing from the inaugural report and detracts from the ability of the report to provide proper
 context from which to inform budgetary decision-making.


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 The estimates in the tax expenditures report should also be systematically incorporated into the
 annual fiscal plan and budget review process. This means they need to be considered in
 conjunction with consideration of direct spending proposals at the executive review and
 legislative levels and the agencies responsible for programs.
 To achieve the objectives above, the Tax Expenditures Report must be produced annually on a
 timely and efficient basis. In fact, the publication of the first Tax Expenditures Report, in
 September 2019, stated the second annual report would be published in March 2020, yet it has
 not been published. Rationalizing the amount of tax expenditures offered by the Government is
 smart and prudent fiscal management. This can only be done in a comprehensive way through
 the production of the annual tax expenditure report on a timely basis.
 The Government has also taken initial steps to provide transparency around and control these
 expenditures through its proposed reforms to the Incentives Code. By targeting a limit on the
 amount of tax expenditures that can be spent each year, the Government would retain control
 over the cost and enable public debate about the value of this type of spending in light of the
 various needs on the Island.

 5.1.6     Gross-up for COFIM receipts
 The Municipal Finance Corporation (COFIM, by its Spanish acronym) is the public corporation
 that collects the 1% Municipal SUT established by law for certain municipalities. The 2022 Fiscal
 Plan includes projections of this 1% revenue stream, along with exactly offsetting expenses.
 COFIM is not an entity that receives appropriations from the General Fund, but rather relies solely
 on municipal SUT.


         Baseline expenditure forecast
 The trend of “baseline expenditures” (i.e., the forecast of projected expenditures assuming no
 measures and structural reforms), is summarized in Exhibit 21.

 EXHIBIT 21: MAJOR OPERATING EXPENDITURE CATEGORIES PRE-MEASURES




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 5.2.1     General fund payroll and non-personnel operating expenditures
 Payroll expenditures: Despite progress made through the FY2021 budget process, consistent
 granular payroll data continues to be a challenge for the Government. FY2018 payroll numbers
 reflect actual expenditures where available and the Certified Budget in cases where actual data
 was not available (adjusted to reflect reapportionments among agencies). FY2019 was assumed
 to be equal to FY2018 given the Fiscal Plan Compliance Act, which enacted a payroll freeze except
 for certain agency-specific adjustments. Beginning in FY2020, base payroll has been assumed to
 grow by Puerto Rico inflation. As part of the FY2020 and FY2021 budget certification processes,
 key agencies were analyzed to develop detailed payroll estimates based on agency rosters, actual
 payroll run rates and anticipated changes to headcount and salaries. Any reduction to baseline
 payroll expenditure projections from attrition, absenteeism, or workforce reductions is captured
 through fiscal measures.
 Non-personnel operating expenditures: Non-personnel operating expenditures in FY2019
 were also assumed to be equal to FY2018 budgeted levels. Thereafter, non-personnel operating
 expenditures are assumed to grow by Puerto Rico inflation, with select adjustments as necessary.
 For example, the 2022 Fiscal Plan includes a 10% reduction to FY2022 Special Fund for Economic
 Development (FEDE, by its Spanish acronym) and Economic Incentive Funds (FIE), Cruise
 Industry Incentives, Renewable Energy, Export Development, and Corporation for the
 Development of the Arts, Science and Film Industry of Puerto Rico (CINE) expenditures, an
 amount which is then taken out of all future years. (In FY2022, these select expenditures
 reductions are $10 million total.)

 5.2.2     Special Revenue Funds
 Commonwealth agency Special Revenue Fund (SRF) operational expenditures: The
 Commonwealth funds a significant portion of its expenses with Special Revenue Funds and
 previously did not report on these expenses transparently in a consistent manner. Given that SRF
 revenues and expenditures are not part of the General Fund for budgeting purposes, they are not
 included in the General Fund budget resolutions approved by the Legislature. However, the
 Oversight Board has certified SRF expenditures starting with the FY2019 budget process, with the
 objective of applying controls and reporting requirements to ensure transparency and
 accountability for these revenues and expenditures. With data made available by the
 Commonwealth, the baseline level of SRF expenses of Commonwealth agencies (excluding IFCUs)
 has been updated and allocated across agencies (by payroll and non-payroll expenditures). Given
 the mandate of the Office of the CFO to place controls on SRF expenditures, baseline SRF
 expenses are forecasted to be equal to the estimated revenues in each year before fiscal measures.
 Independently Forecasted Component Unit (IFCU) operational expenditures: Most
 IFCU payroll and non-payroll expenses grow by inflation, with exceptions for certain expense
 categories (e.g., healthcare costs grow with medical inflation, variable costs that grow in line with
 revenues).
 The baseline expenditures include municipality and public corporation PayGo, COFIM, and FAM
 expenditures, including all the conditions outlined in Section 5.1.4.

 5.2.3     Other federal funding
 Most federal funds received by the Commonwealth are passed through to residents directly in the
 form of social benefits (e.g., TANF, WIC), but federal funds are also used to cover operating
 expenditures in many agencies. Expenditures related to pass-through federal funds are set equal
 to the associated revenue stream. Baseline expenditures related to operating expenditures are set
 based on the FY2018 federal funds budget reported by the Government (updated in select cases
 for new information received FY2019-2021) and grow with inflation (and in some cases
 population). In the case of Community School Program (largely Title I funding), revenues will


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 grow with growth in total federal funding - presumed to track U.S. inflation - but decline with
 decreasing enrollment, which is the most salient determinant of Puerto Rico’s annual allocation.
 The 2022 Fiscal Plan assumes that payroll and operating expenditures grow at the same rate,
 assuming that the General Fund budget for PRDE will be considered separately from federal
 funding levels. Accordingly, PRDE will spend federal funds based on the amount received.

 5.2.4         Medicaid expenditures
 As described in Section 5.1.2, it is assumed that the Commonwealth will use the full federal
 funding available in FY2022 onward, per the latest CMS interpretation of the Section 1108 of the
 Social Security Act. In order to use all of the federal funds available, given the effective federal
 matching rates across different eligibility groups, total Medicaid program expenditures are
 expected to reach roughly $4.6 billion annually by FY2024. The significantly higher program size
 would provide the Commonwealth with the opportunity to increase coverage for additional
 benefits and/or higher enrollment.
 Beginning in FY2024, the plan assumes the Puerto Rican Medicaid program’s total expenditures
 will grow by population-adjusted health care inflation. 43 Total program expenditures include
 managed care premiums for all federally eligible enrollment groups, including wrap-around
 payments for those eligible for both Medicare and Medicaid and who enroll in Medicare
 Advantage programs (also known as Platinos). It also includes eligible direct health expenditures
 (e.g., Hepatitis C, HIV, and pulmonary programs) that do not flow through managed care. Further
 included in these expenditures are coverage for the wholly Commonwealth-funded enrollees
 whose expenses are not federally subsidized and non-premium administrative costs to ASES;
 however, program size excludes costs incurred by the Department of Health for FQHC and
 Medicaid Program administration, which are also eligible for federal matching funds (see Section
 5.1.2). Exhibit 22 shows a breakdown of projected Medicaid expenditures. 44

 EXHIBIT 22: PROJECTIONS FOR MEDICAID AND CHIP EXPENDITURES




 43   The post-FY2023 growth rate of the total Medicaid program size is forecasted to be a combination of the PMPM growth rate and
      the rate of change of the Island’s population.
 44   Plan Vital for current and future police retirees is also include in these expenditures. See Part IV for more detail.


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 5.2.5     Commonwealth pension expenditures
 Baseline pension costs: Projections rely on demographic and actuarial estimations for
 Employees’ Retirement System (ERS), Teachers’ Retirement System (TRS), and Judiciary
 Retirement System (JRS) populations and benefit obligations. Since FY2018, pension benefits for
 all plans have been paid on a pay-as-you-go basis. Starting in FY2022, pensions baseline costs
 (reflecting System 2000 segregation) are projected to decrease progressively from $2.3 billion in
 FY2022 to $1.2 billion in FY2051, with an average annual cost across the period of $1.9 billion.

 5.2.6     Appropriations
 Municipalities: Baseline municipal appropriations are projected to remain constant at ~$220
 million annually, which represents the FY2018 appropriation level exclusive of a $78 million one-
 time allotment to municipalities made in the aftermath of Hurricanes Irma and Maria.
 University of Puerto Rico (UPR): The UPR total appropriation is $500 million from FY2023
 to FY2027 as per Act 53-2021. Following this period, the appropriation will continue as previously
 envisioned in the 2021 Fiscal Plan.
 Highways and Transportation Authority (HTA): HTA is currently funded through a
 combination of own revenues, federal funds, and Commonwealth funds (including both a capital
 appropriation and an operating appropriation). Within the 2020 HTA Fiscal Plan, toll fares are
 used to cross-subsidize capital and operating expenditures on non-toll roads. The 205(a) letter of
 January 29, 2021 recommended that HTA be reorganized into a toll road entity, with non-toll
 roads managed by DTOP and transit assets managed by PRITA. Therefore, consistent with the
 205(a) letter recommendation, the 2022 Fiscal Plan increases the HTA operating transfer to cover
 the full cost of non-toll assets, marking the first step towards the implementation of the
 Transportation System Reform outlined in Chapter 11. The appropriation does not include
 funding for the HTA emergency reserve, nor does it draw down existing balances. It also assumes
 toll roads have access to federal funds until reorganization is complete (assumed FY2023), but
 not thereafter. As a result, over FY2025-FY2051, the 2022 Fiscal Plan includes an average annual
 operating appropriation of $110 million and average capital appropriation of $68 million per year.
 Additionally, as part of the HTA PROMESA proceeding, the U.S. District Court approved the
 amended PoA filed by the Oversight Board which includes one-time cash payments, the issuance
 of new debt, and CVIs. In accordance with the PoA, HTA shall make payments in cash of $184.8
 million to holders of the HTA 68 Bonds Claims and $79.2 million to holders of the HTA 98 Senior
 Bond Claims. Also, HTA shall make a cash payment of $125 million for consummation costs in
 consideration of fees and expenses incurred by an Initial PSA Creditor. Additionally, HTA must
 cover $15 million to the DRA Parties in accordance with the DRA Stipulation. From the total owed
 by HTA of $404 million, the Commonwealth will provide a one-time loan to HTA for FY2022 in
 the amount of $314 million in addition to the annual operating and capital appropriations
 presented above to ensure HTA's liquidity upon confirmation of the Commonwealth PoA. While
 the exact repayment terms have not yet been determined, the 2022 Fiscal Plan assumes a 20-year
 subordinated loan repayment for illustrative purposes that will be updated once the loan details
 are finalized.

 5.2.7     Other operating and capital expenditures
 Utilities: The 2022 Fiscal Plan uses the estimated billings for electric and water costs provided
 by PREPA and PRASA, respectively on agency level. Estimated water billings from PRASA are
 projected to grow at the same rate as water rate increases over the period of FY2021-FY2025;
 thereafter, PRASA billings are projected to grow at water rate increases and then according to
 inflation. Estimated electric billings from PREPA are projected to grow at the same rate as power
 rate increases over the period of FY2021-FY2051.



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 Parametric insurance: The 2022 Fiscal Plan includes an annual investment of ~$32 million
 to cover the Commonwealth’s portion of the annual cost of parametric insurance. The parametric
 insurance program is supplemental to the existing budgeted premiums for renewing current
 traditional insurance policies. The following conditions applicable to Commonwealth entities are
 placed on the requested funding:
 ■    Develop a sophisticated insurance plan with a comprehensive program that considers the
      available markets, costs, meeting Operations and Maintenance (O&M) requirements, and
      levels of coverage. This would include conducting a risk assessment analyzing expected O&M
      costs on a building-by-building basis; identifying the types of insurance needed to protect
      against risk; identifying insurance gaps, selecting the authority needed to develop, implement,
      and enforce the plan; and crafting the financial arrangement structure for funding the plan
      and paying for losses
 ■    Strategically consider and prioritize options to supplement the existing insurance coverage
      (including identifying how the Commonwealth will meet flood insurance requirements and
      considering expanded limits on existing policies, a separate excess insurance policy above
      current limits, or a Parametric policy and/or Catastrophe ("CAT") bond)
 ■    Engage the Insurance Commissioner on certification criteria
 Insurance (PRIMAS): The Commonwealth bears costs related to insurance premiums (e.g.,
 property insurance, liability insurance). Government reporting on these costs has not been
 transparent or consistent over time (e.g., not all agencies report these costs independently of other
 operating expenses, reporting is not consolidated across General Fund and Special Revenue
 Funds). The Government reported that insurance costs increased from FY2018 to FY2020 due to
 Hurricanes Maria and Irma. Adjustments were made based on agency reported needs for FY2021
 and FY2022 (e.g., costs for Department of Housing have been reduced, costs for PRDE and
 Institute of Puerto Rican Culture have been increased).
 Capital expenditures: Centrally-funded General Fund maintenance and capital expenditures
 of the Commonwealth (excluding PREPA, PRASA, HTA self-funded capital expenditures and one-
 time transfers) are expected to grow by inflation from a baseline of $324 million FY2022 to
 FY2040, at which point maintenance capital expenditures increase to $696 million 45 (1.9% of
 GNP 46) and growth with GNP, to account for the new level of capital stock the Commonwealth
 will be responsible for maintaining post-disaster reconstruction (see Section 4.2 for more
 information). In FY2022, ~$53 million of the baseline expenses will be appropriated to HTA (as
 part of the total appropriations), with the remaining ~$271 million for use by the Commonwealth.
 The 2022 Fiscal Plan includes annual Special Revenue Fund capital expenditures for the
 Commonwealth agencies (and the Public Buildings Authority) of $6 million for FY2022 and $22
 million (based on historical agency needs) for FY2023 onwards. 47

 5.2.8        Reconstruction and restructuring related expenditures
 Cost-share for disaster relief funding: Federal funds for FEMA’s Public Assistance,
 Individual Assistance and Hazard Mitigation programs typically require a local match from the
 entity receiving them (anywhere from 10-25% of funds). In the case of Puerto Rico, the 2022 Fiscal
 Plan projects that the Commonwealth will need to cover an estimated ~10% of federal Public and
 Individual Assistance funds that are obligated to them, amounting to $2.6 billion from FY2018-
 FY2035. (Based on obligation data, instrumentalities are assumed to shoulder a further $1.6
 billion in total cost-match expenditures during the same period). A portion of the Commonwealth
 and instrumentalities’ cost-match expenditures are projected to be covered by CDBG funds from

 45 Includes General Fund portion of 1.9% of GNP and the HTA Capex appropriation (with the 10% reduction on General Fund
    unallocated Capex)
 46 Corresponds to the state average of capex as percentage of GNP
 47 Of this amount, $2 million per year goes to Public Buildings Authority (an IFCU) for recurring needs


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 FY2020 to FY2035, which amounts to $2.7 billion. As a result, instrumentalities and the
 Commonwealth are anticipated to need to cover $500 million and $1 billion, respectively, out of
 pocket.
 After accounting for excess funds budgeted for cost share in FY2018- FY2021 (when DRF
 disbursements were anticipated to be higher), as well as $135 million in unspent cost share funds
 considered available for future cost share needs, the ultimate out-of-pocket cost share burden for
 the Commonwealth is $1.2 billion. Moving forward, cost share matching funds are to be used only
 on approved projects/ requirements under FEMA’s Individual Assistance, Public Assistance, and
 Hazard Mitigation programs. Any unused cost share matching funds in a given fiscal year are to
 be rolled over the following fiscal year and remain available for use in meeting cost share
 requirements for approved projects/requirements under FEMA’s programs. The restriction of use
 of cost share matching funds is applicable to funds in the current year as well as any funds rolled
 over to the subsequent years. The use of these funds must be coordinated with CDBG-DR and
 CDBG-MIT in meeting cost share requirements.
 Restructuring-related costs: Commonwealth restructuring-related expenditures are
 projected to be $620 million for the period FY2022 to FY2025, and are comprised of all
 professional fees, including those of the Unsecured Creditors’ Committee, the Retiree Committee,
 the Government (mostly the Puerto Rico Fiscal Agency and Financial Advisory Authority, or
 AAFAF by its Spanish acronym), and the Oversight Board. Restructuring-related costs will
 continue after the PoA effective date to support potential litigation and other Title III
 implementation costs. Fees were benchmarked versus comparable restructuring situations that
 yield an average professional-fee-to-funded-debt ratio of 2.08% and median ratio of 2.33%
 relative to 2.48% projected for the Commonwealth (Exhibit 23). In total, for the period from
 FY2018 to FY2026, the restructuring-related expenditures projection is ~$1.6 billion. Uncertainty
 stemming from the series of recent natural disasters and ongoing COVID-19 pandemic has
 resulted in an extended restructuring process contributing to the overall estimate. For some
 perspective, the City of Detroit restructuring (the largest municipal restructuring prior to the
 Commonwealth of Puerto Rico) took 17 months (July 2013 to December 2014); while the
 restructuring of the Commonwealth is now approaching 4 years after experiencing hurricanes,
 which were followed by earthquakes and the impact of COVID-19. Separately, the Oversight
 Board’s operating costs are forecasted to be $75 million per year from FY2022 to FY2026 on a
 pre-measures basis (or $65 million after measures).




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 EXHIBIT 23: PROJECTED PROFESSIONAL FEES RELATIVE TO OTHER MAJOR
 RESTRUCTURINGS




 Emergency reserve: The purpose of the Emergency Reserve fund is to expedite response
 activities and, upon request, provide the Commonwealth agencies, public corporations, and
 affected municipalities (“Emergency Reserve Recipients”) with capital to quickly begin response
 activities that exceed their capacity during declared events in Puerto Rico. Starting in FY2019, the
 Commonwealth must set aside $130 million annually into an emergency reserve that is to total
 $1.3 billion, or ~2.0% of FY2018 GNP. The methodology supporting this reserve is informed by
 guidance provided to other Caribbean islands by the International Monetary Fund in defining an
 adequate emergency reserve (2-4% of GNP, accumulated at 0.5% per year). 48
 Restrictions placed on these funds must ensure that it is only used in case of an extraordinary
 event like natural disasters or as otherwise agree with the Board; the Commonwealth can only
 make disbursements with approval from the Oversight Board. Historically, the Oversight Board
 has authorized use of the emergency reserve in response to the 2017 hurricanes (Maria and Irma),
 the 2020 earthquakes impacting the southwestern part of Puerto Rico, and the COVID-19
 pandemic. Moving forward, a fund advance will require the following:
 ■   The Governor would need to declare a state of emergency
 ■   AAFAF requests Oversight Board access to the emergency reserve fund for a finite period
 ■   Once the Oversight Board authorizes access to the emergency reserve funds; OMB would
     submit to the Oversight Board requests from the Emergency Reserve Recipients to approve
     amount and usage of funds



 48 IMF, Bahamas Article IV report, 2018


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 ■   Amounts approved by the Oversight Board and disbursed to the Emergency Reserve
     Recipients would need to be replenished not later than the following fiscal year
 ■   Emergency Reserve Recipients that received funds from the emergency reserve fund are
     required to file with FEMA a Request for Public Assistance (RPA) and Project Worksheet to
     ensure that any federal reimbursements to Emergency Reserve Recipients are replenished
     into to the emergency reserve state fund
 ■   Emergency Reserve Recipients are required to update OMB on a quarterly basis on the process
     of Public Assistance with FEMA
 ■   OMB must provide quarterly reporting to the Oversight Board on the use of authorized funds
     (see Chapter 21 for more information)

 5.2.9     Expenditure gross-ups
 For each of the gross-up revenue items included in Section 5.1.5 and Section 5.1.6, an equivalent
 expenditure is included in the baseline expense forecast.

 5.2.10    Expenses for mobilized employees
 The 2022 Fiscal Plan reflects the mobilization of approximately 2,300 employees from PREPA to
 various public corporations and agencies across the Commonwealth in connection with the
 transfer of responsibilities to operate and maintain PREPA’s Transmission and Distribution
 System to LUMA (Section 10.2). The payroll costs projected in the Fiscal Plan incorporate salaries,
 as well as adjustments for healthcare, Social Security, and other benefits for these mobilized
 employees.
 The expenses include an assumption that each agency to which a former PREPA employee was
 mobilized will make a contribution on behalf of their mobilized employees to the PREPA ERS, in
 addition to the contributions currently being withheld from the earnings of such employees for
 their individual employee contributions. The employer contribution amount is assumed to be
 equal to 15% of payroll for these employees, based on the average estimated cost of additional
 PREPA ERS pensions that mobilized employees earn in each pay cycle. These funds will be held
 in a custodial account until the Commonwealth provides, to the satisfaction of the Oversight
 Board, the following documentation to the Oversight Board:
 ■   A formal written legal opinion identifying the legal basis on which former PREPA employees
     transferred to the Commonwealth may continue to participate in the PREPA ERS, as opposed
     to being enrolled in the Commonwealth Act 106 Defined Contribution plan, including the
     Government’s ability or obligation to assume the PREPA ERS employer contributions for
     mobilized employees. The legal opinion must also identify whether a distinction should be
     made between employees with 10 or more years of PREPA service and employees with less
     than 10 years of PREPA service for purposes of determining eligibility to continue
     participating in the PREPA ERS after mobilization, including identifying whether continuing
     participation in the PREPA ERS is a vested right under Act 17-2019, and whether such right
     also applies to employees with less than 10 years of PREPA service (who would not have been
     vested in their PREPA ERS pension benefit prior to the mobilization date).
 ■   Identification of the point in time at which these contributions will be made and how these
     contributions will be transferred to and accepted by PREPA ERS.
 ■   A financial model with the basis for the calculation of such contributions (with supporting
     source documentation) and an estimate of the approximate cost.
 ■   Confirmation that any pension reform measures applied to PREPA ERS would also be applied
     to mobilized employees.


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         Surplus potentially not available for the Commonwealth
 The 2022 Fiscal Plan financial projections show the surplus generated by all entities covered by
 the Commonwealth Fiscal Plan. However, some of the surplus is generated by Commonwealth
 public corporations, and the Commonwealth’s ability to access such surplus amounts could be
 problematic without further legislative action. As such, the 2022 Fiscal Plan also represents what
 the surplus, before debt service and Pension Reserve Trust contributions, would be if these funds
 were inaccessible (Exhibit 24).

 EXHIBIT 24: SURPLUS POTENTIALLY NOT AVAILABLE FOR THE COMMONWEALTH, PRE-
 DEBT SERVICE AND PENSION TRUST CONTRIBUTIONS




            Long-term projections and Debt Sustainability
 Analysis (DSA)

         Long-term macroeconomic, revenue, and expenditure
         projections
 The 2022 Fiscal Plan projects a post-pandemic recovery in FY2022, followed by limited
 contraction between FY2023 and FY2026 and real growth again in FY2027 to FY2029 (average
 real growth of -1.5% between FY2023 and FY2029). As disaster relief funding and the spending
 of COVID-19 federal and local stimulus funds drop off considerably and structural reform growth
 rates are muted, GNP growth returns to its historical negative trend starting in FY2029.
 Population is estimated to steadily decline at an average rate of ~0.9% annually, due to a



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 combination of outmigration and demographic factors. Inflation is estimated to settle at a long-
 term run-rate of 1.5%-1.9% as it is expected to gradually approach mainland forecasts.
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 Most revenues are projected to grow with nominal GNP in the long term. This includes SUT,
 corporate income tax, personal income tax, non-resident withholding not paid by Act 154 entities
 and most General Fund revenues. Exceptions include:
 ■   Alcoholic beverages and cigarette-related tax revenues, which are expected to grow
     by inflation and population. This assumption is supported both by relatively constant alcohol
     consumption in growing economies along with the long-term decline in cigarette consumption
     both in Puerto Rico and the U.S. mainland.
 ■   Rum excise on offshore shipments, which is expected to grow by U.S. mainland
     population and is partially driven by the statutory waterfall by which rum excise taxes are paid
     into the General Fund. The January 2022 Certified Fiscal Plan contains an update to the
     estimation of statutory waterfall revenues, which now incorporates data allowing for a
     disaggregation of revenues deriving from locally produced and other rum.
 ■   Non-resident withholding (NRW) and Act 154 revenues, which will face declines due
     to U.S. tax reform, supply chain diversification, and patent expirations. This decline had
     begun during FY2020, with incremental declines forecasted in each year through FY2024
     (~40% cumulative decline versus FY2018 baseline). No further declines are anticipated
     through FY2027; however, additional loss of Act 154 revenues is expected in FY2028-FY2031,
     such that FY2031 revenues are projected to be ~60% below baseline. This leads to a steady
     state of $859 million in annual Act 154 revenues beginning in FY2031. NRW revenues
     associated with Act 154 taxpayers have also declined. Based on past and current performance,
     NRW payments associated with Act 154 taxpayers are projected at $170 million in FY2022
     (~60% below baseline). NRW revenues not related to Act 154 payers continue to grow with
     nominal GNP and have been adjusted on a non-recurring basis to reflect cyclical
     outperformance in FY2022.
 ■   Independently Forecasted Component Units (IFCU) revenues, which are projected
     on a line-item basis and grow by the same values as in the short-term projections (largely by
     nominal GNP, with exceptions for those related to healthcare, population, or other factors).
 ■   Federal fund revenues, which grow based on historical and statutory appropriations. The
     cap for Medicaid matching funds grows by the medical services component of CPI-U and CHIP
     funding grows proportional to growth of premiums and enrollment. The federal funding cap
     for Puerto Rico is set at $2.943 billion for FFY2022 according to a September 2021 letter
     issued by CMS to the PR Medicaid Program. This funding moves the PR Medicaid Program
     towards a long-term solution and will help alleviate some of the cost pressures the Island could
     have faced in a potential Medicaid “fiscal cliff” scenario. The federal Medicaid funding will
     enable the Commonwealth to plan out its expenditures in a more sustainable way.
 Just as most revenues grow by GNP, most expenditures grow by Puerto Rico CPI inflation after
 FY2026. Exceptions include:
 ■   Medicaid premiums grow at a faster pace than standard inflation and are instead grown
     by a PMPM growth rate and population change. The PMPM growth rate is estimated through
     actuarial analysis of historic utilization trends and projected demographic changes on-Island.
     While PMPMs decreased slightly in FY2022 (mainly due to lower utilization rates in FY2021
     given COVID-19), long-term PMPM growth trends (FY2027-FY2051) are expected to be ~5%
     on average.



 49 This methodology is consistent with general IMF forecasting approaches and is intended to capture the overall change in
     consumption, investment and production within the economy


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 ■   Capital expenditures are anticipated to rise to 1.9% of GNP (in line with the mainland
     average) by FY2041 to account for an enhanced capital stock needing maintenance after the
     significant reconstruction efforts in the wake of Hurricanes Maria and Irma. This change in
     methodology increases the annual Commonwealth average to ~$759 million over FY2041-
     FY2051, as Puerto Rico must sustain a higher level of maintenance and rely on its own funding
     for capital investments (rather than disaster relief funding).
 ■   Cost match for disaster-related federal funding reaches an average of ~$28 million
     from FY2027 to FY2035, after full usage of CDBG-DR funds available for local cost matching.
     The Commonwealth is not responsible for the portion of funds allocated to instrumentalities
     (e.g., PREPA, PRASA, HTA, UPR).
 ■   Independently Forecasted Component Units (IFCU) expenditures are forecasted on
     a line-item basis. Most grow with standard Puerto Rico inflation with some exceptions, such
     as healthcare- or claims-related expenditures. Over the long-term, the expenses of some
     healthcare-related IFCUs (e.g., Cardio) are projected to grow faster than revenues, creating a
     deficit. This 2022 Fiscal Plan assumes deficits related to healthcare will be funded by the
     Commonwealth.
 ■   Fiscal measures grow by their relevant macroeconomic indicator (e.g., revenues by nominal
     Puerto Rican GNP, expenditures by Puerto Rican inflation, healthcare measure by health
     inflation and population).
 The long-term macroeconomic and financial projections are shown below. Exhibit 25 shows the
 forecasted Nominal GNP, which maintains a positive growth rate for almost all years (mainly due
 to stable and positive inflation), the estimated rate at which population is expected to decline, the
 growing Nominal GNP per capita that results from the combination of the first two, and the
 corresponding trend of own revenues. The estimations of all metrics, as well as corresponding
 projected revenues, expenditures, and fiscal gap or surplus are shown on Exhibit 26 for selected
 years. Finally, Exhibit 27 shows what these projections are with or without structural reforms.

 EXHIBIT 25: FY2022-FY2051 FINANCIAL AND MACROECONOMIC PROJECTIONS




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 EXHIBIT 26: LONG-TERM      FISCAL   PLAN   PROJECTIONS   POST-MEASURES     AND
 STRUCTURAL REFORMS




 EXHIBIT 27: COMPARISON OF UNRESTRICTED SURPLUS BEFORE AND AFTER IMPACT
 OF   STRUCTURAL     REFORMS,   DEBT    SERVICE  AND   PENSION    TRUST
 CONTRIBUTIONS/WITHDRAWALS




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 The 2022 Fiscal Plan shows surpluses driven by significant federal relief as well as fiscal measures
 and structural reforms. Long-term declines in annual surplus are driven by health care costs
 outpacing the growth rate of the Medicaid federal funding cap, a lack of robust implementation
 of structural reforms captured in earlier Fiscal Plans, the phase out of disaster relief funding, and
 declining Act 154 revenues.


            Long-term macroeconomic, revenue, and expenditure
            projections including PoA
 On January 18, 2022, the U.S. District Court for the District of Puerto Rico confirmed an amended
 PoA to restructure approximately $35 billion of debt and other claims against the Commonwealth
 of Puerto Rico, the Public Buildings Authority (PBA), and the Employee Retirement System
 (ERS); and more than $50 billion of pension liabilities. The PoA creates a foundation for Puerto
 Rico’s recovery and economic growth. It represents several years of engagement by the Oversight
 Board, creditor groups, and the Government of Puerto Rico. It provides one-time cash payments,
 the issuance of new debt and contingent value instruments (CVIs), among other things. In
 addition, the PoA provides certain Commonwealth employees with various benefits. For instance,
 AFSCME, who voted to support the PoA, will receive a new 5-year CBA which provides a number
 of contractual protections including healthcare, vacation and sick accruals, and specific actions
 that must be taken prior to any implementation of layoffs. AFSCME represented employees will
 also be eligible to participate in Fiscal Plan outperformance, with a guaranteed minimum bonus
 of $2,000 annually for the term of the 5-year CBA. The PoA also includes provisions to protect
 current and future retirees by creating a fiscally sustainable retirement system that freezes TRS
 and JRS pensions and establishing a pension reserve trust to provide increased confidence that
 future funding will be available to meet the promises made to retirees. The PoA provides for a
 more diverse retirement income by ensuring all Government employees are participating in the
 Act 106 Defined Contribution program, enrolling teachers and judges in United States Social
 Security, restoring the System 2000 contributions made by employees to the individually owned
 Act 106 accounts outside of Government control, and providing $2,600 to the Act 106 accounts
 of active Act 1 / Act 447 employees. For additional details on specific provisions included in the
 confirmed PoA, refer to the sixth modified eighth amended PoA for the Commonwealth of Puerto
 Rico. 50
 Exhibit 28 shows one-time cash payments included in the Confirmed PoA for certain bondholders
 and unsecured claims. This includes payments to labor, 330 health centers, dairy producers, ERS
 asset purchase and/or transfer.




 50 Sixth modified eighth amended PoA for the Commonwealth of Puerto Rico. (Accessed January 26, 2022)


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 EXHIBIT 28: REQUIRED ONE-TIME CASH PAYMENTS IN CONFIRMED POA




 Exhibit 29 shows a breakdown of surplus and unrestricted surplus before and after projected
 payments for debt service, CVIs, and pension trust contributions and withdrawals. It excludes
 one-time cash payments. The 2020 Certified Fiscal Plan serves as the baseline for measuring
 overperformance on the SUT CVI. The 2021 Certified Fiscal Plan serves as the baseline for
 measuring overperformance on the RUM CVI. The 2022 Fiscal Plan projections will serve as a
 baseline for measuring overperformance for the Upside Participation Bonus to eligible employees
 as well as the basis to calculate the pension trust contributions established by the terms of the
 PoA. The updated FY2022 surplus reflects the impact of the minimum $2,000 bonus per
 employee per year for five fiscal years for AFSCME-represented employees. Therefore, any
 potential incremental amounts based on the Excess Cash Surplus formula established by the
 terms of the PoA have a current projection for bonuses of $0.




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 EXHIBIT 29: PROJECTED COSTS ASSOCIATED WITH CONFIRMED POA (EXCLUDING ONE-
 TIME CASH PAYMENTS)




 Exhibit 30 shows the estimated surplus before and after accounting for projected cash flows from
 debt service, pension trust reserve payments and withdrawals, as well as bonuses for eligible
 employees. The exhibit excludes one-time cash payments. The Commonwealth runs a ~$200
 million surplus in FY2022-FY2031, the period during which the PoA stipulates Pension Reserve
 Trust funding. Withdrawals from the pension trust are projected to begin in FY2038, after it is
 projected to be fully funded.




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 EXHIBIT 30: ANNUAL SURPLUS BEFORE AND AFTER DEBT SERVICE AND PENSION
 TRUST (EXCLUDING ONE-TIME CASH PAYMENTS)




 The 2022 Fiscal Plan PoA projects sustained deficits in unrestricted surplus after debt service and
 pension trust contributions / withdrawals beginning in FY2049 onward. The Government will be
 required at some point to take additional measures that go beyond the FY2022-26 framework of
 this 2022 Fiscal Plan as the Puerto Rico Constitution requires the Government to operate within
 a framework of fiscal balance. Accordingly, what follows are a set of options that can be considered
 to obtain fiscal balance in the out-years. Some of these reforms – which would reduce deficits and
 therefore make funds available for a variety of potential uses, including investment in the people
 of Puerto Rico – have been proposed by the Oversight Board, but have not been adopted. The
 Government must take up these reforms and implement them to realize their benefits.

 ■   Private sector labor reform, generating an additional 0.50% GNP growth over two years,
     by repealing Law 80 of May 30, 1976, which would make Puerto Rico an employment at-will
     jurisdiction, similar to its principal competitor mainland states, such as Florida. This would
     reduce the cost of hiring workers on the Island, improving the environment for local
     businesses and potentially attracting additional investment from the mainland into Puerto
     Rico. The reform is projected to increase the FY2022-51 surplus by ~$13 billion if
     implemented in FY2031 and by ~$4 billion if implemented in FY2041.
 ■   Ease of doing business reform, generating an additional 0.15% GNP growth, based on
     instituting trading across borders reform, and repealing restrictive and inefficient regulations,
     and implementing a comprehensive reform of the Transportation system, similar to the one
     described in Chapter 11, which would contribute to unlock greater impact across all other ease
     of doing business initiatives, allowing Puerto Rico to better compete for new investments with
     jurisdictions around the world. The FY2022-51 surplus is projected to increase by ~$8 billion
     if implemented in FY2031 and by ~$2.5 billion if implementation takes place in FY2041.



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 ■   Overhaul of the tax system of Puerto Rico to stimulate growth by lowering the statutory
     marginal tax rates and broadening the tax base by eliminating many exemptions, deductions,
     credits, and incentives. This would simplify the tax paying structure and process, improving
     the business environment and delivering long-term growth benefits up to 0.5% spread over
     five years. The reform is projected to increase the FY2022-51 surplus by ~$11 billion if
     implemented in FY2031 and by ~$3 billion if implementation takes place in FY2041.
 ■   Growing the pharmaceutical and medical devices manufacturing sector given the
     unique opportunity for Puerto Rico to be a center of excellence and play a leading role in the
     national portfolio of locations for expanded domestic manufacturing in this sector. The
     physical infrastructure, human capital, and regulatory processes are already established and
     well positioned. Previous analyses published by the Board had shown the potential value on
     economic growth and employment that this effort could have.
 Risks to the long-term projections in the 2022 Fiscal Plan. While the 2022 Fiscal Plan
 projects that ~$14.4 billion in surplus will be generated from FY2022-FY2048, there are several
 variables that have a material impact on the long-term financial projections. The extent to which
 the economic activity will recover from the COVID-19 pandemic impact and the time it will take
 to return to pre-pandemic levels remain highly uncertain and could prove to be narrower and
 longer-lasting than anticipated. Moreover, revenues could be compromised through lower growth
 generated by delays or failures to implement structural reforms, lower than expected federal
 funding, and/or less efficient spending on capital than projected. Both revenues and expenditures
 could be impacted by demographic shifts not yet seen on the Island or other external shocks or
 natural disasters. Finally, expenditures could be impacted if, once the Oversight Board is
 terminated, the Government reverses its focus on fiscal discipline and allows Government
 expenditures to increase.


          Debt Sustainability Analysis (DSA)
 The DSA is intended to provide a framework for assessing the long-term capacity of the
 Government to pay debt service on its bonded debt. Debt levels post-restructuring need to be
 sustainable over the long-term and consistent with both a minimal risk of default on the
 restructured debt and a recovery of market access for future new money borrowings for ongoing
 infrastructure investment. The analysis begins with the 2022 Fiscal Plan and is then informed by
 the debt sustained by the most appropriate peer group against which to benchmark Puerto Rico.
 The DSA then applies rating agency metrics for that benchmark group to Puerto Rico to arrive at
 an assessment of what debt levels are sustainable in light of long-term projections and the peer
 metrics. Net tax-supported debt is defined as debt payable from statewide taxes and other general
 resources, net of obligations that are self-supporting from pledged sources other than state taxes
 or operating resources (such as utility or local government revenues). Prior to the enactment of
 PROMESA, Puerto Rico had approximately $45 billion in tax-supported debt with a declining
 economy and no guarantee of sustained federal funding. Net tax-supported debt is comprised of
 GO, PBA, COFINA, PRIFA, HTA, CCFA, ERS, Public Finance Corporation (PFC), and other
 intergovernmental loans.
 U.S. states as peer comparables: Like U.S. states, Puerto Rico does not control its own
 currency, has no access to IMF restructuring support programs or similar international sovereign
 relief funding packages, and traditionally has been reliant on access to the same long-term
 municipal bond market used by mainland U.S. states to finance their capital needs. Puerto Rico’s
 bonds are also rated by the same rating agency analyst groups that assign ratings to mainland U.S.
 states, not by foreign sovereign bond rating analysts. For these and other reasons, Puerto Rico has
 more similarities to U.S. states than to sovereign nations. By virtually any measure tracked by the
 rating agencies, Puerto Rico’s debt levels prior to filing for Title III protection were clear outliers
 relative to U.S. state peers (Exhibit 31).



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 EXHIBIT 31: U.S. STATES AS COMPARABLES




 While some observers note that Puerto Rico residents do not pay federal income taxes, they do
 pay Social Security and Medicare taxes, and the low per capita income levels would place most
 local residents in a tax bracket where they would otherwise pay little or no federal income tax.
 Meanwhile, federal reimbursement levels provided to Puerto Rico for the largest Government
 spending programs (including Medicaid and transportation) are capped at levels well below the
 FMAP and federal highway reimbursement levels provided to comparably sized and wealthier
 states. Puerto Rico’s residents pay graduated income taxes to Puerto Rico at brackets comparable
 to the federal income tax rates, thereby providing the funds needed to provide services to the
 Puerto Rico resident population, which is far poorer than the population of any U.S. state. Yet
 Puerto Rico receives far less federal support.
 Metrics for debt sustainability: Viewing U.S. states as the most comparable group for
 benchmarking Puerto Rico, the DSA uses the debt ratio metrics in the June 14, 2021 Moody’s
 Investors Service (Moody’s) report “Medians – State debt rose 2.5% in 2020 spurred by
 pandemic-linked borrowing” in Exhibit 32 to develop a range of levels for sustainable debt
 capacity focused on Maximum Annual Debt Service (MADS) levels for Puerto Rico on its
 restructured net-tax supported debt. The key debt ratios for the ten lowest indebted states, the 25
 lowest indebted states, the 25 highest indebted states, the ten highest indebted states, and the
 mean for all U.S. states are shown below (Exhibit 32).




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 EXHIBIT 32: DEBT SERVICE RATIO




 Maximum annual debt service cap on fixed payment debt: The implied debt capacity and
 expected growth in debt capacity is the Oversight Board’s determination of the highest debt
 service levels that would be compatible with economic sustainability, fiscal responsibility, and the
 regaining of market access. The maximum MADS level is derived from both the 2022 Fiscal Plan
 cash flow projections and Moody’s state rating metric called the “Debt Service Ratio.” The Debt
 Service Ratio is the ratio of total payments due in a year on all existing net tax-supported debt
 over that state government’s debt policy revenues in that year. The debt policy revenues for the
 Commonwealth are forecast to be $17.7B in FY2022 and to increase to $23.9B by FY2051. 51
 The Moody’s report indicates that the average Debt Service Ratio for all U.S. states is 4.1% (see
 Exhibit 32). The Moody’s report indicates that the average Debt Service Ratio for the top 10 most
 indebted states is 8.5%. The Moody’s report indicates that the average Debt Service Ratio for the
 top 25 most indebted states is 6.3%. The Moody’s report indicates that the average Debt Service
 Ratio for the 25 lowest indebted states is 2.0%. To the extent any of these Debt Service Ratios is
 used to set a MADS cap on the restructured debt and the Primary Surplus is below the MADS
 level, then the debt service due on fixed payment debt would need to be set at the lower of the
 amount available for debt service or the MADS limit.
 Debt Management Policy: The Commonwealth’s Plan of Adjustment contains an ongoing
 Debt Management Policy that will lay the foundation to fiscal responsibility critical for future
 fiscal stability and sustainable economic growth. Specifically, the Debt Management Policy
 includes a number of controls on the current and future indebtedness of the Commonwealth for
 net-tax supported debt that are described below. The definition of net-tax supported debt includes
 both the General Obligation bonds, the previously restructured COFINA debt and any debt the


 51 Calculated as adjusted revenue post measures (excluding federal transfer) plus COFINA debt service. COFINA debt service
    figures based on May 2021 COFINA Certified Fiscal Plan. See appendix for forecast annual debt service revenue through FY2051
    (Section 24.2).


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 Commonwealth may issue in the future that is supported by its taxes. The 2022 Fiscal Plan does
 not anticipate the Commonwealth borrowing for any purpose over the next five years.
 Debt Management Policy concepts:
 ■    Maximum annual debt service on all net-tax supported debt is limited to 7.94% or lower than
      the prior year’s debt policy revenues
 ■    Any new long-term borrowing must be for capital improvements only
 ■    Newly issued debt must begin to amortize within two to five years of issuance
 ■    Newly issued debt must have a maximum maturity of 30 years or less
 ■    A refinancing of any debt must provide cash flow savings in every fiscal year and produce
      positive present value savings 52
 Restoration of cost-effective market access: As Puerto Rico seeks to regain cost-effective
 capital markets access, rating analysts and investors will demand that the Government
 demonstrate improvement in all four core areas of creditworthiness identified by Moody’s: (i) the
 economy, (ii) Government finances, (iii) governance, and “fixed cost” debt service, and (iv)
 pension expenditures. The Government must adhere to structurally balanced budgets reflecting
 ongoing fiscal discipline and return to the timely publication of audited financial statements and
 related disclosure information. Together, these and other measures outlined in the 2022 Fiscal
 Plan can chart a path to restoring Puerto Rico’s market access.




 52   Refinancings in direct response to a natural disaster are permitted not to have cash flow savings in every year, cannot increase
      future debt service by more than 10%, and must be repaid within 10 years.


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 PART III: Restoring growth to the Island
 The fiscal and economic turnaround of Puerto Rico cannot be accomplished without
 the implementation of structural economic reforms that promote the
 transformation of the Island’s economy and its workforce. Puerto Rico struggles from
 an uncompetitive labor market, unreliable energy and infrastructure, regulatory and other
 burdens that hinder business productivity, and low educational outcomes and workforce support
 – all of which prevent it from competing in a global economy and from attaining positive economic
 growth. Structural reforms—those that seek to strengthen the fundamental drivers of economic
 growth to encourage job creation, investment, and increased productivity—could transform
 Puerto Rico’s future. Years of successive natural disasters and health crises further underscore
 the need for comprehensive Government action as outlined in this 2022 Fiscal Plan to reverse the
 economic challenges that have plagued the Island and its people for far too long. If implemented
 quickly and widely, structural reforms are projected to drive real economic growth, reversing
 decades-long economic challenges and enabling the Island’s economy and its people to flourish.
 Specifically, the Government must pursue the following structural economic reforms to achieve
 their forecasted economic impact:
 ■    Human capital and welfare reforms that will improve the well-being and self-sufficiency
      of all Puerto Rico residents, increase the quality and competitiveness of the workforce, enable
      investment, and facilitate the economic modernization of the Island, resulting in a cumulative
      GNP impact of 0.15% by FY2025.
 ■    K-12 education reforms that will position all students to succeed in school and upon
      graduation by raising the quality of the Island’s public schools, resulting in an additional
      0.01% GNP impact per year starting in FY2037 (i.e., reaching 0.15% by FY2051). 53
 ■    Ease of doing business reforms that will improve conditions for economic activity and
      business vitality, attracting new investment and creating jobs, resulting in a cumulative GNP
      impact of 0.30% by FY2026.
 ■    Power sector reforms that will improve the availability, reliability, and affordability of
      energy for families and businesses, resulting in 0.30% cumulative GNP impact by FY2026.
 ■    Infrastructure reform and capital investment that will improve the flow of goods,
      services, information, and people across the Island.
 Unfortunately, while the Government has faced numerous unexpected disasters and crises that
 impeded implementation, it has also, at times, rejected the deadlines outlined in the Fiscal Plans.
 Together, this has resulted in delayed implementation on most of the identified structural
 reforms. For example, the Government has:
 ■    Implemented the Earned Income Tax Credit (EITC) but without a robust campaign to raise
      awareness of the new benefit and encourage work in the formal sector
 ■    Delayed implementation of the complementary Nutrition Assistance Program (NAP) work
      requirement
 ■    Made little progress in strengthening the Island’s workforce development programs
 ■    Increased on-Island land freight charges and expanded the regulation across incremental
      sectors of the economy, rather than deregulating as outlined in this and previous Fiscal Plans


 53 Education reforms are projected to generate GNP impact after the first kindergarten class to benefit from those reforms completes
     their first year in higher education or the workforce. As such, the 2022 Fiscal Plan assumes that the implementation of K-12
     education reforms in FY2024 will generate GNP uptick starting in FY2037


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 ■   Implemented very few of the required ease of doing business reforms with sufficient progress
     to make the Island substantially more competitive and attractive to investors
 ■   Undertaken almost no discernible efforts to reform the Island’s K-12 education system, a
     situation that is partially explained but also exacerbated by the COVID-19 pandemic
 These delays have already diminished the projected economic uptick and revenues associated
 with structural reforms. Had the structural reforms above been implemented at the pace and scale
 forecasted in the 2019 Fiscal Plan, the Government would have generated 0.14% in additional
 GNP uptick, worth another $12 billion in tax revenues by FY2051. This shortfall is even more
 pronounced relative to the structural reform impact forecasted in the April 2018 Fiscal Plan,
 whereby the Government would have generated 1.09% in additional GNP uptick, worth another
 $72 billion in tax revenues by FY2051 (Exhibit 33). Not only have the residents of Puerto Rico lost
 opportunities to gain new skills, experiences, and education, but the Island has lost time in
 attracting incremental investment that would produce jobs and tax revenues to be reinvested
 again into the people of Puerto Rico.

 EXHIBIT 33: COMPARISON OF GNP UPTICK FROM STRUCTURAL REFORMS ACROSS
 FISCAL PLANS




 Given the disruption and hardship brought about by the COVID-19 pandemic, the economic uplift
 that could be generated through structural reforms matters now more than ever. Urgent and
 comprehensive Government action is needed to promote economic recovery and opportunity for
 all local residents. If implemented as specified in this 2022 Fiscal Plan, structural reforms are
 projected to collectively generate an invaluable 0.75% GNP uptick by FY2026, as well as 0.90% in
 total GNP growth and more than $30 billion in additional Commonwealth revenues by FY2051.
 As discussed in Chapter 6, these revenues will play a key role in helping the Government address
 budget shortfalls in the medium- and long-term.




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 EXHIBIT 34: IMPACT OF STRUCTURAL REFORMS ON COMMONWEALTH SURPLUS




 Governance indicators
 Successfully implementing structural reforms to support fiscal revenues requires strong
 governance across Puerto Rico’s public sector. A higher standard of governance can make
 implementation more efficient and cost-effective and can boost the impact of reforms on growth
 and development. The structural reforms recommended in this 2022 Fiscal Plan bring governance
 quality in Puerto Rico into focus. The World Governance Indicators (WGI), published by World
 Bank researchers, provide independent annual scores which can be used to monitor governance
 standards over time and relative to peers.
 The WGI scores are formed by synthesizing a wide range of primary data on surveyed perceptions
 across six categories:
 ■   Voice and Accountability: The degree of public participation in the selection of government,
     as well as freedom of expression, freedom of association, and a media freedom.
 ■   Political Stability: The likelihood of political instability or violence, including terrorism.
 ■   Government Effectiveness: The quality of public services, quality and independence of the civil
     service, the credibility of policy formulation and implementation.
 ■   Regulatory Quality: The ability of the government to formulate and implement sound policies
     and regulations that promote private sector development.
 ■   Rule of Law: The degree of confidence in, and adherence to, the countries’ laws, including
     contract enforcement, property rights, police and judicial effectiveness, and rates of
     criminality.
 ■   Control of Corruption: The extent to which public power is used for private benefit, as well as
     “capture” of state power by private interests.
 Exhibit 35 shows Puerto Rico’s WGI scores for 2020 (the most recent available data) against
 several peers and benchmarks, showing that, in certain respects, Puerto Rico starts from a

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 comparatively strong base. On average, Puerto Rico has higher scores than peers in Latin America,
 particularly with respect to political stability, regulatory quality, and rule of law – all of which are
 important determinants of long-term investment attractiveness. In these categories Puerto Rico
 also scores in a similar range to smaller Eurozone economies, which offer a useful benchmark
 because, like Puerto Rico, they lack control over domestic monetary conditions, are linked with
 much larger trading partners, and have similar per-capita GDP levels.
 However, there is significant room for improvement. Puerto Rico lags the U.S. and OECD average
 in all governance indicators and is behind Eurozone economies in categories linked more closely
 with the implementation of reforms, such as government effectiveness and control of corruption.
 Moreover, Exhibit 36 shows that Puerto Rico’s scores have been declining across indicators since
 2000, with a sharper drop-off after 2015, with a corresponding widening of the gap between
 Puerto Rico and the U.S. Mainland. A continued decline in governance scores would raise
 questions over the ability of the Puerto Rican government to enact timely and effective reforms.
 In order to successfully implement the recommended structural reforms and maximize their
 impact on growth, development, and fiscal revenues, improvement in Puerto Rico’s governance
 is required. Targeted efforts to arrest and reverse the recent deterioration of government
 effectiveness and control of corruption, supported by close monitoring of governance
 benchmarks, would likely yield results.

 EXHIBIT 35: WORLD GOVERNANCE INDICATOR SCORE COMPARISONS




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 EXHIBIT 36: HISTORICAL WORLDWIDE GOVERNANCE INDICATOR SCORES




                         Human capital and welfare reform

             Basis for human capital and welfare reforms
 Increasing the productivity of Puerto Rico’s labor force is essential to creating growth. There are
 several structural reasons why Puerto Rico is lagging behind its potential, and they each must be
 addressed with tailored actions.
 In 2020 Puerto Rico’s formal labor force participation rate was on average 40.2%, among the
 lowest in the world and far below U.S. and Caribbean averages. 54 As the Congressional Budget
 Office states, labor force participation is an important component of economic growth, since it
 allows firms to expand employment and increase production and has an important impact on
 fiscal and budget trends. 55 Puerto Rico has an opportunity to increase this rate and must aspire
 to reach at least the rate of the lowest U.S. state (West Virginia, with 55%), to provide its economy
 with the dynamism it requires to foster growth. 56
 Puerto Rico’s low labor force participation is a function of a wide range of factors, including
 suboptimal eligibility criteria for welfare programs and underperforming human capital
 development systems, among others. This low level predates the 2017 hurricanes, the 2019-20
 earthquakes, the COVID-19 pandemic, and even the economic downturn that began in 2006.
 According to the World Bank, Puerto Rico’s labor force participation rate has ranked in the

 54 For comparison, the U.S. has a 61% labor force participation rate. In the Caribbean, the Dominican Republic’s labor force
     participation rate was 62% in 2020. Jamaica and Haiti’s rates were even higher (64% and 65%, respectively). See the World Bank
     Group via International Labor Organization, “Labor force participation rate, total (% of total population ages 15+),” 2020; and
     Departamento del Trabajo y Recursos Humanos, “Empleo y Desempleo en Puerto Rico,” Diciembre 2020
 55 Congressional Budget Office, Factors Affecting the Labor Force Participation of People Ages 25 to 54, 2018
 56 U.S. Bureau of Labor Statistics, “Employment status of the civilian noninstitutional population 16 years of age and over by region,
     division, and state, 2019-2020 annual averages,” 2020


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 bottom-20 of more than 200 global economies since at least 1990 and in the bottom-15 since
 2009. 57
 Suboptimal eligibility criteria for welfare programs: The current design of welfare
 programs may disincentivize some residents from pursuing work within the formal economy in
 order to ensure sufficient nutritional support, housing, and healthcare. 58 For instance, current
 welfare eligibility guidelines sharply phase-out beneficiaries as their income rises, informally
 taxing workers for seeking work within the formal economy. 59 This phenomenon is particularly
 pronounced in the case of recipients of public housing assistance: even securing a part-time
 minimum wage job can render a beneficiary ineligible for public housing, potentially forcing some
 beneficiaries to choose between formal sector work and keeping their homes. 60 Working with the
 Federal Government to revise eligibility guidelines and other policies that encourage residents to
 work could help resolve these issues.
 Underperforming human capital development systems: In 2012, Puerto Rico
 participated for the first time in the PISA test (Programmed for International Student
 Assessment) and participated again in 2015. The test, sponsored by the Organization for
 Economic Cooperation and Development (OECD), was administered by the local Department of
 Education. It tests the knowledge and skills of students through a uniform metric that was
 internationally agreed upon. It measures the ability of students aged 15 to use their reading,
 mathematics, and science knowledge skills to meet real-life challenges. At the international level,
 Puerto Rico scored, on average, in all three areas below the U.S. and OECD member countries. 61
 These relatively low levels of proficiency represent a challenge for Puerto Rican students to
 graduate from secondary and high school. Failure to graduate is often correlated with a higher
 probability of joining the informal labor sector and receiving lower wages. 62
 Worker training programs in Puerto Rico, meanwhile, are managed in a disjointed manner by 15
 local workforce boards. Strengthening the Island’s education system, as well as the workforce
 development programs, could mitigate these challenges and help ensure that all local residents
 are able to participate in the current and future economy. The significant number of workers
 displaced due to the pandemic adds another level of urgency to improving workforce development
 in Puerto Rico.
 Unfortunately, the Government has delayed the implementation of many human capital and
 welfare reforms intended to address these structural challenges, reducing the potential economic
 uplift to the Island, and delaying the opportunity for residents in need of this critical support.
 Continued Government inaction will further jeopardize the development of Puerto Rico’s human
 capital, the opportunities available to each resident of Puerto Rico for personal development and
 economic self-sufficiency, and the projected GNP uptick and its associated increases in tax
 revenues.


 57 See the World Bank Group via International Labor Organization, “Labor force participation rate, total (% of total population ages
    15+),” 2020
 58 Cordero-Guzmán, “The production and reproduction of poverty in Puerto Rico,” in Nazario, ed. Poverty in Puerto Rico: A
    Socioeconomic and Demographic Analysis with data from the Puerto Rico Community Survey (2014), 2016
 59 For example, a single parent with two dependents and an annual income below $4,900 was eligible to receive up to $4,229 dollars
     in annual Nutritional Assistance Program (NAP) benefits in 2016. But, should this parent work 35 hours per week at minimum
     wage—generating approximately $12,180 in annual earnings, they would become ineligible for NAP benefits. Net of taxes on their
     earning, full-time formal sector work would increase household income by only $7,002—the equivalent of a $3.86 effective hourly
     wage. Effective hourly wage income equals income received from formal sector work minus income lost from loss of benefits
 60 The U.S. Department of Housing and Urban Development (HUD) sets income limits that determine the eligibility of applicants for
     assisted housing programs. For U.S. states, the limit to be considered an “extremely low-income family” is determined by HUD
     using the Department of Health and Human Services (HHS) poverty guidelines. However, an alternative formula is used to define
     an extremely low-income family for Puerto Rico—30% of the median family income for an area or lower—which results in lower
     income limits. The current HUD income limits are so low that, in many cases, entering the formal labor market in a part time job
     at the minimum wage would result in losing eligibility for housing assistance. Thus, the existing income limits directly disincentivize
     formal employment and hinder economic mobility in Puerto Rico
 61 OECD, PISA 2015 Results (Volume I): Excellence and Equity in Education, 2016
 62 International Monetary Fund, “Role of Individual Characteristics and Policies in Driving Labor Informality in Vietnam,” 2020


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 To achieve the associated increases to GNP, the Government must implement the following
 human capital and welfare reforms.
 Expand the Earned Income Tax Credit (EITC) and broadly publicize it by:
 ■   Puerto Rico Legislature: Collaborating with Hacienda to design an extended EITC program
     that complies with what is outlined in the American Rescue Plan (ARP) Act and adjusting
     regulations accordingly
 ■   Hacienda: Complying with all execution requirements outlined in the ARP Act, including
     sending timely annual reports to the U.S. Department of the Treasury
 ■   Hacienda: Promoting the EITC in collaboration with the Administration of the Socio-
     Economic Development of the Family (ADSEF, by its Spanish acronym)
 ■   ADSEF: Designing a multifaceted EITC outreach strategy (including working with community
     organizations throughout the Island)
 Implement a Nutritional Assistance Program (NAP) work/volunteer requirement in
 the next two years by:
 ■   ADSEF: Creating a work/volunteer requirement compliant with the 2022 Fiscal Plan
     parameters
 ■   ADSEF: Completing all administrative requirements (e.g., obtaining Federal Government
     approval) necessary to implement a work/volunteer requirement
 ■   ADSEF: Verifying the eligibility of all adult NAP recipients (including adults without
     dependent children) for the new work/volunteer requirement
 Support high-quality workforce development programs by:
 ■   Department of Economic Development and Commerce (DDEC, by its Spanish acronym):
     Creating partnerships with private and social sector organizations to strengthen worker
     training
 ■   DDEC: Conducting regular analyses to understand private sector labor market needs
 ■   DDEC: Integrate the results of the analyses into a holistic strategic plan that states how
     different workforce development efforts blend in a cohesive way across programs and the 15
     local boards
 ■   DDEC & Vivienda: Allocating resources in a data-driven manner
 ■   DDEC: Removing structural barriers to employment (e.g., difficulty in securing transportation
     and childcare to go to work)


          Expand and broadly publicize the Earned Income Tax
          Credit (EITC) by leveraging ARP Act federal funding
 The ARP Act included permanent additional funds to incentivize Puerto Rico to
 expand the local EITC program put in place for tax year 2019. The ARP Act provides for
 up to $600 million to be delivered to Puerto Rico in the form of a reimbursable grant, equivalent
 to three times the local spending, and indexed for U.S. inflation after the first year. The
 Government was required to amend the current EITC program to qualify for the additional federal
 funding provided in the ARP Act.
 The ARP Act establishes that, in order to qualify for this additional funding, Puerto Rico must:


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 ■   Increase the percentage of earned income which is allowed as a credit for each group of
     recipients, in a manner designed to substantially increase labor force participation
 ■   Spend an amount of local funds greater than a statutorily-specified base amount of $200
     million each year, adjusted for U.S. inflation
 ■   Provide an annual report to the U.S. Department of the Treasury that includes an estimate of
     the EITC cost for that year and a statement of the actual costs in the preceding year
 To fulfill these requirements, the 2021 Fiscal Plan included incremental funding needed to
 maximize the value of the federal grant. On August 29, 2021, the Governor signed legislation
 expanding EITC in Puerto Rico. The legislation includes a 2-step disbursement process to ensure
 all available federal funding is disbursed each fiscal year. The impact of this legislation is included
 in the 2022 Fiscal Plan.
 On top of the funding for the tax credit expansion, the ARP Act includes an additional payment of
 $1.0 million per year to pay for EITC outreach and education through 2025. Previous Fiscal Plans
 established that to effectively enhance labor force participation and reduce poverty through
 increased EITC benefits, the Government must more comprehensively promote the program for
 tax year 2020 and beyond.
 U.S. policymakers have implemented and promoted the EITC across mainland states and have
 seen meaningful gains in formal labor force participation as a result, especially among low-to
 moderate-income workers. 63 The credit is an effective anti-poverty tool, empowering
 beneficiaries to defray the cost of education, training, and childcare and support their own self-
 sufficiency. 64 Since its creation in 1996, the EITC has lifted 6.5 million people out of poverty (half
 of them children)—more than any other U.S.-based anti-poverty initiative. However, the value of
 the EITC is greatest when the targeted population is sufficiently knowledgeable of its value to a
 degree that influences daily decision-making around whether they will enter or stay in the formal
 economy and whether they will seek employment in Puerto Rico or elsewhere.

 7.2.1        EITC design parameters
 The Fiscal Plans required the Government to introduce an EITC, which adhered to the following
 parameters in tax year 2019:
 ■   Individual benefit is dependent on a filer’s marital status, number of dependents, and earned
     income verifiable through an employer-issued tax withholding statement
 ■   Potential benefit increases as earned income rises to a cap, then plateaus, and then decreases
     at a phase-out income level until it reaches $0
 ■   EITC is coupled with a robust promotional campaign to raise awareness of the benefit among
     potential claimants and encourage formal labor force participation
 In addition to the 2022 Fiscal Plan and ARP Act parameters listed above, when amending the
 Puerto Rico’s EITC legislation, the “EITC must increase the percentage of earned income which
 is allowed as a credit for each group of individuals with respect to which such percentage is
 separately stated or determined in a manner designed to substantially increase workforce
 participation.” 65




 63 National Bureau of Economic Research, “Behavioral Responses to Taxes: Lessons from the EITC and Labor Supply,” 2006
 64 To reward formal sector work, the credit reduces claimants’ tax obligations and often generates a cash refund. For example, a
     $1,000 increase in EITC benefit has been tied to a 7.3% increase in employment; see Hoynes and Patel, “How Does EITC Affect
     Poor Families,” 2015
 65 American Rescue Plan Act of 2021


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 7.2.2     Current state and path forward
 Although the Government has implemented an EITC for tax years 2019 and 2020 which is
 consistent with the design parameters laid out above and has passed legislation expanding the
 EITC program to qualify for additional funding provided by the ARP Act, the Government has not
 coupled the credit with a robust promotional campaign as required by the 2020 Fiscal Plan.
 Hacienda’s EITC outreach efforts have centered primarily around sending circular letters
 detailing the benefit to tax preparers and establishing a handful of outreach centers across the
 Island to discuss EITC with potential filers in-person. The operation of centers was cut short with
 the COVID-19 pandemic lockdown. By relying extensively on an in-person outreach campaign
 after the tax year was over and failing to establish a more robust promotional strategy (e.g., via
 digital channels, targeted marketing), the uptake of the program and its intended benefits have
 been limited.
 The efforts from FY2022 and beyond must be to take the necessary actions to incorporate the
 additional federal funding included in the ARP Act and to design and execute an effective and
 extensive educational and promotional strategy. The outreach strategy should be evidence-based
 and focused on encouraging non-filers to file. Recent research from Virginia showed that sending
 mailers and automated calls to those that are eligible was a cost-effective way to increase EITC
 participation. Additionally, researchers suggest that advertising free tax services, such as the
 mainland’s volunteer income tax assistance (VITA) program, can encourage those that do not file
 taxes to file.
 Hacienda should also consider partnering with private sector tax-preparers to help with the
 outreach for both the EITC and the CTC.
 The Government must accomplish the following actions by their respective deadlines, which will
 maximize the uptake and benefits of EITC:

 EXHIBIT 37: REQUIRED IMPLEMENTATION ACTIONS FOR EITC




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 A key element of the mechanism through which the EITC impacts growth is its ability to bring
 informal labor into the formal labor sector and, thus, increase labor force participation. For this
 to happen, the EITC should be supported by a labor regulatory environment that is supportive of
 hiring labor in the formal sector.
 The Labor Transformation and Flexibility Act, or Act 4-2017, did not go nearly as far as needed to
 eliminate the most egregious elements of Act 80 of 1976, also known as the Unjust Dismissal Act.
 However, Act 4-2017 did, to some extent, ease some restrictions on labor hiring. While some
 stakeholders have called for the repeal of Act 4-2017, its elimination would likely reestablish
 onerous provisions related to probationary periods, overtime, and bonuses, which would all make
 the hiring environment more costly in the formal sector. Its repeal would discourage new hiring
 and reduce the labor market flexibility, thus limiting the effectiveness of the EITC expansion in
 promoting labor force participation, economic growth, and the revenues associated with that
 growth. Therefore, the Government must refrain from repealing Act 4-2017 or enacting new
 legislation that negatively impacts labor market flexibility.
 According to the 2020 World Bank’s Doing Business study focused on the impact of labor
 flexibility on labor formality, there is approximately a linear relation whereby informality is
 inversely related to the degree of employment flexibility. Clearly then, the elimination of Act 4-
 2017 or other actions taken that are detrimental to a labor regulatory environment supportive of
 hiring labor in the formal sector would put at risk the incremental GNP growth and revenues
 related to the implementation of the EITC.


             Introduce a Nutritional Assistance                                                    Program                (NAP)
             work/volunteer requirement
 To further support labor force participation, the 2022 Fiscal Plan requires the
 Government to introduce a work/volunteer requirement for select adult NAP
 beneficiaries, with full implementation by the beginning of FY2024. NAP is Puerto
 Rico’s largest Government assistance program and provides nutritional assistance. Unlike
 mainland Supplemental Nutritional Assistance Program (SNAP) benefits, NAP does not include
 a work/volunteer requirement. The Federal Government requires that all able-bodied adult
 beneficiaries without dependent children work, volunteer, or be enrolled in worker training
 classes for at least 20 hours per week to receive SNAP benefits. 66 When well-designed, including
 such requirements in similar programs has led to increases in labor force participation. 67 The
 implementation of a NAP work/volunteer requirement would contribute to increasing labor
 market participation and to achieve the potential growth anticipated from human capital and
 welfare reforms.

 7.3.1        Specific initiatives and design parameters
 The 2022 Fiscal Plan requires the Government to implement a NAP work/volunteer requirement
 using the following parameters. Specifically, by FY2024 the Government must:
 ■    Apply the requirement year-round to all able-bodied NAP beneficiaries aged 18-59 without
      dependent children in their household 68


 66 NAP also differs from SNAP in that the former is funded as a block grant and is administered separately from the latter; see Center
     on Budget and Policy Priorities, “How Does Household Food Assistance in Puerto Rico Compare to the Rest of the United States?”
     2020
 67 For example, when the Federal Government first introduced a work/volunteer requirement for recipients of Temporary Assistance
     for Needy Families (TANF) benefits in the 1990s, the labor force participation rates of single mothers rose while poverty rates
     among single mothers and children both fell substantially. See Gitis, “A Menu of Options to Grow the Labor Force,” 2017, and
     Gitis and Arndt, “The 20th Anniversary of Welfare Reform,” 2016
 68 As such, all NAP recipients who are under the age of 18, older than the age of 59, have children dependents in their household,
     or are medically certified as physically or mentally unfit for employment should be excluded from the work/volunteer requirement


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 ■    Grant all eligible recipients up to a three-month transition period to secure employment, begin
      volunteering, or enroll in qualified education or training programs (“qualifying activities”)
 ■    Mandate that all eligible recipients complete 80 hours of qualifying activities per month
 ■    Ensure NAP eligibility guidelines and benefit calculations effectively promote the labor force
      participation increase by avoiding drastic phase-out structures that could factually penalize
      eligible recipients for seeking formal sector work
 ■    Redistribute savings realized through the work/volunteer requirement to boost working
      eligible recipients’ take-home pay through an expansion of the Earned Income Disregard
      (EID) 69

 7.3.2         Current state and path forward
 The 2020 Fiscal Plan provided design parameters and specific milestones for the implementation
 of a NAP work/volunteer requirement. Unfortunately, as of April 2021, the Government has made
 no meaningful progress in the implementation of this work/volunteer requirement. The
 Government has yet to meet any major milestones in the implementation of this reform, including
 designing the requirement itself.
 The Government has recently committed to a 2-year implementation timeline. Reaching full and
 timely implementation requires urgent and nimble action from the Government.
 In August 2021, the Food and Nutrition Service at the U.S. Department of Agriculture announced
 an update to the Thrifty Food Plan, which is an important part of determining benefit amounts
 for NAP and other federal nutrition assistance programs. Due to this change, Puerto Rico is
 projected to receive an additional $464 million in annual funding for the program in FY2022,
 which is expected to increase with inflation in future years. 70 These additional funds could help
 further incentivize labor force participation if a work/volunteer requirement is successfully
 implemented.
 The Government must accomplish the following action items by their respective deadlines:




 69 The EID allows Government assistance beneficiaries to exclude a portion of income earned through formal sector work from
      welfare benefit calculations. An increase in the EID can boost an aid recipient’s take-home pay by allowing them to claim
      Government benefits that they otherwise would not be eligible for due to an increase in earned income
 70   USDA FNS, “USDA Thrifty Food Plan Increase Means More Nutrition Assistance Funding for Puerto Rico,” 2021. (Accessed
      August 16, 2021)


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 EXHIBIT 38: REQUIRED IMPLEMENTATION ACTIONS FOR NAP WORK REQUIREMENT




          Create high-quality workforce development programs
 To facilitate increased labor force participation, the 2022 Fiscal Plan requires that the
 Government take steps to more effectively train residents on the knowledge and skills needed to
 contribute to the economy. Currently, the Island’s worker training programs are managed by local
 workforce development boards and have a local scale that results in a limited scope to support the
 development needs of Puerto Rican workers at all stages of their working life cycles. Moreover,
 the Government has not conducted the analyses or outreach necessary to target the Island’s most-
 pressing talent gaps with a forward-looking view aligned with major labor force trends, like
 digitization and automation. Inadequate preparation and training have left many local residents
 without a real opportunity to succeed in the formal labor force and that situation will quickly scale
 in the years to come. The COVID-19 pandemic has exacerbated these issues, meaning that
 empowering workers to enter or re-enter the workforce will be especially important in the
 following months and years.

 7.4.1     Specific initiatives and design parameters
 To strengthen workforce development programs and promote participation in the formal
 economy, the 2022 Fiscal Plan requires that the Government complete several initiatives by the
 end of FY2022:
 ■   Centralize the administration of Workforce Innovation Opportunity Act (WIOA) funds—the
     primary vehicle for federal investments in workforce development—under the DDEC
 ■   Promote the signing of Memoranda of Understandings (MOUs) between local worker training
     boards and Government agencies to strengthen training and defray costs
 ■   Conduct the rigorous data analyses outlined throughout this chapter to leverage workforce
     development funds in a data-driven manner to reduce labor market talent gaps



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 ■   Integrate the results of such analysis in a holistic strategic plan that clearly states how different
     workforce development efforts and funding blend in a cohesive way to improve human capital
     development for local residents
 ■   Improve the existing resources allocation and spending tracking process, by making it more
     standard, transparent, and data-driven
 ■   Coordinate an interagency initiative to deeply analyze structural barriers to unemployment
     and support labor force stakeholders in their efforts to overcome them

 7.4.2        Current state and path forward
 Unfortunately, the Government’s progress in overhauling the Island’s worker training systems
 has been limited to the centralized oversight of WIOA funds under DDEC and some
 improvements in systems to track program data. Local boards, which administer WIOA-funded
 programming in their respective regions, continue to offer workforce programs of disparate and
 inconsistent quality, and many have delayed signing MOUs with Government agencies. Moreover,
 while DDEC updated its WIOA State Plan in January 2021 and successfully incorporated labor
 market analysis, further analyses are still required to better understand barriers to employment
 and identify and propose solutions to existing talent gaps. As such, current initiatives may not be
 well-attuned to the current and future needs of the Island’s employers and its economy and need
 to be adjusted.
 To develop high-quality worker training programs that empower all residents to reach their fullest
 potential and enter the labor force, the Government must first implement strategic and
 administrative enablers throughout FY2021 and FY2022. As such, DDEC must: 71
 ■   Conduct analyses to understand labor market needs by analyzing the Island’s labor
     market to identify talent gaps and making the required diligence on the global future of work
     trends 72
 ■   Share the results of such analysis with local workforce development boards, so
     they could better inform their local strategies and programs
 ■   Design and implement a workforce development coordination strategy that works
     as the steppingstone to further collaboration among local workforce development boards and
     helps materialize scale benefits and knowledge sharing
 ■   Leverage existing metrics to evaluate all uses of workforce development funds and its impact
     and provide actionable feedback to the 15 local workforce development boards
 ■   Coordinate an interagency effort to deeply analyze the barriers to employment
     and identify potential initiatives to overcome them
 In turn, these enablers will empower and potentiate the in-field implementation of human capital
 development programs and tools.
 The 2020 Fiscal Plan included a set of initiatives that aimed to support the training, learning, and
 human capital accumulation needs of local residents at all stages in their working life cycles (“life
 cycle initiatives”) in FY2022 and beyond. However, the implementation of such initiatives would
 have required the usage of CDBG-DR funding, as well as the repurposing of recurring WIOA
 funds. Both are federal funds allocated to Puerto Rico under a specific granting process. The

 71 U.S Department of Labor Employment and Training Administration, “Best Practices, Partnership Models, and Resources Available
     for Serving English Language Learners, Immigrants, Refugees, and New Americans,” 2017; Center for Law and Social Policy,
     “WIOA: What Human Service Agencies and Advocates Need to Know,” 2015
 72 In McAllen, TX, the Broader Workforce Alliance uses a data-driven approach to align workforce development programs to local
     employer needs. The program has served more than 7,700 individuals, placed 90% of candidates into job opportunities, and has
     led to a 230% increase in wages among participants. See Project QUEST’s web homepage for more information


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 recipient Government agencies have exercised their rights to define the priorities to be pursued
 with those funds and, as their plans have been approved by the Federal Government, are currently
 in the process of implementing them. While pursuing the same overarching goals, such plans are
 different in structure and focus to the initiatives outlined in the 2020 Fiscal Plan. Nonetheless,
 the Oversight Board believes that the aforementioned life-cycle initiatives would significantly
 benefit Puerto Rico’s labor force development if implemented, so it strongly recommends that the
 Government considers its importance and potential implementation in the near future. Life-cycle
 initiatives include:
 ■    Work with PRDE to reform education to enable everyone to graduate high school
      (see Chapter 8 and Section 14.3).
 ■    Prepare high schoolers for success in college and the workforce by designing a dual
      enrollment Pilot program that enables high school students to take college-level classes and
      earn an associate degree alongside their high school diploma and creating a strategy to expand
      and leverage vocational education to address talent gaps. 73, 74
 ■    Empower college students to obtain job skills and research opportunities by
      designing employer guidelines and an outreach strategy to expand the number of high-quality
      co-ops and internships available to college students, and expanding opportunities for college
      students to conduct Science, Technology, Engineering, and Mathematics (STEM) research. 75,
      76

 ■    Create training programs tailored to employer needs by designing a strategy to create
      high-quality apprenticeships to address identified current and future talent gaps and
      developing a customizable workforce development Pilot program that leverages partnerships




 73 The University of Puerto Rico-Mayaguez (UPR-Mayaguez)’s R2DEEP program, the leading dual enrollment initiative in Puerto
    Rico, has served high-achieving students with an interest in engineering for several years, but space is limited to just several
    dozen students and tuition can exceed $240 per credit. Several small universities, such as Columbia Central University, also
    enable students to complete college courses during the school year or summer breaks. In the aftermath of the 2019-20
    earthquakes, PRDE also partnered with a handful of universities to offer online college courses to high schoolers from the most-
    affected areas. Although this initiative approximates a fully-fleshed dual enrollment initiative, the program was established as a
    temporary solution to education disruptions, focuses on students from affected areas, and does not offer high-achieving students
    associate degrees. See University of Puerto Rico-Mayaguez, “R2DEEP Requirements and Costs”; El Vocero, “Oportunidad para
    adelantar estudios universitarios,” 2018; and Alicea, “Educacion lanza cursos en linea en conjunto con siete universidades,”
    published 2020
 74 A study in California, for example, concluded that students who participated in dual enrollment classes were more likely than their
      peers to graduate from high school, enroll in four-year colleges, and succeed in college. California’s efforts to expand access to
      dual enrollment programs (e.g. offering free textbooks) have widened participation (one in eight California high schoolers are
      dual enrolled) and boosted student achievement (90% of participants earned college credit). Once in college, the study concluded
      that previously dual enrolled students accumulated more college credits and were less likely to take remedial classes than their
      peers; see Hughes, et. al., “Broadening the Benefits of Dual Enrollment,” 2012, and EdSource, “High school students benefit
      from taking college courses, but access uneven in California,” published 2020
 75   D’Abate, “Developmental interactions for business students: Do they make a difference?”, 2010
 76   UPR’s Cooperative Engineering Education Program (referred to as “COOP”) has promoted co-ops for more than 40 years, but
      access to COOP is limited to UPR students and primarily geared toward engineering students (with some exceptions). Similarly,
      readily -available internships (as determined through a web search for “internships in Puerto Rico” in April 2020) are primarily
      offered by large multinational firms (e.g., biopharmaceutical companies and financial services firms) are relatively few in number,
      limiting opportunities to a small cohort of successful applicants. See University of Puerto Rico, “Celebran 40 aniversario del
      Programa Coop de Ingeniería,” 2017, and University of Puerto Rico-Rio Piedras, “Experiencia de Educacion Cooperativa
      (COOP)”


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      with local technical colleges to provide qualified employers no-cost tailored training
      programs. 77, 78
 ■    Subsidize training programs to support lifelong learning by designing lifelong
      learning Pilot program to subsidize adult residents’ access to high-quality technical education
      courses that can address pressing talent gaps through technical reskilling or specialization. 79
 DDEC is best positioned to oversee the development and implementation of these life cycle
 initiatives. Exercising its role as coordinator, DDEC can perform the analyses, consolidate local
 knowledge and expertise provided by WIOA boards, and establish the partnerships needed to
 produce high-quality workforce development programming. 80 Vivienda is also managing a $90
 million Workforce Training Program with CDBG-DR funds. 81.DDEC should ensure its initiatives
 are aligned with the proposed usage of the CDBG-DR funds to avoid duplication of efforts or
 redundancy.
 Revamping workforce development is necessary to ensure the full economic benefits of the
 Human Capital and Welfare Reform. For example, the EITC and the NAP work requirements
 would be significantly hampered if workers are unable to be matched with job openings in the
 formal economy due to lack of training, skills, or other barriers to employment. In other words,
 lack of progress in improving workforce development would put at risk the incremental GNP
 growth and revenues attributed to the Human Capital and Welfare Reform by negatively
 impacting the effectiveness of the EITC and the NAP work requirement in promoting growth.

 7.4.3        Analyses to understand labor market needs
 To create impactful workforce development programs, the Government must first conduct an
 analysis of the Island’s labor market to identify talent gaps.
 The 2022 Fiscal Plan requires the Government to conduct such an analysis, including by creating
 an inter-agency working group. While DDEC is best positioned to be in charge of the
 implementation of this initiative, results and impact will benefit from the knowledge and expertise
 of all Puerto Rican labor-related stakeholders. Thus, DDEC must establish and coordinate a
 working group dedicated to this interagency effort. Given their respective roles and experience,
 DOF, ADSEF, DOLHR, PRDE and PRDOH must be incorporated within such a group.
 In the first stage, the working group must identify the current and potential talent needs of
 employers that will shape their demand for workers. In this stage, DDEC must determine current


 77 A study of apprenticeships in 10 mainland states found that apprentices earned $240,000 more in total lifetime earnings on
     average than those who did not complete apprenticeships; see Reed, et. al., “An Effective Assessment and Cost-Benefit analysis
     of Registered Apprenticeship in 10 States,” 2012. For additional findings on the positive benefits of apprentices for employers,
     see Lerman, et.al., “The Benefits and Challenges of Registered Apprenticeship: The Sponsors’ Perspective,” 2009; Lerman,
     “Apprenticeship in the United states: Patterns of Governance and Recent Developments,” in Schlogl, ed. Situated Competence
     Development Through Innovative Apprenticeships, 2008. Regarding returns on investment, a study of more than 1,000 Canadian
     employers found that companies derived $1.47 in benefits for every dollar invested in apprenticeship training; see Canadian
     Apprenticeship Forum, “It pays to hire an apprentice: Calculating the return on training and investment for skilled trades employers
     in Canada,” published 2009
 78 In 2018, DDEC and DOLHR launched an initiative to develop construction, tourism, aerospace, agriculture, and advanced
     manufacturing apprenticeships. Since then, the effort has only successfully engaged a handful of employers (primarily aerospace
     firms) to create programs. Despite their importance, the initiative has not created any construction- or tourism-focused
     apprenticeships; see Action Plan Amendment Three as certified by the Oversight Board, 2020, and El Vocero, “Arranca Programa
     de Formacion para el Empleo del DDEC,” published 2018
 79 Reskilling and specialization can be achieved through enrollment in structured career transition programs managed by local
     colleges and universities or through pre-approved technical education courses (including online courses); for more information,
     see SkillsFuture, “What is it?”
 80 WIOA funds are intended to support initiatives to train youth, adult, and dislocated workers as well as apprenticeships. Given their
     knowledge of local and regional needs, DDEC should also leverage the expertise of local WIOA boards, which are responsible
     for the administration of WIOA funds and workforce programming in their respective regions, and non-governmental workforce
     development organizations where appropriate
 81 Per the Action Plan, the Workforce Training Program has the objective of promoting workforce development in the construction,
     hospitality and tourism, healthcare, technology, and manufacturing industries


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 and future talent demands of employers on the Island; current skill and knowledge gaps among
 existing workers (informed by employers); and the availability, cost, and quality of the Island’s
 talent supply. It should also draw on relevant benchmarks and best practices, as well as major
 global labor market trends to inform future talent needs.
 Some aspects of this first stage are already present in the 2020 WIOA State Plan. However, DDEC
 must ensure the full analysis is complete and available for all relevant stakeholders in order to
 appropriately inform workforce development efforts.
 In the second stage, the working group must discern the available resources and trends that will
 shape the supply of talent to meet employers’ needs. As such, DDEC must identify the resources
 currently available to train workers to meet employer needs, new resources that workers will
 leverage to develop relevant skillsets, the amount of training currently offered through employers,
 and potential private and social sector partners that can help in training or re-skilling workers.
 Enhancing opportunities for local residents depends on the working group’s ability to transform
 its learnings and conclusions into effective workforce development tools. So in a third and final
 stage, the working group must issue actionable recommendations at the local and Island-wide
 levels, in the form of an integrated strategic plan that would outline the tactical roadmap to build
 a more robust offer of training programs, initiatives, and efforts.
 Additionally, the creation and publication of such plan will allow the working group to have a
 holistic view of the current situation and more effectively plan for the usage of all workforce
 development funding currently available in the Island, namely the recurring WIOA funding, the
 resources received from CDBG-DR, and the local funds included in the document (see Section
 15.2).
 To make certain this is accomplished, the Government must complete the following action items
 by their respective deadlines:

  EXHIBIT 39: REQUIRED IMPLEMENTATION ACTIONS FOR HIGH-QUALITY WORKFORCE
  DEVELOPMENT COORDINATION STRATEGY




 7.4.4     Allocate resources in a data-driven manner
 To maximize the number of workers that can benefit from redesigned workforce development
 programs, the Government must analyze data to confirm that workforce funds are used
 transparently, efficiently, and effectively. Routine and comprehensive internal data analysis will
 enable DDEC to provide appropriate feedback and pertinent recommendations on the uses of
 workforce development funding when necessary, to boost impact and improve future outcomes.
 Potential metrics to analyze include:


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 ■   Employment and worker self-sufficiency (e.g., employed participant retention rates, average
     duration of first employment upon program completion, wages over time)
 ■   Program quality (e.g., participant attendance rates, employer satisfaction rates with
     participants’ training, percentage of corporate partners who hire participants)
 ■   Workforce attraction (e.g., percentage of unemployed workers who inquire about a program,
     percentage of inquiring workers who participate in a program)

 Some progress has been made on this front. As detailed in the 2020 WIOA State Plan, a new
 Participant Record Information System (PRIS) will now include common registration and case
 management across WIOA programs. Puerto Rico also signed the State Wage Interchange System
 (SWIS) Agreement with the Department of Labor Employment and Training Administration,
 which incorporates all six WIOA core programs to exchange interstate quarterly wage records.
 Since January 1, 2020, all Queries for Wage Data for all applicable programs are processed
 through the SWIS Clearinghouse. Going forward, DDEC must ensure these and additional metrics
 are continuously analyzed and leveraged to guide workforce development strategies. DDEC must
 also ensure systems provide KPIs and benchmark targets and enable a centralized source of
 information for case management and program evaluation.
 To support the efficient and transparent use of WIOA funds, DDEC must promote a common
 approach to spending evaluation and reporting. As such, DDEC must:
 ■   Standardize and make transparent all monitoring processes, metrics, and targets, as well as
     compliance and promotional efforts results, to create more effective programs
 ■   Ensure that regional boards sign MOUs with Government agencies to strengthen training
     programs while defraying programming costs, facilitating the redeployment of workforce
     development funds to support other high-performing initiatives
 ■   Leverage data on performance against the aforementioned metrics to set regional boards’
     annual budgets based on prior-year performance to promote efficient and effective uses of
     workforce development funds at the local level
 The Oversight Board considers that local residents would benefit from a structure of local
 workforce development boards grouped into larger regional entities, which would enable
 enhanced results driven by well-performing boards taking over underperforming peers, as well as
 additional benefits from economies of scale. The Oversight Board strongly recommends that
 DDEC and WIOA consider the system’s reorganization into a less fragmented structure.
 To ensure that workforce development funds are used in a data-driven manner, the Government
 must accomplish the following actions by their respective deadlines:

 EXHIBIT 40: REQUIRED IMPLEMENTATION ACTIONS FOR DATA-DRIVEN RESOURCE
 ALLOCATIONS




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 7.4.5        Understand structural barriers to employment and support efforts to
              eliminate them
 Another important objective the Government must pursue is to ensure that new entrants into the
 formal economy can retain employment. Transportation, childcare, and mental health-related
 issues, for example, can temporarily inhibit an otherwise willing worker from pursuing
 employment in the formal economy. Mainland jurisdictions have used several solutions, including
 job counseling, paid transitional employment, and two-generation strategies that educate parents
 alongside their children, to tackle many of these same barriers. 82 With 57.1% of Puerto Rican
 children living in poverty and years of traumatic natural disasters and health crises, the
 Government’s efforts should initially prioritize reducing employment barriers for working
 parents, low-income families, and persons affected by mental illness. 83
 DDEC is well positioned to help local workforce development boards and other relevant
 stakeholders better understand these barriers, their causes, and the size of their effects, by
 performing pertinent research and coordinating working groups to further study this topic.
 Having a comprehensive view of these issues would allow labor-related public and social sector
 entities to better inform their programs’ design and could place Puerto Rico in the correct pattern
 to tackle structural barriers to employment and labor force participation.
 To support the system’s understanding of structural barriers to employment, the Government
 must accomplish the following actions by their respective deadlines:

 EXHIBIT 41: REQUIRED IMPLEMENTATION ACTIONS FOR EMPLOYMENT BARRIER
 REDUCTION




 7.4.6        Further initiatives on human capital development to be pursued in the
              mid-term
 Given the challenges involved in restoring long-term growth and development for Puerto Rico,
 the previous initiatives should be understood as a starting point. Much more needs to be done.
 ■    In collaboration with Estudios Técnicos, Inc., the Oversight Board published a report Human
      Capital Development in Puerto Rico: An Overview (2020) which includes additional initiatives
      that the Government may adopt, including the creation of a Human Capital Committee to
      create a Human Capital Policy for Puerto Rico. The Committee should bring together all
      relevant stakeholders from the various sectors that are contributors to strengthening Puerto
      Rico’s human capital.



 82 For example, a New York’s Center for Employment Opportunities offers formerly-incarcerated persons job training, paid
    transitional employment, and career counseling; post-enrollment, participants are 48% more likely than non-participants to gain
    full-time employment and 19% less like to be re-convicted or -arrested for a felony; see Center for Employment Opportunities,
    “Research Results,” and Bloom, et. al., “Four Strategies to Overcome Barriers to Employment: An Introduction to the Enhanced
    services for the Hard-to-Employ Demonstration and Evaluation Project,” published 2007
 83 Rosa-Rodriguez, “State of mental health services for children in Puerto Rico: Mental heal services for Puerto Rico’s children are
     not a luxury but a necessity,” 2019


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 ■   Recent research assigns a central role in human capital improvement to additional factors
     such as health and skills accumulated outside of the schooling system. The population of
     Puerto Rico must have access to healthcare services in order to boost productivity in the long
     term. For example, Puerto Rico faces high rates of chronic health conditions. Human capital
     initiatives going forward should incorporate these factors. An effective system of statistics and
     information is needed to support human capital improvement initiatives.
 ■   Puerto Rico’s statistical system needs to be refurbished in order to provide information that
     is useful for research and policy making. As part of this effort, the 2022 Fiscal Plan
     recommends reincorporating Puerto Rico in the PISA tests and other international metrics,
     which would help to know where the Island stands in relation to other countries or states’
     proficiency in basic educational abilities and track its progress towards meeting goals.
 With the objective of boosting formal labor participation, DDEC and the Department of Labor
 and Human Resources should explore creating a program of incubators for the formalization of
 existing informal businesses, as has been suggested by a study published by the National Bureau
 of Economic Research on the case of Puerto Rico. This study also suggested that work activities
 common to the informal labor market such as construction and reparation work could be
 organized through cooperatives of community workers or through community organizations. 84
 Puerto Rico’s competitive advantage when competing with similar localities will depend, possibly
 moreso than anything else, on the quality of its human capital. The necessary reforms to improve
 knowledge and skills, and to reduce barriers to employment, will spur more investment from
 within and abroad, and will help workers find meaningful and well-paid jobs that will, in turn,
 contribute to faster economic growth for the Island.



                        K-12 education reform
 A high-quality education is the cornerstone for creating economic opportunities for
 the residents of Puerto Rico—especially after years of devastating natural disasters
 and the unprecedented impacts of the COVID-19 crisis. The entire system of education
 has been disrupted, and the Department of Education (PRDE) – along with many education
 systems across the U.S. – was not prepared to adapt quickly enough. These challenges were
 exacerbated in Puerto Rico given the destabilizing impact of recent natural disasters as well as
 high leadership turnover resulting from the election year. Despite these obstacles, PRDE has
 attempted to implement the 2020 Fiscal Plan initiatives, but many of these initiatives saw limited
 progress in part due to the COVID-19 pandemic.
 Comprehensive K-12 education reforms will help address the academic and social-emotional
 impacts of the last year while simultaneously empowering every Puerto Rican to develop the
 skillsets needed to achieve economic self-sufficiency and join the formal workforce. Together with
 Section 14.3 of the 2022 Fiscal Plan, which outlines the necessary management improvements
 and operational efficiencies that the Department of Education (PRDE) must pursue, this chapter
 provides a transformation roadmap that will transform K-12 student outcomes on the Island.
 Indeed, studies show that mainland workers that attain fluency in both English and Spanish earn
 $2,800 more per year than their monolingual peers, while Puerto Rican workers (ages 65 or
 below) with a high school diploma earn three times as much as residents who lack one. 85
 Improvements in education will bring prosperity and growth to individuals and the Island as a
 whole.



 84 Enchautegui, M., & Freeman, R. B., National Bureau of Economic Research, ”Why don't more Puerto Rican men work? The rich
    uncle (Sam) hypothesis (No. w11751),” 2005
 85 Ruggles, et. al., IPUMS USA: Version 9.0 [Puerto Rico Community Survey], 2015; $17,348 vs $5,731


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 Even before the COVID-19 pandemic, PRDE was struggling to provide a high-quality educational
 experience meeting the developmental needs of all children and preparing them for success in
 higher education or the workforce. Puerto Rico ranked 67th out of 73 education systems in average
 scores of 15-year-old students on the Program for International Student Assessment (PISA)
 mathematics literacy scale in 2015, with an average score of only 378 compared to the overall
 average of 490 (see Exhibit 42). 86 The Island performed slightly better in reading (59th) and
 science (65th) literacies but was still well below the average in both subjects (83 and 90 points
 below, respectively). Moreover, school underperformance persists on the Island, with just 45% of
 students proficient in Spanish, 39% of students proficient in English, and 30% of students
 proficient in mathematics in 2019. There are particularly sharp drops in English proficiency
 between the third and fourth grades, and similarly sharp drops in mathematics and Spanish
 proficiency between the fifth and sixth grades. 87 33% of current third graders are at-risk of not
 graduating high school, and PRDE has delayed the introduction of evidence-based practices that
 are important to properly serving Special Education students (who comprise a greater share of
 the student population—32%— than in any other U.S. jurisdiction). 88,89

 EXHIBIT 42: AVERAGE MATH LITERACY SCORES, ORGANIZATION FOR ECONOMIC
 COOPERATION AND DEVELOPMENT (OECD)’S PROGRAM FOR INTERNATIONAL
 STUDENT ASSESSMENT (PISA), 2015




 The COVID-19 pandemic is likely to worsen student outcomes given research showing a
 disproportionately negative impact on low-income (~80% of PRDE student population in 2021)



 86 OECD, Program for International Student Assessment (PISA) test scores, 2015
 87 English: 55.4% in third grade to 39.0% in fourth; Spanish: 62.3% in third to 48.6% in fourth; mathematics: 45.3% in fifth to 11.5%
    in sixth; see Puerto Rico Department of Education, “Resultados META-PR 2018-2019,” 2019
 88 This calculation is based on recent PRDE performance data and accounts for the fact that students who do not read at grade level
    by third grade are four times more likely to not graduate high school; see Puerto Rico Department of Education, “Reporte de
    Desercion Escolar 2018-19,” 2019 and Hernandez, “Double Jeopardy: How Third-Grade Reading Skills and Poverty Influence
    High School Graduation,” 2012
 89 An average of 13% of students are characterized as special education students in the U.S.; see Puerto Rico Department of
    Education, “Matricula Activa,” 2020; U.S. Department of Education, National Center for Education Statistics, 2017


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 and Special Education students. 90,91 Furthermore, surveys of K-12 students in the U.S. found that
 ~40% of students have been putting less effort into their work compared to before the pandemic,
 and ~80% of students indicate that feeling depressed, stressed, or anxious makes it hard to do
 their best in school. 92 Between 2017 and 2020, students in Puerto Rico were estimated to have
 missed up to ~160 school days. 93 To most effectively serve students and address learning gaps,
 the Governor of Puerto Rico and PRDE decided to begin reopening schools in line with national
 recommendations. As of April 2021, the Department had welcomed back students in kindergarten
 through third grade, and twelfth grade, as well as Special Education students at ~120 schools. To
 continue to safely re-open schools in fall 2021, PRDE needs clear, robust plans, including
 contingency plans that would allow for a speedy transition to a remote or hybrid environment as
 needed.
 Although natural disasters and the COVID-19 pandemic have wrought substantial destruction and
 turmoil, relief funds offer PRDE an unprecedented opportunity to reshape Puerto Rico’s public
 schools for the better. In the 2020 Fiscal Plan, the Oversight Board allocated $124 million in
 Commonwealth funds to purchase tablets, software, and training services necessary to support
 distance learning for all PRDE students and teachers as part of the Emergency Measures Support
 Package in response to the COVID-19 emergency. Additionally, as discussed in Section 14.3, PRDE
 has been allocated a significant amount (~$4.6 billion) of one-time Elementary and Secondary
 School Emergency Relief (ESSER) funding through the CARES, CRRSA, and ARP Acts, which can
 be used to support recovery and response efforts related to the COVID-19 pandemic. After having
 analyzed the guidance released by the U.S. Department of Education on how to calculate the
 Maintenance of Effort (MOE) requirements associated with this funding, as well as its
 implications on the UPR and PRDE funding provided for FY2022, the Commonwealth formally
 requested a full waiver of the MOE requirements on September 1, 2021. Furthermore, PRDE has
 hundreds of millions of federal carryover funds from prior year grant allocations and received an
 additional $2.3 billion in FEMA funding that can be used to improve school building
 infrastructure damaged by Hurricane María.
 This fiscal situation brings meaningful opportunity for students in Puerto Rico, but also
 significant management and logistical complexity. As such, PRDE must create a multi-year
 financial plan – as outlined in detail in Section 14.3 – to strategically allocate those funds in high
 impact, evidence-based, and equitable ways aligned to its strategic goals. Devising an effective
 financial plan starts with assessing student learning deficits in order to pinpoint the most acute
 needs and invest in impactful interventions through a learning acceleration plan. As the
 Department works to align financial resources to its strategic priorities, it also needs the right
 people with the right qualifications to carry out these priorities. To this end, PRDE must address
 the capacity constraints exacerbated by the increasing demands of the COVID-19 pandemic and
 PRDE leadership turnover from the election. Magnifying these challenges, outdated systems,
 inefficient processes, and poor data management often impede the ability of staff at all levels to
 carry out their normal daily functions, never mind respond to disruptions strategically or with
 agility.
 The effects of the events of the last year have reverberated across the Island and the
 whole of the Department of Education – putting PRDE in a constantly reactive
 position. To afford all local residents an equal opportunity to develop the knowledge and
 skillsets needed to contribute to the Puerto Rican economy and to address the urgent needs of
 students resulting from the COVID-19 pandemic, PRDE must continue implementing education
 structural reforms in FY2022. As described in its State Plan, PRDE aimed to achieve 73% student
 proficiency in mathematics, 77% proficiency in English, and 80% proficiency in Spanish across all
 grade levels by the 2021-22 school year, but the Department remains far from these goals.

 90 Puerto Rico Department of Education, “Matricula Activa,” 2021
 91 NWEA, “Learning during COVID-19: Initial findings on students’ reading and math achievement and growth”, 2020
 92 The Evidence Project at CRPE, “The kids are (really) not alright: A synthesis of COVID-19 student surveys”, 2021
 93 Bellwether Education Partners, Puerto Rican students during the COVID-19 pandemic: Data update, 2021


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 Nonetheless, the future of Puerto Rico relies on PRDE delivering this level of improvement. To
 achieve these targets—and ensure that PRDE makes a concerted effort to offer the children of
 Puerto Rico the high-quality education that they deserve—comprehensive reforms must begin
 immediately, particularly in areas such as English Language Learning (ELL), K-5 literacy, and
 STEM instruction.
 To maximize the likelihood of success, education reforms should build on the improvement areas
 PRDE identified in 2017: increased student achievement (as measured by META-PR scores and
 graduation rates), stronger professional development for directors and teachers, and additional
 effort to support the developmental needs of the whole child. 94 As such, the Government’s
 overhaul must:
 ■   Implement PRDE’s 2022-27 strategic plan to guide reforms
 ■   Launch evidence-based curriculum reforms
 ■   Create a post-COVID-19 back-to-school plan and learning acceleration strategy
 ■   Improve professional development opportunities for all staff
 ■   Make targeted investments to boost family engagement
 ■   Systematically collect, manage, and leverage data for better decision-making
 These reforms must collectively aim to strengthen system-wide accountability among educators
 and administrators; facilitate data-driven leadership at the central, regional, and school level; and
 increase PRDE’s responsiveness to the needs of the whole child and the broader community on
 the Island. Moreover, the Oversight Board welcomes PRDE, its non-Government partners, and
 other Government agencies to design and propose further innovative reforms to strengthen PRDE
 schools and mitigate the ongoing challenges of the COVID-19 pandemic and its residual impacts.


            Implement a strategic plan to guide reforms
 Successful education reforms require a strategic and operational foundation to
 succeed. Before PRDE can transform the Island’s schools, it should understand how student
 needs (e.g., academics challenges, curricular resources, social-emotional support) vary across
 schools, especially in light of the impacts of the COVID-19 pandemic, and centralize its strategic
 efforts to ensure consistent implementation.

 8.1.1       Specific initiatives and design parameters
 The 2022 Fiscal Plan requires that PRDE execute the following actions to establish a foundation
 for education reforms:
 ■   Create a Chief Operating Officer function
 ■   Implement the 2022-2027 strategic plan to achieve defined KPIs, improvement targets,
     and milestones; codify an operational model that clearly delineates central, regional, and local
     administrators’ responsibilities around the implementation of education reforms; and realize
     strategies for central, regional, and local administrators to implement differentiated
     interventions based on individual needs of students.




 94 The fourth improvement area—right-sizing schools to optimize resources, improve responsiveness, and strengthen regional and
     local management—is addressed in Section 14.3.


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 8.1.2     Current state and path forward
 In April 2021, PRDE defined improvement goals and strategies while developing its 2022-27
 strategic plan. However, PRDE must also still create a Chief Operating Officer (COO) function to
 lead PRDE operations and oversee the day-to-day implementation of reforms. To complement
 these efforts, the Department must also strengthen financial management capabilities within the
 existing CFO’s office and create a roadmap to guide spending at all levels, as outlined in Section
 14.3.
 To establish the strong foundation required to implement education reforms, PRDE’s Central
 Office must accomplish the following actions by their respective deadlines. Implementation of the
 PRDE efficiency measures stipulated in Section 14.3, which will promote the more effective
 management and use of Departmental resources, will further strengthen education reform efforts’
 likelihood of success.

 EXHIBIT 43: REQUIRED IMPLEMENTATION ACTIONS TO ESTABLISH ENABLERS FOR
 EDUCATION REFORM




         Launch evidence-based curriculum reforms
 PRDE must overhaul its curriculum and leverage supplemental learning
 opportunities, especially digital aids, to achieve significant increases in student
 proficiency. PRDE’s curriculum is in need of end-to-end standardization around evidence-
 based best practices, but flexibility needs to be preserved so educators can meet the diverse
 learning needs of all students and address requirements within Special Education students’ IEPs.
 For Puerto Rico’s children and guard against learning Finally, to best meet the needs of PRDE
 students, the new curriculum and materials should incorporate leading practices in social-
 emotional learning.



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 8.2.1        Specific initiatives and design parameters
 The 2022 Fiscal Plan requires that PRDE execute the following actions to strengthen its
 curriculum:
 ■    Assess the impact of current curricular spend on student performance to direct
      resources to evidence-based curriculum and instructional strategies to benefit the greatest
      number of General and Special Education students, while still providing all additional support
      required by Special Education students’ Individualized Education Plans (IEPs). PRDE should
      design a new curriculum to address the areas of most-significant academic and developmental
      (i.e., social-emotional) need across the PRDE system.
 ■    Implement innovative learning strategies to empower students through curricular
      innovations such as project-based learning (PBL). These approaches aim to build
      foundational problem-solving skills (e.g., synthesis, analysis) through a “real world”
      application conducive to long-term information retention, and empower all educators—
      through the use of formative assessments (e.g., checks for understanding, weekly quizzes,
      student-teacher feedback sessions)—to boost student achievement, quality of work,
      information retention, and attendance. 95,96 Such strategies should also embed social-
      emotional skill building within the school day.
 ■    Bolster learning strategies with proven digital aids to equip educators with learning
      resources (e.g., lessons, assessments) and other curricular materials tailored to each student’s
      developmental needs, to boost student performance and instruction. 97,98 Digital resources
      also allow for more curricular choice, differentiation in learning style, and
      remediation/extension opportunities at lower cost and larger scale.

 8.2.2        Current state and path forward
 PRDE’s current curriculum does not adequately support the needs of all General and Special
 Education students, and many teachers lack the pedagogical strategies needed to maximize
 student outcomes with current curricular resources. The Department also lacks a sense for how
 its curricular spend translates into student impact, preventing PRDE from reallocating resources
 to maximize performance. Likewise, PRDE has not yet implemented innovative teaching
 strategies—such as project-based learning—across all schools, further inhibiting student
 performance.
 Federal and Commonwealth funding has eliminated major barriers to digital education within
 and outside of PRDE schools. Furthermore, all active schools have wired internet access and all
 students will have wireless internet during the Spring semester of 2022. PRDE is in the process
 of identifying beneficial digital aids (e.g., supplemental digital resources) to enhance student
 performance inside schools. 99


 95 Unlike traditional learning environments (which evaluate learning at a unit’s end), PBL emphasizes ongoing learning and evidence-
     based argumentation. Studies spanning more than 40 years have linked PBL to stronger long-term information retention, skill
     development, and student and teacher satisfaction than traditional educational approaches; see Strobel, et. al., “When is PBL
     more effective? A meta-synthesis of meta-analyses comparing PBL to conventional classrooms,” 2009
 96 Formative assessments have been linked to gains in student achievement, with especially strong results among previously
     underperforming learners, as well as higher quality student work, better student attendance, and increased retention. See Bakula,
     “The Benefits of Formative Assessments for Teaching and Learning,” 2010, and Hanover Research, “The Impact of Formative
     Assessment and Learning Intentions on Student Achievement,” 2014
 97 Miami-Dade County Public Schools (FL) piloted Voxy, an English-learning software with adaptive learning capabilities, to
     strengthen ESL instruction. Students with one semester of exposure to the program improved an average of 15% on the Language
     Proficiency Assessment, while their non-Voxy peers only averaged a 3.5% improvement
 98 For example, in Uruguay, a nationwide initiative used laptops that had previously been distributed to elementary schoolers to
    improve ELL instruction, driving meaningful improvements in participants’ reading and writing scores
 99 Wireless initiatives have been funded through a combination of federal E-Rate and RESTART funds. The Federal Communications
     Commission’s E-Rate program offers eligible schools and libraries discounted telecommunications products and services,
     including internet connections, on the basis of local poverty levels; see Federal Communications Commission, “E-Rate: Universal
     Service Program for Schools and Libraries,” 2020


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 While the Oversight Board encourages the Department to select interventions that align most-
 closely with its 2022-27 strategic plan, PRDE must accomplish the action items outlined in
 Exhibit 44 by their respective deadlines.

 EXHIBIT 44: REQUIRED IMPLEMENTATION ACTIONS TO STRENGTHEN CURRICULUM




            Create a post-COVID-19 back-to-school plan and stand up
            distance learning capabilities
 While implementing evidence-based reforms is an important near-term goal, the most immediate
 priority for PRDE must be to continue to refine plans for students in the 2021-2022 school year
 in response to the impact of the COVID-19 pandemic. This planning process must include a
 comprehensive learning acceleration strategy, including ample social-emotional support; a
 distance/ hybrid learning strategy; and a path to reopen as many schools as safely as possible,
 which is a requirement for PRDE to receive the ESSER funds allocated to Puerto Rico under the
 ARP Act.

 8.3.1        Specific initiatives and design parameters
 ■   Return to in-person learning must combine public health guidance, PRDE management
     expertise, stakeholder input, and research on national and international learning acceleration
     approaches to develop the right plan for Puerto Rico’s public school system. Nearly every
     education system in the world is currently navigating this exact challenge, and Puerto Rico
     can learn from the successes and failures of others. In addition to creating the right plan,
     PRDE will also have to effectively implement it. The impact of the COVID-19 pandemic on top
     of the 2017 hurricanes and 2020 earthquakes continues to require additional safety measures
     on top of accelerated learning strategies and greater support for students and educators.
 ■   Social-emotional support will help ensure students have the mental and emotional
     capacity to focus on their studies. Several months into the COVID-19 pandemic, half of U.S.
     K-12 students indicated a lack of focus on their learning, and 59% stated an inability to
     motivate themselves to do schoolwork in a virtual setting. 100 PRDE must address this gap by
     investing in high-quality social-emotional support, especially given that 46% of K-12 students
     cite depression, stress, and/or anxiety as an obstacle to learning due to the crisis. 101 These
     challenges remain even as students return for in-person classes due to the combined effects
     of a public health crisis, social isolation, and economic issues for many families. Previous
     research has shown that in addition to improving core social competencies, high-quality

 100 Youth Truth, Learning and Well-Being During COVID-19 Survey: Part I, 2020
 101 Youth Truth, Learning and Well-Being During COVID-19 Survey: Part II, 2020


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     social-emotional learning (SEL) programming can improve students’ academic performance
     by 11%. 102 The 2022 Fiscal Plan includes additional funds, once stimulus funds expire, to hire
     school personnel, such as school nurses, school psychologists, and teachers who are trained
     and developed to address students holistic needs that extend beyond academics, such as
     mental wellness and social emotional well-being.
 ■   Innovative, proven educational interventions to accelerate learning will target
     students’ highest academic needs. These intervention strategies will be most effective if PRDE
     leverages data to differentiate support. PRDE can learn from the practices of schools such as
     New York City Department of Education’s transfer schools, English Language Learners and
     International Support (ELLIS) Preparatory Academy (New York), and Rocketship Public
     Schools (Bay Area, Milwaukee, Nashville, and Washington D.C.), which have effectively
     supported students who are behind their grade level before and after the COVID-19 pandemic.
     Several strategies common to these schools include extensive academic and social-emotional
     diagnostic assessments, cross-content collaboration, flexible scheduling, peer support and
     collaboration, and deep community partnerships.103
 ■   Actively monitoring student attendance is a basic, yet critical function of the
     education system. PRDE must actively monitor student attendance to ensure the health
     and safety of students and provide interventions for students at risk of truancy. However, it is
     an area in which PRDE has struggled. Data from Fall 2021 indicates that only about one-fifth
     of teachers had entered attendance data for 95% or more of their class periods in PRDE’s
     Student Information System (SIS) on the same day that classes occurred. 104 According to
     PRDE’s own student retention policy, teachers are responsible for tracking student attendance
     habits to identify and flag chronic absenteeism, an end goal, which is nearly impossible
     without accurate and timely data. During this past school year, PRDE began addressing this
     recurring issue by providing updated guidance on attendance-taking in a remote environment
     to teachers and implementing attendance-taking reports for school directors. The attendance
     taking requirement was part of the 2021 Certified Fiscal Plan as an incentive which provided
     a $5,000 award for schools that reach a teacher time reporting threshold of at least 95%. The
     Department can further promote accountability of student attendance-taking through system
     updates that encourage timely data entry. As per 2022 Fiscal Plan, 90% or more of teachers
     at each school, across the 7 regions, are required to submit student attendance through the
     SIS. Additionally, meeting this condition is linked to a potential second salary increase for
     teachers (see Section 14.3).
 ■   Teacher absenteeism is another historical issue that PRDE has confronted. Students need
     reliable interaction with a consistent adult resource to support their learning and
     development. In FY2021, PRDE took steps to improve its ability to track teacher attendance
     and respond to chronic absenteeism by integrating the Kronos time management system with
     the payroll and HR systems. This change will also have significant financial benefits for the
     Department, as an Oversight Board analysis found that PRDE made at least $80 million in
     payments over 13 years to employees who had resigned, retired, died, or were otherwise not
     working. In March 2021, the Department finalized its Time & Attendance effort (referenced
     above) and implemented the first round of payroll deductions for teachers based on missed
     class time, per the updated public policy. The use of an automated T&A system (Kronos) to
     register presence at work is tied to a potential second salary increase milestone for teachers in
     the 2022 Fiscal Plan (see Section 14.3 for more detail).
 ■   Distance learning strategies continue to be a critical element of educating students during
     the pandemic. PRDE must continue its learning acceleration efforts especially given the
     amount of out-of-school time children in Puerto Rico have experienced over the past several
     years. Distance learning should be accessible on a moment’s notice as it could potentially be

 102 Edutopia, Social and Emotional Learning Research Review, 2012
 103 NYSED; Bridges SIFE Manual; ELLIS Prep Academy SCEP
 104 Gobierno de Puerto Rico Departamento de Educación, “Informe de la toma de asistencia,” 2021


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    the default delivery model for some students in the case of future public health or
    environmental crises. PRDE’s distance learning plan should include strategies to enable
    instructional delivery (e.g., adaptive curriculum), support vulnerable populations,
    professional development mechanisms for teachers, and technology deployment. In FY2022,
    PRDE continued to build out its distance learning capabilities, including recurring trainings
    on new technology tools for staff, parents, and students, as well as working to create a distance
    learning public policy with referenceable standard practices for the PRDE community.
    Although PRDE has procured thousands of devices for students and teachers and provided
    programming to offer $40 vouchers for internet service through June 2022, the deployment
    of these resources alone does not constitute a learning strategy. PRDE must also follow
    through with commitments to developing a Learning Management System (LMS) and a more
    digitally focused curriculum as described in the Curriculum Reform section of this chapter.
    PRDE should seek to leverage strategies that have proven successful, focusing on delivering
    high-quality instruction with appropriate professional supports for teachers.

 8.3.2     Current state and path forward
 Even without knowing the full effects of the disruption of the 2020-2021 academic year, PRDE
 has started to address the increased support that children so desperately need during this
 turbulent time, including launching a tutoring program in partnership with the University of
 Puerto Rico (UPR) to provide extra support in Math, English, and Spanish. PRDE also hired
 school nurses in every school and psychologists in ~72% of schools to provide physical, emotional,
 and mental health resources. While these steps are a start to installing critical support structures
 and programs, PRDE will need scaled strategies that impact all schools to most effectively
 accelerate learning and care for the social-emotional well-being of all students. As the pandemic
 landscape evolves, PRDE should continue to plan for all possible school scenarios and learn from
 its previous in-person learning strategies, including reopening ~750 school buildings in Fall of
 2021.
 Reopening schools is contingent upon PRDE taking all necessary measures to protect the health
 and safety of students and staff by reviewing and updating existing safety protocols to protect the
 community.
 Funding for initiatives to address the impacts of the COVID-19 pandemic should come from the
 various funding sources previously mentioned in this chapter; for example, these efforts are an
 allowable expense under federal funding from the American Rescue Plan (ARP) Act. Exhibit 45
 describes some of the key implementation actions that are critical to this initiative.




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 EXHIBIT 45: BACK-TO-SCHOOL AND DISTANCE LEARNING IMPLEMENTATION ACTIONS




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            Improve professional                               development                    opportunities                  for
            directors and teachers
 PRDE must strengthen longer-term professional development for teachers and directors to
 improve classroom instruction and school management. Well-trained teachers are better
 equipped to develop strong lesson plans, understand their curricula, and support their
 students. 105 Similarly, well-trained school directors are better equipped to improve school
 operations, implement reforms, and oversee the development of teachers when they receive
 robust training on how to do so.
 In addition to the importance of developing academic staff, a significant factor driving PRDE’s
 underperformance is a lack of capacity within the system to execute complex strategies in a
 challenging educational environment. Many senior members within the Department do not have
 extensive educational backgrounds, and there is high turnover at the leadership level—a problem
 magnified during gubernatorial transitions. Additionally, PRDE’s Human Resources office lacks
 a clear talent management function to support the recruitment, development, and retention of
 effective employees across the organization. To best leverage and build upon the talent in the
 system, PRDE should strive to provide opportunities for continuous learning through
 professional development programs, particularly by leveraging the training partnership with the
 University of Puerto Rico (UPR). These programs should be differentiated based on the level and
 function of the staff member to best support skills most relevant to his or her role. Instituting
 these changes will result in well-trained staff who understand how to improve the system.

 8.4.1         Specific initiatives and design parameters
 The 2022 Fiscal Plan requires that PRDE adhere to a set of parameters when implementing this
 reform. Specifically, PRDE must:
 ■    Invest in school director development to tap into a key lever for improving student
      outcomes. A recent study from the Wallace Foundation found that replacing a below-average
      elementary school principal (the equivalent to PRDE’s school director position) with an
      above-average one would result in nearly 3 months of learning gains in both math and reading,
      which is a larger impact than two-thirds of other math interventions and about half of reading
      interventions. 106 On average, PRDE school directors scored lower (2.3 out of 4) than mainland


 105 Investigators found that a one standard deviation increase in teacher quality in a single grade raises annual earnings by 1% on
     average. Moreover, researchers linked the replacement of a low (bottom 5%) value-added teacher with an average value-added
     teacher to a $267,000 increase in students’ average lifetime incomes per classroom taught; see Chetty, et. al, “The Long-Term
     Impacts of Teachers: Teacher Value-Added and Student Outcomes in Adulthood,” 2011
 106 Wallace Foundation, How Principals Affect Students and School, 2021


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      U.S. principals (2.8) on the Development World Management survey, indicating room for
      improvement.107 To close this gap and improve principal effectiveness, PRDE has engaged in
      a research-practice partnership with the University of Toronto to offer Academia de
      Desarrollo Profesional de la Educación para la Gestión de Liderazgo y la Profesionalización
      (EDUGESPRO), a professional development & management training program, to all school
      directors by the end of FY2022. PRDE should continue to monitor the impact of these efforts
      and engage in other evidence-based programs tied to school director recruitment and ongoing
      development.
 ■    Define operational and results-based criteria that will provide the Central Office with
      additional input in identifying the top-performing directors and teachers across PRDE,
      enabling PRDE to broaden mentorship opportunities that introduce underperforming
      educators to best practices (e.g., by reducing top-performers’ workloads to leverage them as
      formal mentors trained via the University of Puerto Rico-PRDE partnership and hiring job-
      embedded coaches to serve as full-time mentors), and offering evaluators across PRDE
      schools (e.g., superintendents, gerentes escolares, facilitators) a clear structure against which
      to provide directors and teachers performance-based feedback.
 ■    Formalize communities of practice across PRDE schools to expose teachers and
      directors to instructional, administrative, and social-developmental best practices, and
      strengthen ELL, K-5 literacy, and STEM instruction (especially K-5 mathematics) through
      robust mentorship (e.g., all low-performing teachers could be assigned a high-performing
      mentor to help them develop their strengths and address their weaknesses). 108,109
 ■    Fully leverage the K-12 teacher training partnership between the University of
      Puerto Rico (UPR) and PRDE made possible by a $10 million annual Commonwealth
      payment to the university-to subsidize teacher certification and training in core subjects (e.g.,
      English, mathematics, and science) and practices (e.g., classroom management, how to design
      effective assessments) to improve instructional quality, and expand the availability of teacher
      preparation classes that address specific areas of Departmental underperformance (e.g.,
      coursework on how to identify, support, and find additional assistance for students with
      academic or behavioral challenges).
 ■    Capitalize on partnerships with education non-governmental organizations
      (NGOs) to establish a high-quality fellowship program to train motivated and high-quality
      professionals on the Island to transition into careers in education and develop long-term
      home-grown solutions to instructional or administrative challenges (e.g., how to develop
      teacher evaluations that measure value-add behaviors). 110
 ■    Introduce universal student screenings conducted by PRDE school
      psychologists 111 alongside a Multi-Tiered System of Support (MTSS)112
      framework to: a) ensure that every student’s developmental needs are routinely identified
      and met to prevent children from being erroneously categorized as Special Education

 107 University of Toronto, Improving and Sustaining Management Practices in Public Schools: Report Year 1, 2020
 108 Communities of practice offer teachers and administrators a forum to meet their counterparts to discuss best practices and solve
    classroom challenge
 109 In California, Long Beach Unified School District has used formal CoPs to improve English language learning (ELL) test scores–
    a top priority for PRDE–by 9% since 2015
 110 Some partnerships are already yielding benefits; an ongoing PRDE-Puerto Rico Education Foundation (PREF) initiative has
     provided administrators guidance on how to manage a regional education system. As part of this effort, PREF identified of barriers
     to improved student outcomes in Bayamon ORE and proposed several solutions
 111 To identify students with academic or behavioral learning challenges, screenings should be brief, sensitive to change over time,
     and grounded in research
 112 The MTSS framework is a three-tiered approach to identify and meet the needs of General and Special Education students in the
     least-restrictive setting possible (as required by law). It stresses the use of a pedagogical approach that evaluates the academic,
     behavioral, and social-emotional needs of the “whole child” to place students into the appropriate tier. The first tier (80-85% of
     students) includes all General Education and many Special Education students and uses universal screenings to identify learning
     or behavioral challenges. The second tier (10-15% of students) includes Special Education students with additional academic or
     behavioral goals that respond to support in a targeted small group setting. The tertiary prevention tier (3-5% of students) offers
     students that do not respond to second tier interventions individualized support and assistance


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    students; b) understand the academic, behavioral, and social-emotional needs of the whole
    child to pair every student with appropriate interventions (e.g., small group lessons for certain
    Special Education students); c) ensure that every Special Education student receives services
    required by their Individualized Education Plans (IEPs) in the least restrictive setting possible
    (e.g., reading comprehension support in a General Education classroom); and d) reduce the
    use of costly professional services firms to execute IEP analyses and other support services
    required by Special Education students (e.g., by leveraging in-house developmental staff). It
    is important to note that successful MTSS implementation is contingent upon high-quality
    data and data systems.

 8.4.2     Current state and path forward
 Despite the importance of professional development, PRDE currently lacks a standardized
 approach to delivering such programs. PRDE has proposed strengthening its STEM offerings,
 boosting literacy proficiency and bilingualism, and teaching more “real world” or actionable skills.
 To further these goals, the Oversight Board has allocated funding to several initiatives intended
 to improve student instruction and outcomes by supporting more robust professional
 development within PRDE, including the UPR-PRDE teacher training partnership and
 programming to train ELL instructors across the Island. The UPR-PRDE partnership is intended
 to offer PRDE educators robust training opportunities to help them develop capabilities and
 skillsets actively sought by the Department. The initiative is made possible through a $10 million
 annual appropriation from the Commonwealth to UPR. In FY2021, PRDE used $9 million of these
 available funds to launch credit-bearing courses and leadership academies and allocated a
 maximum of $10 million to the tutoring program for students (with ~$4.6 million already
 incurred).
 The Oversight Board encourages PRDE to select interventions that align most-closely with its
 2022-27 strategic plan, but stresses that the Department must complete the following action items
 by their respective deadlines:

 EXHIBIT 46: REQUIRED IMPLEMENTATION ACTIONS TO STRENGTHEN PROFESSIONAL
 DEVELOPMENT




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             Make targeted investments to boost family engagement
 Given the relationship between family engagement and student achievement, PRDE
 must broaden its efforts to promote robust family engagement in its students’
 academic lives. 113 Parental involvement is one of five key factors that, when present, makes
 schools ten times likelier to drive meaningful improvements in student performance. 114
 Comprehensive family engagement, meanwhile, can magnify the benefits of parental involvement
 and has been linked to higher levels of academic performance, stronger student motivation, fewer
 behavioral problems, and easier social-emotional adjustment. 115 As such, PRDE should leverage
 non-digital and digital tools, as well proven family engagement strategies, to facilitate robust and
 impactful family engagement.

 8.5.1        Specific initiatives and design parameters
 The 2022 Fiscal Plan requires that PRDE adhere to a set of parameters. Specifically, PRDE must:
 ■    Utilize non-digital and digital engagement tools to empower families to obtain a robust
      picture of their child’s academic trajectory (e.g., through individualized emails, use of a
      student information system containing student grades and attendance data), identify
      opportunities to volunteer in their student’s school (e.g., through a weekly newsletter), and
      enable parents of Special Education students to more effectively advocate for and support the
      needs of their child (e.g., guide to Special Education services).
 ■    Leverage proven family engagement strategies to better equip parents and teachers,
      using strengths-based approaches and relationship-based practices, to collaborate as equal
      partners in a child’s development and improve student outcomes (especially for Special
      Education students), and achievement, through two-generation partnerships, which directly
      intertwine the education of children with parents to improve outcomes for both (e.g., offer
      parents job training alongside high-quality after-school programs for their children). 116, 117
 ■    Regularly survey the families of PRDE students to empower directors and teachers to
      understand how well they are supporting students’ academic development and identifying
      opportunities to better meet the needs of the whole child (e.g., improve safety, provide
      additional behavioral support).

 8.5.2        Current state and path forward
 PRDE has taken initial steps to boost family engagement, but the Department must standardize
 the use of tools and strategies to maximize the impact of its family engagement efforts. In 2018,
 PRDE created an office of family engagement. While this office is a step in the right direction, the
 broader Department has yet to institutionalize the use of non-digital and digital tools to give
 parents a more robust sense of their child’s performance. Moreover, the Department has not yet



 113 A family engagement partnership between District of Columbia Public Schools and local parents, for example, yielded improved
    student literacy scores and boosted student attendance by 24%
 114 The other four factors are the (1) use of an instructional guidance system to articulate the “what” and “how” of teaching, (2)
     professional capacity to improve instruction, (3) the presence of a student-centered learning climate, and (4) strong leadership
     from principals; see Bryk, et. al., Organizing Schools for Improvement: Lessons from Chicago, 2010
 115 Examples of comprehensive family engagement include setting clear academic expectations and helping children develop strong
     reading habits; see Castro, et. al., “Parental Involvement on Student Academic Achievement: A Meta-Analysis,” 2015; Niehaus,
     et. al., “School Support, Parental Involvement, and Academic and Social-Emotional Outcomes for English Language Learners,”
     2014
 116 Under a strengths-based approach, educators engage with parents as partners in a child’s education, leverage parents to broaden
     their understanding of a student’s needs, and work with families to identify opportunities to reinforce in-class lessons outside of
     school. Relationship-based practices promote reflection on families’ personal backgrounds to shape interactions and use parents’
     emotions around their child’s education to establish common ground between educators and households
 117 For example, a 2-Gen partnership in St. Clair, AL successfully graduated 100% of adult participants from a pharmacy technician
     program at a local college while improving student attendance at an educational after-school program


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 trained administrators or teachers in the use of proven family engagement strategies to foster
 more effective family engagement. 118
 While the Oversight Board encourages the Department to pursue interventions that align most-
 closely with its 2022-27 strategic plan, PRDE must accomplish the action items outlined in
 Exhibit 47 by their respective deadlines.

 EXHIBIT 47: REQUIRED IMPLEMENTATION ACTIONS TO BOOST FAMILY ENGAGEMENT




            Systematically collect, manage, and leverage data
 Regular data collection, management, and analysis will empower PRDE to make
 informed decisions to improve student outcomes and assess the effectiveness of its
 reform efforts. Evidence from the U.S. suggests that data collection and analysis will enable
 PRDE to better direct resources toward impactful evidence-based curricular resources and
 instructional strategies, make targeted and timely interventions to support vulnerable student
 populations, and assess the impact of education reforms. 119 In turn, access to these datasets and
 analyses will empower educators, families, and third-parties to further improve student
 outcomes.

 8.6.1        Specific initiatives and design parameters
 The 2022 Fiscal Plan requires that PRDE adheres to a set of parameters to strengthen family
 engagement:
 ■    Identify which data is crucial to the optimization of funding, identification of
      intervention opportunities, and evaluation of reform effectiveness in order to
      conduct a diagnostic of readily-trackable data within PRDE, understand which systems to
      connect, consolidate, or eliminate, and engage internal and external resources as needed to
      develop currently unavailable data-tracking capabilities.
 ■    Implement a data management system that allows superintendents, gerentes
      escolares, and facilitators to quickly access relevant regional, school, and
      student data to evaluate student achievement (e.g., META-PR scores, grade point averages)
      and performance trends (e.g., attendance, truancy/drop-outs; disciplinary referrals) in real-
      time. This includes digitizing Special Education students’ IEP documentation to facilitate
      compliance with IEP requirements, which PRDE has accomplished. 120 This enables PRDE to
      more effectively staff and budget Special Education and Remedio Provisonal programming.
      These improved systems will improve resource allocation (e.g., regional support teams) to

 118 Noticel, “Nace nueva oficina en el Departamento de Educación,” 2018
 119 For example, in Texas, the state education agency uses the Student Data System (TSDS) to collect, manage, and produce
     individual student dashboards for educators to evaluate important information, such as college readiness trends. Similarly, in
     Kentucky, the Center for Education and Workforce Statistics collects statewide government data to support informed K-12
     policymaking at the state, district, and school levels
 120.More robust initial compliance with IEP requirements could reduce costly expenses currently incurred through the use of Remedio
    Provisional as a result of untimely or inadequate support for Special Education students


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     support underperforming, vulnerable, or Special Education student populations and allow
     PRDE to measure the impact of education reforms on student outcomes and teacher
     satisfaction.
 ■   Enable directors and other school administrators to access the data
     management system to support the implementation of the evidence-based progress-
     monitoring required for the operationalization of the MTSS framework to support all General
     and Special Education students in the least restrictive manner possible, evaluate the
     performance of teachers and students relative to key metrics or Departmental policies (e.g.,
     revised time and attendance guidelines), tailor teacher professional development
     opportunities to address the most-pressing areas of student underperformance, and optimize
     the allocation of school resources.
 ■   Publish anonymized data using the data management system on a regular basis
     to facilitate school-specific performance scorecards that include student and teacher
     attendance, META-PR results, and graduation rates, among other data points. This data will
     empower educators to reshape their instructional plans (e.g., content, lesson plans, and
     pacing) in response to student data (e.g., META-PR scores) and allow parents to understand
     their child’s educational trajectory and make home-based interventions when appropriate.
     Third parties, such as education non-profits and academic researchers, will also be able to
     better understand and support the educational needs of Puerto Rican students.

 8.6.2     Current state and path forward
 To optimize the decision-making process, PRDE should first identify the most critical decisions it
 needs to make on a regular basis and develop a vision for how data and technology can provide
 support. However, PRDE has made very little progress in collecting or managing data to inform
 decision-making. To-date, the Department has focused on developing a stronger time and
 attendance system to track student and teacher attendance. Beyond this, PRDE has yet to train
 all staff on how to make data-driven decisions and establish a culture of high-quality data
 collection. The absence of a robust data management system populated by accurate and timely
 relevant data further inhibits data-driven decision-making. Improved data capabilities will allow
 leadership, staff, and educators to be more agile in their work, dedicating time, energy, and dollars
 to efforts that will have the most impact on student outcomes.
 Although the Oversight Board encourages PRDE to introduce interventions that align most-
 closely with its 2022-27 strategic plan, the Department must accomplish the action items outlined
 in Exhibit 48 by their respective deadlines.




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 EXHIBIT 48: REQUIRED IMPLEMENTATION ACTIONS TO FACILITATE DATA-DRIVEN
 DECISION MAKING




                    Ease of doing business reform

          Current state of business regulation,                                       investment
          promotion, and tourism attraction
 When the Fiscal Plan was developed in April 2018, the Government of Puerto Rico used the World
 Bank’s Doing Business Report—an independent assessment and ranking of the ease of doing
 business in 190 economies— to benchmark the business regulatory environment. The Doing
 Business indicators and methodology were designed to help countries reform their bureaucratic
 processes to improve the overall business climate. The World Bank did not publish its 2021 report
 due to irregularities found in the data in the Doing Business 2018 and Doing Business 2020
 reports. As a result of these irregularities, the World Bank cancelled the publication of future
 reports. In the absence of this data and moving forward, the Doing Business North America
 (DBNA) report will be used to compare Puerto Rico with other States. Currently, this data is not
 available, but the Puerto Rico Institute for Economic Liberty (ILE) compiled the necessary data
 for the Autonomous Municipality of San Juan to be included in the DBNA report. This will be the
 first time that a municipality in Puerto Rico will appear in the DBNA report, which is published
 annually by the Center for the Study of Economic Liberty (CSEL), at Arizona State University. The
 CSEL states that the DBNA report “provides objective measures of the scale and scope of business
 regulations in 134 cities across 92 states, provinces, and federal districts of the U.S., Canada, and
 Mexico. It uses these measures to score and rank cities in regard to how easy or difficult it is to set
 up, operate, and shut down a business.” The report uses 111 variables distributed in the categories:
 “Geographic Information,” “Starting a Business,” “Employing Workers,” “Getting Electricity,”
 “Paying Taxes,” “Land and Space Use,” and “Resolving Insolvency.” The DBNA report, with the



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 inclusion of San Juan, will be released in October 2022 and will open the door so that other
 municipalities on the Island can also be included.
 Nevertheless, the data and benchmarking contained in the last published Doing Business report
 continues to be an excellent resource to compare Puerto Rico’s doing business regulatory
 environment to best-in-class economies and top reformers, particularly in the indicators where
 Puerto Rico ranked very low. The report provides policymakers with an extensive knowledge base
 to learn from top performers and identify the regulatory and operational changes necessary to
 materially improve Puerto Rico’s business environment.
 Empirical studies have shown that, as a result of business environment reforms, countries have
 seen increases in firm creation, business activity, investment, and economic growth, after
 controlling for other relevant variables, such as overall governance and macroeconomic
 conditions. One study found that “on average, each business regulatory reform is associated with
 a 0.15% increase in growth rate of GDP.” 121 Another concluded that “the overall ease of doing
 business has a positive and significant effect on business creation.” 122 And a study on the impact
 of the ease of doing business indicators on foreign direct investment (FDI) flows found that “on
 average across economies, a difference of 1 percentage point in regulatory quality as measured by
 Doing Business distance to frontier scores is associated with a difference in annual FDI inflows of
 $250–500 million.” 123 In sum, there exists ample theoretical and empirical evidence that
 effectively designing and implementing ease of doing business reforms has a positive effect on
 reducing barriers to new firm entry, new business creation, investment, and economic growth.
 In 2020, the last World Bank report rated Puerto Rico the 65th most business-friendly economy.
 By comparison, the U.S. mainland ranked 6th in 2020. Puerto Rico’s ranking has declined annually
 since 2006 when it ranked 18th. The Island competes regionally and internationally for tourism
 and hospitality investments; internationally for pharmaceutical, life sciences, and medical
 devices, as well as knowledge services, investments; and, overall, with mainland U.S. states. Given
 heightened levels of competition in the global marketplace, the Island needs to urgently improve
 its business-friendliness through implementation of ease of doing business reforms to support
 economic growth.
 Instituting comprehensive reforms is particularly important considering the aftermath and
 recovery of the COVID-19 pandemic. Companies may look to shift supply chains back to the U.S.
 Many are evaluating their business models from the experience of having to operate remotely,
 and many Governments will likely quickly respond to these changing market forces by
 implementing rapid reforms to capture these opportunities. Therefore, Puerto Rico needs to
 urgently institute ease of doing business reforms to succeed in attracting new investment. Small
 businesses continue to face significant uncertainty as economic conditions evolve, underscoring
 the need to generate economic activity and attract new investments across the Island. Failure to
 institute reforms may enable U.S. mainland states and rapidly reforming countries to out-
 compete Puerto Rico for key investments. For example, the Democratic Republic of Georgia has
 made drastic improvements in its ease of doing business ranking, driven by robust reforms (e.g.,
 streamlining tax compliance, simplifying administrative processes for starting a business, making
 contract enforcement easier). Georgia has seen its output per capita increase by 66% and its
 business density triple between 2006 and 2014–the same period in which the country of Georgia
 improved its ease of doing business ranking from 98th to 8th.
 Puerto Rico’s relatively low-ranked business-friendliness in the last World Bank Doing Business
 Survey in 2020 is correlated with deficiencies in Government regulations and processes,
 including:



 121 Haidar, J. I., The impact of business regulatory reforms on economic growth, 2012
 122 Canare, T, "The Effect of Ease of Doing Business on Firm Creation,” 2018
 123 Anderson, J., & Gonzalez, A., Does Doing Business matter for foreign direct investment? Doing Business, 2013


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 ■   Getting electricity: The Island’s energy supply is costly and unreliable. The cost to obtain
     an electric connection in Puerto Rico is equal to 318% of income per capita 124
 ■   Dealing with construction permits: Firms spend significant time 165 days, effort (22
     procedures), and money (6.7% of project’s future value) to obtain permits, on average 125
 ■   Registering property: Companies invest significant amounts of time (190 days) and effort
     (8 procedures), on average, to register property126
 ■   Paying taxes: Firms report spending significant time (218 hours) completing filings and
     making payments (16 payments), on average 127
 ■   Occupational licensing laws: Excessive regulations hinder entry into the labor force.
     Puerto Rico licenses over 140 professions with excessive requirements and significant cost.
     With a labor participation rate of less than 40%, many unnecessary requirements constrain
     economic activity, incentivize shadow economy participation, and accelerate outmigration
     from Puerto Rico.
 ■   Freight regulations: Expanding the use of minimum freight tariffs across previously
     unregulated sectors of the economy, and other burdensome regulations, inflated
     transportation costs and increased the complexity of doing business across the Island. While
     that increased minimum tariff has been stricken, the Commonwealth must look for more
     opportunities to reduce and eliminate excessive regulation.
 ■   Tourism attraction: The Destination Marketing Organization’s (DMO) efforts to transform
     Puerto Rico into a leading tourist destination are undermined by insufficient Government
     funding and the fact that key functions and responsibilities remain at the Puerto Rico Tourism
     Company.
 ■   Offshore investment attraction: Inadequate Government resourcing and lack of progress
     on ease of doing business reforms have inhibited efforts to attract major investments,
     resulting in overreliance on tax incentives as a primary business promotion tool.
 The Government’s efforts to date implementing ease of doing business reforms have been at best
 insufficient to compete with other economies demonstrably and indefatigably committed to
 swiftly improving their business regulatory environment. In 2020, the Government started to
 implement ease of doing business reforms in some of its processes, but reforms have been slow
 and not transformative or thorough enough to warrant improvements in investor attitudes.
 Compared to the May 2019 Fiscal Plan, delayed implementation of ease of doing business reforms
 has in turn affected forecasted Gross National Product (GNP) growth. The positive effect of
 implementation progress on initiatives like permit processing and tax paying automation,
 equivalent to 0.10%, is still expected to be captured in FY2023, while the 0.2% impact of the rest
 of initiatives, to be captured over two years, was delayed by one year, from FY2025 to FY2026. In
 order to accomplish this GNP growth increase, and avoid further delays, the Government should
 make every effort to prioritize implementing the reforms included in the 2022 Fiscal Plan and
 dedicate the necessary resources to achieve the implementation targets.
 To attain the GNP uptick associated with ease of doing business (EODB) reforms,
 the Government needs to focus on achieving the following:
 ■   Improve the availability, cost, and reliability of electricity



 124 On the mainland, this cost falls to just 22% of income per capita and businesses enjoy much more reliable energy supplies
 125 For comparison, businesses invest 81 days, complete 16 procedures, and pay 0.7% of a project’s future value on the mainland
    according to the World Bank Doing 2020 Doing Business Survey
 126 For comparison, businesses invest 15 days and complete four procedures on the mainland.
 127 For comparison, businesses make 11 payments and invest 175 hours on the mainland; the odds of an audit for a corporate
     income tax underpayment are also substantially lower on the mainland.


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 ■    Make permits more easily accessible to enable business activity and public safety
      by streamlining processes and eliminating procedural inefficiencies (e.g., reallocate
      underutilized personnel) across permitting agencies (“lean transformations”), digitizing all
      procedures required to start a business into the Single Business Portal, developing the
      Permitting Performance Dashboard, and launching the Red Tape Commission to support
      operational and technical transformations.
 ■    Overhaul property registration to facilitate financial transactions and promote
      disaster-preparedness by identifying and standardizing best practices among registrars to
      speed up processing, merging the current land registration system with a faster land
      recordation system, merging the existing land registries into one uniform parcel registry, and
      launching a campaign to map ownership of all unregistered properties on the Island.
 ■    Simplify paying taxes to spur economic activity by designing a tax administration
      reform that digitizes, consolidates, and eliminates select tax filings, and conducting an
      operational needs assessment across Hacienda to reallocate personnel.
 ■    Reduce occupational licensing to facilitate labor force participation by designing
      legislative reforms to reduce required licenses and excessive requirements, implementing
      uniform licensing requirements like those in many U.S. mainland states, and consolidating
      the processing of occupational licenses under one department.
 ■   Minimize the negative effect of inefficient on-Island freight regulations by
     reverting to the interpretation of regulations concerning carriers that was in
     effect prior to December 23, 2020, ensure that any tariff increases on
     traditionally regulated segments of the economy are developed in line with best
     practices and Puerto Rico law with regard to regulatory processes, and minimize
     the financial barriers to entry in the trucking sector. The Oversight Board will
     continue meeting with trucking representatives, the business community, and the
     Government of Puerto Rico to engage in a constructive dialogue to assess their needs and the
     best interests of the people of Puerto Rico.
 ■   Strengthen offshore investment attraction efforts by implementing a strategy to
     compete with mainland states and other economies for investments as firms move to shift
     their supply chains to the U.S. and attracting airline cargo companies through the air cargo
     and passenger transfer hub waiver granted by the U.S. Department of Transportation.
 ■    Prime tourism attraction efforts for success by transferring internal (on-Island),
      airline, and event marketing responsibilities and funding from the Puerto Rico Tourism
      Company (PRTC) to Discover Puerto Rico (DPR).
 While all reforms will help foster economic growth and job creation, simplifying
 and digitizing permits (including business registrations), property registration, and
 paying taxes will have a particularly significant impact.


             Streamline permits to promote business activity and public
             safety
 To foster economic development, promote public safety, and enable recovery from
 the COVID-19 pandemic, the Government must urgently revamp the Island’s
 permitting system.
 As part of the efforts to reform the permitting process, a new Joint Regulation, the Island-wide
 permitting rules, was implemented in January 2021. 128 The Joint Regulation is intended to allow

 128 This Joint Regulation was declared null by the Court of Appeals on March 31, 2021 and on April 12, 2021 in two different
     judgments. The Puerto Rico Planning Board has 30 days to appeal the decisions before the Supreme Court of Puerto Rico, so
     they are not final. The Puerto Rico Planning Board has said that they will appeal the decision and if necessary, will present their
     case before the Supreme Court of Puerto Rico. Until the decision becomes final, the Joint Regulation is considered as current.


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 for an expedited permitting process, one of the biggest hurdles to business operations, through a
 change of the single permit process. The single permit process, in effect since 2019, attempts to
 allow applicants to complete all documentation required in one process, as long as the permit
 filing is in compliance with all requirements, including zoning. The new process, per the 2021
 Joint Regulation, allows all required inspections to occur after a business starts operations. With
 this specific change, single permit approval time has been reduced from an average of 52 days in
 2020 to an average of 13 days in 2021. In addition, many constructions permits that once required
 an environmental assessment no longer require it if the project’s environmental impact falls
 within certain minimal guidelines. This modification is expected to reduce permitting process
 timelines by at least six months and reduce business costs for those types of projects. Another
 important change in the regulation is that applicants can choose to renew their Single Permit in
 one or three years, reducing the time spent renewing permits.
 Despite this near-term progress, the permitting process itself still needs to urgently
 be reformed, with the bulk of the work – process and system reengineering—still to
 be implemented over the next two to three years. Without these permanent changes,
 permitting backlogs will likely persist. Changes are required to create uniformity within the
 Island-wide permitting rules and estimated time to adjudicate permits, regardless of the office or
 the Municipality that is processing the permit.
 Not only are the delays in construction permit issuance a deterrent to business creation and
 expansion, they also incentivize informal construction, which in turn potentially increases risks
 to public safety, as informal construction may not follow applicable building codes. 129 Without
 thorough implementation of the reforms outlined below, permitting will impede the Island’s
 economic revitalization—discouraging construction and business operations, and undermining
 recipients who aim to rebuild their homes and businesses in the wake of natural disasters. In the
 aftermath of the COVID-19 pandemic, creating a streamlined permitting system that allows
 businesses to quickly start or restart activity will be crucial to support Puerto Rico’s recovery—
 especially in the case of small businesses, which are particularly vulnerable to economic
 disruptions. 130

 9.2.1        Permitting reform design parameters
 The 2022 Fiscal Plan recommends that the Government adhere to the corresponding set of
 parameters when implementing the required permitting reforms:

 ■   Improve efficiency while maintaining public safety. The Government can implement
     this reform by eliminating sources of waste (e.g., under-trained employees asking applicants
     for excess documentation) through a lean transformation and routine regulatory training and
     testing for employees at key permitting agencies. 131 FEMA recently approved the use of funds
     from a Hazard Mitigation Grant, to hire the resources to perform the re-engineering of the
     permits’ process. In addition, with the grant all permits’ employees are participating in several
     seminars on the permit’s process and regulation and construction code among others. The
     permits reform also requires that the issuance of all construction (PCOC) and business (PU)
     permits that comply with basic requirements on a conditional basis, with continued validity
     dependent on the findings of proactive (mid-construction or -operation) inspections.



 129 In 2007, Interviron Services, Inc. concluded that as much of 55% of the Puerto Rico’s residential and commercial construction
     could have been done informally; see Hinojosa, et. al., “The Housing Crisis in Puerto Rico and the Impact of Hurricane Maria,”
     2018.
 130 For example, the average small business generally holds less than one month of cash on hand. JP Morgan Chase & Co Institute,
    “Cash is King: Flows, Balances, and Buffer Days: Evidence from 600,000 Small Businesses,” 2016.
 131 These include the Permits Management Office (OGPe), the chief permitting regulator; the Environmental Quality Board (DNER-
     JCA), which exempts permits from environmental impact reviews and conducts the reviews themselves; and the Department of
     Health (DOH) and Firefighters Bureau (CB), which issue the sanitation licenses and fire prevention certificates required for
     businesses to operate.


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      132,133,134 For the business permits all that comply with basic requirements and do not require
      a license or a change of use, are being granted immediately and inspections by the fire and
      health departments are performed after the permits is approved. The Government should also
      increase utilization (i.e., identifying additional inspection types to delegate) and oversight of
      third-party inspectors (e.g., more training and auditing), for which the Planning Board issue
      a new Audit Policy and is establishing dashboards to track audit results to take corrective
      action when necessary. 135, 136 In addition, it is necessary that a streamline permitting process
      be established for strategic projects (e.g., major developments, projects above a certain value
      threshold), and guarantee highly delayed applications a right to obtain agency review by
      establishing an escalating process in the SBP. 137
 ■    Accelerate construction permitting. The Government can implement this reform by
      expanding the types of businesses and construction projects excluded from environmental
      impact review. 138 Department of Natural and Environmental Resources (DNER, by its
      Spanish acronym) amended their Administrative Order on Categorical Exclusions to increase
      the number of actions and activities exempted to perform an environmental assessment
      because they do not have significant impact on the environment, but there are still
      opportunities for further reductions.
 ■    Expedite business permitting. The Government can implement this reform by
      eliminating sanitation and fire department inspections for some businesses, such as stores in
      shopping centers and offices in some commercial buildings that go through annual
      inspections and ending sanitation inspections for low-risk businesses (e.g., offices, retail
      outlets) altogether. 139 In addition, after completing reengineering of the permit’s process, the
      permit’s law and the joint regulation will need revisions to incorporate changes, simplify
      language, and eliminate procedural inefficiencies.
 ■    Improve municipal permitting offices’ compliance with permitting regulations.
      The Government can implement this reform by revising, standardizing, and renewing all legal
      agreements that allow autonomous municipalities to issue permits on their compliance with
      permitting regulations, 140 redirecting applications and fees away from non-compliant
      municipalities, 141 and allowing municipal permit applicants to document a municipal
      permitting office’s regulatory non-compliance and petition OGPe to review their cases.


 132 The consolidated construction permit (PCOC) is required for all construction on the Island.
 133 The single permit (PU) is required of all businesses on the Island to operate. It consolidates the use permit, the environmental
     quality certificate, the fire prevention certificate (adjudicated by CB), the sanitation license (adjudicated by DOH), and depending
     on the nature of the business, liquor, and tobacco licenses (adjudicated by Hacienda).
 134 All permits are currently adjudicated through a time-intensive analysis to determine whether projects as written in the applications
     would comply with regulations. In a proactive inspection regime, regulatory compliance is ascertained through live inspections,
     enabling adjudicators to issue permits more quickly (reducing processing times), inspectors to verify code compliance in practice
     (boosting safety), and builders spot quality control issues earlier on (averting expensive rework).
 135 Profesionales autorizados may complete fire prevention certificate inspections, but both OGPe and local permitting experts have
      voiced concern about the quality of some third-party inspections.
 136 In Washington, D.C., third-party inspectors may conduct building, mechanical, electrical, and plumbing with supervision from the
     city’s Commercial Inspections Division; see District of Columbia, “Third Party Program Procedure Manual 2018,” 2018.
 137 The Government could offer significantly delayed permit applications the ability to petition OGPe’s Adjudication Board (OGPe-
     JA) for a final decision. In turn, the Government should bolster the board’s technical capabilities by developing a permanent
     technical staff to review applications and require OGPe-JA to issue final rulings on their status by a certain deadline.
 138 Before applying for permits, applicants must solicit an environmental document approval from OGPe. The categorical exclusion
     (DEC) is the most common and fastest to adjudicate (as no analyses are required). Applicants who do not qualify for a DEC must
     complete an environmental assessment (EA) or an environmental impact assessment (DIA).
 139 An end to low-risk business sanitation inspections would reduce regulatory burdens for those businesses and enable DOH to
     allocate additional personnel to inspect high-risk facilities (e.g., labs, restaurants).
 140 Act 81-1991 created autonomous municipalities. Under existing regulations, autonomous municipalities are legally allowed to
     open municipal permitting offices once they have submitted municipal zoning maps to and signed convenios de delegacion with
     JP. Convenios de delegacion are valid for five-year periods.
 141 OGPe could redirect permitting applications and fees away from municipalities that display sustained patterns of non-compliance
     (via SBP) or (in conjunction with JP) digitally revoke their authority to issue permits altogether.


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 ■   Allowing Government agencies to propose regulatory changes in response to
     economic or technological changes to maximize efficiency and safety. 142

 9.2.2        Reform targets and indicators
 Successful property registration reforms will allow Puerto Rico (last ranked 143rd in the previously
 published Doing Business Report “dealing with construction permits” indicator) to compete with
 the top-ranked Latin American and Caribbean (last ranked 87th) by reducing the time, number of
 procedures, and cost required to obtain permits by FY2023. It must digitize and integrate all
 procedures required to start a business into Single Business Portal (SBP) (Act 19-2017). On the
 last data submitted to the World Bank for the Doing Business Survey reflected some
 improvements in indicators from the previous surveys. However, because the results were not
 published, we do not have certainty that those improvements led to a better ranking.

 The Government must continue to redesign the Island’s permitting regime by implementing
 operational changes to ensure systemic and enduring changes.
 ■   Overhaul the Single Business Portal: The platform needs solutions to glitches and
     additional features to meet the Island’s permitting needs. It should also be redesigned to be
     customer-centric, process-driven, and to prevent errors in document submittal. 143 An
     operational redesign will enable agencies to comply with processing time limits to adjudicate
     permits. While modifications to SBP were made to reduce technical glitches (e.g., applications
     sent to incorrect offices) and a lack of critical features (e.g., amending applications) additional
     intelligence capabilities must be added to prevent errors, reduce time by directing applications
     through the process and permitting proponents to present complaints when process
     deviations occur. SBP upgrades will provide a foundation for the operational transformation.
     The Commonwealth should digitize and centralize all procedures to start a business as
     required by Act 19-2017 and facilitate inter-agency collaboration by offering all permitting
     agencies and municipal offices more visibility into outstanding tasks (e.g., inspections). The
     Hazard Mitigation Grant from FEMA provides the funding to perform an overhaul of the SBP,
     including all recommendations in this plan. The DDEC has among its priorities the overhaul
     of the system and has designated a team to work on this.
 ■   Revise all Island zoning to reduce land use consults or use variations: The
     Planning Board needs to complete territorial planning for all municipalities, including
     updating existing plans to reduce location consultations (e.g., revising zones that have
     organically changed use but have not been recognized in the zoning maps). These problems
     are reflected in the lengthy and costly permitting process that needs to be followed for use
     variance and land use consults. The Hazard Mitigation Grant from FEMA provides funding to
     hire additional planners to help the Municipalities in developing and updating their Territorial
     Plans with no cost for the Municipalities. Municipalities have to prioritize this effort.
 ■   Revise the Environmental Document Regulation: The DNER should revise their
     regulation to allow for more flexible delimitation of actions that are determined to be
     Categorical Exclusions, including for existing facilities, expansions, and any other that are
     known to not have a significant impact on the environment. This change will expedite the
     permit evaluation process for many cases, as it reduces time to approximately six months for
     environmental document approval for many projects. Even though this effort already started,
     further revisions should be done.

 142 Modifications should respond to technological advances (e.g., development of new software that renders certain analyses
     obsolete). An effective mechanism in the Joint Regulation would require JP to (1) review all proposals and send viable ones to
     public commentary on a quarterly basis and (2) update the Joint Regulation within 90 days of their approval.
 143 SBP was created by Act 19-2017 to serve as the Island’s one-stop portal for construction and business permits, individual and
     corporate incentives, and business registration procedures. To-date, the platform is only used to solicit and adjudicate permits
     and incentives. SBP has been played by technical issues (e.g., incorrectly computing application fees, sending applications to
     the wrong permitting office, etc.) and hampered by the absence of important features (e.g., amending applications, allowing
     permitting agencies to view all tasks awaiting completion, etc.).


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 ■    Establish Performance goals for all agencies, municipalities, and offices that
      participate in the permitting process, and publish a dashboard with the general
      status and statistics for accountability in the permitting process: OGPe created the
      public dashboard that will provide transparency on the permitting process and will help
      identify bottlenecks and inefficiencies among the agencies and offices involved. These
      Dashboards will be published in the DDEC website with access to all interested. The
      Dashboards must include data from all permitting offices including all autonomous
      municipalities permits offices.
 ■    Launch a Permitting Performance Dashboard (DPP) to evaluate permitting agencies’
      and Municipal offices’ compliance with processing time limits found in the Joint
      Regulation 144 by calculating the average processing time (submission to adjudication) for all
      permit classes and types (and agency sub-tasks if adjudicated by two or more agencies), 145,146
      tracking the number of applications closed without adjudication or returned to applicants due
      to incomplete documentation for all permit classes and types, 147 recording the percentage of
      third-party permit inspections audited by the Planning Board, and enabling applicants to view
      their permit’s approval status in real-time. The metrics and dashboards were developed but
      they have to be deployed to all offices that manage permits including agencies and municipal
      permits office.
 ■    Launch a Red Tape Commission comprised of private and public sector experts to
      identify opportunities to streamline the environmental documents, such as the Determination
      of Categorical Exclusion (DEC) and the Environmental Assessment (EA), and major
      construction procedures like the Land Use Consult (CUB), the Consolidated Construction
      Permit (PCOC), the Infrastructure Agency Recommendation (SRI), and the single business
      permit (PU). 148 The commission should also map the objectives of all OGPe-issued permits
      to identify overlaps in scope, outdated use cases, permits that could be processed in parallel
      or leverage the same analyses, as well as recommend which permit inspections could be
      delegated to third-party inspectors and flag major SBP glitches and common-sense technical
      upgrades. This commission was appointed by the DDEC and meets twice a month to work on
      recommendations, assign responsibilities and track implementation of such
      recommendations.
 The implementation of these reforms is critical to improve the permitting process. The Oversight
 Board recommends the Government—notably the Planning Board (JP, by its Spanish acronym)
 and the Permits Management Office (OGPe, by its Spanish acronym)—implement these reforms
 promptly to improve the permitting system. 149 The implementation of these reforms is necessary
 to achieve the economic growth assumed in the Fiscal Plan and to increase the tax revenues that
 come as a result of economic growth.


 144 The Joint Regulation creates three permit classes: Ministerial permits comply with all land use, zoning, and building regulations
     and must be adjudicated within 30 days. Discretionary permits that contravene only building rules (e.g., square footage limits) are
     subject to a Construction Consultation (CC) but not subject to public commentary and must be adjudicated within 120 days. All
     other discretionary permits are subject to a public hearing and must be adjudicated within 180 days.
 145 Class refers to a permit’s ministerial or discretionary character, type refers to its use (e.g., PCOC, PU, etc.).
 146 The SRI is one example of a permit adjudicated by more than one agency. Although it is issued by OGPe, the determination is
    based on input from the affected infrastructure agency (e.g., PREPA).
 147 The Joint Regulation resets time limits when agencies receive an application lacking required documentation. Local permitting
    experts have noted prior experiences with agencies marking completed applications “incomplete” to reset application time limits.
 148 In New York City, a red tape commission developed more than 60 solutions to address inefficient business processes, including
     permitting. In New Jersey, the creation of a statewide commission coincided with a slowdown in the issuing of new regulations.
     When enforceable by law, red tape reduction efforts have drastically reduced excess regulations. Rhode Island eliminated 31%
     of all statewide regulations when it legally set its entire regulatory code to expire at the end of 2018. See Broughel, “A Dark Day
     for Red Tape in the Buckeye State,” 2019.
 149 For example, creating a more coherent land use plan and zoning map could streamline the permitting process by eliminating the
      need for time-intensive pre-construction consultations. Multi-year delays in updating this map have increased the need for such
      consultations as Island’s developmental trajectory has necessitated commercial and industrial development in areas officially
      zoned for residential or agricultural uses. As such, the Oversight Board urges collaboration between JP and autonomous
      municipalities to produce an updated land use plan and zoning map that meets the Island’s economic and environmental needs.


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 To successfully implement permits’ reform, the Government must accomplish the following
 action items by their respective deadlines:

 EXHIBIT 49: REQUIRED IMPLEMENTATION ACTIONS FOR PERMITTING REFORM




         Overhaul property registration to facilitate financial
         transactions and promote disaster-preparedness
 To remove barriers to financial activity and promote disaster-preparedness, the
 Government must continue implementing property registration reforms. The
 digitization of property registrations has boosted productivity at the Department of Justice-



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 Property Registry (DOJ-PR), enabling the registry to process more documents than it received 150
 Since the certification of the 2020 Fiscal Plan, the Register has been able to reduce backlogs from
 400,000 to 293,000 documents, registrations average less than 90 days to process compared to
 190 days 2020, and new registrations (excluding backlog cases) average 15 days. This has been
 done by creating performance dashboards and establishing performance goals for all employees.
 However, even with these temporary changes, the backlog has not been eliminated, and without
 systemic and procedural changes the backlog could further increase, therefore procedural changes
 are necessary for long-term reform.
 Accelerating property registration will ensure that all residents and businesses can quickly and
 reliably document property rights—crucial to day-to-day business operations and to post-disaster
 recovery efforts. As it stands, the Island’s current set of disjointed registries does not
 comprehensively map all land ownership, complicating the Government’s disaster relief
 efforts. 151, 152, 153 To empower residents and businesses to recover from future natural disasters
 and comply with U.S. Department of Housing and Urban Development (HUD) guidelines for
 unlocking $8.3 billion in Community Development Block Grant Mitigation (CDBG-MIT) funds,
 reforms should also demonstrate meaningful progress in the creation of a uniform parcel registry
 that can be used to verify the ownership of properties across the Island.

 9.3.1         Reform design parameters
 The 2022 Fiscal Plan continues to require the Government to implement the property registration
 reforms highlighted in bold, below. The 2022 Fiscal Plan recommends that the Government
 adhere to the corresponding set of parameters when implementing the required property
 registration reforms. Specifically, the Government must:
 ■    Reduce the amount of time required to register a property. In the past year,
      productivity by employees increased once performance targets were established, and cases in
      sections that are up to date in backlog elimination are now being registered in 15 days. A
      Government internship program was also deployed with the UPR to hire students to assist
      with the registering process time. The Government can achieve this reform by completing
      consolidation of regional offices, train supervisors on continue to supervisory skills including
      performance management, provide continuous training to employees to increase productivity,
      conducting performance analyses to reallocate support staff (e.g., technicians) to maximize
      registrars’ processing capabilities, and eliminating the backlog of outstanding property
      registrations.
 ■    Eliminate the backlog of outstanding property registrations. In the April 2021 Fiscal
      Plan, it was recommended that the Government achieve this reform by promoting legislation
      such as what was done in 2010 with Act 216, known as the Act to Accelerate the Property
      Register. Act 340 has been introduced to the legislature and has the potential to help eliminate
      roadblocks for registration of the 200 thousand documents in backlog that have a tract and
      are in the correct estate. Most of these documents are missing minor corrections but due to
      the time lapsed from origination to present the notary or the proponent cannot be traced. The

 150 Puerto Rico Department of Justice-Property Registry, performance data shared with Oversight Board, 2019; the World Bank
    Group, Doing Business 2020, 2019.
 151 In the aftermath of the 2017 hurricanes, many individuals and families affected by the disasters struggled to document legal
     ownership of their properties, requiring FEMA to make an exception and allow claimants to self-certify ownership,
 152 Unregistered properties, also known as informal housing stock, are generally self-built by lower-income households, often in flood
     zones and without rigid building code compliance. In 2007, Interviron Services, Inc. concluded that as much of 55% of the Puerto
     Rico’s residential and commercial construction could have been done informally.
 153 Puerto Rico has three property registration systems: (1) DOJ-PR’s registry records transactions (e.g. acquisitions) relating to real
     properties and uses registrars to analyze the validity of property transactions; (2) Centro de Recaudacion de Ingresos Municipales
     (CRIM) maintains a digital registry of real property in each municipality (the Cadaster of Puerto Rico) for tax, legal, economic, and
     administrative purposes; (3) JP maintains an interactive database with location, environmental, and land use data across the
     Island. Neither the DOJ-PR registry nor the Cadaster accurately capture property ownership. Registration in the former is
     voluntary, time-consuming, expensive, and unnecessary in the absence of financial transactions. While registration in the latter is
     mandatory, the Cadaster does automatically record informal transactions.


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      Oversight Board recommends the Registry deploy an implementation plan to register all
      backlog in two years.
 ■    Modify Karibe, which is the digital platform used by the Register. As of today, efforts to
      modify Karibe are delayed, and the maintenance contract has not been renewed for FY2022.
      Focus groups with Registrars, Notaries and employees were performed to identify quick fixes
      to Karibe. In addition, a volunteer (pro-bono) consultant was identified by the Science Trust
      to develop an RFP for the development of Karibe with modern digital infrastructure solutions.
      The new system should reduce document notifications by implementing checklist and filters
      in case presentation to eliminate errors. It should also automate document review process
      using IT technologies such as OCR, AI and machine learning. The Oversight Board
      recommends that the Justice Department develop an RFP to hire system developer based on
      specifications established.
 ■    Create a taskforce composed of Public Notaries, and DOJ-PR to develop
      recommendations and set procedures and legal requirements to register non-
      registered property on the Island. The current process to register properties that have
      never been registered requires that all transactions go through the judicial system. It is
      estimated that there are 90,000 informal properties in Puerto Rico that would have to go
      through that process, potentially creating a huge backlog in the judicial system. The taskforce
      already developed recommendations on simpler process for registration of informal
      properties outside of the judicial system. Such recommendations were presented to the
      PRDOH, which is evaluating them for implementation under the Title Clearance Program.
      The implementation of such recommendation will make more accessible and in a shorter time
      obtaining a property title for most owners.
 ■    Create a uniform parcel registry that comprehensively records property
      ownership and rights across the Island (funded by a $50 million CDBG-DR grant for
      this purpose). The Government can achieve this reform by prioritizing the mapping of the
      entire Island, including only basic information for each property, and limiting participation
      to stakeholders with registration data, establishing an administrative and technical protocol
      for continuously updating the parcel registry to reflect legal changes (e.g., new ownership),
      and creating a legal protocol to incorporate informal housing stock lacking legally-determined
      boundaries, deeds, or titles into the uniform parcel registry. According to the Department of
      Housing CBDG-DR Office Action Plan (V), the GeoFrame Program will aggregate, integrate,
      and actualize all cadastral data (addresses, roads, parcels, structures, ownership, occupancy,
      land use, etc.) in Puerto Rico using a centralized regulated system. The program guidelines
      were approved in September 2020 and the program launched in October 2020 with a Request
      for Proposal (RFP) for a program manager.
 ■    Launch a geoportal that provides an interactive geospatial presentation of data
      populated within the uniform parcel registry (funded by the same $50 million CDBG-
      DR grant mentioned above). The Government can achieve this reform by contracting
      surveyors and GIS service providers to develop a digital portal of the Island, and prioritizing
      the overlay of parcel and ID, ownership, land use, and valuation data 154 Over the past year,
      PRDOH contracted a service provider and started coordination meetings to align the provider
      with program requirements, establish expectations and produce an adapted working plan and
      deliverable schedule. The current term of the contract is for three years, which covers Stage 1
      and Stage 2 of the GeoFrame Program. By the start of Stage 2 (January 2023), as per program
      design, there should be an interim system that can be accessed by a digital portal and that
      should iterate into the final portal through a production phase that extends into Stage 3 of the
      program. In FY2021, DH contracted a service provider and started coordination meetings to
      align the provider with program requirements, establish expectations and produce an adapted
      working plan and deliverable schedule. The current term of the contract is for three years,
      which covers Stage 1 and Stage 2 of the GeoFrame Program. By the start of Stage 2 (January

 154 After satisfying HUD requirements, the Government could populate additional data (e.g., utility, school population, crime) to meet
     the Island’s legal and economic needs.


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     2023), as per program design, there should be an interim system that can be accessed by a
     digital portal and that should iterate into the final portal through a production phase that
     extends into Stage 3 of the program.

 9.3.2     Reform targets and indicators
 Successful property registration reforms will allow Puerto Rico (last ranked 161st in the previously
 published Doing Business Report “registering property” indicator) to compete with states focused
 on attracting manufacturing and other the top-ranked Latin American and Caribbean economy
 in this indicator (last ranked 95th) by reducing the time and number of procedures required to
 register property by FY2024. It will also allow Puerto Rico to demonstrate to the U.S. Department
 of Housing and Urban Development (HUD) how ongoing efforts to develop a uniform parcel
 registry and GIS map will assist HUD in verifying legal and physical addresses associated with the
 use of CDBG-MIT funds.
 The Oversight Board will also track the following indicators to ensure that the Government
 implements property registration reforms:
 ■   Average number of days to register property
 ■   Number of procedures required to register property
 ■   Number of backlogged property registration applications
 To successfully implement property registration reform, the Government must accomplish the
 following action items by their respective deadlines:

 EXHIBIT 50: REQUIRED IMPLEMENTATION ACTIONS FOR PROPERTY REGISTRATION
 REFORM




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             Simplify paying taxes to spur economic activity
 To spur economic activity, the Government must implement reforms to
 meaningfully simplify the process of paying taxes. The Oversight Board acknowledges
 Hacienda’s progress in digitizing and increasing the number of tax filings made via the Internal
 Revenue Unified System (SURI, by its Spanish acronym). During FY2020 and FY2021 Hacienda
 automated corporate income tax filing and the submittal of documents for audits and error
 correction. In addition, they established an appointment system on their webpage to eliminate
 the need for taxpayers to visit the taxpayer’s services office and wait in line for post filing error
 resolution. Hacienda is also in the process of digitizing SUT payments in SURI. These efforts have
 drastically reduced the burden of tax filings and has helped filers reduce the time required to
 complete certain filings and payments (e.g., form 480, SUT, corporate income taxes) by digitizing
 and centralizing those processes in one place. However, municipal and property tax filings and
 payments remain time-consuming and complex. Post-filing audit procedures are still particularly
 time-consuming and challenging to resolve, often involving multiple in-person visits to
 Hacienda155 or require filers to interface with multiple revenue agencies and mediums to comply
 with their tax obligation.
 The Government should prioritize the reform of the tax administration process and should
 appoint a tax administration reform working group composed of public and private sector
 members including CPAs, CRIM, and the Municipalities.

 9.4.1         Reform design parameters
 The 2022 Fiscal Plan continues to require the Government to adhere to a set of parameters when
 implementing the required tax administration reforms. Specifically, the Government must:




 155 Most technicians only have the authority to resolve (and frequently escalate to their superiors) errors worth $25,000 or less, with
     taxpayers needing multiple follow-up visits to speak to higher-level officials.


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 ■   Reduce the time required to pay taxes. The Government can implement this reform by
     digitizing analog tax filings (e.g., municipal and property taxes), consolidating several tax
     filings (e.g., unemployment, workers’ compensation, disability and driver’s insurance), and
     improve post-filing error-resolution processes (e.g., by communicating to users the new
     capability for secure uploads for digital document) into SURI, as well as by exploring
     opportunities to reduce the number of required tax payments (e.g., less frequent payments for
     smaller amounts). To date, Hacienda has incorporated corporate tax filing through SURI,
     implemented a new capability for secure uploads for digital document into SURI, and
     established a new taskforce to work on tax reform – including tax administration.
     Recommendations from the Task Force have not yet been issued.
 ■   Accelerate the processing of tax filings and timeliness of audit completion. The
     Government can implement this reform by conducting an operational needs assessment to
     support the reallocation of underutilized personnel to critical functions (e.g., error-resolution,
     audits), and identifying and implementing operational efficiencies within the audit process
     (e.g., by identifying bottlenecks, duplicative work, and workload scheduling).
 ■   Create a working group to identify and prioritize efficiency-minded regulatory
     changes that can be incorporated into future SURI releases and to develop a plan
     to reform the tax administration process.

 9.4.2     Reform targets and indicators
 Successful tax administration reforms will allow Puerto Rico (last ranked 163rd in the previously
 published Doing Business Report “paying taxes” indicator) to compete with the top-ranked Latin
 American and Caribbean economies in this indicator (last ranked 99th) by reducing the time and
 number of filings that companies must complete to pay taxes by FY2023:
 The Oversight Board will also track the following indicators to ensure that the Government
 implements tax administration reforms:
 ■   Average number of mandatory tax payments for corporations
 ■   Number of days for claims resolution
 To successfully implement the required tax administration reform, the Government should
 accomplish the following action items by their respective deadlines:




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 EXHIBIT 51: REQUIRED IMPLEMENTATION ACTIONS FOR TAX ADMINISTRATION REFORM




            Reduce occupational licensing to facilitate labor force
            participation
 Current occupational licensing requirements complicate certain workers’ entry
 into the formal workforce and expose applicants to lengthy wait times and potential
 costs. Occupational licensing is meant to ensure high quality services while protecting public
 safety. However, overregulation in this area creates a strong disincentive for certain workers to
 move into the formal labor force. 156 To promote labor force participation and create incentives
 for skilled workers to remain on-Island, the Government should, as appropriate, streamline,
 eliminate, or harmonize occupational licensing requirements with those on the U.S. mainland. By
 aligning licensing requirements with other jurisdictions, professionals could consider Puerto Rico
 as an attractive relocation destination. Additionally, the Government should leverage established
 best practices when creating new licenses to produce less burdensome regulations and reduce the
 need for future time-intensive legislative overhauls.
 The Government has not enacted any professional licensing reforms to date. More than 140
 professions 157 are licensed by autonomous boards and supervised mainly by the Department of
 Health (DOH), the Department of State (DOS), the Puerto Rico Tourism Company (PRTC), the
 Sports and Recreation Department (DRD, by its Spanish acronym), and eleven other agencies.
 Workers must meet application requirements set by licensing boards. Applications are then
 processed by their respective boards and issued by DOH, DOS, PRTC, and DRD. Processing times
 vary substantially. 158




 156 The White House, “Occupational Licensing: A Framework for Policymakers,” 2015; Carpenter, et. al., “License to Work: A National
    Study of Burdens from Occupational Licensing,” 2017
 157 Inventory performed by the Dept of State and AAFAF
 158 In 2019, applicants for designer licenses waited approximately 33 business days to receive their license (18 days at the board
     and 15 at DOS), while barbers waited nearly 160 days (117 days at the board and 40 at DOS). Puerto Rico Department of State,
     performance data shared with Oversight Board, 2019


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 9.5.1        Reform design parameters
 The 2022 Fiscal Plan continues to recommend that the Government adhere to a set of parameters
 when implementing occupational licensing reforms.
 Over the last year, a team composed of three UPR professors and a group of students performed
 research to identify all the occupational licenses and compare their requirements and processes
 in Puerto Rico to those in other the states. The research team joined efforts with the Institute of
 Justice, and the Knee Center for Occupational Regulation to help with the comparison of the
 licenses. To date, the team has identified 141 total occupational licenses in Puerto Rico and three
 reports have been delivered: (1) “Burden Characteristics of All Inventory Licenses in Puerto Rico”,
 (2) “Review of the Occupational Licenses Management Systems for a Set of Jurisdictions in the
 US”, and (3) “Review of PR Occupations Under the Scope of US Institute of Justice LTW National
 Study of Burdens From Occupational Licensing”.
 The Government should continue to review requirements to identify licenses for simplification,
 consolidation, or elimination, and assess the basis for legislating a mandated reduction in
 occupational licensing regulations, as is done in other U.S. jurisdictions. 159 The Government
 should join U.S. mainland compacts that recognize licenses obtained in other states, such as the
 Compact for the Temporary Licensure of Professionals. The Government should also amend
 current licensing requirements to align them with those in mainland states that are home to
 significant Puerto Rican populations that might one day return to the Island (e.g., Florida, New
 Jersey, New York, Pennsylvania) or employ significant numbers of workers in industries that
 Puerto Rico aims to attract (e.g., knowledge services, hospitality, and tourism) to facilitate
 relocations.
 Additionally, the Government should create less burdensome occupational licenses in the future
 by employing less-restrictive alternatives for occupations that pose low risks to public safety,
 closely tailoring license requirements to mitigate specific health and safety risks, conducting
 regular cost-benefit analyses, and reducing barriers to inter-state mobility through the enactment
 of legislation. 160

 9.5.2        Reform indicators
 The Oversight Board will track the following indicators to ensure that the Government
 implements occupational licensing reforms:
 ■    Average number of days to obtain an occupational license after application is complete
 ■    Average number of days to renew a license
 ■    Number of occupational licenses eliminated or harmonized with interstate compacts
 To successfully implement occupational licensing reform, the Government should accomplish the
 following action items by their respective deadlines:




 159 Virginia, for example, created an inventory of all statewide regulations and mandated a 25% reduction in occupational licensing
    rules; see Broughel, “A Dark Day for Red Tape in the Buckeye State,” 2019
 160 These include certification, registration, mandatory bonding, or more direct regulation of companies; with certifications, for
     example, the Government would limit the use of professional titles to licensed workers but allow workers to practice a trade. See
     The White House, “Occupational Licensing: A Framework for Policymakers,” 2015


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 EXHIBIT 52: REQUIRED IMPLEMENTATION ACTIONS FOR OCCUPATIONAL LICENSING
 REFORM




            Deregulate on-Island freight
 Puerto Rico is one of only two major U.S. jurisdictions that still regulates land freight prices. The
 cargo industry has sufficient providers to be able to compete on prices. Regulated freights in other
 jurisdictions in the past have reportedly decreased the quality of services rendered by carriers and
 shippers, and forced companies to hold additional inventory, all of which have helped increase
 the cost of doing business in Puerto Rico. 161 Rates in Puerto Rico are also at least double that of
 market rates in most states. Higher transportation costs negatively impact businesses and lead to
 more expensive consumer goods relative to the mainland.
 Deregulation efforts undertaken in the late 1970s and early 1980s by the Carter Administration
 created a more competitive market environment for the U.S. motor carrier industry. 162 Building
 on this momentum, the Motor Carrier Act of 1980 (Act) further liberalized interstate trucking by
 allowing easier entry of trucking firms, relaxing pricing controls, and eliminating restrictions on
 routes and the products that could be carried over them. 163 Federal deregulation of interstate
 trucking culminated in 1995 with the passage of the ICC Termination Act, which abolished the
 Interstate Commerce Commission. Regulation of motor carriers (trucking companies and
 interstate bus lines) became from that point onward the responsibility of the Federal Motor
 Carrier Safety Administration (FMCSA), whose primary mission is to prevent motor vehicle-
 related fatalities and injuries. All states followed the Federal lead and by mid-1990’s also
 eliminated nearly all price regulations, with continuing regulatory efforts focused predominantly
 on safety. As a result, since 1995 interstate trucking essentially is no longer subject to price or
 entry regulations.


 161 Advantage Business Consulting, “Progress Report on Deregulation of Land Freight Rates,” 2016
 162 Rastatter, Edward H. May, “Trucking Deregulation,” 2019
 163 McMullen, B. Starr, “The Impact of Regulatory Reform on U.S. Motor Costs. A Preliminary Examination,” 1987


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 Federal and state deregulation of interstate (and intrastate) trucking has produced significant
 efficiency gains and general gains in economic welfare by lowering trucking rates, 164 improving
 services especially to small communities and remote areas, 165 less restrictive entry of workers into
 the industry, 166 increasing number of licensed carriers, 167 increasing intermodal carriage, 168
 increasing savings due to the substantial drop in the cost of holding inventories, 169 and increasing
 demand for brokering services due to the influx of small trucking firms into the motor carrier
 industry. 170
 Similar to the impact of federal deregulation, the deregulation of land freights in Puerto Rico
 would likely reduce transportation costs for the Puerto Rican business community and ultimately,
 for consumers. Deregulation of land freight rates in Puerto Rico may potentially lead to trucking
 prices closer to those of the mainland. Moreover, it will increase flexibility of industry participants
 to negotiate directly and set prices, often with contract requirements that are more sophisticated
 and complex (for example, including provisions such as advertising incentives). It would also lead
 to a reduction in consumer prices.

 In Puerto Rico the Transportation and Public Services Bureau (NTSP, by its Spanish acronym), is
 the agency that regulates public and private transportation. On December 23, 2020, the NTSP
 issued Circular letter 2020-35 temporarily increasing the minimum inland transportation freights
 by 35%, without identifying the impact on the economy. While the Circular letter has been
 enjoined by the local Court of Appeals 171, the decision to enforce the increase in rates appears to
 have coincided with a new interpretation of Act 75-2017 that expanded NTSP’s regulations across
 new segments of the economy, including manufacturing and retail. In effect, this new
 interpretation of the law expanded regulation rather than deregulating as required by the Fiscal
 Plan. Retailers and manufacturers have historically established private contracts with carriers to
 transport merchandise to the point of sale, that were not under the purview of NTSP’s rate setting.
 The pricing in these contracts has been negotiated often based on volume rather than distance,
 and often include other financial incentives, such as parking reimbursement, payment for
 advertising the company logo and public responsibility insurance, among others. The expansion
 of business segments covered by the regulation will directly impact consumer goods prices for all
 people in Puerto Rico. The tariff rate in Puerto Rico, if widely applied and enforced, would result
 in an estimated per mile trucking rate equal to between $5.55 and $7.51 per mile based on the rate
 schedule contained in the recently nullified Circular 2020-35. This compares to an average per
 mile cost of $2.74 for the U.S. mainland. 172 The regulated rates in Puerto Rico are significantly
 higher (more than double) than in most regions of the U.S. If Puerto Rico were to deregulate
 pricing within the trucking industry, it is expected that per mile rates would decline to a level more
 consistent with other U.S. regions. Furthermore, NTSP would be better equipped to focus on
 compliance with environmental and safety regulations in the absence of tariff regulation.

 The 2022 Fiscal Plan continues to recommend that the Government retract the extension of the
 tariff setting function of the NTSP to private contracts. The NTSP should maintain regulatory
 responsibilities over the previously covered segments of the economy that hauled cargo in spot

 164 The average interstate truck load rates (TL)fell nearly 25% between 1977 and 1982 and the average less-than-truck load rates
     (LTL) fell nearly by 12%. See for example Owen, Diane. S., “Deregulation in the Trucking Industry,” 1988
 165 Trucking Deregulation in the United States. September 2007. Submission by the United States to the Ibero-American Competition
    Forum
 166 Moore, Thomas Gale. Trucking Deregulation. The Concise Encyclopedia of Economics. Library of Economics and Liberty.
    https://www.econlib.org/library/Encl/TruckingDeregulation.html. Accessed July 22, 2020
 167 Ibid.
 168 Ibid.
 169 Ibid.
 170 Crum, M.R. Summer 1985. “The Expanded Role of Motor Freight Brokers in the Wake of Regulatory Reforms.” Transportation
    Journal, pp. 5-15
 171 Cámara de Comercio de Puerto Rico v. Negociado de Transporte y Otros Servicios Públicos, KLRA202100025 (April 12, 2021)
 172 This estimate assumes an average trip of 55 miles which is half the distance from the two furthest land transport points in Puerto
     Rico (San Juan to Mayaguez)


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 transactions, without including private contracts. Based on the business model of the consumer
 goods distributors and their constant use of carriers, the tariff structure is not practical, and it will
 disrupt their distribution models. The actual contracting model is a good example of how a free
 market operates and has proven to be successful. The NTSP should consider deregulating all the
 tariffs to carriers after performing an in-depth analysis of the benefits and the costs associated
 with enforcing such tariffs. In addition, when increasing rates for covered segments, NTSP should
 ensure more inclusive procedures are instituted to prevent sudden unannounced changes, and
 that any proposed changes are supported by empirical data and analysis. This evidence should
 take into account impacts on industries and the economy as a whole. Finally, any new regulations
 should ensure they do not create undue barriers to entry for new market participants in the
 trucking industry. The Oversight Board is aware that the NTSP is currently working on
 quantifying the impact of tariffs on the economy but has not yet issued a report. Currently, the
 Oversight Board is undergoing an analysis, including stakeholder meetings, to determine the
 nature and timing of next steps that will best serve the economy. It is crucial that any regulations
 should not create undue financial barriers to entry for new market participants in the trucking
 industry.
 In addition, the NTSP should review the complete regulations to eliminate duplicate permitting
 processes between OGPe and the NTSP and to eliminate unnecessary documentation and
 processes required of carriers that add costs and are extremely time consuming.

 9.6.1     Reform design parameters
 The NTSP is going through the regulatory process to update the regulations required under Law
 38-2017, the Uniform Administrative Proceedings Act, which includes notifying the public of the
 regulations to be approved, provide opportunity for resident participation, including public
 hearings when necessary or mandatory, submit the regulations to the Department of State for the
 corresponding approval. The NTSP must also submit the proposed regulation to the Oversight
 Board per PROMESA Section 204(b)(4). The Oversight Board recommends to the NTSP that it
 enhance the review process by including with its proposed regulation a study by a credible and
 independent economist built on a sound empirical foundation of the market for trucking services
 in Puerto Rico, including such details as shipping rates actually paid, trucking firm sizes, the
 number of trucking firms, and the number of firms using trucking services. Following the
 Oversight Board’s recommendation, the NTSP has commissioned a study to evaluate trucking
 rates. The Oversight Board further recommends that the study should also include a simulation
 on the economic impact on any tariff increase on consumer prices, economic growth and tax
 collections. Moreover, the regulations should be reviewed to ensure they do not place oversized
 burdens on the trucking industry. It is critical that NTSP shares its evaluation methodology with
 stakeholders to ensure transparency in the process.
 The regulations should also address reducing barriers to entry into the trucking sector, ensuring
 environmental and public safety without onerous requirements for trucking services providers.
 To successfully implement deregulation of on-Island freights, the Government should accomplish
 the following action items by their respective deadlines:

 EXHIBIT 53: REQUIRED IMPLEMENTATION ACTIONS FOR ON-ISLAND FREIGHTS REFORM




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            Strengthen offshore investment attraction efforts
 To transform Puerto Rico into a more competitive destination for offshore investment, the DDEC
 should work together with Invest Puerto Rico (IPR), the Island’s Investment Promotion Agency
 (IPA), in developing an economic development plan and providing them the tools and the
 resources to execute the strategies that would bring new investment, jobs and opportunities for
 local businesses to grow.
 Ending FY2021, Invest Puerto Rico exceeded targets in awareness, sales and outcomes, except for
 quantity of jobs committed. There were 11.2 million advertising impressions (334% above target),
 81,900 website visits (111% above target), and 955 million earned media impressions (980% over
 target). From a sales standpoint, IPR generated 4,700 leads (118% above target), 2,000 prospect
 opportunities (158% above target), and 1,914 incentive applications submitted (174% above
 target). This translated to the following outcomes: 555 new businesses, 4,988 jobs committed
 (representing 64% of target) with an average salary of $66K, and $270 million in capital
 investment (107% above target).
 Attracting job-creating investments is crucial to Puerto Rico, as the number of business
 establishments in Puerto Rico was already in decline before the 2017 hurricanes. 173 Jurisdictions
 across the globe have leveraged IPAs to attract offshore investments, fuel economic growth, and
 create jobs for their residents. 174 Effective investment promotion efforts are especially important
 in the aftermath of the COVID-19 pandemic. Off-Island investments (from both U.S. mainland
 and international companies) and from companies that establish transshipment centers in Puerto
 Rico to benefit from the air cargo and passenger transfer hub waiver granted by the U.S.
 Department of Transportation, will play a crucial role in supporting economic growth and creating
 jobs necessary to help Puerto Rico economically recover from the COVID-19 pandemic. To achieve
 this, IPR partnered with the Pharmaceutical Industry Association (PIA) on an extensive analysis
 of the Island’s competitiveness with regards to other similar jurisdictions in the U.S. and abroad
 to be able to target manufacturing companies considering shifting their supply chains to the U.S.
 In addition, Invest Puerto Rico is leading a multi-sectoral Air Transshipment Committee that has
 developed a comprehensive strategic plan and is actively working towards implementing
 initiatives to support the global logistics industry with the enactment of the U.S. DOT
 transshipment waiver, granted to Puerto Rico in April 2020. This collaboration, in addition to
 establishing new air cargo carriers on the Island, should increase direct routes, and stimulate new
 markets through Life Sciences company attraction, and expanding usage of the Foreign-Trade
 Zone (FTZ) status of the Island.
 Stronger investment promotion will also help ensure that the Island can effectively compete with
 mainland states and other countries for critical investments aligned to the Island’s competitive
 advantages (e.g., life sciences research and manufacturing, knowledge services, and hospitality
 and tourism) – increasingly important as companies look to shift their supply chains in the
 aftermath of the COVID-19 pandemic. 175

 9.7.1        IPR in comparison to other IPAs
 Unlike other IPAs, Invest Puerto Rico only has one mandate: attract offshore investment
 (primarily from the mainland) to the Island. For this purpose, IPR has an annual budget of $5



 173 Puerto Rico Department of Labor and Human Resources, Bureau of Labor Statistics, “Puerto Rico Economic Analysis Report:
    2015-2016,” 2016
 174 In Ireland, for example, the Industrial Development Authority (IDA) has helped secure investments from many of the world’s top
    pharmaceutical firms and software companies, and more than 210,000 Irish residents—nearly 10% of the country’s workforce—
    are employed by IDA client companies. See IDA Ireland, “Local impact”; the World Bank Group via International Labor
    Organization, “Labor force, total – Ireland,” 2019
 175 Rapoza, “New Data Show U.S. Companies are Definitely Leaving China,” 2020


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 million, $1.4 million of which is allocated to investment promotion. 176 However, according to an
 analysis by the OECD of IPAs in its member states, national IPAs commonly have about six
 mandates, including inward foreign investment promotion, export promotion, innovation
 promotion, regional development promotion, and granting financial incentives. 177 Sub-national
 IPAs (such as IPR) often have many of these same responsibilities, as well as domestic investment
 promotion, issuing relevant business permits, and operation of a business one-stop shop. To
 support IPR’s promotional campaign as part of the broader effort to help the Island recover from
 recent natural disasters, Vivienda has allocated $7 million in CDBG-DR funding to IPR to be used
 in FY2021. However, for future years DDEC should consider providing an increased budget to
 IPR tied to their ability to raise incremental new investment.

 9.7.2        Reform design parameters
 The 2022 Fiscal Plan recommends the Government adhere to a set of parameters to fully empower
 IPR to effectively attract growth-generating and job-creating investments to the Island.
 Specifically, the Government should:
 ■    Requiring that IPR continues to publicly release performance data clearly
      illustrating the effectiveness of its promotional campaign in bringing incremental investments
      to Puerto Rico.
 ■    Ensure that IPR implements the strategic plan it developed to compete with U.S.
      mainland states and other economies for investments that arise as companies move
      to shift their supply chains to the U.S. to minimize risk.
 ■    Partner with DDEC and DPR to implement the integrated strategic plan
      developed to leverage the U.S. Department of Transportation (DOT) air hub
      waiver authorizing international air cargo and passenger transfers in Puerto Rico’s
      international airports to foster economic development and spur tourism (if effectively utilized,
      the waiver is expected to generate $30 million in additional payroll by 2022). 178 The waiver
      authorizes international air carriers to transfer cargo and passengers from any of their
      aircrafts to any of their other aircrafts restricted in many U.S. Airports. The activities allowed
      by the waiver within Puerto Rico international airports are: to transfer cargo and passengers
      from any of their aircrafts to any other aircraft provided that the aircraft are operating to/from
      a point in the carrier’s homeland; make changes in the type of number of aircrafts used to
      transfer cargo and passengers, provided that in the outbound direction, the transportation
      beyond Puerto Rico is a continuation of the transportation from the carrier’s homeland to
      Puerto Rico, and in the inbound direction, the transportation to the carrier’s homeland is a
      continuation of the transportation from behind Puerto Rico. It also allows the commingling
      of cargo and passenger traffic moving in foreign air transportation with cargo and passenger
      traffic not moving in foreign air transportation. They should also work together with DDEC to
      renew the waiver in 2022. 179
 ■    Continue its efforts to attract companies in the eight targeted industries: Energy,
      Creative Industries, Innovation & Entrepreneurship, Finance & Insurance, Professional
      Services, Technology, Air Cargo and Lifesciences.


 176 For comparison, JobsOhio has an annual budget of $134 million, Invest Atlanta of $40 million, and Enterprise Florida of $37
    million. The average national IPA, meanwhile, as a budget of $68 million ($12 million of which is allocated to investment promotion)
    and the median national IPA a budget of $12 million (with $5 million allocated to investment promotion). See Organization for
    Economic Cooperation and Development, “Mapping of Investment Promotion Agencies in OECD Countries,” 2018
 177 These include inward foreign investment promotion (100% of IPAs), export promotion (56%), innovation promotion (56%),
    promotion of regional development (50%), green investment promotion (44%), domestic investment promotion (41%), granting
    financial incentives (31%), outward investment promotion (28%), trade facilitation (25%), and screening and approving investors
    (25%); see Organization for Economic Cooperation and Development, “Mapping of Investment Promotion Agencies in OECD
    Countries,” 2018
 178 Issued in February 2020, the waiver is expected to allow at least 10 new flights per day, creating 900 new jobs and increasing
    payroll by about $30 million (according to a study by Estudios Tecnicos, Inc.)
 179 With Federal approval, the waiver can be renewed every two years


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 ■   DDEC should provide IPR with the tools and capabilities to offer existing idle
     Government properties (e.g., abandoned industrial parks, factories, storage facilities) that
     could be used by potential investors as they explore the possibility of running their businesses
     on the Island. The Oversight Board encourages close coordination between the DDEC and IPR
     to allow IPR to present to investors a more compelling offer, as finding the right location to
     run operations in a new area is time-consuming and challenging. It could also provide IPR
     with a new source of revenue (e.g., through brokerage fees on each transaction) and help the
     Government leverage their unused properties.

 9.7.3     Reform targets
 The 10-year collaboration agreement between DDEC and IPR establishes a set of multi-year
 performance targets. Despite the disruptions caused by the pandemic, the growing number of
 firms considering shifting their supply chains to the U.S. to minimize risk in the aftermath of the
 pandemic—if well targeted—will ensure that IPR can meet or exceed its contractual obligations.
 As such, IPR should generate, according to their collaboration agreement, by the end of FY2023,
 at least:
 ■   667 new businesses
 ■   6,000 new jobs
 ■   $320 million in capital investments
 ■   $45,000 in average payroll committed by each new business
 To successfully implement investment attraction reform, the Government should accomplish the
 following action items by their respective deadlines:

 EXHIBIT 54: REQUIRED IMPLEMENTATION ACTIONS FOR EFFECTIVE OFFSHORE
 INVESTMENT ATTRACTION




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            Prime tourism attraction efforts for success
 To continue Puerto Rico’s transformation into a leading Caribbean tourism
 destination, the Government should expand the mandate and resourcing of
 Discover Puerto Rico (DPR), the Island’s Destination Marketing Organization
 (DMO). Despite its natural beauty and rich culture, Puerto Rico underperformed as a tourism
 destination even before the 2017 hurricanes. For example, the Island was ranked 55th in the 2015
 Travel and Tourism Competitiveness Report—an independent assessment of the strength of the
 tourism sector in 141 economies conducted by the World Economic Forum. 180 Destinations across
 the globe have leveraged DMOs to attract visitors, generate economic activity, and create jobs. 181
 In Puerto Rico’s case, DPR became fully operational in early 2019, when it launched its first
 promotional campaign and played an important role in driving record tourism performance in
 2019. Effective management of on- and off-Island tourism marketing efforts will remain
 especially critical in the aftermath of the COVID-19 pandemic, which effectively crippled global
 tourism and the Island’s industry and associated sectors (e.g., cruises). The leisure and hospitality
 industry was one of the hardest hit sectors in Puerto Rico, with 43% of employment lost in April
 2020 (approximately 35,000 jobs).” 182



 180 The mainland, for comparison, was ranked 6th that same year. See World Economic Forum, Travel and Tourism Competitiveness
    Index 2015, 2015. Puerto Rico has not been participating in this Index after 2015, therefore there are no recent numbers
 181 For example, the Barbadian Tourism Product Authority (TPA), created in 2014, helped increase the travel and tourism sector’s
     direct contribution to Barbados’ GDP (5.4% contribution in 2015, 10.3% contribution in 2016) and employment (4.3% contribution
     in 2015, 9.8% contribution in 2016). The creation of a DMO in New Orleans, LA was linked to higher business activity in other
     nearby cities as higher tourism demand for flights to New Orleans facilitated economic development in surrounding areas. And,
     in Chicago, the creation of a DMO helped raise the city’s business exposure, resulting in a partnership between the city’s DMO
     and its World Business Chicago (WBC), the city’s economic development agency, to promote the city as both a tourist and
     business destination. As a result, 70% of WBC marketing is conducted via Chicago’s DMO; see Oxford Economics, “Destination
     Promotion: An Engine of Economic Development,” 2014
 182 U.S. Bureau of Labor Statistics


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 COVID-19 has had an enormous impact on global tourism and the Island’s tourism sectors. As
 Puerto Rico looks forward, the Oversight Board is encouraged that, according to third-party travel
 data, Puerto Rico had been moving the needle of growth in this sector pre-COVID-19 and that it
 is starting to recover from the pandemic. The tourism sector’s contributions to the economy and
 Island-wide employment surpassed historic trends in 2019, 183 air arrivals and lodging demand
 reached record levels in 2019, 184 and DPR’s media campaign is credited with spurring higher
 spend and longer hotel stays among visitors. 185 Furthermore, in FY2021, DPR reached a record
 of trained travel advisors. As it relates to meetings / conventions, it contracted $49.1 million in
 business and increased the Island’s future meeting / conventions sales pipeline by 35% to $362.8
 million potential economic impact. DPR also reached $730.3 million in leisure travel revenues
 directly from advertising, and $73.5 million in tax revenue generated from January to September
 2021. Lastly, accommodation tax collections were up 27.9%, lodging revenues 35% higher, and
 revenue per available room 124% higher than the average in the U.S. (71% higher compared to
 2019).
 With a limited budget on the first six months of FY2021, DPR had to cut expenses by 56% by
 reducing staff from 60 to 45, reducing salaries to top earners and/or cancelling non-essential
 contracts. However, this did not stop their promotional efforts since they shifted their marketing
 and sales activities to digital. These efforts resulted in Puerto Rico achieving the highest number
 of web searches for people considering traveling in the coming months. In the past months, DPR
 has taken several initiatives to keep Puerto Rico in the top of mind of travelers, such as doing
 virtual tours of the Island and integrations in programs such as morning talk shows. In addition,
 they have been preparing for the recovery of the industry by developing a comprehensive rapid
 recovery plan. However, implementing their recovery plans will be dependent on availability of
 funds from PRTC and/or additional funding from the CARES Act and CBDG-DR.

 9.8.1        DPR in comparison to other U.S. and Caribbean Destination Marketing
              Offices (DMOs)
 DPR has a smaller mandate and lower budget in comparison to other DMOs. In FY2022 DPR has
 only received 40% or $6 million of the contracted budget from the PRTC. The typical DMO
 markets to six distinct segments: visiting individuals and families; groups (e.g., family reunions);
 Meetings, Incentives, Conferences, and Exhibitions (MICE); events (e.g., major sports
 tournaments); residents; and airlines (e.g., purchasing airline ads, subsidizing seats). DPR,
 however, is only responsible for marketing to individuals, groups, and MICE. PRTC continues to
 manage event, internal, and airline marketing. DPR also has a smaller budget than other
 Caribbean destinations —$25 million (or $943 per available hotel room) or 60% of the average
 budget of $42.1 million (or $1,485 per room) for Caribbean DMOs. 186

 9.8.2        Reform design parameters
 The 2022 Fiscal Plan recommends the Government adhere to a set of parameters to enable DPR
 to capitalize on its early successes and continue leading the Island’s emergence as a leading tourist
 destination. Specifically, DPR should:
 ■   Work in conjunction with the PRTC in internal tourism, airline, and event
     marketing to ensure a uniform and consistent approach and to leverage DPR’s expertise and
     knowledge on research and digital media.

 183 World Travel & Tourism Council, “Puerto Rico: 2019 Annual Research: Key Highlights,” 2019.
 184 Aerostar, AirDNA, Discover Puerto Rico, Smith Travel Research. In 2019, Puerto Rico welcomed 5.2 million visitors (2016, the
     previous record-holder, had only 4.8 million air arrivals). Similarly, lodging demand reach 4.7 million units (in both hotels and
     independent lodging units), up from 4.6 million units in 2017.
 185 ADARA Impact, Arrivalist. Visitor exposed to DPR media stayed 4.8 days on average (vs. 4.3) and spent an average of $217 on
    lodging per night (vs. $199).
 186 DPR budget is the established amount on 10-year contract with PRTC, in 2020-21 DPR have not received contracted amount
     due to lower room tax collected by PTRC. Numbers for other Islands comes from Destinations International.


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 ■    Implement passenger component of Air Transit Hub strategy developed by DPR
      that capitalizes on the recently issued Federal DOT waiver. This would involve recruiting a
      consultant to work with the airlines to align the air transit hub with their business models.
      DPR also needs funding for marketing the cargo hub to international markets to generate the
      demand. There is a possibility that additional CBDG-DR funds be assigned to DPR for
      marketing and promotions that could be used for this purpose.
 ■    Maximize promotional dollars from funds obtained from the CARES Act, CBDG-
      DR and other federal recovery programs. For example, Vivienda previously allocated
      $7.8 million in CDBG-DR funding to DPR for digital and broadcast advertising. Funds must
      be spent before February 8, 2022. It is important for DPR to use all awarded federal grant
      program allocations within allotted deadlines, optimizing allowable uses to further its
      mission.
 ■    Continue to strengthen the DPR brand through all marketing and promotions by
      maintaining a consistent message on Puerto Rico strengths as a destination.
 ■    Implement destination visitor research program to pivot marketing campaigns
      according to visitor’s preference and to communicate to Government agencies areas of
      opportunities on infrastructure and services.
 ■    Implement a Small and Medium Enterprises (PYMEs, by its Spanish acronym)
      recovery plan to help the industry prepare for reinvigorated tourism after the
      pandemic.

 9.8.3        Reform targets
 DPR’s initial performance indicates that the organization can effectively compete with top-ranked
 Caribbean DMOs and destinations in attracting visitors and growing the Island’s tourism sector.
 Given the COVID-19 pandemic’s impact on global tourism, however, no targets were in effect for
 FY2021. 187 Nevertheless, after massive vaccination in the U.S. and demonstrated interest from
 travelers to come to Puerto Rico, DMO should work with the Oversight Board to establish new
 FY2023 targets that build upon and surpass the targets previously set for FY2022 (below):
 ■    -10% vs. pre-COVID in the tourism sector’s direct contribution to GNP
 ■    -12% vs. pre-COVID in direct contribution to employment
 ■    -10% vs. pre-COVID average travel receipts per visitor per year
 ■    -14% vs. pre-COVID in tourist visitors per year
 ■    -25% vs. pre-COVID meetings and conventions attracted to the Island 188
 To successfully implement investment attraction reform, the Government should accomplish the
 following action items by their respective deadlines:




 187 Targets are reduced in response to a projected 71% reduction in global air travel in 2020 (relative to 2019) and a 58% reduction
    in 2021 (also relative to 2019).
 188 Targets are reduced in response to a projected 71% reduction in global air travel in 2020 (relative to 2019) and a 58% reduction
    in 2021 (also relative to 2019)


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 EXHIBIT 55: REQUIRED IMPLEMENTATION ACTIONS FOR EFFECTIVE TOURISM
 ATTRACTION




                     Power sector reform

          Introduction and context for energy reform
 Affordable, reliable, safe, and resilient electric power service is essential for Puerto Rico’s
 economic growth and development. It is a fundamental enabler of the people of Puerto Rico’s
 livelihoods and remains a critical service that needs to be safeguarded, particularly in light of the
 outsized catastrophic events in 2020 (e.g., January 2020 earthquakes, COVID-19 pandemic). As
 an important element of household and business activity, electricity is also a critical factor for
 attracting and maintaining investment in Puerto Rico. Since 1941, the Puerto Rico Electric Power
 Authority (PREPA) has been responsible for providing electricity to Puerto Rico. PREPA is a
 public corporation, owned and operated by the Government of Puerto Rico.
 PREPA has been encumbered by numerous financial and operational issues. Over the years,
 PREPA has failed to update rates to cover base operating costs, neglected to invest in modernizing
 the system, avoided adequately funding the utility’s pension system, and underinvested in
 maintenance and resiliency initiatives for its assets. Furthermore, prior to filing for PROMESA
 Title III protection, PREPA incurred significant legacy debt obligations, failed to implement a
 long-term capital improvement program, and made decisions based on short-term political gains
 (e.g., avoiding modest rate increases), all of which have culminated in consistently poor and
 unreliable service.
 This operating model has created an untenable financial and operational situation for PREPA.
 Politicized management and volatile fuel prices – exacerbated by declining demand and an
 economic contraction – have resulted in PREPA’s inability to service its debt, and ultimately


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 resulted in PREPA seeking PROMESA Title III protection in July 2017. 189 For several years prior
 to filing for PROMESA Title III protection, PREPA lacked access to the capital markets to help
 fund grid and generation maintenance and modernization investments, further contributing to
 the poor quality of service experienced by the Island’s residents and businesses.
 Underinvestment and underdevelopment of the grid, poor maintenance practices, and workforce
 losses all contributed to an unsatisfactorily performing power sector. Puerto Rico has almost twice
 as many forced outages as the U.S. industry average. 190 PREPA also significantly underperforms
 against mainland utilities on multiple reliability and customer service dimensions, as well as
 safety and operational metrics:
 ■    The reliability of service provided by PREPA to Puerto Rico’s residents and
      businesses remains well behind industry standards when compared to
      benchmarks from the Institute of Electrical and Electronics Engineers (IEEE) 191: For
      instance, the median performance among the U.S. utilities reporting in the 2020 IEEE
      Benchmark192 is a System Average Interruptions Frequency Index (SAIFI) of 1.12
      interruptions per year and a System Average Interruptions Duration Index (SAIDI) of 126
      minutes per year 193. Whereas, for 2019, PREPA reported a SAIFI of 4.6, and a SAIDI of 675
      minutes. Outside reviews suggest service reliability may be worse than reported by PREPA.
      For example, an assessment conducted by LUMA – using the industry standard IEEE
      methodology – as part of its Front-End Transition responsibilities and submitted to the
      Puerto Rico Energy Bureau (PREB) reports a SAIFI of 9.8, and a SAIDI of 1,097 minutes for
      PREPA in 2019.

 EXHIBIT 56: RELIABILITY METRICS COMPARED TO PEER GROUP MEDIAN




 ■    Employee Safety incidents are high by utility standards: PREPA’s Recordable Incident Rate
      for 2019 is 8.76 while the Edison Electric Institute (EEI) average rate is 1.78. 194
 ■    Vegetation management issues caused 17% to 28% of service interruptions in 2020,
      representing an improvement when compared to the 35% to 45% of 2016 195. PREPA lacks a
      comprehensive vegetation management strategy and has historically been slow to spend
      allocated budget amounts for tree-trimming initiatives 196 During the 2020 fiscal year, PREPA


 189 “Puerto Rico’s Power Authority Effectively Files for Bankruptcy”, New York Times, 2 July 2017
 190 PREPA reported 417 forced outages during 2020; U.S. Energy Information Administration (EIA), Independent Statistic & Analysis,
     Major Disturbances and Unusual Occurrences, Year-to-Date 2020
 191 The IEEE is a technical professional organization that develops and publishes standards related to the collection, measurement
     and calculation of key electrical reliability indices, including System Average Interruption Duration Index (SAIDI) and System
     Average Interruption Frequency Index (SAIFI). In order to benchmark a utility’s performance in SAIDI and SAIFI against that of
     other utilities, IEEE provides rules on how data can be collected, measured and calculated according to the same standards.
     Participation is limited to North American electric entities
 192 Based on 2019 data
 193 IEEE Benchmark Year 2020 Results for 2019 Data, 2020 Distribution Reliability Group Virtual Meeting
 194 The Edison Electric Institute (EEI) provides comparable benchmarks specific to transmission and distribution operations in the
    United States. EEI was established in 1933, is an association that represents all U.S. investor-owned electric companies. Its
    members provide electricity for 220 million Americans, operate in all 50 states and the District of Columbia, and directly employ
    more than 500,000 workers
 195 “…[PREPA] describes itself as always playing a catch‐up game on maintenance — following outages, instead of improving the
    fundamental system.” Fisher and Horowitz, Expert Report, p 33
 196 PREPA, “Professional & Technical Outsourced Services,” B2A YTD-Expenses, Budget to Actual Variance Report for the Second
    Quarter of Fiscal Year 2021, (data set, February 16, 2021)


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      only spent 10% of its $50 million budget for vegetation management. Mainland U.S. utilities,
      by contrast, typically have operating budgets where vegetation management is one of the
      largest spend category. More recently, PREPA has shown improvement in this area. As of
      February 2021, PREPA has obligated 89% of its $70.5 million budgeted for vegetation
      management, out of which 20% ($14 million) has been spent. In terms of miles cleared, as of
      February 2021, 732 miles out of 2,595 had been cleared, representing approximately 28% of
      total miles contracted. 197
 ■    Puerto Rico’s emissions from electricity generation remain relatively high as compared to the
      rest of the U.S. due to a high reliance on fossil fuels and the continued use of older and
      inefficient facilities. This is due to a severe lack of investment into generation assets, low asset
      reliability, and maintenance of a very high reserve margin.

      – High reliance on fossil fuels: Puerto Rico’s generation fleet is highly dependent on
          fossil fuels. In FY2020, over 97% of the Island’s electricity was generated using fossil
          fuels. 198 As a comparison, the U.S. national average was approximately 60% for the same
          period. Fossil fuel generation makes Puerto Rico vulnerable to changes in fuel prices, which
          can substantially increase generation costs and thus increase electricity prices for its
          residents.

      – Lack of capital investments in new generation assets: Minimal capital investments
          into generation assets have resulted in an aged and highly unreliable fleet; the average age
          of PREPA’s generation fleet is 41 years compared to the U.S. average of only 18 years. 199, 200
          As a result, asset reliability has been poor, and PREPA is often forced to rely on its diesel
          generators that would otherwise be inactive or retired. 201

      – Maintenance of a very high reserve margin: PREPA has historically maintained a
          very high reserve margin, keeping more than double the capacity needed to serve demand.
 Previous Fiscal Plans of the Commonwealth and PREPA have outlined a comprehensive power
 sector transformation to address PREPA’s financial and operational challenges, which have been
 caused by mismanagement, underinvestment and underdevelopment of the grid, as well as poor
 operations and maintenance practices. Although the first steps on PREPA’s transformation
 journey, that started over the last 3 years, have already led to increased financial stability, a
 number of challenges still lie ahead.


             Vision for power sector transformation
 Over the next years, the power sector in Puerto Rico must continue its transformation and
 modernization to support the delivery of reliable, clean, and affordable power. The
 Commonwealth must continue to implement a comprehensive energy sector reform to enable a
 successful transformation and unlock the resulting growth from the 2022 Fiscal Plan projections.
 The successful transformation of Puerto Rico’s power sector depends on:
 1. Implementing regulatory reform: A strong and independent energy sector regulator is
    essential for injecting certainty and stability into the energy market, promoting much needed
    investments, and enforcing compliance with the energy sector transformation’s objectives. In
    recent years, the framework of regulatory reform has been approved and an independent

 197 FY2021 Fiscal Plan Initiatives Reporting, January 15, 2021; PREPA’s Vegetation Management report, February 2021
 198 “Puerto Rico: Profile Overview.” U.S. Energy Information Administration, last modified November 21, 2020
 199 PREPA, 2019 Fiscal Plan, p 30
 200 U.S. Congress, Exploring Energy Challenges and Opportunities, p 4
 201 “A review of PREPA’s generation patterns reveals that PREPA, in fact, increased its reliance on the diesel generation fleet in
     FY2015 and FY2016, doubling its use of distributed generation turbines and tripling its use of the diesel Aguirre CC plant.” Fisher
     and Horowitz, Expert Report, 31-32


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     regulator, the Puerto Rico Energy Bureau (PREB), has been established. The focus in coming
     years will be continuing to support the independence of the regulator and enabling the
     regulator to execute on its mandate. This will be accomplished by developing and
     strengthening the regulatory framework and promoting greater transparency and
     accountability.
 2. Transitioning the operation and management of PREPA’s electricity grid and
    generation assets to private operators, while moving the energy system to 100%
    renewables: Attracting a private operator to manage and operate Puerto Rico’s
    Transmission and Distribution (T&D) network will improve affordability, operational
    performance and customer service, support rigorous capital project execution to modernize
    the system, strengthen grid resilience, and ensure ongoing fiscal balance and control. As such,
    on June 22, 2020, the transformation of the Island’s energy system took another step forward
    through the execution of the agreement 202 with LUMA Energy, LLC (LUMA). Under the
    agreement, LUMA is responsible for, among other activities, the operation and maintenance
    of the transmission and distribution assets and system. On November 10, 2020, the Puerto
    Rico Public-Private Partnership Authority (P3A) issued a Request for Proposals (RFP) to
    select one or more private operators for PREPA’s existing generation assets. As the entity
    responsible for developing and implementing the Integrated Resource Plan (IRP) approved
    by PREB, LUMA will be responsible for enabling, in coordination with PREB, PREPA and
    other relevant parties, the transition of the power sector to 100% renewable energy, as
    mandated by Act-17, as well as maximizing and efficiently delivering the federal funds
    allocated for the modernization of Puerto Rico’s energy grid.
 3. Restructuring legacy debt obligations: To fund the transformation of Puerto Rico’s
    power sector, PREPA will require access to capital markets. Given the utility’s significant
    legacy debt obligations, a sustainable restructuring plan is necessary for PREPA to exit Title
    III and regain access to traditional credit markets. Without restructuring, customers will
    experience higher rates, resulting from repayment of a higher legacy obligation and risk
    premiums associated with the Title III case. Ultimately, successful restructuring of
    outstanding bonds and debt obligations will allow PREPA to achieve its transformation goals,
    thus modernizing Puerto Rico’s power grid, and passing on subsequent efficiencies and cost
    savings to end users.
 PREPA’s Certified 2021 Fiscal Plan and the energy public policy and legal framework established
 by the Government of Puerto Rico 203 lays out the transformation roadmap. If successfully
 implemented, a reformed energy system will lead to a modernized and reliable energy service
 across the Island: a diversified fuel mix and reduced fuel costs, anchored on low-cost renewable
 energy generation resources; increased operational efficiencies; and a well-funded, financially
 sustainably utility. These outcomes will benefit the customers and businesses of Puerto Rico
 through more affordable, reliable, clean, and safe electricity service.

 10.2.1      Energy regulatory reform and oversight
 As previously stated, the current regulator of the power sector in Puerto Rico is the Puerto Rico
 Energy Bureau (PREB), which has been operational since its creation by Act 57-2014. PREB has
 the responsibility to “regulate, monitor, and enforce the energy public policy of the
 Commonwealth of Puerto Rico.”
 As Puerto Rico’s energy sector is transformed into a vibrant, modern system, PREB will continue
 to be responsible for the development of a robust regulatory framework that will promote prudent
 investments by utilities, increase quality of service to customers, and ensure industry trends and
 technological advancements are appropriately incorporated into Puerto Rico’s energy system. To

 202 This agreement was deemed to be compliant with the Commonwealth’s energy policy by PREB on June 17, 2020 and approved
    by PREPA’s Governing Board, the Governor, and the Governor of Puerto Rico on June 22, 2020
 203 Puerto Rico Energy System Transformation, Act No. 120-2018; Puerto Rico Energy Policy Act, Act No. 17-2019


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 that end, PREB’s regulatory oversight will directly impact the utility and have significant influence
 on Puerto Rico’s energy sector. To fully achieve its purpose, PREB should remain financially
 independent from the Government and its decisions, and its determinations should be free from
 any political influence or interference.
 To ensure PREB becomes a best-in-class regulator, several structural changes are required, as
 detailed below. In addition, the following section provides a description of what PREB’s roles and
 responsibilities will be in the long-term as well as the near-term delineation responsibilities
 between PREB and the Oversight Board.
 Long-term mandate, authorities, and expertise for the energy sector regulator

 To be effective, PREB’s regulatory authority and its mandate to promote an efficient, reliable,
 resilient, and customer-responsive energy system must be clear and well-established. In a
 transformed energy system state (after emergence from Title III), PREB’s responsibilities include
 (1) rate setting, (2) Integrated Resource Plan (IRP) approval and compliance oversight, (3)
 protecting customers, and (4) ensuring workforce safety.
 Rate setting for non-legacy debt: PREB should “review and approve and, if applicable, modify
 the rates or fees charged by electric power service companies in Puerto Rico.”204 In doing so,
 PREB should ensure rates and rate structure are rational and predictable, minimize risk and “rate
 shock”, and create incentives to support equitability and economic development. PREB should set
 a clear, transparent, and efficient process for rate cases. All rate adjustments and revisions, other
 than those approved under the plan of adjustment, must be approved by PREB before enactment.
 In this capacity, PREB must ensure that necessary operational frameworks are in place to not only
 provide a robust review process in line with best-in-class U.S. state regulators, but also ensure
 that rate reviews are conducted efficiently and in a manner that does not adversely impact service
 performance or consumer confidence.
 Over the next years, PREB should encourage the implementation of several core principles within
 rate case proceedings, including the development of dynamic rate structures (e.g., time of use,
 rate decoupling, unbundling), evaluating prudency of investments and cost of service, and
 analyzing the distribution of cost and revenue allocations.
 Integrated Resource Plan (IRP) approval and compliance: PREB is mandated to “review and
 approve policies and strategic plans […] in connection with energy resources integrated planning
 in Puerto Rico and oversee compliance therewith.” 205 During review, PREB should assess related
 policies and plans on whether they meet the objectives of Puerto Rico’s energy public policy and
 promote energy service reliability, safety, efficiency, and affordability.
 Protecting customers and customer service: PREB is responsible for ensuring energy prices are
 just and reasonable, investments are aimed at improving service quality, and reliability, and
 customers have access to information regarding their rights and responsibilities. This includes
 reviewing potential policies, rates, and capital projects for their potential effects on customers and
 service quality, and ensuring customers understand and have the ability to voice their opinions
 regarding future decisions. PREB is also responsible for addressing customer complaints and
 ensuring customers are not subject to unjust or abusive practices by their energy providers.
 Ensuring safety: PREB is responsible for ensuring the safe operation of Puerto Rico’s utilities for
 workers and the public. This is particularly important given the high number of safety incidents
 PREPA has experienced by U.S. utility standards. PREPA experiences significantly higher
 workplace incidents than the average U.S. utility. From 2018 to 2019, PREPA’s recordable
 Incident Rate fell from 10.7 in 2018 to 8.76 in 2019, yet it was nearly five times higher than the



 204 “About the Puerto Rico Energy Bureau” at Puerto Rico Energy Bureau website. Accessed April 20, 2021.
 205 Ibid.


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 U.S. average of 1.78. 206 PREB should develop a comprehensive safety plan addressing overall
 safety culture at regulated entities and ensure that utilities have sufficient resources to comply
 with these plans. Finally, PREB should establish, track, and analyze key safety performance
 metrics, and monitor the effectiveness of utility safety programs.
 Regulator expertise

 To implement its long-term mandate in a robust and effective manner, PREB must build expertise
 on topics that reflect the core regulatory priorities facing most regulators:
 ■   Generation planning and dispatch
 ■   T&D reliable operations and capital planning
 ■   Workplace safety
 ■   Customer service
 ■   Rate-making
 In addition, PREB can build expertise in topics that are increasingly addressed by regulators
 across the mainland so that Puerto Rico’s energy sector is able to match pace with best-in-class
 utilities. By doing so, PREB can provide proper guidance to sector players on how to secure,
 modernize, and efficiently operate the grid. These topics include:
 ■   Contribution-in-lieu of taxes (CILT)
 ■   Renewable energy integration (distributed and commercial)
 ■   Weather-related risks (e.g., hurricanes, climate change)
 Authorities for the energy sector regulators during transformation

 Until PREPA emerges from Title III and the transformation of the energy system is complete, it
 is important to clearly delineate the role of the Oversight Board and PREB with respect to energy
 sector regulation. The table below describes the role of each entity during the transition period:




 206 The Edison Electric Institute (EEI) provides comparable benchmarks specific to transmission and distribution operations in the
     United States


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 EXHIBIT 57: ROLES OF THE OVERSIGHT BOARD AND PREB DURING THE TRANSITION
 PERIOD




 Structural elements to ensure a best-in-class regulatory agency

 Although administratively located within the Puerto Rico Public Service Regulatory Board
 (PSRB), PREB’s decision-making process should not be subject to direct or indirect review by
 other government entities, except for any review under applicable administrative procedure rules
 or with respect to issues that are covered by a federal statute such as PROMESA. Staff involved in
 substantive decision-making should be kept separate and independent from the PSRB and be fully
 dedicated to matters within PREB’s jurisdiction and purview. PREB may, on an annual basis,
 provide funds to the PSRB to cover administrative and other operational costs, however, PREB’s
 resources should be kept separate and shall not be controlled or placed under the direction of the
 PSRB.
 There are five key structural elements that will ensure PREB is a best-in-class regulatory agency:
 ■   Governance: It is imperative that PREB’s governance structure enable independent, quick
     and robust decision-making. In line with best practices for regulatory commissions (e.g.,
     California Public Utilities Commission, Hawaii Public Utilities Commission, New York Public
     Services Commission), PREB is headed by five commissioners who serve staggered six-year
     terms. The commissioners are appointed based on their technical, professional and/or
     academic credentials, with potential candidates identified and appointed through a candidate
     list developed by an external recruitment firm. The commissioners should be supported in
     their oversight role by professional civil servant staff that has utility expertise.
 ■   Independent ratepayer advocate: All commission decisions in adjudicatory proceedings must
     comply with applicable requirements of administrative procedure. Separate from the
     regulator, there shall be an independent ratepayer advocate, a role currently filled by the
     Oficina Independiente de Protección al Consumidor (OIPC). OIPC should be well-funded so
     that it has the resources to meet its responsibilities. Currently, PREB transfers 10% of its
     budget to OIPC; as priorities evolve and the need for a robust consumer advocate increases,

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      the Government may – with the approval of the Oversight Board – provide OIPC with
      additional funding.
 ■    Employee structure: Presently, all 23 of PREB’s employees are considered trust employees,
      meaning PREB’s organizational structure fails to comply with Act 17, which requires PREB to
      achieve an employee structure wherein trust employees comprise no more than 25% of
      employees. 207 Moreover, the 2020 Fiscal Plan required PREB to further reduce this amount
      to no more than 15% by June 30, 2021 and 10% by June 30, 2022. 208 On November 23, 2020,
      the Oversight Board partially approved a budget reprogramming request submitted by PREB
      to fund the creation of 22 civil servant positions and maintain existing 7 trust positions. 209
      While the structure proposed by PREB would have allowed it to achieve the Act 17 target of no
      more than 25% trust employees, PREB would still fall short of the 15% trust employee target
      by June 30, 2021 outlined in the 2020 Certified Fiscal Plan. Accordingly, no later than
      December 31, 2021, PREB should have reduced the number of trust employees to no more
      than 15% of total employees, with a further reduction to no more than 10% trust employees by
      June 30, 2022. 210
      During and after the energy sector reform process, PREB must have enough staff to effectively
      undertake its duties and responsibilities in a timely and professional manner. The selection,
      hiring, and management of PREB’s staff must not be subject to review or approval by any
      other entity of the Executive or Legislative Branch.
 ■    Budget: PREB’s substantive independence must be supported by financial independence.
      Under current law, PREB’s yearly budget is set at $20 million and collected through charges
      assessed on certified energy companies. 211 To provide for a steady and predictable funding
      source, PREB’s enabling act must be amended to provide that PREB’s budget shall be funded
      entirely through rates, as part of the revenue requirement used to determine energy rates.
      PREB’s funds are then collected by the T&D operator through customer bills and periodically
      remitted to PREB. This funding mechanism is consistent with the mechanisms used to fund
      peer mainland regulators. Providing for an independent and unencumbered source of income
      for PREB helps create the conditions to protect ratepayer interests, increase transparency, and
      reduce system costs. However, the Government has not yet complied with this requirement
      and has not ensured a steady and predictable source of funding to PREB. Instead, PREB is
      currently being funded through fees levied on energy companies certified by PREB to provide
      energy services in Puerto Rico.
      While the Oversight Board is in existence it can ensure PREB’s budget through its budgetary
      powers. However, moving forward, PREB’s budget and funding must be kept separate and
      independent from the Commonwealth budget or the budget of any other Commonwealth
      agency, entity, or instrumentality, and neither the Executive nor the Legislative branches
      should have authority to modify PREB’s budget or reapportion any of PREB’s funds without
      PREB’s prior consent. PREB is subject to periodic reviews from relevant authorities for use of
      public funds, which is consistent with all other Government agencies in Puerto Rico.
 ■    Transparency: To achieve best-in-class status as an energy system, transparency is an
      indispensable factor. PREB must ensure that proactive transparency permeates relevant
      energy operations, while being diligent in excluding confidential information such as
      customer data and operational details that would increase cyber or risk vulnerabilities.
      Transparency practices may include making information publicly accessible, maintaining

 207 “Trust employees” includes any employees that are related to political appointments, non-civil service appointments, etc.
 208 To show that this has been completed, PREB needs to submit an organization chart showing the split of employees (civil servant
    vs. trust) no later than the end of Q1 of FY2021. However, PREB has not yet complied with this requirement
 209 Approved for remaining 8 months of fiscal year; partially approved medical insurance.
 210 Relevant milestones and deadlines are shown in 10.3
 211 Amount in line with other jurisdictions; the Hawaii Public Utilities Commission had revenues of $19 million in FY2017 to serve a
     population of 1.4 million


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     quick and efficient decision-making, and holding public events when appropriate in order to
     consider public opinion. Additionally, PREB must uphold transparency in its own financials
     and operations, including disclosing how it utilizes its annual budget.

 10.2.2    Vision and structure for an energy system operator
 As described above, private operators for T&D and generation operations will be responsible for
 executing Puerto Rico’s energy system modernization strategy as well as assisting with the
 allocation of related federal funding. Each private operator’s overall objective will be to improve
 service quality and deliver reliable service at just and reasonable prices. As such, a private
 operator will be motivated to deliver financial and operational performance improvements across
 six dimensions:
 ■   Reduce costs by introducing experienced personnel. A private operator would be
     incentivized to reduce PREPA’s dependency on outsourced contracts by insourcing activities,
     empowering the local labor force, and potentially achieving economies of scale.
 ■   Upgrade technology. While PREPA has limited access and experience with industry-
     standard technology, a private operator would be incentivized to deploy modern grid
     technologies, digital capabilities, and infrastructure to significantly enhance operational
     efficiency, thus lowering O&M costs and customer rates over time through better asset
     utilization.
 ■   Improve processes and procedures. Drawing on operational expertise, a private
     operator would be incentivized to streamline and standardize critical management processes
     and implement operational efficiencies (e.g., processes such as procurement, contract
     management, maintenance). A private operator can also leverage experience in customer
     service to improve PREPA’s responsiveness to customer needs and expectations.
 ■   Limit political interference. A private operator’s decisions would be subject to
     independent regulatory oversight, but free of political interference. This would lead to the
     adoption of standard industry practice where experienced utility operators make operational
     decisions with oversight from an independent regulator (e.g., investment decisions made
     based on overall benefit to the system, instead of short-term political gains).
 ■   Effective and efficient capital delivery. A private operator would be incentivized to
     establish the tools and processes critical to improving PREPA’s capital project management.
     This will be key to unlocking the federal funding required for grid modernization and
     generation improvements, which in turn will aid PREPA in strengthening grid resilience and
     making its generation fleet future proof.
 ■   Renewable energy generation and transmission. A private operator would assist with
     and enable the transition to a clean, reliable, and sustainable energy sector. This shall include
     renewable energy procurement and/or procurement support, renewable energy program
     management, T&D system modernization, and renewable generation scheduling and
     dispatch. These efforts are required to meet the goals set up by Act 17, which mandates that
     Puerto Rico should obtain 40% of its electricity from renewable resources by 2025, 60% by
     2040, and 100% by 2050.
 Energy Sector Reorganization

 To achieve Puerto Rico’s energy system transformation, a change in PREPA’s historical roles and
 responsibilities and their reassignment through multiple entities is imperative. The first step in
 this restructuring process was taken with the enactment of Act 57-2014, which established the
 Island’s energy regulator, PREB. PREB’s establishment eliminated PREPA’s prior authority to
 self-regulation and installed those regulatory and oversight responsibilities within PREB. In



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 Puerto Rico’s transformed energy system, those regulatory roles and responsibilities remain at
 PREB.
 PREPA’s Certified 2020 Fiscal Plan required PREPA’s vertically integrated operations to be, as
 mandated by law, disaggregated into Generation and T&D utility functions – GenCo and GridCo,
 respectively. GridCo (which comprises transmission and distribution, customer service and
 administrative functions, operated and maintained by LUMA Energy, LLC or “LUMA”) and
 GenCo (which comprises existing PREPA-owned generation resources that are to be operated and
 maintained by one or more private operators until their retirement, as mandated by PREPA’s
 approved Integrated Resource Plan). 212 Besides the selection of LUMA as the T&D operator, the
 Island’s transformed energy sector also envisions GenCo being responsible for, among other
 activities, the operation and maintenance of existing PREPA-owned generation resources,
 environmental compliance, safety and plant retirement and decommissioning. Additionally,
 GenCo will be responsible for working closely with LUMA to ensure appropriate short-, mid- and
 long-term system planning and timely and efficient execution of system-wide capital
 improvements.
 Finally, PREPA’s existing day-to-day roles and responsibilities over the operation of the
 energy system, deployment of federally and non-federally funded capital investments, short
 medium, and long-term system planning and energy sector oversight are expected to be
 reduced over time as such roles and responsibilities are taken up by the relevant Government
 agencies and private operators. 213




 212 See Section 1.8 of the Puerto Rico Energy Public Policy Act; Act 17-2019
 213 See Section 1.7 of Act 17-2019, which states that “the Government of Puerto Rico, by itself or through the Authority or another
     public corporation affiliated to the Authority, shall maintain ownership of the transmission and distribution assets and may maintain
     ownership of the legacy power generation assets.” See Section 1.8(b) of Act 17-2019 which also provides that PREPA shall only
     “retain personnel as are necessary to fulfill its responsibility as a Partnering Government Entity, as such term is defined in Act No.
     29-2009, of assisting the Public-Private Partnership Authority in overseeing the Contractor’s performance of the Partnership
     Contract and compliance with the performance-based metrics set forth therein.” Pursuant to the LUMA agreement, PREPA
     delegated any duties with respect to overseeing LUMA’s performance to the P3A


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 EXHIBIT 58: ENERGY SECTOR TRANSFORMATION – CURRENT AND FUTURE STATE




 System modernization

 In September 2017, Puerto Rico’s electric system was completely devastated by the landfall of
 Hurricanes Irma and María, resulting in the longest electrical blackout in modern U.S. history. In
 efforts to mitigate the economic, fiscal, and social impacts of future storms, FEMA and the
 Government agreed to a fixed cost estimate of $10.7 billion to repair the electricity system in
 Puerto Rico (see Exhibit 59 below). Of those $10.7 billion, $9.7 billion would be provided by
 FEMA, with the remaining $1 billion to be covered by PREPA through own funds and/or available
 CDBG funding.

 EXHIBIT 59: PREPA ASSET CATEGORIES AND COST ESTIMATES




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 Transmission & Distribution Modernization
 Approximately $8.1 billion (76%) in FEMA reconstruction funds are destined for Transmission &
 Distribution Assets, 214 which include thousands of miles of transmission and distribution lines.
 The remaining 24% is destined to Hydro Assets $860 million (9%) Substation Assets $782 million
 (7%), 215, 216 Telecommunications Assets $686 million (6%), 217 Building Assets $125 million
 (1%) 218, and Generation Assets $108 million (1%). 219 After the transition to LUMA has been
 completed, LUMA will be responsible for implementing the modernization of the T&D system.
 Generation Assets Modernization

 As directed by the PREB, and as required under Act-57, PREPA prepared an IRP intended to
 consider all reasonable resources to satisfy the demand for electrical services over a twenty-year
 planning horizon. The IRP as well as Act 82-2010, as amended by Act 17, directs PREPA to procure
 Renewable Energy Resources in accordance with the following milestones relative to the
 aggregate percentage of generation supplying its system: 20% by 2022, 40% by 2025, 60% by
 2040 and 100% by 2050. On February 22, 2021, PREPA released RFP No. 112648 for the
 procurement of up to 1,000 MW of renewable energy resources capacity and 500 MW of energy
 storage resource capacity. This marks an important first step for Puerto Rico and its journey
 towards delivering clean, sustainable, and reliable energy and will accelerate the deployment of
 renewable generation sources. This RFP represents the first of six RFPs to procure a total of up to
 3,750 MW renewable energy resources and 1,500 MW of energy storage resources during the next
 3 years. This first RFP received strong response from the market, with PREPA receiving more
 than 70 proposals. In December 2021, and after some delay, PREPA announced the selection of
 over 800 MW of renewable energy generation and 220 MW of energy storage and submitted the
 proposed projects to PREB for approval. PREB is expected to issue its determination with regards
 to the proposed projects during the third quarter of FY2022. Moreover, as a result of the
 numerous delays experience during the Tranche 1 process, PREB determined to assume direct
 responsibility over future procurement tranches through the appointment of an independent
 coordinator, with PREPA retaining a technical support role. PREB initiated the second Tranche
 of procurements on January 13, 2022 and launch of the RFP is expected to take place during the
 third quarter of FY2022. Previously, on February 26, 2021, the Oversight Board approved two (2)
 PPOAs to deliver 150MW of renewable generation to further accelerate the transition towards a
 modern, clean and efficient energy system.




 214 Transmission and Distribution assets include the following: approximately 2,491 circuit miles of overhead transmission lines, 37
     miles of underground 115kV cable, 63 miles of underground 38kV cable, 22.59 miles of submarine 38Kv cable to the islands of
     Vieques y Culebra, 708 access roads, 1,229 distribution feeders including 182,985 transformers and 16,800 miles of overhead
     and underground line, 342,569 each of Streetlights with an estimate of total population of 489,385 streetlights Island-wide, Poles
     and power line hardware
 215 The Water Assets consist of Hydroelectric Plants, Dams, Irrigation Channels, and Water Conveyance infrastructure
 216 Substation Assets include 392 substations and Transmission Centers located in 292 facilities
 217 Telecommunication Assets consist of telecom facilities, communication hardware, software, information technology (IT) and other
     peripheral elements
 218 Building Assets consist of 134 buildings throughout seven regional sectors on the Island
 219 The Generation Assets consist of 12 power plants that generate electricity through fossil fuel. Nine power plants are included in
     this claim: Cambalache, Aguirre, Palo Seco, San Juan, Yabucoa, Mayaguez, Vega Baja, Daguao, and Jobos


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 EXHIBIT 60: YEARLY INCREMENTAL RENEWABLE GENERATION CAPACITY PROCURED
 AND ADDED BASED ON PREB’S GUIDANCE




 EXHIBIT 61: PROJECTED INSTALLATION TIMELINE OF THE RENEWABLE GENERATION
 CAPACITY ORDERED BY PREB




 Role of operators

 PREPA’s existing operations will be split into GridCo (comprising T&D and customer service
 functions) and GenCo (comprising PREPA’s existing generation assets). GridCo and GenCo are to
 be privately operated by professional entities selected through a competitive process under the
 supervision of the P3A. LUMA has been selected and has entered into an agreement to manage
 GridCo, while the process for identifying one or more operators for GenCo is currently underway.
 As mentioned before, the transition to private, professional operators is expected to improve
 quality of services, bring cutting-edge knowledge and expertise, improved efficiency, ensure
 compliance with applicable laws, and promote long-term sustainable planning, among others.
 In order to achieve a reliable and modern energy system, PREPA must maintain the minimum
 levels of working capital needed to ensure all necessary and approved operational and capital


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 investment expenditures are made on time. To that end, PREPA created and funded various
 operational reserve accounts to be used by PREPA, LUMA and any additional private operators
 for use in the day-to-day operations of the energy system, ensure capital availability for
 maintenance and improvement projects, included FEMA-funded projects, and safeguard the
 financial sustainability of the system.
 On May 12, 2021, the Oversight Board approved the government’s request to fund various PREPA
 operational accounts consistent with the requirements LUMA Energy LLC Operation and
 Maintenance Agreement (OMA) and certified a revised Fiscal Year 2021 budget for the
 Commonwealth of Puerto Rico identifying $750 million to be transferred to PREPA as a
 contribution from the Commonwealth for such purposes. The remaining $250 million required
 for the accounts was funded from PREPA’s cash on hand. As established in the Certified Budget,
 the accounts are to be used exclusively by LUMA for the maintenance and operation of the
 transmission and distribution system and the execution of capital improvement projects,
 including FEMA-funded projects, as such functions are described and contemplated in the LUMA
 Energy OMA. Moreover, on May 13, 2021, the Oversight Board approved PREPA’s request to fund
 a Voluntary Transition Program (“VTP”) for T&D employees that opted to enter the private
 market or retire, allocating $85 million to the VTP. The incentives included 6-months worth of
 salary, $600 in health insurance and vacation and sick leave liquidation. On June 18, 2021 AAFAF
 reported results of the VTP, with a total of $37.5 million expensed in the initiative and 1,023
 PREPA employees electing to exit the public sector.
 Transmission & Distribution

 On June 22, 2020, the P3A, PREPA and LUMA signed a 15-year OMA for the T&D system. Under
 the OMA, LUMA is responsible for, among other activities, the operation and maintenance of the
 transmission and distribution assets and system, control center operations, generation scheduling
 and dispatch, power procurement and integration of renewable generation and distributed energy
 resources, customer metering, billing and collections, regulatory and environmental compliance
 delivery of grid-related capital expenditures and deployment of federal funding across the system.
 On June 1, 2021, LUMA officially took over O&M responsibilities for the T&D system.
 Prior to commencing service, LUMA interviewed and hired more than 1,200 PREPA employees.
 By June 1, 2021, LUMA had hired a total of 2,200 employees. Concurrently, the Oversight Board
 approved PREPA’s request to fund a Voluntary Transition Program (“VTP”) for T&D employees
 that opted to enter the private market or retire. On May 12, 2021 the Oversight Board certified a
 revised FY2021 budget for PREPA, allocating $85 million for VTP incentives. The incentives
 included 6-months’ worth of salary, $600 in health insurance and vacation and sick leave
 liquidation. On June 18, 2021 AAFAF reported results of the VTP, with a total of $37.5 million
 expensed in the initiative and 1,023 PREPA employees electing to exit the public sector. PREPA
 T&D employees who did not transfer to LUMA nor opted to enter the VTP, were eligible to transfer
 to another Commonwealth entity (to the extent consistent with applicable law, the 2021 Fiscal
 Plan and Budgets for the Commonwealth or any other covered instrumentality to which such
 employees may transfer). As of November 15, 2021, AAFAF and OARTH have reported that a total
 of 2,283 employees were transferred to Commonwealth roles. Estimated total compensation
 expenses related to transitioning employees will be ~$126 million in FY2022, which includes an
 employer contribution amount to the PREPA Employees’ Retirement System (PREPA ERS) equal
 to 15% of payroll for these employees (equivalent to ~$14 million in FY2022).
 Generation

 On November 10, 2020, the P3A launched an RFP to select one or more private operators for
 PREPA’s existing generation assets. The selected proponent(s) will be responsible for the
 operation and maintenance of existing generation assets until those assets are retired and
 decommissioned in accordance with PREB-approved integrated resource plan (IRP).
 Additionally, the selected proponent(s) will be responsible for, among others, environmental
 compliance and safety, and fuel management. Currently, the P3A is expected to select the winning

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 proponent(s) by the third quarter of FY2022, with full transfer of O&M responsibilities by the
 second half of the calendar year.
 Similar to the GridCo transaction, it is expected that during the transition, Genco will undergo a
 similar process in terms of its labor force, by which the new operator(s) will interview and hire
 PREPA employees that meet its criteria. Those employees that do not transfer to the operator may
 be eligible to transfer to the Commonwealth, as provided by Act 120. As such, the Commonwealth
 should reserve $26 million to address this situation in the future. 220

 EXHIBIT 62: CURRENT PREPA STRUCTURE




 220 Based on a preliminary estimated benchmarking exercise using FERC 2021 generation plant data set, PREPA FY2022 Certified
    Fiscal Plan, P3A document, PREPA Generation Directorate - Active Employees Roster as of April 2021.



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 EXHIBIT 63: FUTURE PREPA STRUCTURE




 Oversight

 During the transformation of Puerto Rico’s energy system, i.e., while PREPA remains a covered
 instrumentality under PROMESA and until PREPA emerges from Title III, PREB will share
 responsibility for the regulation of the energy sector with the Oversight Board. 221 During this
 time, the Oversight Board will have authority to approve revenue requirements and expenditures
 in PREPA’s 2021 Fiscal Plan, which should be informed by PREPA’s IRP. Additionally, the
 Oversight Board has the authority to approve a yearly budget and restructure PREPA’s existing
 debt through a Plan of Adjustment and oversee liquidity management. PREB, in turn, will have
 authority to approve PREPA’s IRP, authorize rates that align with PREPA’s budget, and will
 continue to exercise its duties and responsibilities as outlined in its enabling laws, i.e., Act 57-
 2014 (e.g., addressing net metering, distributed generation, and CILT). Related to the transition
 of the T&D system and generation to private operators, PREB has the authority to approve
 performance metrics, rate orders (when applicable), System Operations Principles, the System
 Remediation Plan, as well as the IRP developed by the private operator. At the same time, the
 Oversight Board approved any private operator that engages with PREPA, and – after the operator
 has been installed – ensures compliance with PROMESA and the energy sector transformation
 objectives.
 Once the transformation has been completed and PREPA has emerged from Title III, oversight
 responsibility in Puerto Rico’s transformed energy system lies with PREB and the P3A. 222PREB
 retains its roles and responsibilities under Act 57-2014, which include approving of energy rates,
 integrated resource planning (IRP), capital planning, reviewing of proposed power purchase



 221 Stated above in this section
 222 The Oversight Board will also retain its power and duties under PROMESA with respect to PREPA as long as PREPA is a covered
     territorial instrumentality


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 agreements and oversight of companies in the energy sector, and the implementation of the
 Commonwealth’s energy policy.
 On the other hand, the P3A, as Administrator, is responsible for overseeing the development,
 evaluation, negotiation, selection and future monitoring of private operator contracts. To fully
 comply with their mandate, the P3A must build up its capabilities in order to assume their role in
 the transformation process of the energy system. As such, the P3A must develop a plan to develop
 the organizational structure needed to act as Administrator, build its resources, including the
 hiring of professional, experienced civil servants, with an aim at reducing trust positions within
 the Administrator division of the P3A to no more than 10%. Further detail on the timeline for
 achieving this organizational build-up is provided in Exhibit 65.
 Energy sector debt restructuring

 As of May 2017, PREPA had $9.25 billion of outstanding bond and other debt obligations, and an
 unsustainable repayment schedule; PREPA would have had to repay approximately $4.5 billion
 of debt service obligations between FY2019 and FY2023. PREPA’s unsustainable capital structure
 reflects persistent operating deficits, resulting from overly low base rates and high operating costs.
 As long as PREPA remains in bankruptcy, it poses a risk to suppliers and partners, potentially
 increasing costs and delaying progress in rebuilding after major catastrophic events (e.g.,
 hurricanes, earthquakes, COVID-19).
 To restructure PREPA’s debt, a debt restructuring agreement among a group of PREPA creditors,
 the Oversight Board, the Government, and PREPA is in progress. However, as a result of the
 uncertain and unpredictable effects of COVID-19 on PREPA and its customers, the Oversight
 Board requested additional time from the court to assess the situation. PREPA’s Restructuring
 Support Agreement remains in effect and has not been terminated by the Oversight Board, the
 Government, PREPA, or PREPA’s creditors.


          Implementation and enforcement of power sector reform
 To achieve 2022 Fiscal Plan savings projections, several reforms to the power sector must be
 implemented immediately. Several of those measures recommended in earlier Fiscal Plans
 already have been completed and are listed in Exhibit 64.




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 EXHIBIT 64: COMPLETED MILESTONES FOR POWER SECTOR REFORM




 Exhibit 65 describes the additional reforms required to ensure the transformation of the
 electricity sector and compliance with the 2022 Fiscal Plan, and to meet the 2022 Fiscal Plan
 growth and revenue targets. Several of these reforms were outlined in the June 2019 PREPA Fiscal
 Plan and remain incomplete (demarcated with *).




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 EXHIBIT 65: PENDING MILESTONES FOR POWER SECTOR REFORM




                           Infrastructure reform
 The transportation sector is essential for both economic and social development with
 transportation systems playing a critical role in facilitating the movement of goods and people. A
 well-performing system can increase workers’ access to jobs and businesses’ access to customers,
 unlocking the productive potential of residents and firms, thereby increasing economic output
 and inviting further private investment. Meanwhile, a poorly performing system can mire its
 residents in wasted time, inequitable access to jobs and opportunities, fractured communities,
 and productivity losses, as can be observed in Puerto Rico.

 Puerto Rico’s transportation sector underperforms across a range of outcomes. Roads in Puerto
 Rico are crowded and unsafe, resulting in 80% more traffic-related fatalities than the U.S.
 average. 223 Among U.S. cities, San Juan has the seventh-longest average commute at 31.2
 minutes. 224 Drivers lose 58 hours each year in traffic at a cost of $1,274 per driver and $400
 million to the city. 225, 226 Puerto Rico’s roads suffer from poor conditions—only 4% of the Island’s
 non-interstate highways are in good condition, compared to the U.S. median of 57%. 227
 Furthermore, in 2020 the Highways and Transportation Authority (HTA) reported to FHWA that

 223 “Highway Statistics 2019.” Office of Highway Policy Information of the U.S. Department of Transportation Federal Highway
    Administration. Last updated September 30, 2020
 224 “150 Best Places to Live in the U.S. in 2020-21.” U.S. News and World Report. Accessed 21 April 2021
 225 “2019 Urban Mobility Report.” The Texas A&M Transportation Institute. August 2019
 226 Costs include lost productivity, increased freight movements costs, higher operating costs, and decreased reliability. For more
     information, see “Revised Departmental Guidance on Valuation of Travel Time in Economic Analysis.” Memo from Acting Assistant
     Secretary of Transportation Policy Vinn White to Secretarial Officers and Modal Administrators, September 27, 2016
 227 Ibid “Highway Statistics 2019”


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 12% of Puerto Rico’s lane miles are in “poor” condition, thus exceeding the maximum of 5% of
 lane miles in “poor” state for pavement conditions on the Interstate System as required by federal
 law. 228,229 As a result, for a second consecutive year, FHWA imposed a penalty and constraints
 on some portion of its federal allocated funds. 230 Moreover, road safety and congestion are not
 the only challenges faced by the transit sector.

 EXHIBIT 66: POOR ROAD SURFACE CONDITIONS MAKE IT DIFFICULT FOR LIFE
 SCIENCES MANUFACTURERS TO MOVE THEIR GOODS TO MARKET




 The financial performance and sustainability of the transit sector also lags mainland peers. Tren
 Urbano’s (TU) transit farebox recovery ratio (share of expenses covered by fare revenues) is only
 9%, compared to 26% for peer U.S. systems. 231 The proportion of non-fare directly generated
 public transit revenue (as a percent of total transit revenue) in Puerto Rico is about half of the
 U.S. median. 232 Construction of TU took 75% longer than expected, delaying its opening by four
 years, and increasing project costs from $1.5 billion to $2.3 billion. A 2017 assessment after
 Hurricanes Irma and María found that more than 50% of the turnstiles (barriers) were not
 operational, 20% of the ticket vending machines were defective and non-compliant with payment
 card industry standards and used outdated software. TU has failed to fix these problems, despite
 federal funding being available to do so since 2012.
 The ferry service is yet another example of suboptimal performance. For months, the Maritime
 Transportation Authority (ATM, by its Spanish acronym) has operated with two (2) or fewer of its
 fourteen (14) ferry boats to meet its service demand due to frequent breakdowns and, for several
 years, has relied on leased ferry boats to supply services, thereby limiting its ability to invest in its

 228 As defined by 23 USC 103(c)
 229 23 USC 119(f)(1) and 23 CFR 490.315
 230 In a letter dated September 30, 2020, FHWA informed HTA the determination regarding pavement conditions in the Interstate
    System. After analyzing the 2019 Interstate System pavement condition data reported by HTA on the Highway Monitoring System,
    FHWA determined that (1) HTA did not meet the minimum level requirements for pavement condition on the Interstate System as
    required in 23 USC 119(f)(1) and 23 CFR 490.315 and (2) penalty under the provisions of the Interstate System Condition (23
    USC 119 (f)(1) must be invoked pursuant to 23 CFR 490.317. As a result, HTA will have constraints on some portion of its allocated
    funds as per 23 CFR 490.31(e)
 231 “2019 data tables.” United States Department of Transportation Federal Transit Administration. Accessed April 21, 2021
 232 “2019 funding sources.” United States Department of Transportation Federal Transit Administration. Accessed April 21, 2021


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 ferry assets, worsening their condition and further forcing ATM to continue to rely on leased
 ferries. The Desirability and Convenience Study for the Puerto Rico Maritime Transportation
 Services PPP further highlights the issues concerning the ferry service. Chief among the challenges
 is the current state of facilities and vessels, which are in operation beyond their expected service
 life. Consequently, ferry services are subject to frequent cancellations and delays and increasing
 maintenance costs, forcing ATM to defer much needed maintenance for its vessels and facilities.
 The result is an unpredictable and unreliable ferry service that too often leaves the residents of
 Vieques and Culebra without access to basic goods and services (including access to medical
 services, given Vieques lacks on-Island hospital facilities), and prevents the Islands from realizing
 their full potential as world-class tourism destinations.
 Given the complexity of managing an entire island’s transportation infrastructure cost-effectively,
 the Government should implement a cohesive policy for the transportation system. The task at
 hand will result in a total reorganization of Puerto Rico’s transportation infrastructure. Such an
 effort would mainly revolve around the following key initiatives:
 1. Restructuring transportation capabilities and organizational structures by
    allocating transportation assets into entities based on type of asset and/or
    transportation service (e.g., toll roads, non-toll roads, mass transit) to achieve
    efficiencies in operational expenses and capital delivery while also paving the way for closer
    collaboration between different transportation entities
 2. Creating an overarching Transportation Policy Board to ensure consistency in long-
    term planning strategies and priorities across all transportation assets management
 3. Improving performance management through the integration in public systems,
    performance-based contracts, better supervision, and leveraging private sector capabilities
 4. Maximizing available funds through a more aggressive federal grants strategy
    and attracting private capital


          Current structure of Puerto Rico’s transportation system
 Individual modes of transportation with overlapping and fragmented ownership
 The transportation system falls under the organizational structure of the Department of
 Transportation and Public Works (DTOP, by its Spanish acronym), which includes the Highways
 and Transportation Authority (HTA) and the Integrated Transit Authority (PRITA). PRITA is
 further divided into ATM and the Metropolitan Bus Authority (AMA, by its Spanish acronym).
 Currently, asset ownership is fragmented across Puerto Rico’s transportation entities. Non-tolled
 roads are split between HTA and DTOP. Bus routes are divided between HTA and AMA. The urban
 transit line sits within the highway authority (HTA), rather than the dedicated transit authority
 (PRITA).




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 EXHIBIT 67: CURRENT ALIGNMENT OF TRANSPORTATION ASSETS TYPES TO ENTITIES




 Fragmentation across transportation modes inhibits efficient management of the transportation
 system by complicating budget distribution, priority-setting, and decision making. For instance,
 even though DTOP is responsible for ~96% of the road system’s maintenance (excluding toll
 roads), HTA often performs such maintenance. HTA’s operational and project delivery capacity
 is further strained due to also being responsible for over ~95% of the road system’s construction
 projects (including toll roads). This mix of both tolled and non-tolled roads leaves HTA with
 limited resources to concentrate on the operation and maintenance of the toll roads and with a
 mix of private revenue streams (e.g., tolls and fines) and public funds (e.g., transfers from the
 Commonwealth) that complicates decision making concerning transportation public policy
 setting and implementation. As an example, HTA has not adjusted toll rates since 2005, despite
 increases in both congestion and inflation, toll roads have not been the subject of focused capital
 investments, and non-toll roads suffer from a backlog of maintenance projects such as toll fare
 adjustments and toll road capital projects. 233 Furthermore, HTA is the federal grantee for PRITA,
 ATM, TU, and feeder bus routes, while AMA is its own FTA grantee.
 The fragmented ownership of transit assets inhibits cross-modal coordination: TU, AMA, and the
 feeder bus networks do not have harmonized schedules that enable easy and efficient transfers
 between modes. This creates a negative user experience for riders and encourages commuters to
 travel via private vehicle rather than public transit, which in turn worsens the financial

 233 In other states, by contrast, toll roads and non-toll roads are managed by independent, apolitical public entities (e.g., Florida
    Turnpike Enterprise, New Jersey Turnpike Authority) that can focus on maintaining their own financial sustainability


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 performance of transit systems and increases road congestion. 234 Puerto Rico, furthermore,
 receives about 90% of the federal funding for roads that could be expected based on its population
 size. 235 Despite this, agencies struggle to spend all the money available to them due to difficulties
 executing the backlog of projects.

 EXHIBIT 68: TRANSPORTATION ASSET DISTRIBUTION ACROSS PUBLIC ENTITIES




 Historically, Puerto Rico has not maximized its funding potential
 Currently, AMA has federal grantee status. Meanwhile, PRITA is a subgrantee to the Puerto Rico
 Ports Authority (PRPA) and HTA. This scenario is far from ideal for PRITA to carry out its mission
 to operate and invest in Puerto Rico’s bus, ferry, and rail transportation services. Furthermore,
 the proportional allocation of federal funds to transportation is a separate challenge itself. Puerto
 Rico’s 3.1 million residents represent 1.0% of the United States population, and yet, Puerto Rico
 rarely sees a proportional amount of federal funding from large transportation-related grants
 programs. HTA, for instance, received zero new discretionary grants in FY2020. If Puerto Rico
 received discretionary grants proportional to its population, agencies would have an additional
 $1.5 billion available for strategically important, non-State of Good Repair (SOGR) projects over
 the next 30 years, granted that the Government seek a holistic grantee structure and federal
 funding strategy. 236
 Moreover, to generate this type of capital spending, the Commonwealth and its corporations will
 need to maximize investments in Puerto Rico’s transportation sector by ensuring access to all
 available federal and private funding. To achieve this, PRITA should successfully obtain grantee


 234 Many U.S. cities, by contrast, have integrated transit authorities so all transit assets across modes coordinate schedules and
    payment methods, ensuring a seamless experience for customers and efficiency in delivering services. For example, Portland’s
    TriMet system operates bus, light rail, heavy rail, and streetcar services under one network with a single payment system and
    harmonized schedules
 235 “Revenues Used By States For State-Administered Highways – 2018.” Office of Highway and Policy Information of the United
    States Department of Transportation Federal Transit Administration. Last updated January 2020
 236 E.g., Capital Investment Grants, Better Utilizing Investments to Leverage Development (BUILD) grants, Infrastructure for
    Rebuilding America (INFRA) grants, Highways for Life (HfL) grants


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 status, which is pivotal for maximizing federal funding opportunities and would pave the way to
 efficient multi-modal coordination.
 Puerto Rico should explore further opportunities to leverage private capital via PPP projects. The
 Government should build on the success of the PR-22 and PR-5 PPP with Metropistas. Since 2011,
 Metropistas has contributed $1.6 billion for the right to operate and collect tolls on PR-22 and
 PR-5. These funds have been used to reduce existing debt, improve road quality, and accelerate
 safety improvements. 237 As a result, 99% of PR-22’s pavement is in “good” or “fair” condition,
 compared to 86% for Puerto Rico’s interstate system as a whole. 238 Puerto Rico’s PPP Authority
 should pursue a transportation-focused strategy to attract additional private funding to this
 sector. Puerto Rico should also leverage non-toll sources of revenue through innovative contract
 financial structures with its PPP concession-holders.


             The future of Puerto Rico’s transportation system
 Reorganization of Puerto Rico’s transportation assets and responsibilities into entities based on
 type of asset and/or transportation service

 To achieve long-term financial stability and sustainability, Puerto Rico’s transportation sector
 should be reorganized to ensure the best outcomes across different modes of transport. Under
 this proposed reorganization, HTA would operate as a standard toll road authority and oversee
 Puerto Rico’s toll roads, DTOP would act as a standard department of transportation, with
 responsibility over non-tolled, non-municipal roads, and PRITA would fulfill its original intention
 as a unitary transit authority by managing and consolidating all transit assets on the Island (e.g.,
 buses, ferries, Tren Urbano). 239 The Ports Authority would continue to retain control over
 airports and ports. All relevant agencies should achieve federal grantee status as these new roles
 and responsibilities require.

 Consistent with the reorganization described above, and with the 205(a) letter of January 29,
 2021, the 2022 Fiscal Plan increases the HTA operating transfer to cover the full cost of non-toll
 assets, marking the first step towards the implementation of the Transportation Sector Reform.
 As a result, over FY2025-FY2051, the 2022 Fiscal Plan includes an average annual operating
 appropriation of $110 million and capital appropriation of $68 million per year on average. The
 amount of the annual operating transfer may be reduced in a proportionate amount should federal
 funding for non-toll assets appropriated to HTA increase.
 The HTA operating transfer is intended to be used by HTA solely to fund costs associated to non-
 toll assets and is not available to be used for any other purposes, including funding costs and
 projects above and beyond those contemplated in HTA’s Fiscal Plan.




 237 “Project Profile: Puerto Rico PR-22 and PR-5 Lease.” Center for Innovative Finance Support, United States Department of
    Transportation Federal Transit Administration. Accessed April 21, 2021
 238 2028 Puerto Rico Transportation Asset Management Plan, Final Revised as of October 8, 2019
 239 There is an existing legislative precedent for this type of effort, as outlined under 23 L.P.R.A. § 11161. The enactment of PRITA
    was originally intended to integrate mass transit systems under one authority, thus relieving HTA from its responsibilities related
    to the Tren Urbano transit system


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 EXHIBIT 69: PROPOSED ALIGNMENT OF ASSET TYPES TO ENTITIES




 The state of public transit infrastructure and management on the Island deserves special focus.
 Congestion is increasing in many metropolitan areas, implying additional delays for activities
 such as commuting. Traffic in congested urban areas is moving at the same speed that it did 100
 years ago on horse-drawn carriages. 240 The San Juan metro area has 37,000 more households
 commuting by private vehicle than would be expected if mass-transit usage matched the U.S.
 average. 241 As a result of these extra vehicle journeys, San Juan experiences two additional weeks
 of low air-quality days per year, compared to the U.S. average. 242 Worse yet, Nox and PM2.5
 emissions from vehicles are statistically associated with excess deaths in the local population. 243
 Hence, a reliable public transit option is extremely valuable to day-to-day activities of local
 residents. The current system suffers from limited availability, efficiency, route coordination,
 operational cohesiveness, and accessibility. These issues result in higher congestion and reduced
 mobility particularly for low-income residents who experience long commutes or are forced to
 invest in owning a vehicle.
 Achieving an integration of the public transit systems and cohesive operations and investment
 strategies across modes will require the Government assume a proactive role. The Government
 should establish a unified transport system and although these initiatives would ideally be
 implemented by an integrated PRITA, their implementation can and should start today.
 The transformation into an integrated transit system would mainly rely on the implementation of
 the following initiatives:
 ■   Integrate all transit assets under PRITA: PRITA should be empowered to fulfill its
     original intention, and act as a unitary transit authority by managing all transit on the Island
     (e.g., all buses, ferries, Tren Urbano). To accomplish this, the Government should ensure
     PRITA achieves federal grantee status as necessary to take on these new roles and
     responsibilities (e.g., FTA grantee status).
 ■   Recurring allocation for non-toll road maintenance ($50 million): This fiscal plan
     contemplates that DTOP should source funding for said maintenance via a combination of


 240 The Geography of Transport Systems, 5th Edition, 2020 by Jean-Paul Rodrigue, Claude Comtois, and Brian Slack
 241 22% of San Juan metro area residents commute via carpool, walking, bicycling, or public transit, compared to 27% for the U.S.
    as a whole. Data.IO
 242 Low air quality defined as AQI > 100; PR has 19 days per year to U.S. median of 4, as per the Department of Natural and
    Environmental Resources website
 243 EPA estimates excess deaths per ton of emissions at 0.002 for NOx and 0.1 for PM2.5


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      available Capex funds, agency SRF related to Act 22 of 2000 electronic ticket collections for
      traffic fines, and funding provided by the IIJA for preventive maintenance.
 ■    Integrate all non-toll roads under DTOP: DTOP should assume responsibility for
      construction and maintenance of non-toll roads from HTA. Doing so would better align
      sources of funding with entity mandates (i.e., public funds used for publicly-managed roads).
      This would require relevant personnel and capabilities also shift from HTA to DTOP to ensure
      DTOP can manage the full portfolio of non-toll roads.
 ■    Integration of public transit networks: Existing public transit agencies of the San Juan
      metropolitan area should integrate their operations to maximize ridership by increasing both
      the legibility and usefulness of the system. 244 Example initiatives include:

      – Adoption of a single farecard for all transit networks
      – Harmonization of fares and schedules across TU, buses, and ferries
      – Design of a coordinated network of routes to increase accessibility and attractiveness of
          mass-transit alternatives

      – Redevelop areas surrounding major transit stations to maximize mobility and accessibility
          to goods and services
 ■    Coordination of public transit systems with private transport networks: Public
      transit agencies should collaborate closely with private transport networks (e.g., Públicos,
      Transportation Network Companies). 245 By implementing a series of joint initiatives (e.g.,
      fare integration, station re-design, schedule integration, multi-modal trip planning), public
      agencies and private network operators would be able to achieve increased service quality and
      increased ridership.
 ■    Improvement of curb management practices: Public transit agencies should work with
      local municipal authorities to promote the adoption of innovative curb management practices
      (e.g., dynamic pricing for on-street parking, replacing on-street parking with drop-off zones).
      These practices would incentivize commuters to use public transit rather than private vehicles.
      They would also generate funds that could improve service quality in the communities they
      service (e.g., construct more and better bus shelters).
 Overall, these initiatives would contribute to the decrease of average commute times for the
 residents of the San Juan metropolitan area, thus resulting in substantial labor productivity gains
 and other benefits to residents such as greater mobility, accessibility, and equity, while also
 reducing harmful vehicle emission, thus increasing the overall quality of life. At the same time,
 they would enable public transit networks to increase their ridership and their revenue, thus
 having a smaller need for subsidies from FTA or the Government. These measures should be led
 by agencies responsible for various assets (HTA, ATM, PRITA) until the transformation of PRITA
 into a true transit authority is complete, at which point PRITA should become the responsible
 party across assets.
 Implementing these goals will require a concerted effort and continued engagement of a
 workforce, all collaborating towards a common goal. As an example, asset transfers between
 agencies should also consider the transfer of responsibilities and recurrent funding, in addition
 to the assets themselves. In order to apply lessons learned, the Government should perform an

 244 Oregon’s TriMet system shows how this can work in practice. Like TU, TriMet is a relatively new transit system, having developed
     its light rail in the 1980s. TriMet consolidates all Portland-area transit assets into a single entity that coordinates route planning,
     scheduling, and payments. Riders use “Hop Fastpass,” a smart fare card, to pay for their travel and can plan multi-modal trips
     using TriMet’s website. This user-friendly system encourages high levels of ridership on the city’s light rail and bus systems,
     saving the city $150 million annually due to reduced traffic congestion. Finally, a major emphasis in TriMet’s planning was to use
     transit to improve land use, leading to $25 billion in new development near light rail stations
 245 Públicos and Transportation Network Companies carry ~50 million passengers per year, representing the vast majority (65%) of
     total transit rides in the San Juan metropolitan area. Puerto Rico Long Range Transportation Plan, December 2013


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 initial assessment of legal, Federal Transit Administration (FTA) and Transportation Asset
 Management Plan (TAMP) considerations. Once the assessment is completed, the Government
 should develop a program foundation to align on priorities, success metrics, measures, and a
 future state organizational structure (as reflected in Exhibit 70) to demonstrate progress.
 Thereafter, workstreams can be implemented and, along the path of implementation,
 optimization and innovation can take place after results have been assessed and new workstreams
 are established. Ultimately, the end goal is for rider experience to improve, and transit ridership
 and accessibility to increase. As part of the reorganization of assets and responsibilities into mode-
 specific entities, the Commonwealth should ensure that the entities meet all requirements to
 obtain federal grantee status.
 Create an overarching Transportation Policy Board to guide multi-modal transportation
 strategy across the Island

 The Commonwealth should create an independent Transportation Policy Board (“TPB”) to set
 and execute an Island-wide transportation strategy. The TPB would be empowered to, at a
 minimum:

 ■   Set long-term, cross-modal, strategic plans and investment priorities applicable to all
     transportation investments on the Island
 ■   Regularly review and report on execution against strategic plans, providing transparency and
     guidance on any corrective steps required
 ■   Coordinate the federal grants strategy for all transportation entities to harmonize the process
     and maximize opportunity and availability of federal funds
 ■   Develop and oversee the use of objective frameworks for project selection and project
     prioritization processes
 ■   Provide oversight and compliance check to both the pre-construction and capital delivery
     activities
 The proposed TPB would provide oversight and guidance for the transportation entities within
 the Government but would not seek to burden them with new regulations, leaving implementation
 of long-term strategic plans to each relevant entity.
 The TPB should be comprised of 3 to 5 members, appointed by the Governor with the advice and
 consent of the Senate. Candidates should be selected from lists developed by professional
 recruitment firms and should comply with minimum knowledge and expertise requirements. To
 insulate TPB members from political pressure and ensure continuity and consistency in long-term
 planning, initial TPB member terms should be staggered with subsequent appointments being for
 a term of no less than five years. TPB members should also not be subject to at will removal and
 should only be removed for cause.




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 EXHIBIT 70: PROPOSED RELATIONSHIP BETWEEN TRANSPORTATION POLICY BOARD
 AND OTHER TRANSPORTATION ENTITIES




 Improve performance management through performance-based contracting and concessions
 with the private sector
 Puerto Rico should better integrate private operators into public systems. At present, públicos
 and transportation network companies (“TNC”) operate broadly across Puerto Rico to satisfy
 excess demand for transportation beyond that provided by the public sector. There is limited
 coordination, however, between these private operators and the public networks. Similarly,
 private contractors execute much of the Island’s transportation construction without providing
 visibility into individual project performance. If managed well, the private sector can be a key
 partner in both operating transit systems and delivering capital projects efficiently and cost-
 effectively. As an example, the Maritime Transportation Services PPP with HMS Ferries LLC
 (“HMS”) is structured such that HMS prioritizes improved service quality and efficiency, thereby
 aligning the interests of private operators with those of Puerto Rico’s businesses and residents,
 who demand access to reliable and safe transportation services. Moreover, the management of
 private sector players is critical for transportation agencies to ensure that they can maximize
 available funds and mitigate risks, as shown through the improvements seen in PR-22 road
 condition as a result of the Metropistas PPP. 246 Further, Puerto Rico’s transportation entities can
 get more value from their private-sector vendors through innovative contract design and
 improved vendor supervision. Moreover, PPPs are an additional tool to attract private investment.

 Of the ten projects currently under consideration by the PPP Authority, none impact
 transportation. 247 Greater coordination between transportation sector entities and the PPP
 Authority can enhance the potential of private funds being leveraged for transportation,
 specifically by identifying, developing, and structuring attractive projects, such as the long-term
 concession of the remaining toll roads. If Puerto Rico achieved the same amount of PPP
 investment per capita as Virginia, it would receive an influx of $3.7 billion in private
 investment. 248

 In addition, the Government, and more specifically, relevant transportation entities, should
 systematically identify ancillary revenue opportunities (e.g., advertising, creating service plazas,
 renting out real estate to retailers). If Puerto Rico achieved a level of non-toll revenue similar to
 mainland peers such as Florida’s Turnpike Enterprise and the North Texas Tollway Authority,

 246 At present, the Acts governing PRITA and HTA provide for the implementation of this measure per P.R. Laws tit. 9, § 2004a
 247 Puerto Rico Public Private Partnerships Authority website
 248 $10.2 billion in new build PPP at 8.5 million people in Virginia is about $1200 per person. $1200 per person for 3.2 million people
    in Puerto Rico represents $3.8 billion, and Puerto Rico currently has $127 million in new build PPP projects, per the Center for
    Innovative Finance Support, United States Department of Transportation Federal Transit Administration


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 HTA would realize an incremental $12.7 million in annual revenues. 249 As with PPP funding, this
 best-in-class example should serve not as a specific target, but as an indication of what is possible.

 Maximize funding by ensuring all relevant entities have federal grantee status, adopting a more
 comprehensive federal grants strategy, and attracting private capital

 The Government needs to maximize investments in Puerto Rico’s transportation sector by
 ensuring access to all available federal and private funding are deployed. To achieve this, PRITA
 should successfully complete the FTA’s process to obtain grantee status, which is pivotal for
 maximizing federal funding opportunities, reorganization of assets and management
 responsibilities, and would pave the way to efficient multi-modal coordination.
 Puerto Rico would benefit from a holistic strategy to maximize funding flowing into its
 transportation network. The TPB would be well-situated to coordinate these efforts across
 transportation entities. By establishing an Island-wide federal funding strategy, attracting more
 private investment, and increasing ancillary revenue, Puerto Rico can improve the transportation
 sector’s financial health and invest more in-service delivery to public transportation users. 250


              Implementation of the transportation system reform
 To meet the requirements outlined above, the below milestones should be accomplished: 251




 249The Florida Turnpike Authority and the North Texas Tollway Authority each bring in ancillary revenue equivalent to about 3-5%
    toll revenues. The NJTA is particularly successful in collecting non-toll revenue, and they regularly renegotiate with private
    operators (including toll collectors, gas stations, and service plazas) at the end of every contract. The NJTA successfully leverages
    the lucrative nature of these concession agreements to build performance incentives into contracts and pursue profit-sharing
    agreements between vendors and the agency. In 2019, non-toll revenues were equal to 15.5% of NJTA’s toll revenues and
    included cellular tower rentals, park-and-ride facilities, rent, towing fees, property sales, billboard commissions, video feed
    licensing, an Arts Center, and other investments, compared to 5% in Puerto Rico. $121 million in toll fares * 15.5% = $16.2 million;
    $16.2 million - $6 million in “other income” = ~$10 million. Per the New Jersey Turnpike Authority 2021 Annual Budget in Brief;
    the New Jersey Turnpike Revenue Bond Resolution Certification 713 (c) dated October 14, 2020; and the HTA FY2020 Fiscal
    Plan
 250 At present, the Center of Federal Opportunities (under the Office of Management and Budget) is tasked with providing technical
    assistance to the Government of Puerto Rico and its related agencies in order to obtain and maximize federal grants. This
    recommendation requires that the Center of Federal Opportunities fulfill its mandate by supporting transportation authorities to
    secure further public funding
 251 In the interest of ensuring compliance, the Oversight Board reserves the right to tie a portion of DTOP's and PRITA's budgets to
    the successful implementation of certain milestones (TBD), and, as such, freeze or clawback funds should the Government fail to
    implement its milestones


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 EXHIBIT 71: IMPLEMENTATION TIMELINE FOR THE TRANSPORTATION SECTOR
 REORGANIZATION




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 Part IV. Investments to revitalize Puerto Rico
 As Puerto Rico aims to navigate through the COVID-19 pandemic and rebuild both economically
 and fiscally, the 2022 Fiscal Plan builds on what has been a multi-year strategic investment
 program to improve government services, increase competitiveness, and create the conditions for
 growth and development that can benefit all residents.
 Multiple Fiscal Plans have called for investments in front-line services that residents depend on
 for health, safety, and economic opportunity. This has included investments to support the
 Government, as well as individuals and businesses, in combating the COVID-19 pandemic. The
 2022 Fiscal Plan preserves investments included in prior Fiscal Plans and supplements them
 through incremental investments targeted at transforming financial management and
 government efficiency (e.g., timely audited financial statement, budget best practices, CSR, and
 procurement included in the Financial Management Agenda) and creating conditions for growth
 (i.e., human capital / education, economic development, infrastructure, and ease of doing
 business). These incremental investments have been made possible by revenue growth resulting
 and the General Funds freed up from CMS’ recent re-interpretation of Puerto Rico’s non-CHIP
 Medicaid funding (which eliminated the fiscal “cliff”).
 The Government must deploy these funds efficiently and effectively to maximize their benefit for
 the Island’s people and economy.
 These investments can be categorized as follows.

 Investments in operational capacity

 In addition to the 2021 Fiscal Plan’s $83 million Uniform Remuneration Plan (URP), which will
 establish a uniform role and pay structure for certain Central Government employees, and a
 comprehensive plan for CSR, the Fiscal Plan includes the below initiatives aimed at investing in
 operational capacity to improve government service delivery:
 ■   CSR-related initiatives

     – Uniform Remuneration Plan (“URP”) budget increase: The Oversight Board
       estimates that the Civil Service Reform Pilot will cost $11.5 million in FY2022, which
       includes $1.5 million in implementation costs. In addition to this amount, the 2021 Fiscal
       Plan had allocated $83 million for the implementation of the new URP. After conducting a
       thorough salary benchmarking analysis during the CSR pilot in 2021 using local market
       data for all pilot employees, the Oversight Board found that adjusting employee salaries to
       local competitive rates would cost an estimated 20% more than the URP budget request
       submitted by the Government last year. Therefore, to ensure enough funds are available to
       bring all government positions to market rates, the 2022 Fiscal Plan should increase the
       CSR budget by 20%, or $16.6 million more than what was initially allocated in the 2021
       fiscal plan.

     – CSR new positions: As part of the CSR Pilot, the Government has been working in close
       collaboration with the Oversight Board to identify critically needed technical positions in
       key areas of Government, including finance, accounting, procurement, human resources,
       and technology. As such, the 2022 Fiscal Plan includes an additional $33 million annually,
       increasing by inflation, in the CSR budget so that funds can be available to recruit these
       crucial positions across the government. The recruitment of these positions would need to
       go through the new streamlined and digitalized recruitment system being developed
       through the CSR Pilot.
 ■   Investment in non-URP central government employees: The CSR scope only covers
     entities under Act 8-2017 (Human Resources Administration and Transformation Act) and


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    employees that are part of OATRH’s Uniform Renumeration Plan (URP), representing 25% of
    central government employees. PRDE employees (including teachers), correction officers,
    firefighters, and personnel from the judicial branch are all outside of this initiative. Since all
    these employees also face outdated compensation structures, they should be given the
    opportunity to participate in salary adjustments that bring pay closer to competitive levels.
    The 2022 Fiscal Plan includes $170 million to increase salaries of Government employees that
    are not part of the URP in the CSR.

    – Increase in teachers and other PRDE employees’ salaries and salaries scales:
       In FY2021, the average teacher salary of $28,100 in PRDE was lower than in all other U.S.
       jurisdictions. PRDE has also experienced challenges building its educational leadership
       pipeline and supporting staff through a clear career progression. The 2022 Fiscal Plan
       includes a recurring annual allocation of $187 million to increase salaries for all PRDE
       employees (including teachers) beginning in FY2023. Investing in PRDE salaries will
       support priorities that are aligned with the department’s strategic goals and will help
       address inequities in compensation within employee categories. All PRDE teachers
       (~26.8k) would receive a $235 per month salary increase effective July 1, 2022.
       Additionally, teachers would receive another $235 per month based on successful
       completion of milestones effective January 1, 2023. All PRDE’s directors, facilitators, and
       director supervisors (~1.1k) would receive a 10% salary increase effective July 1, 2022.
       Additionally, this group would receive another 5% based on successful completion of
       milestones effective January 1, 2023. PRDE’s direct student support employees and
       administrative support employees (~8.8k and ~8.0k respectively) would receive a 10% and
       5% salary increase respectively effective July 1, 2022. For more information, see Section
       14.3.

    – Increase in firefighter salaries: The 2022 Fiscal Plan provides for an incremental
       $1,500 salary increase that will be sourced through the funds identified in Act 181-2019, as
       amended, representing no incremental impact to the surplus. An increase was
       implemented in FY2020 representing $2.737 million and an additional increase was
       implemented in FY2021 representing $2.65 million, bringing the total increase to $4,500,
       a 17% increase over the average salary. More information is discussed in Section 14.5.

    – Increase in correctional officer salaries: The 2022 Fiscal Plan provides for a salary
       increase of 15% tied to milestones, with a base increase of 10% effective July 1, 2022 and
       the remaining 5% provided upon successful implementation of the time and attendance
       initiative. More information is discussed in Section 14.6.

    – Increase in judicial branch salaries: The 2022 Fiscal Plan provides for $11 million in
       incremental funding, starting in FY2023 to cover 7% salary increases for all employees of
       the General Courts of Justice (except judges). Further information is discussed in Section
       14.10.

    – Increase in salaries to UPR Medical Residents: The 2022 Fiscal Plan will provide
       for ~$2.5 million to allocate a 20% salary increase to all UPR Medical Residents. These
       salaries had not been revised since 2003 and given the need of health personnel and the
       historical impact the residents have through the assistance in the well-being of patients and
       the development of the programs represented the Oversight Board agreed to this
       incremental funding. The salary increase will also be an incentive to retain students on the
       Island. An additional $500 thousand will be allocated to fund the reaccreditation licenses
       needed as part of the residents’ programs within UPR.

    – Increase in nurse salaries: In addition to the above investments, and to ensure the
       retention and fair compensation of nurses on the Island, the Oversight Board is supportive
       of improving salaries for nurses not already covered by the URP budget increase. The
       Oversight Board will work with the Government to identify an appropriate source of


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        funding, if necessary and supports the Government’s prior position that this increase be
        covered through increased federal funds or within the existing budget appropriations.
 ■   Funding for the Comprehensive Cancer Center: The 2022 Fiscal Plan provides for $10
     million in incremental funding for a period of 7 years, starting in FY2023 to support cancer
     research initiatives that will allow the Comprehensive Cancer Center of Puerto Rico to obtain
     formal federal designation of Cancer Center, which will in turn provide access to additional
     federal funds. This funding is contingent upon the Cancer Center completing the following
     milestones:

     – The Cancer Center must develop and implement an integrated campaign through
        advertising, digital media, and public relations to promote prevention, early detection and
        specialized treatment health services programs offered at the Hospital by June 30, 2022.

     – The Cancer Center must implement the second phase of the Electronic Health Records
        which involves integrating the Financial Modules by December 31, 2022; and participate
        in the 340B Drug Pricing Program by obtaining Certifications to purchase prescription
        drugs at lower cost by June 30, 2024.

     – Once the respective milestones are achieved, the Cancer Center must provide a formal
        notice and submit supporting data corroborating such achievement for the Oversight
        Board’s review.
 ■   Increase capacity of oversight agencies: Oversight agencies play a pivotal role in
     improving governance and fostering fiscal responsibility in the public sector. Independent
     oversight institutions exercise oversight over the democratic functioning and integrity of the
     executive and state administration. To perform their functions each institution requires a high
     degree of independence from the government of the day and adequate resourcing. To ensure
     these integrity institutions have the resources they need to perform all their statutory and
     constitutional functions, the 2022 Fiscal Plan includes $6 million for salary adjustments and
     funding for new positions in critical areas. Employees at these agencies would get 5% salary
     increase ($2.5 million annually) effective July 1, 2022 and $3.5 million for recruitment of new
     positions. New positions will be subject to agency implementation of new employee evaluation
     system and recruitment platform that will be developed through the CSR rollout. Below are
     the oversight entities that are part of this investment:

     – Institute of Statistics
     – Office of the Comptroller of Puerto Rico
     – Office of the Electoral Comptroller
     – Office of Government Ethics
     – Office of Inspector General
     – Special Independent Prosecutor’s Panel
 ■   Christmas bonus guarantee: The 2021 and prior Fiscal Plans did not include an allocation
     for the payment of Christmas bonuses. As a result, the Government had funded the payment
     of the bonus through identified savings and underspend. The 2022 Fiscal Plan includes a
     recurring annual allocation of $40 million to provide government employees a bonus of $600
     per employee beginning in FY2023.
 ■   Funding for third party case managers: The 2022 Fiscal Plan provides for $7.5 million
     in FY2023 incremental funding for a period of 1 year to support the increase in caseload in the
     Family and Children Administration. These funds will provide families an assigned social
     worker that will render needed services. This appropriation will be included under the custody


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     of the Office of Management and Budget and is contingent to the Family and Children
     Administration providing the Oversight Board documentation that supports the $7.5 million
     estimate including amount of cases per contractor and cost per hour.

 Investments in obligations to current and future retirees

 In addition to the Plan of Adjustment, which provides a mechanism to set aside resources to fund
 the Commonwealth’s pension obligations, the Oversight Board has approved the below initiatives
 aimed at prioritizing obligations to current and future retirees
 ■   Police officer retirement: Public safety is essential for the quality of life of every Puerto
     Rican and our police officers play a critical role in ensuring our security and well-being. The
     Oversight Board has supported and continues to support Puerto Rico’s police officers and
     their critical service to protect and serve the Island’s residents and businesses.
     Prior to 2017, officers hired under the promises of Act 1 or Act 447 of ERS relied on the defined
     benefit plan as their sole source of retirement income. When these benefits were frozen in
     2013, the effect on officers varied based on the age / service of the officers. The Oversight
     Board has recognized that reliance on this single source of income, especially for those officers
     in their mid-career, is insufficient and pushed for both the full implementation of the Act 106
     Defined Contribution accounts (legislated in 2017 and fully implemented in June 2020 for
     police and also most other Government employees), as well as participation of police in United
     States Social Security in January 2020. As a result, these police officers now have multiple
     sources of income which will be available to them in retirement.
     Act 447 and Act 1 police officers currently approaching retirement generally had their defined
     benefit plan frozen earlier in their careers than those that have already retired and therefore
     were more impacted by the freeze. Yet, active police officers closer to retirement have had
     limited time to save for retirement in their Act 106 accounts or through Social Security than
     younger officers. The Oversight Board acknowledges the resulting increasingly difficult
     retirement situation for active Act 447 and Act 1 police officers due to the historical lack of
     pension funding, lack of prior Social Security enrollments, and a mandatory retirement age.
     Therefore, the 2022 Fiscal Plan segregates over $850 million to be spent over the next 15
     years, including over $500 million by the end of FY2023, to allocate towards these police
     officers’ Act 106 Defined Contribution accounts. This investment varies based on the age and
     service of these officers, to recognize differences in how long they earned benefits through
     each retirement program, with the goal of bringing the average total retirement income from
     all sources (i.e., ERS, Act 106 Defined Contribution accounts, and Social Security) to 50% of
     the compensation received at the time of retirement. The contributions are detailed in Exhibit
     72.




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 EXHIBIT 72: DEFINED CONTRIBUTIONS FOR ELIGIBLE POLICE OFFICERS




 ■   The fiscal plan also includes contributions based on the following additional considerations:

     – Accelerated contributions for those near mandatory retirement: The 2022
        Fiscal Plan includes funding so that officers unable to work beyond June 30, 2022, either
        because they have applied for an extension and been denied or have exhausted the work
        extensions currently available, to receive acceleration of $30,000 special contribution into
        Fiscal Year 22, for a total of $77,500 each.

     – Current retirees: The 2022 Fiscal Plan includes funding so that sworn officers who
        retired after Act 81 enactment in August 2020 who were forced to retire by mandatory
        retirement also receive $77,500 in FY2022.
 ■   Plan Vital for current and future retired police officers: The Oversight Board and the
     Government agree on the need to provide health insurance to those who protected the Island’s
     population in their years of retirement prior to their qualification for Medicare. As such, the
     2022 Fiscal Plan includes an initiative to support the medical costs that will be endured by
     retired police officers from the time of their retirement through their Medicare qualification.
     The average annual cost of this incremental spending initiative from FY2022 to FY2051 is
     ~$23 million. These costs are estimated to be $8 million in FY2023, $10 million in FY2024,
     and rise steadily thereafter before reaching a peak of $35 million in FY2038. This initiative
     will ensure that police officers have access to the Vital program in critical years after service
     to the Island. The initiative includes both currently retired police officers, as well as currently
     active police officers upon their expected retirement. It should be noted that police officers
     that retired after Act 3-2013 became effective are not entitled to the $100 per month
     contribution for health insurance. Recognizing that ASES will need to expand Medicaid
     benefits in order to maximize the new Medicaid federal funding cap, the Board expects this
     incremental spending initiative to be partially offset by the increased federal funds as part of


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     the planned Puerto Rico Medicaid Program expansion (see Chapter 15 for more details on the
     Medicaid program).
 ■   Symphonic Orchestra Pension Fund: The Puerto Rico Symphonic Orchestra
     Corporation (“PRSOC”) is a public corporation organized under Act No. 44 of May 12, 1980,
     as a subsidiary of the Musical Arts Corporation. The PRSO sponsors a single employer defined
     benefit pension plan (“PRSOC Retirement Plan”) funded through member and employer
     contributions that are not tied to the actuarially determined levels necessary to fully fund the
     plan. As a result of years of underfunding, as of August 15, 2019, the PRSOC Retirement Plan
     was $20 million underfunded with a funded percentage of 14.43% and is projected to no
     longer have sufficient funds to pay benefits by the end of FY 2025. As such, the 2022 Fiscal
     Plan provides ~$20 million in incremental funding ($2 million on an annual basis through FY
     2032) aimed at supporting the fulfillment of existing promises to current and future retirees
     under the PRSOC Retirement Plan are met, while PRSOC continues to make its annual
     contributions. The incremental funding included in the 2022 Fiscal Plan is subject to
     implementation of a freeze of benefit accruals, closing of the plan and implementation of a
     defined contribution plan for its members, consistent with the treatment of all current
     Government employees provided through Act 106-2017.
 Investments in Financial Management Agenda
 The Government must establish fiscal responsibility through the implementation of a properly
 structured and empowered OCFO that pursues financial reporting, resource management, and
 planning objectives. Only after the OCFO has been successfully established and a minimum level
 of resources has been set aside for pension obligations shall the below initiatives be prioritized:
 ■   Office of the CFO: In addition to the above investments, the Oversight Board strongly
     endorses the creation of a centralized Office of the CFO (“OCFO”) that will be responsible for
     a variety of reforms that will ensure the most efficient financial stewardship of the Island’s
     resources. A properly structured and empowered OCFO constitutes an important organizing
     entity for the efficient management and control of financial reporting, resource management,
     and planning objectives. The Oversight Board approves $500,000 for the remainder of FY
     2022 to support the implementation of financial management initiatives and will approve
     $2,550,000 for FY2023 contingent on the OCFO delivering by May 30, 2022 detailed action
     plans for the following initiatives included in the Financial Management Agenda: Timely
     Audited Financial Statements, Budget Best Practices, and Federal Funds Management.
     Further information on this organization and investment requirements is detailed in Section
     13.2.1 below.
 ■   Non-Partisan Legislative Scoring: An additional allocation of $3 million annually is
     available for the creation of a non-partisan office within the Legislative Assembly to produce
     fiscal analysis and scoring of legislative measures, similar to the function of the Congressional
     Budget Office in Washington, DC. This office will serve both the House and Senate.
 Immediate response to COVID-19

 In the wake of the COVID-19 pandemic, the Oversight Board worked closely with the Government
 to act decisively to mitigate the effects of the sudden economic shock caused by the COVID-19
 pandemic. These initial investments totaled $787 million ($657 million General Fund and $130
 million Federal Funds) and provided hazard pay for front-line workers, direct payments to
 residents, essential supplies and equipment for public safety, materials for distance learning in
 the public education system, and funding for COVID-19 related research and development in
 UPR’s Medical Sciences Department. AAFAF reported that $521 million of the $657 million in
 General Fund have been disbursed as of January 2022.

 Investments in frontline services and agency operations


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 The 2022 Fiscal Plan also continues or makes additional investments to support frontline services
 and to enhance agency operations. These include ~$900 million to bolstering healthcare
 infrastructure and services (e.g., capital improvements at public hospitals, public hospital IT,
 telehealth infrastructure, opioid treatments, education loan forgiveness for rural healthcare
 professionals, and funds to maintain nurse and health professional staffing levels), ~$880 million
 for public safety (e.g., police salary raises, police equipment and capital, funds to hire Forensics
 Institute personnel, and funds for a DCR assessment of facility footprint and consolidation
 potential), ~$640 million for educational outcomes (e.g., funds for school psychologists and
 nurses, better transportation for students, teacher time and attendance analysis, needs based
 scholarships, incentives for student attendance reporting, digitization, teacher and director salary
 raises, and innovation), and ~$550 million for new Government programs and to enhance agency
 operations (e.g., funds to support ERP implementation, hire staff to finalize centralized
 procurement initiatives, accelerate municipal service consolidation, create transparency into
 economic incentives, hire special prosecutors and agents for the Specialized Domestic Violence,
 Sexual Crimes and Child Abuse units, and enable the fourth phase of the “Abriendo Caminos”
 infrastructure improvement program and for regular maintenance programs for the road
 infrastructure, etc.).

 Strengthening the technology sector

 To ensure Puerto Rico can compete in a global economy, the 2022 Fiscal Plan includes critical
 funds for technology infrastructure and workforce development programs. These include $400
 million to boost universal broadband access through incentives to expanded broadband roll out
 and the provision of faster service, and $50 million to establish a 21st Century Technical and
 Business Education Fund, designed to develop technical and business skills that are aligned with
 the needs of the 21st century economy.
 Further information on these investments is detailed in Chapter 15.
 Cultivating a high-performing public workforce in Puerto Rico

 To support the Commonwealth Government’s efforts to modernize and strengthen its human
 resource management capabilities and be better positioned to provide quality services to Puerto
 Rico’s residents for years to come, the 2022 Fiscal Plan includes ~$2.9 billion for a comprehensive
 CSR. The reform initiative in progress aims to: align the Government’s workforce capabilities and
 organizational structures to better meet mission objectives; update compensation structures in
 FY 2023 to market rates, pending compliance with reform milestones that includes the time and
 attendance reporting project; and enable the Government to better recruit and retain the right
 talent through optimized human resources technology processes, and procedures for recruitment
 and employee evaluations.

 A pilot-then-scale implementation approach was adopted to see reform solutions in action at a
 smaller scale and allow for changes and iterations as required prior to a larger-scale roll out. In
 July 2021, the Oversight Board and the Government initiated the CSR Pilot with two central
 agencies of the Commonwealth’s public sector, the Office of Management and Budget (OMB) and
 the Department of Treasury (Hacienda), focusing on core finance and accounting roles and
 functions. Significant progress has been made so far thanks to ongoing collaborative efforts
 between the government and the Oversight Board staff. As a result of these efforts, new
 organizational structures were developed and are being implemented for OMB and Hacienda’s
 finance and accounting divisions, and new frameworks for employee evaluation and recruitment
 processes were co-designed with the Office of the Administration and Transformation of Human
 Resources (OATRH). The Oversight Board will continue to work with the Government to ensure
 the success of this pilot as well as its scaling across other agencies and functions.

 Further information on these investments is detailed in Chapter 12.



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                         Cultivating a high-performing public workforce

            The urgent need for CSR in Puerto Rico
 The civil service is the backbone of good governance and quality public service provision. Having
 dynamic, competent, motivated, and high-performing civil servants is critically important as they
 have a direct bearing on the content and implementation of public policies and reforms,
 translating executive and legislative directives and regulations into tangible daily actions. For this
 reason, the sustainability and quality of public services requires a comprehensive CSR to resolve
 the underlying problems and challenges of human resources management in the Government.
 Only by achieving this kind of reform will the Government be able to change practices that prevent
 Puerto Rico’s Government from effectively fulfilling the most fundamental and emerging needs
 of its residents.
 Act 8-2017 (formally known as the “Government of Puerto Rico Human Resources
 Administration and Transformation Act”) and Regulation 8992 (formally known as the
 “Regulation for Implementation of Act 8-2017”) were adopted by the Puerto Rico Government
 with the intention, among others, of achieving best practices in public administration. However,
 based on the evidence gathered by Oversight Board, the reforms have fallen short, as they have
 covered too little ground, and allowed much of the existing civil service challenges to remain
 intact 252. One major flaw of Act 8-2017 was the underlying assumption that centralizing certain
 operational structure of human resource management would lead to a transformation of the civil
 service. Another aspect where Act 8-2017 fell short is that it covered a small portion of government
 employees because a significant number of government entities are exempted from its
 application.
 Taking an overly narrow approach in Puerto Rico, given the current state of the Commonwealth’s
 human resource management, will likely not resolve the structural and protracted problems
 hindering the civil service. True and transformative reform must address the multifaceted
 problems adversely impacting the performance and professionalism of civil servants, like political
 patronage, inadequate training and career path opportunities leading to an unmotivated talent
 pool, poor employee job experience and satisfaction, lack of leadership, staff accountability, and
 deficient strategic management.
 In May 2019, the Government of Puerto Rico submitted a Uniform Classification and
 Remuneration Plan (URP) to establish a uniform role and pay structure for its employees. The
 plan included career government employees and positions of trust across 65 agencies subject to
 the jurisdiction of the Government’s central personnel management agency, the Office of the
 Administration and Transformation of Human Resources (OATRH, by its Spanish acronym). The
 plan proposed an annual investment of $146 million to provide compensation increases for 13,198
 employees in these agencies.
 Although a worthy effort to ensure consistency and standardization across government agencies,
 the Uniform Classification and Compensation Plan falls short in addressing the perennial
 structural problems in human resource management (HRM) in the Commonwealth’s civil service.
 A recent examination of the existing human resources management structure in the
 Commonwealth Government conducted by the Oversight Board revealed many deficiencies in
 areas such as strategic human capital planning, recruitment, selection, talent management,
 performance management and evaluations, and succession planning. 253 Therefore, the




 252 Gonzalez, Simuell et al. “Policy Paper: Civil Service Reform.” Puerto Rico Federal Oversight Management Board website.
    Accessed April 21, 2021
 253 Ibid.


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 Government should consider a broader and more integrated approach to CSR, as shown in Exhibit
 73.

 EXHIBIT 73: CSR GOALS FOR THE COMMONWEALTH




          The importance of adopting a strategic approach to CSR
 There is no universal blueprint for successful CSR. Changes in public sector personnel
 management should be tailored to the local context and conditions. Some governments adopt a
 comprehensive, government-wide approach to CSR, fully revamping the civil service system,
 while others follow a more incrementalistic approach, targeting more narrow areas of human
 resource management. For example, Title VI Section 601 (i.e., Research programs and
 demonstration projects) of the Civil Service Reform Act of 1978 allowed “federal agencies to
 experiment, subject to congressional oversight, with new and different personnel management
 concepts in controlled situations to achieve more efficient management of the Government’s
 human resources and greater productivity in the delivery of service to the public.” Allowing federal
 agencies this flexibility to innovate on personnel management systems has proven useful with
 many federal agencies making their demonstration projects permanent. Further, it will be difficult
 to push CSR forward that have a positive lasting impact in Puerto Rico without strong executive
 and legislative backing and strategic engagement with key stakeholders.
 Given the amount of administrative and political challenges with reform in Puerto Rico, a gradual
 and more narrowed approach, focused on pressing human capital issues within key functions of
 government might be more practical. Furthermore, adopting a pilot-then-scale implementation
 approach will enable government leadership to see reforms in action and allow for policy changes
 and new programs to be adapted and tweaked as required prior to a larger-scale implementation
 and roll out. It also allows leadership to get a more concrete and accurate idea of the operational
 and financial challenges that might be faced in the implementation of reforms.




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          Human capital challenges in financial management and
          reporting within the Commonwealth
 As mentioned in previous chapters, Puerto Rico has had fiscal management challenges for years
 that created a growing deficit in the Island. For the Government to adhere to structurally balanced
 budgets reflecting ongoing fiscal discipline, it must be able to return to the timely publication of
 audited financial statements and related disclosure information, which is a key issue for regaining
 access to markets, in accordance with PROMESA. Annual Comprehensive Financial Report
 (ACFRs) for FY2019 and FY2020 have yet not be published by the Commonwealth.
 Best practice calls for audited statements to be published no later than 180 days after the end of
 each fiscal year. The FY 2017 Annual Comprehensive Financial Report (ACFR) was issued and
 published by the Government of Puerto Rico on August 31, 2020, taking more than 1,158 days
 (~38 months) to issuance, while the publication of the FY2018 ACFR took more than 1,096 days
 (~36 months) to issuance. The current rate of progress to close this gap and bring these reports
 and audits current is not effective and the amount of time projected to audit each year in arrears
 will guarantee that the Commonwealth will continue this unacceptable situation well into the
 future.
 A root cause of Puerto Rico’s financial management challenges is that the government lacks key
 personnel with the technical knowledge and training to properly implement new and current
 Governmental Accounting Standard Board (GASB) pronouncements and develop a proper
 financial management infrastructure. As a result, the Government continues to engage with
 outside contractors for critical day-to-day functions. Senior officers in charge of the preparation,
 review, and approval of the AAR’s are replaced every time there is a change in administration.
 Meanwhile, Hacienda’s workforce is significantly older than most private sector firms, which
 increases the seriousness of workforce challenges ahead. For example, almost half of Hacienda
 employees have been in government for over 20 years. Having long tenure but limited upward
 movement and training means that some employees may not have the “future skills” that are
 necessary for continued mobility. Similarly, employees with long tenure are more likely to have
 an outdated job description, with responsibilities that might be currently obsolete. And given high
 attrition rates across the Government, Hacienda will need succession planning efforts as well as
 effective sources and methods for recruiting and retaining candidates to avoid the loss of technical
 expertise in mission-critical skills.
 In order to solve these workforce challenges, a clear and fact-based understanding of the human
 capital situation at Hacienda and other auditing areas at Component Units is required to align
 “people policies” to performance goals. Instead of adding additional accountants or establishing
 a new Uniform Remuneration Plan (URP) in a vacuum, the Government should work on
 developing a comprehensive human capital plan for financial management and reporting
 functions, using data and analysis to address specific areas, like strategic alignment, talent
 management, performance, and evaluation.


          A human capital pilot to enable timely and effective
          financial reporting processes in the Government
 The Government, in close collaboration with Oversight Board staff, has commenced the CSR Pilot
 to achieve an aligned and sustainable human capital strategy to meet future financial reporting
 challenges at the Commonwealth. The Pilot has the following objectives:
 ■   Align the Commonwealth’s workforce capabilities and organizational structures to better meet
     objectives
 ■   Enable the Commonwealth to recruit and retain the right talent needed to meet financial
     reporting requirements


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 ■   Augment employee development through standardized training, evaluation, and knowledge
     transfer
 ■   Optimize processes, technology, compensation, and policies to effectively support human
     capital management
 ■   Redesign employee evaluations, training, and succession planning to promote employee
     motivation, professional development, and retention
 The Government, jointly with the Oversight Board, assembled a Pilot Project Team (PPT)—
 comprised of Hacienda, the Office of Management and Budget (OGP, by its Spanish acronym),
 OATRH, the Fiscal Agency and Financial Advisory Authority (AAFAF, by its Spanish acronym)
 and the Oversight Board—to perform ongoing weekly tracking and reporting of the Pilot. The PPT
 is also in charge of reviewing current and future state documentation, such as operational
 structures, job descriptions, headcount, budgets, human resources policies and procedures, and
 previous financial reporting reports. Upon reviewing all the information, the PPT conducted a
 current state gap analysis in skills, abilities, and knowledge, and then define future state
 competencies and activities for finance and accounting roles at Hacienda and OGP. Based on the
 assessment, the PPT developed recruitment policies and processes and an actionable roadmap for
 Pilot implementation, prioritizing key positions for talent interventions.
 The Pilot was developed in phases. Exhibit 74 includes detailed actions, timelines, and milestones
 that required action by the Government to make progress in the Pilot.

 EXHIBIT 74: PILOT MILESTONES AND PHASES




          Oversight Board and pilot implementation collaboration
 In addition to being a member of the PPT, the Oversight Board must play an active role in
 overseeing all aspects of the Pilot implementation. The Government must work with the Oversight
 Board and its staff to effectively implement key deliverables of this Pilot to ensure overall progress
 against objectives outlined in this chapter. The Government must work with the Oversight Board
 staff to evaluate existing processes, analyze the problem areas, and develop a new financial
 management structure and a human capital plan for the future.


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 While the implementation of the pilot is still under way, significant progress has been made so far
 thanks to ongoing collaboration efforts between the government and Oversight Board staff. The
 Government has worked with the Oversight Board staff on key deliverables of the Pilot, including
 a current state assessment, a workforce capability matrix and report, workload analysis summary,
 skills inventory, future state operating model / organizational structure design, short- and long-
 term recruitment strategies, revised recruitment policies and procedures, prioritized talent
 interventions, and an actionable implementation roadmap, exclusive of identifying contractor
 support for implementation.


          From pilot to government-wide CSR implementation
 Once the audit of the Pilot is completed and it is determined by the Oversight Board that the Pilot
 objectives and critical milestones were met on a timely manner, the 2022 Fiscal Plan provides
 support and funds for a larger-scale implementation and roll out of CSR.
 While the implementation of the pilot is still under way, the Oversight Board understands the
 urgency of updating compensation structures to better recruit, retain, and motivate the workforce.
 But, as aforementioned, increasing salaries without meaningfully reforming the civil service will
 fall short in addressing the perennial structural problems in human resource management (HRM)
 in the government. That is why the Fiscal Plan should link these two efforts together. To address
 the urgency with compensation structures, the Fiscal Plan should include all URP compensation
 changes in FY 2023. However, the effective date of the URP implementation should be January
 2023, pending compliance with the following milestones:
 ■   CSR Pilot implementation at Hacienda and OMB completed and deemed successful by
     Oversight Board evaluation report
 ■   New URP (government-wide) agreed by Oversight Board and OATRH
 ■   Rollout implementation plan (roadmap) agreed by Oversight Board and Government for all
     remaining CSR workstreams
 ■   Organization design rollout implementation roadmap agreed by Oversight Board and
     Government
 ■   New systemwide recruitment system/processes developed and IT solution ready to be
     launched for the rest of URP government employees by January 2023
 ■   New systemwide employee evaluation system/processes developed and IT solution ready to
     be launched for the rest of URP government employees by January 2023
 Additionally, the government must continue with the implementation of time and attendance
 reporting project, which began at the Department of Education in March 2021. In order for the
 URP to take effect in January 2023, the Government must successfully deploy and implement
 time and attendance system for 87% of the CSR impacted employees by December 2022. Exhibit
 172 provides a list of agencies that need to have successfully completed implementation of the
 automated time and attendance/payroll project.
 Upon completing the established milestones, implementation roll out for all CSR workstreams
 would begin in January 2023. The Government should continue to work with the Oversight Board
 on cultivating a high-performing public workforce in Puerto Rico by aligning the Government’s
 workforce capabilities with organizational structures, and redesigning evaluation and recruitment
 processes to promote employee development and accountability. These efforts, together with a
 new URP system, will enable the Government to better recruit, retain, and motivate the right
 talent, augment employee development, and optimize human resources management at the
 Commonwealth.


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 The PPT will be tasked with developing a scaling roadmap detailing where, when, and in what
 order to expand CSR. Exhibit 75 details the CSR and time and attendance project implementation
 timeline, including the essential steps and milestones that need to be completed to deploy the
 larger-scale CSR.

 EXHIBIT 75: IMPLEMENTATION TIMELINE FOR CSR AND TIME AND ATTENDANCE
 PROJECT




          Funding the CSR Pilot and larger-scale implementation
 The Oversight Board estimates that the CSR Pilot will cost $11.5 million in FY2022, which includes
 $1.5 million in implementation costs. In addition to this amount, the 2021 Fiscal Plan had
 allocated $83 million for the implementation of the new URP. After conducting a thorough salary
 benchmarking analysis using local market data for all pilot employees, the PPT found that
 adjusting employee salaries to local competitive rates would cost an estimated 20% more than the
 URP budget request submitted by the Government last year. Therefore, to ensure enough funds
 are available to bring all government positions to market rates, the 2022 Fiscal Plan increases the
 CSR budget by 20%, or $16.6 million more than what was initially allocated in the 2021 Fiscal
 Plan.
 Moreover, after conducting high-level organizational reviews in several key areas within pilot
 agencies, the PPT found that there are limited technical and leadership skills critical to propel and
 implement needed reforms to maintain fiscal controls, drive strategic objectives, and promote
 accountability, efficiency, and effectiveness in the government. As a result, the 2022 Fiscal Plan
 also allocates $33 million annually in addition to the amount allocated in the 2021 Fiscal Plan,
 increasing by inflation, to recruit approximately 500 additional positions across the government
 to address critical skills gaps. This will be done by tapping into external talent pools and top-
 performing current government employees for in-demand skills and competencies to support the
 digitalization of the Government, drive operational effectiveness and provide strategic planning
 and advisory support in key government functions. These positions will be identified after high-
 level organizational reviews are conducted by the PPT, which will provide future state


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 organizational design and workforce capabilities investment recommendations to enable
 government transformation. The PPT will be responsible for identifying future state
 recommended roles at the various in-scope agencies, developing detailed job descriptions as
 needed, and initiating the recruiting process for future state roles using the new CSR recruitment
 platform.
 As the CSR Pilot scales, the Government and Oversight Board estimate that it will cost $132
 million per year in General Fund expenditures. The 2022 Fiscal Plan includes almost $1.847
 billion in investment in FY2022-FY2051 to cover much of the run-rate costs of the program, while
 it expects the Government to fund a portion through savings generated through its Time &
 Attendance project.
 On March 8, 2021, the Puerto Rico Department of Education (PRDE), in conjunction with AAFAF
 and Hacienda, officially launched and implemented a Time and Attendance (T&A) project that
 allowed the Department to determine which employees were being paid while no longer active or
 employed. Already, $19 million in run-rate General Fund savings have been identified through
 PRDE’s efforts. Implementation of T&A is estimated to save $47 million annually by ensuring that
 only active employees who show up to work get paid.

 EXHIBIT 76: CSR COSTS AND SAVINGS254




                           The Financial Management Agenda

            Introduction to the Financial Management Agenda
 For the past two decades, Puerto Rico has been in a cycle of economic distress, whereby the phase-
 out of favorable federal tax policy was followed by a recession, population loss, underfunding of
 pensions, and overborrowing by prior administrations to maintain basic services as revenue
 vanished. The cycle has been accelerated by devastating natural disasters, financial malfeasance,
 and the COVID-19 pandemic.
 When the Government’s debt burden became unsustainable, Congress passed PROMESA,
 establishing the Financial Oversight & Management Board for Puerto Rico (“Oversight Board”) to
 provide a method to achieve fiscal responsibility and access to the capital markets, ensuring the
 funding of essential public services, and improving fiscal governance, accountability, and internal
 control.
 Today, after five years under PROMESA, Puerto Rico is exiting bankruptcy. The people of Puerto
 Rico will rightfully celebrate this milestone, but in fact it is just the first step on a long road to


 254 PRDE in FY2022 already achieved $22 million of savings as a result of T&A implementation in FY2021 of which $11.5 million will
     go to pay the Civil Service Reform in FY2022


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 economic recovery and renewal. The Government must keep moving forward, restore the Island’s
 prosperity and fiscal responsibility, and ensure that Puerto Rico never returns to fiscal insolvency.
 Achieving fiscal and economic health will require the kind of resolve the people of Puerto Rico
 have shown throughout their history. Even with the reduced debt load achieved with the Plan of
 Adjustment, Puerto Rico’s finances will require further actions to be structurally sound. Success
 is dependent upon cooperation from all sectors of society and fundamental changes in the way
 Government does business.
 Should the Government improve how it manages resources, fiscal stability can be achieved while
 meeting the basic needs of the people of Puerto Rico and investing in a brighter future. The
 Government management improvements should be guided by the following principles:
 ■   Goal-oriented, setting clear milestones for success
 ■   Innovative in overcoming obstacles
 ■   Accountable for results
 There are many obstacles in the way of the change Puerto Rico needs. Government’s technology
 is often outdated, its workers are underpaid and undertrained, and resistance to new policies and
 practices is real. That said, overcoming obstacles is a way of life for the people of Puerto Rico.
 The Financial Management Agenda (“Agenda”) is about focusing on urgent problems and solving
 them.
 The Agenda contains an ambitious set of initiatives to improve financial management and deliver
 results that matter to the Puerto Rican people. Specifically, it:
 ■   Requires the Government’s commitment to achieve immediate, concrete, and measurable
     results
 ■   Focuses on remedies to serious problems and commits to implement them fully
 ■   Is being undertaken in advance of, not instead of other needed management improvements
 Implementing the Agenda and improving financial management will have direct and positive
 impacts on the lives of the people of Puerto Rico. It will enable the Commonwealth Government
 to access capital markets and invest in Puerto Rico’s future at affordable rates. It will ensure
 federal disaster aid is put to use to rebuild critical infrastructure and help families and businesses
 get back on their feet. And finally, it will prevent misuse of taxpayer dollars.

 A coherent plan
 The initiatives in the Agenda are carefully chosen to lay a foundation for success, build on progress
 that has already been made, and achieve milestones that are most critical for restoring Puerto
 Rico’s financial responsibility.
 The 12 initiatives are grouped into three categories: Foundational, Central, and Supporting.
 The Foundational initiatives are Office of the Chief Financial Officer (“OCFO”) and CSR.
 These initiatives will provide the Commonwealth the clear leadership structure, capable
 workforce, and modern technology essential to implementing the other initiatives.
 Establishment of the OCFO, already underway, aligns financial management functions across
 Government under singular leadership, enabling consistent policies and procedures,
 accountability for timely financial reporting, efficient resource use, and sharing of expertise and
 best practices.



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 The OCFO initiative also includes completing deployment of an Enterprise Resource Planning
 (“ERP”) system that will replace a patchwork of accounting, procurement, and HR software with
 one platform that streamlines financial reporting, prevents errors and fraud, protects data from
 hackers, and provides tools to enable smarter spending decisions. The 2022 Fiscal Plan
 projections include $10 million per year beginning in FY2023 for five years of capital expenditures
 to support the implementation of the ERP system.
 CSR, which is being piloted in the Department of Treasury (“Treasury”) and the Office of
 Management and Budget (“OMB”), and then scaled across Government, will result in more
 competitive compensation and better recruiting, training, and performance management for
 public service employees. A skilled, motivated workforce is essential to implementing the Agenda.
 Section 209 of PROMESA (Termination of the Oversight Board) provides for termination of the
 Oversight Board upon certification that:

     An Oversight Board shall terminate upon certification by the Oversight Board that:
     1) the applicable territorial government has adequate access to short-term and long-term
        credit markets at reasonable interest rates to meet the borrowing needs of the territorial
        government; and
     2) for at least 4 consecutive fiscal years--
        A. the territorial government has developed its Budgets in accordance with modified
            accrual accounting standards; and
        B. the expenditures made by the territorial government during each fiscal year did not
            exceed the revenues of the territorial government during that year, as determined in
            accordance with modified accrual accounting standards.


 The four Central initiatives are specifically designed to meet these conditions.
 Timely Audited Financial Statements are a prerequisite for issuing bonds at reasonable interest
 rates, and Debt Management Policy Implementation is necessary to assure investors and
 safeguard against future overborrowing and ensure future market access.
 Budget Best Practices and Federal Funds Management work together to help Government more
 accurately forecast available revenue, prepare, and adhere to responsible spending plans, and
 maximize the use of federal funding to supplement local revenue sources – all necessary
 components to enabling the certification of four years of balanced budgets of the territorial
 government under PROMESA.
 The six Supporting initiatives represent actions needed to prevent waste, fraud, and abuse,
 make more effective use of the Island’s assets, and professionalize the management of government
 resources.
 ■     Automated time and attendance will ensure that only active employees who are working get
       paid.
 ■     Cash & bank account monitoring will close idle government bank accounts and reduce
       erroneous bank account activity and inaccurate cash reporting.
 ■     Procurement best practices will make government purchases transparent to the public,
       reduce non-competitive contract awards, and standardize procurement rules across
       departments.
 ■     Non-partisan legislative scoring will ensure that the fiscal impact of legislative actions is
       accurately estimated and budgets are based on revenue forecasts prepared by well-trained
       experts.


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 ■   Real estate best practices will ensure that all government-owned property is accounted for,
     properly maintained, and delivers maximum value to the people of Puerto Rico.
 ■   Real property registry will streamline the land registration process, verify ownership of all
     land on the Island, and assist with the enforcement of taxes and distribution of disaster relief
     funding.
 Implementing the agenda
 The Government must take several steps to ensure that the Agenda initiatives are implemented in
 a coordinated manner that delivers on promised results. The Fiscal Plan recommends to:
 ■   Establish a Governor’s Management Council (“GMC”) consisting of the chief operating officers
     (or equivalent senior officials) of major agencies and Commonwealth public corporations
     (Exhibit 78). The GMC, headed by the Governor, with the CFO as deputy, will serve as a
     steering committee for the Agenda’s implementation. Importantly, the GMC provides a way
     for leadership across agencies to support government-wide priorities and to build a
     community of management practice that identifies obstacles, solves problems, and innovates
     together
 ■   Create detailed implementation plans for each initiative, with definitive timelines, milestones,
     action steps, budgets, and responsibilities.
 ■   Designate Financial Management Centers of Excellence. Implementing and maintaining
     modern financial management standards across more than 100 units of government risks
     uneven and inconsistent implementation, reliance on expensive consultants and contractors,
     and, ultimately, failure. To provide Puerto Rico the best chance for success and make the most
     of limited resources, the Fiscal Plan recommends that the Governor direct a small number of
     large agencies to meet standards of financial management excellence and provide financial
     services to smaller entities.
 ■   Implement an accountability structure that includes:

     – Public scorecards showing the status and progress of Agenda initiatives
     – A “FinanceStat” program that tracks government-wide and agency-level financial
        performance and results and quickly identifies and corrects problems

     – Recognition awards for individuals, teams and agencies that meet and beat performance
        targets
 A shared responsibility
 Realizing the goals of the Agenda will require a team effort, with cooperation from many partners.
 The Fiscal Plan recommends that the Government call on these partners to play key roles in the
 Agenda’s success.
 The legislature will be asked to support policy changes that institutionalize strong financial
 management, provide the resources needed to implement initiatives, and exercise oversight to
 hold agencies accountable for results.
 Government employees will be asked to adapt to new ways of doing business, upgrade their skills,
 and approach the hard work of implementation with a can-do spirit. This Agenda is intended to
 give civil servants a greater role and stake in Puerto Rico’s fiscal future.
 The private sector will be asked to lend its expertise to help government leaders and front-line
 workers fix broken processes, deploy new technology, and manage change.




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 The public will be asked for its patience as the Government implements the Agenda. Although
 improving how the Government manages money may not capture the imagination, these
 initiatives will result in long-term benefits that impact everyone in a positive way.
 The expected results
 Exiting bankruptcy comes with both opportunities and obligations. Puerto Rico can move forward
 towards financial responsibility and economic renewal but must make major changes to how it
 manages public funds. The changes detailed in the Agenda will collectively bring about an array
 of benefits that residents of Puerto Rico will see and feel.
 ■   Puerto Rico will be able to access financial markets for long-term investments in better
     schools, transportation, energy transmission, clean water, broadband, and other initiatives
     that benefit the people of Puerto Rico.
 ■   Businesses will be attracted to the Island, sparking economic renewal and population growth,
     reversing decades of decline.
 ■   Government budgets will be based on facts instead of fiction, and the combination of more
     complete and timely financial data and more efficient financial systems will enable leaders to
     make better use of available resources.
 ■   Residents of Puerto Rico will know how their tax dollars are being spent and can be confident
     that the Government is no longer wasting millions of dollars due to mismanagement and
     fraud.
 ■   The Government will be able to pay competitive salaries, lure back talent that has migrated
     off the Island, and deliver services that exceed customer expectations.
 The people of Puerto Rico have persevered through challenges throughout their proud history.
 They know the meaning of hard work, sacrifice, and living within your means. They deserve a
 government that exhibits all of those qualities. The Agenda is a call to action and a compass
 pointing the way.


          Foundational Initiatives (OCFO/ERP, CSR)

 13.2.1    Office of the Chief Financial Officer
 One of the key goals of PROMESA is for fiscal accountability to be quickly and permanently
 ensconced in the Government, which entails the creation of a strong Office of the Chief Financial
 Officer (OCFO). By centralizing key financial management functions (e.g., financial reporting,
 procurement, payroll) under a capable and well-resourced OCFO, the Government can address
 long-standing issues that have arisen under the Island’s historically decentralized financial
 management regime.
 On March 9, 2021, the Governor issued Executive Order 18-2021, which repealed and replaced
 prior administrative orders to create the OCFO. The OCFO will centralize all financial
 management functions for the Commonwealth. The goal is to provide a uniform and coordinated
 structure to support fiscal governance and transparency. The OCFO will be instrumental in
 implementing the new comprehensive ERP system that will support financial data recording,
 reconciliations, and timely interim and year-end financial reporting as well as timely preparation
 and audit of its financial statements.
 Over time, relevant responsibilities presently distributed across various Government agencies
 should be consolidated within a legislated OCFO. After this consolidation, the Government should
 consolidate or eliminate the following agencies:



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 EXHIBIT 77: LIST OF AGENCIES IN FUTURE STATE OCFO GROUPING




 The OCFO consolidated agencies and advisory committee are shown in the organizational chart
 below:

 EXHIBIT 78: OCFO CONSOLIDATED AGENCIES AND ADVISORY COMMITTEE




 The Agenda calls for strengthening the OCFO in line with the following core objectives and
 responsibilities:
 ■   Centralizing treasury and liquidity management to:

     – Enforce and manage a consolidated Treasury Single Account (TSA) for the Government
       that controls and offers visibility into all Government bank accounts (to the extent
       possible), including those of component units (CU) at private banks

     – Enable all other public entities to maintain zero balance sweep accounts
     – Empower the OCFO to serve as the sole authority for Government bank account creation
       and closure—facilitating liquidity reporting, monitoring, and analysis

     – Facilitate the rationalization of the Government’s account portfolio to support
       maximization of earnings, cash pooling, daily cash sweeps and treasury operations, and

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        implementation of uniform accounts payable and disbursement prioritization processes
        and reports
 ■   Enhancing the budget development process by improving monitoring and performance
     tracking to:

     – Comply with the recently-issued Oversight Board budget guidelines to develop an auditable
        budget that is readily-traceable to the 2021 Certified Fiscal Plan and its priorities

     – Forecast and manage the seasonality of tax receipts
     – Forecast and report the fiscal cost of tax credits
     – Oversee all tax decrees and tax agreement issues
     – Operationalize the financial system budget to ensure consistency between accounts and
        facilitate their monitoring

     – Estimate, protect, and enhance tax collections and revenue streams
     – Establish budgetary priorities—namely, effective expenditure controls and Government-
        wide procurement reforms

     – Develop budgets using detailed and granular account level structures for expenditures and
        revenues accounting through standard guidelines followed by all Commonwealth agencies

     – Report revenues and expenditures’ budget-to-actuals for the General Fund, Special
        Revenue Funds, and Federal Funds on a recurring monthly basis
 ■   Driving the standardization and integration of the Government’s financial information
     technology (IT) systems to:

     – Identify disparate systems being used for financial tracking and reporting
     – Establish a roadmap to standardize and integrate systems to the fewest possible
     – Orchestrate the integration across agencies, including defining new policies and
        procedures, coordinating data migration and validation, and training system users to
        effectively utilize new systems

     – Improve and standardize processes that support and contribute to the accuracy of financial
        information provided to the ERP

     – Evaluate current laws which exempt certain government entities from the Puerto Rico
        Government Accounting Act. While some entities are mandated by law to maintain fiscal
        independence, these entities could still leverage central financial IT systems to reduce costs
        and automate current processes
 ■   Ensuring compliance with procurement, contract, pension, and human resource management
     policies across Government agencies to:

     – Certify all contracts, bills, invoices, payroll charges, and other evidence of claims, demand,
        or charge relating to the Government and entities reliant upon its taxing authority by
        prescribing receipts, vouchers, and claims for all agencies to leverage

     – Manage centralized health insurance procurement and policy management




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     – Oversee human resources, Government payroll operations, and all Government-related
       financial transactions. Implement uniform time, attendance, and overtime processes,
       payroll controls, and reporting standards
 ■   Strengthening oversight of Special Revenue Funds (SRF) through enhanced control
     mechanisms to:

     – Implement processes and guidelines that improve stewardship and centralization of all
       SRFs

     – Ensure all revenue streams attributable to SRF are deposited within the TSA
     – Improve centralization of revenues and expenditure budget-to-actual reporting and
       accounting of transactions in a centralized accounting system
 ■   Improving the timeliness of the Government’s annual audited report (Annual Audited Report)
     and financial reporting to:

     – Produce unqualified Annual Audited Reports in accordance with GAAP standards and
       leverage new forecasting, e-settlement, and analytics capabilities for FY2019 onward
       within established regulatory timeframes

     – Issue the FY2019, FY2020, and FY2021 Annual Audited Reports no later than August 2022
     – Implement long-lasting standard reporting processes and policies to ensure FY2022 and
       beyond audit issuances can occur within six months of a fiscal year end

     – Support stronger implementation of measures required by the 2021 Certified Fiscal Plan
       and more robust reporting of actuals

     – Supervise property tax assessment reforms, prepare tax maps, and provide notice of taxes
       and special assessments
 ■   Centralizing and validating the management of Government funds, debts, and other financial
     transactions to:

     – Maintain custody of all public funds, investments, and cash
     – Administer cash management programs to invest surplus cash
     – Facilitate short- and long-term borrowing programs
     – Establish accountability over all Government funds, property, and assets
     – Oversee all tax decrees and agreements issued
     – Publish an annual Tax Expenditure Report (“TER”) that identifies and quantifies all tax
       expenditures (initial report published in September 2019 for tax year 2017, 2018 report
       published in May 2021)
 ■   Overseeing the Implementation of the 2022 Certified Fiscal Plan to:

     – Enable all Government agencies to comply with efficiency measures stipulated within the
       2022 Certified Fiscal Plan

     – Facilitate timely and targeted interventions to address areas of underperformance relative
       to efficiency measures
 ■   Ensuring robust management of new federal funds to maximize and optimize their usage to:


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     – Assign leaders to spur accountability and improve transparency
     – Establish mechanisms to coordinate with federal counterparts
     – Plan for financial inflows
     – Provide appropriate resources for agencies to handle the influx of demand
 The problem
 ■   The financial management of the Government is divided among five independent offices
     making financial decisions regarding treasury/cash management, budgeting, fiscal planning,
     procurement, and human resources.
 ■   Puerto Rico lacks a centralized and efficient ERP system that all Commonwealth entities can
     use for accounting and budgeting purposes. Multiple, fragmented financial systems make
     preparation and reconciliation of financial statements time consuming and difficult, increase
     error rates, and prevent coordinated planning.
 ■   Puerto Rico’s ERP implementation process has suffered many cost overruns and
     implementation delays.
 ■   Policies and procedures for accounting and finance are inconsistent across the
     Commonwealth; for example, a monthly closing requirement for all entities does not exist and
     most entities rely on their own processes and timelines. Circular Letter No. 1300-05-22 was
     issued by Treasury on August 12, 2021 attempting to resolve the issue by requiring entities to
     provide a work plan to comply with the requirement of closing on or before the 20th of the
     following month. A collaboration was established with the Office of the Inspector General to
     oversee compliance with this requirement.
 ■   Reporting of financial information is not centralized; in particular, there is no consolidated
     budget-to-actual report, which hinders the management and control of resources. The
     General Service Administration (“GSA”) lacks support and authority to implement
     systemwide procurement across Government, meaning higher costs for goods and services,
     duplicative purchasing, and lost opportunities for innovation. Although centralized cash
     reporting and monitoring has been started by the Puerto Rico Fiscal Agency and Financial
     Advisory Authority (“AAFAF” for its Spanish acronym), the reporting excludes several
     entities. Additionally, control over the creation, modification and closing of bank accounts is
     not centralized or coordinated.
 ■   There is no ledger of all Commonwealth assets (including owned real estate). The
     decentralized management of these assets places them at risk of theft, misuse, and
     devaluation.
 The OCFO lacks adequate staffing with appropriate skills and competencies to achieve the
 mandate set forth in the Executive Order 18-2021. These deficiencies have caused delays in
 achieving progress across the breadth of the OCFO’s directives.
 The initiative
 The OCFO, to the extent permitted by legislative authority, will invoke full authority and control
 over all accounting and financial management of the Commonwealth to support consistent and
 uniform policies and procedures. To the extent that there are legislative impediments to the
 exercise of full authority, these will be identified and revisions will be requested.
 The following are key areas of progress needed to realize the vision of the OCFO:
 Enterprise Resource Planning (“ERP”) System



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 The OCFO will prioritize the implementation of the ERP as a driver for change in organizational
 processes, procedures, and staffing requirements. The Government must document and
 standardize all processes that lead up to recording transactions and must replace processes that
 are redundant or inconsistent with those contained in the new ERP. As these processes change,
 so do the roles of the people executing them, providing an opportunity to consolidate functions.
 During the process of implementing a new ERP system, the OCFO will educate all individuals
 involved in the transaction flow on the importance of their role to the overall integrity of the new
 ERP. The Government should not be automating inefficiencies but rethinking the processes to
 take maximum advantage of the controls built into the new system and be constantly vigilant at
 pushing back on modifications allowing for old processes and procedures to continue. In this way,
 the implementation of ERP can be a key driver of efficiency and accuracy of financial functions.
 The 2022 Fiscal Plan recommends the OCFO complete the required implementation items
 displayed below in Exhibit 79:

 EXHIBIT 79: ERP REQUIRED IMPLEMENTATION ACTIONS




 The Commonwealth will limit its reliance on contracted resources to assist with the
 implementation of the ERP. The ERP steering committee will ensure that the new ERP is fully
 functional for centralized Government entities by FY2024 and functional for component units by
 FY2027 and the system remains up to date and meets the evolving financial challenges of the
 future.
 Financial controls
 ■   Standardize accounting policies and procedures across Government. OCFO will prepare
     circular letters guiding all Commonwealth entities to close their books monthly and report
     monthly and annual results to OCFO. This will be achieved through a standard chart of
     accounts, automated journal entries, and automated reconciliations supported by the ERP
     system.


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 ■   Revise procurement procedures to increase transparency and lower costs.

     – OCFO will implement a transaction monitoring process for all entities, lower the threshold
        for competitive purchases, manage centralized insurance policy procurement, and build a
        searchable procurement portal within the ERP system that will make information on bid
        winners available to the public.
 ■   Enforce and manage a consolidated Treasury Single Account (“TSA”) for the Government that
     controls and offers visibility into all Government bank accounts including those of component
     units at private banks. All other public entities will maintain zero balance sweep accounts.

     – The OCFO will serve as the sole authority for Government bank account creation and
        closure—facilitating liquidity reporting, monitoring, and analysis.

     – The OCFO will implement a monthly cash utilization report.
     – The OCFO will keep a record of all transactions at the time of occurrence.
 ■   Account for all Government funds, property, and assets, and:

     – Produce, monitor, and manage the Central Government’s capital plan in coordination with
        all relevant executive branch agencies

     – Oversee the preparation of a consolidated list of all real estate assets owned by the
        Commonwealth

     – Issue a monthly report with summary analysis of all Commonwealth investments
 ■   Hire adequate staff to oversee all mandates established in the Executive Order 18-2021

     – A market assessment of available resources will be completed to develop strategies to
        attract talent.

     – CSR will assist in solving staffing and experience shortfalls.
 The 2022 Fiscal Plan recommends the following implementation items displayed below in Exhibit
 80:




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 EXHIBIT 80: OCFO REQUIRED IMPLEMENTATION ACTIONS




 Consolidation Savings
 The Office of Management and Budget (OMB), the Office of Administration and Transformation
 of Human Resources (OATRH, by its Spanish acronym), and the General Services Administration
 (GSA) will achieve significant savings as part of their consolidation under OCFO.
 During 2021 the Government focused efforts on implementing the Procurement Reform Act by
 appointing required leadership positions, formalizing the Uniform Regulation for Purchases and
 Bids of Goods, Works and Nonprofessional service and finalizing the transfer of procurement
 employees from Central Government agencies as provided for in a circular letter published in
 January 2021. Although these milestones have advanced procurement centralization that will
 continue during FY2022, savings have not yet been materialized given delays in reform
 implementation. To achieve the 2021 Fiscal Plan savings projections, OCFO reforms will be
 implemented at the pace outlined below in Exhibit 80.
 OCFO will also continue driving consolidation and other reforms to achieve recurring impact
 through FY2026 outlined in Exhibit 81 below. During the 2022 Fiscal Plan period, personnel
 measures will continue to deliver run-rate savings of $26 million and non-personnel efficiencies
 of $76 million by FY2026.




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 EXHIBIT 81: OCFO INVESTMENTS AND MEASURES SUMMARY OF IMPACT




 Investment Requirements

 The OCFO has requested $3,050,000 to support the implementation of financial management
 initiatives. The Oversight Board approves $500,000 of this amount for the remainder of FY2022
 and will approve the remaining $2,550,000 for FY2023 contingent on the OCFO delivering by
 May 30, 2022 detailed action plans for the following initiatives in the Financial Management
 Agenda: Timely Audited Financial Statements, Budget Best Practices, and Federal Funds
 Management.

 The action plans must include the information listed below for each of the initiatives’ action items
 in the Financial Management Agenda and be approved by the Oversight Board:
 ■   Name of action item
 ■   Name and description of implementation steps required to achieve action item/milestone
 ■   Lead agency and point person for each implementation step
 ■   Start and end dates for each implementation step
 ■   Gantt chart that graphically displays the implementation schedule

 Expected results
 ■   Upon completion of the ERP, all entities will be integrated and connected to a centralized
     accounting and financial information system to improve the accuracy and timeliness of
     financial reporting.
 ■   Reporting of all financial information of the Government will be accurate, transparent, and
     consistent with public sector accounting standards.
 ■   The Governor’s executive team will have financial information to support decision making,
     including developing and executing budgets that deliver desired results within available
     resources.
 ■   The Government will have centralized procurement of real estate, technology, and other
     mission-support assets and services across the Government.


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 ■   Consolidation of all public funds will support maximizing investments and improving cash
     management.
 ■   Transactions will be recorded at the time of occurrence. Information on transactions and their
     flow through processes will be transparent and accessible by all interested parties.
 ■   Central management of assets will ensure public funds are earning the most return possible
     to benefit the people of Puerto Rico.
 ■   The centralized finance office will improve stakeholder confidence in Puerto Rico and support
     long term growth of the economy. Stronger internal control procedures will provide
     accountability and oversight of all Commonwealth resources.

 13.2.2    Civil Service Reform
 A capable, motivated civil service is essential for successfully implementing and institutionalizing
 the initiatives in the Agenda. Past attempts at CSR in Puerto Rico have fallen short, which is why
 the Governor and the Oversight Board are collaborating to pilot a series of human resource
 management best practices in Puerto Rico’s core financial agencies, Hacienda, and the Oversight
 Board.
 The problem
 ■   A high-performing government requires a workforce that is well-trained and educated, fairly
     compensated, and effectively managed. The Commonwealth Government’s workforce falls
     short of these requirements.
 ■   The Commonwealth Government’s workforce is less educated than federal and state
     government workforces.

     – One-third of Puerto Rico’s Government employees have a high school degree or less,
       compared to only 20% in the federal government. When compared to states, Puerto Rico
       has one of the highest proportions of employees with a high school degree or less (only six
       states have a higher proportion).

     – Only 16% of the Commonwealth Government workforce have graduate degrees, compared
       to 30% in the federal government. When compared to states, Puerto Rico has one of the
       lowest ratios of graduate degrees in its workforce.
 ■   Pay for Commonwealth employees is not competitive on the Island, much less with the
     mainland, and the compensation structure is unfair.

     – Government workers with a high school degree earn a little over $25,000 a year, which is
       $3,000 (more than 10%) below the average salary in Puerto Rico ($28,437).

     – There is a significant wage discrepancy between trust employees (who fill non-civil service
       positions without a competitive hiring process) and career employees, even after taking
       into consideration differences in educational attainment, age, years of experience in the
       Government, position hierarchy or union status between them. Trust employees earn, on
       average, 45% more than career employees after controlling for these factors.
 ■   A large portion of the Commonwealth workforce is nearing retirement, and agencies are
     struggling to fill positions with qualified candidates.

     – The median age of the civil service workforce is over 50 years old.
     – The median years of service in government for employees is 21. Over the past decade,
       Puerto Rico has lost almost 300,000 working age adults to outmigration.


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     – Succession planning is weak or non-existent in most agencies.
 ■   The Government lacks a standardized performance management system. Most employees do
     not have documented work plans or receive formal feedback from supervisors. As a result,
     high-performing employees are not rewarded, and poor performers are neither trained nor
     terminated.
 The initiative
 ■   In 2021, the Governor and the Oversight Board initiated a CSR pilot with two Government
     agencies, OMB, and Treasury. The pilot is focused on core finance and accounting functions.
     Using lessons learned from the pilot, the CSR will expand to other Government agencies.
 ■   The objectives of the CSR Pilot are to:

     – Align the Commonwealth’s workforce capabilities and organizational structures with
        agency mission and goals through training and education

     – Identify and implement modern recruiting policies, processes, and procedures, enabling
        the Commonwealth to recruit and retain the right talent needed to meet financial reporting
        requirements. A new web-based recruitment platform will increase accessibility, reach, and
        accountability through a data-driven process

     – Augment employee development through standardized training, evaluation, and
        knowledge transfer

     – Benchmark position classification and compensation against the comparative market and
        make corrections for positions that are outside the competitive range

     – Redesign performance management and succession planning to promote employee
        motivation, development, and retention. This includes building a robust performance
        management system that can support skill development, clear paths to career
        advancement, and make employee appraisals meaningful

     – Integrate guidelines and regulations into a new HR digital records solution
 ■   The pilot will be evaluated, and successful solutions will be scaled Government-wide. A pilot-
     then-scale implementation approach enables Government leadership to see reforms in action
     and allows for policy changes and new programs to be adapted and modified as required prior
     to a larger-scale, government-wide implementation and rollout. This approach also allows
     leadership to get a more concrete and accurate idea of the operational and financial challenges
     that might be faced in the implementation of reforms
 Expected results
 ■   Agencies will have the tools they need to attract and retain talented people who will deliver
     high levels of performance.
 ■   Current Commonwealth employees will be properly trained and compensated to meet
     performance expectations.
 ■   Accountability for results will be clear and meaningful with positive rewards for success and
     real consequences for failure.
 ■   Residents will recognize improved service and performance and resident satisfaction will
     increase.
 ■   Government employee satisfaction will increase, encouraging retention of current employees
     while attracting new talent.



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 ■   Agencies will build, sustain, and effectively deploy the skilled, knowledgeable, diverse, and
     high-performing workforce needed to meet the current and emerging challenges of the
     Government and its residents.
 ■   The workforce will be able to adapt quickly in size, composition, and competencies to
     accommodate changes in mission, technology, strategy, and labor market.
 Additional details about the CSR initiative can be found in Chapter 12.


            Central Initiatives (Timely Audited Financial Statements, Debt
            Management, Budget Best Practices, Federal Funds Management)

 13.3.1      Timely Audited Financial Statements
 Puerto Rico has had fiscal management challenges for years that created growing Government
 deficits. For the Government to adhere to structurally balanced budgets reflecting ongoing fiscal
 discipline, it must be able to return to the timely publication of audited financial statements and
 related disclosure information, which is a key issue for regaining access to markets, in accordance
 with PROMESA. Best practice calls for audited statements to be published no later than 180 days
 after the end of each fiscal year.
 The problem
 ■   The Commonwealth has been late in completing its Annual Comprehensive Financial Report
     (ACFR). The most recent ACFRs, for fiscal years 2017 and 2018, were both published over 35
     months after the corresponding fiscal year ended. Delayed audits negatively impact the
     reliability of financial information used to forecast revenues and expenditures and ensure
     balanced budgets that are a condition for Oversight Board termination. Commonwealth
     management, bondholders, constituents, and other stakeholders are unable to rely on audited
     information to understand the allocation of resources, make short-term and long-term
     investment decisions, and assess credit worthiness.
 ■   The causes of delay in financial statement preparation are numerous. They include:
     – More than 26 different audit firms provide services to agencies and other organizations
          covered by the government-wide financial statements (also known as component units),
          causing complexities in coordination

     – A large amount of the information needed for financial statement preparation is processed
          manually

     – Commonwealth agencies and component units use multiple accounting systems that are
          not interfaced with one another

     – Outdated financial software leads to unposted accounting entries, unfinished cash
          reconciliations, and other problems

     – Financial data presented by agencies contains unreliable information and statements are
          not prepared in a timely manner

     – Control deficiencies identified by audits remain unresolved and corrective actions have not
          been implemented by agencies. Circular Letter No. 1300-03-22 was issued by Treasury on
          July 28, 2021 requiring entities to provide corrective action plans to resolve any
          deficiencies identified by auditors in the management letters. A collaboration was
          established with the Office of the Inspector General to oversee compliance with this
          requirement.


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 ■   Many government agencies lack appropriate staffing and technical capability to produce
     accurate and timely financial statements. Heavy reliance on contract accountants, with limited
     oversight from the OCFO, has created gaps in financial management competence and
     accountability.
 The initiative
 ■   Audited financial statements will be issued no later than six months after the end of the fiscal
     year, consistent with financial reporting best practices according to the Government Finance
     Officers Association (“GFOA”). To ensure this schedule is met, the Administration will direct
     that:

     – Component units audited financial statements are issued three months after the fiscal year.
     – Multi-year contracts are established to audit the ACFR and component units.
     – Reporting formats and distribution are standardized.
     – Auditors identify control deficiencies to managers and suggest corrective actions prior to
        publishing an audit.
 ■   Financial information will be consistently monitored and updated. Agencies and component
     units will:

     – Follow the policies and procedures that define and support a ‘record to report’ cycle, such
        as:
        □ Prepare monthly, quarterly, and annual accounting closings and financial statements

        □ Perform recurring monthly cash reconciliations to close accounting period

 ■   Agencies and component units will improve their internal capacity and capability to prepare
     timely and accurate financial statements.

     – Personnel will be provided with job-specific training.
     – Processing of data inputs for financial statements will be automated with the
        implementation of the ERP.
 Expected results
 ■   Consistency in financial reporting and informed policy decisions will build trust and increase
     stakeholder confidence allowing Puerto Rico to access the bond market at lower interest rates.
 ■   Timely reporting will allow for more accurate and precise forecasting of Puerto Rico’s revenue
     streams, account balances, and outstanding liabilities, enabling the Government to develop
     and execute balanced budgets.
 ■   Policy makers will be able to make decisions using up to date financial information.
 ■   Internal control deficiencies will be identified and addressed in a timely fashion, preventing
     waste, fraud, and abuse.




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 EXHIBIT 82: TIMELY AUDITED FINANCIAL STATEMENTS




 13.3.2    Debt Management Policy
 The problem
 ■   Puerto Rico has faced an unprecedented fiscal emergency for the past decade as a result of
     accumulated operating deficits and excessive borrowing. In 2016, when PROMESA was
     enacted, total bond debt owed by the Commonwealth, its municipalities, and public
     corporations was approximately $70 billion, having nearly tripled since 2001.
 ■   Under PROMESA, a significant amount of Puerto Rico’s debt has been restructured and
     additional restructurings are underway. However, such restructurings are not enough to
     ensure long-term fiscal sustainability without major policy changes. Standard & Poor’s credit
     rating for Puerto Rico stands at D with a negative outlook. This is the lowest rating possible,
     reflecting a default status, and substantially impacts the Government’s borrowing costs and
     severely limits access to credit markets.
 ■   Structural budget shortfalls and financial management weaknesses create pressure to
     continue unsustainable borrowing practices.
 ■   Puerto Rico lacks sound debt management policy and oversight for both General Obligation
     (GO) debt (backed by the full faith and credit and taxing power of the Commonwealth) and
     limited liability revenue debt (payable from specific revenue sources, whether issued by the
     Commonwealth or its public corporations).
 ■   A decentralized system with multiple debt issuers and unconnected systems of accounting
     across Government entities makes effective debt monitoring nearly impossible.
 ■   At the municipal level, several underlying challenges exist for the Commonwealth to actively
     monitor and support sub-borrowers, including the need for enhancing debt management
     practices, a lack of debt governance, the need to enforce repayment compliance of


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     intergovernmental payables, the need of recurring financial reporting (i.e., Fiscal budgets and
     B2A reports) and debt reporting to disclose financial capacity and condition of each
     municipality, as well as the need for a central repository that captures all municipal economic
     and financial data.

 EXHIBIT 83: PUERTO RICO GROSS OUTSTANDING DEBT ($ BILLIONS)1




 The initiative
 ■   The Commonwealth will adopt a comprehensive written Debt Management Policy with
     effective enforcement provisions through legislation and executive orders. AAFAF will use the
     obligations outlined in Sections 74.4 and 74.5 of the Commonwealth Title III PoA. At a
     minimum, the Debt Management Policy will clearly reflect the following items from the PoA:

     – The Debt Management Policy must be in writing: The policy should be relevant to
       the bond market conditions and standards which may require amendments in future years.
       The Oversight Board must approve the policy.

     – Long-Term borrowing for capital improvements only: Proceeds derived from any
       such issuance may be used to cover any and all direct and indirect expenses that, in the
       issuer’s reasonable discretion, are necessary to carry out such Capital Improvements.

     – 30-year maturity limitation on All Tax-Supported Borrowing: Debt issuances
       may not extend beyond 30 years from the original issue date, even in the case of
       refinancing.

     – Required Principal Amortization: All debt issues must begin principal amortization
       within two years of the original issuance date or up to five years as may be permitted under
       U.S. Internal Revenue Code for tax exempt financings.

     – Refinancing Permitted only for Cash Flow Savings in Every Fiscal Year:
       refinancing of debt must be less than or equal to original principal and interest payments
       and the present value must be less than the original issuance.


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     – Fiscal Plan Debt Service: All debt service must be included in the fiscal plan
 ■   Article 3 of the “Puerto Rico Debt Responsibility Act” (Act 101-2020) mandates that AAFAF
     adopt and maintain a Debt Management Policy applicable to the Government, its public
     corporations, and instrumentalities and allows the policy to be more restrictive than the
     requirements set forth in the Act. AAFAF will ensure that the Debt Management Policy is
     comprehensive, following best practices guidelines from other States and recommendations
     provided by the GFOA, the International Monetary Fund (“IMF”) debt management
     frameworks, and the Commonwealth Plan of Adjustment. If necessary, AAFAF will
     recommend amendments to Act 101-2020 to authorize the strongest possible policy. At a
     minimum, the regulations underlying the Debt Management Policy will clearly specify the
     following:

     – Firm restrictions, regular surveillance, and strict requirements by each type of debt
       obligation and the total Commonwealth debt, including debt issued by its public
       corporations.

     – Guidance for different types of debt, specifically i) General Obligation (“GO”) debt versus
       debt backed by a specific revenue source and ii) debt issued by the Commonwealth versus
       its public corporations, to provide clarity to future bondholders and creditors.

     – Debt limits by type of debt issued by the Commonwealth and its entities, while ensuring
       the “Comprehensive cap” is within the limit set by Section 74.4 of the Commonwealth Plan
       of Adjustment.

     – Coverage requirements, specifying necessary revenue requirements for debt service and
       coverage ratios objectively anticipated for pledged revenues.

     – Guidelines regarding the debt structuring practices for each type of debt, such as maximum
       term limit, maturity, payment schedule, redemption features, call and put options, line of
       credit, interfund and interagency borrowing, and other best practices.

     – Mandates for public disclosure to increase transparency and accountability.
 ■   Policies and procedures will be prepared to clearly identify the roles, responsibility and
     objectives of various agencies involved in debt management and such roles will be publicly
     disclosed to increase transparency and accountability.
 ■   AAFAF will conduct an annual review of the debt portfolio, risk assessment, and debt
     affordability and produce a comprehensive report on the composition of Commonwealth and
     public corporations’ debt and financial assets, including total debt, maturity schedules, and
     interest rate structure.
 ■   Audits of the Commonwealth’s debt management operations, debt manager’s performance,
     and systems and control procedures will be conducted regularly on a predetermined schedule,
     but no less than annually.
 ■   AAFAF and related entities will create a working committee to ensure that key factors used by
     credit rating entities are adequately addressed and incorporated into the action plan for the
     next several years to convey a positive debt position of the Commonwealth.
 ■   At the municipal (sub-borrower) level, AAFAF and OCFO will improve and enforce debt
     disclosure, debt reporting and debt analysis.
 Expected results
 ■   Implementation and enforcement of a strong debt management policy will restore Puerto
     Rico’s capital markets access. The implementation of such a policy will serve as a symbol to


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     rating agencies and capital markets that Puerto Rico manages debt effectively and will meet
     its debt obligations.
 ■   An effective debt management policy will demonstrate a commitment to long-term financial
     planning.
 ■   Effective debt management will assist in assuring resource availability, efficiency, and fiscal
     capacity to effectively meet the service needs of the population of Puerto Rico.
 ■   Long-term debt management policies will increase financial confidence in the government’s
     policies and make it easier for businesses to invest, for the Puerto Rico economy to grow, and
     for the people of Puerto Rico to prosper.
 ■   Proposed reforms for sub borrowers will (i) enhance transparency and disclosure between
     municipalities and their residents, (ii) increase awareness and accessibility of information,
     and (iii) facilitate analysis and interaction with important financial entities such as rating
     agencies, regulatory agencies, and other governments.

 EXHIBIT 84: DEBT MANAGEMENT POLICY




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 EXHIBIT 85: IMPROVING DEBT MONITORING OF SUB-BORROWERS




 13.3.3    Budget Best Practices
 PROMESA’s conditions for termination of the Oversight Board include that the Government
 budget in accordance with modified accrual accounting standards and that its expenditures do
 not exceed its revenues for four consecutive fiscal years. Meeting these conditions requires the
 adoption and implementation of best practices for budget development and monitoring, revenue
 forecasting, and accounting.
 The problem
 ■   The Commonwealth does not review forecasted revenues versus actual revenues on a frequent
     basis. This leaves the Commonwealth susceptible to overspending when actual revenues are
     lower than forecasted. Without regular and reliable budget-to-actuals reports, OMB and
     agencies are unable to adjust spending as needed to ensure balanced budgets.
 ■   Revenue forecasts are not developed in coordination with the expense budget to ensure they
     are aligned and flexible to variations in planned spending. When revenue forecasts are too
     aggressive, and expense budgets are inflexible, the Government is not able to fulfill its
     obligations within available resources.
 ■   Entities that manage Special Revenue Funds (SRFs) have no way of monitoring when related
     revenues are received or identifying SRF account balances. Moreover, some SRFs are
     unnecessary and should be consolidated into the GF and allocated in the annual appropriation
     process.
 ■   Spending of SRFs and Federal Funds is not formally appropriated by the Government, even
     though it is an integral part of the Commonwealth’s spending. The lack of oversight of these
     funds provides opportunities for misspending.
 ■   The Commonwealth cannot easily produce a consolidated report of all revenue and
     expenditures, and the budget reporting process is manual, time consuming, and ripe for error.
 ■   Commonwealth entities don’t have uniform regulations to close their books. Centralized
     reporting is inaccurate and contains a significant number of errors due to complex and


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     outdated reporting systems. Reports are generally delayed by at least three months after the
     end of month, far longer than comparable governments.
 ■   The Government still uses cash recognition for budgeting instead of modified accrual
     accounting as required by Section 209 of PROMESA.

 EXHIBIT 86: BUDGET TO ACTUAL REPORT SHORTCOMINGS




 The initiative
 ■   The OCFO will establish a revenue committee that reviews budget to actuals and provides
     guidance on the revenue forecast for the next twelve months. The revenue committee will be
     presented economic forecasts provided by the University of Puerto Rico and other experts to
     support a consensus view of macroeconomic trends. The recommendations of the revenue
     committee will provide parameters for the budget development and appropriations process.
 ■   The OCFO will propose legislation requiring quarterly revenue analysis and budgetary
     adjustments as necessary. The proposed legislation will include language to ensure a revenue
     source is identified prior to any spending bill enactment.
 ■   Each quarter the OCFO will present the results of the revenue and expense budget-to-actuals
     variance report, informing the public of any required spending changes based on
     recommendations from the revenue committee. The OCFO will be able to explain all variances
     from the original forecasted revenues.
 ■   The OCFO will propose legislation to amend Act 230-1974 to ensure OMB has authority to
     assign budgets for the entire Commonwealth.

     – OMB will prepare administrative orders (or propose legislation) ensuring that a
       consolidated budget is reviewed and certified annually. This will include all expenditures
       for all Commonwealth entities and will not be restricted to only the General Fund.

     – The OCFO will standardize accounting policies and procedures for month and year end
       financial close and develop documentation. This will standardize government-wide
       financial accounting processes to remove inconsistent adoption by agencies.


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     – OMB will develop a standardized reporting template for all Commonwealth entities
        (irrespective of ERP implementation). Circular letters will be drafted to ensure all entities
        are reporting budget to actuals timely and accurately each month.
        □ A report will be developed that includes (1) all sources of revenue (not just revenue that
           flows through the Treasury Single Account) and (2) all expenses for all entities utilizing
           the standard reporting template.
        □ Government-wide performance reporting metrics will be developed to support fiscal
           decisions.
        □ The OMB will have full authority over all Commonwealth entities and report monthly
           consolidated budget-to-actuals for revenues and expenses.
        □ Agencies and component units will report revenue in compliance with GASB standards
           to ensure consistent practices are used throughout the Government.
        □ The budgetary basis for determining a revenue and/or expense forecast will align with
           the ACFR to ensure resources are utilized efficiently within each fiscal year.
 ■   The OCFO will provide a summary of SRFs that can be consolidated into the GF and a list of
     SRFs that will maintain zero-balance sweep accounts.
 ■   In collaboration with the University of Puerto Rico, OMB will develop training materials to
     ensure all entities are using best practices to prepare budgets. OMB will host training seminars
     every two months for financial staff members.
 ■   The OMB will leverage OCFO staffing initiatives to increase the financial management
     capacity across government.
 Expected results
 ■   Creating a revenue committee that meets regularly will result in more accurate revenue
     forecasting and help prevent mid-year budget shortfalls and overspending.
 ■   Establishing budgetary control processes and regular budget-to-actuals reporting will ensure
     that spending is adjusted quickly in response to revenue shortfalls, avoiding painful budget
     cuts and budget deficits.
 ■   Requiring spending appropriation bills to have a certified source of revenue, that does not
     conflict with any other expenses prior to enactment, will ensure that other government
     initiatives are not impacted. The GF will be protected and will not be used as a financing source
     unless there is revenue available.
 ■   Annual certification of a consolidated budget for all revenues and expenditures will ensure
     that budgets are balanced, which is one of the conditions for the Oversight Board’s exit.
 ■   Increased staffing and training will enable timely, standardized budget reporting and financial
     analysis.
 ■   The Government will have the timely, accurate financial data and professional skill to
     understand the multi-year implications of budget and policy proposals, all of which is critical
     for long-term fiscal planning and sustainability.




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 EXHIBIT 87: BUDGET BEST PRACTICES




 13.3.4    Federal Funds Management
 The problem
 ■   Puerto Rico lacks a centralized financial management framework for revenue reporting, which
     can result in (i) misallocation of federal funds, (ii) failure to optimize available resources, (iii)
     information gaps regarding the availability of federal funds to agencies, (iv) ineffective cash
     management, and (v) deficiencies in consolidated financial statements.
 ■   Puerto Rico’s history of not using all the funds allocated to the Island limits its ability to
     substitute federal funds for local funds wherever possible. Puerto Rico lacks a mature
     mechanism for tracking and reporting available Federal Funds.
 ■   United States Office of the Inspector General and single-audit reports have cited the failure of
     multiple agencies to adequately track federal funds, which has contributed to duplication of
     benefits and improper procurement. For example, due to inadequate accounting records and
     reconciliation procedures found through the 2019 single audit of the Department of Labor and
     Human Resources, the federal government could not validate the net position of $72.2 million
     in the Treasury account. This lack of proper reporting on federal grants risks the loss of federal
     funding.
 ■   The Puerto Rico Department of Education is subject to a third-party fiduciary agent to ensure
     compliance with Federal grant requirements. A third-party fiduciary is generally required due
     to lack of internal controls, inadequate monitoring, and insufficient fiscal accountability.
 The initiative
 ■   Federal funds will be centrally managed within the OMB and reporting requirements will be
     harmonized across agencies.

     – OMB will publish bi-weekly reports of disbursements of federal funds.

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     – Centralized reporting of funds will be utilized to understand which federal funds are not
        being optimized.

     – Agencies will be aware of all the funding made available to them from the disaster relief
        funds and COVID-stimulus, among other recurrent programming sources.
 ■   All agencies will use a centralized accumulation fund to track federal allocations, obligations,
     commitments, and disbursements of federal funding.
 ■   Grant revenue and expenditures and reprogramming funds will be tracked and reported
     monthly.

     – Agencies will use a harmonized version of the most recent GASB practices for reporting
        revenues
 Expected results
 ■   The consolidated grants management system will make visible the single period and recurring
     revenues the Government receives from grants from federal sources.
 ■   Individual agencies and the Treasury will understand their federal allocations and the
     implications of maintenance of effort (“MOE”), formula funding or matching requirements of
     the grants. This will allow the Government to decide whether the “strings attached” to the
     federal grant are worth the additional revenue.
 ■   Tracking the flow of potential and actual resources and the availability of funds for
     reprogramming will allow for improved utilization of the resources available to agencies and
     the Commonwealth.
 ■   Agencies will have accurate accounting records and reconciliation processes surrounding
     federal funds. Issues such as duplication of benefits will be less frequent or eliminated with
     proper reporting on federal revenue and expenditures for federal grants. Other issues, such as
     unaccounted for funds and improper procurement procedures identified in federal audits will
     be less likely to occur.
 ■   Puerto Rico will fully utilize available federal funding, providing benefits to residents and
     businesses and reducing pressure on local revenues to meet the Island’s needs.

 EXHIBIT 88: FEDERAL FUNDS MANAGEMENT




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          Supporting Initiatives (Time & Attendance, Cash & Bank
          Accounts, Procurement, Legislative Scoring, Real Estate Best
          Practices, and Real Property Registry)

 13.4.1    Automated Time & Attendance
 The Certified Fiscal Plan requires the government-wide implementation of an integrated and
 automated time and attendance (T&A) system that ensures only active employees who are
 working get paid, and thus prevents incorrect payroll payments being disbursed to employees
 across Government agencies. The T&A initiative includes 84 Commonwealth agencies and
 impacts over 36,000 employees. Although, most Government agencies and public corporations
 already have electronic systems for employee attendance registration in place, attendance
 registration systems are not integrated with payroll systems. This initiative seeks to link time and
 attendance systems to payroll systems.
 The Automated Time and Attendance initiative solves both fiscal and operational issues by
 ensuring the Government has proper payroll controls. In addition to preventing fraud, it enables
 agencies to validate personnel assigned to offices/areas, measure compliance with assigned work
 schedules, and identify critical vacancies. To implement this project successfully, the project must
 include appropriate T&A policies, procedures, and internal controls across all agencies, as well as
 a communication, prevention, and accountability plan to eliminate time not recorded (TNR). The
 collaboration and ownership of the Government of Puerto Rico, led by the OCFO, including
 AAFAF, Hacienda, OARTH, PRITS, GSA and agency leads, is critical for the successful
 implementation and completion of the T&A project across the 84 agencies.
 The implementation of the T&A project at PRDE resulted in multiple savings and benefits to the
 Government, including:
 ■   Identified over 689 employees (2% of the total headcount) as inactive but still receiving
     payment and included in the roster, representing approximately $27 million per year in
     payroll.
 ■   Reduced by 77% the number of employees who have not registered their time and attendance
     between November 2020 (project initiation) and February 2021 (project launch).
 ■   Between February 28 and September 15, 2021, saved $15m from employee paychecks for time
     not worked.
 ■   Increased school staffing levels, directly impacting the wellbeing of public-school students.
 The timeline to complete the T&A implementation is from December 2021 until May 2024. Refer
 to Exhibit 172 for agency specific timelines.




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 EXHIBIT 89: AUTOMATED TIME & ATTENDANCE




 13.4.2   Cash and Bank Accounts Oversight and Transparency
 The cash and bank accounts oversight and transparency initiative will address long-standing
 management and compliance issues in order to improve Government transparency and risk
 management, reduce fraudulent activity within Government, and institutionalize cash and bank
 account management processes. Currently, Government’s cash and bank accounts compliance
 and procedures are mostly siloed and lack formal unified guidelines. Basic information such as
 bank account personnel roles and mapping of idle bank accounts is unclear or difficult to access
 due to lack of proper treasury controls and protocols. Furthermore, inefficient processes and
 dependency on outdated tools increase erroneous bank account activity and inaccurate cash
 reporting, as well as budget shortfalls and inability to properly monitor Government bank
 accounts.

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 This initiative will transform Government’s cash and bank accounts processes and oversight,
 increase inter-agency and cross-government accountability, and unify institutionalized
 compliance standards. To successfully execute this initiative, the main action items taken will be
 (i) establish a centralized, comprehensive database, (ii) align all agencies and corporations on
 unified treasury guidelines, and (iii) successfully reconcile quarterly bank account forensic
 reports. These actions will be undertaken with cross-agency cooperation and transparency.

 EXHIBIT 90: CASH AND BANK ACCOUNTS OVERSIGHT AND TRANSPARENCY




 13.4.3    Procurement Best Practices
 While the Uniform Purchasing regulations issued pursuant to Act 73-2019 made significant
 progress centralizing and modernizing Puerto Rico’s procurement processes, the Government’s
 procurement system still lacks full transparency and does not adequately guarantee Puerto Rico
 is purchasing goods and services on the most economical basis. The Fiscal Plan recommends
 several actions to further improve procurement policies and practices:
 ■   The GSA should assume broad supervisory authority over all entities exempt from centralized
     procurement processes under Act 73-2019 and Regulation 9230 to ensure that they have
     implemented effective guidelines for the purchase of goods, works, and nonprofessional
     services.
 ■   Apply a centralized, systematic procurement process for recurring municipal government
     services such as waste collection, sanitation, and road maintenance to promote efficient and
     cost-effective contracts. This transparent contracting process should be coupled with the
     establishment of robust and efficient oversight mechanisms by the Puerto Rico Central
     Government or any government entity tasked with oversight functions.
 ■   Apply better buying practices through the implementation of Strategic Sourcing strategies by
     leveraging agencies’ collective buying power and acting as a single enterprise to negotiate with
     contractors. Strategic Sourcing will allow the Government to realize savings through


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     economies of scale. This will require analyzing the Government’s spending across agencies
     and using that information to make improved decisions. For the Central Government, the
     greatest opportunities for the implementation of Strategic Sourcing are in the procurement of
     professional services, particularly in the following areas: (1) Strategy Consulting, (2) Special
     Services, (3) Financial Services, and (4) Technology Services. From FY2017 through FY2021,
     professional services contracts corresponding to these four categories have represented a
     combined total cost of $2.4 billion. As such, considering an average annual cost of $600
     million for these four categories and realistic savings derived from the use of Strategic
     Sourcing ranging from 1% to 5%, this initiative can represent estimated annual savings
     ranging between $6 million and $30 million.
 ■   Amend Act 237-2004 to promote competitive procurement processes for professional services
     in accordance with best practices.
 ■   Complete the implementation of an eProcurement portal to allow both taxpayers and bidders
     to have access to information surrounding bids and awards. Such a portal will provide an
     additional level of oversight on procurement activities and build taxpayer trust in the
     purchasing system.
 ■   Take affirmative steps upon conclusion of the procurement phase to ensure that awarded
     contracts are adequately managed and that accountability is promoted by all contracting
     parties. Specifically, assign intra-agency contract managers to oversee the implementation of
     contracts and keep detailed and accurate descriptions of rendered services or purchased
     goods, to ensure these are satisfactorily performed or delivered prior to the payment of
     invoices.
 ■   Implement a uniform contracting policy which shall apply to all government entities
     and encompass the following principles:

     – Contracts (inclusive of Purchase Orders) should be drafted in such a way that the
        contracted services are described clearly and specifically so that both the agency and the
        contractor know exactly what is expected of them pursuant to the contract, and so that the
        agencies with oversight responsibilities can carry out their audits and revisions in a
        uniform manner. In that regard, template contract models for recurring purchases or
        services, such as, for example, employee health insurance, legal advisory services, or
        maintenance services, should be implemented across all government entities to ensure that
        all government entities adhere to the same contracting principles.

     – To promote adequate transparency in the provision of recurring services, contracts should
        include a clause that specifically outlines recurring tasks and requires specific information
        regarding the actual tasks performed. This requirement may be complied with by providing
        any statistical data, or information certifying the performance of services, to allow
        confirmation of such performance by any overseeing persons or entities.
        □ Further, contracts should contain a clause stating that vague descriptions of provided
           goods or performed services that do not provide exact descriptions of such goods and
           services will be deemed unacceptable and will not be subject to payment until a full
           description (as detailed in the specific contract) is provided in a manner which is
           satisfactory to the contracting government entity.

     – All contracts should clearly delineate a process by which a government entity may question
        an invoice and which allows contractors to formally respond to any such questions. In
        addition, contractors should not be permitted to correct or fix invoices without formal,
        written acknowledgement that (i) an initial invoice was submitted, (ii) the pertinent
        government entity did not fully consent to the same, and (iii) a modification was requested
        by the government entity. This will allow more effective oversight when reviewing contracts
        and invoices, while allowing for a proper evaluation of whether contract overseers within a


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       particular agency are properly reviewing contractor’s invoices and taking the necessary
       actions to ensure contracted services are actually performed or purchased goods were
       delivered, as originally contracted.

 EXHIBIT 91: UNIFORM PURCHASING AND PUBLIC PROCUREMENT




 13.4.4    Non-Partisan Legislative Scoring
 Ensuring that the Office of Legislative Services (OSL) performs duties as an independent,
 nonpartisan legislative scoring entity that produces budget analysis and revenue forecasts is
 crucial to enabling legislators to enact fiscally responsible policy choices. Responsibilities
 required under Law 101-2017 include preparing fiscal, economic, environmental, and/or social
 impact studies on any proposed bills when requested by a legislator. Currently, however, the
 established agency has instead taken on more of a clerical role while the preparation of such
 analyses has been neglected. Furthermore, the role of the Office of Legislative Services should be
 expanded to include budget analysis and economic and revenue forecasting for the Government
 every 1-2 years at a minimum.
 To ensure legitimacy in budgetary decisions, the agency must commit to the nonpartisan staffing
 of career professionals who are independent of the influence from personal conflicts of interest.
 The staff should be career civil servants, not temporary political appointees. Developing a strong,
 independent Legislative Fiscal Office will help Puerto Rico’s legislators and political
 decisionmakers understand the Commonwealth’s current fiscal position and how that position
 would be affected by policy alternatives.




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 EXHIBIT 92: LEGISLATIVE SERVICE AGENCY




 13.4.5    Real Estate Best Practices
 The real estate asset management reform initiative will address long-standing revenue,
 budgeting, and capital forecasting issues across the Government’s real estate holdings in order to
 improve efficiencies in the overall maintenance and value preservation of the portfolio.
 The Government currently owns approximately 16,800 real properties and parcels of land
 (~4,100 buildings and ~ 12,700 land parcels). These holdings consist of more than 70 million
 square feet of office space and more than 340,000 acres of land. The Government does not
 currently have a standardized approach for accounting, tracking, managing, and disposing of its
 real estate assets. Associated primary issues include properties with expired leases paying on a
 month-to-month basis or no rent at all; reactive versus proactive management of required
 maintenance and repairs; properties achieving significantly below market rent levels; limited
 insight into projected future capital expenditure needs; lost opportunities for high value
 disposition of portfolio properties; and increased exposure to legal liability for mismanagement
 of hazardous structures and other life safety considerations.
 A standardized real estate management process operated by dedicated asset management
 personnel or a third-party real estate partner would address and solve many of the inefficiencies
 at hand, while maximizing the aforementioned financial factors broadly. These reforms would
 increase the overall value of the Government’s real assets while maximizing the potential revenues
 associated with these properties over the long-term. Furthermore, the normalization of
 operations from a budget and forecasting standpoint will allow stakeholders to better plan for,
 and react to, the unforeseen major events that may occur over a decades-long time horizon while
 significantly impacting the portfolio.




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 EXHIBIT 93: REAL ESTATE BEST PRACTICES




 13.4.6    Real Property Registry
 The real property registry initiative will address the problems associated with the antiquated land
 court-based system of property registration currently in place, removing barriers from real estate
 transactions and reducing ambiguity of ownership.
 The land registration process involves multiple steps and the potential for delay is substantial.
 The present state of property records does not provide a timely tool for confirming legal title to a
 large portion of properties on the Island and there is no mechanism for verification, particularly
 for parcels which have been informally developed. Further, legal proceedings are ponderous, the
 system is slow to resolve cases and is an impediment to efficient functioning of land markets.
 This initiative, which builds on Section 9.3 of the 2021 Fiscal Plan, will assure that ownership of
 property is accurately identified, provide detailed information on titles and deeds for use in the
 transfer of property, and assure that relief funding reaches all intended beneficiaries. To
 successfully execute this initiative, the actions taken will be (i) implement streamlined property
 registration and recordation protocols, (ii) establish a comprehensive database that registers all
 properties on the Island, (iii) and close the backlog of pending registration cases.




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 EXHIBIT 94: REAL PROPERTY REGISTRY




            Reprioritizing agency spending to enable
 investments
 In accordance with Section 201(b)(1) of PROMESA, the Fiscal Plans for Puerto Rico “provide a
 method to achieve fiscal responsibility and access to the capital markets.” When the Fiscal Plan
 process began in 2017, the Government had approximately 16,500 employees across 123
 Executive, Legislative, and Judicial branch government agencies, excluding large
 instrumentalities. 255, 256, 257 These agencies were ineffective and inefficient at delivering
 the services needed by the people of Puerto Rico, while consuming resources that
 were outsized compared to the population served.
 Even now, compared with U.S. states serving similar populations, Puerto Rico remains an outlier
 in terms of the sheer number of agencies. For example, as of 2018, Connecticut had only 78 state
 agencies, while Iowa had just 36. Staffing and managing an organization of this size is highly
 challenging and complex, even in a stable fiscal and economic environment. With over 100 direct
 reports to the Governor, it has been a practically impossible management task. In addition,
 notwithstanding the amount of spending, there are countless examples of subpar
 service delivery across the Government. For instance, despite having six agencies primarily
 dedicated to the financial stewardship of the Island, the Government has been unable to
 consistently issue consolidated audited financial statements on a timely basis. Further, Puerto
 Rico’s education system has a record of consistently delivering unsatisfactory student outcomes,
 including below- U.S. mainland average graduation rates and standardized test scores that are far
 below basic proficiency levels.




 255 These include Puerto Rico Electric Power Authority (PREPA), Puerto Rico Aqueduct and Sewer Authority (PRASA), Highways
    and Transportation Authority (HTA), University of Puerto Rico (UPR), Public Corporation for the Supervision and Insurance of
    Cooperatives (COSSEC, by its Spanish acronym), and the Government Development Bank (GDB)
 256 Excludes transitory employees.
 257 Excludes agencies which currently have $0 operating budget and no employees.


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 To assure the delivery of essential services while achieving financial sustainability, the
 Government must focus on operational efficiencies to enable better service delivery in a cost-
 effective way. A leaner, more efficient, and transformed future Government of Puerto Rico should
 wherever possible reflect mainland U.S. benchmarks in terms of both number and size of
 agencies.
 As part of the new Government model, the Government must conclude the process of
 consolidating the over 110 agencies into no more than 49 groupings or consolidated 213 agencies
 (see Section 25.2). In some cases, these consolidations should better focus the competing efforts
 of multiple agencies, such as the Economic Development grouping, which is consolidating ten
 agencies into one. In other cases, the consolidations should serve to move services closer to
 residents, such as the Healthcare grouping, which will consolidate access points to important
 services like Medicaid. In all cases, consolidations will enable agencies to streamline back-office
 processes, eliminate duplicative resources and benefit from procurement efficiencies.
 In addition to agency consolidations, the 2022 Fiscal Plan outlines operational and process
 improvements that must be made to use resources more efficiently—including staff, equipment,
 services, and buildings—across agency groupings such as Education (PRDE), Corrections (DCR),
 Health (DOH), and Public Safety (DPS). The goal of such efficiency measures is to improve the
 quality of the underlying services for the population while also directing valuable resources
 toward priorities and achieving the cost savings needed to balance the Government budget.
 These measures were developed through an iterative process with the Government and are
 designed to ensure compliance with necessary savings targets without compromising the quality
 of public service delivery on the Island—and actually improving it in many cases. These include
 various agency-specific efficiency (rightsizing) measures as well as certain government-wide
 savings measures:
 ■   Agency-specific personnel measures: Personnel efficiencies specific to each agency (e.g.,
     back-office consolidation, process re-engineering to enable headcount rightsizing and
     aligning resources with mainland U.S. state benchmarks) that will enable the reduction of
     payroll expenditure levels
 ■   Agency-specific non-personnel measures: Operational efficiencies specific to each
     agency (such as procurement centralization and optimization of spend, consolidation of
     facilities) that will enable the reduction of non-payroll expenditure levels
 ■   Government-wide compensation measures: Standardization of personnel policies
     throughout government (including institution of a standard employer healthcare
     contribution, a hiring freeze, a payroll freeze, elimination of the Christmas bonus and
     prevention of carryover of sick/vacation days beyond the statutory caps) to enable the
     reduction of payroll expenditures across agencies even without reducing employees
 Government-wide non-personnel measures: Utilities efficiency improvements and
 conscious usage of electricity and water (e.g., PREPA and PRASA) to result in savings on utility
 expenses. Further, reductions of professional services to enable the professionalization of the civil
 service and reduce reliance on outside consultants. Finally, elimination of ‘englobadas,’ or less
 transparent spending to improve fiscal controls and accountability.
 ■   Budgetary adjustments and other funding: Adjustments made on an annual basis to
     reflect new information obtained during the budget process. These include funding to ensure
     Government agencies meet federal requirements (e.g., consent decrees), provide quality front-
     line service delivery, and to reflect changes in agency operating needs.
 ■   Investments: Agency-specific one-time or recurring funding provided to enhance service
     and improve the fiscal and financial management of the Government (such as the Pilot phase
     of the CSR), to improve the tourism and economic activity of the Island, provide quality front-
     line service delivery (by continuing to fund pay raises to teachers, firefighters, police), enhance



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      growth and labor productivity (such as through scholarships for UPR students, and funds for
      workforce development programs) and focus on implementation of efficiency measures.
 To date, the Government has unfortunately failed to demonstrate meaningful
 progress in implementing agency consolidations or otherwise improving
 operational efficiency, though it has generally met budget targets. The Government
 has also struggled to properly activate several investments provided by the
 Oversight Board.
 To achieve personnel savings, the Government has primarily utilized broad-based early or
 incentivized retirement programs (e.g., the Voluntary Transition Program and Voluntary Pre-
 Retirement Program), 258 (Law 211-2015, as amended)), instead of driving optimization of back-
 office roles or alignment of front-office roles with mainland U.S. states’ benchmarks (e.g., State
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 Elections Commission personnel). Furthermore, the Government’s efforts through these
 untargeted retirement programs have encouraged critical personnel to retire early leading to large
 payouts with high retirement rates, major gaps in skills and capabilities, and a slower, less
 effective government.
 To achieve non-personnel savings (required since FY2018), the Government started to make
 changes during FY2021 to its procurement processes. FY2021 was the first year that the General
 Services Administration (GSA) received a General Fund allocation to carry out procurement
 centralization. The agency has managed to centralize some contracts and has begun to transition
 procurement employees across Central Government agencies. The GSA has also started assessing
 Government-wide procurement needs to attain efficiencies and achieve savings. Despite this
 consolidation of certain contracts across agencies, GSA claims it will take additional time to
 complete procurement centralization and achieve material savings. Additionally, procurement
 efforts have not been appropriately aligned with the consolidation of physical locations of
 operations, causing inefficient spending to continue longer than necessary. For example, utility
 expenses at closed schools have largely continued even though the schools are unused, and
 officers continue to be staffed to guard closed correctional facilities.
 Finally, some funds have gone unspent or been utilized ineffectively. While there is some
 progress—DCR, for example, has successfully used funds provided to start its review of habitable
 spaces to enable prison consolidations, and salary raises have been provided to frontline police
 officers—there have been struggles in implementing many investments. For example, PRDE
 misspent funds for raises to teachers and directors in FY2019 and FY2020, leading to a costly
 lawsuit and delays in providing raises. Funds for healthcare IT and capital expenditures have
 largely been undisbursed, though the procurement process has been initiated for most initiatives.
 And funds provided for FEMA Disaster Relief Funding cost share have been redirected to other
 uses, such as funding to cover state share of projects that are not disaster related. These are just
 selected examples among many. To truly enhance efficiency and effectiveness, these funds should
 be deployed – and deployed correctly – as soon as possible.
 In addition to the above, the FY2021 budget included $73 million of implementation budget
 incentives for PRDE, DCR, DDEC, DOH, Hacienda, and AAFAF to accelerate transformation of
 core government services and encourage progress in high priority areas, including but not limited
 to meeting higher data quality and transparency standards, conducting operating model/capacity
 analyses, and building up essential infrastructure to facilitate process improvements. Agencies
 that completed full implementation of certain required actions for specific projects by the stated
 deadline would be eligible to receive budget incentives upon certification by the Oversight Board.
 DDEC and AAFAF completed the required actions within the determined deadline, making them
 eligible for the budget incentive. However, PRDE, DOH, and Hacienda did not meet the


 258 Law 211-2015, as amended
 259 e.g., Through reduction of duplicate administrative roles in DCR or centralizing back-office operations in the Office of the Chief
     Financial Officer (OCFO)


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 requirements to comply with the implementation of required actions within established
 deadlines. As such, these agencies lost the budget incentive. Many agencies like DOH and DCR,
 on the other hand requested a deadline extension for the budget incentive due to delays in their
 procurement processes.

 The 2022 Fiscal Plan allocates a $1 million budget incentive in FY2022 for PRDE to
 incentivize the development of a template and methodology for evaluating school
 performance.

 The implementation of 2022 Fiscal Plan initiatives and measures is required to
 achieve operational efficiency and improve government services. More than ever,
 given the significant influx of federal funding received as a result of natural
 disasters and the COVID-19 pandemic, all agencies must develop a long-term
 financial plan by December 2021 to serve as a concrete working plan to allocate
 State and federal resources in order to meet short and long-term objectives. A
 comprehensive long-term financial plan must have clear milestones, deadlines and
 actions that account for agency needs (short and long-term), while also focusing on
 implementing crucial agency efficiencies detailed in this chapter.


             Agency operational efficiencies and improvements
 The 2022 Fiscal Plan continues to outline savings the Government is expected to achieve through
 both agency-specific and government-wide personnel and non-personnel measures.

 14.1.1       Agency-specific personnel and non-personnel efficiency measures
 There are several actions that have been applied to each agency to achieve these targets:
 ■    A series of agencies must be merged when benchmarking and best practices determine
      that activities across agencies could be better served through a single mission and
      management to eliminate redundancies, and/or where economies of scale make shared
      services more economical without reducing quality of service
 ■    A small subset of agencies will be left independent but must be made more
      efficient through a series of streamlining efforts related to both personnel and operations,
      allowing the agencies to provide improved services at a lower cost to taxpayers
 ■    Some agencies will be closed completely or privatized if their function and programs
      are not required, or can be transferred to private ownership, resulting in a 100% personnel
      and non-personnel savings for all non-federal funded expenditures after a two to three-year
      wind-down period (a minimum of 50% savings must be achieved no later than year two). The
      Government proposed three agencies for closure: Model Forest; Culebra Conservation and
      Development Authority; 260 and Company for the Integral Development of Cantera’s
      Peninsula; 261;
 ■    Additionally, the 2022 Fiscal Plan requires the transfer of ownership or change in legal
      status of the Public Broadcasting Corporation (WIPR) to a not-for-profit
      organization.
 The 2022 Fiscal Plan lays out three major types of areas of operational efficiency across all
 agencies (whether consolidated or kept independent, but made more efficient):




 260 Agency will only be partially closed, so funding will be reduced by 32% overall starting in FY2020. No progress to date
 261 To be closed on July 1, 2033 per current law.


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 ■    Back-office personnel savings: Achieve process efficiencies, centralization, and/or
      digitization of redundant tasks and eliminate role duplications in administrative positions.
      These levers have demonstrated savings of 15-20% in entities undergoing mergers
 ■    Front-office personnel savings: Achieve personnel efficiencies by ensuring staffing levels
      are consistent with operational drivers with benchmarks from mainland U.S. states
 ■    Procurement/non-personnel savings: Achieve operational efficiencies through contract
      renegotiations, reduction of rent payments, bundling acquisition across agencies, and other
      initiatives. Similar reforms of this nature have been shown to create savings of 10-15% for
      public and private sector entities
 The Oversight Board and the Government established a working group in 2018 to develop the
 roadmap for these rightsizing efforts, which became the basis for the Fiscal Plans. For several of
 the larger agency groupings (i.e., PRDE, DOH, DPS, DCR, DDEC, and OCFO), the 2022 Fiscal
 Plan lays out specific reforms that are expected to be implemented in each of these areas. For
 other agencies, the 2022 Fiscal Plan sets savings targets that agencies are expected to achieve
 through their own operational improvement plans. Finally, while the Government has indicated
 that some consolidation plans may change, the Government shall still be responsible for achieving
 the total annual savings projected in the 2022 Fiscal Plan.
 Furthermore, Act 73-2019, as amended, requires all Government entities to prepare an Annual
 Procurement Plan based on the agency’s annual estimate of probable needs and purchases, using
 as reference the purchases made during the previous fiscal year. The plan must include a list of all
 goods, works and non-professional services that are considered necessary for the next fiscal year.
 GSA is responsible for publishing annual guidelines for the preparation of such plan, which must
 be submitted to GSA by March 31st of each year. Going forward, all agencies must comply with
 this requirement, which in turn will allow them to obtain an understanding of the purchases to be
 made during the year, identify potential savings, ensure compliance with budget targets, and flag
 opportunities to improve current processes and procedures. Although Act 73-2019 does not
 require the agencies to prepare a plan for annual professional services, they must in fact prepare
 a similar plan that details all professional services to be contracted by them during the fiscal year
 in order to obtain similar benefits.

 14.1.2       Cross-cutting personnel measures
 In addition to driving operational improvements specific to service delivery, the Government is
 expected to achieve cross-cutting personnel expenditure reductions through several initiatives
 which would reduce the requirement to reduce personnel:
 Maintaining a payroll freeze: The March 2017 Fiscal Plan included a measure (which became
 law in FY2018) to freeze all payroll expenditures. To extend the savings from freezing payroll
 increases and minimize further rightsizing of staff, the freeze must be continued through the end
 of FY2023.
 Standardizing healthcare provided to government employees: Medical insurance is a
 core benefit provided to all government employees. However, the degree of coverage varies widely
 across government agencies, with some employees receiving superior coverage compared to their
 peers. For instance, PRDE employees receive an average of $120 per month in medical benefits,
 whereas employees of the Housing Finance Authority receive on average over $730 per month. 262
 To ensure fairness and reduce expenditures, the Government must implement its proposal to
 standardize employer health insurance contributions so that all Commonwealth
 agencies contribute $125 per employee per month, or $1,500 per year. 263 This
 initiative should have been fully implemented by the start of FY2019, but the Government has

 262 Per latest FY2021 Housing Finance Authority payroll roster.
 263 The exception is public corporations, which should maintain current employer contribution levels for those employees with chronic
     pre-existing conditions. There are also exceptions based on the recent Plan Support Agreement.


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 failed to implement it to date. Compliant with the 2022 Fiscal Plan, the annual budget includes
 an appropriation to cover the healthcare contribution up to $125 per employee per month. 264
 Reducing additional outsized non-salary compensation paid to employees: There are
 several policies that the Government must continue to enforce through the duration of the 2022
 Fiscal Plan that will impact personnel spend. These include:
 ■    Asserting a hiring freeze with stringent requirements for backfilling positions left open by
      attrition or workforce reduction
 ■    Limiting paid holidays to 15 days annually across all public employees
 ■    Prohibiting carryover of sick and vacation days between fiscal years over the statutory caps
      (60 days for vacation and 90 days for sick leave, aligned with Act 26-2017)
 Prohibiting any future liquidation of sick and vacation days in excess of the number of days
 permitted by law
 The hiring freeze measure has been included in the Fiscal Plans since the March 2017 Fiscal Plan.
 The 2022 Fiscal Plan continues to require the policy, while also requiring the Government to
 propose stringent requirements for the backfilling of any opened positions, and to gain budgetary
 approval by the Oversight Board before the requirements are implemented.

 14.1.3       Cross-cutting non-personnel measures
 In addition to driving operational improvements specific to service delivery, agencies should
 reduce spend on utilities, as well as on other areas of the budget which have been historically
 “opaque” in terms of where funds are flowing:
 ■    Reducing utility spend over time: The Government should implement energy efficiency
      initiatives that reduce utility payments in line with mainland energy efficiency efforts such as
      the U.S. Federal Energy Management Program (FEMP). Energy efficiency initiatives would
      include facility & fleet optimization (e.g., recycling), improved procurement agreements, and
      strategic investments, potentially through utility capital expenditure. By FY2023, the
      Government must achieve savings of 15% on its FY2018 utilities expenses, considering the
      rate increases projected by PREPA and PRASA. While savings associated with this measure
      were paused for FY2021, they have been reinstated for FY2022.
 ■    Reducing spend on historically low-visibility areas: The Government should
      continuously monitor and reduce expenses in historically low-visibility areas (e.g.,
      “unclassified professional services” and “englobadas”). The 2019 Fiscal Plan required a one-
      time and government-wide 10% incremental cut on professional services spend and 10% limit
      to unclassified professional services. While no incremental cut is explicitly required in
      FY2021, the Oversight Board continues to expect more rigorous documentation and
      justification for such spending before approving its inclusion in future agency budgets. The
      2022 Fiscal Plan will maintain the 10% limit on unclassified professional services.
 As with prior Fiscal Plans, the 2021 Fiscal Plan included implementation exhibits that date back
 to Fiscal Plans certified in 2018. These exhibits continue to show implementation dates that have
 been passed without Government completion of the action. The Government must act as soon as
 possible to address these missed milestones and to accelerate the pace of change. The 2021 Fiscal
 Plan therefore laid out future dates for missed milestones, by which the Government must
 implement the actions.




 264 The exception is public corporations, which should maintain current employer contribution levels for those employees with chronic
     pre-existing conditions. There are also exceptions based on the recent Plan Support Agreement.


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          Investing to support agency efficiency and recovery
 The 2021 Fiscal Plan included new incremental funding to support the Government in its efforts
 to operate effectively and sustainably. The 2022 Fiscal Plan maintains this incremental funding.
 Specific funding includes:
 ■   Investments in frontline service delivery: The 2022 Fiscal Plan maintains several
     incremental investments in frontline service delivery, including compensation and benefit
     raises for police officers, support for Special Education therapy, and teacher compensation;
     funds to attract additional recruits to the Emergency Medical Services Corps and Institute of
     Forensic Sciences; and investments in healthcare, including funds for opioid treatment,
     telehealth, electronic health records, hospital capital expenditures, scholarships for medical
     students who commit to practice outside of major metro areas, and additional school nurses.
 ■   Support for accelerating operational improvements: The Government’s lack of
     progress on operational changes to date has created a risk to government services delivery,
     especially given the effects of the recent earthquakes and COVID-19. The 2022 Fiscal Plan
     maintains implementation budget incentives that would become available when certain
     milestones are accomplished (e.g., consolidation of back-office functions).
 ■   Funding to enable consent decree compliance: Several Puerto Rico Government
     agencies are subject to federal consent decrees that require them to adhere to certain
     regulations. These consent decrees often mandate funding requirements (e.g., certain funding
     levels to Special Education students). The 2022 Fiscal Plan maintains funding for all consent
     decree requirements of which the Oversight Board is currently aware.
 ■   Funding for agency priorities: The Government’s proposed initiatives include investment
     such as the fourth phase of “Abriendo Caminos” infrastructure improvement program and
     additional funding for regular maintenance programs for the road infrastructure (Department
     of transportation and public works), hire additional personnel for Specialized Domestic
     Violence, Sexual Crimes and Child Abuse Units (Department of Justice), and increasing
     funding for the Comprehensive Cancer Center.
 ■   Funding for CSR: The 2022 Fiscal Plan maintains funds for Government-wide CSR, as
     discussed in Section 13.2.2. This funding is intended to enhance training, performance
     management, recruitment, and retention of Government employees, and thereby
     professionalize the public workforce.
 Specific investments are detailed by agency in the following sections.


          Department of Education (PRDE)
 The Puerto Rico Department of Education (PRDE) is the largest government agency within the
 Commonwealth, with approximately 44 thousand employees, charged with providing high quality
 education for approximately 276 thousand K-12 students across the Island at 858 schools.
 However, as Chapter 8 indicates, PRDE has struggled to improve educational outcomes for its
 students and to operate at a size commensurate to its student enrollment.
 As discussed in Chapter 8, a significant factor driving PRDE’s subpar outcomes is a set of
 underlying bureaucratic systems and structures that are ineffective and inefficient. Simply stated,
 PRDE has not developed the internal capacity, or led with commitment to a clear plan to manage
 the complex educational dynamics in Puerto Rico. As the largest agency by both personnel
 headcount and budget dollars, PRDE is outsized relative to its results and needs. While student
 enrollment has declined considerably over the past few decades (over 50% decline since its peak
 in 1980 and approximately 33% in the past decade) in line with a declining population, prior to
 the March 2017 Fiscal Plan, the number of schools and teachers had not decreased



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 proportionally.265,266 Furthermore, although regional offices are up and running, they currently
 function more as an additional layer of bureaucracy, rather than as mechanisms to drive change
 and shared learning closer to the student and parent populations in schools.
 The Oversight Board has made a number of suggestions to help PRDE operate in more strategic
 ways while aiming to fulfill its core function of driving a more efficient and cost-effective
 educational delivery model. The one year pause on agency efficiency measures during FY2021
 presented PRDE with the opportunity to start implementing necessary reforms; however, the
 Department was unable to move these initiatives forward, in part due to its focus on managing
 through the operational challenges faced during the COVID-19 pandemic and the significant
 leadership turnover during the election year.
 Upon preliminary review of PRDE personnel and non-personnel expenses for FY2021, it would
 appear that PRDE achieved some savings (e.g., the number of core teachers is aligned to 2021
 Fiscal Plan targets); however, these are known to be the result of low teacher staffing levels in
 some areas and increased vacancies due to the remote learning environment rather than
 adherence to the structural changes required by the 2022 Fiscal Plan. The Oversight Board
 anticipates the level of savings and budget underspending to decrease as PRDE resumes full in-
 person instruction. In addition, the Department has not achieved progress in increasing the
 academic support in the regional offices or executing planned workforce reductions in other areas.
 This effect was deeply felt by the school community during the COVID-19 pandemic since many
 critical schools supports (e.g., teacher coaches or “facilitadores”, family engagement coordinators)
 were significantly lacking. At the same time, PRDE continues to have a deficit in some academic
 areas such as English. Currently, PRDE does not have an adequate number of English teachers to
 support students across the Island, which in turn result in schools that are sub-scale and require
 targeted resources, on a per student basis.
 The Oversight Board recognizes that PRDE has been operating in a complex environment in the
 wake of Hurricanes Maria and Irma, earthquakes, and the ongoing COVID-19 pandemic.
 However, beyond these crises, PRDE continues to be challenged by its bureaucratic processes and
 the significant lack of system capacity that hinders its ability to implement necessary reforms.
 While Chapter 8 offers recommendations and benchmarks to improve management capacity of
 the system and, in turn, student outcomes, this chapter focuses on the operational and financial
 process improvements required to support increased transparency and better decision-making at
 PRDE. While agency efficiency measures are applied to the State budget, PRDE needs to unlock
 and strategically allocate all sources of funding. This will only be possible if PRDE has clear insight
 to its existing spend through improved financial reporting processes.
 During FY2021, PRDE was able to finalize and sign the Third-Party Fiduciary Agent (TPFA)
 contract (related to Special Conditions imposed by the U.S. Department of Education (USDE) in
 June 2019). Failure to finalize the contract in prior years (based on PRDE’s inaction) had
 prevented PRDE from accessing ~$1.12 billion total from FY2021 and FY2020 USDE federal
 funds. However, the Oversight Board, and the Government of Puerto Rico, now expect these funds
 to be released during FY2022. In addition to these recurrent federal funds, PRDE received an
 unprecedented allocation of federal funding in FY2021 as a result of the COVID-19 pandemic and
 prior natural disasters. Incremental federal funds available to PRDE include:
 ■   ~$2.3 billion of disaster relief funding designated by FEMA to support reconstruction of
     damages caused by Hurricane Maria.
 ■   ~$4.5 billion of COVID-19 related federal funding meant to address high priority needs
     associated with planning for a safe return to school and offering robust learning opportunities


 265 Helen F. Ladd and Francisco L. Rivera-Batiz, “Education and Economic Development in Puerto Rico” The Puerto Rican Economy:
    Restoring Growth, Brookings Institution Press, Washington, D.C., 2006, 189-238
 266 There were 1,619 public schools in 1990 and 1,131 at the time of reporting. Oversight Board Listening Session, Secretary Julia
    Keleher, “On the Road to Transformation,” November 30, 2017


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     in the case of extended in-person school closures. This amount includes various stimulus, such
     as:
     – ~$349 million of Coronavirus Aid, Relief, and Economic Security Act (CARES) funds
     – ~$1.3 billion of the Coronavirus Response and Relief Supplemental Appropriations
       (CRRSA) Act
     – ~$2.9 billion of the American Rescue Plan (ARP) Act
 ■   A portion of the ~$173 million allocated to the Governor’s Emergency Education Relief Fund,
     authorized by CARES (~$48 million) and CRRSA (~$125 million).
 The above funding will require a clear plan and rigorous controls to provide for the basic needs of
 students and families, nonetheless, these are not meant to reduce the expectation that the
 Department accelerate a major transformation of its operations and basic management
 improvements to better provide services and maintain fiscal balance. Without active
 management, operational improvements, and leadership, PRDE will likely continue to see student
 outcomes stall.
 The initiatives and milestones included in this chapter aim to provide a roadmap for PRDE to
 improve its operational efficiency and achieve savings targets required by the 2022 Fiscal Plan. It
 is important to note all these initiatives were developed in collaboration with the
 Government and/or are based on PRDE’s internal guidelines and regulations. Given
 the immeasurable effects of the COVID-19 pandemic and other natural disasters on student
 learning, there has never been a greater need to drive operational process improvements and
 strategically reallocate resources to provide better services to the children of Puerto Rico.
 Investments to drive operational improvements
 The 2022 Fiscal Plan continues several investments that have been made in past years to ensure
 PRDE has the resources it needs to support student achievement and cultivate a high-performing
 workforce. These include:
 ■   Teacher and school director compensation (~$285 million over five years): The
     2018 and 2019 Fiscal Plans provided salary raises for teachers and directors in FY2019 and
     FY2020. Unfortunately, PRDE mistakenly excluded transitory teachers and directors from
     these raises, which generated a lawsuit against the Department. As such, the 2020 Fiscal Plan
     provided the funding to cover the retroactive raises for these groups. As of March 2021, PRDE
     had taken the necessary steps to transfer the funds from the custody of OMB to PRDE to cover
     the FY2019 and FY2020 raises for transitory teachers and directors.
 In addition to the above salary increases provided to teachers and directors in FY2019 and
 FY2020, the 2022 Fiscal Plan includes salary increases where all PRDE employees (educators and
 staff) would qualify beginning FY23, while remaining consistent with the goal of the CSR as
 presented in Section 13.2.2.
 PRDE employees would receive a salary increase in two phases. In the first phase, all employees
 (~44.6k) would receive a salary increase effective July 1, 2022. The second phase would be subject
 to completion of specific attendance milestones intended to increase visibility into the time
 teachers and students are together in the classroom and equip PRDE with data it needs to advance
 student learning. Educator attendance and student attendance-taking are critical to promoting
 student achievement. Currently, PRDE experiences significant challenges in student and teacher
 attendance and lacks timely data that would enable it to address these challenges.




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 ■   Educator attendance: Education research shows teacher absences can adversely impact
     student achievement. 267 For example, a teacher missing 10 days a year has been shown to
     lower students’ math achievement equivalent to that of students being taught by a beginner
     teacher vs. a teacher with 3-5 years of experience. Nationally, teachers are present on average
     95% of school days and the U.S. Department of Education defines chronic teacher
     absenteeism as 10 or more absences per school year. PRDE is in the process of gathering a
     complete picture of teacher attendance year-to-date. Last school year (2020-21), best
     available data shows the average teacher attendance rate at ~65% (62 days missed). 268
 ■   Student attendance-taking: Daily student attendance tracking could allow for early and
     regular interventions to improve learning outcomes for chronically absent students. For
     example, in one study, an automatic absence notification to students’ families reduced course
     failures by 38%. Data from Fall 2021 indicates that only about one-fifth of teachers had
     entered attendance data for 95% or more of their class periods in PRDE’s Student Information
     System (SIS) on the same day that classes occurred. 269
 For teachers, the total of both phases would reflect a 20% increase over the current average salary
 and a 27% increase over the current starting salary for a teacher with a bachelor’s degree and for
 directors, facilitators, and direct supervisors the total of both phases would reflect a 15% salary
 increase (see below for more details on amounts and timing of increases).

 EXHIBIT 95: SALARY INCREASE EXPENDITURES BY PHASE AND EMPLOYEE GROUP




 267 Source: “Chronic Absenteeism and Its Impact on Achievement”, Center for Research in Education and Social Policy (CRESP)
     2018.
 268 Data is for the 2020-2021 obtained from the Kronos system. These figures do not consider out-of-policy manual teacher
     attendance registration.
 269 Gobierno de Puerto Rico Departamento de Educación, “Informe de la toma de asistencia,” 2021


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 The design of the plan for PRDE salary increases considers three guiding principles:
 ■   Participation: All PRDE employees should have the chance to participate.
 ■   Equity and flexibility: Salary increases should help address inequities in compensation
     within employee categories to the extent possible.
 ■   Strengthening the PRDE system: Increases should include milestones and promote
     actions that support student achievement.
 The two phases of implementation are summarized in Exhibit 96.

 EXHIBIT 96: OVERVIEW OF PHASED APPROACH FOR PRDE SALARY INCREASES




 A gradual and collaborative approach, with phases and milestones, can guide PRDE as it
 introduces salary increases, while retaining transparency and accountability. The details of the
 salary increase, by PRDE employee group, are as follows:
 ■   Teachers

     – Base salary increases: Teachers will receive an increase of $470 per month in their base
       salary over the two phases of implementation, pending successful completion of
       milestones. This reflects a 20% increase over the current average teacher salary of ~$2,340
       per month. Depending on the actual salary of each teacher, the $470 per month could
       represent as much as a 34% raise. Furthermore, these raises also result in increased
       retirement savings in the form of additional Government and employee contributions to
       Social Security (for those participating) and through additional employee contributions to
       the Act 106 retirement accounts. In addition, the base salary rates for new teachers will also
       increase by $470 per month, a 27% increase over the current starting salary for a new
       teacher with a bachelor’s degree.

     – Phase 2 teacher milestones


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       □ Phase 1: All teachers (full-time regular and transitory, all subjects) will receive a $235
          per month increase on July 1, 2022. On average, this represents a 10% increase in salary.
       □ Phase 2: Teachers could receive an additional $235 per month during Phase 2, effective
          January 1, 2023, based on successful completion of two milestones. Milestones would
          target improved teacher attendance and student attendance-taking during an
          established qualification period (e.g., 9/5/22 through 12/16/22). Successful completion
          would be defined as follows:

          - Be present for ≥90% of workdays as registered in the automated T&A system.
               Teachers must use a biometric clock or timestamp (when remote) to register presence
               at work. The DE-14 manual forms will only be used for specific circumstances related
               to justified absences (i.e., vacation and sickness). Prior to January 2022, teachers
               were able to register presence manually/late using the “regular” code from DE-14.
               PRDE eliminated this code effective January 2022 as it did not provide transparency
               on time reporting and was being used excessively. PRDE should continue to promote
               and enforce automated time and attendance while closely monitoring the use of the
               DE-14 forms.

          - Submit student attendance via student information system ≥90% of school days.
          - Each teacher would get the same dollar amount increase which would, on a
               percentage basis, particularly help teachers at lower salary levels. Under the Phase 2
               milestone, all teachers will receive the salary increase if the milestone is met, and no
               teachers will receive the salary increase if the milestone is not met.
 ■   Directors, Facilitators, and Director Supervisor

     – Employees in these positions would receive salary increases in two phases as follows:
       □ Phase 1: all employees in this category will receive a 10% increase over FY2022 salary
          on July 1, 2022.
       □ Phase 2: all employees in this category will receive an additional 5% increase over
          FY2022 salary effective January 1, 2023, pending successful completion of milestones.
          Successful completion would be defined as follows:
          - Be present for ≥90% of workdays as registered in the automated T&A system. As
               with teachers, employees in this category must use a biometric clock or timestamp
               (when remote) to register presence at work. The DE-14 manual forms will only be
               used for specific circumstances related to justified absences (i.e., vacation and
               sickness.
       □ If milestones are not met, employees in these positions would only receive the Phase 1
          10% salary increase.
 ■   Direct student support employees
     – All employees in this category will receive a 10% increase over FY2022 salary on July 1,
       2022.
 ■   Administrative support employees
     – All employees in this category will receive a 5% increase over FY2022 salary on July 1, 2022.
 The increase in the baseline salary will be applicable to the current base salary scales of all
 classifications of PRDE employees established at the beginning of their employment with the
 PRDE. Once the increase is applied, it will be applicable to every person who is recruited by the
 PRDE as a regular or transitory employee after June 30, 2022. The Oversight Board believes
 ongoing collective bargaining agreement (CBA) discussions should reflect CSR priorities of
 improved evaluation, compensation and recruiting structure and is prepared to participate in

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 those talks. Moreover, these salary adjustments must be reflected on PRDE’s internal regulations
 and salary scales effective July 1st, 2022. Additionally, the Oversight Board encourages further
 CSR to address evaluation and compensation for public employees.
 Special Education and Remedio Provisional program specific FY2022 budget
 accounting: In addition to the funding above, the 2022 Fiscal Plan continues to ensure that
 PRDE is compliant with legal requirements for the Special Education and Remedio Provisional
 program. In order to ensure proper resources are allocated to all special education students, the
 FY2022 Budget for the Special Education Program and the Remedio Provisional Program will be
 separately presented from PRDE’s overall budget. By presenting the budgets separately, the
 Oversight Board can ensure resources are properly allocated based on Special Education student
 enrollment and needs, while also ensuring greater transparency in program spending.
 Overview of efficiency measures
 The COVID-19 pandemic caused significant prolonged disruptions to the education system and
 PRDE was mainly able to focus on providing virtual education, which impacted the advancement
 of initiatives to proactively capture savings. To help the Government manage the COVID-19
 pandemic and to progress implementation across key reforms, the Oversight Board allowed a one-
 year deferral on agency efficiency measures for FY2021. However, starting in FY2022, PRDE is
 once again required to generate personnel and non-personnel savings outlined in Exhibit 97. After
 having analyzed the guidance released by the U.S. Department of Education on how to calculate
 the Maintenance of Effort (MOE) requirements associated with the COVID-19 funding, as well as
 its implications on the UPR and PRDE funding provided for FY2022, the Commonwealth formally
 requested a full waiver of the MOE requirements on September 1, 2021.

 EXHIBIT 97: DEPARTMENT OF EDUCATION INVESTMENTS AND MEASURES SUMMARY
 OF IMPACT




 14.3.1    Improving student-teacher ratio
 One key indicator of school efficiency is the student-to-teacher ratio (ST ratio) used across the
 school system. Given the need for PRDE to rightsize its resources in alignment with a steadily
 declining student enrollment, it should aim to manage its ST ratio to ensure improvements in
 efficiency. The Oversight Board recognizes that these are challenging times for the Department
 and that it may need to staff additional resources to address the tremendous student learning loss
 due to the pandemic. For this, PRDE must take advantage of the recent influx of non-recurring,
 non-General Fund dollars (e.g., stimulus, federal funds) to support these critical student needs
 through temporary staff that may not need to be incorporated as permanent positions. As

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 described in Section 8.3, PRDE should protect against the possibility of this new headcount
 creating a budget overspend by developing a long-term financial plan that efficiently leverages all
 funding sources available.
 The ST ratio calculation is based on data from the Department and includes both general
 education students as well as Special Education students who spend most of the school day in
 inclusive classrooms with their general education peers (known as “salón recurso”). The teachers
 counted in the ST ratio are those that teach core subjects and/or homeroom classrooms. 270 The
 staffing of all other teachers (previously referred to as ‘non-academic’ teachers) are expected to
 be rightsized through attrition. 271

 EXHIBIT 98: TEACHER HEADCOUNT AND STUDENT ENROLLMENT




 PRDE will need to monitor its teacher staffing formulas and more systematically apply its own
 guidelines, referred to as Organización Escolar, to assign teachers based on classroom size.
 Although PRDE initially assigns teachers based on these guidelines, it also allows for various
 exceptions which are not adequately documented. For example, PRDE may choose to retain an
 extra teacher in a school with declining enrollment if the teacher is not able to fill a vacant position
 at the current school or move to another school due to extenuating circumstances (e.g., onerous
 travel distance per Collective Bargaining Agreement (CBA)).
 Due to the impact of the COVID-19 pandemic and remote learning, for the 2020-2021 school year,
 PRDE did not hire the number of teachers it would typically hire in an in-person school year. This
 has resulted in a ST ratio of ~18.9 as of December 2020 (13.9 thousand core teachers and 263.1
 thousand students served in general education classrooms) which is slightly better than the 2022
 Fiscal Plan target of 18.7. However, as PRDE resumes in-person learning, and hires additional
 teachers to support it, the ST ratio is expected to decrease below the 2022 Fiscal Plan target.




 270 Core subjects / homeroom teachers include those that teach General Education, English, Math, Science, Spanish, History, and
    homeroom
 271 All other teachers include, for example, Career and Technology, PE, Arts, and Special Education teachers


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 EXHIBIT 99: PRDE ORGANIZACIÓN ESCOLAR STAFFING POLICIES




 By following its own staffing guidelines, PRDE would be pursuing a more efficient staffing
 structure; however, PRDE could ultimately fall short of 2022 Fiscal Plan targets over time given
 that many schools operate at inefficient enrollment levels and thus incur in significant “breakage”
 (i.e., underutilized teachers). For example, if a school has 36 students in third grade, that school
 will need two third grade teachers with classrooms of 18 students each, even though those teachers
 could theoretically teach an additional 7 students each, (i.e., up to 25 students per class), per the
 Organización Escolar guidelines. This type of situation is pervasive across the Island: in FY2020
 only 40% of PRDE’s schools operated at roughly efficient school size (see Exhibit 100). These
 schools are geographically dispersed across the Island with inefficiencies existing in all regions
 and urban/suburban/rural areas. The issue can be best addressed with active footprint
 management, taking into consideration geographic and student demographic constraints.




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 EXHIBIT 100: MAP OF PRDE SCHOOLS BY ABILITY TO ACHIEVE EFFICIENT STAFFING




 As enrollment is projected to decline by 4-5% each year through FY2026 (due to overall Island
 population decline), this issue of breakage will worsen, with schools increasingly less able to
 maintain efficient staffing levels. While the 2022 Fiscal Plan does not require additional school
 closures (which would reduce breakage in the system), it is nonetheless important to acknowledge
 the personnel (and operating) costs of managing a school system where capacity exceeds
 enrollment. PRDE has the opportunity to assess its existing school footprint and long-term plan
 through the Facilities Master Plan which will need to be prepared to assess the ~$2.3 billion of
 disaster relief funding designated by FEMA to support reconstruction of damages caused by
 Hurricane Maria.

 EXHIBIT 101: REQUIRED IMPLEMENTATION ACTIONS FOR IMPROVING STUDENT-
 TEACHER RATIO




 14.3.2   Capturing savings from past school consolidations
 The Government of Puerto Rico recognized that declining student enrollment requires active
 management of school facilities to enable the system to invest in a smaller number of higher-
 performing schools. Therefore, in 2018, the Government proposed to consolidate schools to
 improve overall efficiency within the system. After an analysis of several factors including

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 capacity, geographic and cultural characteristics, distance to neighboring schools, transportation
 costs, and facility quality, the joint Government / Oversight Board proposal within the October
 2018 Fiscal Plan included a measure for PRDE to close 307 schools by FY2020 which was
 projected to result in ~$111 million of run-rate savings by FY2023. By FY2020, PRDE had
 consolidated 255 schools, and the Oversight Board determined that no further closures were
 required at the time. However, PRDE committed to capture the full savings estimate (representing
 ~$15-20 million per year 272) elsewhere. Unfortunately, to date, school consolidations have not
 led to proportional personnel and non-personnel costs savings because the consolidations have
 not been accompanied by concurrent reductions in administrative staff or operational savings.
 On the personnel side, this initiative requires the number of school administrators (school
 directors, office staff, etc.), food service staff, facility maintenance staff, and other school-specific
 staff to be scaled down to account for a smaller number of schools than achieved to date through
 consolidation efforts.

 EXHIBIT 102: RUN RATE SAVINGS TARGET AND ACTUAL RUN RATE SAVINGS ACHIEVED,
 BY PERSONNEL CATEGORY (FY2022)




 The 2022 Fiscal Plan requires the Department to maintain its 2018 average of 3.39 food services
 full-time employees (FTEs) and 2.24 school administrative FTEs per school. As of December
 2020, PRDE employed 3,588 food services staff and 2,230 school administrators (implying a ratio
 of 4.45 and 2.77 273 respectively). This is an excess of 1,274 employees from 2020 Fiscal Plan
 expectations for FY2021 and equivalent to ~$42.2 million in unrealized run-rate savings in that
 same fiscal year. As such, in FY2022 PRDE must prioritize rightsizing headcount to meet 2022
 Fiscal Plan personnel saving targets.
 Recently, PRDE provided internal guidelines for staffing food services and school administrative
 staff. The full implications of the information received in late FY2021 is still being reviewed and
 analyzed. However, based on the evidence received, PRDE actual ratios are distant even from their
 internal guidelines. PRDE must achieve the personnel savings committed to when the 307 school
 closures were proposed, as required in the 2022 Fiscal Plan.
 Furthermore, PRDE must also achieve a 2.27 maintenance FTEs per school ratio. Recently, PRDE
 provided supporting information for staffing maintenance personnel, which specified PRDE staffs
 1 FTE per 13 building units (a unit is defined as 1 classroom, 2 bathrooms, 1 office, or 1 library).
 However, when asked to provide the building data necessary to assess if current staffing levels
 align with these guidelines, no further information was made available to the Oversight Board. As
 of December 2020, PRDE had not met 2020 Fiscal Plan targets for maintenance staff, employing
 2,200 employees for a ratio of 2.61. As such, in FY2022 PRDE also must prioritize rightsizing
 maintenance headcount to meet 2021 Fiscal Plan personnel saving targets.




 272 Non-personnel saving per school (~$47,000) was the result of analyzing Government-provided school closure data from previous
     years and represents the average non-personnel savings across a group of 151 closed schools
 273 Based on Agency Efficiency Measure model target of 806 operating schools


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 EXHIBIT 103: SUMMARY OF CBA / STAFFING GUIDELINES FOR FOOD SERVICES,
 MAINTENANCE AND SCHOOL ADMINISTRATION




 On the operational side, school consolidations required PRDE to capture non-personnel savings,
 including reductions in spend on facilities/utilities, professional services, and purchased services,
 among others.
 To date, PRDE has struggled to capture these additional operational savings. The Department has
 not provided a clear view into how the consolidation of 255 schools has resulted in lower utilities
 and other operating costs. However, PRDE has been working to avoid unnecessary payments in
 closed schools by diligently reconciling utility bills from PREPA and PRASA and increasing inter-
 agency communication. PRDE claims it has been able to recoup a significant amount from
 identification of excess electricity charges and water charges (although no supporting
 documentation has been shared), and the Department committed to continue monitoring these
 bills to avoid overpayment in the future in both closed and active schools.
 Despite moderate progress made, many closed school buildings have been left empty or
 repurposed for administrative uses, inhibiting PRDE’s ability to capture full savings from each of
 the school closures. PRDE has identified 56 school buildings to repurpose for administrative uses,
 including 41 to be used as inactive archives, regional offices, and for other administrative uses,
 and 15 to be used by a non-profit alternative education program (Proyecto Centros de Apoyo
 Sustentable al Alumno (CASA)); however, PRDE has not provided a capacity assessment to justify
 this decision. As part of its Facilities Master Plan, PRDE must work towards minimizing the spend
 on retained buildings and therefore achieving the required 2022 Fiscal Plan savings.
 Further, notwithstanding that PRDE is not the owner of the schools, the Government (including
 PRDE, DTOP, PBA, AAFAF and any other relevant Government agency) must make every effort
 to finalize a plan for sale or lease to ensure the unused buildings are most efficiently utilized in
 communities and do not create new community challenges due to their abandonment. In FY2022,
 PRDE is expected to capture all the outlined 2022 Fiscal Plan savings for both personnel and
 operational savings.




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 EXHIBIT 104: REQUIRED IMPLEMENTATION ACTION FOR CAPTURING SAVINGS FROM
 PAST SCHOOL CONSOLIDATIONS




 14.3.3    Rightsizing regional and central offices
 The 2022 Fiscal Plan supports PRDE’s own proposed shift from a single central administrative
 office model to a central/regional administration model. By pursuing a regional model, PRDE had
 aimed to enable faster, more locally relevant educational services; drive system-wide initiatives
 and shared services from a central office; and reduce administrative headcount. In this new
 central/regional model, administration of individual schools would be decentralized and made
 leaner while also putting decision-making closer to students and families. Developing and relying
 on regional leadership would also allow PRDE’s central administrative structure to rightsize to
 staffing levels comparable to state educational agencies on the mainland. In keeping with the push
 toward a central/regional model, Fiscal Plans have required that by FY2020, PRDE achieve
 approximately a 25% reduction in administrative headcount between regional and central office
 roles; this target has been maintained in the 2020 and 2021 Fiscal Plans. Additionally, the 2022
 Fiscal Plan considers an incremental 3% reduction in FY2022.
 As of December 2020, PRDE had ~2.8 thousand staff that held central/regional office roles: 722
 in the central office, 607 in the seven regional offices, and the largest portion, ~1.5 thousand, in
 field-based roles that are directly serving schools or groups of schools but tagged to regions. A
 comparison analysis of PRDE’s administrative headcount for FY2020 and FY2021,
 which includes those in central and regional offices not directly serving schools,
 shows that there has been no progress in rightsizing headcount to meet savings
 targets.
 In order to meet 2022 Fiscal Plan targets going forward and maximize the impact of its staff, the
 Department must first clearly define the roles and responsibilities of functions at the regional and
 central level to identify capacity gaps and better empower the regions. There is currently
 redundancy in responsibilities to be resolved at the central and regional levels, which contributes
 to process inefficiencies and lack of ownership over decisions. Furthermore, these issues lead to
 unclear definitions of success, prevent high performers from being elevated to leadership
 positions, and limit opportunities for professional development programs differentiated based on
 the level and function of the staff member. PRDE must enable its staff to succeed through clearly
 defined roles, formal accountability structures, and professional supports to build relevant skills
 as outlined in Chapter 8. Addressing these concerns will result in a more efficient system and staff
 who understand how to maximize their contributions to improve the Department.
 Additionally, to achieve the vision of a decentralized model, PRDE must realign existing resources
 to fill critical vacancies at both the central and regional level. In doing so, PRDE should re-evaluate
 dispersion of responsibilities across the central leadership team to create an organizational
 structure that best supports the needs of the Department. Furthermore, PRDE must ensure
 enough support at the regional levels, where there was a 20% reduction in field-based staff from


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 FY2020-FY2021. In particular, there has been a stark understaffing of community engagement
 regional coordinators, with four of seven posts remaining vacant, and of academic support staff,
 including facilitators who support teacher development.

 EXHIBIT 105: ACADEMIC FACILITATOR COUNT VERSUS TARGET




 Moving forward, PRDE must pursue its vision for a better-defined central/regional model by
 clearly defining the role of the central and regional offices and eliminating duplicative
 responsibilities between the offices. Subsequently, PRDE must fill key vacancies in all levels of the
 system, with a particular focus on increasing academic support staff as well as rightsizing
 administrative headcount in the central and regional offices to ensure resources are more
 adequately focused on driving student achievement in schools.

 EXHIBIT 106: REQUIRED IMPLEMENTATION ACTIONS FOR RIGHTSIZING REGIONAL AND
 CENTRAL OFFICES




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 14.3.4    Reducing procurement spend
 PRDE procurement spend must be reduced by 10-15% by FY2023 through centralized
 procurement policies, including strategic purchasing, and demand controls. As detailed in Exhibit
 107, PRDE must meet 2022 Fiscal Plan savings targets across all procurement categories, by
 creating greater spending transparency, consolidating vendor contracts, and prioritizing savings
 in areas that represent variable costs (which generally decline as enrollment does) and those that
 have less impact on students and schools.

 EXHIBIT 107: SUMMARY OF EXPECTED PROCUREMENT SAVINGS PER 2022 FISCAL PLAN




 Even if PRDE operated within 2021 Fiscal Plan budget targets for FY2022, PRDE has not made
 notable progress in implementing structural initiatives to drive sustainable procurement savings,
 and instead has waited for the procurement centralization within the General Services
 Administration (GSA) to realize procurement savings. Starting on FY2022, GSA has taken an
 increased role in procurement on behalf of PRDE, although PRDE is still accountable for
 achieving these procurement savings in the interim.
 PRDE’s ability to make informed strategic management decisions on how to effectively allocate
 resources to procurement expenses is constrained by a lack of transparency in spending. The 2020
 Fiscal Plan highlighted the need to increase transparency of spending data (e.g., providing more
 visibility into the ~40-50% of non-personnel expenses tagged to categories with unclear
 descriptions or listed as “unclassified”), in order to allow PRDE to identify areas for efficiencies.
 During FY2021, PRDE took some initial steps to implement new subcategories in the financial
 system (Financial Information System of the Department of Education or SIFDE by its Spanish
 acronym) to better classify spend in the Professional and Purchased Services concept codes, and
 it should now aim to assess this spend and identify areas for vendor consolidation and/or other
 procurement efficiencies. Also, as part of the long-term financial plan mentioned in Section 14.3,
 PRDE must assess and rationalize spending across funding sources to ensure it is efficiently
 leveraging all funding sources available.



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 Lastly, as mentioned in Section 14.3, PRDE must comply with Act 73-2019, as amended, which
 requires the agency to prepare an Annual Procurement Plan based on the agency’s annual
 estimate of probable needs and purchases. Although Act 73-2019 does not require agencies to
 prepare a plan for annual professional services, PRDE must prepare a similar plan that details all
 professional services to be contracted during the fiscal year to obtain similar benefits, including
 an understanding of the purchases to be made during the year, identifying potential savings,
 ensuring compliance with budget targets, and flagging opportunities to improve current processes
 and procedures.
 Facilities costs
 Currently, there is still very little transparency into what PRDE spends on facilities. PRDE
 continues to capture facilities related spend in several cost concepts, making it difficult to
 disaggregate between type of spend, including custodial, maintenance, capital expenditures, etc.
 The Oficina para el Mejoramiento de Escuelas Públicas (OMEP), which represented ~60% of
 facilities spending in FY2019, implemented minor changes in its system during this past fiscal
 year to increase alignment with SIFDE and better capture facilities spend. However, OMEP has
 yet to implement an expense reconciliation process with SIFDE, which limits the visibility into
 total facilities costs. Driving to a greater level of transparency in how OMEP spends its budget
 across the various facilities cost concepts will help PRDE make sure dollars are being allocated
 with the appropriate level of prioritization. As such, in FY2022 PRDE must implement updates to
 capture all facilities spend at PRDE (e.g., spend from OMEP) in a more streamlined manner and
 to be able to differentiate spend between maintenance, capital expenditures and custodians.
 The 2020 Fiscal Plan discussed how PRDE must commission the development of a Facilities
 Master Plan to assess its portfolio of buildings alongside their purpose and plan for the future.
 During FY2021, PRDE contracted a vendor to complete a Facilities Master Plan as part of the
 requirements of the FEMA Accelerated Award Strategy (FAASt) funding obligation. An initial
 master plan is expected to be completed mid-2022 with the full plan finalized in late 2022. This
 plan would account for changing needs and demographics of schools on the Island by prioritizing
 investments in school buildings that have a long-term place in the school footprint and are
 equipped with 21st century features and resources as well as disaster-resilient infrastructure. The
 plan must also identify alternative uses of its facilities that may be phased out over time. As such,
 in FY2022 PRDE must comply with the FEMA requirement to create a facilities master plan that
 assesses the need of PRDE facilities portfolio and share all versions of such plan with the
 Oversight Board.
 Transportation costs
 Federal Individuals with Disabilities Education Act (IDEA) dollars and School-wide funds have
 been used by PRDE in the past to fund student transportation; however, USDE-imposed
 restrictions on PRDE currently prohibit the use of federal funds for transportation. This is due to
 the fact that PRDE has had a series of reports on non-compliance with the provisions of the Code
 of Federal Regulations and the IDEA Law related to improper payments, lack of internal controls,
 non-compliance with its own policies, and lack of adequate monitoring in relation to the issuance
 of payments for transportation services to students of the Special Education Program. Thus, at
 the moment, PRDE must completely fund both General and Special Education student
 transportation through the General Fund until compliance with USDE-imposed special
 conditions and other USDE requirements are met. Ultimately, this puts increased pressure on
 State dollars for student transportation instead of being able to leverage a portion of federal
 dollars.
 During FY2021, PRDE made progress in implementing the transportation system
 updates that would address USDE findings, but it has yet to present these updates
 to USDE to assess completion of the actions. PRDE must prioritize this work in
 FY2023 to achieve greater flexibility in funding sources for student transportation.



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 EXHIBIT 108: REQUIRED IMPLEMENTATION ACTIONS FOR REDUCING PROCUREMENT
 SPEND




 14.3.5    Optimizing Special Education professional services costs
 PRDE serves Special Education students through two programs. The primary program is the
 Special Education Program, known as Secretaría Asociada de Educación Especial (SAEE), which
 provides educational and therapeutic services to students, with the second program being
 Remedio Provisional, which only provides non-education support services to students. Remedio
 Provisional was created as a result of the Rosa Lydia Vélez case to offer therapeutic services to
 Special Education students whose only impediment to receiving services is that the Department
 of Education does not have the resources to offer them. Typically, if PRDE does not provide
 necessary services within 30 days from the request of services from SAEE and drafting of the
 Individualized Education Program (IEP), the family of the special education student has the
 ability to receive services through this alternate channel. While it is good practice for districts to
 have a formal mechanism for complaints and ensuring students receive adequate services,
 PRDE’s way of addressing this situation is not typical. PRDE uses Remedio Provisional as a more
 permanent solution for students to receive services. Services that were not budgeted for
 appropriately at the beginning of the year within SAEE are provided through Remedio
 Provisional; only to then transfer students to receive services via SAEE the following year. Given
 this practice, PRDE ends up spending much more on student support costs than is necessary to
 deliver the same quality of service.
 PRDE’s ability to provide Special Education services through the pandemic has been impacted
 with social distancing requirements altering service delivery and creating significant delays in the
 IEP revision process. Despite these challenges, PRDE has been able to make progress towards
 improving quality and transparency of Special Education data, primarily through updates to the
 Mi Portal Especial (MiPE) system (e.g., adding Human Resources modules to create better
 visibility into allocation of Special Education assistants and integrations between Sistema de
 Información Estudiantil (SIE) and MiPE systems to better monitor Special Education students’
 academic progress).




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 To date, PRDE has been unable to realize reductions in professional services costs associated with
 the Remedio Provisional program, which are 4-5 times more expensive than services provided
 through the regular Special Education program. As of March 2021, PRDE was working on
 completing the required market study on Remedio Provisional pricing and is expected to evaluate
 the results and incorporate revised rates in FY2022. As such, in FY2022 PRDE must implement
 these revised rates, as well as analyze and capture savings achieved.
 Furthermore, PRDE has made slow progress on the implementation of a process to transition
 students from Remedio Provisional to the regular Special Education program. During FY2021, a
 committee was formed to identify students that could be transitioned into the Special Education
 program; however, the committee was ineffective at creating additional capacity needed to serve
 many of these students within the Special Education program, in part because of the challenges
 of the on-going pandemic.
 For FY2022, PRDE proposed that it could transition students receiving psychological or
 individual speech therapy through contracted vendors to the Special Education program as there
 are existing internal resources with capacity to provide these services (e.g., school psychologists).
 As such, in FY2022 PRDE must define and implement a plan to increase the service offering
 capacity of PRDE’s Special Education program in order to transition students from Remedio
 Provisional.

 EXHIBIT 109: REQUIRED IMPLEMENTATION ACTIONS FOR SPECIAL EDUCATION




 14.3.6    Improving financial processes
 As mentioned in Chapter 9, to support the effort of developing a long-term financial plan, PRDE
 must identify and hire a well-qualified chief financial officer (CFO) to lead the process of
 establishing a long-term financial plan that aligns to the strategic plan of the Department,
 incorporates all funding sources, and prepares the Department to address the short and long-term
 education reforms previously outlined in Chapter 9 and Section 14.3. While aligning financial
 resources to student needs should always be a core ambition of an education system, the drastic
 challenges that have arisen over the last year, and the complexity of the Department’s financial
 situation, further underscore the importance of this long-term financial planning exercise. To this
 end, the Oversight Board approved PRDE’s extension request of the long-term financial plan to
 be completed by January 2022.



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 A key component of good financial management at PRDE is understanding, accessing, and fully
 leveraging all available funding resources. Historically, the Department has not used all its federal
 funds prior to the end of the corresponding grant periods, which has been exacerbated by the
 delay in signing the Third-Party Fiduciary Agent (TPFA) contract, as mentioned in Section 14.3.
 Furthermore, the Department has at times been unable to use federal funds for typically allowable
 purposes due to operational mismanagement, as in the case of funding for student transportation.
 The current educational situation in Puerto Rico is too dire not to figure out how to unlock all
 available funds, too urgent not to rethink how these funds are aligned to the Department’s
 strategic priorities, and too complex to address in a single budget cycle.

 EXHIBIT 110: REQUIRED IMPLEMENTATION ACTIONS FOR THE DEVELOPMENT OF A
 LONG-TERM FINANCIAL PLAN




 Lastly, in order to implement the 2022 Fiscal Plan and meet overall objectives
 related to improving support for students, staff, and parents, PRDE must address a
 series of challenges throughout the Department, particularly related to fiscal
 procedures and operational practices. In some cases, fiscal procedures and internal
 controls are well documented, but the Department does not adhere to them. In other instances,
 the Department faces issues when it does not have proper policies or documentation to map
 processes, guarantee internal controls, establish segregation of duties, and designate
 responsibilities.
 For example, based on analysis conducted by the Oversight Board, there is a lack of adherence to
 the Department of Treasury (Hacienda) policies, particularly as it relates to the submission of
 weekly and monthly interfaces that contain accounting information and spending transaction
 details. Based on Hacienda’s Carta Circular 1300-04-09, Hacienda requires all Government
 agencies to submit weekly interfaces by the following Friday, as well as a monthly closing interface
 due 5 business days after the end of the month. However, PRDE does not submit weekly
 interfaces, and, while PRDE does submit monthly closings interface, the agency does not meet the
 established timeline. PRDE claims this is due to the significant number of transaction
 amendments that must be performed to clean the data to avoid errors in transactions (e.g.,
 incorrect account numbers), particularly as it relates to payroll transactions. In addition,
 Hacienda’s Carta Circular 1300-04-09 requires all Government agencies to include
 encumbrances and expenses in the interfaces, however, PRDE only includes expenses and fails to
 share encumbrances until the end of the fiscal year. This non-compliance with the policies and
 procedures established by Hacienda complicates PRDE’s and the Government’s ability to actively
 monitor and manage available resources within the agency, while also limiting spending
 transparency. As such, in FY2022 PRDE must define and implement a plan to address financial
 process concerns related to weekly/monthly soft-closings and year-end closing.


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 Other examples that highlight PRDE’s inability to make informed decisions on a timely basis,
 meet Government-wide policies and increase transparency include:
 ■   Heavy reliance on consultants for everyday functions. PRDE heavily relies on
     consultants throughout the Department (e.g., data analysis and management, federal funds
     administration, human resources systems) which then results in a lack of trained personnel
     within the agency. Although the Oversight Board recognizes PRDE, and any entity for that
     matter, may require external help in implementing effective technology systems or
     implementing leading instructional practices, PRDE must use consultants as bridge capacity
     to build internal capabilities and not as permanent resources. PRDE must ensure its internal
     resources are trained and capable of performing the work consultants do after a reasonable
     amount of time. In addition, starting July 2021, PRDE should have included a reference to
     transfer knowledge and train agency employees on all professional service contracts to lower
     dependency on third-party vendors and consultants over time.
 ■   Bureaucratic procurement processes. The time for procuring services can take over 6
     months, while at the same time PRDE has ineffective manual processes and paper trails, poor
     segregation of duties between responsible personnel, and lack of internal controls (e.g., lack
     of oversight, no adequate training for employees, no proper documentation of required
     approvals). These issues are also highlighted in the Federal Government’s Audit Reports (2019
     Puerto Rico Department of Education’s Internal Controls over the Immediate Aid to Restart
     Schools Operations Program; 2013 Review of Final Expenditures Under ARRA). As such, in
     FY2022 PRDE must define and implement a plan to address all findings identified in state
     and federal audits, digitize the procuring process, establish clear segregation of duties, and
     enforce comprehensive internal controls.
 ■   Lag from the time an encumbrance is recorded, to the time PRDE receives the
     invoice from the vendor, to the time the invoice is paid. PRDE’s Finance Office
     monitors the high dollar amount of encumbrances and the low dollar amount of
     disbursements, however, there is no internal policy or requirement to ensure PRDE programs
     and offices follow up with the vendors to receive and pay the invoices on time. At the end of
     the year, encumbrances are not paid on time, fiscal year State dollars are left unused, and
     these unpaid invoices accumulate as debt. As such, in FY2022 PRDE must define and
     implement an internal process to address lags between the time an encumbrance is recorded,
     to the time PRDE receives the invoice from the vendor, to the time the invoice is paid, as to
     avoid incurring unnecessary debt.
 ■   Inability to liquidate funds on allowable costs before the established deadline.
     For example, in FY2019 and FY2020, there was significant General Fund underspend ($49
     million and $60 million, respectively). However, the Oversight Board recognizes there are
     areas and projects within PRDE that have not been properly funded due to mismanagement
     of funds which highlight the disconnect between resources available and financial planning.
     Similarly, PRDE has to constantly request extensions and waivers from the Federal
     Government in order to liquidate federal grants. As such, in FY2022 PRDE must institute a
     weekly/monthly budget-to-actual analysis to monitor progress on defined workplans among
     the different PRDE programs.
 ■   Discrepancies in account codes used by PRDE, which are not aligned to Hacienda’s
     approved account codes. These discrepancies must be constantly reconciled by both Agencies,
     further complicating and extending the closing and reconciliation processes. As such, in
     FY2022 PRDE must identify discrepancies in accounts codes and implement the codes
     established by Hacienda.
 Improvement of these financial processes will not only enable the implementation of key 2022
 Fiscal Plan reforms and initiatives but will also allow PRDE to better manage costs and use dollars
 more effectively for students. The Department must take clear and tactical actions to improve
 their financial processes as these have a direct impact to the service delivered to students and the


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 financial transparency, controls, and efficiencies that are required to manage their expenditures.
 PRDE must actively and constantly review and improve all financial and operational process, not
 just the ones listed above, which are inefficient and prevent the agency from meeting its goals.

 EXHIBIT 111: REQUIRED IMPLEMENTATION ACTIONS FOR IMPROVING FINANCIAL
 PROCESSES




            Department of Health (DOH)
 As of 2021, the Government has several health-related agencies that are highly fragmented: five
 public corporations, and two agencies, with nine public hospitals in total. One of the agencies is
 the Department of Health with seven health regions and sixteen programs—each of them, with
 their own back-office support functions. Such fragmentation has driven up cost and inefficiency,
 as each agency is required to provide its own human capital management, procurement, and
 financial support. Patient experience and care delivery have also suffered as residents’ cases are
 frequently transferred among frontline staff.
 Additionally, access to care on the Island is significantly lower when compared to national
 averages. This is especially the case outside of the San Juan metro area, given the shortage of
 clinics and trauma centers. As of December 31, 2020, there were 110 Health Professional Shortage
 Areas (HPSA) 274 and 72 Medically Underserved Areas 275 in Puerto Rico. Based on the number of
 additional physicians required to remove HPSA status, as of September 30, 2020, Puerto Rico
 meets 1.91% of demand for primary care (versus the 44.52% national average), 276 16.56% of
 demand for dental care (versus the 29.28% national average), 277 and 14.60% of demand for mental
 health services (versus the 26.9% national average). 278 In Puerto Rico, this fragmented and
 resource-constrained healthcare system has resulted in several issues, including health outcomes
 that are significantly poorer than national averages.


 274 “Designated Health Professional Shortage Areas Statistics, First Quarter of Fiscal Year 2021.” Health Resources and Services
    Administration
 275 HRSA Tools, MUA Find. Accessed March 25, 2021
 276 Primary Care Health Professional Shortage Areas (HPSAs) | KFF, Accessed April 8, 2021
 277 Dental Care Health Professional Shortage Areas (HPSAs) | KFF, Accessed April 10, 2021
 278 Mental Health Care Health Professional Shortage Areas (HPSAs) | KFF, Accessed April 10, 2021


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 The 2022 Fiscal Plan requires the Department of Health to consolidate the following six
 healthcare agencies: Department of Health (DOH); Medical Services Administration (ASEM);
 Health Insurance Administration (ASES); Mental Health and Anti-Addiction Services
 Administration (ASSMCA); Cardiovascular Center of Puerto Rico and the Caribbean (CCPRC);
 and Center for Research, Education, and Medical Services for Diabetes (CDPR) (Exhibit 112). 279
 Consolidating these six agencies will provide the opportunity for rightsizing support functions, as
 well as centralizing procurement to provide savings on costly medical materials, equipment, and
 services. This new consolidated agency should enable efficiencies while focusing on providing a
 high-quality public health care system.

 EXHIBIT 112: AGENCIES INCLUDED IN FUTURE STATE DEPARTMENT OF HEALTH
 GROUPING




 To date, the Government has achieved no progress towards this requirement. Legislation
 presented in December 2019 that was needed to execute the first phase of consolidation
 (consolidation of ASES and DOH) was not recommended by the Senate’s Health Commission,
 and legislation to consolidate the remaining health agencies has not been drafted.
 While ASEM has made initial progress on initiatives to improve supply chain management (e.g.,
 procurement centralization), these initiatives remain in the early stages and must be expanded to
 other health agencies in order to achieve target savings. The revenue cycle management
 optimization initiative has also been delayed for over a year, though a third-party provider has
 been selected and the project was launched in March 2021. Moreover, while an Electronic Health
 Records (I) system has been deployed in the ASEM emergency room, the ASEM Trauma Hospital,
 the DOH University District Hospital for Adults (UDH) and the University Pediatric Hospital
 (HOPU). EHR capabilities and digital hospital management tools across the health agencies
 remain limited since systems are fragmented and information is not integrated or shared between
 systems, creating a barrier to realizing operational efficiencies and lacking a standardized
 reporting system.
 This lack of progress in improving the public healthcare system is particularly problematic given
 the major crises Puerto Rico has faced in recent years – and may continue to face. Though Puerto
 Rico has weathered the COVID-19 pandemic well thus far, with one of the lowest per capita death
 rates of any U.S. state or territory, 280 there have been spikes throughout the year as tourists and
 others return to the Island for holidays and vacations. 281 Moreover, provider infrastructure and
 patient access has not yet fully recovered since Hurricane María, with just 10,580 health
 professionals serving the entire population of 3.2 million people in 2019. 282 While DOH has
 moved to counter some of these issues by coordinating patient care with private hospitals, the
 lingering after effects of the hurricane and COVID-19 may still be a challenge to the health system
 in the future.


 279 University of Puerto Rico Comprehensive Cancer Center will likely remain separate but is maintained in the Health Grouping
    given no formal legislation passed as of April 2022.
 280 Coronavirus in the U.S.: Latest Map and Case Count. NY Times. Accessed March 25, 2021
 281“’Chaotic Situation’: Puerto Ricans indignant at tourists breaking Covid mandates.” NBC News, March 20, 2021
 282 “A 13-year-old’s death highlights Puerto Rico’s post-Maria health care crisis.” Vox, Feb 27, 2020. Accessed March 25, 2021


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 To counter the pressures that the COVID-19 pandemic has placed on the public healthcare system,
 the Oversight Board and the Government made investments of $309 million during FY2022,
 dedicated to targeted infrastructure expansion and improvements. These funds are being invested
 to enable the Government’s near-term response to COVID-19 and to position the healthcare
 system to meet the needs of Puerto Rico. Specifically, (1) to address critical infrastructure gaps in
 Hospital and Health Facilities, (2) to increase capacity by expanding Public Hospitals, (3) invest
 in specific CDTs and Medical Facilities and (4) to improve technology with Medicaid IT and Public
 Hospital IT system. The Oversight Board is monitoring the use of these funds to ensure they are
 spent effectively and in areas of true need. As of December 2021, most of the projects, with $309
 million targeted infrastructure investments have initiated the procurement process, however only
 40.4% of the funds have either been encumbered and/or disbursed (See Exhibit 113 below for
 more detail).
 This additional funding has been complemented by funds from federal legislation related to the
 COVID-19 response, which are allocated to public and private sector health care providers. Major
 estimated funding flows for Puerto Rico include more than $2.4 billion in healthcare related
 programs, under the Preparedness and Response Supplemental Appropriations Act, the Families
 First Coronavirus Response Act, the CARES Act, the CRRSA Act, and the ARP Act. These include
 funds for emergency medical supplies, COVID-19 testing, contact tracing, and vaccination, as well
 as funding for programs like the Provider Relief Fund, the Public Health and Social Services Fund,
 and the Community Healthcare allocations.
 Given the amount of investment in the health system in the wake of COVID-19—and the
 importance of a well-functioning health sector to help Puerto Rico exit the pandemic, it is
 particularly urgent and important for DOH to deploy these funds effectively across various
 priorities. Without meaningful change—both through efficiency measures as well as targeted
 investments in the public health provider system—the health agencies will continue to falter in
 their mission to provide adequate health services for the people of Puerto Rico.

 14.4.1    Investments to enhance healthcare services
 Ensuring access to high quality, affordable healthcare for Puerto Rico continues to be a top
 priority of the Government and Oversight Board. In accordance with this priority and given the
 increased public health needs driven by the earthquakes and the COVID-19 pandemic, the 2020
 Fiscal Plan recommended and included several strategic investments for the health system. Over
 the last year, the Oversight Board has worked with DOH, ASSMCA, ASEM, University of Puerto
 Rico Comprehensive Cancer Center, Cardiovascular Center Corporation, and the University of
 Puerto Rico Medical Sciences Campus to ensure the funds are being spent effectively.
 Unfortunately, many funds remain unspent. However, there are plans to complete the projects
 and see them through fruition with the objective to spend much of what is left. Below is a summary
 of current progress in spending:




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 EXHIBIT 113: HEALTHCARE INVESTMENTS




 In summary, below are the major findings of the most recent progress reported by Health
 Agencies, as of December 2021:
 ■    $51 million out of $309 million (16.5%) have been reported as disbursed. This represents an
      increase of 1% when compared to the November 2021 report.
 ■    $125 million out of $309 million (40.4%) have been reported as encumbered and/or
      disbursed. This represents an increase of 2% when compared to the November 2021
      report. 283
 ■    The expectation is that 188 initiatives representing $74.3 million of the funds will be
      disbursed before end of FY2022.
 ■    136 out of 509 initiatives (27%) have been reported as “Completed”, which represent $25.2
      million of the $309 million (8%). These initiatives have been 100% disbursed.
 ■    323 out of 509 initiatives (63%) are in progress. They have been reported as “Delayed” or “On
      track” within the steps of procurement, which represent $269.2 million of the $309 million
      (87%), of which $98.2 million have been encumbered and/or disbursed.
 ■    50 out of 509 initiatives (10%) have been reported as “At risk” or “Not started”, which
      represent $14.9 million of the $309 million (5%), of which $1.6 million have been encumbered
      and/or disbursed.
 Capital expansions at public hospitals for hospital and health facility infrastructure
 Funds were assigned to address critical, near-term infrastructure needs at public hospitals (e.g.,
 renovation of facilities in major disrepair, installation of air conditioning and purification
 systems, purchase of power generators) and to complete major capital expansions. These

 283 This bullet was updated to correct an error in a previous version of the 2022 Fiscal Plan document.


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 investments are meant to ensure that the health system has the capacity and equipment needed
 to meet the long-term healthcare needs of Puerto Rico.
 DOH, ASSMCA, ASEM, University of Puerto Rico Comprehensive Cancer Center, Cardiovascular
 Center Corporation, and the University of Puerto Rico Medical Sciences Campus originally
 submitted their Action Plans in September 2020, which included their preliminary
 implementation plans per project, and since then, shifts in priorities have been made to reflect
 the most recent funding allocation of $309 million in capital expenditures (CAPEX) projects. At
 this point, most of the projects have initiated the procurement process, but only 40.4% has been
 encumbered and/or disbursed to date. Health Agencies underwent an assessment phase during
 which every site with assigned CAPEX funds was visited to document specific requirements for
 each project. The majority of the projects completed the assessment phase around the end of
 FY2021 and are currently in process of performing the ASG auction or evaluating suppliers before
 reaching the final steps of the procurement process that consist of issuing the Purchase Orders
 (POs). Delays and minimal progress to disburse funds are due to the magnitude of hospital capital
 expenditure projects ($309 million), resource capacity constraints, and/or bureaucratic steps
 within the procurement process that prevent projects to move forward through each step. For
 projects that require acquisition of new equipment, delays have been reported due to scarcity of
 goods and/or failure from suppliers to deliver on time as a result of halted global supply chain.
 Additionally, the dependency of multiple construction projects causes even more delays when not
 fulfilled simultaneously. Meanwhile, funds assigned for Diagnostic and Treatment Centers
 (CDTs) have already been transferred to the corresponding municipalities.
 Public hospital IT
 Funds were budgeted for public hospitals to modernize technology, particularly via
 implementation of Electronic Health Record (EHR) and digital tools for hospital management.
 EHR (or digital patient records) can be accessed by all clinicians involved in a patient’s treatment
 in real-time, enabling integrated communication within and across provider facilities, and
 allowing clinicians to make informed decisions based on comprehensive patient treatment
 histories. Investing in EHR capabilities is expected to reduce clinical/prescription errors and will
 reduce administrative burden in public hospitals. Digital hospital management tools allow
 hospitals to collect and analyze data on patient flow, equipment use, etc. in real-time. Investing
 in these tools will enable operational improvement in public hospitals.
 The Cancer Center has been assigned ~$8 million out of this funding pool to complete the
 implementation of the EHR. Specifically, the objective is to continue the development of the
 necessary infrastructure and implementation of the EHR's project in order to comply with the
 requirements stipulated by the Centers for Medicare and Medicaid Services (CMS) and the
 different health insurance providers.
 Telehealth infrastructure
 Funds were budgeted at DOH to implement telehealth infrastructure to address the urgent need
 to improve access to care outside the San Juan municipal area. Advancements in telehealth
 infrastructure would allow patients to receive care more seamlessly from physicians regardless of
 patient location. This is particularly beneficial to people living in rural areas, and to all of Puerto
 Rico during periods of heightened physical distancing. The goal is for the funding to be invested
 in a telehealth platform and/or to develop access points in facilities (e.g., FQHCs) located in
 underserved areas.
 During FY2021, DOH established a plan for implementing telehealth portals which included the
 following activities : 1) carrying out a diagnosis of telehealth needs in communities and facilities
 in at least three health regions; 2) developing a map of the resources and needs identified; 3)
 defining the technological infrastructure specifications of telehealth; 4) developing and
 implementing a plan to acquire and effectively install the telehealth portals; 5) developing a



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 monitoring plan for the use of telehealth equipment; 6) designing and developing a Health
 Department telehealth portal.
 Furthermore, DOH successfully identified sites outside of the Municipality of San Juan for
 potential installation of telehealth portals. The Department identified seven CDTs as well as sites
 of four community organizations. As reported by DOH, these entities represent key agents for
 reducing healthcare access barriers. DOH will work with the entities to formalize the collaboration
 agreement. However, DOH has disbursed 2% of allocated funds ($115,000).
 Further actions to be achieved during FY2022 include procurement, purchase, and installation of
 the telehealth portals at the sites identified, as outlined in the required implementation actions
 found in Exhibit 115.
 Combating the opioid crisis
 Approximately $20 million dollars was allocated to Fiscal Years 2020 and 2021 to combat the
 opioid crisis, which remains a pressing concern for Puerto Rico. (The full extent of the tragedy
 remains unknown, as data quality from Puerto Rico has been contested). Funding could have been
 used to procure and distribute overdose reversal drugs, invest in community health events, and
 scale existing opioid treatment programs.
 In FY2021, DOH identified three important action items that must be achieved in order to combat
 the crisis: 1) Developing a collaborative action plan to acquire and distribute overdose reversal
 medications as an opioid treatment initiative; 2) Evaluating existing opioid treatment programs
 to improve support and investment in community health events; and 3) Developing the
 technological infrastructure / capacity for the collection and sharing of opioid-related data to
 support informed decision-making.
 DOH and ASSMCA are jointly undertaking efforts to support the implementation of
 improvements and expansion of Puerto Rico's Prescription Drug Monitoring System (PDMP).
 ASSMCA administers the PDMP in Puerto Rico and is responsible for the improvements to be
 made to the system. To this end, DOH established a collaboration agreement (MOU) with
 ASSMCA to develop a joint work plan. DOH and ASSMCA agreed to invest in improvements to
 the PDMP. This approval was granted by Puerto Rico Information Technology Service (PRITS) at
 the end of May 2021. By mid-July 2021 the vendor was able to integrate a module which
 automatically analyzes PDMP data and a patient's health history and provides patient risk scores
 and an interactive display of usage patterns to help identify potential risk factors. These
 improvements to the PDMP should result in the strengthening of monitoring capacities, use of
 data, and access to statistics on prescriptions of controlled substances; the provision of timely and
 reliable information on providers and patients; and the proactive identification of potentially
 problematic or illegal behaviors related to opioid prescription.
 In addition, DOH must develop public awareness campaigns and education on the prevention of,
 misuse and overdose of opioids across health regions. Moreover, they must continue to evaluate
 the action plan for the provision of opioid treatment and forensic analysis, in collaboration with
 relevant government agencies. Action items related to Opioid Prevention are outlined in Exhibit
 115 under the required implementation actions DOH must achieve.
 Loan forgiveness program and endowment fund
 This investment is to fund an independently managed $30 million loan forgiveness program
 which will support healthcare students and residents (e.g., medical, dental, nursing) who commit
 to serving in rural and underserved areas.
 Actions to retain healthcare professionals in Puerto Rico were deemed necessary to address the
 escalating healthcare professional shortages of the Island. It is estimated that as of 2018, two-
 thirds of primary care physicians in Puerto Rico were older than 55 years, as compared with a



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 national rate of 43%. 284 Prior to the COVID-19 pandemic the Island had already faced with
 shortages of medics due to a myriad of factors including recent natural disasters and economic
 challenges.
 Over the past decade, retention issues of healthcare professionals that have obtained advanced
 degrees from medical programs and/or completed residency programs have increased
 substantially. In a study conducted by the Robert Graham Centre it is reported that only four out
 of every ten graduates of family medicine residencies from 2011 to 2017 remained on the Island
 in 2018. Puerto Rico’s new family physician retention rate was placed among the lowest in the
 nation. During that time period, 111 family medicine residents graduated among the Island's four
 residency programs. Of those 111 graduates, only 45 remained practicing in Puerto Rico in 2018,
 yielding a retention rate of 40.5%. 285
 Upon successful completion of residency programs, recent medical school graduates are often
 attracted by potential career opportunities with higher salaries on the mainland. Through this
 Medical Student Loan Forgiveness Program, the Oversight Board seeks to decrease the percentage
 of provider to population gap by both increasing the retention rate of recent medical student
 graduates through economic incentives for medical students who attend and graduate from
 medical programs of universities in Puerto Rico as well as attracting medical students from the
 mainland to healthcare job opportunities on the Island. The economic incentives will be in the
 form of a medical student loan forgiveness program to be awarded to eligible students or residents
 upon completion of approved worked experience with program partnered organizations.
 The 2020 Fiscal Plan allocated a total of $30 million over two fiscal years to be used to establish
 an independently managed loan forgiveness program in order to incentivize doctors to practice in
 underserved areas in Puerto Rico. Funding in the amount of $10 million were budgeted during
 Fiscal Year 2020 and $20 million were budgeted for Fiscal Year 2021. Under this program, each
 medical student or resident would be eligible for up to $25,000 of loan forgiveness per year of
 service – up to four years – in underserved areas and the program would be administered by an
 independent third party. To date, AAFAF has drafted the RFP to identify the third-party vendor
 for the Medical Student Loan Forgiveness Program, however, the same has not been published.
 In recent communications, AAFAF has cited that a Program Committee should be established and
 PRDE should be the presiding member in charge of these efforts, nevertheless, AAFAF will
 participate as an active member of said Committee. Specific action items that must be achieved
 for this initiative are outlined in Exhibit 115 under required implementation actions.
 Hospital Accreditation
 During FY2020 and FY2021, $6 million each year ($12 million total) was allocated to ASSMCA’s
 Dr. Ramón Fernández Marina Río Piedras Psychiatric Hospital to enable the hospital to receive
 accreditation by the CMS. The hospital lost its accreditation in 2009, and since then has been
 unable to bill for services rendered to their Medicaid and Medicare patient population.
 The additional funds were intended to be used to increase care standards by making physical
 repairs to the hospital and improving staffing levels in order to comply with CMS regulations. In
 addition, ASSMCA was allocated $43.8 million in CAPEX funds during FY2020 (extended to be
 used during FY2021) to purchase anti-ligature beds, eliminate hanging points and to perform
 capital improvements to the hospital’s structure and other facilities.
 To date, the hospital has not yet received certification, though there are plans in place to receive
 it in FY2023. The certification process can take years to achieve, though the agency argues that
 recent delays in the process have been mainly due to the COVID-19 pandemic, specifically with
 the recruitment of personnel. Agency claims recruitment is now limited as workforce has been

 284 Bureau of Health Workforce Health Resources and Services Administration (HRSA) – Designated Health Professional Shortage
    Areas Statistics; Third Quarter of Fiscal Year 2020, Designated HPSA Quarterly Summary, June 30, 2020
 285 Robert Graham Center Report: A Shrinking Primary Care Workforce in Puerto Rico, Dec 13, 2019



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 hesitant to work on site and unwilling to be exposed to COVID-19. Additionally, in order for the
 hospitals to be compliant with regulatory agencies, ASSMCA must perform capital improvement
 projects to address infrastructure issues raised by regulatory agencies. These capital improvement
 projects have been delayed for months due to an existing backlog of requests at GSA. However,
 GSA has confirmed that these projects have been prioritized and expects to have all RFPs
 published by the end of FY2021. The 2022 Fiscal Plan allocates ASSMCA $10 million over two
 years, starting in FY2022 to comply with minimum staffing levels at the hospital so that the
 regulatory requirement is met.
 Achieving this certification is of upmost importance to ensure that the people of Puerto Rico have
 access to accredited mental and behavioral health inpatient services within the public healthcare
 system. Additionally, being able to bill for services rendered to the Medicaid and Medicare patient
 population will increase revenues, which can then be reinvested in hospital infrastructure and
 programs for further improvements. ASSMCA aims to achieve the CMS Accreditation by
 September 2022. In order to achieve this the agency must first accomplish several steps including
 but not limited to: 1) recruitment of the necessary personnel to comply with minimum staffing
 levels, 2) creation of rules, policies, and procedures among the different functional areas, 3)
 finalizing capital improvement projects directly related to the hospital accreditation, 4) CMS
 inspector visit, and 5) receive a visit from the Joint Commission auditors. Once the hospital has
 received the letter of recommendation and accreditation from CMS and the Joint Commission,
 the hospital can start billing for the Medicaid and Medicare patient populations. Action items that
 must be achieved by ASSMCA for this initiative are outlined in Exhibit 115 under required
 implementation actions.
 ASEM has the only Trauma Hospital on the Island providing specialized care to adult and
 pediatric patients with multiple body trauma. This includes the Virgin Islands as well.
 Additionally, the Adult University Hospital is the only supra tertiary public hospital of Puerto
 Rico. Both institutions serve as an Academy Program for different health professionals where 24
 Residency Programs are offered. These Residency Programs include Neurosurgery,
 Anesthesiology, Dermatology, Surgery, Physical Medicine and Rehabilitation, Neurology,
 Diagnostic Radiology, Nuclear Medicine, Cardiology, Infectious Diseases, Hematology and
 Oncology, Nephrology, Rheumatology, Gastroenterology, Endocrinology, Allergy and
 Immunology, Infectiology, Obstetrics and Gynecology, Orthopedics, Ophthalmology,
 Otolaryngology and Head & Neck, Pathology and Laboratory Medicine, Urology, and Combined
 Internal Medicine & Pediatrics. During April 2021, the Accreditation Council for Graduate
 Medical Education (ACGME) withdrew the accreditation (effective July 1st, 2022) for the
 Neurosurgery Residency Program, which had been in probation for the past years. Some of the
 ACGME findings were related to deficiencies found in both academic and clinical staff–support
 required - not previously addressed by ASEM and UDH. As such, the 2022 Fiscal Plan allocates a
 $15.2 million budget to be used to hire additional House Staff and Clinical Staff (General Nurses,
 Licensed Practical Nurses, Direct Patient Care Clerks, etc.) which will directly support the
 continuity of the 24 Residency Programs at the institutions. The $15.2 million appropriation will
 be split among ASEM and UDH according to information presented by the agencies.
 Implementation of Electronic Health Records at the Cancer Center
 The 2022 Fiscal Plan allocates to the Cancer Center a $20 million investment over two years,
 contingent upon Cancer Center completing certain actions. By May 2021, the Cancer Center must
 provide a Business Plan detailing specific actions the Center will take to become sustainable by
 FY2024. If this is completed, the Cancer Center will have access to a $10 million appropriation
 for FY2022 which will be held under the custody of OMB. Meanwhile, the Center must also focus
 on EHR implementation during FY2022. This will allow the Center to properly and timely bill
 health insurance provides, increase their collections, and reduce margins of error in their billing
 process. If EHR implementation is completed in FY2022, the Center will have access to an
 additional $10 million during FY2023. The Center must transition to be self-sufficient and rely



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 on their own revenues starting in FY2024. Specific action items that the Cancer Center must
 achieve are detailed in Exhibit 115 under required implementation actions.
 Funding for the Comprehensive Cancer Center
 The 2022 Fiscal Plan provides for $10 million in incremental funding for a period of 7 years
 starting in FY2023 to support cancer research initiatives that will allow the Comprehensive
 Cancer Center of Puerto Rico to obtain formal federal designation of Cancer Center, which will in
 turn provide access to additional federal funds. This funding is contingent upon the Cancer Center
 completing certain milestones as discussed in Part IV:
 ■   The Cancer Center must develop and implement an integrated campaign through advertising,
     digital media, and public relations to promote prevention, early detection and specialized
     treatment health services programs offered at the Hospital by June 30, 2022.
 ■   The Cancer Center must implement the second phase of the Electronic Health Records, which
     involves integrating the Financial Modules, by December 31, 2022.
 ■   The Cancer Center must participate in the 340B Drug Pricing Program by obtaining
     Certifications to purchase prescription drugs at lower cost by June 30, 2024.
 ■   Once the respective milestones are achieved, the Cancer Center must provide a formal notice
     and submit supporting data corroborating such achievement for the Oversight Board’s review.
 Maintaining Direct Patient Care Staffing Levels
 The 2021 Fiscal Plan included ~$9 million additional annual funding for direct patient care
 employees working at the Department of Health. The 2022 Fiscal Plan maintains this level of
 funding. Additionally, all personnel measures impacting the Intellectual Disability Program
 within the Department of Health have been eliminated, as such, the Program can comply with the
 minimum budget established by the court.
 Fulfilling federal requirements
 The 2022 Fiscal Plan allocates funding for fulfillment of three federal requirements:
 ■   Intellectual Disability Program: The Puerto Rico Division of Services for People with
     Intellectual Disabilities is required to have certain standards for services, and state
     appropriations to the program must be fully utilized to meet those standards. A Federal Court
     found that Puerto Rico failed to use state funds allocated for this purpose from FY2015-
     FY2019. Accordingly, the 2021 Fiscal Plan allocated $20 million over four years (FY2021-
     FY2025) in order to reimburse the program. Additionally, as mentioned above, measures
     related to personnel have been eliminated.
 ■   Health 330 Centers: Puerto Rico is required to cover the difference between “reasonable
     costs” and what is reimbursed by the Medicaid Program for federally qualified health centers
     (FQHCs). The 2022 Fiscal Plan includes annual funding to cover these “wraparound
     payments.”
 ■   Psychiatric hospital: The 2021 Fiscal Plan ensured that the annual budget for the
     Psychiatric Hospital in Rio Piedras is a minimum of $23 million. To do this, the 2021 Fiscal
     Plan allocated an incremental $5 million in FY2022 and FY2023 to enable the facility to earn
     its Medicare certification. The 2022 Fiscal Plan maintains this level of funding. Certification
     will drive increased revenues, which can be reinvested in the hospital to maintain full
     compliance with the consent decree.




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 14.4.2    Overview of efficiency actions
 During FY2021, DOH was not required to achieve additional savings over those required in
 FY2020 – this pause was to progress on implementation efforts across key operational
 efficiencies. All savings associated to such pause are reinstated in FY2022. From FY2022
 to FY2026, DOH must achieve the personnel and non-personnel savings outlined in Exhibit 114.
 The exhibit below does not incorporate the impact that the Uniform Remuneration Plan will
 have on certain DOH employee salaries.

 EXHIBIT 114: DEPARTMENT OF HEALTH INVESTMENTS AND MEASURES SUMMARY OF
 IMPACT




 Consolidating administrative and support functions

 Consolidation of health agencies will enable efficiencies in administrative and support areas,
 including Management, General Administration, Auxiliary Services, IT, and a portion of Hospital
 Administration. In addition, operational efficiencies are expected to be realized through
 elimination of duplicative programs across agencies. For example, labor-intensive and/or paper-
 based processes are expected to be streamlined through digitization and implementation of
 software solutions.
 Thus far, efforts to achieve required savings in this area have focused on consolidation. In FY2019,
 DOH conducted an analysis to identify support-function savings that could be achieved through
 consolidation. Legislation to enable consolidation of DOH and ASES was submitted in December
 2019, however, approval was not recommended by the Senate's Health Commission of their 18th
 Legislative Assembly. As a result, progress towards the future state organization has stalled, with
 agencies citing the need for the passage of legislation and leadership alignment as the prerequisite
 for implementation. Although there exists an outstanding need to formalize structural
 consolidation, it is nevertheless critical for health agencies to identify efficiency opportunities
 (e.g., back-office operational improvements, cross-agency coordination, program consolidation)
 to drive operational changes and achieve savings. To date, efforts to achieve operational
 improvements (e.g., implementation of time and attendance reporting, digitalization of finance
 processes) within health agencies have been stagnant.
 Efforts must be undertaken to streamline internal management processes and enable
 identification of further efficiencies. This must include completing a capacity analysis to identify
 duplicative roles and programs across health agencies that must be reduced or centralized. By
 December 2020, DOH was expected to complete such analysis and report that all back-office roles
 and positions by activity and program were assessed. In March 2021, DOH contracted the services
 of a third party to conduct a capacity analysis which was completed at the end of FY2021. DOH
 must now take action and implement efficiencies and task centralizations as identified by the


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 capacity analysis. Action items related to the Capacity Analysis are outlined in the required
 implementation actions found in Exhibit 115.
 Rightsizing of non-administrative health personnel
 As the Puerto Rican population declines, spending on non-administrative payroll such as allied
 health professionals is expected to decline. There are several ways to decrease this spend without
 impacting health services. For example, wages should be aligned with fair market value to reduce
 turnover and the associated spend on temporary/overtime workers, and roles and responsibilities
 should be optimized to skill level and wage rate (e.g., nurses should practice at the “top of their
 license”). Expected savings for this category were determined using the Government’s analysis of
 need and attrition for DOH and ASEM. Furthermore, health agencies should also optimize staff
 placement wherever possible. Best practice hospital management tools, such as shift management
 software, should be used to maximize efficiency. For example, the planning of nurse staffing needs
 is currently done manually at UDH, which limits the opportunity of allocating resources timely
 and efficiently depending on Hospital occupancy.
 DOH hospitals reported underspending in payroll during FY2021, however, no real long-term
 savings have been achieved, as the underspending was not related to achieving efficiencies but
 instead due to the availability of the Coronavirus Relief Funds (CRF) because DOH and ASEM
 were able to pay for regular payroll expenses via the Program for Emergency Assistance to Public
 Hospitals. Meanwhile, hospitals have yet to implement best-practice operational tools to manage
 personnel. Currently, personnel and/or payroll records remain decentralized and outdated.
 Accordingly, health agencies have been unable to provide consistent and comprehensive historical
 or current data on clinical staff roles. Some hospitals report target staff-to-patient ratios, but data
 on utilization, patient flows, and staffing levels is not consistently collected nor digitalized.
 Furthermore, human resources processes (e.g., payroll, hiring) are overly complicated and
 inefficient.
 Simplification and streamlining of these processes will reduce administrative burden and improve
 operational efficiency. Public hospitals must utilize IT investments to implement digital clinical
 management tools that can enable consistent data collection, reporting, and identification of
 opportunities for operational optimization.
 Consolidating regional Medicaid offices

 At the end of FY2018, the Medicaid Program within DOH had 85 offices that provided face-to-
 face service to the public across the 78 municipalities. To date, the Medicaid program has
 successfully reduced the number of offices to 66. These 66 offices are located across 78
 municipalities. Savings from this Medicaid office consolidation (which relate to savings on office
 space and equipment rental, utility expenses, and cleaning services) reached ~$440,000 in
 FY2019 (out of a total of $500,000 required), and additional office location consolidations were
 being considered; however, due to COVID-19 this effort had been deprioritized. During FY2022
 DOH must re-engage in this initiative and achieve the full amount of savings ($500,000 required)
 by June 2022 as outlined in the required implementation actions found in Exhibit 115.
 Reducing the Medicaid office and regional hospital office footprint eliminates duplication of effort
 and allows DOH to provide more robust services at strategic locations. In addition, DOH, through
 the Medicaid Program and in connection with ASES, must redesign the Medicaid eligibility and
 enrollment process to be more web-based, dependent on managed care organizations (MCOs),
 and hospital-centric, and to encourage the use of digital services to improve data management.
 Key priorities going forward relate to operational improvements and digitization of the Medicaid
 eligibility and enrollment process, which are discussed in Section 16.3.1.
 Optimizing supply chain management

 Implementation of procurement best practices and leveraging economies of scale must also be
 extended to non-healthcare categories (e.g., office and general maintenance supplies, security

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 services). Such initiatives are expected to be enabled by agency consolidation and operational
 streamlining. While ASEM has made progress in achieving savings on medical supplies (Exhibit
 115), non-hospital procurement savings have been minimal across health agencies. To help
 expedite savings initiatives, the Government must leverage its ability to utilize the General
 Services Administration’s (GSA) procurement services and rates for non-hospital related
 purchases. 286 Full utilization of these services can drive additional procurement savings.
 With the upcoming centralization of procurement employees into GSA, as established by the new
 GSA Regulation 9230, additional efficiencies within the supply chain management process must
 result in the savings outlined by the 2022 Fiscal Plan. Procurement savings specific to hospitals
 are discussed in Chapter 16.
 Transforming hospital management

 Due to the level of spending and rising costs of medical supplies, services and equipment, there is
 a significant opportunity to improve procurement efficiency for hospitals and health systems by
 focusing on commodity standardization and sourcing, indirect spending (analyzing insourcing
 versus outsourcing opportunities), and physician preference item optimization.
 ASEM was created to serve as a central procurement office for the member institutions of the
 Puerto Rico Medical Center to create economies of scale for medical supplies, devices, and
 services. Over time, procurement costs have increased at a higher rate than those of the broader
 healthcare industry, while procurement processes have become decentralized across the
 institutions that ASEM was created to serve.
 Efforts to address this issue have started with the UDH working with ASEM to centralize
 purchasing and establish competitive bidding. These early efforts have yielded reported savings
 of ~$11 million as reported by ASEM. 287 However, the opportunity exists for more health agencies
 and facilities (e.g., HOPU) to participate in procurement centralization, and efforts must be made
 to expedite this cross-agency cooperation. For FY2022, ASEM must focus on identifying common
 administrative services (i.e., maintenance, cleaning, security services) and medical supplies
 across health agencies and public corporations with opportunities for savings through
 procurement centralizations as outlined in the required implementation actions found in Exhibit
 115.
 Holistic hospital transformation efforts must also reduce payroll spend through clinical labor
 optimization, which is captured in Chapter 16. To date, the health agencies have made successful
 progress toward a full implementation of Electronic Health Records (EHR), except for the UPR
 Comprehensive Cancer Center (CCCUPR), where implementation remains in process with
 completion scheduled for mid-FY2022. For those hospitals that have made substantial progress
 toward EHR implementation, financial savings from deployment and use have not yet
 materialized, as reported.
 The Cancer Center attributes delays in implementing EHR to the contract approval process. The
 absence of EHR at CCCUPR not only affects the level and quality of patient care, but also leads to
 delays in the billing cycle. These delays in turn decrease collection rates with insurance providers,
 affecting the hospital's revenues. By FY2022, the Icer Center must go live with the EHR. As
 discussed in Chapter 16, hospitals must leverage available IT investments to implement digital
 clinical management tools in the near-term.
 Restructuring ASEM and Revenue Cycle Management (RCM)

 Optimized revenue cycle management allows hospitals to establish the most advanced, efficient,
 and effective clinical services registration, improve effective billing of services, timely collection
 on account receivables, as well as health care utilization and patient discharge management. By

 286 GSA order OGP 4800.2I (July 19, 2016).
 287 Reported by ASEM: Strategic Plan FY2020-2021 dated January 4, 2021


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 working with analytics experts, ASEM will increase the speed and accuracy of claims processing,
 improve collection rates with external payors, and maximize revenue.
 ASEM had already selected a vendor to outsource revenue cycle management through a
 competitive process and expected to finalize an outsourcing contract by February 2020. However,
 launch of the project was significantly delayed due to the COVID-19 pandemic and delays in the
 contracting process. ASEM resumed its efforts, and the contract was signed during the third
 quarter of FY2021.
 The Revenue Cycle Management contractor began providing service to ASEM and UDH in mid-
 March 2021. The RCM was implemented using a three-phase approach. The first phase has
 already been completed and consisted of on-boarding staff for a period of two weeks by providing
 training and hands on practice/shadowing of the tasks they must execute. The next step included
 a pre-operational phase where the RCM contractor continued to train staff and hold operational
 meetings to discuss areas of improvement and opportunities with the clinical and administrative
 teams. In the final phase, the RCM contractor became fully operational and in charge in June
 2021.
 Given the recent implementation of the RCM, no significant savings or increased revenue and
 collections have been achieved to date. For FY2023, ASEM must continue with the
 implementation of the RCM and review and monitor the current provider’s performance as
 outlined in the required implementation actions found in Exhibit 115.

 14.4.3   Required implementation actions
 To achieve the 2022 Fiscal Plan requirements, the DOH grouping must complete key operational
 efficiencies as outlined in Exhibit 115.




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 EXHIBIT 115:   REQUIRED   IMPLEMENTATION    ACTIONS   FOR THE    DEPARTMENT
 OF HEALTH




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            Department of Public Safety (DPS)
 The Department of Public Safety (DPS) is an agency grouping which was approved by Puerto
 Rico’s Legislature in 2017 (Act 20) and includes seven bureaus responsible for ensuring safety
 and security for all residents of the Island (Exhibit 116). The DPS grouping includes the
 following agencies: 288

 EXHIBIT 116: LIST OF BUREAUS IN DEPARTMENT OF PUBLIC SAFETY GROUPING1




 Of all Commonwealth agencies, the second largest agency by spend and personnel is the Puerto
 Rico Police Bureau (PRPB), representing ~85% of total DPS spend. Based on reports as of July
 2017, over 2,000 of the 13,000 sworn officers in the Police were fulfilling administrative roles.
 This situation has persisted since 2013, when a consent decree agreement with the U.S.
 Department of Justice on reform measures compelled PRPB to conduct a staffing allocation and
 resources study to assess the proper size of the police force. This study, completed in May 2018,
 found that PRPB needed to rebalance its workforce and move sworn officers to non-
 administrative roles to improve personnel resource allocation and maximize public safety. The
 2022 Fiscal Plan adopted key recommendations from the study to outline necessary efficiency
 actions, including transitioning sworn officers to the field, adding civilians to backfill
 administrative roles, and increasing police salaries to bring to competitive levels as compared to
 the mainland by FY2021.
 For other DPS bureaus, the 2022 Fiscal Plan requires consolidation of back-office functions and
 optimization of non-personnel spend, while allocating funds for priorities such as consent decree
 compliance, materials and equipment, and salary increases for the Firefighters Corps. Specific
 investments and other funding are outlined below.
 To date, the Department of Public Safety has made some progress towards consolidating back-
 office roles through the creation of a shared services structure within DPS, implemented a time
 and attendance system for its shared services structure as well as 4 of its 6 bureaus, and digitized
 all forms (including the CAD system/incident reporting). The formation of a shared services
 structure within DPS, although implemented in FY2021, has added bureaucracy, and created
 additional hurdles related to Procurement and Recruitment affecting the performance of the
 agencies within the umbrella. As a result, the Institute of Forensic Science of Puerto Rico,
 separated from DPS effective December 1, 2020, and took with it all efficiency measures related
 to the Institute.
 As of October 2021, PRPB reported that ~2,400 of 11,473 sworn officers were still performing
 administrative roles, with an additional 542 providing support as police escorts and task forces.
 A combination of high historic attrition rates, the agency’s continued inability to hire additional
 civilian staff, and a push for headcount reductions through Voluntary Transition Programs (VTP)
 has led to a shortage of field officers and increased overtime spend. PRPB implemented two

 288 Forensics Sciences has been maintained as an independent agency per Act 135-2020. Fiscal Plan savings expectations for
    agencies do not change if they are determined to remain independent versus consolidating. As such, 2022 Fiscal Plan targets for
    Forensics will not change


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 academies and recruited 255 cadets in FY2021 to address this shortage, but despite these efforts,
 PRPB has struggled to hire civilians and to enable more cadets and sworn officers to move into
 field roles.
 Recruitment difficulties – for front and administrative roles - continues to be a major hurdle
 amongst other DPS bureaus as well. The Fire Bureau began their first academy since 2016 during
 May 2021, mainly due to delays throughout the entire fiscal year in candidate selection. The
 academy was scheduled to recruit 160 firefighters and graduate by December 2020, but a total of
 140 new recruits were graduated during December 2021. The Emergency Medical Services Bureau
 has yet to recruit staff for 44 vacant positions during FY2022. As such, the 2022 Fiscal Plan
 highlights the need to drive actual changes in processes and back-office efficiencies, as relying on
 retirement incentive programs to reduce frontline staff has the potential to negatively impact
 service levels. The currently unfolding COVID-19 crisis further necessitates DPS bureaus to
 resolve recruitment issues by utilizing payroll investments provided by the 2022 Fiscal Plan (see
 below) to maintain service levels.

 14.5.1    Investments in safeguarding public safety
 The 2021 Fiscal Plan included continued investment in public safety for Puerto Rico. The 2022
 Fiscal Plan maintains these investments. The below detailed investments were intended to enable
 the Bureaus to hire and retain frontline employees and work with proper and sufficient
 equipment. Investments included:
 ■   Sworn police officer salary increase (~$160 million per year): The 2022 Fiscal Plan
     continued the provision of funds to support the 30% increase in salary relative to FY2019
     levels (which already included a $1,500 raise per sworn officer instituted at the beginning of
     FY2019), provided in two installments of 15% each in FY2020 and FY2021. It also maintained
     increased funds for life and disability insurance ($250 per year per sworn officer), employer
     Social Security contributions for all police starting in FY2020, and Law 70 contributions.
 ■   Plan Vital for current and future retired police officers: The Government has
     indicated a need to provide continued health services to those who protect the Island’s
     population in their years of retirement. As such, the 2022 Fiscal Plan includes an initiative to
     support the medical costs that will be endured by retired police officers. The average annual
     cost of this incremental spending initiative from FY2022 to FY2051 is ~$23 million. These
     costs are estimated to be $8 million in FY2023, $10 million in FY2024, and rise steadily
     thereafter before reaching a peak of $35 million in FY2038. This initiative will ensure that
     police officers have access to the Vital program in their years after service to the Island, only
     for the period from retirement to qualification for Medicare. The initiative includes both
     currently retired police officers, as well as active police officers upon their expected
     retirement. It should be noted that police officers that retired after Act 3-2013 became
     effective are not entitled to the $100 per month contribution for health insurance. Recognizing
     that ASES will need to expand Medicaid benefits in order to maximize the new Medicaid
     federal funding cap, the Board expects this incremental spending initiative to be funded by
     the increased federal funds as part of the planned Puerto Rico Medicaid Program expansion
     (see Chapter 16 for more details on the Medicaid program).
 ■   Investments in the Police Bureau for Capital Expenditures ($20 million per
     year): The 2021 Fiscal Plan provides additional funds for new vehicles and fleet replacement.
     The 2022 Fiscal Plan maintains this level of funding.
 ■   Investment in Firefighter salaries (~$8.1 million per year): The 2022 Fiscal Plan
     continued to provide funds to support the $1,500 salary increase provided initially in FY2020
     for all ranking officers and provides the funding required to preserve the FY2021 $1,500 salary
     increase for all Fire Bureau employees, which has an identified source of funds provided in
     Act 181-2019, as amended. Furthermore, the 2022 Fiscal Plan provides for an additional
     $1,500 salary increase ($2.737 million per year) starting FY2023, which has a source of funds


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     Special Revenue Funds identified, representing no incremental impact to the surplus. The
     additional salary increase in the base salary will be applicable to the current base salary scales
     of all classifications established at the beginning of their employment with the Fire Bureau.
     Once the increase is applied, it will be applicable to every active employee and new recruits by
     the Fire Bureau after June 30th, 2022.
 ■   Investments in personnel for Emergency Medical Corps (EMS): Since 2017, EMS
     has registered an improvement in its response time by 14 minutes despite facing attrition of
     ~100 paramedics. Considering the unfolding COVID-19 emergency, the 2020 Fiscal Plan
     provided funding to the Bureau to recruit additional paramedics and further improve
     response time to U.S. mainland standards. Therefore, the 2022 Fiscal Plan continues to
     provide an annual investment of $1.1 million towards the recruitment of paramedics and
     dispatchers.
 ■   PRPB reform: $20 million annual investment in 212 areas of police improvement for three
     consecutive years since FY2020. The 2022 Fiscal Plan includes funding to meet the
     requirements of the agreement/consent decree.
 ■   Police overtime: The 2020 Fiscal Plan included $6.58 million funding for overtime pay and
     implementation and maintenance of the Kronos electronic timekeeping and overtime
     management system. An additional $6.6 million were provided by the 2021 Fiscal Plan during
     FY2022. The 2022 Fiscal Plan maintains this level of funding.
 ■   Investments in personnel and materials for Institute of Forensics: $4.7 million in
     payroll to enable the hiring of forensics scientists, pathologists, examiners, and DNA
     specialists. The 2022 Fiscal Plan continues an investment in Forensic Sciences Institute of
     $2.3 million, for this same purpose.



 14.5.2    Overview of efficiency measures
 DPS was not required to achieve additional savings in FY2021 over those required in FY2020.
 This delay in incremental measures was intended to provide funding urgently needed to
 implement efficiency efforts. However, from FY2022 to FY2025, DPS must achieve the personnel
 and non-personnel savings outlined in Exhibit 117.

 EXHIBIT 117: DEPARTMENT OF PUBLIC SAFETY INVESTMENTS AND MEASURES
 SUMMARY OF IMPACT




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 Transferring sworn officers out of administrative roles and into the field

 As of October 2021, PRPB reported 11,473 sworn officers, of whom ~2,400 are still performing
 administrative roles, with an additional 542 providing support as police escorts and task forces.
 Contrary to what the 2020 Fiscal Plan specified, the amount of sworn officers performing
 administrative tasks has doubled during the past year and a half.
 In accordance with the 2022 Fiscal Plan, PRPB should replace sworn officers currently
 performing civilian duties—such as mechanics, radio operators, record and report keepers, area
 command statistics compilers, and maintenance workers—with less expensive civilian personnel,
 and transfer sworn officers out into communities. In doing so, PRPB will be able to provide better
 services by enabling more officers to work in the field with the community, while reducing overall
 expenditures for the Bureau.
 Fiscal Plans require PRPB to transfer more than 1,000 sworn officers to non-administrative roles
 between FY2020 and FY2025 and hire an additional ~900 civilian personnel to perform the
 administrative functions, while also pursuing efficiency measures to reduce the overall need for
 administrative personnel. PRPB must accomplish this by pursuing process optimization,
 digitizing incident reporting, automating time and attendance systems, and consolidating
 statistical reporting. Furthermore, DPS must streamline vehicle maintenance processes through
 superior scheduling and procurement protocols, which can reduce the need for vehicle
 maintenance staff, as detailed in Exhibit 118.
 To achieve additional efficiencies, PRPB must consolidate police stations, transit units, and
 specialized units to reduce the amount of administrative personnel required (e.g., station desk
 officers, station commanders and directors, stations auxiliary commanders and directors, and
 vehicle managers). Simultaneously, PRPB must eliminate units and divisions which perform
 duplicative services already provided by other agencies within the Government (e.g., the Divers
 Unit, the Rescue Squad Division).
 PRPB has made good progress on these goals, including successfully deploying and fully
 implementing a time and attendance system for its entire personnel as of June 2021, and updating
 to the latest software version of its incident reporting system (TIBURON/CAD).
 However, PRPB is still behind on overall process improvements, as well as its goal of moving more
 sworn officers into the field. The Bureau still has ~2,400 sworn officers serving in administrative
 roles, with overtime expenses still above budgeted amounts. This is due to a lack of real back office
 operational improvement, struggles to hire civilian personnel, and overall attrition rates, as
 recruited cadets help maintain a steady level of sworn officers. The 2022 Fiscal Plan specifies that
 there should be 11,842 active sworn officers and 1,413 active civilians/back-office personnel in
 FY2022. Currently, there are 11,619 and 435, respectively.
 The Bureau has reported no savings from back-office efficiencies. Further, as of October 2021,
 DPS reported that no officers in administrative roles had been replaced by civilian employees.
 This is not in line with the partial back-fill targets required in the 2022 Fiscal Plan. Efforts to
 implement two academies and recruit 255 cadets in FY2021-FY2022, along with a pending start
 date for an Academy with 130 cadets, have not solved current staffing shortages.
 The Bureau has also struggled severely to recruit civilians for administrative roles, despite
 multiple attempts to recruit from civilian staff within government as well as external efforts. In
 FY2021, PRPB launched external recruitment for 130 of the 228 roles stated by the 2022 Fiscal
 Plan. Only 90 civilians have been recruited as of February 2021. No civilians have been recruited
 as of December 2021. The Department claims the limited hiring is due to non-competitive salaries
 for the civilian roles, additional requirements (such as thorough background checks), and
 academic/professional experience needed to qualify. DPS claims to have implemented multiple
 recruitment drives, both within the Government as well as externally, to recruit for accounting
 and IT back-office roles, which they consider extremely difficult to recruit. However, DPS has not


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 provided evidence to substantiate claims of non-competitive salaries or a plan for addressing any
 of these claimed obstacles.
 Without focused action, PRPB will be unable to achieve the actions required to transform its
 operations and ensure it can move more sworn officers onto the streets to improve public safety
 on the Island.
 Reducing overtime

 PRPB spent approximately ~$50 million on overtime in FY2018, excluding the emergency
 overtime needs resulting from Hurricane María. This level of overtime is considerably higher than
 overtime for police forces in comparably sized U.S. mainland states. For instance, Connecticut,
 which has a similar population to Puerto Rico, spent only ~$28 million on a comparable basis in
 2017. This gap persists despite the fact that Connecticut’s total police spend per capita is ~$140
 less than that of Puerto Rico. 289 Fiscal Plans have therefore required PRPB to reduce paid
 overtime by 60% by FY2023, in part through the operational efficiencies noted above, as well as
 by moving more sworn officers into the field and deploying more effective staffing models.
 While PRPB reduced overtime spend in FY2019, FY2020 and FY2021 saw sharp increases driven
 by a shortage of field officers and failure to hire civilian staff. Projections for FY2022 overtime
 expenses maintain a continued increase from the previous two fiscal years. Additional systemic
 factors, such as paying current pay rates for previously incurred overtime, also contributed to the
 increase in overtime pay. Based on the latest information from the PRPB, the Police Bureau had
 already spent ~$29 million on overtime as of December 2021, almost the same as the annual
 spend for FY2020.
 Tracking and managing overtime in Puerto Rico is further complicated by the manual nature of
 the process and a lack of centralized reporting. As a result, DPS does not have visibility into the
 quantity of overtime for a given period. To address this issue, a system to track overtime hours
 (SITAS) has been successfully implemented in the Police Bureau as of June 2021., After fully
 implementing the Kronos/SITAS time & attendance tool, the Bureau must properly track
 overtime and reduced yearly expenses to the $20 million savings required in the 2022 Fiscal Plan
 by outlining an implementation plan to reduce overtime expenses, as detailed in Exhibit 118.
 The Bureau should continue to advance efforts to improve tracking and management of overtime
 to avoid unnecessary costs in future years. Furthermore, the SITAS/Kronos tool must be used to
 identify specific areas and timeframes with unusually high overtime expenses.
 Driving other DPS agency personnel efficiencies

 The other DPS bureaus 290 were required to consolidate back-office functions into the centralized
 DPS administrative agency starting in FY2019, with a goal of 50% reduction in transitory workers
 (excluding PRPB, PRFB, and EMS).
 Measurable progress has been made at DPS in this consolidation. To date, approximately 470
 employees 291 have transferred to DPS from across the six Bureaus, including 323 administrative
 roles from the Police Bureau. DPS has also established direct reporting lines and process
 integration across the remaining six bureaus for Procurement, Legal, Communications, Human
 Resources and Finance, and has migrated all Bureaus onto standardized system software for key
 back-office functions (e.g., accounting, finance, procurement). This should further ease the
 transition to centralized back-office operations beginning FY2022.
 Although DPS now has a budget to fund centralized back-office roles, procedures and key
 performance indicators still need to be established. This is especially true for Recruitment and

 289 Connecticut Office of the State Comptroller; census data 2014; FBI Crime Justice Information Services
 290 Excluding 9-1-1
 291 Including more than 200 positions that are currently vacant (204 as of December 2020)


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 Procurement, where multiple duplicative manual processes are performed in both areas. The
 Oversight Board has yet to receive a proper staffing and capacity analysis of current personnel,
 including detailed information of year-to-date procurement activity. DPS must provide monthly
 implementation reports, as per reporting requirements, regarding recruitment and procurement
 activity and progress for all Bureaus, including Capital Expenditure reports and vacant positions
 filled, as detailed in Exhibit 118.
 The Special Investigations Bureau, the Emergency and Disaster Management Bureau, the
 Government Board of the 911 Service, the Police Bureau and the DPS Shared Service structure
 have adopted the time and attendance system (Kronos) for front office and administrative roles.
 DPS has confirmed plans for implementation of a time and attendance system for the remaining
 two agencies, the Emergency Medical Services Bureau and the Fire Bureau. DPS confirmed the
 implementation in the Emergency Medical Services Bureau should be completed by March 2022,
 while the Fire Bureau has a completion date of June 2022. The time and attendance tool needs to
 be established for all pending front and back-office personnel in order to enable better
 transparency in personnel time allocation and payroll expenditures. Time and attendance for the
 remaining personnel in all DPS Bureaus must be established by June 30, 2022, as detailed in
 Exhibit 118.
 Optimizing all DPS agency non-personnel spending

 PS must achieve procurement savings of 30% in FY2018 spend base. To do so, DPS should
 centralize and consolidate purchasing for all DPS agencies, leverage the negotiating power of the
 federal General Services Administration, utilize e-auctions, and launch competitive Requests for
 Proposal (RFPs) for outsourcing responsibilities. Even though procurement has been centralized
 within the DPS Shared Services structure, they will have to coordinate directly with GSA as the
 Government’s central procurement agency for all purchases of the Bureaus and re-engineer their
 processes as the Shared Services structure has become less effective due to multiple manual
 processes. DPS must use FY2022 appropriations to address these issues, eliminating all current
 manual procedures by June 30, 2022, as detailed in Exhibit 118.

 14.5.3    Required implementation actions
 To achieve the 2022 Fiscal Plan expectations, the Department of Public Safety grouping must
 complete key operational efficiencies as outlined in Exhibit 118.




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 EXHIBIT 118: DEPARTMENT OF PUBLIC SAFETY REQUIRED IMPLEMENTATION ACTIONS




             Department of Corrections and Rehabilitation (DCR)
 The Department of Corrections grouping (Exhibit 119) consists of two agencies: the Department
 of Corrections (DCR), which manages the functions and policies of the Puerto Rican correctional
 system; 292 and the Correctional Health Department (CH), which provides healthcare to the
 incarcerated people under the jurisdiction of DCR. In FY2018, DCR reported a total employee
 headcount of 6,695, for an adult incarcerated population of 9,385 and juvenile population of 156.
 The agencies had a combined FY2018 budget of $419 million.

 EXHIBIT 119: LIST OF AGENCIES IN FUTURE STATE DEPARTMENT OF CORRECTIONS
 AND REHABILITATION GROUPING




 Department of Corrections (DCR)
 While operating an aging prison system dependent on outdated technology does necessitate a
 relatively high staffing level, the actual number of employees at DCR is substantially higher than
 comparable benchmarks. For example, DCR’s FY2018 FTE-to-inmate ratio was 0.71, significantly
 higher than the 75th percentile for correctional staffing ratios in mainland U.S. states (0.54 FTEs
 per inmate). 293 As of March 2021, the FTE-to-inmate ratio is even higher – at 0.82 – largely due
 to reductions in the prisoner population not accompanied by reductions in staff.
 In addition to its inmate population, DCR also served 7,122 community program participants in
 FY2018 (a population three-fourths the size of the total carceral population). In contrast,

 292 This includes all penal institutions and rehabilitation facilities for men, women, and juveniles
 293 NASBO, FBI, BJS databases


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 mainland U.S. states with FTE-to-inmate ratios near 0.54 serve nearly 3.6 times as many
 community program participants as the number of incarcerated adults in state prisons 294.
 Additionally, while most U.S. state prison systems are near 100% utilization, as of March 2021
 Puerto Rico facility utilization is 73%, which only considers habitable spaces. 295
 Correctional Health (CH)
 To deliver healthcare services to incarcerated people, CH employs a hybrid management model
 comprising of in-house direct care providers and contracted healthcare delivery through third-
 party healthcare providers (e.g., Physicians, Mental health professionals). While most states in
 the U.S. have a direct-care model or use staff for administration and outsource healthcare, CH’s
 model is relatively complex and unique, with the contracted vendor directly managing CH’s roster
 staff. In FY2018, CH spent $8,499 per incarcerated person to provide healthcare services, while
 median spend across U.S. mainland states was $5,763. 296
 Juvenile Programs
 In 1994, the United States filed a complaint against the Commonwealth of Puerto Rico and some
 named officials for subjecting juveniles confined in residential facilities to conditions that
 deprived them of their federal rights. The Commonwealth and the named Commonwealth officials
 agreed to settle the matter with the United States, culminating in the comprehensive 1997
 Settlement Agreement. On December 12, 1997, the U.S. District Court for the District of Puerto
 Rico (“USDC”) entered the Settlement Agreement as an Order. The USDC appointed a Monitor to
 ensure compliance with the provisions in the Settlement Agreement. In a report made for 2019,
 the Monitor concluded that the Department of Correction and Rehabilitation was non-compliant
 on three (3) provisions and partially compliant on twenty-one (21) of the remaining thirty (30)
 provisions in the court approved Settlement Agreement. The non and partial compliance
 provisions were related to inadequate staffing levels, which hinder the security of the juveniles,
 and to facility conditions. To address these issues, the Federal Monitor concluded in a report that
 an adequate staffing analysis and a separate budget for the Juvenile Program would be conducive
 towards good management.
 In April 2020, the USDC ordered the establishment of a separate budget for the Juvenile Program
 in the amount of $22 million to ensure the Juvenile Program would have the necessary resources
 to operate and condition the juvenile facilities. Going forward, the Certified Budget will continue
 to segregate the Juvenile Program budget at a granular concept code level.
 The Oversight Board has not seen any progress towards achieving operational efficiencies by DCR
 or CH. DCR’s system-wide utilization of space for adult prisons continues to decline, coming in at
 56% utilization as of February 2021. This decline has primarily been driven by government
 restrictions relating to COVID-19, as courts were closed for the first months of the pandemic and
 no pre-trial cases could be seen. This forced DCR to release some pre-trial incarcerated people, as
 the agency is not allowed to house them for more than 6 months if not convicted of a crime. As a
 result, the adult incarcerated population in DCR declined by 19% from June 2020 to February
 2021, up from an average decline of 6% per year from 2014 and early 2020. However, total DCR
 employees have declined by just 4% per year since 2014.
 Following the earthquakes, DCR closed a severely damaged facility in Ponce, and two other
 facilities were partially evacuated. This required two formerly-consolidated facilities to be
 reopened in order to temporarily house transferred inmates. As of 2021, DCR has stabilized its
 distribution of inmates to the proper facilities. However, a new challenge arose this year with the
 advent of COVID-19. Positive test results among incarcerated people and DCR employees has
 complicated operations, as agency safety protocols have necessitated the use of some facilities for
 quarantine. In light of these operational challenges, it is imperative for DCR to identify

 294 Bureau of Justice Statistics, 2014
 295 Bureau of Justice Statistics, 2014
 296 Pew Trust “Prison Health Care: Costs and Quality” Report, 2017


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 inefficiencies currently embedded in the system and enhance Puerto Rico’s correctional facilities,
 thereby making existing spaces more operationally useful and optimizing delivery of healthcare
 service to its inmates.
 While in FY2021 DCR and CH were not held to any incremental measures, DCR and CH are
 expected to continue agency efficiencies in FY2022 to continue moving toward a more efficient
 staffing model and facility footprint. To enable progress, the Oversight Board made a one-time
 investment of $500,000 for a feasibility study to identify major areas in disrepair and in need of
 capital investment. Unfortunately, the completion date of this study was delayed due to COVID-
 19 from December 2020 to May 2021. As a result, the agency has paused any further
 consolidations. This will continue to impact potential savings, as DCR has yet to show
 procurement savings resulting from the large incarcerated population decline in FY2021.The
 Oversight Board strongly believes that DCR must focus more carefully on how it spends its
 resources so that it can more successfully deliver on its mission to protect inmate and staff safety.
 The 2022 Fiscal Plan also includes explicit funding to enable DCR to measure and monitor federal
 consent decree requirements, including:
 ■   Corrections reform: The 2022 Fiscal Plan ensures funding to achieve minimum
     confinement standards and inmate support at Puerto Rico Corrections facilities.
 ■   Juvenile corrections: The U.S. District Court required a $22 million budget for the FY2021
     Juvenile program following a joint recommendation from the Juvenile Program and the
     Federal Monitor. The 2022 Fiscal Plan includes funding to meet the requirements of the
     Court.
 ■   Correctional Health reform: The Fiscal Plan provides funding to meet correctional health
     requirements based on the Carlos Morales Feliciano case.
 The 2022 Fiscal Plan also provides, as mentioned in Part IV, investments in operational capacity
 to improve government service delivery. DCR correction officers’ face an outdated compensation
 structure. The 2022 Fiscal Plan provides opportunities to participate in adjustments that bring
 pay closer to competitive levels, supporting efforts to foster a high performing-workforce
 (approximately $16.4 million).
 The 2022 Fiscal Plan provides for a salary increase of 15% and would be implemented in a two-
 phase approach, subject to completion of certain milestones intended to develop areas of impact
 for DCR while enhancing accountability and transparency:
 ■   Phase 1 (baseline increase): A 10% increase in the base line salary will be applicable to
     the current base salary scales of the correctional officers established at the beginning of their
     employment. Once the increase is applied, it will be applicable to every correctional officer
     who is recruited as a regular or transitory employee after June 30, 2022. In the case of current
     correctional officers, they will receive a 10% increase to their current salaries. This 10%
     increase will be applied July 1, 2022.
 ■   Phase 2 (time and attendance milestone): The agency is currently implementing an
     integrated and automated time and attendance (T&A) reporting system to ensure that only
     active employees who are working get paid (see Section 13.4.1). T&A implementation is
     expected to provide savings, accountability, and transparency with regards to personnel time
     allocation and payroll expenditures. Implementation of the automated time and attendance
     system tied to the payroll system is expected to be completed by March 2022. A successful
     T&A implementation requires: a complete system integration go-live including a direct link to
     Hacienda's payroll system (RHUM), implementation of an updated employee manual,
     updated agency internal controls that support tracking of overtime expenditures and allow the
     agency to reduce overspending, and achievement of 90% or more attendance reporting by
     correctional officers through the automated T&A system during the pay cycles of June 15 and
     June 30, 2022 thru the use of biometric clocks to register presence at work. Upon successful
     completion of this milestone, the 2022 Fiscal Plan provides for an additional 5% increase. This


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     increase will be applicable to the base salary scales of the correctional officers established at
     the beginning of their employment. Once the increase is applied, it will be applicable to every
     correctional officer who is recruited as a regular or transitory employee after June 30, 2022.
     In the case of current correctional officers, they will receive an additional 5% increase to their
     salaries. This 5% increase will be effective July 1, 2022.

 14.6.1       Overview of efficiency measures
 For FY2021, the 2020 Fiscal Plan did not require additional savings for DCR and CH. This pause
 was meant to allow the agencies to implement urgent efficiency efforts. However, from FY2022
 to FY2026, DCR must achieve the personnel and non-personnel savings outlined in Exhibit 120.

 EXHIBIT 120: DEPARTMENT OF CORRECTIONS AND REHABILITATION INVESTMENTS
 AND MEASURES SUMMARY OF IMPACT




 Optimizing the FTEs-to-inmate ratio

 Personnel savings must be captured by reducing DCR FTEs per inmate. The agency is
 required to meet target FTE-to-Inmate ratio of 0.63 by FY2023. This is a slight increase from the
 bottom-quartile U.S. states’ benchmark of 0.54, which was the target ratio in past Fiscal Plans. 297
 Considering the minimum staffing needs established by law for juvenile facilities and DCR’s
 obligations towards community program participants (through socio-penal technicians), DCR
 must achieve headcount reduction targets by rightsizing administrative staff roles and redirecting
 correctional officers currently working in administrative or civilian roles. Despite the
 requirements of the 2020 Certified Fiscal Plan on this issue, the FTE ratio has increased from
 0.67 in June 2020 to 0.82 as of February 2021 reporting; as the inmate population continues to
 decline due to COVID-19 implications.
 DCR must achieve these personnel reductions by employing back-office process efficiencies (see
 Exhibit 121 below). These include building internal capacity, increasing access to information
 technology, establishing clear measurement tools for identifying progress in implementation and
 quality of services rendered, identifying and training staff to assume leadership positions in
 Finance and Operations, having increased control over its budget, and strengthening quality
 assurance systems. The Oversight Board believes these changes are necessary to establish better



 297 Census data, 2014; Bureau of Justice Statistics, 2014


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 administration of services provided to both DCR employees and to the adult and juvenile
 incarcerated populations.
 Consolidating adult facilities

 To bring the system in line with the requirements of the population and to increase utilization
 across all prison facilities, DCR is required to consolidate its footprint to reach an overall system
 utilization of 93% (see Exhibit 121). This must be achieved while maintaining appropriate
 separation of different inmate risk profiles and populations, including men, women, and
 juveniles, as required.
 DCR’s facilities are technologically outdated with rapidly deteriorating infrastructure. Repairs are
 needed for plumbing, electric, roof sealings and gate repairs, among other concerns. In FY2021
 DCR was required to conduct a facility footprint and consolidation assessment study with the
 objectives of: (1) diagnosing the current state of infrastructure across its facilities; (2) identifying
 capex investment needs; and (3) identifying opportunities for additional facility consolidation.
 This assessment was meant to serve as a guiding tool for DCR to implement the consolidation of
 facilities following an overarching and comprehensive approach. Unfortunately, due to the
 pandemic, the study was delayed from December 2020 with results being provided at the end of
 FY2021. The delays were attributed to a long hiring process and the vendor not being able to travel
 to the Island due to COVID-19 concerns.
 DCR reported consolidating five prisons before FY2018 in addition to closing four prison facilities,
 including two juvenile facilities – a departure from 2020 Fiscal Plan expectations. However, DCR
 has continued to operate those facilities, at least in part, using them as storage, administrative
 offices, or program offices (e.g., community program, special arrests). As a result, no savings from
 the closure of these facilities have been achieved.
 Meanwhile, despite the reported consolidation of facilities, system-wide utilization rates for
 facilities that house inmates continue to be low. DCR is now operating a total of 33 facilities with
 a total capacity of 12,643. With an incarcerated population of 7,125, this implies a utilization rate
 of just 56%. This indicates potential for DCR to further consolidate additional facilities.
 Almost 23% of DCR’s total capacity is reportedly ‘uninhabitable’. To enable improvement in
 habitability of this excess space, the Oversight Board provided DCR a one-time capex allocation
 of $19.2 million in FY2020. However, the agency did not utilize these funds to improve
 habitability of spaces, instead spending the funds on regular roof repairs, perimeter gates repairs,
 infrastructure repairs and purchase/installation of power generators. Given the lower inmate
 population, DCR has consistently pointed to the uninhabitable spaces in large prisons. Making
 these spaces habitable is key to the further consolidation of DCR facilities. 298
 Completion of the feasibility study will provide additional clarity and further direction as to which
 facilities are ideal for additional consolidation, either by investing in repairs to uninhabitable
 spaces and or by making the general repairs needed to existing facilities.
 The vendor was expected to provide the final recommendation at the end of FY2021, agency must
 analyze and establish their plan to implement the results of the study. Agency must prioritize
 implementing the consolidation of its footprint and operational consolidation must still be
 realized for the agency to achieve savings. DCR must cease operations in facilities not currently
 used to house inmates and, accordingly, wind down maintenance and operating costs. At a
 minimum, DCR should shut off utilities (electricity, water) at these facilities, and identify
 opportunities to enable transfer of ownership wherever possible. Agency continues to use closed
 facilities for other needs, such as storage, as well as reopening previously closed facilities to
 temporarily move inmates due to the January 2020 earthquakes and to accommodate special
 needs created by the COVID-19 pandemic. Capital improvements for facility modernization (e.g.,

 298 As of January 2021 data, 11 facilities with the lowest utilization rates had 925 inmates who could be transferred to the remaining
     facilities to increase system wide utilization rates to 91%


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 electronic monitoring through installation of security cameras, automated gates, etc.) should also
 be expected to reduce dependence on front-line personnel and enable personnel efficiencies.
 Overall, the 2022 Fiscal Plan expects 40% of non-personnel operating expenditures to be captured
 by FY2025 for each closed facility by consolidating the physical footprint, winding down
 contracts, and other levers. The remaining operating expenditures should be transferred to
 support population increases in the remaining facilities.
 Reducing procurement spend

 DCR FY2018 total addressable spent totaled $52.5 million on procurement. It was determined
 that these costs could be reduced through leveraging the negotiating power of the Federal General
 Services Administration, utilizing e-auctions, launching competitive Requests for Proposal
 (RFPs), centralizing purchasing to the greatest extent possible, and outsourcing/contracting
 responsibilities.
 Procurement efficiency measures included a $5.6 million HMO contract savings, and $5.1 million
 in procurement efficiencies. In FY2019 and FY2020, DCR reported ~$4 million in procurement
 savings through renegotiating its HMO contract for the delivery of correctional health services
 and closing administrative offices and the juvenile facility at Humacao. However, in that same
 period, DCR has not met the additional annual saving goal of $5.1 million in procurement
 efficiencies.
 In FY2021, which saw a decline in the incarcerated population of 9%, DCR reported savings only
 on food costs, while other contracted services either maintained or increased spend. Furthermore,
 this savings in food costs is expected to be reduced or eliminated when the agency changes its food
 provider before FY2022. This change will result in paying more per plate, with added services
 such as management of commissary stores, laundry and equipment replacement for the managed
 areas without proportional changes in those in-house costs.
 For FY2022, DCR is required to continue procurement savings as the inmate population declines.
 Possible correctional facility consolidations in FY2022 will drive savings opportunities for the
 agency as long as they implement feasibility study recommendations to continue to eliminate its
 facility footprint
 Improving management of prisoner healthcare

 In FY2018, the Government spent $8,499 per inmate for correctional healthcare. The 2022 Fiscal
 Plan required the Government to bring per-inmate spend in line with the 50th percentile of U.S.
 states and unlock savings by renegotiating existing contracts, launching competitive RFPs for key
 contracts with terms more in-line with mainland spending practices, reconsidering level of service
 due to the currently declining prison population, and strategically evaluating insourcing options.
 As of FY2021 CH has implemented a generic medicine program across all facilities, with the goal
 of reducing medicine expenditure.
 Furthermore, CH is expected to achieve personnel efficiencies of $8.2 million as per FY2018
 baseline. In order to achieve savings, agency needs to reevaluate its staffing policies for
 administrative and support roles (such as paraprofessionals, pharmacists, etc.), and implement
 back-office process efficiencies and/or centralization/digitization of common tasks across
 facilities (see Exhibit 121 below).
 CH reported achieving procurement savings in FY2019 through efficient inventory management,
 renegotiating procurement contracts with rebates, implementing generic drug buying policy, and
 enacting new medication formulary and clinical management. 299 The Oversight Board provided
 one-time additional funding of $8 million to cover projected overspend. However, the agency
 continues to struggle to implement the efficiency savings required by the 2020 Fiscal Plan. Even

 299 As reported by Physicians HMO – correctional health administration and management vendor.


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 as DCR has achieved procurement savings through renegotiating the correctional health HMO
 contract and food services contract, there are still opportunities to evaluate potential savings on
 other contracts in Correctional Health, including those for sub-contractors. CH is required to
 achieve savings of $4.6 million in FY2022 (see Exhibit 121). 300

 14.6.2       Required implementation actions.
 To achieve the 2022 Fiscal Plan requirements, the Department of Corrections and Rehabilitation
 grouping must complete key operational efficiencies as outlined in Exhibit 121.

 EXHIBIT 121: DEPARTMENT OF CORRECTIONS REQUIRED IMPLEMENTATION ACTIONS




            Department of Economic Development and Commerce
            (DDEC)
 The DDEC includes a consortium of agencies critical to incentivize and support the revitalization
 and transformation of Puerto Rico’s economy. To promote growth, DDEC must enable high-
 impact projects, energize existing industries, and facilitate the attraction of off-Island investments
 to strengthen and modernize the Island’s economy. Additionally, the Department manages a
 variety of youth and workforce development programs meant to foster qualities (e.g.,
 entrepreneurship, job-preparedness) crucial to a growing economy. Finally, DDEC and its
 component agencies are charged with the implementation of structural reforms (e.g., overhauling
 permitting) to transform Puerto Rico into a more competitive business, tourist, and investment
 destination.
 To ensure streamlined economic development and realize efficiencies, seven agencies have been
 slated for full front- and back-office consolidation into DDEC, with three more agencies to be
 assigned to the Department. Assigned agencies will consolidate their back offices into DDEC but
 retain separate front offices. The agencies to be consolidated are as shown below (Exhibit 122).




 300 Contract with Carolina Catering was established prior to FY2020. However, ongoing legal proceedings with Trinity catering (prior
    vendor) has delayed implementation of the new contract.


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 EXHIBIT 122: LIST OF AGENCIES IN FUTURE STATE DEPARTMENT OF ECONOMIC
 DEVELOPMENT GROUPING




 14.7.1    Overview of efficiency measures
 From FY2022 to FY2026, DDEC must achieve the savings outlined in Exhibit 123.

 EXHIBIT 123: DEPARTMENT OF ECONOMIC DEVELOPMENT INVESTMENTS AND
 MEASURES SUMMARY OF IMPACT




 Consolidating operations and rightsizing personnel

 The 2022 Fiscal Plan requires DDEC to consolidate 10 entities, which is expected to yield
 significant personnel and non-personnel savings. This consolidation requires DDEC to clearly
 define each agency’s responsibilities, which will limit costs and prevent overlapping duties. Each
 agency’s responsibilities must also be distinguished from those of Discover Puerto Rico (DPR),
 currently responsible for attracting off-Island tourists, groups, and conventions, and Invest
 Puerto Rico (IPR), which is charged with attracting offshore investments from businesses.
 The 2022 Fiscal Plan requires DDEC to realize front and back-office personnel efficiencies as the
 Department consolidates other agencies. Specifically, DDEC should reduce front-line personnel
 by 20% by FY2022 to produce a streamlined and efficient organization. In line with the findings
 of a Government analysis that identified a redundancy in service of back-office personnel across
 the Department, DDEC should also consolidate back-office operations to reduce back-office



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 headcount by 41% by FY2022.         Further, DDEC should establish a set of key performance
 indicators, targets, and milestones for each of its subsidiaries to measure the performance of its
 subsidiaries and partners and act to address issues.
 To date, DDEC has made substantial progress by operationally consolidating 70% of agencies.
 The seven agencies have moved to a centralized accounting and payroll systems. Pending entities
 includes the Puerto Rico Tourism Company (PRTC), Roosevelt Roads (RR) and Planning Board
 (PB).
 Although DDEC has integrated seven of ten agencies and merged agencies’ back-offices into one,
 targets are at-risk due to PB, PRTC, and RR. DDEC has struggled to integrate PB's back-office due
 to the lack of cooperation from the agency. However, in October 2020, Planning Board identified
 36 employees that can be transferred to DDEC without affecting the agency's operations. This list
 was given to DDEC, but DDEC did not proceed with the transfer of these employees. As a result,
 PB's management sent an updated list in March 2021, with only ’7 identified employees. Planning
 Board's consolidation into DDEC must be finalized in FY2022 (see Exhibit 124).
 At the beginning of FY2021, PRTC transferred approximately 157 employees to the Gaming
 Commission. Currently, the agency has 209 employees, of which 46 are front-office (22%), 136
 are back-office (65%), and 27 are working in another agency (13%). In addition to the
 consolidation of PRTC as a program under DDEC, efforts to reduce back-office personnel in the
 agency are pivotal for the operational efficiency of PRTC.
 The required capacity analysis for the future state of DDEC explaining the various offices and the
 required personnel remains incomplete. The 2021 Fiscal Plan required the agency to commence
 the project as soon as possible and have it finalized by September 2021 (see Exhibit 124).
 Further, DDEC has so far reduced headcount only through Voluntary Transition Programs (VTP)
 or natural attrition. To achieve personnel reductions in a manner that does not compromise short-
 term or long-term operational capabilities, DDEC will need to analyze its personnel base and
 develop a targeted plan for what roles could be rationalized (see Exhibit 124).
 Achieving non-personnel efficiencies

 DDEC must reduce non-personnel spend by 30% by FY2022. DDEC has yet to initiate its
 procurement reform, which should aim to generate savings through contract renegotiations.
 Going forward, DDEC must focus on reviewing all its procurement contracts and identifying top
 contenders for contract consolidation or renegotiation.
 In addition to reducing procurement spend, DDEC was required to consolidate its physical
 footprint to accommodate all programmatic areas and back-office personnel, and manage all tax
 exemptions, grants, and credits under one centralized Department. Previously it was intended
 that employees should be consolidated in two main buildings, but current management decided
 to consolidate all personnel in PRIDCO's Hato Rey building located in Roosevelt Avenue. To date,
 DDEC consolidated all of its employees, with the exception of Planning Board and Tourism, into
 the Hato Rey building.

 14.7.2      Required implementation actions
 DDEC has a set of required implementation actions which will dictate the operational efficiency
 of the grouping moving forward. In FY2022, DDEC must achieve the following:
 ■   Finalize the physical and operational consolidation of the agencies (including PRTC and
     Planning Board)



 301 DDEC analysis, 2018


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 ■   Conduct an operational needs assessment to identify excess resources and reduce superfluous
     front- and back-office personnel
 ■   Start and finalize the procurement contract renegotiations
 ■   Publish the quarterly reports
 During FY2021, DDEC was given an implementation milestone, to publish quarterly reports on
 the agency's website detailing all economic incentive donation/subsidy amounts given to private
 corporations. If they achieved the milestone, up to $1.8 million would be provided per quarter for
 their operational budget. DDEC has published the quarterly reports, thus receiving the incentives
 for the first two quarters of FY2021. For FY2022, the implementation milestone will be applied
 as in FY2021 and it is expected the agency will improve the quarterly reporting to expand on the
 description of the economic activity, include return on investment (ROI), NAICS industry code
 and number of employees (see Exhibit 124).
 The 2021 Fiscal Plan included an implementation milestone which required DDEC to publish
 quarterly reports on the agency’s website detailing all economic incentive donation/subsidy
 amounts given to private entities. If they achieved said milestone, DDEC would receive up to $1.8
 million incentives per quarter to be used for their operational budget. In FY2021, the Oversight
 Board approved the incentives however noted, return on investment (ROI) calculation was not
 included in the report for all incentives granted. During FY2022, DDEC committed to update the
 report including ROI for all incentives granted. DDEC anticipates publishing the updated report
 by January 29, 2022. Upon submission, the Oversight Board will review and determine if DDEC
 has compiled with all requirements to receive the respective milestone incentives.
 To achieve the 2022 Fiscal Plan requirements, the DDEC must complete key operational
 efficiencies as outlined in Exhibit 124.

 EXHIBIT 124: DDEC REQUIRED IMPLEMENTATION ACTIONS




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          Puerto Rico Innovation and Technology Services (PRITS)

 14.8.1    Context and current technology landscape in the Government of Puerto
           Rico
 The Puerto Rico Innovation and Technology Services (PRITS) was created to establish an
 administrative structure responsible for technology strategy across the Government of Puerto
 Rico.
 The 2017 Executive Order that established PRITS gave it the following responsibilities, among
 others:
 ■   Integration of technology into government management
 ■   Promotion of public, private, and academic projects in the technological field
 ■   Creation of a digital platform to integrate the different components and government entities
 ■   Generation of a system of tax payment and bank transfers under Hacienda
 ■   Development of a public accountability system
 In March 2019, an additional Executive Order reinforced the additional leadership roles and
 responsibilities of PRITS, including transferring the responsibilities of the Office of the Chief
 Information Officer (CIO) to PRITS and establishing the role of the Chief Information and
 Innovation Officer (CIIO). The CIIO is in charge of integrating and streamlining the Government's
 information and communication technology processes.
 In July 2019, the Government enacted Act 75-2019, making PRITS the office of the Executive
 Branch responsible for implementing, developing, and coordinating the Government's public
 policy on innovation, and information technology (“IT”). However, PRITS’s first few years were
 marked by delays in the development and adoption of key technological reforms, as well as
 insufficient oversight of the use of technological resources.
 To better enable PRITS to carry out its responsibilities, the Oversight Board approved its FY2021
 budget of $70 million. These funds included a $2.5 million payroll increase for new skilled
 personnel and over $3o million in additional operational expenses for investments in
 cybersecurity, centralized data centers, strategy and operations, cloud services, and the
 implementation of centralized telecommunication services.
 During FY2021, PRITS made some progress in improving transparency and accountability of IT
 spend across Government. For example, the Proposal Evaluation Guidelines (“PEG”) were
 implemented to standardize criteria used by PRITS to evaluate innovation and technology
 proposals submitted by the Government agencies. Additionally, PRITS has improved oversight by
 establishing better communication with agency information officers and developing an inventory
 of available technology infrastructure and applications used by the government agencies.
 In addition to these accomplishments, however, PRITS has room to make more effective use of
 its technology resources and available funding. First, PRITS still has room for improvement in
 integrating its IT infrastructure (e.g., on-premises data centers and cloud storage) and services
 (e.g., applications) across the Government. During FY2021, PRITS was granted $10 million for
 centralized data center strategy and operations, cloud services and new equipment. Such funding
 should have been utilized by PRITS for investments in centralized IT infrastructure and the
 migration of existing government services into such centralized IT infrastructure. These efforts
 would significantly reduce the need for infrastructure and cloud services at the agency level,
 which, in many instances, are being underutilized. The agency has been able to provide a
 preliminary strategic detailed plan for the data center consolidation, which should result in
 potential benefits such as reducing operational costs, meeting energy efficiency standards, limit
 capital expenditures, increase utilization of equipment, and prevent security risks, among others.


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 Also, PRITS has made progress with the integration of services and applications identified in its
 inventory by consolidating the cloud service contract to include some government agencies.
 PRITS must continue to make progress in the implementation of centralized telecommunication
 services and cybersecurity strategy and operations.
 Second, although PRITS was granted $3.3 million in FY2021 for full staffing (including
 specialized resources), which continued in FY2022, the agency suffered significant delays in
 formalizing a Government-approved organizational structure. In fairness, these delays coincided
 with other bureaucratic obstacles in the recruitment process, such as outdated job classifications
 not reflective of agency staffing needs. PRITS was able to recruit key positions such as Chief
 Information Security Officer (CISO), and Chief Technology Officer (CTO) and continue its efforts
 to recruit personnel with expertise in solution development, operations, and technology
 architecture, that resulted in a ~$1.7 million Payroll underspend in FY’021 and ultimately
 hindered the agency's ability to meet some implementation deadlines.
 The Government and PRITS should continue to focus on the creation of centralized teams with
 the specialized skills needed to accelerate infrastructure consolidation and improve the
 Government’s ability to deliver new technology solutions. Agencies continue to rely too heavily on
 external vendors rather than building the capabilities of PRITS to lead and manage these
 initiatives. Similarly, there continues to be unclear accountability for technologies developed at
 the agency level. As a result, pieces of infrastructure are developed and managed separately, with
 dispersed accountability, creating a complex web of oversight, incremental cost, and ineffective
 systems. Additionally, while it is apparent that certain agencies are taking advantage of the
 centralized cloud infrastructure by moving additional services into the cloud, the savings and
 existing budgets associated with the operational costs of on-premises data centers and other
 related expenses are not being transferred to PRITS.
 As provided by the Act 75 of 2019, the Governor has the authority to transfer to PRITS personnel,
 funds, budgets, documents, records, equipment, materials, and files of any other IT operational
 area of any agency, for use in the purposes and purposes of the Act. The Government and PRITS
 should continue to work together to ensure that PRITS has the necessary resources to fulfill its
 mandate of centralizing and standardizing the management of the information technologies and
 innovation areas of government.

 14.8.2    Importance of digital modernization
 It is critical that the Government make effective use of its technology resources. The Government,
 via PRITS, must continue to improve its capabilities in digital delivery to achieve critical benefits,
 including:
 ■   Reducing expenses and improving reliability through data-center consolidation.
     Since 2016, the Federal Government has closed 210 tiered data centers, and over 3,000 non-
     tiered data centers. To realize the full benefit of this action, PRITS must implement best
     practices at the state and federal level. These should include increasing use of virtualization,
     freezing new data centers unless compelling justification exists, and exploring the use of cross-
     agency shared services.
 ■   Rationalizing the application portfolio to ensure that Government-wide
     resources are directed to the highest priority initiatives.            Modern governments
     face substantially higher demand for technology services than can be fulfilled. In a resource-
     constrained environment, disciplined application portfolio management can ensure
     alignment between IT spend and government priorities. Accordingly, PRITS must implement
     a Government-wide application rationalization effort which prioritizes proven solutions.
     These are likely to include creating a portfolio management governance approach;
     establishing a baseline inventory of applications; assessing the business value and total cost
     of ownership of the applications; scoring/ranking applications; and creating a forward-
     looking plan to migrate the portfolio to higher-value uses.

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 ■   Enhancing cybersecurity to prevent costly data breaches. As cyber threats continue
     to proliferate, government agencies globally have adopted cybersecurity-specific risk
     management practices. PRITS must improve the Government’s cyber defenses by developing
     a government-wide view of “crown jewels” in the technology ecosystem that must be
     protected, providing policy guidance to agencies setting forth evolving standards and
     requirements, and coordinating delivery of specialized expertise across government where the
     need arises.
 ■   Improving transparency and accountability of IT spend across government and
     focusing on value for IT dollar spending. PRITS will realize its greatest impact when
     stakeholders are given a clear line of sight into where IT spending is going, and what value is
     being delivered. Encouraging agencies spending government resources to provide this
     transparency should therefore be a core focus for PRITS, rather than pursuing a centralized
     effort that treats transparency as incremental to existing IT spending.

 14.8.3    Required implementation actions
 In line with the four key initiatives stated above, PRITS must achieve the following objectives and
 milestones (Exhibit 125).

 EXHIBIT 125: PUERTO RICO INNOVATION AND TECHNOLOGY SERVICES REQUIRED
 IMPLEMENTATION ACTIONS




          Legislative Assembly
 As of FY2017, the size of the Puerto Rican Legislative Assembly was significantly larger than
 comparable legislatures in U.S. mainland states, even when accounting for the demands of full-
 time legislatures and excluding the money that the Legislature spends on supporting non-profit
 organizations. Puerto Rico spent $34.16 per resident on addressable legislature expenditure,
 while the weighted average expenditure per capita for comparable “full-time” U.S. mainland
 legislatures (e.g., in Michigan, California, New York, and Pennsylvania) was $13.11. The variance
 persists even when legislative expenditure is considered as a percentage of GDP. As such,
 reductions to the size and funding of the Legislature were necessary to bring it in line with
 benchmarks and optimize government funds.

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 Contingent on obtaining and maintaining adequate Medicaid funding, the 2022 Fiscal Plan
 increases the Legislative Assembly’s budget by $15 million beginning FY2023 with a pro rata
 amount in FY2022. This is to bring reductions that had been made to Legislative Assembly’s
 budget to be more in line with those made to the budgets of other Executive Branch agencies.
 Also, an additional allocation of $3 million annually is available for the creation of a non-partisan
 office within the Legislative Assembly to produce fiscal analysis and scoring of legislative
 measures, similar to the function of the Congressional Budget Office in Washington, DC. This
 office will serve both the House and Senate.
 Measures shown in Exhibit 126 will be reduced by approximately $8 million in FY2022 and $15
 million beginning FY2023 because of the incremental funding provided as mentioned above.

 EXHIBIT 126: LEGISLATIVE ASSEMBLY INVESTMENTS AND MEASURES SUMMARY OF
 IMPACT




          General Court of Justice
 The General Court of Justice, although to a lesser extent, was similarly over U.S. mainland cost
 benchmarks in FY2018 (by ~35% when compared to the median cost of mainland full-time
 Judiciaries). As such, the 2022 Fiscal Plan continues to require that the Court maintains agency
 efficiency measures equivalent to a 10% reduction in their annual budget, amount that the Court
 cut in his FY2018 budget. Therefore, it was not required to achieve additional savings in FY2021
 or in future years.
 The 2022 Fiscal Plan provides for $11 million in incremental funding, starting in FY2023 to cover
 salary increases for all employees of the General Courts of Justice (equivalent to a $200 monthly
 increase, which is on average a 7% increase, to all employees of the judicial branch except judges),
 irrespective of any specific position and including, but not limited to, bailiffs/marshals,
 secretaries, among others.




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 EXHIBIT 127: GENERAL COURT OF JUSTICE INVESTMENTS AND MEASURES SUMMARY
 OF IMPACT




         State Elections Commission
 The State Elections Commission (SEC or “CEE” by its Spanish acronym) is charged with
 administering elections for the Commonwealth. Given this important role, every effort must be
 made to ensure that SEC can thoroughly execute its mandate to promote and enable voter rights
 for the people of Puerto Rico in the most efficient, simplest, and least costly ways. The Oversight
 Board is deeply committed to supporting elections that are conducted in a fair, free, and open
 manner. Consistent with this objective, the Oversight Board also requires the SEC to adapt its
 processes to bring down the Island’s cost of election administration closer to that of mainland
 states.
 On June 20, 2020, after the certification of the 2020 Fiscal Plan, the Government of Puerto Rico
 enacted Act 58-2020, restructuring SEC's operation’ in alignment with the Oversight Board's
 January 201’ recommendation. Act 58 modernizes SEC's operations by providing for the
 implementation of an Electronic Poll Book, the elimination of separate voter ID cards, the
 expansion of mail-in Early and Absentee voting, and the eventual elimination of "Juntas de
 Inscripción Permanentes” (JIPS), which should be replaced by more consolidated State Centers
 for Integrated Voter Services.
 To enable the SEC to seamlessly administer expected FY2021 electoral activities, the Oversight
 Board approved extending one-time funding of $7 million in FY2020 for the presidential and local
 primaries, both of which were rescheduled to FY2021 due to the COVID19 pandemic. The 2020
 Fiscal Plan also provided $9 million for the FY2021 general elections and the same amount every
 four years thereafter. Following both the 2020 Fiscal Plan and budget certifications, the Oversight
 Board addressed SEC's late requests for further resources by allocating an additional $2.3 million
 for primaries, $11.2 million for the general elections, $3.5 million for a referendum and $0.8
 million in federal fund matching for the agency to execute its mission of ensuring the democratic
 process. Unfortunately, SEC experienced significant confusion and delays in the vote counting
 process, later claiming that it was unprepared to manage the significant increase in mail-in votes.
 Finally, SEC ended up returning ~$3 million of its allocated funds after the election, highlighting
 administrative failures within the agency.
 The 2022 Fiscal Plan provides an incremental funding of $6.2 million starting on FY2023 to
 maintain the electoral equality, equal participation and representation of the five (5) political
 parties across all offices as required by Act 58-2020, such as Inscription Offices (550), Office of
 the Commissioner’s (50), and Secretaries (41). Given the escalation of funding over the past two


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 years and the continued struggles of the SEC to meet its mandate, the agency needs to rethink its
 operations to conduct a fairer, more transparent, and efficient electoral process that assures the
 rights of all constituents of the Commonwealth of Puerto Rico. Moreover, SEC should fully
 capitalize on the decreased workload of this upcoming non-election year to enact real progress on
 agency efficiencies as well as aligning their resources and employees to comply with the
 requirements of Act 58-2020, as amended.
 Payroll measures in Exhibit 128 are reduced by the incremental payroll funding of $6.2 million
 starting on FY2023 to comply with the positions required by Act 58-2020 to ensure electoral
 balance.

 EXHIBIT 128: STATE ELECTIONS COMMISSION INVESTMENTS AND MEASURES
 SUMMARY OF IMPACT




          Agencies that promote public integrity and transparency
 There is wide agreement that driving a successful fiscal transformation within the Government of
 Puerto Rico will require public integrity and transparency at every turn. Within the Government,
 several agencies are dedicated to maintaining this oversight and fiscal responsibility: namely, the
 Office of the Comptroller, and the Office of Government Ethics, among others. In line with the
 priorities of the Governor, the functioning of these agencies is critical to achieving the goals and
 ensuring the long-term sustainability of the 2022 Fiscal Plan. Accordingly, the budgets for the
 Office of the Comptroller and the Office of Government Ethics will not be affected by agency-
 specific rightsizing measures, but must still achieve Christmas bonus reduction, uniform
 healthcare, and utilities savings.
 To ensure that these integrity and oversight agencies have the resources they need to perform
 their statutory and constitutional functions, the 2022 Fiscal Plan provides incremental funding of
 $6 million for salary adjustments and new positions in critical areas. $2.5 million annually is
 being made available for a salary adjustment applicable to current employees at these agencies
 (representing a 5% salary increase) commencing in FY2023. In addition, the 2022 Fiscal Plan
 provides $3.5 million for new positions starting in FY2023. New positions will be subject to
 achieving the milestone of agency implementation of new employee evaluation system and
 recruitment platform that will be developed through the CSR rollout. The oversight entities that
 are part of this investment are: Institute of Statistics, Office of the Comptroller of Puerto Rico,
 Office of the Electoral, Office of Government Ethics, Office of the Inspector General and Special
 Independent Prosecutor’s Panel.



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 The 2022 Fiscal Plan also provides $5.3 million in incremental General Funding starting in
 FY2023 for the Office of the Inspector General (OIG). The agency has faced challenges invoicing
 other agencies and public corporations for the costs related to the transfer of internal auditors
 into the OIG that resulted in added administrative burden. The incremental funding will eliminate
 the administrative process and provide stability and focus for the agency to continue with
 independent oversight, fiscal discipline, and anti-corruption measures in the government.


          All other agencies
 To date, implementation progress and engagement has varied across the smaller Government
 agencies. Some agencies are developing meaningful tools and creative solutions to achieve
 savings. For example, the Department of Agriculture is planning digital solutions to reduce
 personnel, while the Department of Environment’s green tourism initiative envisions creating job
 opportunities and tax revenues. Still, many agencies have not planned to implement their
 respective changes effectively, resulting in slow progress to reach their savings targets. The
 Government of Puerto Rico must continue looking for ways to reduce back-office expenditures,
 align staffing levels to the volume of services required, and upgrade those services needed to
 accommodate for current conditions.
 Some success has been achieved to date in these areas. For instance, the Prosecutor Panel was
 able to reduce staffing levels during several months of the year to reflect the lower volume of work.
 The Utility Commission was able to consolidate all back-office functions and move into one
 office/building. The Puerto Rico Education Council was able to consolidate State Departments in
 under 90 days and saved over $400 thousand by reducing office footprint. Finally, the Office of
 Women’s Advocacy successfully provided its employees with the necessary equipment to process
 increased call volume after the COVID-19 emergency declaration.

 14.13.1 Required implementation actions
 To achieve the 2022 Fiscal Plan requirements, all agency groupings must complete key
 operational efficiencies as outlined in Exhibit 129, with particular requirements associated with
 the Department of Natural Resources.

 EXHIBIT 129: REQUIRED IMPLEMENTATION ACTIONS FOR OTHER AGENCY GROUPINGS




 14.13.2 Required implementation actions related to the Volkswagen Diesel
         Emissions Environmental Mitigation Trust
 The 2022 Fiscal Plan also notes the existence of funding from the Volkswagen Diesel Emissions
 Environmental Mitigation Trust. This funding has been available since January 29, 2018 but has
 gone unused due to Government delays in meeting the necessary requirements for accessing

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 funds from the trust, as well as in the recruitment of necessary personnel for the development and
 implementation of the mitigation projects.
  On March 27, 2020, the Department of Natural and Environmental Resources was designated as
 Puerto Rico’s lead agency for this project, and a high-level action plan has since been developed.
 Moreover, on September 30, 2020, an Administrative Order with guidelines to evaluate and select
 proposals was issued, and public notice was published in October 2020 through major
 newspapers to notify interested parties of the availability of funds under the Mitigation Action
 Project. Several proposals were submitted thereafter for evaluation. On March 30, 2021, a
 committee was established to evaluate proposals and the members appointed are being notified.
 The Department of Natural and Environmental Resources (DNER) expects the committee will
 evaluate and select approved proposals to then begin the disbursement of funds in the near term.
 Agency is currently reaching out to proponents that successfully met with the program
 requirements to commence contract documentation and funds disbursement by June 2022.

 EXHIBIT 130: REQUIRED IMPLEMENTATION ACTIONS RELATED TO THE VOLKSWAGEN
 DIESEL EMISSIONS ENVIRONMENTAL MITIGATION TRUST




 In summary, the implementation of agency efficiency measures is necessary to achieve a
 sustainable and effective Government for Puerto Rico. Fiscal measures should aim to reduce costs
 while improving the quality of important services. Unfortunately, the Government has too often
 opted to maintain balanced budgets through quick wins such as incentivized retirement programs
 that have impaired direct service functions, instead of driving initiatives and reengineering
 processes that will result in efficient services and spending.

 The 2022 Fiscal Plan requires continuation of rightsizing measures to further reduce operating
 budgets, while focusing valuable resources on improved government service delivery and
 prioritization of investments into rekey areas requested by the Governor. Notwithstanding the
 pause in fiscal measures included in the 2020 Fiscal Plan to achieve full implementation of
 previous measures, few agencies took full advantage and made significant implementation
 progress. Although the Oversight Board is cognizant that natural disasters and the COVID-19
 pandemic have challenged government implementation, efforts must restart with urgency. Time
 is of the essence to implement the changes needed to bring Puerto Rico closer to fiscal
 sustainability paired with government efficiency.




                    Strengthening Puerto Rico’s technology sector

         Broadband infrastructure
 The 2012 Puerto Rico Broadband Strategic Plan (written by Connect Puerto Rico, in conjunction
 with the Puerto Rico Telecommunications Regulatory Board and the Puerto Rico Broadband
 Taskforce) established a vision of a Puerto Rico with fast, robust, redundant, and ubiquitous
 broadband access. Broadband provides numerous socio-economic benefits to communities and
 individuals, including improving labor market outcomes by enabling remote education and
 increasing business productivity through better connectivity, providing access to better health


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 care through telemedicine for those in rural areas, and enhancing civic participation through
 better access to information.
 During the COVID-19 pandemic, internet access has become even more important to residents’
 livelihoods. Across the U.S., telemedicine is becoming more widespread as a way to deliver health
 services safely. As public and private school systems alike move to distance learning models,
 students who do not have access to reliable, high-speed internet are unable to participate – and
 therefore fall farther behind. Finally, many employers have shifted to remote or hybrid working
 models, meaning participation in the formal sector requires stable broadband access.
 Unfortunately, within Puerto Rico, while there was some growth in broadband deployment in
 2011-2014 (driven by an aggressive capacity upgrade of cable networks, as well as the deployment
 of fiber by other broadband providers), critical broadband infrastructure gaps still exist,
 particularly across rural areas of the Island. As of 2014 (the most recent year for which data is
 available), while ~99% of urban households across Puerto Rico had access to speeds of at least 10
 Mbps download and 1.5 Mbps upload, this was true for only ~66% of rural households (see Exhibit
 131 below). 302 Broadband adoption figures across Puerto Rico also reveal a persistent gap among
 certain demographic groups. Broadband non-adopters in Puerto Rico are generally low-income
 groups, senior residents, people with disabilities, and/or individuals with less education, which
 mirrors demographic trends related to broadband adoption on the U.S. mainland. These gaps
 have possibly widened since Hurricanes Irma and María, particularly in the mountainous region
 of Puerto Rico, where topography has hindered replacement of damaged infrastructure.

 EXHIBIT 131: PUERTO RICO BROADBAND STRATEGIC ASSESSMENT (2015) – UNSERVED
 HOUSEHOLDS




 Addressing the digital divide is critical to ensuring that all residents of Puerto Rico can take
 advantage of the many well-documented socio-economic benefits afforded by Internet
 connections. These benefits are most evident when people have access to the Internet at speeds
 fast enough to be considered broadband since these speeds are required to facilitate full
 interaction with advanced online platforms.



 302 Puerto Rico Broadband Strategic Assessment, 2015


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 Historically, the Federal Government has created a number of programs to expand and subsidize
 broadband access throughout the United States, including the Federal Communications
 Commission (FCC) Uniendo a Puerto Rico Fund, the FCC E-Rate and Rural Health Care
 programs, and the FCC Connect America Fund (CAF), amongst others. To date, these programs
 have yet to fully address the particular needs of Puerto Rico with regard to broadband availability,
 quality of service, and adoption, and significant gaps in service availability and take-up
 remain. For example, the Uniendo a Puerto Rico Fund, an FCC reverse auction program to help
 rebuild the fixed and mobile broadband infrastructure damaged during the 2017 hurricanes,
 awarded $385.9 million for a 10-year period totaling ($127.1 million and $258.8 million, for fixed
 and mobile infrastructure, respectively). Although wide in coverage, this program emphasized
 availability of service over affordability, adoption and usage and focused on deployment across
 residential locations, potentially overlooking public institutions.
 Furthermore, Puerto Rico was recently awarded significant broadband eligible federal funding
 through the CARES Act, the CRRSA, and ARPA, but other eligible uses for immediate pandemic
 response were largely given priority. Finally, while significant new national funding is expected
 through the recently passed Infrastructure Investment and Jobs Act, funds for Puerto Rico are to
 be determined, and could be less than expected.
 To truly address broadband affordability and accessibility, more investment is needed. As
 such, the 2022 Fiscal Plan complements federal programs with $400 million in FY2022 (to be
 used over three years) to accelerate growth in broadband access and expand resident adoption
 and use of online resources, develop necessary and reliable data through an assessment of
 broadband availability, incentivize private sector investments in broadband build-out, and to
 improve access to faster speed offerings in underserved areas (the “Broadband Infrastructure
 Fund”). This emulates the approach taken by several states such as Illinois, Minnesota, California,
 and Kentucky. While the overarching goal of all these sources of funding is aligned with that of
 federal programs, their focus, scope, granting and eligibility criteria, and disbursement timeline
 are different and complementary.
 Meanwhile, in order to maximize the impact of these resources, an integrative, comprehensive,
 and well-coordinated broadband strategy is required. This coordinated strategy should help
 overcome barriers to broadband expansion, ensure that all residents, enterprises, and public
 institutions in Puerto Rico benefit from this capacity, and ensure that critical public institutions
 (e.g., schools, hospitals, libraries) can stay connected. The goal is that the Broadband
 Infrastructure Fund will support expansion efforts in unserved and underserved areas through a
 grant program (the “Broadband Infrastructure Grant Program”) that will fund a portion of the
 cost of deployment in these communities.
 The Broadband Infrastructure Fund and its associated grant program, stand to complement the
 existing federally funded programs by:
 ■   Developing and implementing a purpose-built broadband program for the needs of Puerto
     Rico
 ■   Updating the Puerto Rico Broadband Strategic Assessment, and establishing a system for
     continual updates, data analysis and maintenance
 ■   Providing increased penetration and faster connectivity to users, at levels compatible with the
     2015 Puerto Rico Strategic Assessment (100/50) and higher than minimum federal
     requirements (25/3)
 ■   Driving up adoption and usage (~40% of Puerto Rico households do not have an internet
     subscription)
 ■   Connecting critical public institutions, including schools, hospitals, and libraries
 ■   Enhancing resiliency of infrastructure by favoring buried conduit over aerial infrastructure


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 ■   Encouraging the participation of local vendors (~69% of local residents live in areas where
     there is only one provider)
 ■   Providing for roll out over a shorter timeframe (3-years as opposed to 10 years)
 ■   Enabling up-to-date and reliable local data distribution supporting FCC monitoring and
     assessing the digital divide
 A successful Broadband Infrastructure Grant Program will require strong leadership,
 accountability, continuity, and willingness to work with a broad range of entities, both within the
 Government and the private sector. There are a variety of ways U.S. mainland states structure
 their broadband programs (e.g., some states, including Minnesota and Colorado, have broadband
 offices established by statute or executive order, while others, including Tennessee, have staff
 within an agency dedicated to supporting broadband programs). In the case of Puerto Rico, the
 Broadband Infrastructure Grant Program will be managed by a third-party administrator (the
 “Grant Administrator”) who will develop and manage a transparent and user-friendly grant
 application process, including development of the grant application, and will monitor
 disbursements from the Broadband Infrastructure Fund, amongst other administrative services.
 This 2022 Fiscal Plan requires AAFAF to conduct a transparent, competitive procurement
 process, as reviewed and approved by the Oversight Board, to select the Grant Administrator. The
 selected Grant Administrator shall have a staff of experienced professionals and a dynamic
 network of collaborators that include a broad range of private and government organizations. The
 Grant Administrator must also ensure accountability by requiring that all grantees demonstrate
 they are providing the service they were funded to deliver, while also providing the data needed
 to evaluate the program and progress toward defined goals.
 The 2020 Fiscal Plan indicated that AAFAF had to complete the procurement by December 1,
 2020, and on October 21, 2020, AAFAF released a Request for Proposals (RFP) for broadband
 infrastructure grant administrator services (i.e., procure the Grant Administrator). A total of 4
 proposals were received by the RFP’s deadline. On February 1st, 2021, AAFAF confirmed 5
 members for a selection committee, which began to evaluate all proposals. To date, a preferred
 proponent has not been selected as a Grant Administrator. A schedule for the spending of these
 funds is shown in Exhibit 132 below.

 EXHIBIT 132: ALLOCATION OF STRATEGIC INVESTMENT FUNDING FOR TELECOM
 BROADBAND INFRASTRUCTURE ($M)




 Over the next three years, in partnership with the Federal Government and public and private
 stakeholders, the Grant Administrator must collaborate to assess, evaluate, and map various
 opportunities for broadband expansion. Broadband inventory maps and technology assessment
 research will enable a better understanding of the Puerto Rico broadband market and help define
 infrastructure needs in underserved regions, as well as ensure that money is sent to the right
 places. The Grant Administrator, in collaboration with the broadband provider community,

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 information and communication technology providers, K-12 education stakeholders, the higher-
 education community, healthcare professionals, local government, grassroots community groups
 working to address the digital divide in their communities, and private sector groups for whom
 broadband is an essential investment asset, will be responsible for:
 ■   Monitoring, measuring, and assessing the impact of broadband across the Puerto Rico
     economy
 ■   Measuring and publishing aggregate, industry-wide data regarding broadband investment
     trends
 ■   Measuring and publishing aggregate broadband use patterns
 ■   Adjusting Puerto Rico economic indicators to estimate and monitor the impact broadband has
     on the overall economy
 Moreover, the Grant Administrator will set up the Broadband Infrastructure Grant Program and
 develop a solicited proposal mechanism with the goal of providing funding to telecommunications
 operators and other Internet Service Providers to support broadband deployment in unserved and
 underserved areas. The Grant Administrator will be overseen by a 5-member government
 committee (the “Grant Committee”) which will provide guidance as it relates to the grant
 administration services and ultimately approve any grants awarded by the Grant Administrator.
 The Grant Committee will also have one (1) ex-officio and non-voting member from the Oversight
 Board.
 Once funding has been approved and disbursed, the Grant Administrator must institute grant
 reporting, data collection, and other accountability measures to ensure that funded projects
 deliver the promised service and provide data necessary for the state to evaluate progress toward
 its goals. Additionally, and to speed up deployment, the Grant Administrator, in collaboration
 with relevant telecommunication stakeholders, must also work to streamline construction
 permitting and planning, and leverage existing public assets, such as poles, ducts, conduits, and
 rights-of-ways, to incentivize private broadband investments.
 The Grant Administrator will also provide timely information and strategic planning support to
 grantees who can leverage FCC funding opportunities as part of the broadband build-out.
 Therefore, program grants will need to “plug in” some of the gaps inherent in the federal
 programs, like focusing on critical institutions (e.g., schools, hospitals, libraries), enhancing
 resiliency of infrastructure by favoring buried conduit, encouraging higher speed infrastructure
 (100/1000 fixed, 5G wireless), and making service more affordable by driving adoption and
 utilization of disadvantaged populations.
 By ensuring the Government enhances measuring, monitoring and strategic oversight of telecoms
 and internet service providers, the 2022 Fiscal Plan expects to improve the overall infrastructure
 on the Island and to provide enhanced opportunities—through better and more equal access to
 education, healthcare, and information—for the people of Puerto Rico. The goals set forth by
 the 2022 Fiscal Plan, which require a Grant Administrator to conduct a data assessment and
 develop a new strategic plan in consultation with local stakeholders, will ensure a holistic vision
 for the program, one that is distinct and complementary to other broadband funding streams.
 In order to achieve all these objectives in a timely manner and ensure access to this funding, the
 Government must accomplish the following actions by their respective deadlines:




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 EXHIBIT 133: REQUIRED IMPLEMENTATION                                     ACTIONS    FOR   THE   BROADBAND
 INFRASTRUCTURE GRANT PROGRAM




            21st Century Technical and Business Education Fund
 In addition to funding for telecom and broadband infrastructure, the 2022 Fiscal Plan recognizes
 the importance of investing to close core skill gaps and ensure the people of Puerto Rico are able
 to compete in a global economy. Creating an aligned, 21st century workforce that prepares
 residents of Puerto Rico to thrive is the central challenge to maintaining economic
 competitiveness over the next decade.
 As the pace of technological change has accelerated, one core skill gap in Puerto Rico is around
 technical capabilities. To close the gap for people who are already in the workforce, Puerto Rico
 must take a learner-centric approach to make it easier to access targeted technical education.
 Meanwhile, as businesses look for new skillsets, they are often willing to look beyond college
 graduates to fill open roles – especially for technical skills. According to a recent survey by Future
 Workforce, 90% of employers would hire candidates who validate their knowledge using a
 certification, digital badge, or coursework in lieu of a college degree. 303 In addition, 55% of
 employers often offer jobs to people who have not finished college. Today, the number of both
 traditional and non-degree credentials is rising. There are now 315,067 unique credential
 programs from non-academic organizations, with the largest categories being digital badges and
 online course completion certificates. Coding bootcamps, which have appeared recently, were
 responsible for over 1,000 unique credentials.
 In Puerto Rico, there are initiatives such as Codetrotters Academy, which offers 10-week
 certification programs in web and mobile development, and the Holberton School, which recently
 opened a campus on the Island. However, these programs are limited and may not be affordable
 to many residents. In addition, they mostly focus on web development and programming, thereby
 leaving an array of important technical areas uncovered, such as cloud infrastructure, server
 administration, cyber security, business intelligence, artificial intelligence (AI), and machine
 learning (ML).
 Addressing the need for additional short-duration technical and business education opportunities
 requires forceful and forward-thinking leadership. To spearhead this drive for Puerto Rico, the
 2022 Fiscal Plan allocates $50 million for a 21st century Technical and Business Education Fund.
 The 2020 Fiscal Plan required AAFAF to conduct a transparent, competitive procurement process
 as reviewed and approved by the Oversight Board to select an organization to serve as the

 303 Future Workplace and Wiley Education Services, “Closing the Skills Gap,” 2019


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 administrator of these funds (the “Education Fund Administrator”). The selected Education Fund
 Administrator must have a staff of experienced professionals and a dynamic network of
 collaborators that include a broad range of private and government organizations. AAFAF must
 complete the procurement by December 1, 2020. To date, the RFP Request for Proposal has not
 been completed and a fund administrator has not been selected. The Oversight Board expects this
 administrator to be selected by September 2021, in order for the Government to keep access to
 funding for this important program.
 The Education Fund Administrator will be tasked with developing a plan for 21st century technical
 and business skills for the entire workforce pipeline in Puerto Rico. The plan will prioritize the
 technical and business areas/skills to focus on, and the program will partner with multiple
 stakeholders in catalyzing and evolving the skills ecosystem. Scholarships would be made
 available for programs that are certified by the Education Fund Administrator, which would do
 so in alignment with the skill development plan. To support these efforts, the Education Fund
 Administrator must establish an engagement mechanism with stakeholders (e.g., a private sector
 taskforce), publish the results of its skills assessment report, create the supporting infrastructure
 for the scholarship program, and put in place a regular monitoring and evaluation process.
 Furthermore, the plan will allow universities and private providers to develop and open programs
 in anticipation of fees from the scholars’ enrollment. Given the importance of online learning, the
 plan should also encourage programs to be offered in multiple formats, be it online, on campus,
 or a hybrid of the two.




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 PART V: Transforming government to better
 serve the residents
 In addition to structural reforms, the Government must also implement fiscal measures to create
 a sustainable fiscal future for Puerto Rico. Fiscal measures should reduce costs while maintaining
 or improving the quality of important services. The wide range of government efficiency initiatives
 target an increase in revenues through new and more efficient collections activities, while
 decreasing government expenditures by ensuring reasonable usage of resources.
 Although the Government has successfully maintained balanced budgets established by the Fiscal
 Plans, it has been slow to make meaningful progress in transforming its processes and
 organizational structures. These measures are necessary to sustainably reduce the Island’s cost of
 operations. This delayed progress has created precarious risk to government service delivery,
 especially given recent events.
 The earthquakes and the COVID-19 crisis have caused local residents to be especially reliant on
 the Government to effectively and efficiently provide public services. At the same time, the
 Government has received significant funding from both the Federal Government and the
 Oversight Board to respond to COVID-19, ensure service provision, and spur economic recovery.
 For one, the Oversight Board and Government provided a $787 million Emergency Support
 Package in early 2020 to agencies, individuals, and businesses. Further, COVID-19 related federal
 relief has totaled over $43 billion for the Island, with ~$4 billion alone going to PRDE and $5.5
 billion for the Government’s fiscal uses (via the CARES, CRRSA, and ARP Acts). Finally, the
 Oversight Board paused most fiscal measures for FY2021 to enable the Government to focus on
 implementation.
 Unfortunately, the Government has struggled to drive operational changes and reforms, in part
 due to COVID-19 and a transition in Commonwealth leadership, but also because agencies have
 not focused on pursuing such reforms. With billions of dollars in federal support and the nation
 and Island starting to navigate out of the pandemic, the time is now for the Government to make
 its final push to drive efficiency and effectiveness.
 With a new administration in place, the Government has a new opportunity to re-commit to
 identifying and driving initiatives that will result in better processes, more efficient spending, and
 greater quality of service for the Island. The 2022 Fiscal Plan assumes fiscal measures are mostly
 implemented by FY2023 and continues to include milestone budgeting, which provides incentives
 for achievement of longstanding key fiscal goals and efficiencies. Through these incentives, as well
 as rapid implementation of effective managerial processes, the Government can make meaningful
 progress in FY2022.

 Fiscal measures
 Agency efficiencies (Chapter 14). The new model for government operations involves
 “rightsizing” the Government through agency consolidation, process re-engineering,
 standardization of benefits, and reduction and/or elimination of government services. This
 process includes implementing comprehensive reform initiatives in the Departments of
 Education, Health, Public Safety, Corrections, OCFO, and Economic Development, as well as
 consolidations and reductions within the “long tail” of other agencies. FY2022 represents the final
 “savings ramp” for most of these measures, which are supposed to have been implemented since
 FY2019. Agency efficiency measures must result in $1.5 billion in run-rate savings 304 by FY2026
 (versus the FY2018 baseline).



 304 Includes right-sizing, compensation, and utility measures


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 Medicaid Investments and Reform (Chapter 16). Healthcare measures seek to reduce the
 rate of healthcare cost inflation through a comprehensive healthcare model.
 Tax Compliance and Fees Enhancement (Chapter 17). Tax compliance initiatives involve
 implementing new taxes as well as employing technology and other innovative practices to
 capture revenue from under-leveraged sources. These initiatives must increase run-rate revenues
 by $469 million by FY2026.
 Reduction in Appropriations to UPR (Chapter 18). The central Government will level for
 the next five years appropriations granted to UPR in compliance with Act 53-2020.
 Municipal Services Reform (Chapter 19). The 2022 Fiscal Plan establishes a reduction of
 $220 million to the Municipalities’ appropriation as their reliance on Commonwealth transfers
 improvement in property tax collections to achieve a 100% reduction by FY2025.
 Pension Reform (Chapter 20). The 2022 Fiscal Plan reflects a future freeze of TRS and JRS
 pension accruals. Once that happens, future retirement benefits for teachers and judges must be
 funded by expanded Social Security and Defined Contribution access to safeguard the financial
 stability of these employees’ retirement funds. Since the savings due to the TRS and JRS Defined
 Benefit pension freezes are long term in nature, the short-term impact of the pension measures
 will be a cost increase due to expanding access to Social Security. The overall pension measures
 are projected to result in annual savings beginning in FY2031. 305
 Together, these measures are crucial to the structural balance of the Commonwealth’s budget and
 are projected to have an impact of ~$10 billion during FY2022-FY2026 and over $85 billion by
 FY2051 (See Exhibit 134). 306

 EXHIBIT 134: CUMULATIVE IMPACT OF FISCAL MEASURES SAVINGS AND REVENUES 307




 305 Excludes savings attributable to the upfront payment to System 2000 participants
 306 Excludes non-Medicaid healthcare investments, union agreement, and other COVID-19 related investments
 307 Excludes Union agreement, Non-Medicaid health investments and other COVID-19 investments


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                             Medicaid investments and reform

             Current State of Puerto Rico’s Medicaid program
 As of November 2022, an estimated 37% of Puerto Rico’s population received their health
 coverage through the Commonwealth’s state-run Medicaid program (“Plan Vital”, formerly
 known as “Mi Salud"). The drop in the percent of residents covered under Puerto Rico’s Medicaid
 function is mostly a result of updated population estimates for the Island overall (as discussed in
 Section 4.6). It does not reflect a drop in enrollment, which has actually increased as a result of
 the COVID-19 pandemic and related economic impacts. The percent of local residents receiving
 benefits via Plan Vital increases to 48% when considering the addition of dual-eligible enrollees
 who are also in one of the Island’s Medicare Advantage programs (Platinos). This share of the
 population enrolled in Medicaid/CHIP-funded health insurance exceeds that of any U.S. state. 308
 In addition to its large covered population, Puerto Rico has lagged mainland U.S. states in both
 health outcomes and access. The Urban Institute’s 2017 assessment of Puerto Rico’s health care
 infrastructure and system performance cited the Island’s aging population and high rates of
 poverty as partial contributors to the high rates of some chronic conditions such as hypertension
 and diabetes compared to mainland U.S. states. 309 Puerto Rico also has higher premature birth
 and infant mortality rates, and higher rates of adults reporting fair or poor health. 310, 311 Puerto
 Rico contains 72 “medically underserved areas,” as defined by the U.S. Department of Health and
 Human Services. These medically underserved areas have shortages of primary medical care,
 dental or mental health providers. 312
 Two separate agencies are responsible for the administration and provision of Plan Vital. The
 Department of Health is the state agency responsible for the administration of Medicaid, via the
 Puerto Rico Medicaid Program (PRMP). PRMP oversees enrollment and eligibility processes, and
 it also operates the Medicaid Management Information System (MMIS). Meanwhile, the Puerto
 Rico Health Insurance Administration (ASES, by its Spanish acronym) is responsible for
 negotiating, managing, and implementing the provisioning of Medicaid benefits, primarily
 through contracts with private managed care organizations (MCOs), pharmacy benefit managers
 (PBMs) and other health services organizations.
 Plan Vital consists of four primary eligibility groups: federally-qualified Medicaid recipients;
 expanded federally-qualified Medicaid recipients; Children’s Health Insurance Program (CHIP);
 and the Commonwealth’s self-funded health insurance program, which covers (a) low-income
 adults who do not qualify for federal programs but qualify under the eligibility criteria established
 by the local government as well as (b) certain Commonwealth employees and retirees. 313 The first
 three programs are eligible for federal matching at varying rates, known as the Federal Medical
 Assistance Percentage (FMAP). The Vital program also covers dual-eligible enrollees, those who
 meet the eligibility standards for both federal Medicaid and Medicare. For dual-eligibles who are
 enrolled in Medicare Advantage plans, the Commonwealth provides an additional “wrap-around”
 payment.
 Because federal-matching funds for Medicaid in U.S. territories is subject to an annual allotment
 cap, the federal portion of the Vital program revenues functions more like a block grant than a

 308 Kaiser Family Foundation, “Medicaid State Fact Sheets: Percent of People Covered by Medicaid/CHIP, 2019”
 309 Perreira, Krista et al. “Puerto Rico Health Care Infrastructure Assessment.” Urban Institute, January 2017
 310 Puerto Rico infant mortality rate is 6.16 per 1000 vs. U.S. mainland 5.2 per 1000. “Puerto Rico,” World Factbook (Washington,
     DC: CIA)
 311Health Disparities Research Framework Adaptation to Reflect Puerto Rico’s Socio-Cultural Context, Internal Journal of
     Environmental Research and Public Health; Published November 18, 2020
 312 As reported on HHS HRSA website (data accessed March 30, 2021)
 313 As it relates to (b) of the wholly Commonwealth-funded enrollees, Plan Vital coverage for currently retired police offices and active
     police officers upon their expected retirement is expected to be added beginning in FY2022 (see Section 14.5.1 for additional
     detail).


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 traditional Medicaid reimbursement system. See Section 5.1.2 for further discussion on federal
 Medicaid funding for the Commonwealth.
 Given the CMS interpretation of Section 1108 of the Social Security Act, the 2022 Fiscal Plan
 projects that Puerto Rico will have $3.1 billion federal funds available during FY2022, including
 traditional Medicaid (non-CHIP), EAP, and CHIP funds. Even though PR has received an increase
 to the inflow of federal funds, due to the significant portion of the population reliant on Medicaid
 for health care, it is important that the Commonwealth always be prepared to fund these services
 in the event that federal legislators reduce the Commonwealth’s appropriations of federal
 Medicaid funds in future years. It is therefore crucial for ASES to put in place required reforms to
 reduce the long-term growth rate of health care expenditures.


            Medicaid investments
 Puerto Rico’s health care system has experienced significant strain stemming from hurricanes,
 earthquakes, and the COVID-19 pandemic. These events are expected to have amplified provider
 shortages and create increases in demand for health services, particularly behavioral health care.
 In a survey conducted by the Office of Inspector General at the U.S. Department of Health and
 Human Services (HHS-OIG) across 45 states, the District of Columbia, and Puerto Rico, hospitals
 reported that the COVID-19 pandemic has significantly strained the health care delivery
 system. 314 Given these turbulent circumstances and the uncertain outlook with respect to the
 COVID-19 pandemic in the long term, the FY2020 Fiscal Plan included incremental investments
 in the health system. Such investments were made possible through additional federal funding
 made available through legislation such as the 2020 Further Consolidated Appropriations Act and
 will be further supported by the most recent FFY2022 allotment of $2.9 billion announced by
 CMS. These investments included providing Hepatitis C drug coverage and increasing
 reimbursement rates to specialty and primary care providers and hospitals.
 Moreover, during FY2021, the Oversight Board entered into an agreement with the Government
 of Puerto Rico to temporarily expand coverage of the Medicaid Program to more than 200,000
 local residents during the COVID-19 pandemic. The Government of Puerto Rico achieved this by
 submitting a State Plan Amendment (SPA) to the CMS with a sunset date of September 30, 2021,
 the same date that the increased Medicaid funding provided by the Federal Government was set
 to expire. Enrollment of these new beneficiaries started as early as December 2020. Given the
 recent announcement from CMS granting Puerto Rico $2.9 billion for FFY2022 and increasing
 by medical CPI-U thereafter, the Puerto Rico Medicaid Program has the necessary funds to cover
 the cost of this extended population beyond September 30, 2021, though a new SPA will need to
 be sent to CMS for review.
 Please see below for a list of investments agreed to in the 2021 Certified Fiscal Plan that are likely
 to carry forward.




 314 Hospitals Reported That the COVID-19 Pandemic Has Significantly Strained Health Care Delivery, OEI-09-21-00140 (hhs.gov)


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   ■   Increase provider reimbursement rates: Reimbursement rates for Government
       Health Plan (GHP) providers lag those of Medicaid programs in other states and
       territories. For example, from July 2016 to July 2017 primary care services were
       reimbursed at 19% of the Puerto Rico Medicare fee-for-service rate, while these services
       are reimbursed at 66% of the Medicare rate nationally. Also, maternity services were
       reimbursed at 50% of the Puerto Rico Medicare fee-for-service rate while these services
       are reimbursed at 81% of Medicare rate nationally. Low reimbursement rates place
       pressure on providers and may lead to shortages, lack of access to certain specialty
       services, and lengthy wait times. ASES will increase provider reimbursement rates as
       follows:

       – Establish a 70% of Medicare reimbursement floor for outpatient physician
          services: Pursuant to a provision in the 2020 Further Consolidated Appropriations
          Act, ASES will establish a reimbursement floor for physician services set at 70% of the
          Medicare fee-for-service rate. The costs associated with the investment will be included
          in the Managed Care Organization PMPM capitation rate. In turn, the MCOs will be
          contractually obligated to reimburse all contracted providers at the rate of at least 70%
          of the Puerto Rico Medicare fee schedule.

       – Increase sub-capitation payment for primary care physician (PCP)
          services: Almost all primary care services are paid through sub-capitation
          arrangements, wherein MCOs pay Primary Medical Groups (PMGs) a fixed, monthly
          rate per member treated. To improve access to primary and preventive services, ASES
          included a 10% increase in the PMPM sub-capitation rate paid to PMGs.

       – Increase reimbursement rates for hospitals: According to the latest available
          CMS Hospital Cost Reports, over 50% of Puerto Rico hospitals reported net losses.
          Given the high portion of the population covered by Medicaid, Puerto Rico hospitals
          are disproportionately affected by reimbursement rates of the Medicaid program,
          which are lower than those of most other payers. These conditions jeopardize the ability
          for hospitals to operate and reinvest in their infrastructure. To support the ability of
          hospitals to meet the needs of Puerto Rico, ASES will increase reimbursement rates.
          Specifically, ASES will mandate that MCOs increase reimbursements for inpatient
          services through an episode-based payment schedule.
   ■   Provide Hepatitis C drug coverage: Puerto Rico's Medicaid plan did not previously
       provide coverage for drugs that cure the Hepatitis C virus. There are approximately 14,000
       local residents that are eligible for treatment and could be cured by making these drugs
       available to them. Granting coverage for these drugs will significantly increase the quality
       of lives for affected individuals. Furthermore, in the long term, it is estimated that savings
       can be achieved due to the avoidance of costs related to the treatment of Hepatitis C virus
       such as decompensated cirrhosis and liver transplants. This coverage has been available
       to affected Medicaid recipients as early as March 2020.
   ■   Increase the Puerto Rico Poverty Level (PRPL): The PRPL is the key determinant
       of Medicaid eligibility – an enrollee’s eligible income must be below this level to participate
       in the Federal Medicaid Program. In the past, the PRPL was set at about 46% of the Federal
       Poverty Level (FPL), however, during FY2021 the PRPL was increased to ~85% of the FPL,
       thus resulting in several thousand new enrollees as well as a portion of the
       Commonwealth-funded population now qualifying for Federal Medicaid. Expanded health
       insurance generally leads to healthier outcomes for the covered population. Due to the
       additional Section 1108 funding, the Government has indicated its intention to increase
       the PRPL to 100% of the FPL beginning this fiscal year.




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            Medicaid reform measures
 The goal of the Puerto Rican public health insurance system is to fund high-quality healthcare
 services to all residents in need and, in doing so, cultivate a healthier population, especially as it
 relates to lowering the Island’s disproportionally high rates of chronic conditions. To ensure the
 system can continue to support the vulnerable populations who rely on its services, Puerto Rico
 will need to improve the efficiency and effectiveness of its health insurance plan by “bending the
 health care cost curve” on premium inflation, which is reflective of escalating expenditures of
 health care delivery on the Island.
 This section outlines several categories of actions the Government is required to execute to both
 curb the growth rate in per capita health care expenditure as well as shift the overall public health
 system toward higher-value care. In each of the below measures, the plan seeks to avoid reduction
 in service quality for beneficiaries and therefore assumes that any savings derived from the
 implementation of Medicaid reform measures will be reinvested into Puerto Rico’s Medicaid
 Program. Such reforms include improving program integrity and quality relative to cost. Program
 integrity initiatives help to ensure that eligibility decisions are made correctly; prospective and
 enrolled providers meet federal and state participation requirements; services provided to
 enrollees are medically necessary and appropriate; and provider payments are made in the correct
 amount and for appropriate services. 315 Moreover, under value-based care, providers are
 reimbursed based on their ability to improve quality of care in a cost-effective manner or lower
 costs while maintaining standards of care, rather than the volume of care they provide. 316
 Enactment of these measures will require concentrated advancement of ASES and the Medicaid
 Program’s capabilities, including IT systems. The 2022 Fiscal Plan includes additional reporting
 requirements (see Section 21.4) to ensure the Commonwealth remains on track towards
 implementation.

 16.3.1       Medicaid reforms to improve program integrity
 Program integrity activities are meant to ensure that federal and state taxpayer dollars are spent
 appropriately on delivering quality, necessary care and preventing fraud, waste, and abuse from
 taking place. 317 Program integrity initiatives will help to ensure that the Government is
 performing accurate enrollment verifications and minimizing fraud, waste, and abuse.
 In 2016, the U.S. Government Accountability Office (GAO) reported that Managed Care
 Organizations (MCOs) in U.S. territories have not consistently reported improper payments to
 providers billing to the system, and that many MCOs face conflicts of interest in finding and
 eliminating fraud. 318 In a report released in February 2021, GAO found that seven of the eight
 selected Puerto Rico procurements 319 did not include important steps to promote competition
 and mitigate the risk for fraud, waste, and abuse, underscoring the need for federal oversight. 320
 Typical fraud, waste, and abuse reduction programs in other state Medicaid programs and health
 insurers have been able to achieve 1-3% cost savings. These savings have been reached through
 pre-payment review (e.g., reviewing claims before payment to identify outliers/issues); auditing
 and enforcement units to investigate suspicious behavior; advanced analytics capabilities to
 identify inefficient or fraudulent activities in post-payment review, such as identification of
 “impossible” utilization (e.g., billing for over 24 hours of service in one day) or frequently

 315 “Program integrity : MACPAC”, Accessed March 30, 2021
 316 CMS Issues New Roadmap for States to Accelerate Adoption of Value-Based Care to Improve Quality of Care for Medicaid
     Beneficiaries | CMS
 317 “Program integrity : MACPAC”, Accessed March 30, 2021
 318 “Medicaid and CHIP Increased Funding in U.S. Territories Merits Improved Program Integrity Efforts.” GAO.gov, April 2016
 319 According to the report, these eight procurements represent a non-generalizable sample of Puerto Rico Medicaid procurements
     that were in effect as of April 1, 2020. They represented approximately 97% of the total costs of Puerto Rico’s Medicaid
     procurements in effect at that time
 320 “Medicaid: CMS Needs to Implement Risk-Based Oversight of Puerto Rico’s Procurement Process.” GAO.gov, February 5, 2021.
     Accessed March 20, 2021


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 repeated, high value procedures; and long-term policy or organizational transformation. Pursuant
 to federal requirements, ASES has established a contracting reform plan to improve procurement
 and contracting prices as well as combat fraudulent, wasteful, and abusive contracts. ASES should
 begin implementing fraud, waste, and abuse reduction programs in FY2022, with a goal of
 achieving 3% cost savings from these programs by FY2025.
 In addition, it is imperative for Medicaid programs to deploy robust enrollment verification in
 order to ensure that coverage is offered only to eligible individuals. In December 2020, the Office
 of Inspector General at the U.S. Department of Health and Human Services performed a Risk
 Assessment of Puerto Rico’s Medicaid Program and identified the beneficiary eligibility process
 as a high-risk area. Specifically, the HHS-OIG noted weaknesses related to Puerto Rico’s post-
 eligibility determination process for validating beneficiary eligibility. Outdated, missing, or
 inaccurate beneficiary eligibility information may limit the effectiveness of the eligibility
 validation process and increase the risk that ineligible applicants will be enrolled in the Puerto
 Rico Medicaid program. 321 Full compliance with Medicaid Eligibility Quality Control (MEQC)
 requirements and establishment of an asset verification system that utilizes third-party data
 sources can strengthen enrollment verification. 322 The PRMP should begin establishment of a
 robust enrollment verification program in FY2022, with a target of identifying a large proportion
 of ineligible beneficiaries (estimated to be roughly 5% of total enrollees) by FY2025. As of January
 2022, the PRMP is in the early stages of identifying a potential third-party service provider to
 assist in verifying enrollee assets.
 Puerto Rico has taken meaningful steps towards improving program integrity. These include the
 integration of ASES data with the MMIS. During FY2021, CMS approved the certification of Phase
 2 of Puerto Rico’s MMIS, clearing the way for the PRMP to begin planning Phase 3
 implementation. MMIS Phase 3 includes the Design, Development, and Implementation (DDI)
 phase, expected to kick off by January 2022, improving the Payment Error Rate Measurement
 (PERM) and MEQC. Other steps taken towards promoting program integrity in prior years
 include the establishment of a Medicaid Fraud Control Unit (MFCU) and Program Integrity Unit
 (PIU), and the improvement in enrollment verification through employer certification and Public
 Assistance Reporting Information System (PARIS) checks.
 While Puerto Rico has taken steps towards improving its Medicaid Program integrity,
 opportunities for further improvement remain. Limited recoupments from MCO investigations
 suggest that more can be done to mitigate fraud, waste, and abuse. Furthermore, practices in other
 states support the development of additional program integrity tools in parallel to building MMIS
 capabilities, such as leveraging analytics vendors on a contingent bases to identify savings related
 to improper payments. Finally, in a report to Congress, ASES stated they face challenges with
 reporting data since data is limited to the provider level and, therefore, the eligibility systems and
 data sets cannot track fraudulent activity performed by beneficiaries. Issues with enrollment
 verification can be improved by instituting an Asset Verification System and partnering with key
 out-migration states to conduct enrollment checks. Pursuant to the 2020 Further Consolidated
 Appropriations Act, Puerto Rico must continue to make progress to meet CMS’s PERM and MEQC
 requirements. As evidence of this progress, in June 2021 CMS approved Puerto Rico’s reports
 submitted on PERM and MEQC compliance. This is a positive first step, but significant
 acceleration of progress is required.

 16.3.2       Medicaid reforms to improve quality relative to cost
 Pursuing value-based improvement initiatives with demonstrated success are required to help the
 Commonwealth “bend the curve” on health care inflation without jeopardizing outcomes. There
 are several potential sources of value in Puerto Rico’s health care system. These sources of value
 are opportunities to reduce wasteful health care spending and increase efficiency while improving

 321 Risk Assessment of Puerto Rico Medicaid Program, A-02-20-01011 (hhs.gov). December 11, 2020
 322 GAO “Medicaid Eligibility: Accuracy of Determinations and Efforts to Recoup Federal Funds Due to Errors,” January 2020


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 quality of care and health outcomes. By implementing value-based reforms beginning in FY2022,
 ASES should aim to achieve 3% in annual cost savings from these reforms by FY2025.
 Examples of best practice for value-based payment models include implementing a Diagnosis
 Related Group (DRG) based payment model where providers are reimbursed a fixed amount to
 fully treat a patient with a given medical condition. These models help control medical costs by
 incentivizing providers to deliver cost-effective care without sacrificing quality, while also
 improving the effectiveness of Medicaid service delivery by standardizing the measurement of
 patient acuity across providers and reducing the administrative burden associated with
 reimbursement. Another potential source of value lies in reducing emergency room (ER) visits.
 Prior to Hurricane María and the reforms, local residents utilized the ER three times as often as
 peers on the U.S. mainland, with estimates as high as 90% of ER visits occurring for non-
 emergency care that could be treated in lower cost settings.323 Successfully shifting unnecessary
 ER visits to lower-cost settings, such as primary care offices or urgent care, could save tens of
 millions of dollars annually.
 New approaches that emphasize care coordination and align incentives between patients,
 providers, and payors can produce improvements in health outcomes while lowering costs. Direct
 pay-for-performance quality bonuses provide special incentives to care for members with high-
 cost needs like behavioral health. Care coordination models like patient centered medical homes
 have been quite effective at improving outcomes for members with chronic conditions,
 empowering primary care providers to work closely with patients and manage treatment plans
 across multiple care providers. 324 Given the preponderance of chronic conditions and potential
 rising behavioral and mental health needs in the wake of recent natural disasters and the
 pandemic, better access and coordination of multiple comorbidities across populations will
 become increasingly important. 325
 Additional opportunity exists through reduction of both inpatient length of stay and hospital
 readmissions. Puerto Rico’s inpatient length of stay was 1.5 times the U.S. average in 2014, 326 and
 35 out of 41 Puerto Rico hospitals show readmission rates above the U.S. average of 15.3%. 327
 Hospital readmissions occur when patients are discharged from hospitals but must return for
 additional treatment for the same condition. This can occur when patients are not adequately
 prepared to return home due to lack of education, lack of access to follow-up care, challenges with
 prescription drugs, among other factors. MCOs can incentivize both reduced hospital
 readmissions and shorter length of stay through improved discharge planning, as well as by
 increasing weekend staffing to manage discharges. Similar value-based programs piloted in
 mainland states have typically saved 2-10% of costs. In Puerto Rico, value-based reforms may
 result in lower-than-average savings due to the breadth of other simultaneous savings measures
 being implemented for Vital, as well as the challenges associated with recent natural disasters and
 the COVID-19 pandemic. Nevertheless, these structural changes to reimbursement and care
 delivery present the most viable path to long-term sustainability for the program.
 Pursuant to the opportunities described above, ASES has developed a plan for implementing a
 modern DRG-based prospective payment system for inpatient services provided by short-term
 acute care hospitals. ASES has begun using a case mix adjustment that adjusts the payment to
 each hospital from the inpatient hospital funding pool based on the severity of conditions that
 each hospital treats, relative to each other. According to ASES, the DRG-based prospective
 payment system will create financial incentives for hospitals to improve coding and documenting
 practices, reduce lengths of stay, reduce utilization of unnecessary ancillary services, and reduce


 323 JEL Consulting analysis (Dec 30, 2106) of ASES data and Puerto Rico Community Survey, Public Use Microdata, 2014. Estimates
     exclude Platino beneficiaries
 324 Patient-Centered Primary Care Collaborative, “Benefits of Implementing the Primary Care Medical Home: A Review of Cost &
     Quality Results, 2012” (Sept 2012)
 325 Thomas Huelskoetter, Center for American Progress, “Hurricane Katrina’s Health Care Legacy” (August 15, 2015)
 326 As of 2014. JEL Consulting analysis (Dec 30, 2106) of ASES data and Puerto Rico Community Survey, Public Use Microdata,
     2014. Estimates exclude Platino beneficiaries
 327The disparity in hospital quality metrics between Puerto Rico and the U.S. - V2A (v2aconsulting.com), December 2, 2019


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 rates of avoidable complications and hospital-acquired conditions. ASES originally planned to
 launch this payment model in July 2021. However, due to the delicate position hospitals were in
 during the pandemic, the go-live date has been postponed to October 2022. Even though the
 Government has stated that the implementation of DRG will not achieve immediate savings, this
 effort is necessary for the Government to fund the long-term health needs of Puerto Rico. As of
 January 21, 2022, ASES has not provided any updates which would allow validation of progress
 to date.

 EXHIBIT 135: REQUIRED IMPLEMENTATION ACTIONS FOR MEDICAID REFORM




                          Tax compliance and fees enhancement

           Current state and future vision for tax environment
 Puerto Rico's current tax system suffers from structural complexity, instability, internal
 inconsistency, inefficient administration, and inadequate enforcement. There have been at least
 11 major revisions to Puerto Rico’s tax code since 1994, including at least six adjustments since
 2013. 328 This has allowed for persistent problems with non-compliance, worsened by a lack of an
 integrated approach to addressing non-compliance. Much of the Government's revenue is highly
 concentrated in collections from a handful of multi-national corporations. The Government has
 also issued an assortment of credits, deductions and incentives that add to the system's
 complexity and further erode the tax base. Furthermore, audit and enforcement activity in recent
 years has been limited, which creates risks of increased levels of non-compliance.


 328 Reforms include: Act 40-2013, the “Tax Burden Redistribution and Adjustment Act;” Act 120-2014, the “Small and Medium
    Business Job Generation and Retention Act;” Act 72-2015, the “Adjustments to the Internal Revenue Code of 2011;” Administrative
    Orders 2017-01 and 2017-05; and Act 257-2018, the “2018 Puerto Rico Tax Reform Act.”


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 In response to these challenges, the Government has taken actions to improve tax compliance. It
 has taken steps to improve information reporting to better detect under-reporting of income and
 over-usage of deductions and credits, notably through recent changes to information reporting
 requirements included in Act 257-2018. These changes create greater interdependencies among
 taxpayers and the information they are obligated to report, which is expected to enable greater
 oversight and verification of the information being reported to the Government. Enhanced usage
 of data can help Hacienda better isolate risk and focus its compliance and enforcement resources.
 Hacienda has also expanded its SUT internet sales collections through regulations enabled with
 the passage of Act 40-2020. Hacienda is driving improvements in its culture and organization to
 boost enforcement capabilities, and digitizing the process of filing taxes, to lighten the burden of
 compliance on taxpayers.
 With the publication of the first Tax Expenditure Report in September 2019 (see Section 17.3.1),
 policymakers now have the data necessary to review, assess, and adjust the use of individual tax
 expenditures to ensure that these foregone revenues are leading to positive economic
 development on the Island.


          Administrative             tax     initiatives        to     increase         revenue
          collections
 Through implementation of administrative tax reform and realization of measures included in
 prior fiscal plans, the Government has captured incremental revenues through, among others, the
 implementation of SURI, which are now included in the baseline FY2021 General Fund revenue
 forecast.

 EXHIBIT 136: REVENUE MEASURES SUMMARY OF IMPACT




 17.2.1    Improve compliance rate
 The Government has made significant progress in its compliance efforts. The 2020
 Fiscal Plan included a ramp-up of 3 years, meeting 100% of targets by FY2023, to achieve a target
 5% net uplift in annual revenues due to enhanced compliance across the major tax lines (personal
 income tax, corporate income tax, and SUT) – inclusive of implementation costs. Given the
 collections seen for the previous year and because all the necessary activities to achieve this have


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 been implemented (e.g., the implementation of SURI, the collection of SUT on internet sales,
 among others), the April 2o21 Fiscal Plan accelerated the full value of the measures from FY2023
 to FY2021, which is maintained in the 2022 Fiscal Plan.
 Nevertheless, Hacienda should continue to undertake the initiatives set forth immediately below.
 These initiatives can boost voluntary compliance and will allow Hacienda to continue collecting
 the total taxes as expected in the 2022 Fiscal Plan. The goal should be to reduce the cost of
 compliance and simultaneously raise the cost of non-compliance, through a combination of an
 increased likelihood of identifying non-compliant taxpayers and evaders, and more effective and
 enforceable penalties. 329 Therefore, the 2022 Fiscal Plan requires the Government to:
 ■   Continue to use new systems and processes to identify and remediate non-
     compliance. Hacienda has taken steps to make it harder to abuse deductions and credits to
     avoid tax liability, for example by only allowing taxpayers to claim certain deductions and
     exemptions if their return is prepared by a certified public accountant following agreed upon
     procedures.
 ■   Reduce the complexity of the tax system and process of filing taxes to make it easier
     for individuals and businesses to pay their taxes correctly. As detailed further in Section 9.4,
     improving the process of for filing and paying taxes is critical for improving ease of doing
     business, and helps boost voluntary compliance.
 ■   Improve use of data and analytics to address non-compliance. Small and medium
     taxpayers account for a significant share of the unpaid and underpaid taxes, but only a tiny
     fraction of these taxpayers receive full-scale audits due to the significant time and cost
     investment needed. While a traditional IRS audit costs an average of $2,278 per case,
     automated notices or letters can be executed for $52 to $274 per case.330 Hacienda is receiving
     increasing filings of information returns that can be used to better identify risk and focus
     compliance resources. Hacienda should implement data-driven, tiered compliance
     approaches which, over time will enable Puerto Rico to reach a significantly larger share of
     nonpayers.
 ■   Improve collection of taxes on online purchases. This has been implemented as part
     of Act 40-2020, which allowed the Government to reach agreements with remote sellers and
     marketplace facilitators. The results from this implementation have been also included as part
     of the forecasted SUT compliance gains in the 2022 Fiscal Plan and are expected to continue
     to be administered going forward. The Government should continue to expand agreements
     with remote sellers on a regular basis.

 17.2.2       Right-rate other taxes and fees
 On the other hand, the 2021 Fiscal Plan incorporated the value of collections from Medical
 Marijuana Tax and Airbnb (Room tax) tax which were updated to reflect the value of actuals for
 FY2020 and FY2021 as of January 2021.The 2022 Fiscal Plan also incorporates these collections.
 Medical Marijuana Tax. Legislation has been enacted and enforced to tax medical marijuana.
 Based on information provided by the Government, total collections for FY2019 and FY2020 were
 approximately ~$13 million and ~$18 million per year respectively. The revenue collected from
 this initiative continues to be part of the revenue incorporated in the 2022 Fiscal Plan. 331
 Online Rental Platforms Tax. Legislation has been enacted to apply a 7% hotel room tax to
 all rental platforms, resulting in a projected annual revenue increase of ~$8 million. Going
 forward, the Government should analyze collections under this provision using the estimated

 329 Xenia Velez presentation to the Oversight Board (Nov. 30, 2017), 3
 330 IRS Enforcement Results, TIGTA Filing Season Audit, IRS Taxpayer Advocate, GAO
 331 Projected receipts include $1.5 million of dedicated revenues for the medical marijuana council established in 2017-Act 42 and
     controlled substances monitoring in 2017-Act 70


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 number and value of online rentals and, where there are differences between expected and
 collected revenues, should identify corrective actions to work with the rental platform providers
 to ensure all taxes owed are collected.

 17.2.3       Improve tax yield from Other General Fund revenue sources
 The 2022 Fiscal Plan includes revenue collections as a measure to reflect improved collections of
 Partnerships and Other Excise taxes. These additional measures were introduced in the 2021
 Fiscal Plan and are maintained in the 2022 Fiscal Plan.
 Partnerships. As discussed in Chapter 5, Partnership income taxes have significantly increased
 since FY2020 due to the enactment and enforcement of Act 60-2019. While most of this increase
 is attributed to a shift in the tax baseline (as taxes previously paid at the individual/corporate level
 are now paid at the partnership level), the 2022 Fiscal Plan incorporates ~$25-30 million of
 recurring income from Partnerships as a tax administration measure, resulting from improved
 tax compliance achieved by Hacienda.
 Other Excise Taxes. As discussed in Chapter 5, there has been an increased yield in Other
 Excise Taxes collections, which began at the launch of Hacienda’s new integrated tax platform in
 FY2019. The 2022 Fiscal Plan attributes ~$75-80 million of the increase in recurring income from
 other excise taxes tax administration measure, achieved as a result of improved tax compliance.
 This measure is inclusive of Hacienda’s efforts to increase collections of tobacco taxes (included
 as a measure in prior fiscal plans). Analysis provided by Hacienda suggests that part of the
 increase in collections coming from Other Excise Taxes is from tobacco taxes. Hacienda is working
 to refine the allocations of these other excise taxes to more specific categories.
 Hacienda must take all necessary steps to ascertain proper classification of all excise tax revenues
 collected through SURI on a timely basis, but not later than December 2021.


            Implementation and enforcement of revenue measures
 The following implementation plan details the continuation of the Commonwealth’s efforts to
 improve tax administration.

 17.3.1       Creation of a tax expenditure report and regular reporting
 In order to provide a critical element of fiscal responsibility and transparency, the Government
 must regularly produce a tax expenditure report, which includes a comprehensive list of revenue
 losses attributable to provisions of the Puerto Rican tax code that deviate from the tax structures
 benchmark law. It is essential to know how much revenue is foregone because of tax incentives
 and to periodically review such expenditures to ensure they continue to meet their strategic
 objective. Having a clear and accurate understanding of what the Government spends through tax
 expenditures is critical to ensuring the expenditures are continuing to contribute to economic
 growth and opportunity. 332
 In response to the 2019 Fiscal Plan requirements, the Government published its inaugural Tax
 Expenditure Report in September 2019 for tax expenditures associated with tax year 2017. For
 the first time in Puerto Rico’s history, taxpayers and the Government have better visibility into
 the full scope of tax expenditures being offered, together with a description and approximate cost
 of each expenditure. In May 2021, the Government published its second tax expenditure report
 reflecting tax expenditures for the tax year 2018, this report represents considerable effort, a high
 level of comprehensiveness (albeit with important omissions), and some significant
 improvements over the 2017 report. As shown in Exhibit 137, the 2017 Tax Expenditures Report
 provided many key insights into Puerto Rico’s use of tax expenditures as an economic

 332 Tax Policy Center, Urban Institute & Brookings Institution, “State Income Tax Expenditures”


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 development tool, including the fact Puerto Rico issues more than 300 tax incentives with total
 foregone revenue in excess of $21 billion. This analysis also revealed, as illustrated in Exhibit 138
 and Exhibit 139, that Puerto Rico offers a far more generous tax incentive program than virtually
 every other jurisdiction in the U.S. as a share of the economy or total tax collections.

 EXHIBIT 137: SUMMARY OF TAX EXPENDITURES IN PUERTO RICO




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 EXHIBIT 138: TOTAL ESTIMATED TAX EXPENDITURE AS SHARE OF GROSS STATE
 PRODUCT




 EXHIBIT 139: TOTAL TAX EXPENDITURE AS A SHARE OF TOTAL TAXES




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 For tax expenditures reporting to maintain its relevance and maximize its impact on the policy
 making process, regular reviews of each tax incentive must be completed to assess whether each
 incentive is meeting its policy objective (including an assessment of benefits along with costs).
 All tax expenditures should undergo periodic technical reviews with a presumption each credit
 will be prohibited unless sufficient justification exists to maintain the incentive. The default
 position for all tax expenditures should be that the burden of proof of effectiveness lies with the
 tax expenditure. Absent a compelling justification, the tax expenditure should be eliminated.
 Simply because an incentive was offered in the past does not mean it meets the policy objectives
 in Puerto Rico’s future.
 Going forward, the estimates in the Tax Expenditures Report must also be systematically
 incorporated into the annual fiscal plan and budget review process. This means the estimates need
 to be considered in conjunction with direct spending proposals at the executive review and
 legislative levels and as a component of the budget envelope for agencies responsible for related
 direct spending programs. As an example, to force a legislative discussion, other states
 automatically sunset certain tax expenditures, which expire unless the incentives are proactively
 renewed, or states will explicitly cap the level of incentives offered.
 For that milestone to be achieved, the Tax Expenditure Report must be produced annually on a
 timely and efficient basis. In fact, the publication of the first Tax Expenditures Report, in
 September 2019, stated the second annual report (reflecting tax year 2018) would be published in
 March 2020; however, this was not published until May 2021. 333 In a January 4, 2022 letter to
 the Secretary of the Treasury, the Oversight Board granted an extension for the submission of the
 2019 Tax Expenditure report. We look forward to receiving the Report by the end of the extension
 period, January 31, 2022. Additionally, going forward the Government must publish the annual
 report by December 31 of each calendar year. As detailed in the Oversight Board’s letter to the
 Secretary of the Treasury on December 2, 2021, the 2018 Tax Expenditure Report appears to be
 based on tax data from 2016 (or before) to calculate tax expenditures arising from tax incentives
 on business income taxes. Much has happened in Puerto Rico over the previous five years calling
 into question the overall accuracy of the 2018 estimates for current decisions. The most pressing
 issue for the Department of the Treasury should be updating the data upon which future tax
 expenditure reports shall be based to make such tax expenditure reports useful for completing
 analysis that can be used to inform coming years’ budget decisions.
 Additional revisions must also be incorporated into future tax expenditure reporting. This
 includes a multi-year expenditure forecast, a policy rationale for each incentive, a year-end
 assessment of tax incentives granted to each intended target, and a trend analysis of tax revenue
 collections. More specifically, future Tax Expenditure Reports must include the cost of each tax
 expenditure for the current year and at least the prior two years. The Tax Expenditure Reports
 must also forecast the expected revenue collections and losses for at least the next five years from
 the date the report is produced. As future Tax Expenditure Reports become more normalized, the
 forecast can also start accounting for behavioral effects of each incentive and the macroeconomic
 or other dynamic effects in the cost estimates.
 Future Tax Expenditure Reports must also broaden the universe of tax expenditures included in
 the reports. The inaugural report included deviations from major revenue sources, including
 individual income taxes, personal income taxes, sale and gross receipts taxes and excise taxes. The
 Inclusion of tax expenditures for non-corporate businesses partnerships and special partnerships
 in the 2018 Tax Expenditure report is a positive step. This scope expansion should be extended to
 pass-through entities (corporations of individuals) and sole proprietorships when data becomes
 available. In addition, the exclusion of Act 154 taxes from the report may need to be reconsidered
 and or its legitimacy confirmed. The 2018 Report (like the 2017 Report) also does not include tax
 expenditures under Act 154. Past rationale has been that the Act 154 excise was introduced as a

 333 On March 30, 2021 the Oversight Board issued a letter to the Secretary of Treasury providing detailed comments on the
    Commonwealth’s tax expenditures, the Oversight Board also issued a letter on December 2, 2021 in response to the 2018 Tax
    Expenditure report.


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 substitute for the “normal” corporate income tax and tax expenditures are accounted for as
 erosions to the corporate income tax base. Since Act 154 is not considered to be a deviation from
 the corporate income tax, the expenditure associated with it is not included in the Report. The
 aggregate level of this excise tax erosion, however, should also be reported. Including an inventory
 of all tax credits, cash grants, deductions, exemptions, preferential tax rate, tax liability deferral
 and any other tax incentives where amounts allocated can materially impact the Commonwealth’s
 financials will make the report more comprehensive.
 Rationalizing the amount of tax expenditures offered by the Government is smart and prudent
 fiscal management. This can only be done in a comprehensive way through the production of the
 annual tax expenditure report on a timely basis. 334

 17.3.2      Tax incentives code reform
 The current tax incentives code structure has high fiscal costs – in excess of $400 million – but
 does not provide enough visibility to allow for clear tracking of these tax concessions and the
 returns they generate for Puerto Rico’s economic growth. Past studies, based on limited available
 economic data, have indicated that while some tax incentives led to positive returns on
 investment, many others do not yield similar results.
 That is what led the Commonwealth to enact Act 60-2019 (the “Puerto Rico Tax Incentives Code”
 or “Incentives Code”), which amended previous tax incentives acts and adopted a new legal and
 administrative framework to normalize the way in which new incentives are created, approved,
 processed, and monitored. Not all laws compiled in Act 60-2019 were repealed and replaced,
 creating confusion as to whether the Treasury Department should follow guidelines imposed by
 these still-active statues or those imposed by the Incentives Code. To fully effectuate the goal of
 the Incentives Code, and to limit confusion, the Government should take action and repeal the
 remaining statutes, still in effect that were merged into the Incentives Code. To evaluate the fiscal
 benefit from each incentive, the Incentives Code uses a Return on Investment (“ROI”) approach
 combined with an assessment of fiscal multipliers to prioritize high value-added incentives
 relative to those that do not generate sufficient economic return. The Incentives Code, however,
 does not include explicit caps on, reductions to, or the elimination of any specific incentives.
 Rather, the purpose of the Incentives Code is to measure the ROI of tax and economic incentives
 by grouping them under a transparent and uniform code.
 Through the Incentives Code, the term, tax rate, and characteristics of incentives offered are
 harmonized across industries and credits. The Incentives Code also creates a centralized
 Incentives Office for Businesses in Puerto Rico at DDEC and establishes an Incentives Concession
 Portal to centralize, standardize, and streamline the processes related to the application and
 approval of decrees, cash grants, tax credits, subsidies, and other incentives.
 Act 60-2019 also required the public disclosure of beneficiaries of certain tax expenditures. In
 accordance with that requirement, DDEC disclosed (on January 30, 2020) that 8,364 companies
 and individuals received certain tax incentives. The online database offers the name of the
 grantee, the type of benefit, and the decree’s issue date. DDEC released the relevant information
 for recipients that receive benefits from the following Acts: Act 14-2017 (Physician Retention); Act
 20-2012 (Exportation of Services); Act 22-2012 (Investor Relocation); Act 273-2012
 (International Financial Center Regulatory Act); and Act 27-2011 (Film Production). DDEC
 subsequently released additional data on February 11, 2020, disclosing recipients of the following
 tax expenditures: Act 73-2008 (Economic Incentives for the Development of Puerto Rico Act);
 and Act 83-2010 (Puerto Rico Green Energy Incentives Act). During FY2021, DDEC had a
 milestone budgeting incentive to publish quarterly reports on the agency's website detailing all
 economic incentive donations and subsidies to private corporations from FY2017 to the present
 date. DDEC has accordingly published the quarterly reports on their website.


 334 Ibid.


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 Many provisions of Act 60-2019, before they can be implemented, require the drafting and
 approval of regulations, including prior Oversight Board review and approval. 335 The
 promulgation of such regulations was included as part of the process during FY2021, and such
 regulations must continue to be drafted and approved during FY2022.
 The lack of transparency and high cost of these tax concessions warrants further revisions to the
 Incentives Code such that tax incentives are structured in a way that is more likely to be beneficial
 to the Commonwealth. A multipronged approach is needed. This approach must include limiting
 the DDEC Secretary’s discretion in awarding incentives, specifying in more detail the meaningful
 information to be submitted in the annual public reporting required by the statute, establishing a
 more robust audit process with meaningful penalties for firms that are found to be out of
 compliance or failing to provide the anticipated benefits, and establishing an ROI based standard
 of program evaluation that will meaningfully discriminate among projects so that incentives are
 concentrated on those projects most likely to provide net economic benefits to the commonwealth.
 This can most easily be accomplished through the drafting and approval of Act 60-2019’s
 regulations, including prior Oversight Board review and approval. Specifically, these regulations
 must, at minimum, include the following provisions:
 ■   Evaluation standards for tax incentive and grant award should be balanced. Act
     60-2019 established a positive ROI as the primary standard for determining incentive awards.
     The standard as currently operationalized, however, lacks balance. Benefits are defined more
     comprehensively and extensively than are costs, resulting in an ROI standard that does not
     assure net benefit actually accrues to the Commonwealth. The ROI standard operationalized
     by the implementing regulations should consider opportunity costs to the Commonwealth and
     any consideration of direct, indirect, and induced benefits, and should also require
     consideration of direct, indirect and induced cost for the ROI standard to meaningfully reflect
     net outcomes for the Commonwealth.
 ■   Limited time duration and sunset and review. Any decree or incentive granted under
     Act 60-2019 should be for a specifically identified and limited amount of time. Typically, this
     should be no more than 5 years based on facts and circumstances, and extraordinary processes
     of review and approval should be required of any decree granted for a period in excess of 5
     years. All decrees should specify and expiration date. No decrees should be extended without
     reapplication. Annual reports to the Legislature should include an evaluation of the efficacy
     of incentive programs and each program should undergo extensive review every 3 years which
     includes a recommendation on its continuation or termination and the detailed basis for that
     recommendation.
 ■   Budgeting incentives. Cash grants require annual appropriation. All incentives, however,
     should be limited. Annual limits should be placed on the aggregate scale of incentives that can
     be offered each year. The estimated revenue loss calculated in the ROI should form the basis
     of determining annual revenue costs and the aggregate of these costs should be limited
     annually. Additional awards should be deferred to the following year once annual limits are
     reached. The accuracy of estimated revenue losses should be confirmed in subsequent
     program reports.
 ■   Revenue neutrality. Firm limits should be established to limit the set of potentially eligible
     projects to ensure, with confidence, these projects satisfy development objectives and remain
     revenue neutral and consistent with the certified 2022 Fiscal Plan. Within the ROI
     methodology, the fiscal analysis of projects should assure at minimum they are revenue
     neutral.
 ■   Consultation with affected agencies and municipalities. All affected agencies and
     jurisdictions should be consulted regarding the offering of tax incentives and the

 335 Pursuant to PROMESA section 204(b)(4) and the Oversight Board’s policy with respect thereto, proposed rules, regulations,
     administrative orders and executive orders covered by said policy, including all regulations under Act 60-2019, must be submitted
     to the Oversight Board before being issued to ensure compliance with the certified 2021 Commonwealth Fiscal Plan


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     Commonwealth Government should not be permitted to commit the tax resources of a
     municipality toward a tax incentive without that municipality’s active concurrence.
     Procedures should be established to minimize the risk that municipalities’ tax resources are
     committed toward a tax incentive without a mutual agreement in place ensuring that the
     incentive is in both governments’ best interests.
 ■   Public reporting of incentive recipient performance and audit. Regular reporting of
     incentive effectiveness is required through publication of an Annual Incentive Effectiveness
     Report. The Act 60-2019 regulations should also provide meaningful guidance on how
     required project performance measures will be obtained or calculated. The annual report
     should include detail sufficient to maintain transparency and accountability. Similar to the
     DDEC transparency portal, it should publicly disclose recipients, type, and level of
     performance on incentives and expected public benefits. To assure that recipients comply with
     the terms of incentive decrees, audits should be periodically performed in the form of detailed
     desk reviews of compliance reports and on-site audits of books and facilities. Audit selection
     and review should be based on the decision of an audit committee, rather than at the discretion
     of a single official. An important feature to consider including are random audits
     incorporating a full onsite review of performance targets related to, for example, facilities,
     employment documentation, charitable contributions, investment, local purchases, and
     exports.

 17.3.3    Principle of revenue neutrality
 Puerto Rico needs to drive toward more formality and increased compliance within the tax base,
 but it cannot lose revenues in the process. Therefore, any tax reform or tax law initiative that the
 Government undertakes or pursues during a year within the 2022 Fiscal Plan period must be
 revenue neutral, that is, all tax reductions must be accompanied by specific, offsetting revenue
 measures of the same amount that are identified in the enabling legislation. Each tax measure
 must also include confidence building elements, such as behavioral adjustments and reasonable
 capture rates. To ensure revenue neutrality, the implementation of any tax law initiative must
 occur sequentially, with the Government ensuring that initiatives are paid for before rates are
 reduced. Enforcement mechanisms that yield additional revenues must be part of any tax
 initiative package that results in a tax revenue decrease to prevent a scenario where tax reductions
 are not accompanied by sufficient offsetting revenue measures identified in the enabling
 legislation.

 17.3.4    Required implementation actions
 To achieve the 2022 Fiscal Plan revenue measures, certain action items must be implemented
 according to the schedule described in Exhibit 140:




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 EXHIBIT 140: REVENUE MEASURES REQUIRED IMPLEMENTATION ACTIONS




                          Appropriations to UPR

            Current state and vision
 The UPR, founded in 1903, is Puerto Rico’s largest and main university system. Its mission is to
 serve the people of Puerto Rico, contribute to the development and enjoyment of the fundamental
 values of Puerto Rican culture, and uphold the ideals of a democratic society. To advance its
 mission, UPR strives to provide high-quality education and create new knowledge in the Arts,
 Sciences, and Technology. UPR has a history of academic excellence, with 694 degree-granting
 academic and professional certification programs, including six first-level professional degree
 programs and 34 PhD programs. The university system is also an important center of research;
 for example, the Río Piedras campus is classified as a high research activity university by the
 Carnegie Foundation (one of only 335 U.S. universities to receive such a designation) and there
 are 79 separate research centers across the university system. UPR plays a critical role in
 providing avenues for social and economic advancement, with 68% of students receiving Pell
 grants. 336
 The central Government provides a range of appropriations, including to the University of Puerto
 Rico (UPR). In FY2018, UPR was 67% subsidized (~$678 million in annual appropriations) by
 state and local funds, compared to an average 25% state and local subsidization for U.S. public
 universities. 337 In FY2018, UPR’s undergraduate tuition was less than one-third of the U.S.
 average for public universities, even after adjusting for per-capita income, and more than 40%
 below the average tuition of private universities on the Island. 338 Yet, during the past decade, UPR
 has seen a 24% enrollment decline (17% since FY2018) with an additional drop of 5.2% expected
 through FY2023 across both graduate and undergraduate populations. Moreover, UPR consists
 of 11 independent campuses with minimal shared services or administrative consolidation. UPR
 has reduced its exposures to subsidies from the Commonwealth, and has made some progress in
 various measures, such as increasing undergraduate tuition, increasing the contribution to
 pension plans, and slightly increasing graduate tuition. Some other areas require additional
 progress, including diversification of revenues, implementation of tuition and scholarship

 336 UPR 2012-2017 Strategic Plan
 337 UPR, IPEDs 2016, College Board
 338 Represents the average across the Ana G. Mendez University system, Inter-American University, Sacred Heart University, and
    Polytechnic University for SY18-19


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 systems, renewal and maintenance of infrastructure, addressing operational inefficiencies, and
 consolidation of the back-office.


         Key initiatives to reduce appropriations
 Previous Fiscal Plans planned a reduction in the Commonwealth appropriation to UPR to ~$442
 million by FY2023 (growing with inflation starting FY2024); however, reflecting the approval of
 Act 53-2020, the 2022 Fiscal Plan increases the UPR appropriation to a constant at $500 million
 annually starting in FY2023 (Exhibit 141).

 EXHIBIT 141: REDUCTION IN UPR APPROPRIATIONS MEASURES SUMMARY OF IMPACT
 STUDENTS




 A reduction in the appropriation for UPR was determined in 2017 through a collaborative process
 with the Government to identify reasonable, sustainable measures to bring UPR closer to U.S.
 mainland public university tuition and administrative cost benchmarks, while maintaining (and
 in many cases improving) the performance of the system, which serves as a primary economic
 growth engine of the Island. It reflects both the declining enrollment of the university as well as
 the sizeable opportunity to diversify revenue sources, transform operations through greater
 utilization of shared services and other administrative streamlining across its 11 campuses.
 In light of the COVID-19 pandemic, last year, the Oversight Board provided a one-year pause (for
 FY2021) in the further reduction of UPR’s annual appropriation to enable UPR to focus all its
 efforts on implementing the efficiencies previously required and not yet completed. For FY2022,
 the 2022 Fiscal Plan expects the appropriation to be reduced to $466 million. Thereafter, given
 the approval of Act 53-2020, the UPR appropriation will remain constant at $500 million for each
 fiscal year between FY2023 and FY2027.
 After having analyzed the guidance released by the U.S. Department of Education on how to
 calculate the Maintenance of Effort (MOE) requirements associated with the COVID-19 stimulus
 packages (i.e., CARES, CRRSA and ARP Acts), as well as their implications on the UPR and PRDE
 funding provided for FY2022, the Commonwealth formally requested a full waiver of the MOE
 requirements on September 1, 2021.




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          Establish an independent needs-based scholarship fund for
          UPR
 The UPR 2021 Fiscal Plan includes a measure to increase tuition, thereby bringing UPR more in
 line with other public U.S. universities in terms of own-source revenues and ensuring that those
 who can afford university pay for attending. At the same time, the Commonwealth has created a
 needs-based UPR scholarship fund, whose intent is to ensure the tuition-related measures do not
 impact the ability of students with demonstrated financial need to afford a UPR education.
 The 2022 Fiscal Plan allocates funds to establish an independently-managed needs-based
 scholarship fund to benefit the students of the university system. The Commonwealth will
 contribute $35 to $51 million per year for scholarships to be managed by an external third party.
 The fund is expected to award the first scholarships in the first half of FY2023. The Oversight
 Board urges the Government of Puerto Rico to continue this implementation so students who
 cannot otherwise afford tuition in Puerto Rico are able to through this program. The need-based
 scholarship will guarantee that those who need the resources get them.
 The 2022 Fiscal Plan includes an increase in the salaries of all Medical Residents who are part of
 the UPR residency programs. It includes an allocation of ~$2.5 million annually as of FY23 to
 cover a 20% salary increase for the students whose salaries have not been revised since 2003. The
 increase is intended to enhance the retention of students on the Island to provide the much-
 needed health related services. In addition, $500 thousand will be allocated to fund the required
 accreditation fees of the medical and dental programs of the Medical Science Campus.



                     Municipal services reform

          Current state
 All of Puerto Rico’s 78 municipalities are recipients of the Commonwealth municipal
 appropriation. To incentivize a new operating model between the central and municipal
 governments as well as municipal operational changes, the Fiscal Economic and Growth Plan
 published by the Commonwealth in September 2015 called for the elimination of all General Fund
 based municipal financial transfers, including direct budgetary subsidies, the property tax
 exoneration fund (included in Act 83-1991) and the municipal equalization fund (included in Act
 80-1991). The subsequent Fiscal Plans reduced this appropriation. In FY2018, the total municipal
 appropriation was $220 million (a reduction of $110 million relative to the prior year). In FY2019,
 it was reduced to $176 million, and in FY2020, as stipulated in the 2019 Fiscal Plan, it was further
 reduced to $132 million. This amount remained the same for FY2021 as a planned reduction was
 paused to provide support to municipalities during the COVID-19 pandemic, but the
 appropriation will be phased-out and eliminated by FY2025. The transfer in FY2022 will decrease
 to $88 million. Given this decrease and the eventual phase out of transfers to municipalities, the
 imperative to execute strategic efforts to increase revenues, maximize investment of federal
 recovery funds and decrease operational costs to maintain fiscal sustainability is critical.
 Municipalities are often on the front lines of providing individual and community services and
 were demonstrably engaged in COVID-19 response and recovery. This recovery is in addition to
 ongoing efforts to recover from the natural disasters of hurricanes and earthquakes. Through
 stimulus measures, including the ARP Act and CARES Act, as well as significant disaster relief
 funds, municipalities will receive substantial, time limited, financial aid to support economic
 redevelopment. Their siloed operations and limited local capacity to manage relief funding creates
 obstacles to leveraging funding effectively to promote necessary economic development and fiscal
 recovery.


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 Prior to, and in recovery from the pandemic, there has been little meaningful progress on
 redefining the relationship between the territorial Government and municipalities, almost no
 decentralization of responsibilities, and no fiscal decentralization. Moreover, municipalities have
 made little (if any) progress towards implementing the fiscal discipline required to reduce reliance
 on Commonwealth appropriations and better reflect a declining population in many areas. This
 lack of fiscal management was further stressed by the COVID-19 pandemic, threatening the ability
 of municipalities to provide necessary services, such as health, sanitation, public safety, and
 emergency services to their residents, and forcing them to prioritize expenditures. Based on the
 lack of progress to date and entrenchment of the municipal governance including municipal
 legislatures, comprehensive changes including consolidation of services are required as individual
 municipalities cannot accomplish significant impacts to the municipal cost structure.

 19.1.1    Municipal reliance on Commonwealth funding
 The level of municipal dependency on intergovernmental income is highlighted in Exhibit 142
 below. Transfers of intergovernmental income includes both an equalization fund and lottery
 transfers. The lottery transfers will be maintained as the equalization fund portion phases out by
 FY2025. In FY2021, the General Fund of 27 of the 78 municipalities were 30% or more dependent
 upon funding from the Central Government. As the equalization fund portion of these transfers
 phases out, municipal revenues need to be increasingly bolstered by improved property tax
 collections at CRIM, or municipal budgets will become increasingly stressed.

 EXHIBIT 142: MUNICIPAL DEPENDENCY ON INTERGOVERNMENTAL TRANSFERS AS A
 PERCENTAGE OF FY2021 REVENUE




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 EXHIBIT 143: GENERAL FUND REVENUES, ACTUAL VS. BUDGET




 To partially offset the impacts from the phase out of the Commonwealth transfer to the
 Equalization Fund, the Government worked to supplement funding to municipalities in addition
 to the disaster recovery and COVID-19 pandemic funding received from the federal government
 and the essential services provided by the Commonwealth, House Bill 1003 was enacted in
 October 2021 which declared that it is the public policy of the Commonwealth to guarantee to its
 population the efficient collection and disposal of garbage, solid wastes, debris, as well as the
 implementation of recycling programs. To provide municipalities funding, the legislation
 established the “Extraordinary Fund to Address the Collection and Disposal of Residuals, Wastes,
 and to Implement Recycling Programs in the Municipalities,” (“Extraordinary Fund), which will
 be within the “Municipalities Equalization Fund” provided in Article 7.015 of Act 107-2020, as
 amended, but in an account separate from other income of said fund. The fund was created as a
 mechanism for the Commonwealth to share with the 78 municipalities the savings achieved under
 the Plan of Adjustment. The Extraordinary Fund will be funded with an annual allocation from
 the General Fund, which will be equivalent in each fiscal year to 42% of the amount collected
 during the prior fiscal year on account of the 1.03% property tax. This appropriation may only be
 included in the budget for a fiscal year if the amount of Medicaid funds actually received during
 the prior fiscal year exceeds the projected amount of Medicaid funds for such prior fiscal year as
 set forth in the 2021 Fiscal Plan.
 Additionally, during Q2 FY2022 municipalities received additional savings through a reduction
 to the FY2022 ASES health care base contribution from an extension of Medicaid benefits with
 an increased FMAP. In September 2021, the U.S. Congress passed a continuing resolution
 extending the higher FMAP defined in the Further Consolidated Appropriations Act (76% for
 most populations) through December 3, 2021. In addition, the incremental 6.2%increase in FMAP
 was extended through March 2022 due to an extension in the corresponding Public Health
 Emergency period. The available supplemental federal funds returned to standard levels in
 October 2021 and the higher FMAP defined in the Further Consolidated Appropriations Act will
 return to standard base levels (55% for most populations) in December 2021 (Q2 FY2022) in the


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 absence of new federal legislation, though the 6.2% increase will remain through March 2022
 (meaning most populations will have an FMAP of 61.2% from December 3, 2021, through March
 2022).
 In November 2021, Governor Pierluisi announced the formation of the Municipal Strengthening
 Program, made available to the mayors of the 78 municipalities in agreement with the Financial
 Advisory Authority and Fiscal Agency (AAFAF) to fund public services, which includes but is not
 limited to infrastructure maintenance and operational expenses, as well as health, safety and
 education services. The program will receive $152 million allocation from the ARP Act State Fiscal
 Recovery Fund to be distributed $50 million over the next three years. The funds will be
 subsequently disbursed in August 2022 and August 2023. As of January 2022, $39 million had
 been disbursed of the $152 million program.
 One of the largest contributors to municipal revenue results is poor tax compliance. Improving
 property tax collections has the potential to increase much needed annual revenues for
 municipalities. CRIM operates property tax collection on behalf of municipalities, must establish
 a program to improve collections on existing properties, reclassify properties that are currently
 erroneously categorized (residential vs. commercial), and pursue strategies to enhance
 collections. Current year collections have averaged approximately 68% in recent years, which is
 well below comparable U.S. jurisdictions. Low compliance rates and thousands of properties in
 Puerto Rico that do not appear on the property tax rolls affect the revenue productivity and
 fairness of the property tax system. CRIM has the responsibility for virtually every aspect of
 property tax administration, including developing a cadastral survey, identifying taxable parcels,
 developing and maintaining an appraisal manual, developing tax records, calculating the
 valuation for all real property, notifying taxpayers of their respective obligations, and collecting
 the real and personal property tax. Although CRIM currently delegates services to select
 municipalities via collaboration agreements for functions such as appraisals, collections,
 verifications, and investigations, municipal governments still have limited roles in the
 administration of the property tax. Thus, enhancing the effectiveness of CRIM is critical for
 municipal revenues and services.
  Nullification of Act 29-2019 and Repayment Waterfall
 As of December 2021, the remaining balance for the amounts owed from municipalities after the
 nullification of Act 29-2019 has been reduced to under $2.5 million with FY2020 PayGo fully
 repaid to $0 and FY2020 ASES debt still owed from 3 municipalities, Aguadilla, Guaynabo, and
 Yauco. Pursuant to the agreed upon repayment waterfall, described further herein, the Oversight
 Board, AAFAF, and CRIM have worked together with municipalities to ensure repayment of the
 approximately $198 million of accumulated pension and healthcare obligations.
 On April 15, 2020, the Title III court issued a decision granting summary judgment to the
 Oversight Board on several of its claims against the Governor and the Fiscal Agency and Financial
 Advisory Authority (AAFAF, by its Spanish acronym). The court issued a mandatory permanent
 injunction precluding the enforcement of Act 29-2019 and declared Act 29-2019 a nullity because
 it violated various provisions of PROMESA. The Title III court’s order became effective on May 7,
 2020. The effect of this nullification required municipalities to cover their own employees’ PayGo
 and healthcare costs going forward and to reimburse the Commonwealth for its costs resulting
 from the impact of Act 29-2019 during its effective period. For FY2020, the PayGo and healthcare
 obligations were approximately $166 million and $32 million, respectively. The Oversight Board,
 the Government, and CRIM agreed that the combined amount due, $198 million, would be
 partially offset by the FY2020 Commonwealth transfer of $132 million (that was transferred to
 CRIM in accordance with the 2019 Fiscal Plan and Certified Budget). Under Act 29-2019, CRIM
 retained these funds and did not remit them to the municipalities as part of the Equalization Fund.
 Therefore, CRIM transferred the $132 million to the Health Insurance Administration (ASES, by
 its Spanish acronym) and the Retirement System for Employees of the Government of Puerto Rico
 (ERS) to partially repay the FY2020 PayGo and ASES debt. The $132 million was allocated
 proportionally to the municipalities based on their projected FY2020 PayGo and ASES debt.

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 After accounting for this transfer, the nullification of Act 29-2019 resulted in the municipalities
 together owing $66 million to the Commonwealth for their employees’ FY2020 PayGo and
 healthcare contributions. This amount equated to approximately 3% of the total municipality
 General Fund budgets in FY2020 (~$2 billion), although the impact varied on a municipality-by-
 municipality basis. The remaining $66 million had to be repaid according to the repayment
 waterfall in Exhibit 144. This repayment waterfall focuses on incremental revenues that
 municipalities had not considered in their FY2020 or FY2021 budgets. Therefore, the financial
 impact on municipalities was minimized.

 Since the beginning of FY2021, CRIM, AAFAF, and the municipalities have been working closely
 with the Oversight Board to implement the repayment waterfall and pay the outstanding FY2020
 PayGo and healthcare debt. Funds have been prioritized to pay PayGo debt first before paying
 healthcare debt. The first three (3) steps of the repayment waterfall have been completed and the
 balance of the FY2020 PayGo has been fully repaid. The remaining $2.5 million of FY2020 ASES
 debt, which is less than 2% of the original debt outstanding, will be repaid through CRIM’s
 collection efforts of prior year tax debts under the tax relief program that commenced in
 November 2021 before invoking required withholding of basic tax remittances pursuant to step 5
 of the repayment waterfall by the end of FY2022.
 Step 4 of the waterfall mandated CRIM to sell its past due tax portfolio in order to generate funds
 to repay the Act 29-2019 obligations and provide much needed revenues to municipalities. It
 should be noted that, CRIM and AAFAF have been working since July 2020 to retain expert
 services to support valuation of the property tax debt and associated tax liens, which is projected
 to be worth approximately $400 million, based on a third party’s previous proposal to purchase
 the portfolio. After an RFP process generated three competing (3) proposals, CRIM and AAFAF
 requested additional information by way of an addendum issued in November 2020. Despite the
 passage of time, CRIM and AAFAF have yet to finalize the selection of the third-party experts to
 support the data clean-up and portfolio valuation and have claimed neither CRIM nor AAFAF
 have the funds available to carry out the contract. After the certification of the FY2021 CRIM
 Fiscal Plan, CRIM proposed as an alternative to step 4 and step 5 of the repayment waterfall,
 requiring sale of the accounts receivable portfolio and set off of municipal remittances. The
 proposal offered the use of unbudgeted alternate sources of funding including FY2021 Excess
 CAE, proceeds from the FY2021 year-end liquidation, and the internal collection of aged, past due
 tax obligations in order to monetize the past due tax debts. The Oversight Board disagreed with
 elimination of step 4, the sale of the portfolio, in principle, but consented to the request to defer
 pursuing the sale until September 2022 to allow for CRIM to undertake an internal collection
 program before proceeding with the sale of the portfolio.
 The amnesty program grants discounts to the principal, interest, surcharges, and penalties as
 follows:
 ■   Past due debt from FY2017 – FY2020
     – If paid between Nov. 5, 2021 – Jan. 31, 2022: taxpayer would owe only 100% principal; all
       interest, surcharges and penalties waived

     – If paid between Feb. 1, 2022 – Apr. 30, 2022: taxpayer would owe 100% of principal and
       interest; surcharges and penalties waived
 ■   Past due debt prior to FY2017
     – If paid between Nov. 5, 2021 – Jan. 31, 2022: 55% discount of principal. Interest,
       surcharges, and penalties waived

     – If paid between Feb 1. 2022 – Apr. 30, 2022: 40% discount of principal. Interest,
       surcharges, and penalties waived



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    – If paid between May 1, 2022 – Jun. 30, 2022: 25% discount of principal. Interest,
       surcharges, and penalties waived

    – If paid after June 30, 2022 – no discount is granted
 The program commenced on November 5th and is scheduled to end on June 30, 2022.
 Within 30 days after the completion of the program, CRIM must submit reports of the collections
 and effectiveness of the program to the CRIM Governing Board, the Mayors and to the Oversight
 Board every 30 days after the completion of each of the collection periods. In addition, CRIM must
 submit a final report to the CRIM Governing Board and the Oversight Board no later than 15 days
 of the following month after the culmination of the program. The report shall include the total tax
 collected to the program and the number of taxpayers subscribed to the program.

 EXHIBIT 144: ACT 29 REPAYMENT WATERFALL




          Disaster relief and the COVID-19 pandemic

 19.2.1    Accelerating post-disaster relief at municipalities
 Puerto Rico has experienced historic and unprecedented disasters since 2017. The impact of
 Hurricanes Irma and María, as well as a magnitude 6.4 earthquake on January 7, 2020 (and the
 subsequent aftershocks), resulted in significant damage to the infrastructure and economy, and
 prompted material out-migration. The Federal Government has supported post-hurricane
 reconstruction in the municipalities primarily through FEMA’s Public Assistance (PA) Program,
 Community Disaster Loans (CDLs), and 406 Hazard Mitigation Grant Program (HMGP). FEMA
 processes PA Program grant funding according to the type of work the applicant undertakes.
 Eligible work must be required as a result of the declared incident, be located in the designated
 area, and be the legal responsibility of the applicant. Eligible work is classified into different
 categories: Emergency work and Permanent work. Permanent work projects are considered either
 large or small. Projects above a certain amount are considered “large.” The threshold corresponds
 to the annually adjusted small project maximum, which is adjusted annually for inflation. For
 FY2018, when hurricanes Irma and María made landfall, that threshold was $123,100. For small
 projects, final funding is based on the estimate at the time of project approval and certification of
 project completion is required when the project is done. Unlike large projects where the applicant
 completes the project and is later reimbursed for the project costs, small projects are paid out


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 upon obligation. Given the liquidity issues facing many of the municipalities, the Government
 made the obligation of small projects a priority in the Island’s recovery.
 In addition to the aid provided through the FEMA PA Program, CDLs are provided to
 municipalities that have suffered a substantial loss of revenues as a result of a disaster and that
 can demonstrate a need for federal financial assistance to perform critical functions such as
 payroll, supplies, and maintenance materials related to disaster operations. 78 of the 78
 municipalities have received over $306 million from the Federal Government to make up for lost
 revenues due to the hurricanes in the form of CDLs. 15 municipalities affected by the 2020
 earthquakes also received approximately $55 million in assistance in the form of CDL loans (see
 Exhibit 145).

 EXHIBIT 145: POST-HURRICANE                           RECONSTRUCTION   FEDERAL     FUNDS      FOR
 MUNICIPALITIES




 Municipalities and Puerto Rican residents have also received disaster funding through Individual
 Assistance programs, Small Business Administration (SBA) Loans, Department of Housing
 Community Development Block Grant Disaster Recovery (CDBG-DR) programs, and Department
 of Transportation funding. On September 30, 2021, Congress passed HR5305 extending
 Government Funding and Delivering Emergency Act’ which forgave the $306 million in CDL's
 that were granted to Puerto Rico's Municipalities.
 On December 7, 2019, the Oversight Board approved the Government’s request to establish a
 “State Recovery Fund” that would fund advances to eligible Small Projects under the FEMA PA
 Program, which many municipalities required due to a lack of liquidity. 339 The State Recovery
 Fund was financed solely from a reprogramming of the $100 million FY2020 Certified Budget
 appropriation under the custody of the Office of Management and Budget (OGPe, by its Spanish
 acronym) designated as “Cost share of public assistance” and is to be used only for Small Projects
 (as defined above). The Oversight Board also included several requirements from the Government
 as a precondition of approval of this State Recovery Fund. Since the establishment of this State
 Recovery Fund, COR3 has informed the Oversight Board that $92.5 million would be returned to
 OGP, given other mechanisms have been put in place to expedite Small Projects and the funds are
 no longer required by the municipalities. 340 The fund was made available to municipalities from
 early 2020 to late spring of 2020. During the term of availability few municipalities completed
 the process to access these funds as the rate of obligation of small projects increased dramatically
 and Municipalities began to receive the funds to carry out the projects. Thus, the fund was no
 longer necessary, and funds could be re-programmed and used to address other needs.
 The 2020 Fiscal Plan included the use of $51.4 million requested for the first required steps of
 demolition and debris removal as a result of the earthquakes in the southwestern region of the
 Island. These funds were appropriated to the Puerto Rico Department of Housing to administer
 for municipalities to carry out the FEMA Private Property Debris Removal and Demolition
 program (PPDR). Debris removal from private property is generally the responsibility of
 individual private property owners leveraging private funding, such as insurance, to cover the

 339 Oversight Board letters dated December 7 and December 14, 2019
 340 COR3 letter to the Oversight Board dated April 14, 2020


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 cost. However, if private property owners are not available because they have evacuated, the state
 or local government may need to enter the private property to remove debris considered to be an
 immediate threat to the lives, health, and safety of its residents. 341 The municipalities of
 Guayanilla, Guánica, Ponce, Yauco, and Peñuelas received approval from FEMA and COR3 to
 administer their own PPDR programs. In order for municipalities to have access to these funds,
 they had to enter into a Memorandum of Understanding (MOU) with Vivienda. To date, all five
 municipalities have completed the MOU stage and a total of $12.4 million has been advanced to
 begin demolition work. As part of the agreement with Vivienda, municipalities must work with
 COR3 to request the reimbursement for eligible expenses under this program. The
 reimbursement will then be used in the second stage of the redevelopment of the southwest
 region. The Municipalities of Yauco and Guánica began demolishing structures in FY2022.
 After the demolition and debris removal, the next step or second stage should be the development
 of an integrated and comprehensive plan for the long-term economic reconstruction of the
 southwest region, focusing on rebuilding with resiliency and taking into account the changes in
 the economy in a post-COVID world, the patterns of migration from the area, and the potentially
 permanent risks to populations from the earthquakes and erosion after the hurricanes, among
 other factors. This plan should be developed in coordination with Vivienda and other relevant
 state and federal agencies.
 COR3 Revolving Fund
 On November 18, 2020, the Government of Puerto Rico established a $750 million Revolving
 Fund (“RF”) to be managed by COR3 through Joint Resolution 85 – 2020 to provide liquidity and
 short-term financing in the form of loan advances to central government agencies, public
 corporations, instrumentalities, and municipalities of the Commonwealth of Puerto Rico, with the
 goal of supporting and expediting reconstruction of the Island for damages incurred as a result of
 Hurricanes Irma and Maria and the January 2020 Earthquakes. The Revolving Fund is available
 to agencies and municipalities that are expecting to carry out Public Assistance Permanent Work
 and Hazard Mitigation Grant Programs and expect to be reimbursed by FEMA for such projects.
 Permanent Work projects include works for roads and bridges, water control facilities, public
 buildings, and utilities, as well as parks, recreational and other facilities. Advances can cover up
 to 90% of the total project cost for Public Assistance projects, and up to 75% of the total project
 cost for Hazard Mitigation Grant projects. In November 2021, the Oversight Board approved the
 first advance under this mechanism to the Municipality of Caguas.
 FEMA PA and HMPG projects formulation and closeout are monitored by COR3. As Puerto Rico
 fiscal agent, financial advisor, and reporting agent, AAFAF is responsible for administering the
 Revolving Fund. Municipalities are responsible for project execution, program compliance, and
 submission of FEMA for reimbursement.
 City Revitalization, CDBG-DR
 On March 16, 2021, Governor Pierluisi announced the reallocation of CDBG-DR City
 Revitalization funds overseen by Vivienda. This reallocation will increase the funds to the
 municipalities from an initial $600 million obligation to $1 billion, with an addition of $400
 million. These funds were initially obligated on February 20, 2020 and the funds must be used by
 September 18, 2024. Additionally, the Governor allocated $10 million to municipalities for
 administrative expenses. Exhibit 146 below details the total disaster relief funds allocated to each
 municipality. The Board also approved $14.9 million of support from the General fund Emergency
 Reserve to 18 municipalities directly impacted by the earthquakes.




 341 Public Assistance Debris Removal Guide FEMA 325/July2007


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 EXHIBIT 146: DISASTER RELIEF FUNDING ALLOCATIONS TO MUNICIPALITIES




 19.2.2    COVID-19 pandemic and municipal support
 Municipalities have received continuous Government and federal aid to address increased
 expenses associated with COVID-19 response and recovery actions. The most significant of this
 recovery funding are the allocations associated with the ARP Act.
 On March 28, 2020, the Oversight Board approved the Commonwealth’s plan to provide $100
 million as part of the COVID-19 Emergency Measures Support Package. Municipalities received
 $50 million per month for two months with the funds distributed to each municipality using a 3-
 tier approach based on municipal population levels of $1 million, $1.35 million, and $1.75 million.
 Further, the 2020 Fiscal Plan provided a one-year pause in the further reduction of
 Commonwealth appropriations to municipalities; accordingly, the FY2021 appropriation
 remained at $132 million. This additional financial support for municipalities was intended to be
 used to effectively implement strategies to improve municipalities’ financial sustainability by
 instituting critical changes in operating structure, sharing costs through consolidated services,
 and improving revenue collection.
 In addition, the Governor signed an executive order that adopts the “Strategic Plan for
 Disbursement” of the $2.2 billion allocated to Puerto Rico by the Coronavirus Relief Fund (CRF)
 created by the Federal Government through the CARES Act, which assigned $100 million to be
 transferred to the municipalities for eligible expenses related to COVID-19. Another $100 million
 in funding was available under the CARES Act to reimburse allowable COVID-related expenses
 incurred by the municipalities. In July 2020, the Governor expanded the available funds by
 another $100 million for a total of $200 million overseen by AAFAF. Municipalities are
 responsible for documenting and tracking all expenses for reimbursement.



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 In February 2021, the Governor announced the disbursement of an additional $100 million from
 the CARES Act to assist the municipalities with the mitigation of the effects of the pandemic. Each
 municipality will receive $1 million and the remaining $22 million will be distributed among the
 municipalities with the greatest economic difficulties.

 EXHIBIT 147: COVID-19 FUNDING ALLOCATIONS TO MUNICIPALITIES




 On March 11, 2021, President Biden signed the American Rescue Plan (ARP) Act into law, which
 contains $1.9 trillion in overall U.S. national spending to support relief and economic recovery
 efforts. The ARP Act provides a total of $350 billion in assistance to states, counties,
 municipalities, territories, and tribal governments to cover expenses, make up for lost revenue,
 and ease the overall economic impact from the COVID-19 pandemic. Specific to municipalities is
 the $130.2 billion to local governments from the Coronavirus Local Fiscal Recovery Fund:
 ■   $65.1 billion to counties, allocated based on each county’s share of the U.S. national
     population.
 ■   $45.6 billion to metropolitan cities (cities with 50,000 or more people), allocated by an
     average of one of two sets of economic ratios, to be determined by the U.S. Secretary of the
     Treasury.
 ■   $19.5 billion to municipalities with fewer than 50,000 people (to be distributed by the
     applicable state), allocated based on each municipality’s share of the overall population of
     municipalities.
 Puerto Rico’s municipalities are estimated to receive approximately $1.55 billion under ARP.
 Local government (defined as non-entitlement unit by ARP) funds totaling $124 million will be
 distributed in two equal tranches, the first was distributed to the Commonwealth in June 2021
 and the Commonwealth then distributed to the 51 applicable municipalities. The second tranche
 is expected to be paid in June 2022. The remaining $1.4 billion due to municipalities in their
 capacity as counties and/or metropolitan cities (as defined in ARP) are payable directly by US

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 Treasury via two equal tranches to the municipalities upon receipt of a request and certification
 from each municipality. In addition to these directed funds, there are multiple other funding
 programs directed by individual federal agencies which may be available to municipalities focused
 on improving economic development and resident services. Funds allocated from each of the State
 Fiscal Recovery Fund and Local Fiscal Recovery Fund may be used to:
 ■   Respond to the COVID-19 emergency and address its economic effects, including through aid
     to households, small businesses, nonprofits, and impacted industries such as tourism and
     hospitality.
 ■   Provide premium pay to essential employees of state or local governments or make grants to
     the employers of essential employees. Premium pay may not exceed $13 per hour or $25,000
     per worker.
 ■   Provide government services to the extent of any revenue reduction resulting from COVID-19.
 ■   Make investments in water, sewer, and broadband infrastructure.
 ■   All funds must be obligated on or before December 31, 2024.
 ■   All funds must be expended by December 31, 2026.
 ■   State and local governments cannot use the funds to make pension payments.
 ■   State and local governments may transfer funds to private nonprofit groups, public benefit
     corporations involved in passenger or cargo transportation, and special-purpose units of state
     or local governments.
 ■   State and local governments must provide periodic reports to the Secretary of the Treasury
     giving a detailed accounting of the uses of funds and, in the cases of states, all modifications
     to the states' tax revenue sources.


            Vision and reform needed to transform municipal services
 The significant opportunity associated with ARP and other recovery funds provide municipalities
 an opportunity to make meaningful investments towards their fiscal sustainability. Municipalities
 must engage in evidence-based investments in driving efficiencies in operations to lower expenses
 while increasing revenues through economic development, improved tax collections and business
 growth. Yet, for many of the 78 municipalities, reducing their individual cost structures will be
 insufficient in the face of rising operational costs and without the ongoing benefit of governmental
 transfers. Current levels of fiscal stability, level of population decline, and economic opportunities
 vary across the 78 municipalities. Furthermore, many municipalities which have greater
 dependency upon Commonwealth transfers as a source of revenue are at increased risk of fiscal
 distress as transfers continue to decline.
 Thus, the Government will need to develop a solution to streamline and consolidate municipal
 services throughout Puerto Rico. Otherwise, the Government faces the prospect of expanding
 municipal operating deficits, further deteriorating infrastructure, and worsening service delivery.
 To enhance stakeholder discussion on this issue, in June 2020 the Oversight Board published a
 policy paper examining a new government structure between the Commonwealth and municipal
 governments. 342 The report included design parameters around decentralization and municipal
 service consolidation. While the Oversight Board did not advocate for eliminating municipal
 governments, it did call for a comprehensive statutory overhaul to lay a solid foundation for
 reform. In March 2021, an Executive Order was signed by Governor Pierluisi, the Mayor’s
 Association, and the Mayor’s Federation to create the ‘Committee for the Decentralization of
 Municipal Affairs.’ The Committee, composed of one representative from each political party and

 342 Cruz, Arnaldo. “Essay: Rethinking Government, A New Commonwealth-Muni Partnership.” Puerto Rico Financial Oversight and
     Management Board. Accessed April 21, 2021


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 led by the Secretary for Municipal Affairs would be responsible for identifying potential services
 and competencies that could be gradually transferred from the Central Government to the
 municipalities, along with the respective required funding. The Committee was expected to
 submit a report by May 18, 2021 listing their ideas; however, to date no such report has been
 submitted. Top-down changes to the delivery of government services is critical to achieving
 impact on cost structures given the entrenched local governance structure with 78 municipal
 governments and their legislatures. The Committee’s recommended implementation plan must
 prioritize changing the cost structure of service delivery as well as shifting responsibilities.
 A new decentralized model could improve the delivery of services by centralized Commonwealth
 agencies which are historically untimely and lack responsiveness. Such a model has the potential
 to dramatically increase capacity to respond to a crisis and improve service delivery at a local level.
 Unfortunately, most municipalities do not (individually) have the administrative or financial
 capacity to operate programs currently provided by the Commonwealth. Many also lack the
 economies of scale necessary to be efficient with programs such as the Administration for Child
 Support Enforcement (ASUME, by its Spanish acronym), Administration for Families and
 Children (ADFAN, by its Spanish acronym), or Vivienda. However, a consolidated municipal
 service structure could enable the delegation of certain Commonwealth responsibilities to local
 governments. Such a model could yield municipal and Commonwealth savings, and a portion of
 those savings could be reinvested back into the municipalities where savings are realized.
 In addition, a more integrated government structure could help implement locally based
 economic development strategies, which are more viable at a regional level than on an individual
 municipality basis. On the revenue side, service consolidation could further enhance the
 coordination of property tax collection by standardizing and automating processes and
 integrating data and information systems. The Oversight Board is committed to helping the
 Government and all the municipal governments throughout a reform process, with ideas, insight,
 and design support, if, and only if, the proposed solution reduces the costs of services provided by
 municipalities through service consolidation.

 19.3.1    Oversight Board’s municipal pilot
 The Oversight Board initiated the Pilot program in May 2019 when it designated all 78 Puerto
 Rican municipalities as covered entities under PROMESA. The 10 municipalities in the Pilot were
 Aibonito, Barranquitas, Camuy, Cidra, Comerío, Isabela, Quebradillas, San Sebastián, Orocovis
 and Villalba, reflecting diverse political representation, size, and financial strength. The Pilot
 provided important insights into the scope of financial problems municipalities face and the deep-
 rooted systemic challenges that must be overcome to enable fiscal sustainability.
  Although the Pilot ended on June 30, 2021, the Oversight Board continues its work with
 municipal governments with the launch of three municipal incentive funds available to all 78
 municipalities. The Oversight Board will work with any and all that are eager to benefit from this
 program and will continue to provide support to help improve municipalities’ fiscal stability by
 working with mayors on identifying and adopting leading local government practices on efficient
 spending, economic development, and maximization of federal funds.




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 EXHIBIT 148: MAP OF MUNICIPALITIES PARTICIPATING IN THE OVERSIGHT BOARD’S
 PILOT PROGRAM




 19.3.2    Incentivizing consolidation of services
 Municipal Consolidation Fund
 To further incentivize service consolidation, the 2020 Fiscal Plan established funds to assist the
 municipalities to achieve fiscal sustainability. By consolidating services, municipalities will be
 able to significantly reduce costs and generate additional revenues through economic
 development and other potential initiatives. Municipalities that voluntarily consolidate services
 will be eligible to receive a one-time financial incentive upon certification of such action by the
 Oversight Board. To fund this initiative, the 2020 Fiscal Plan set aside $22 million in each fiscal
 year through FY2025 for distribution among municipalities that complete service consolidations.
 The amount distributed to each participating municipality will be determined in coordination
 between AAFAF and the Oversight Board and is dependent on the savings or revenue generation
 achieved. The fund was expected to commence under AAFAF in the fourth quarter of 2021.
 FY2021 funding not disbursed was authorized to rollover to FY2022. The annual funding
 commitment will be reviewed each year through FY2025 based on municipal participation in the
 fund. As of January 2022, the program has not been launched, thus no money has been disbursed
 from this fund.
 School and Road Maintenance Funds
 As provided for in the 2020 Commonwealth Fiscal Plan, the Oversight Board committed to
 support all 78 municipalities through the creation of school and road maintenance funds. These
 funds will help municipalities through:
 ■   Defraying maintenance costs often covered by municipalities instead of responsible
     Commonwealth agencies
 ■   Detailing requirements between Commonwealth agencies and municipalities for roads and
     school maintenance
 ■   Establishing processes to fund such requirements
 For school maintenance, the 2020 Fiscal Plan made available $2.5 million for FY2021 which was
 extended to FY2022. Within this incentive fund, municipalities are reimbursed for maintenance
 costs associated with their Public Building Authority (AEP for its Spanish acronym) managed
 schools. 377 schools managed by AEP in 76 municipalities are eligible to participate. This
 represents $6,631 available funding per school. Municipalities are required to establish a
 memorandum of understanding (MOU) with AEP on specific maintenance costs which can be
 covered. As of January 2022, no MOUs have been signed between municipalities and AEP.

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 For road maintenance, the 2020 Fiscal Plan made available $10 million for FY2021 which was
 extended to FY2022. Within this incentive fund, municipalities can be reimbursed for
 maintenance costs associated with their secondary and tertiary roads through coordination with
 the Department of Transportation and Public Works (DTOP for its Spanish acronym). 78
 municipalities with 6,553 kilometers of roads are eligible to participate. This represents $1,526
 available funds per kilometer. Municipalities are required to establish a MOU with DTOP on
 specific maintenance costs which can be covered and may include primary roads. As of January
 2022, 74 Municipalities have signed MOUs with DTOP in order to access these funds which
 represents $9,334,063.27. Only 4 out of the 74 municipalities have requested reimbursements to
 OGP (Añasco, Morovis, San Lorenzo and Villalba) representing $391,449.57 in disbursements.

 19.3.3    Property tax reform
 CRIM plays an important role in supporting Puerto Rico’s municipalities in their economic and
 social development by ensuring an efficient process for collecting and distributing real and
 personal property taxes, which are important revenue sources for municipalities. For FY2021,
 property taxes represent approximately 30% of the aggregate general fund budget for
 municipalities.

 It is essential that CRIM seize all opportunities to maximize property tax collections by improving
 compliance to help municipalities reduce the reliance on the Commonwealth transfer and achieve
 long-term fiscal sustainability. Historically, the taxable value of real and personal property has
 been significantly reduced by tax exemptions and exonerations, which have a negative impact on
 the municipalities that rely on property taxes to fund essential services. Puerto Rico offers
 considerably more tax breaks both in terms of number and notional value compared to other U.S.
 jurisdictions. For example, in FY2020, more than 50% of the real and personal property tax base
 was eliminated through these exemptions and exonerations. In addition, CRIM’s tax roll does not
 include all the properties in Puerto Rico, nor does it accurately reflect the taxable value of some
 properties as significant home improvements have not been properly appraised. Similarly, due to
 outdated systems and inefficiencies, there are high levels of delinquencies with collection rates
 for real property tax billings that are well below comparable jurisdictions, standing at
 approximately 68%. This has resulted in a large accounts receivable balance. Therefore, it is
 essential that CRIM continue to seize all opportunities to maximize property tax collections by
 improving compliance to help municipalities achieve long-term fiscal sustainability.

 CRIM continues an operational transformation centered around replacing outdated and
 inefficient applications and hardware, implementing best practices for business continuity, re-
 engineering processes to improve services to municipalities and taxpayers, and establishing a
 more data-driven culture. In September 2021, CRIM rolled-out their new ERP system CRIM 360.
 CRIM 360 is an enhanced enterprise ERP which integrates the different applications and portals
 used by CRIM to streamline the user experience and improve payment processing. These
 initiatives should continue to serve as the foundation for CRIM to implement strategies to
 successfully enhance tax revenue collections.

 In addition, CRIM is undertaking various measures to improve collaboration with other
 government agencies and update the tax rolls to accurately reflect property taxable value and
 ownership. These measures will allow CRIM to better capture unrealized property tax revenues
 by increasing tax compliance and improving overall collection rates. Based on implementation
 planning discussions with CRIM management, CRIM estimates these initiatives could produce:

 ■   $69 million of additional annual revenue from raising real property tax compliance from 68%
     to 76%
 ■   $166 million of additional annual revenue from registering properties and home
     improvements not on the tax roll



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 ■   $89 million of additional annual revenue from fixing incorrect mailing addresses in the billing
     system
 ■   $400 million of one-time revenue from selling the accounts receivable portfolio
 ■   Additional revenue-enhancing measures are identified in CRIM’s 2021 Fiscal Plan

 EXHIBIT 149: REDUCTION IN MUNICIPAL APPROPRIATIONS UNDER STATUS QUO
 SCENARIO




                            Pension reform

            Current state of and required changes to pension reform
 The Government operates three public employee retirement systems in Puerto Rico: The
 Employees’ Retirement System (ERS), the Teachers’ Retirement System (TRS), and the Judiciary
 Retirement System (JRS). The systems have different tiers of benefit formulas, some of which are
 traditional defined benefit pensions based upon years of service and final salary, while others are
 hybrid cash balance plans. Under the hybrid cash balance plans, employees have notional
 accounts credited with contributions and interest, and upon retirement, benefits are payable as
 an annuity. Different benefit tiers apply to employees based upon the year in which they were
 hired. Per the latest data available, each of the systems included the following liabilities: 343
 ■   ERS: 233,000 total participants covered (113,000 active employees, 120,000 retirees and
     other beneficiaries); with $1.5 billion in annual benefits and $31 billion in total actuarial
     liability 344
 ■   TRS: 77,000 total participants covered (32,000 active employees, 45,000 retirees and other
     beneficiaries); with $0.8 billion in annual benefits and $17 billion in total actuarial liability
 ■   JRS: 840 total participants covered (381 active employees, 459 retirees and other
     beneficiaries); with $25 million in annual benefits and $0.7 billion in total actuarial liability


 343 All liability estimates are as of July 1, 2017. Benefit estimates and headcounts are based on census data as of July 1, 2017
 344 Coverage counts do not include participants who are terminated and owed a deferred vested benefit as this participant data is
    unavailable. The liability for these participants is estimated via a load in the actuarial liability


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 All employees have historically made contributions toward their benefits, albeit at
 different rates. Most regular government employees (including police officers as of January 1,
 2020) also participate in Social Security, which includes both employer and employee
 contributions; most teachers and judges do not participate.

 EXHIBIT 150: PUBLIC EMPLOYEE RETIREMENT SYSTEMS OVERVIEW (PRIOR TO PLAN
 OF ADJUSTMENT)




 Over many decades, successive Governments have failed to adequately fund these
 retirement plans, and today the ERS, TRS, and JRS are insolvent. In fact,
 Commonwealth PayGo expenditures to provide pension benefits are expected to continue
 constituting over 20% of General Fund expenditures without further action, as detailed below
 (Exhibit 151).




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 EXHIBIT 151: PAYGO EXPENDITURES COMPARED TO OVERALL GENERAL FUND
 EXPENDITURES, PRE-MEASURES




 In accordance with Section 211 of PROMESA, the Oversight Board published a detailed report in
 September 2019 on the Commonwealth’s retirement systems. 345 This report provides a
 comprehensive analysis, through the date of the report, of the retirement systems’ legal structure,
 operations, and benefit provisions, as well as additional detail related to the history of
 management of these funds and actions by the Commonwealth that led to the insolvency of these
 plans. The report outlines that several factors contributed to the historical underfunding,
 including inadequate employer contribution levels; the enactment of special laws granting new
 benefits without adequate funding for said benefits; early retirement programs; debt issuance the
 ERS system could not support; and mortgage, personal and cultural loans made to participants.
 Moreover, it clearly illustrates the systems’ critical underfunding (see Exhibit 152) and urgent
 need for reform.




 345 EY, PROMESA Section 211 Report on the Puerto Rico Retirement Systems, September 2019


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 EXHIBIT 152: FUNDING LEVELS OF ERS, TRS, AND JRS AS OF JUNE 30, 2016




 As previously stated, these retirement plans have depleted the assets that were set aside to pay
 benefits. Further, the employer contributions were not transferred as anticipated. 346 Satisfying
 pension commitments to current retirees and future retirees and their families is not only
 important to these individuals but also important to Puerto Rico’s economy as retirees spend
 virtually all their income on the Island. Action must be taken to identify a level of benefits
 that Puerto Rico can afford and devise a plan for the Government to fund these
 revised benefits.
 The Commonwealth has already taken critical steps toward a more stable pension system.
 Benefits for System 2000 ERS employees hired after January 1, 2000 were transitioned to a
 hybrid cash balance design with a benefit level based solely on the level of employee contributions.
 Subsequently, various pieces of legislation passed from 2013 through 2017 ceased accruals under
 the unsustainable ERS and TRS defined benefit (DB) plans (though TRS reform was subsequently
 partially overturned). As part of this reform, benefits for all ERS employees and for TRS
 employees hired after August 1, 2014 were transitioned to a hybrid cash balance plan design. With
 Act 106-2017, the Commonwealth transitioned to a new PayGo pension system, was required to
 liquidate assets of the three systems to help fund benefits owed and has moved the assets of
 recently hired TRS members (and future contributions of ERS and TRS members) into segregated
 accounts. Hybrid accounts of System 2000 members were not similarly moved into segregated
 accounts. Now, almost four years after the provisions of Act 106-2017 went into effect, Puerto
 Rico’s retirement systems must be further reformed to reduce costs and maintain adequate
 funding for current and future retirees. The freeze and removal of annual System 2000 costs will
 have an average annual impact of a reduction in costs of approximately $26 million through
 FY2026. When factoring in estimated Social Security cost projections, the measures included


 346 Legislative attempts to increase employer contributions to the pension trust were passed, including the Additional Uniform
    Contribution payments for ERS (Act 32-2013) and the Annual Additional Contribution for TRS and JRS (Act 160-2013 and Act
    162-2013), however, large portions went unpaid and/or were not fully implemented prior to elimination by Act 106-2017


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 herein will begin generating net savings in FY2029 (as compared to estimated PayGo costs which
 include annual System 2000 pension costs).
 Only with pension reform can the Government help restore both fiscal balance and
 the promise for current and future retirees to safeguard their assets and their future
 pensions.


          Proposed pension reform initiatives
 Based on the measures herein, restructuring the pension systems will lead to long-term savings,
 but due to the expansion of Social Security access, this will produce up-front costs of $207 million
 to FY2026, as shown below (Exhibit 153).

 EXHIBIT 153: PENSION REFORM SUMMARY OF IMPACT




 20.2.1    Freeze Defined Benefit accumulation for JRS/TRS and enroll employees in
           a Defined Contribution plan with segregated accounts
 TRS members hired prior to August 1, 2014, and all JRS members are currently accruing benefits
 under the defined benefit components of their retirement plans. ERS members and TRS members
 hired after August 1, 2014, transitioned to hybrid cash balance plans. TRS members hired after
 August 1, 2014, have subsequently had their hybrid accounts segregated from the DB plan by Act
 106-2017. These segregated balances, along with ERS and TRS contributions made after June 30,
 2017, have been transitioned to DC accounts effective June 2020. To avoid creating future pension
 liabilities and to adequately fund the pensions future retirees, the JRS and remaining TRS benefit
 accruals must be frozen. The fiscal plan assumes that benefits will be frozen on March 1, 2022.
 Members will retain the benefits they have accrued to date. Future benefits must be based on
 contributions and earnings in new DC accounts. This will result in consistent and equitable
 treatment across ERS, TRS, and JRS, where all employees will contribute to segregated DC


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 accounts. Going forward, employees should have certainty that their contributions and
 investment returns will be managed for the future through their own segregated accounts.
 The DB freeze savings over time produce significant savings (growing to over $300 million per
 year by FY2044) which will play a significant role in restoring long-term adequate funding. The
 freeze will be implemented through the Plan of Adjustment and is slated to take effect in
 conjunction with the Plan of Adjustment Effective Date.
 The 2022 Fiscal Plan reflects freeze provisions that are comparable to the ERS freeze that was
 implemented in 2013, with the following key aspects:
 ■   Participants eligible to retire at the freeze date retain eligibility to retire at any time based on
     the benefit that has accrued through the freeze date. Otherwise:
     – Individuals that have yet to vest in a benefit amount will be allowed the opportunity to earn
        additional service towards vesting after the freeze; the benefit upon vesting will be
        calculated based on service as of the freeze date, with prorations of the full 10-year benefit
        based on years of service less than 10 years for judges with shorter tenures

     – Certain judges within six months of service as of the freeze of reaching 30-year enhanced
        service benefits will be granted six months to grow into a modified enhanced 30-year
        benefit

     – Normal retirement eligibility will be delayed up to three years for those not yet eligible for
        retirement as of the freeze date
 ■   Future Cost of Living Adjustments (COLAs) will be eliminated for all current and future
     retirees
 ■   Minimum benefits and bonuses will be eliminated for future retirements
 ■   The ability to purchase additional years of service will be eliminated
 ■   Future terminations due to disability will be entitled to the same benefits as regular
     terminations

 20.2.2    8.5% pension benefit reduction
 While the prior fiscal plan included a benefit modification to reduce pensions up to 8.5%,
 consistent with the current PoA, the 2022 Fiscal Plan reflects the elimination of the pension
 benefit reduction provision.

 20.2.3    2022 Fiscal Plan covering more government workers in Social Security
 As part of a comprehensive approach to the retirement of teachers and judges, the confirmed Plan
 of Adjustment contains provisions that expands participation in Social Security to teachers and
 judges. Currently, teachers and judges do not participate in Social Security. They do not pay into
 the program, nor does the Government make a Social Security contribution on their behalf. Unlike
 ERS members, teachers and judges are entirely reliant on their government pensions for income
 in retirement. This places them at risk given that government retirement plans are poorly funded.
 Effective January 1, 2020, police officers, who were similarly situated previously, began actively
 participating in Social Security.
 These groups are exempt from Social Security because of the “Section 218” agreement between
 the Commonwealth and the Social Security Administration, which stipulates that certain
 government employees have wages that are includable for Social Security and subject to Federal
 Insurance Contributions Act (FICA) taxes while others may be exempt from Social Security if they
 participate in a “qualified replacement plan.” Section 218 of the Social Security law provides
 guidance as to what constitutes a “qualified retirement plan,” such as a defined benefit plan with


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 a minimum benefit level or a defined contribution plan in which total employee and employer
 contributions equal to at least 7.5% of employee wages. Teachers and judges are both in job
 classifications that, under the Section 218 agreement, are exempted if such a “qualified
 replacement plan” exists. Under the current TRS and JRS retirement plans, this requirement is
 met and, therefore, such employees are exempted from Social Security.
 Covering these workers under Social Security will provide them with diversified sources of income
 in retirement, and Social Security’s progressive benefit formula will provide a stronger safety net
 for lower-paid employees. Workers will typically earn greater retirement benefits under Social
 Security, based on a 6.2% employee contribution and a 6.2% employer (government) match, than
 they would in a DC plan funded only with a 6.2% employee contribution. For example, a typical
 full-career government employee retiring with a salary of $35,000 will be entitled to a Social
 Security benefit of approximately $16,000, in addition to the benefit the employee builds in their
 defined contribution retirement account.
 Social Security retirement benefits are only provided for those who have ten years of covered
 earnings. Therefore, it would not be worthwhile for older workers, who may not meet the ten-year
 threshold and do not have other employment in which they were covered by Social Security, to be
 covered under Social Security. For this reason, only teachers and judges under the age of 45 shall
 automatically be covered under Social Security. Social Security coverage for teachers and judges
 over age 45 as of the PoA effective date will be provided only to those that choose to opt into
 coverage, if they make the determination that they will benefit from such coverage. Expanding
 Social Security coverage to teachers and judges will be accomplished without either an employee
 referendum or new federal legislation by freezing the TRS and JRS plans and reducing the DC
 account contributions for i) current teachers and judges under the age of 45 ii) current teachers
 and judges over 45 who opt into Social Security coverage and iii) all teachers and judges hired in
 the future to an amount lower than the 7.5% required by Section 218 to be considered as
 participating in a qualified retirement plan. This step will trigger mandatory enrollment in Social
 Security. Concurrently, lowering the employee DC for those that are enrolled in Social Security
 will address the loss of take-home pay they would suffer by having to contribute the 6.2% Social
 Security payroll tax. The approach of lowering the DC contribution to 2.3% is consistent with the
 approach used to implement Social Security participation for police officers in FY2020.

 20.2.4    System 2000 settlement
 Following the agreement with AFSCME documented in the AFSCME Plan Support Agreement,
 the Plan of Adjustment includes specific treatment for certain ERS plan participants known as
 System 2000 members. These are generally ERS members hired on or after January 1, 2000.
 Employees who joined ERS on or after January 1, 2000, were enrolled in a hybrid cash balance
 plan. The hybrid account balances were credited with the employee contributions made to the
 plan and interest that was connected to the overall ERS trust return. As a result of Act 106-2017,
 these accounts were frozen as of June 30, 2017, and no longer were credited with either employee
 contributions or interest.
 For participants who have not yet retired, providing access to a market interest return can help
 the participant in achieving greater retirement benefits than the System 2000 contributions. In
 lieu of receiving a future benefit from ERS, System 2000 participants will receive the value of their
 contributions and any interest accrued under the terms of the plan through the Commonwealth
 petition date as a deposit into their Act 106-2017 accounts (approximately $1.376 billion).
 For ERS participants hired prior to January 1, 2000, defined benefits accrued and payable under
 Act 1 and Act 447 were frozen as of June 30, 2013 by Act 3-2013. As a result, from July 1, 2013
 through June 30, 2017, these employees also accrued benefits under a hybrid plan from employee
 contributions and interest associated with ERS trust returns similar to System 2000. These
 benefits are annuitized and paid out along with the defined benefits calculated under Act 1 / Act


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 447. Additionally, such individuals employed as of the Effective Date will receive a one-time
 contribution of $2,600 to their Act 106-2017 accounts.

 20.2.5       Other Plan of Adjustment provisions
 The Plan of Adjustment provides that a pension reserve trust will be established and funded to
 ensure that future PayGo benefits can be supported regardless of the future economic or political
 situation in the Commonwealth. The trust will be independently managed by a committee whose
 members shall meet the independence, professionalism, experience, and qualification standards
 set forth in the Pension Reserve Deed of Trust. 347 Funding for the pension reserve trust is to be
 provided according to a formula based on the Commonwealth’s annual surpluses. 348 The pension
 reserve trust is projected to be fully funded by FY2039, at which point withdrawals can be made
 to fund PayGo pension payments under certain conditions.
 The Oversight Board recognizes that there will be costs associated with implementing the various
 pension related provisions of the Plan of Adjustment. Therefore, the Oversight Board intends to
 allocate funds that can be accessed for the execution of these provisions based on services that
 need to be rendered.
 The PoA provides that for the first ten years after the PoA effective date, the Government shall not
 (a) implement or enact legislation to create or increase any defined benefit pension payment or
 obligation to current or future retirees, regardless of funding source, or (b) undo (in whole or part)
 the PoA’s eliminations of defined benefit plan accruals and cost of living adjustments; provided,
 however, that the Governor and Legislature, subsequent to termination of the Oversight Board,
 may apply to the Title III Court for relief from this provision; and, provided, however, that, prior
 to the termination of the Oversight Board, the Oversight Board shall not reduce any defined
 benefit pension payment or obligation to current or future retirees from the benefits provided by
 the PoA.


            Implementation and enforcement of pensions measures
 Work has begun to ensure the freeze of JRS / TRS, including the associated expansion of Social
 Security, Defined Contribution account access, as well as to ensure proper communications with
 all Puerto Rican pension recipients. The PoA requires and the 2022 Fiscal Plan reflects full
 implementation of pension reform measures upon the effective date of the Plan of Adjustment.

 20.3.1       Defined Contribution plan implementation
 After almost three years since Act 106-2017 introduced the Defined Contribution accounts for
 most of the Commonwealth employees, and multiple letters and statements issued by the
 Oversight Board regarding the importance of implementing these accounts, individual accounts
 for participants were funded and employees received access to view and manage their account
 balances in June 2020. In addition to government employees being able to view their account
 balances, they now can select their investments, designate their beneficiaries, transfer balances to
 other investment funds and increase their contributions. Prior to this, employee contributions to
 their Defined Contribution accounts were held in a temporary trust with nominal interest
 accruals. By fully funding the individual accounts, the participants are being provided access to
 their market returns as promised by the Government. Current and future public sector workers
 can now have confidence that the funds being invested toward their retirement are being treated
 with the appropriate level of care and afforded the opportunity to grow over time. It is precisely
 because the Government has no financial obligation for these retirement benefits, that the

 347 Article LXXXIII, Governance and Provisions regarding Pension Reserve, Section 83.2 of the January 14, 2022 Amended Plan of
    Adjustment
 348 Please refer to Article LXXXIII – Governance and Provisions Regarding Pension Reserve in the January 14, 2022 Amended Plan
    of Adjustment for additional detail


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 Government must continue honoring its fiduciary obligation for implementing the Act 106 plan
 and transferring employee contribution in a timely manner (i.e., by 15th day of the following
 month).
 During this implementation delay, the Oversight Board repeatedly identified instances where the
 Government has failed to ensure employee withholdings are transferred immediately to the
 temporary trust where account balances are being held. On April 30, 2019, and subsequently on
 February 21, 2020, the Oversight Board notified the Commonwealth that it had identified
 agencies that had withheld employee contributions intended for participants DC accounts but had
 failed to transfer these dollars to the Retirement System. As a result of this follow-up and ongoing
 monitoring by the Oversight Board, the Oversight Board made pertinent referrals to the
 Department of Justice, and individual contributions has decreased 97%. The Oversight Board
 continues to urge the Government of Puerto Rico to instruct agencies, municipalities, public
 corporations, and those entities that manage government payroll to deduct and immediately
 address the transfer of these individual contributions. A failure to honor this fiduciary obligation
 increases the risk of insufficiency in retirement income, the potential futility of the benefit
 offering, and the diminishing viability of employment in the public sector.
 Additionally, during 2020 the Oversight Board made a recommendation to the Government
 pursuant Section 205 of PROMESA for legislative intervention to amend Act 106 in order to define
 the default investment option as a target data life-cycle fund, rather than a principal preservation
 fund once the transition to the Defined Contribution plan became complete. The Oversight Board
 believes that the default investment option offered by the Defined Contribution Plan should
 encourage participants to adequately invest their accounts to generate retirement stability. The
 current default option of the principal preservation fund is inadequate for this task, and as such
 the Oversight Board feels it is important to change the default investment option to the target date
 life-cycle fund. This vehicle produces significantly higher long term returns by providing access
 to higher returning investments during the period of participants’ lives when they are better able
 to handle the risk. While the Government has declined to take the Board’s suggestion on this
 matter, the Oversight Board remains committed to promoting this change since the default option
 of a principal preservation fund, as currently provided under Act 106, is inadequate for retirement
 readiness.
 In addition, the Oversight Board believes that the use of a principal protection fund as the default
 investment option is not compliant with fiduciary responsibilities under the Employee Retirement
 Income Security Act of 1974 (ERISA). The use of target date funds as an investment option,
 however, is largely supported by similar plans in both the private sector and is consistent with the
 investment vehicles used by many other governments.
 As part of meeting its fiduciary responsibility, in selecting which target date funds to offer, the
 Commonwealth should select funds that have a demonstrated track record of appropriate
 management and achieving returns that are justified by their fees. This will provide
 Commonwealth employees with the tools they need to be adequately prepared for retirement.
 After the Oversight Board's recommendation, the Government declined to implement. The
 Oversight Board urges the Government to reevaluate or continue to provide constant education
 to DC participants so that each individual can manage their investment options and make
 decisions that best benefit individually.

 20.3.2    Monitoring of pension related legislative activity
 The Oversight Board has been actively monitoring a series of Acts and proposed legislation that
 has sought to expand the retirement system for the Commonwealth. The Oversight Board has, on
 numerous occasions, expressed concern over the compliance of these pieces of legislation with the
 provisions of PROMESA.



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 In August 2020, the Commonwealth enacted Act 80-2020 granting an incentivized retirement
 program for certain ERS participants, Act 81-2020 granting enhanced benefits to members of the
 Puerto Rico Police Ranking System, Fire Fighters Corps Bureau, Puerto Rico Custody Officers
 Corps, and medical emergency technicians of the Medical Emergency Corps Bureau and the
 Municipal Medical Emergency System, and Act 82-2020 granting credit to retirement benefits
 arising from unused sick leave balances for participants under the Teachers Retirement System.
 After on-going discussions between the Oversight Board and the Government, an agreement was
 reached and an order was entered in the Title III court to nullify Acts 80-2020, Act 81-2020, Act
 82-2020, and Joint Resolution 33 (a resolution passed on December 16, 2021, which ordered the
 Executive Directors of OMB and the Retirement Systems Administration to begin at least partial
 implementation of Act 80-2020). In addition, it was ordered that the Oversight Board and the
 Governor would endeavor to reach agreements on incentivized retirement program for certain
 ERS participants while creating the necessary offsetting savings for the Government, providing
 enhanced retirement benefits to police officers, and providing possible alternatives for enhanced
 compensation packages for teachers. The Oversight Board and the Governor have been actively
 working to pursue agreements in each of these areas in a fiscally responsible way.
 PayGo Compliance
 In addition to establishing the Defined Contribution Plan, the passage of Act 106-2017 established
 the Pay-as-you-Go (“PayGo”) system. The PayGo system, under which pension benefits are paid
 out of the annual Commonwealth budget rather than via amounts previously set aside into
 pension trust funds, was implemented to ensure the continued payment of benefits to retirees
 given that the ERS, TRS, and JRS trust funds were effectively insolvent. Currently, PayGo
 obligations represent approximately 20% of General Fund expenditures.
 Section 2.1(b) of Act 106-2017 establishes a PayGo Fee that is “equal to the amount paid to
 Retirees and Beneficiaries of each covered entity.” The responsibility for entities to pay this Fee
 and the authority of the Office of Management and Budget to collect the fee is further outlined in
 the legislation. Section 2.1(f) authorizes the Office of Management and Budget to “withhold from
 the appropriations made to the agencies of the Government of Puerto Rico, the necessary amounts
 for the payment of the Pay-Go Fee, if it determines that such withholding is necessary to ensure
 that covered entities fulfill their obligation.” Section 3.5(2) further subjects any entity who fails to
 remit the Fee to a series of corrective actions, including the following:
 ■   A demand by the Retirement Board for the immediate transfer of the Pay-Go fee or delinquent
     contribution
 ■   The Secretary of Treasury may make adjustments to the “accounts, obligations, and advances
     that the Department of Treasury must remit to the delinquent employer”
 ■   The Municipal Revenue Collection Center, “CRIM”, may remit the Pay-Go fee or delinquent
     contribution from the “unencumbered balance of the property tax and other revenues that the
     Municipalities are entitled to receive.”
 ■   The Office of Management and Budget may withhold any form of appropriations to agencies
     necessary to meet the Pay-Go Fee obligation
 The Oversight Board continuously monitors the status of entity compliance with paying the Pay-
 Go Fee. Exhibit 154 demonstrates the significant level of PayGo debt owed by Public Corporations
 and Municipalities as of November 15, 2022.




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 EXHIBIT 154: CURRENT             PAYGO      DEBT     FOR     MUNICIPALITIES       AND     PUBLIC
 CORPORATIONS




 There has been an effort to have delinquent agencies and municipalities to enter into payment
 plans to resolve historic PayGo debt. As of February 15, 2021, municipalities and public
 corporations have executed repayment plans, with two other active negotiations ongoing for the
 municipalities of San Juan and Guaynabo. Signed payment plans account for ~$48 million of the
 $274 million in outstanding debt. The Oversight Board will continue to closely monitor the
 municipalities budget and compliance with current year PayGo debt and the execution of Payment
 Plans.
 It is important to mention that after the Act 29-2019 per Title III Court ruling on April 15, 2020,
 the Oversight Board engaged with the Retirement Board, CRIM and Municipalities concerning
 the implementation of a repayment waterfall that Municipalities received from Excess CAE (refer
 to CRIM 2021 Fiscal Plan, Section 7.4 for further information). The Oversight Board reached out
 as well after becoming aware that FY2020 Payment Plans were being executed regardless of the
 repayment waterfall and notified Retirement Board the inconsistency with the implementation
 agreed. However, the Oversight Board made clear for prior periods municipalities with FY2018,
 FY2019, and/or FY2020 debts must enter into payment plans for such periods in accordance with
 certified Commonwealth and CRIM Fiscal Plans and Article 2.1 of Law 106-2017, as amended.

 EXHIBIT 155: MUNICIPALITIES REQUIRING PAYGO PAYMENT PLAN EXECUTION




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 EXHIBIT 156: PUBLIC CORPORATIONS REQUIRING PAYGO PAYMENT PLAN EXECUTION




 The Oversight Board has further discussed with AAFAF possible remedies to further reduce the
 outstanding debt. AAFAF has the authority under Section 8(e) of Act 2 – 2017 to appoint a
 representative to oversee compliance with the execution of the 2022 Fiscal Plan, including
 compliance with the requirement that future and past due PayGo Fees be remitted in a timely
 fashion. Further, Section 8(b)(iv) of Act 2 – 2017 permits that when reports indicate an entity’s
 cash flows are not consistent with the Certified Budget, AAFAF may “direct and perform banking
 transactions on behalf of the appropriate entities of the Government of Puerto Rico to make debt
 service payments, among others.” The Oversight Board and AAFAF have discussed actions
 including, but not limited to, withholding general fund revenues and/or debiting existing cash
 accounts to satisfy PayGo Fee debt.
 Proper long-term health of the PayGo system requires constant compliance with and monitoring
 of the PayGo Fees as set forth in Act 106-2017. Failure to ensure these payments continue to be
 made would threaten the ability of the General Fund to sustain pension payments in the long-
 term and ultimately harm the welfare of Commonwealth retirees.
 Pension Working Groups
 The Oversight Board reached out to the Government on February 27, 2020, to convene an
 interagency working group (the “Social Security Working Group”) to ensure the effective and
 timely implementation of Social Security for teachers and judges. The expansion of access to
 Social Security for public workers has been a goal since the 2017 Fiscal Plan, and the Social
 Security Working Group has been created to prevent additional delays in ensuring that public
 employees are eligible for this benefit, particularly in light of past delays and challenges
 experienced as part of the implementation process. On July 19, 2019, the Governor enacted
 legislation (Act 71-2019) to allow for the participation of police officers in Social Security. Multiple


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 Fiscal Plans, including the 2019 Fiscal Plan, called for police officers to have access to Social
 Security no later than July 1, 2019. To provide adequate funding, the certified Commonwealth
 budgets also provided the appropriations needed for the Police Bureau to fund their Social
 Security contributions. Nevertheless, the implementation of Social Security for police was delayed
 by six months to January 1, 2020.

 The Social Security Working Group has been addressing the lessons learned from the
 implementation of Social Security for police officers, payroll implementation, and optional
 participation election with the participation of members selected by the Government from
 AAFAF, the Department of Education, the Retirement Board, the Department of the Treasury,
 and the Office of Court Administration.

 The Social Security Working Groups have been regularly meeting, developing timelines, and
 assigning the tasks necessary to meet this goal, including simultaneous establishment of DC
 accounts and development of educational materials for all impacted teachers and judges. In
 connection with this, and at the Oversight Board’s recommendation, the Social Security Working
 Group is also participating in implementation discussions related to the Defined Contribution
 plan so that all retirement related withholdings are coordinated. This is important in particular
 for police whose minimum Defined Contribution requirements have been reduced to 2.3%, with
 an additional 6.2% being withheld for Social Security FICA purposes. Based on the terms of their
 Section 218 agreement, police that want to maintain their eligibility for Social Security coverage
 cannot be allowed to contribute to their Defined Contribution accounts more than the 7.5% bar
 for a qualified replacement plan under Social Security law. Similar protocols will also need to be
 in place for teachers and judges that eventually are enrolled in Social Security. 349

 The 2022 Fiscal Plan expects the Social Security Working Groups to accomplish the milestones
 outlined in Exhibit 157 below.

 20.3.3       Required implementation actions
 To achieve the 2022 Fiscal Plan pension reform measures, certain action items must be
 implemented as described in Exhibit 157. Multiple steps are needed to implement each of these
 action items and full implementation of the pension measures must be in effect by the effective
 date of the plan of adjustment.




 349 Internal Revenue Service, “Federal State Reference Guide”, 2020


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 EXHIBIT 157: REQUIRED IMPLEMENTATION ACTIONS FOR PENSION REFORM




 The implementation of these milestones is the combined responsibility of AAFAF, Treasury
 Department, Department of Education, Retirement Board, and the Office of Court
 Administration. These agencies are actively participating in the Social Security Working Groups
 and are meeting frequently to ensure timely implementation. The Oversight Board continues to
 urge the Social Security Working Groups outlined above to take responsibility for identifying all
 intermediate milestones, as well as establishing the necessary detailed timelines and
 responsibilities so that these steps will be complete when the Plan of Adjustment is approved.




                     Ensuring successful implementation and fiscal
 controls
 As was discussed in Section 13.2.1, the Office of the Chief Financial Officer (OCFO) has broad
 responsibility for improving fiscal management as outlined in the 2022 Fiscal Plan. Below are
 specific details regarding the necessary implementation steps and reporting required by the 2022
 Fiscal Plan.


         Implementation architecture
 Developing a centrally run Project Management Office (PMO) is an important step toward
 ensuring the implementation and tracking of the core operational transformation and agency
 efficiency measures that will achieve savings targets under the 2022 Fiscal Plan. The Fiscal Agency
 and Financial Advisory Authority (AAFAF, by its Spanish acronym) should serve as the central

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 PMO with defined reporting to the Governor of all economic and transformation measures. The
 PMO should be run by AAFAF’s senior leadership, regularly coordinate across the Office of
 Management and Budget (OMB) and the Office of the Administration and Transformation of
 Human Resources (OATRH, by its Spanish acronym), work directly and frequently with Agency
 PMOs, and report directly to the Governor’s office.
 Individual Agency PMOs should be established with direct reporting to the PMO. Each agency
 head shall be responsible for developing and implementing a PMO structure that best fits their
 respective agency groupings. They are expected to coordinate across all agencies in their grouping,
 lead reforms for the grouping, and be responsible for achieving their agency grouping savings
 targets. Through this PMO structure, the Government will be positioned to effectively manage
 and implement the 2022 Fiscal Plan. As such:
 ■   Designated agency heads should lead the Agency PMOs and report directly to AAFAF.
 ■   Agency PMOs should undertake the required work to implement initiatives.
 ■   The daily activities of PMOs should be managed and undertaken by staff knowledgeable in the
     relevant subject matter areas and assigned members should meet regularly with PMO
     leadership to report on progress and facilitate necessary decision-making.
 ■   Agency PMOs shall be responsible for assembling a taskforce to: complete validation and
     definition of full scope of projects and priorities, finalize reporting tools and tracking
     responsibilities, and perform ongoing weekly tracking and reporting.
 The PMOs should ensure continued implementation progress through robust tracking and
 reporting tools that foster growth in transparency and ownership, including:
 ■   Project charters that establish the goals and structures of measures, identify risks and
     obstacles, and establish metrics and KPIs.
 ■   Implementation plans with detailed layouts of each activity required for accomplishing
     sub-measures, risks / mitigants for each activity, clear leaders and owners for each activity,
     and metrics and KPIs. These should include a “live” calendar of updates and status of each
     measure.
 ■   Implementation dashboard / tracker that provides a single snapshot of the entire
     transformation plan; and allows management to know the status of each initiative in a distinct
     status: Complete; In Progress; Delays; Major Issues. This tracker will allow the Oversight
     Board to monitor progress and ensure enforcement of measures and reforms.
 ■   Sub-measure dashboards that provide “zoomed in” views of a specific sub-measure,
     display progress with details / commentary on project status, include agreed upon milestones
     / dates to track progress, and provide mitigation plans.
 ■   Implementation monthly reports that provide a more detailed perspective on progress,
     including several key reporting elements: a) headcount by regular and transitory with more
     details in specific agency cases, b) budget to actuals by cost category and concept, c)
     milestones progress, d) KPIs/leading indicators, e) achieved savings to date. These reports
     provide important codification of progress as well as context for monthly meetings where
     agencies, OCFO, and Oversight Board representatives can hold meaningful discussions on
     progress, items at risk and ongoing mitigating activities.


          Oversight Board and OCFO implementation collaboration
 The Oversight Board has played, and will continue to play, an active role in overseeing all aspects
 of Fiscal Plan implementation. The OCFO must provide the Oversight Board and its staff the
 information needed to effectively track the status of key initiatives included in the 2022 Fiscal

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 Plan, which is necessary to measure overall progress against the fiscal and budget objectives
 outlined therein.
 For example, the OCFO will provide Oversight Board staff with key management information on
 a timely basis, including:
 ■   Implementation plans submitted by individual PMOs
 ■   Progress reviews (including milestones and metrics) against key structural and fiscal
     measures
 ■   Reviews of key implementation risks, including assessments of the likelihood of realization,
     potential impact, and potential mitigations
 ■   Monthly progress reports submitted by individual PMOs


          Reporting on Fiscal Plan reforms
 The fiscal and structural reforms described in the 2022 Fiscal Plan represent a
 significant and transformative effort across the Government. As such, there are strict
 reporting requirements needed to ensure savings and growth targets are being achieved on time,
 and to identify any major risks to reform to course correct at an early stage.
 To date, however, the Government has struggled with implementing reforms and
 reporting on this implementation in a timely manner. Progress has, as a result, been
 inconsistent and incomplete, and many agencies appear unprepared to meet savings targets.
 While some progress on measures has been made, many reforms are delayed or not occurring. In
 cases where certain reforms will not occur, the Government must achieve these savings through
 other means.
 The Government shall produce monthly performance reports, which shall be submitted
 to the Oversight Board on the 15th of each month, demonstrating the progress made on all key
 reform areas. Agency efficiency savings that have been realized should be broken down by
 grouping and agency across payroll and non-payroll savings (as well as on an object level where
 needed). This will display the performance of the realized agency efficiency savings for each
 agency against the projections as set forth herein. Implementation reports should explicitly
 explain how budget-to-actuals reports tie to agency actions and reforms, and what is driving
 major discrepancies. Reporting shall also include detail on use of funds for professional services,
 as well as within the Other (or “englobadas”) cost concept, such that these expenses can be
 appropriately managed. Currently, less than 30% of agency groupings have consistently provided
 implementation reporting. The Government must improve reporting such that it and the
 Oversight Board can hold agencies accountable for achieving savings through the implementation
 of fiscal measures.
 If, after any fiscal quarter, the projected agency efficiency savings for any grouping is not realized,
 the shortfall from that fiscal quarter will be added to the agency efficiency savings target for the
 corresponding grouping for the following quarter. As needed, the Oversight Board will also hold
 public hearings to review implementation progress. Should there be underperformance in agency
 efficiency savings for any grouping, the Oversight Board may rely on its powers and rights
 pursuant to PROMESA to take measures to enforce reductions in the amount of unrealized
 savings.




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         Ensuring fiscal controls and transparency
 Consistent with Chapter 13, the OCFO must improve fiscal governance, accountability, and
 internal controls over the Government’s finances and budget. To ensure that there is transparency
 into the Government’s progress toward meeting its savings targets, the Government must meet
 the following milestones (Exhibit 158).




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 EXHIBIT 158: FISCAL CONTROLS & REPORTING KEY IMPLEMENTATION MILESTONES




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 In addition to meeting the above milestones, the Government must proceed according to the
 following budgetary requirements:
 ■   The Department of the Treasury (“Treasury”) will remit to: the Legislative Branch and its
     components, the Judicial Branch, the University of Puerto Rico (“UPR”), and the non-profit
     entities that receive funds from the General Fund, monthly and in advance, the budgetary
     allotments corresponding to one-twelfth (1/12) of the budget allocation provided herein for
     such entities. The one-twelfth monthly allocation to each entity (except with respect to the
     Judicial Branch) shall be subject to the 2.5% withholding set forth in the section below during
     the first three quarters of FY2023.
 ■   The Director of the Office of Management and Budget (“OMB”) may authorize the
     encumbrance and disbursement of up to 97.5% of each appropriation intended for
     encumbrance and disbursement during the first three quarters of FY2023. The Director of the
     OMB shall withhold the remaining two and a half percent (2.5%) of each appropriation until
     after the end of the third quarter of FY2023. Such withheld percentage of each appropriation
     shall only be encumbered and disbursed during the fourth quarter of FY2023 if (1) the first


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     eight months of actual General Fund revenues reported to the Oversight Board reach the
     revenue forecast in the 2022 Fiscal Plan for that period and (2) the encumbrance and
     disbursement is approved by the Oversight Board. If actual General Fund revenues for the
     first eight months of FY2023 fail to reach the revenue forecast for that period, the amount of
     the withheld percentage of each appropriation that may be encumbered and disbursed shall
     be reduced proportionally according to the negative budget variance between projected and
     actual General Fund revenues. Notwithstanding the foregoing, PayGo appropriations,
     Consent Decree amounts, Highway and Transportation Authority (“HTA”) appropriations,
     economic incentive funds and distributions, cigarette and rum distributions, allocations of
     Sales and Use Tax (“SUT”) to the Municipal Administration Fund (“FAM”, by its Spanish
     acronym),” and agencies in the Department of Public Safety and in the Health groupings, as
     defined in the 2022 Fiscal Plan, shall not be subject to the 2.5% withholding requirement.
 ■   Notwithstanding any provision here to the contrary, each of the appropriations listed in the
     FY2023 General Fund Budget under the following sources of revenue is entirely dependent
     on the level of revenues collected therefrom: (1) Allocation of SUT to FAM (excluding Debt
     Portion); (2) Outflow of the Special Fund for Economic Development (“FEDE”, by its Spanish
     acronym) portion of Corporate Income Taxes and Non-Resident Withholding; and (3)
     cigarette and rum distributions. As such, the disbursements of those appropriations will be
     gradual and subject to the actual collections thereunder. No expenditure, disbursement,
     pledge, or any other encumbrance of any such funds may be made until such time as the
     revenues are actually collected and accounted for in the books.
 ■   No later than 45 days after the closing of each quarter of FY2023, the Secretary of the Treasury
     shall revise the projected net revenues of the General Fund for FY2023 (the “Quarterly
     Revision”) and shall notify the revision to the Director of the OMB, the Governor, and the
     Oversight Board. The Quarterly Revision shall project future revenues based on actual General
     Fund revenues and include revisions to the assumptions used to generate the General Fund’s
     net revenue projections.
 ■   All appropriations authorized in any prior fiscal year, including appropriations without a
     specific fiscal year, are eliminated and no disbursement of public funds may be covered by
     such appropriations, except the following which the 2022 Fiscal Plan redeploys as current
     appropriations, subject to Oversight Board adjustment at any time: (1) appropriations
     authorized in the fiscal year to carry out permanent improvements that have been
     encumbered, accounted for, and kept on the books but not exceeding two fiscal years on the
     books; (2) appropriations in the certified budget for equipment with procurement cycles that
     extend beyond the end of the fiscal year, which are encumbered on or before June 30, 2023;
     (3) the portion of the appropriations authorized for the fiscal year that have been encumbered
     on or before June 30 of such fiscal year, which shall be kept in the books for 60 days after the
     termination of that fiscal year and after those 60 days no amount shall be drawn against such
     portion for any reason; (4) the appropriation in the amount $130 million for the emergency
     reserve included in the FY2022 certified budget and required by Section 5.2.8 of the 2022
     Fiscal Plan (the “Emergency Reserve”); (5) the unobligated portion of the Public Assistance
     Federal Fund Matching appropriation included in the FY2022 certified budget; (6) unused
     appropriations for use in audit services held at the Department of the Treasury; (7) FY2022
     unused General Funds intended for Medicaid related expenditures; (8) unused Title III funds;
     (9) reported unused funds from Department of Health’s Mental Disability program; (10)
     reported unused funds from Department of Correction and Rehabilitation’s (“DCR”) Juvenile
     program, as certified jointly by Hacienda and DCR; (11) unused appropriations for State
     unemployment insurance, disability insurance, and chauffeur’s insurance, which are held
     under the custody of the Department of Labor and Human Resources; (12) unused
     appropriations for milestones and incentives held under the custody of OMB as approved by
     the Oversight Board; (13) unused appropriations for municipal voluntary cost sharing
     milestone; (14) unused appropriations for the school and road maintenance funds under the
     custody of OMB; (15) FY2022 unused General Funds intended for Catastrophic Illness Fund


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     related expenditures; (16) unused appropriations for the Broadband infrastructure expansion
     and 21st Century Technical and Business Education Fund; and (17) unused appropriations for
     the rural area health professionals scholarship and loan forgiveness endowment; a working
     group between the Department of Treasury, Office of the CFO, AAFAF, and the Oversight
     Board must be established to develop metrics, compliance requirements, and financial
     monitoring around the eligibility and disbursement of the scholarship and loan forgiveness
     endowment funds. In addition, this restriction on the use of appropriations of prior fiscal years
     shall not apply to: (i) programs financed in whole or in part with federal funds; (ii) orders by
     the United States district court with jurisdiction over all matters under Title III of PROMESA;
     or (iii) matters pertaining to any consent decree or injunction, or an administrative order or
     settlement entered into with a federal agency, with respect to federal programs.
 ■   On or before July 31, 2022, the Secretary of the Treasury, Executive Director of the Fiscal
     Agency and Financial Advisory Authority (“AAFAF”, by its Spanish acronym), and the
     Director of the OMB shall provide to the Oversight Board a certification indicating the
     amounts of unused FY2022 appropriations for all items enumerated in the previous section.
     If the Government fails to submit said certification, the amount of unused funds in items 1, 2,
     10, and 15 will not carry over to the following fiscal year.
 ■   The FY2023 certified budget resolution will eliminate the UPR Scholarship Fund under the
     Custody of Hacienda and transfers the UPR Scholarship Fund unused appropriations from
     prior years to a new UPR Endowment Fund. A new working group between the UPR,
     Department of Treasury, Office of the CFO, AAFAF, and the Oversight Board must be
     established to develop metrics, compliance requirements, and financial monitoring. Also, this
     committee will safeguard that the funds are allocated to students with financial needs only,
     monitor the asset allocation of the funds, and investments alternatives. Compliance shall be
     developed and overseen by AAFAF, pursuant to its ministerial duties levied in Act No. 2- 2017.
 ■   In a similar manner as in the previous fiscal year, the FY2023 total budget allocated for the
     Department of Health’s Mental Disability program will be detailed in the upcoming fiscal
     year’s certified budget resolution.
 ■   Each power of OMB, AAFAF, or the Department of the Treasury, including the authorities
     granted under Act 230-1974, as amended, known as the “Puerto Rico Government Accounting
     Act” (“Act 230”), to authorize the reprogramming or extension of appropriations of prior fiscal
     years is hereby suspended.
 ■   The appropriations approved in this budget may only be reprogrammed with the prior
     approval of the Oversight Board. For the avoidance of doubt, this prohibition includes any
     reprogramming of any amount, line item or expenditure provided in this budget, regardless
     of whether it is an intra-agency reprogramming. Reprogramming, also known as
     reapportionments, may be made into spend concepts and/or objects not explicitly listed in the
     certified budget resolution as long as such requests are submitted to and approved by the
     Oversight Board. Reprogrammed funds authorized for the hire of personnel in specialized
     roles are restricted for that specific use only and may not be made available nor be used for
     any other budgetary needs.
 ■   The Governor must submit to the Oversight Board all reporting requirements set forth on
     Exhibit 158 of the 2022 Fiscal Plan according to the reporting cadence described therein. In
     addition, if the Oversight Board approves a reprogramming pursuant to the sections above,
     the immediately subsequent report by the Governor must illustrate the specific
     implementation of such reprogramming, including the amount, the source of the
     reprogrammed amount identified by government entity and expenditure concept, the
     Government entity that received such amount, and the expenditure concept to which it was
     applied.




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 ■   In addition, the Governor shall submit to the Oversight Board a comprehensive reporting
     package in a similar format to that required in accordance with Section 203 of PROMESA for
     the following specified programs within different agencies: (1) Department of Education’s
     (“PRDE”) Special Education Program; (2) PRDE’s Remedio Provisional Program (3)
     Department of Health’s (“DOH”) Adult Hospital Program; (4) DOH’s Pediatric Hospital
     Program; (5) DOH’s Hospital Universitario Dr. Ramón Ruiz Arnau (“HURRA”) Bayamón
     Hospital Program; (6) DOH’s 330 Centers Payments; (7) DOH’s Intellectual Disability
     Program; (8) Mental Health and Anti-Addiction Services Administration’s (“ASSMCA”, by its
     Spanish acronym) Río Piedras Hospital Program; and (9) DCR’s Juvenile Program. Program
     reporting must include and clearly detail budget to actuals on a concept level basis, any
     reprogramming of funds within the program, and any reprogramming of funds to/from other
     programs or agencies.
 ■   In addition, in order to ensure maximum and proper use of federal funds, such as, but not
     limited to, (1) DRF, (2) CARES, (3) FFCRA, (4) CRRSAA, (5) and ARP, the Governor shall
     submit a work plan before any disbursement of funds. Improved reporting will help prevent
     and combat actual, and claims of, misuse, fraud, waste, and abuse. Therefore, the Governor
     shall also submit weekly reports that detail any disbursements and use of federal funds
     received. Weekly reporting shall include a list of all awards broken down by agency, program,
     category, recipient, and sub-recipient detailing (1) date award was granted; (2) date award
     expires/renews; (3) total award amount (split into payroll/non-personnel); (4) total award
     encumbrances and disbursements from prior fiscal years (split into payroll/non-personnel);
     (5) total award encumbrances and disbursements for the current fiscal year (split into
     payroll/non-personnel); and (6) total remaining award amount (split into payroll/non-
     personnel). The Governor shall also provide, as requested, performance metrics with regards,
     but not limited to, time required to submit claims, time required to submit compliance
     reporting, and time required to collect reimbursement claims.
 ■   In addition, the Governor shall submit to the Oversight Board a monthly reporting package
     detailing capital expenditure spending by agency and by project including details for
     expenditures which have RFPs issued, which contracts have been awarded, and which are in
     process.
 ■   Furthermore, the Governor shall submit to the Oversight Board a monthly reporting package
     detailing all of PRDE’s salary and other payroll expenses within four categories: (1) Central
     Administrative Personnel; (2) Regional Administrative Personnel; (3) Regional School
     Support Personnel; and (4) School Personnel as established in the FY2023 certified budget
     resolution. In order to assess compliance and guarantee accountability, PRDE must submit
     such monthly reporting detailing salary and payroll expenses by the categories established
     herein along with a salaries and payroll reconciliation of funds disbursed and actual expenses
     recorded.
 ■   The reports required pursuant to this section are in addition to the reports that the Governor
     must submit to the Oversight Board in accordance with Section 203 of PROMESA.
 ■   In conjunction with the reports that the Governor must submit to the Oversight Board no later
     than 15 days after the last day of each quarter of FY2023, pursuant to Section 203 of
     PROMESA, the Secretary of the Treasury, Executive Director of AAFAF, and the Director of
     the OMB shall each certify to the Oversight Board: (1) that no appropriation of any previous
     fiscal year (except for the appropriations covered by the exceptions in the sections above) have
     been used to cover any expense; and (2) the Director of the OMB shall certify to the Oversight
     Board that no amount of (i) the Emergency Reserve and (ii) the unallocated capital
     expenditures under the custody of OMB has been obligated unless authorized in accordance
     with the section below.
 ■   The Emergency Reserve, the unallocated capital expenditures, healthcare investments
     reserve, technology reserve, milestones reserve, utility reserve and the economic incentive


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     fund under the custody accounts of OMB and the Department of the Treasury, as detailed in
     the certified budget for FY2020, FY2021, FY2022 and FY2023 may not be used to cover any
     allocation or expense whatsoever without the prior, written approval of the Oversight Board.
     If Federal Emergency Management Agency (“FEMA”) funding is not available for capital
     expenditures, a transfer from unallocated capital expenditures may be requested. The
     economic incentive funds held under the custody of the Department of the Treasury will be
     released on a quarterly basis after a formal reapportionment is submitted by the DDEC,
     reviewed and approved by OMB, and submitted to the Oversight Board for review, and the
     Oversight Board provides its authorization to release such funding. Exceptions to the
     economic incentive fund release may apply upon meeting all of the specified criteria, if any,
     listed in the FY023 certified budget resolution.
 ■   The utility reserve funds held under the custody of OMB may only be released after the
     Government provides a detailed report to the Oversight Board of employees transferred to
     individual agencies from the Puerto Rico Electric Power Authority (“PREPA”) along with an
     attendance report for each transferred individual. In addition, agencies that may receive these
     funds are required to provide a full roster with all active employees to the Oversight Board.
     Such roster must identify any employee transferred from PREPA to the respective agency.
 ■   The Emergency Reserve is intended to expedite response activities and, upon request, provide
     the Commonwealth Agencies and affected local governments with capital in the event of an
     emergency of such severity and magnitude that effective response exceeds the capacity of
     current budget resources and federal disaster assistance is not available or not yet available to
     respond to the emergency. Moreover, the Emergency Reserve is only intended for
     extraordinary events like natural disasters or as otherwise agreed with the Oversight Board
     and that are generally outside of human control and unpreventable. The Emergency Fund is
     not intended to mitigate emergencies related to operational inefficiencies.

     – Accessing Emergency Reserve funds shall require: (1) a State of Emergency declaration, by
        the Governor of the Commonwealth, in accordance with Article 6.10 of Act 20-2017, as
        amended, known as the Puerto Rico Public Safety Department Act and in accordance with
        the above description of what constitutes an extraordinary event; (2) OMB request to the
        Oversight Board for access to the emergency reserve fund for a finite period, indicating the
        agency or local government that will receive the advance, the amount of the advance, usage
        of funds requested, and the PR Emergency Disaster Management (“PREMA”) request
        number from WEBEOC platform as well as the projected re-payment date of the funds; (3)
        amounts approved by the Oversight Board and disbursed to the Government shall be
        replenished not later than the following fiscal year; and (4) agencies and municipalities,
        recipients of state emergency reserve funds, shall update OMB on a quarterly basis about
        the Public Assistance process with FEMA.

     – OMB shall request Emergency Reserve funds exclusively for the use of Government
        agencies and affected local governments. The agencies and affected local governments
        must be in an emergency declared area and the Emergency Reserve funds must be used for
        response activities related to the declared event. Non-profits, public corporations outside
        of the commonwealth, and individuals are not eligible applicants for advances through the
        Emergency Reserve fund.

     – OMB shall submit quarterly reports to the Oversight Board detailing the status of
        Emergency Reserve funds, amounts provided to agencies and affected local governments,
        amount of funds expended, amount of funds remaining, and updated projected re-payment
        dates. Agencies and local governments that received funds from the Emergency Reserve
        are required to file with FEMA a Request for Public Assistance (“RPA”) and Project
        Worksheet to ensure maximum federal fund reimbursements are replenished into the
        Emergency Reserve. As a rule, OMB shall offset late repayment by agencies and local
        governments with other Commonwealth funding to repay the Emergency Reserve on time.


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 ■   Cost share matching funds are restricted for use on approved projects/requirements under
     FEMA’s Individual Assistance, Public Assistance, and Hazard Mitigation programs. Any
     unused cost share matching funds in a given fiscal year may be rolled over to the following
     fiscal year and are subject to the same restrictions. The use of these funds must be coordinated
     with CDBG-DR and CDBG-MIT in meeting cost share requirements.
 ■   Additional General Funds may be made available to agencies upon reaching certain, specified
     milestones and after written approval and authorization from the Oversight Board. Once
     respective milestones are achieved, agencies must provide a formal notice and submit
     supporting data corroborating such achievement to the Oversight Board for its review. The
     subsections listed in the upcoming fiscal year’s certified resolution will detail the allowable
     milestones and incentives for each relevant agency.
 ■   Funds to cover parametric insurance will also be made available upon reaching the following
     milestones and after the approval and authorization from the Oversight Board.

     – Develop a comprehensive insurance plan to develop a program that considers the available
        markets, costs, meeting Obtain and Maintain (“O&M”) requirements and levels of
        coverage.
        □ Conduct a risk analysis including hazards/perils covered

        □ Analyze expected O&M requirements on a building-by-building basis

        □ Identify the types and extent of insurance needed to protect against risk and meet O&M
           requirements
        □ Identify insurance gaps between O&M requirements and insurance that is reasonably
           available
        □ Identify the authority for developing, implementing, and enforcing the plan

        □ Design the financial arrangement structure for funding the plan and pay for losses,
           which includes a system for fixed contributions, a formalized plan to pay losses as they
           occur, and how funds will be distributed

     – Prioritize insurance and strategically consider options to supplement the existing
        insurance coverage
        □ Identify how the Commonwealth will meet Flood Insurance requirements

        □ Consider broader / expanded limits on existing policies

        □ Consider a separate excess insurance policy that provides coverage above the current
           limits
        □ Consider a Parametric policy and CAT Bond or a hybrid combination of the two to
           provide supplemental or excess coverage

     – Engage the Insurance Commissioner
        □ Establish the criteria for the Insurance Commissioner’s certification of the insurance
           coverage that is reasonably available
 ■   As a rule, necessary for the responsible disbursement of budgetary allocations for operating
     and other expenses, OMB shall withhold from any of the allocations to the agencies of the
     Executive Branch the amounts necessary to pay for the PayGo contribution, unemployment
     insurance, or taxes withheld from their employees, when OMB determines that such a
     withholding is necessary to ensure compliance with these obligations by the agencies
     concerned. Any such amounts withheld by OMB shall solely be reprogrammed to pay the

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     corresponding outstanding obligations related to PayGo contributions, unemployment
     insurance, or taxes withheld from employees.
 ■   OMB and the Department of the Treasury are authorized to establish the necessary
     mechanisms to ensure that when implementing the concept of mobility, pursuant to the
     provisions of Act 8-2017, as amended, known as the “Puerto Rico Human Resources
     Management and Transformation in the Government Act,” the corresponding transfer of
     funds allocated to payroll and related costs of said employee are to be carried out
     simultaneously.
 ■   The Secretary of the Treasury, the Director of the OMB, and the Finance Director and
     Executive Director of each agency or public corporation covered by the 2022 Fiscal Plan will
     be responsible for not spending or encumbering during FY2023 any amount that exceeds the
     appropriations authorized for FY2023. This prohibition applies to every appropriation set
     forth in a budget certified by the Oversight Board, including appropriations for payroll and
     related costs. The Executive Director of AAFAF and the Director of the OMB shall also certify
     to the Oversight Board by September 30, 2022 that no amount was spent or encumbered that
     exceeded the appropriations in the certified budget for FY2022.
 ■   For the avoidance of doubt, any reference within the budget to AAFAF, the Department of the
     Treasury, or OMB, or any of their respective officers, applies to any successor thereof.
 ■   On or before July 31, 2022, the Governor shall provide to the Oversight Board budget
     projections of General Fund revenues and expenditures for each quarter of FY2023, which
     must be consistent with the corresponding budget certified by the Oversight Board (the
     “Quarterly Budget”). The Quarterly Budget shall be provided to the Oversight Board in Excel
     format and include detailed allocations by agency, public corporation, fund type and concept
     of spend. Together with the report that the Governor must provide under Section 203 of
     PROMESA not later than 15 days after the last day of each quarter, the Governor shall provide
     a quarterly variance analysis that is consistent with modified accrual accounting.
 ■   If during the fiscal year the Government fails to comply with the liquidity and budgetary
     savings measures required by the 2022 Fiscal Plan, the Oversight Board may take all necessary
     corrective action, including the measures provided in PROMESA Sections 203 and 204.
 ■   Pursuant to Section 204 (b)(2) of PROMESA, the Oversight Board has maintained since
     November 6, 2017 a Contract Review Policy to require prior Oversight Board approval of
     contracts with a value of $10 million or more to assure that they “promote market
     competition” and “are not inconsistent with the approved fiscal plan.” The Policy applies to
     any contract or series of related contracts, inclusive of any amendments, modifications, or
     extensions, with an aggregate expected value of $10 million or more, that is proposed to be
     entered into by the Commonwealth (which includes the Executive, Legislative, and Judicial
     branches of government) or any covered instrumentality. In addition, the Oversight Board
     may select to review contracts below the $10 million threshold for these purposes, on a
     random basis or at its own discretion. Specifically, in the case of the Puerto Rico Electric Power
     Authority (“PREPA”), the contract review threshold has been reduced to $250,000 exclusively
     for contracts which are payable from PREPA’s “Professional & Technical Outsourced Services”
     and “PREPA Restructuring and Title III” budget lines. Consequently, all proposed contracts
     (or series of related contracts) that meet such threshold and are classified as Consulting
     Services Contracts by the Office of the Comptroller of Puerto Rico (and any applicable sub-
     categories) must be submitted to the Oversight Board for review and approval prior to
     execution. For all other PREPA contracts, the Oversight Board maintains the current $10
     million threshold. Similarly, in the case of the University of Puerto Rico, the Oversight Board
     lowered the UPR’s contract review threshold to $2 million for all contracts. Finally, in order
     to further ensure certain contracts promote market competition, the Oversight Board may
     require, at its own discretion, the Commonwealth or any covered instrumentality, to give it
     access to ongoing procurement processes for the execution of new contracts.


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 Moreover, pursuant to Section 204(b)(4) of PROMESA, the Oversight Board has maintained since
 August 6, 2018 a Policy for the Review of Rules, Regulations, and Orders to be issued by the
 Executive Branch of the Commonwealth of Puerto Rico. This Policy is aimed at ensuring that
 certain rules, regulations, administrative orders, and executive orders proposed to be issued by
 the Governor (or the head of any department or agency) “are not inconsistent with the approved
 fiscal plan.” The Policy requires prior Oversight Board approval of any rule, regulation,
 administrative order, or executive order that is proposed to be issued in connection with or that
 concerns financial aspects, or which has the potential to impact fiscal governance, accountability,
 or internal controls of the Commonwealth or any covered instrumentality under the most recent
 Certified Fiscal Plan. The above implementation and fiscal controls requirements are important
 tools to ensure the Government can make meaningful progress towards achieving the goals of the
 2022 Fiscal Plan.

 21.4.1    Skills and knowhow transfer from consultants to public sector personnel
 The lack of adequate human capital planning in the Government has led to the excessive
 delegation of critical responsibilities to government contractors and consultants. Contractors and
 consultants are often performing day-to-day planning and management functions within
 agencies, instead of being limited to temporary, short-term projects which do not require full time
 employment or other similar items. Additionally, agencies’ pervasive reliance upon contractors
 for increasingly critical tasks can result in a lack of transparency of true government expenses.
 Professional services costs can exceed the cost of comparable full-time employees as contractors
 and consultants often have additional contractual remuneration and benefits (i.e., travel
 expenses) creating needless tension and budgetary shortfalls at the Commonwealth agencies.
 Consequently, the Commonwealth should work on reducing its professional services spending to
 enable the professionalization of the civil service and reduce the reliance on outside consultants.
 Starting in FY2022, professional consulting contracts should include provisions requiring
 adequate transfer of skills and technical knowledge, from consultants to pertinent public sector
 personnel, to the extent that the contract reflects recurring work that could be done by
 appropriately trained government staff.
 Specifically, contracts must detail the functions carried out by consultants, as per their applicable
 Scopes of Work, and establish clear plans to ensure that agencies create internal teams of
 appropriately trained and experienced employees to carry out such functions upon the expiration
 of consulting contracts. Additionally, agencies will need to establish clear expectations with
 consultants that internal knowledge transfer and technical training is a key priority. Therefore,
 shared responsibility and progress should be measured and monitored for the purposes of
 contract compliance and performance.
 Accordingly, agencies should strive to ensure that both the creation of internal teams and the
 transfer of knowledge to such teams are completed within the applicable timeframes of proposed
 contracts.




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 PART VI. Conclusion
 The 2022 Fiscal Plan is the result of five years of intensive work sessions, dialogue,
 stakeholder engagement, and experience working to establish the conditions for
 economic recovery and growth for the benefit of residents of Puerto Rico. Across
 these activities, the Oversight Board and the Government have collaborated to create a deep and
 rich fact base to underpin their work and have remained focused on creating an integrated
 approach to restoring fiscal sustainability and economic opportunity for future generations of
 residents.
 The starting point for this 2022 Fiscal Plan involved numerous structural inhibitors
 to growth, over $120 billion in outstanding debt and unfunded pension obligations,
 and the devastating impact from a historically destructive set of natural disasters.
 Yet with the confirmation of the Commonwealth PoA and in the aftermath of
 hurricanes, earthquakes, and the COVID-19 pandemic—with over $129 billion in
 federal support mechanisms being made available to enable the Island to rebuild—
 Puerto Rico has a unique opportunity to take control of its future destiny through
 implementation of a complete Financial Management Agenda, CSR, accelerated
 structural reforms, targeted investments in operational capacity to improve
 government service delivery, and execution of a fiscally responsible post-
 bankruptcy roadmap.
 First priority must be the implementation of transformational structural reforms
 that will change the nature of Puerto Rico’s economic development trajectory and
 provide the residents of the Island with a better and more prosperous future. COVID-
 19 federal relief and disaster relief-related spending will provide economic buoyancy in the
 coming years. However, to achieve meaningful economic growth in the long term, Puerto Rico
 must use this time to achieve timely and robust implementation of structural reforms, to enhance
 workforce development and labor productivity and to create a better environment for businesses
 and investors to create jobs. Without sustained dedication to implementing the 2022 Fiscal Plan
 structural reforms, and the ambition to pursue additional structural reforms in the future, the
 challenges that have held back the economy will not be addressed, and the Government will have
 lost its window to restore long-term opportunity to the people of Puerto Rico. The 2022 Fiscal
 Plan lays out a series of practical and proven growth-oriented structural reforms and investments,
 which, when coupled with the federal reconstruction funds, can ensure that the Island can rebuild
 better in the wake of the pandemic and other natural disasters.
 Second, reorganizing the way government services are delivered, as well as
 improving their delivery and efficacy on the Island, is critical. The 2022 Fiscal Plan
 includes, in order to achieve sustainable and quality delivery of public services, investments aimed
 at improving the operational capacity of the government, cultivating a high-performing public
 workforce, enhancing frontline services, and strengthening the technology sector. Amongst the
 different investments, the 2022 Fiscal Plan includes resources to begin a comprehensive CSR
 aimed at empowering civil servants by strengthening their skills and performance management
 and hence provide better quality public services and ensuring improved remuneration. However,
 the Government must continue to take even greater actions to implement the Financial
 Management Agenda and ensure a healthy fiscal future for the Island, as Puerto Rico embarks on
 a new era of fiscal responsibility.
 The Puerto Rico Government has a unique and historic opportunity to seize the
 current moment—emerging from Title III bankruptcy proceedings and receiving
 substantial federal funding support—to transform the Island’s trajectory. The
 Oversight Board stands ready to work in partnership with the Government to
 achieve this vital outcome.



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 Appendix

                     Model presentation
 The 2022 Fiscal Plan addresses the finances of central government agencies, component units,
 and other agencies. Agencies for which an independent 2022 Fiscal Plan is being developed have
 not been consolidated into the 2022 Fiscal Plan and are only represented to the extent they impact
 the Commonwealth (Exhibit 159, Exhibit 160, Exhibit 161).

 EXHIBIT 159: MAJOR ENTITES INCLUDED IN AND EXCLUDED FROM THE 2022 FISCAL
 PLAN




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 EXHIBIT 160: LIST OF ENTITIES COVERED BY THE 2022 FISCAL PLAN




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 EXHIBIT 161: LIST OF ENTITIES EXCLUDED FROM THE 2022 FISCAL PLAN




                  Macroeconomic projections

        Economic and demographic trends
 EXHIBIT 162: MACROECONOMIC TRENDS




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 EXHIBIT 163: POPULATION TREND




 EXHIBIT 164: PER CAPITA GNP TREND




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                  Financial projections

        Detailed financial projections
 EXHIBIT 165: FINANCIAL PROJECTIONS POST-MEASURES AND STRUCTURAL REFORMS




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 EXHIBIT 166: REVENUE BREAKDOWN, POST-MEASURES




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 EXHIBIT 167: SUMMARY OF BASELINE EXPENDITURES AND MEASURES




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         Debt policy revenues
 EXHIBIT 168: DEBT POLICY REVENUES




                    Fiscal measures

         Agency efficiencies
 Exhibit 169 details the payroll and non-payroll savings for each of the agency groupings. Agency
 groupings are as shown below in Exhibit 170.




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 EXHIBIT 169: MEASURES SUMMARY IMPACT FOR ALL AGENCY GROUPINGS




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        Agency groupings and consolidation process
 EXHIBIT 170: AGENCY GROUPINGS




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 EXHIBIT 171: AGENCY CONSOLIDATION PROGRESS DETAILS




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        Agency T&A implementation timeline
 EXHIBIT 172: AGENCY T&A IMPLEMENTATION TIMELINE




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